        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 1 of 625 PageID #: 993
                                                                                         PIU-001
                                                                                                          ll/14
                            LOUISVILLE METRO POLICE DEPARTMENT
                              SPECIAL INVEST/GA T/ONS DIVISION
                                                 Public Integrity Unit
r·                                            CASE NUMBER:                 13-072
i
              TYPE OF INVESTIGATION: I In-Custody Death
              DATE INITIATED: 10/19/2013        I DATE OF INCIDENT:                  I 10/19/2013
              INVESTIGATOR:    Sgt. Mindy Baker

               SUBJECT(S) OF INVESTIGATION
                     Name:
                    Ae:ency: Louisville Metro Denartment of Corrections
                Assi1mment:

              VICTIM(S) I COMPLAINANT(S)
                   Name: Mahmoud Hindi
                 Address: 8412 Running Spring Dr. Lou. Kv. 40241
                Cqntact #:

              OTHER (suspects I perpetrators ofacts against police officers)
                  Name:
                 Address:

              INITIAL INFORMATION
              On October 19, 2013 at· approximately 1654 hours, Lt. Arthur Eggers, LMDC PSU,
    (         advised that inmate Mahmoud Hindi had been discovered by another inmate hanging by
              his neck from a bed sheet on 5 North 1, cell 3 at the HOJ facility. Hindi was transported
              to University of Louisville Hospital where he was pronounced deceased.




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           Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 2 of 625 PageID #: 994




                 SUPERVISORY REVIEW OF CASE. FILE
(                Public Inte ri Unit Commander
                                                                                              Date of Review: 6 '6 'Zo15"
                    Signature:

                        Remarks:               C!.Q-bE <....l.1:>!::.E'D.   Ml2. 1-1-11-101·..             ~                    1..\-A-$ ~~
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                 S ecial lnvesti ations Unit Commander

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                                             Date Case Closed:




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          Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 3 of 625 PageID #: 995
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                       LOUISVILLE METRO POLICE DEPARTMENT
                                    SPECIAL INVEST/GA TIONS DIVISION
                                           Public Integrity Unit

                                                   CASE NUMBER:                13-072


                                                   CASE FILE TRACKING RECORD
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          DATE         RECEIVED BY




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    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 4 of 625 PageID #: 996
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                                     LOUISVILLE METRO POLICE DEPARTMENT
                                       SPECIAL INVEST/GA TIONS DIVISION
                                                                             Public Integrity Unit
                                                                            CASE NUMBER:         13-072

                                                       CASE FILE CHECKLIST
            INTRODUCTION ..                         (appears infront.afthe. case                                                                              filf!             before E!ny tabs) · ·                                                           c>r.NIA
            PIU Case File Cover & Review Form IPIU-001)                                                                                                                                                                                                          .y
            PIU Case File Tracking Form IPIU-0021                                                                                                                                                                                                                 y
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            PIU Case File Checklist (PIU-003)
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            Memorandum addressed to PIU Commander summarizing investigation
           (This should be included after the case has been presented to the County/Commonwealth                                                                                                                                                                  y
           Attornev and/or the case is recommended to be closed}
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            PIU Investigative Record Form (PIU-004)                                                                                                                                                                                                              y
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           PIU Investigative Report Form(s) (PIU-005)                                                                                                                                                                                                            y
            (All investiaative reoorts submitted reaarding the investiaation in chronoloaical order!
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           Transcriptions of Recorded Statements                                                                                                                                     '                                                                           y
           (all transcribed statements, tabbed individually bv name, in chranoloaical order}
           Compact Discs of Recorded Statements
           (all CDs of statements, tabbed individually by name, in chronological order. If the statement has                                                                                                                                                     y
           been transcribed, then the CD will be included with under the tab of the transcriotionl
          · . . . $• t:l<:>GWJ1l!fl'il1~Jil(!j,"'1/r .( · •· .• ·. · ·. · ·•
           Suspension Information (suspension paperwork, weapon re-issue, etc.)
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(          Arrest I Citation
           (all documentation pertaining to arrest or cita,tion, including warrants, summons, etc.}
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           Incident Reoort llLEADS\                                                                                                                                                                                                                              y
           Administrative Incident Report (AIR)                                                                                                                                                                                                                 NIA
                                                                   .
           Search Warrants I Consent Forms                                      .                                                                                                                                                                               NIA
           Crime Scene Unit (CSU) !CSU Reoorts, Photos, Video, Scene Diaaram, Properly Slips, etc.I                                                                                                                                                              y
           Maos                                                                                                                                                                                                                                                 NIA
           Crime Lab (Ballistic Reports, Substance Testing, etc.)                                                                                                                                                                                               NIA
           Medical (EMS documentation, Hosoital, Medical Examiner, Clinical Forensic Exam etc.)                                                                                                                                                                  y
           Financial Records / Information                                                                                                                                                                                                                      NIA
           Arbitrator I Mobile Video                                                                                                                                                                                                                            N/A
           MetroSafe (CAD, 911 recordings, radio transmissions, rundowns, etc.)                                                                                                                                                                                 NIA
           Cell Phone Forensics I Records                                                                                                                                                                                                                       NIA
           LMPD Specialty Team Information (SWAT, HNT, Bomb Squad, etc.)                                                                                                                                                                                        NIA
           Correspondence (e-mails, etc.}                                                                                                                                                                                                                        ,/

                     6. MISCELLANEOUS                                                                                                                                                                                                                        Var NIA
           Information from Federal or Outside Aoencies (FBI, ATF, USMS, other LE, etc.)                                                                                                                                                                        NIA
           LMDC Documentation (In-Custody Death Reports, etc.)                                                                                                                                                                                                   y
           Media Coverage                                                                                                                                                                                                                                       NIA
           Security I Business Surveillance Video I Bodv Camera video                                                                                                                                                                                            y
           Social Media (Facebook, Twitter, lnstagram, etc.)                                                                                                                                                                                                   N/A
           Public Information (court records, PVA, etc.}                                                                                                                                                                                                       N/A




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                         LOUISVILLE METRO POLICE DEPARTMENT
                                                         SPECIAL INVEST/GA TIONS DIVISION
(                                                                         Public Integrity Unit
                                                                INVESTIGATIVE REPORT
         Type of Investigation                                                                                            File No.                      Date of Report:
                                         In- Custody Death                                                                13-072                          10-19-2013

         Activity:                                                                                                                       Submitted By
            Notification, Response and Post-mortem examination                                                                  Sergeant Mindy Baker
                                                                                                                                     Lead Investigator:
                                                                                                                                Sergeant Mindy Baker
            NOTIFICATION AND RESPONSE
            On October 19, 2013, at approximately 1654 hours, Lt. Flaherty received a call from Lieutenant
            Arthur Eggers, employed with Louisville Metro Department of Corrections (LMDC)
            Professional Standards Unit (PSU). Lieutenant Eggers advised Inmate Mahmoud Hindi was
            discovered hanging in his single cell located on the fifth floor.

            Lt. Flaherty advised Sgt. Kevin Taylor and I respond to LMDC and Sgt. Ed Goins respond to
            University of Louisville Hospital. I noted my arrival time at LMDC Professional Standards
            Office at approximately 1820 hours. After arriving on scene, Sgt. Kevin Taylor and I were
            briefed by Lt. Eggers. I requested the Crime Scene Unit (CSU) to respond. CSU technician
            Megan Brown arrived and processed the scene. After collecting all paperwork related to the
            death investigation, Sgt. Taylor and I conducted interviews.

            While at University Hospital, Sgt. Goins spoke to CoronerLarry Carroll and requested CSU
(           respond to the hospital. Sgt. Goins interviewed the correction officers that accompanied the
            transporting EMS crew to the hospital. Sgt. Goins finished his initial investigation at the
            hospital and then proceeded to Louisville Metro Department of Corrections (LMDC) to assist
            with interviews. At the conclusion of all interviews Sgt. Taylor, Sgt. Goins and I secured from
            the scene.

           Mahmoud Y. Hindi - Middle eastern I male S S # - DOB~

            Lt. Eggers provided me with the following:
                • AED reading
                • Hallway surveillance video of the 5th floor
                • Officer body camera video of response to the incident
                • Rundown of officers working shift
                • Secure call platform audio CD (the two calls Hindi made on same day of incident)

           POST-MORTEM EXAMINATION
           On October 20, 2013, at 0800 hours, a post-mortem examination was conducted on Hindi by Dr.
           Amy Burrows Beckam of the Office of the Medical Examiner at 810 Barret Avenue. Louisville
           Metro Crime Scene Technician Jessica Silveria was in attendance and documented the
           examination.

II         Investigator's Signature:                                                                                                                          -
    ~      Supervisor's Signature:
           This report is the property of the Louisvi!le Metro Police Department Neither ii nor its contents may be disseminated to unau!horized personnel or'agencf!s.
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             Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 6 of 625 PageID #: 998




                               LOUISVILLE METRO POLICE DEPARTMENT
                                                               SPECIAL INVESTIGATIONS DIVISION
                                                                      Public Integrity Unit
                                                                      INVESTIGATIVE REPORT
              Type of Investigation                                                                                               File No.                       Date of Report:
                                               In-Custody Death                                                                   13-072                           10-25-2013

              Activity:                                                                                                                          Submitted By
                          Jails Calls from day of suicide (10-19-2013)                                                                  Sergeant Mindy Baker
                                                                                                                                             Lead Investigator:
                                                                                                                                        Sergeant Mindv Baker


                 Officer Youssef Mattiche came to the PIU office and listened/interpreted the two phone
                 conversations hunate Hindi had the morning of the day he committed suicide. He also
                 interpreted the two notes that were found in Inmate Hindi's cell. One of the notes was a prayer
                 that is normally said every night before bed. The other appeared to be an older note in which
                 Inmate Hindi was complaining about the care in corrections.

                 The recordings, transcriptions of the phone conversations and copies of the notes collected will
                 all be maintained and made a part ofthis case file.




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                Investigator's Signature.:
                Supervisor's Signature;
                This repori is the property of the Louisville Metro Police Department. Neither ir nor its contents may he disseminated to unauthorized personnel or al,:encies. -
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                         MEMORANDUM
                                 LOUISVILLE METRO POLICE DEPARTMENT


       GREG FISCHER
          MAYOR

       STEVE CONRAD
       CHIEF OF POLICE

                                                              !S\11\101<
           TO:           Lieutenant Kevin DeSpai9
                         Public Integrity Unit Commander

           FROM:         Sergeant Mindy Baker
                         Public Integrity Unit Investigator

           DATE:         April 28, 2015

           RE:           PIU Case #13-072


           On October 19, 2013, at approximately 1654 hours, Lt. Flaherty received a call
           from Louisville Metro Department of Corrections (LMDC) Professional Standards
           Unit (PSU) Lieutenant Arthur Eggers. Lieutenant Eggers advised Inmate
           Mahmoud Hindi was discovered hanging in his single cell located on the fifth floor
(          of LMDC.

           Mahmoud Hindi was arrested and housed at LMDC on September 13, 2012,
           charged with. two counts of murder and 7 counts of wanton endangerment.
           Inmate Hindi was occupying a single cell on the 5th floor, North 1 in cell 3. Work-
           aide Inmate Alan Murphy discovered Inmate Hindi hanging from the bars of the
           window located inside his single cell by way of a bed sheet wrapped around his
           neck. Inmate Murphy yelled for officers to respond to Hindi's cell. Officers and
           medical personnel immediately started attempts to revive Inmate Hindi, while
           calling for Louisville Metro Emergency Medical Services (LMEMS) to respond.
           LMEMS responded and transported Inmate Hindi to University Hospital where he
           was pronounced deceased.

           Interviews were conducted with all LMDC Officers, nurses, and LMEMS
           personnel. The camera located in the hallway of the 5th floor and worn by LMDC
           Officer Ryan Taylor, confirms the accounts given during interviews. The body
           camera also shows the life saving measures attempted by officers and medical
           personnel. These videos are included within the file.

           On October 20, 2013, at 0800 hours, a post-mortem examination was conducted
           by Dr. Amy Burrows Beckam of the Office of the Medical Examiner at 810 Barret
           Avenue. Dr. Beckham's final diagnosis was Mr. Hindi died of asphyxia via
           ligature hanging.

                           633 WEST JEFFERSON STREET   LOUISVILLE, KENTUCKY 40202
                                 OFFICE PHONE 502.574.7660    FAX 502.574.2450


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                                 LOIDSVILLE METRO POLICE DEPARTMENT
                                        PUBLIC INTEGRITY UNIT
                                         OFFICIAL STATEMENT
                                      CASE NUMBER: I~ - 07 ~
    Today's date is  0 c.+ IC/ 1-L ' Zo 1'3        The time is 2 2 2 4                                        hours.

    This is an interview~ Ed vJ lf..-~J Brock 60\1) l            (RIS)

    This interview is being conducted at:

    0         Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204
    ~Other Location:                  (poo         fr).      J.te"[--rz._fi._.J...;:,,J
    Present during this interview is;

                                               /

         (Title)       /                                                      (Name)

             QI    ~·ot
                      ou aware this interview is being audio and/ef          · 11 recorded?
                                                                                   b


             Q2             anyone threatened you in order to obtain this interview?
             Q3    L:r,.ye-you giving this interview of your own free will?
             Q4    61f'js:ase; state your full name, and spell your last name. What is your date of birth?
             Q5    ~jllte your home address including the zip code.
             Q6    ~-· s the same as your mailing address? (If no) Mailing address?
(            Q7    ·     ate your hooie teJephone number with the area code.
             Q8    ~~your mobile and an alternate phone number with area codes.
             Q9    8-"'~ you employed?
             QIO   ~Syour employer and the position you hold there.              S
             Q11             is your work telephone number?
             Ql2      Are you aware the following interview will b sworn statement?


    PLEASE RAISE vp~ RIGHT HAND
    Do you,   U,,,/,f:0 ~j,c;,i /c                 ,solemnly swear or affirm to tell the truth, the whole truth, and
    nothing but the truth, so help you God?

    I ~~HE ABOVE OATH THAT I HAVE TAKEN.

    ~f:::ti{2.il_                Signature
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                            Witness signature                                          Date
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    Thi"           /f'l. ;,,..                                                            Notary Public, Stale at Large, KY
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                  ~~4- /?~                                                                NotaryHJ#478903
               ~            NOtllJY Public, State at Large                                    My Commission Expires



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    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 9 of 625 PageID #:
                                        1001




                                         October 19, 2013


     Baker          This is Sergeant Mindy Baker with Louisville Metro Police Department's
                    Public Integrity Unit. This is gonna be official statement. Case number 13-
                    072. Today's date is October 19th, 2013 and the time is 22:24 hours. This is
                    an interview with Sergeant Edward Brockbank and is being conducted at 600
                    West Jefferson at Corrections. Present during this interview is myself and
                    Sergeant Brockbank. Sergeant Brockbank, are you aware this interview is
                    being audio recorded?
     Brockbank      Yes.
     Baker          Has anyone threatened you in order to obtain this interview?
     Brockbank      No.
     Baker          Are you giving this interview of your own free will?                           ,. .
     Brockbank      Yes I am.
     Baker          Please state your full name and spell your last name.
(    Brockbank      Edward Ellis Brockbank. B-R-0-C-K-B-A-N-K.
     Baker          And what is your date of birth?
     Brockbank
     Baker          State you home address including the ZIP Code.
     Brockbank
     Baker          Is this the same as your mailing address?
     Brockbank      Yes.
     Baker          State your home telephone number with the area code.
     Brockbank      .......-niereyago.
     Baker          All right. Do you have a cell phone number?
     Brockbank      That's it. I'm sorry. That's all I have.
     Baker          Same thing?
     Brockbank      Yes.
     Baker          Are you employed?
     Brockbank      Yes.




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                       anything, I just would, you know. (Chuckles) You know, I hate to say, you
                       know, but I kinda stood back to kinda keep the scene kinda clear and you
                       know.
      Baker            Uh-hum.
      Brockbank        Like everybody just kinda back up a little bit. Give 'em room and let them
                       through and that sort of thing. But. ..
      Baker            Who were the nurses that you saw working on him?
      Brockbank        I wanna say Nurse Malone
     . Baker           (Inaudible) .
      Brockbank        Malone.
      Baker            Malone. Okay.
      Brockbank        Yes. Uh, Bertram and then of course I brought uh, Griffith and Hammond but
                       they were just kinda just, you know, kinda handin' items as needed and called
                       by the nurses that were right there. Workin' on him.
     Baker             So, Nurse Griffith and Hammond were just handing items in. They weren't
                       really involved in the care?
      Brockbank        Yeah. From what I saw.
(
     Baker             Okay.
     Brockbank         You know, there were times when I stepped away from the incident just to
                       kinda, yoit know, cause it. .. It got, you know, it was gettin' crowded back
                       there and I wanted to make sure when, when EMS and fire department got
                       there, you know. I just kinda got, you know, further and further back from the
                       scene. Allow ~m, you know, ro~m and acc;ss. To take care of what they
                       needed to do.                               · ,
     Baker             When you walked up to the, uh, to the cell.
     Brockbank         Uh-hum.
     Baker             Could you tell what kinda medical condition he or what kinda issue he was
                       having?° Wh'th~y were working on him?
     Brockbank        Not really. Uh, I. .. to be honest with ya, I didn't really even know what had
                      transpired or what incident had happened. You know, I didn't realize that it
                      was from, you know, was it hangin' himself? I didn't realize that at the time.
                      You know, when I, even when I heard it over the radio, I didn't even know
                      what inmate it was. So, when I got there and saw... and it's been several
                      months since I worked around inmate Hindi. So, I didn't even really recognize
                      him. At all. And I looked down and there was uh, Officer Skaggs was doin'



     Statement: Brockbank, Sgt. Edward/PIU Case #13-072        October 19, 2013       Page 3 of7

                                                                                        GB003490
          Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 11 of 625 PageID #:
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            Baker            Okay.
            Brockbank        'Cause about that time, um, Louisville Fire Department showed up and then it
                             was not maybe a few minutes later that a Louisville EMS showed up as well
                             and then started treatment along with our guys takin' care of him.
            Baker            Okay. Did you ever hear at any time anyone say anything about he had a pulse
                             or a heart, you know, a heartbeat (Inaudible).
            Brockbank        I, I heard, uh, somebody say and I. .. like I said I don't remember who said it
                             'cause there was a lot people talkin' that I think I feel a pulse. But it was small
                             and then they called for the AED and then another officer went to go grab the
                             AED and bring it in. But, like I said, I'm not exactly sure who went and got
                             that. And then I remember them sayin' that it, um, somethin' about ... I'm
                             tryin' to think.
            Baker            (Inaudible).
            Brockbank        Well, like I said about that time EMS and everybody kinda showed up too. So,
                             I think they were kinda, you know, they were hookin' their stuff up to him as
                             well. So, I don't believe the AED was ever found or used.
            Baker            Okay.
            Brockbank        You know. Or grabbed and used. That kinda thing. It was kind of a lot to
(                            take in.
            Baker            Uh-hum.
            Brockbank       You know. With all that goin' on and all that stuff. Probably, I believe the
                            first one I've ever seen like that. The one I was involved in years ago or last
                            year actually~ You know, nothin' ever came of it because he was fine. But
                            that's the first scene I've ever been on where an inmate was actually laid out
                            like that where somebody's <loin' chest compressions on 'em. Think I'd seen
                            it before in 7 years, but I haven't. So. I don't. ..
            Baker           All right. Um, is there anything you can think of? Any questions that I, I have
                            not covered with you that any information that might be beneficial to the case
                            that you can think of?
           Brockbank        No. Not really. Other than the fact that, uh, I mean, it seemed like I ... durin'
                            the radio traffic while I was gettin' the nurses, it seemed like they were callin'
                            for everybody really quick. You know, tryin' to get, you know, the urgency
                            was there. You know, 'cause I 'member thinkin' okay. They need medical
                            staff up there. Then I. .. then just a few seconds later, a few, you know. Well,
                            you know, the time kinda. . . you kinda go through that little time warp in
                            there. You know, time kinda changes on ya. I said okay. We need some
                            more. All right. Well, I'm over here, let me look for a nurse. That kinda
                            thing. So, it's like everybody was gettin' everything together to, you know, to
I
\__   .


           Statement: Brockbank, Sgt. Edward/PIU Case #13-072          October 19, 2013         Page 5 of7

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                Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 12 of 625 PageID #:
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                  Statement: Brockbank, Sgt. Edward/PIU Case #13-072   October 19, 2013   Page 7 of7


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                                              LOUISVILLE METRO POLICE DEPARTMENT
                                                     PUBLIC INTEGRITY UNIT
(                                                     OFFICIAL STATEMENT
                                                   CASE NUMBER:   [ 0- C 'l ;)..
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                                         13                                              The time is      01 '   4    L   P ""'-     hours.
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        Thi s is    .    .   o(1'1h. (Y\O f0 c-- .
                 an mterv1ew Wit
                                                               +       ev.     ufl?./)       eel''-"' o,:'J   (RIS)

        This interview is being conducted at:
        0        Public Integrity Unit, 810 Barret A venue, Louisville, KY 40204
        ~ Other Location:

        Present during this interview is;



            (Title)             /                                                               (Name)
                QI ~~aware this interview is being audio and/or video recorded?
                Q2 Q}I(asjuzyone t!rreatened you in order to obtain this interview?
                Q3          e you giving this interview of your own free will?
                Q4        lease, state your full name, and spell your last name.  a ·s
                Q5 ~e your home address including the zip code.
                Q6 G'f~s the same as your mailing address? (lfno) Mailing address? YE...S
(               Q7    G'SJate  your home telephone number with the area code
                Q8 l:;;f'§tate your mobile and an alternate phone number with area codes.
                Q9 ITJ\re you employed?                                                  .
                QI 0 [}State your employer and the position you hold there.
                QI I ~at is your work telephone number? ~
                Ql2 0 :Are you aware the following interview ~atement?

     PLEASE RAISE YOUR RIGHT HAND

     Do you, (Y\ o f0 E..-1-                  ~ I l A2D            , solemnly swear or affirm to tell the truth, the whole truth, and
     nothing but the truth, so help you God?

     I~UNDE
        T. THE:B-0,~;/-:~.TIHAVETAKEN.
i'--~~                                                                                            /D/;q/;5
     £                       ~1~ature                                                                                                   Time


                ~~fr~~                                                                                                                  Time
        Subscribed and sworn to me by                                  0 f~ - (Y1 orl E.-.T.         'bu_ LLA<2-0
        This          /   c1 .;.--,. .       day of   0   cr   0   8   'i/2_      , -    -   2-b I? !{EVIN       ~~AYLOR- Notary ID# 451725
;1 __            -7~ d                                ( _..----.:----                                   t&otiry Publi~. State .at t.a;gei ~   h

"-                                       Notary Publi(f,' State at Large                                My G~~~merfs'i~~           /Ji;rreS' "015~ ·

                                                                                                                                     GB003493
                    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 14 of 625 PageID #:
                                                        1006

                                             LOUISVILLE METRO POLICE DEPARTMENT
                                                    PUBLIC INTEGRITY UNIT
(                                                    OFFICIAL STATEMENT
\
                                                       CASE NUMBER:             \3   - 07 A
             Today's date is         Oct I9 +~ ( 2o l ~                          The time is           2- 2- t../- ~                      hours.
                                  ()ff hf\               fl~.
             This is an interview with. ~'"-l_/'.\~e._11_0_u,u~.
                                                             =·+P~if~----- (RIS)
             This interview is being conducted at:

             0         Public futegrity Unit, 810 Barret Avenue, Louisville, KY 40204

             D         Other Location:              (aOO       W. JEfV7JZ-!,,.oJ                                    lfv\ DC.
             Present during this interview is;                                                 (\
                                                         M-vi sel .r     ~    AA~o-J {cl       L0      ..   r       J2../


                 (Title)                                                               (Name)

                      QI      ~you aware this interview is being audio and/er Yi!leo recorded?
                      Q2 [3'Hjl81iiiyone threatened you in order to obtain this interview?
                      Q3 (;Y'"~ you giving this interview of your own free will?
                      Q4 ~ji:ase, state your full name, and spell your last name. What is your date of birth?
                      Q5 bj'S_)ate your home address including the zip code.
                      Q6 L31µllls the same as your mailing address? (If no) Mailing a ess.
    (                 Q7 [:f'S)llt~ your home telephone number with the area code ..           0            •   •


                      Q8 [}?'"~your mobile and an alternate phone number with area cod
                      Q9 ~~~~u employed?
                      QIO GJ'SJa'fe our employer and the position you hold there.      O C..  U--'I.                    lo ((l_c__,.r ·
                      QI I ·       tis your work telephone number?                   '
                      Q12 Are you aware the following interview will be a sworn statement?

         PLEASE RAISE YOUR RIGHT HAND

             Do you,       Mu.rib Co eL      0 ()              ,solemnly swear or affirm to tell the truth, the whole truth, and

                                                                                      /-;54h
         nothing but the truth, so hdp you God?

         K~~ATHTHATIHAVETAKEN.                                                                                                       cb'"/5~
                                             Signature                                                 ate                                  Time

                                           .-----
                                         Witness signature                                         Date                                     Time

             Subscribed and sworn to me by                    t>~./'(;<f-40 G.oe..e./
                                                                                                   '
             This          _j_ql-/,. .       day of {?C~~&i'..                     z.c, ,.3            Notary Publfc, State at large, KY
                                ··                           -~                                        My Comm1ss1on Expires Nov. 26, 20Ul
    1(                     ~~                       ye:;                                               Notary !0#478903
        '-          -- '                 Notary Public, State at Large                                    My Commission Expires



                                                                                                                                          GB003494
              Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 15 of 625 PageID #:
                                                  1007




                                       POLICE OFFICER TAPED STATEMENT FORM



                   OPENING

                   This is £         6lJ 11'1. S       of the Louisville Metro Police Department's Public
                   Integrity Unit.

                   Today's date is: _ _,_/a_~+/_1'---'1-'--l-,/-'-1_3_ _ _ _.

                   The time is:            2 I -5' I
                                  ----~------~


                  We are present at: 810 Barret Avenue, 4th Floor, in the Public Integrity Office.

                                         Other Location:         Lfao       .5 · ~..ft, S..f. L-hl>C
                  This will be a taped statement from
                  001Cei'"'   5   G7'       '.STl?W:       t:2. s4-SO/\.I

                  This statement is in reference to Plli case #                 I 3 -O 7
                                                                     --~-,~-i-.~.
                                                                                        Z-
                                                                                     -.~~------- . !J
                  Present with me are Officer:_ _ _ _ _ _ _~Attomey: _ _ _ _ _ _ _ _~
(                 and Lt.IS gt.                         of the Public Integrity Unit.

                  Officer, are you aware that this statement is being video and audio taped?

                  Does this meet with your approval?


                  BACKGROUND INFORMATION ON OFFICER

                  Officer, please state your full name and spell yoi.ir last name.

                  What is your code number?

                  Where are you currently assigned?

                  How long have you been in that Unit?

                  How long have you been on the Department?

                  Are you under the influence of alcohol, drugs or any other intoxicants at this time?
                  (If so, what are they?)

l   I
    "'-·· .

                                                                 2006-12-21
                                                                                                            GB003495
     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 16 of 625 PageID #:
                                         1008




          Are you taking any kind of medication that would affect your judgment or your ability to
          think clearly?

         Did you sustain any injuries during this situation? (If so, please describe.)

         Did you receive medical treatment? (If so, where and by whom?)

          What type of uniform or Clothing were you wearing at the time of this incident?

         Do you have the same uniform or clothing on right now?

         RIGHTS WAIVER

         Because of the statutory requirements ofKRS 15.520, I am obligated to advise you of
         your constitutional rights prior to asking any further questions. ~!ifuili;rfglit~!!Wat~i;r; ·

         START THE STATEMENT/INTERVIEW


         ENDING THE STATEMENT

         Is everything you told me the truth to the best of your knowledge?

(        We will now conclude the statement. The time now is:       ~~~~~~~~~~
                                                                               z {5 7




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                                                   2006-12-2 l
                                                                                                  GB003496
         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 17 of 625 PageID #:
                                             1009

                                   LOUISVILLE METRO POLICE DEPARTMENT
                                          PUBLIC INTEGRITY UNIT
                                           OFFICIAL STATEMENT
                                        CASE NUMBER:    ( 3 · 0 'I 'L
     Today's date is           {D {   I] ( f3                           The time is       / O : ?.-- "I._   p""-   hours.

     Thisisaninterviewwith            (V\   Atl1.t:'-'.l   0~            l/V\Oc_          (RIS)

     This interview is being conducted at:
     0        Public Integrity Unit, 810 Barret A venue, Louisville, KY ·40204
     W        Other Location:                 (o CO    LU.   -S6Ff£.<Z-So v       LfVI. 0       C       {Ps U J
     Present during this interview is;



         (Title)                                                              (Name)
            QI     ~ou         aware this interview is being audio and/or video recorded?
            Q2 Eaanyone threatened you in order to obtain this interview?
            Q3             you giving this interview of your own free will?                       . -
            Q4 ~ ase, state your full name, and spell your last name. What is your date of birth? ~
            Q5 [a"State your home address including the zip code.
            Q6 ~this the same as your mailing address? (Ifno) Mailing address?
            Q7 Q'Syite your home telephone number with the area cod~
(           QS L:JState your mobile and an alternate phone number wi~..}'- -
            Q9     0 1),re you employed?
            QI 0 J;d'State your employer and the position you hold there.
            QI! 0 What is your work telephone number? · 57<-f· 7 So 7
            Ql2 0 Are you aware the following interview will be a sworn statement?

    . PLEASE RAISE YOUR RIGHT HAND

    Do you,    Mtt±t16--l         f'.C~s              ,solemnly swear or affirm to tell the truth, the whole truth, and
    nothing but the truth, so help you God?

. t ~£THEABOVEOATHTHAT.IHAVETAKEN.
                                                                                  lo   ~1 '1-1~
~                                  Signature                                           Date                          Time
                                   ....-----·                                         ~

                               Witness signature                                       Date                          Time

     Subscribed and sworn to me by                                                 POfC-f3CS,
     This          c:i_l-"'-      dayof       OcroecYt ,                   2-or3
                                                                                          KE\1f l Tll\11.0R Nalary ID# 451725
                                                                                          Notary Public, State at Large, KY
                                                                                          Mv cC!mmlasloo eJiPlres Sept 21. 2015
                                                                                              My Commission Expires




                                                                                                                   GB003497
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                                                  1010


                                    LOUISVILLE METRO POLICE DEPARTMENT
                                            PUBLIC INTEGRITY UNIT
                                             OFFICIAL STATEMENT
(                                        CASE NUMBER:    / '.) · 0 I L--
    Today's date is         / 0 / / 0, ( t 5                                  The time is    / d · 45    P""'        hours.

    This is an interview with        l. f. ;:,f&vG-..J (;,~I L. &i;rL T                        (R/S)

    This interview is being conducted at:

    D         Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204
    ,-,,..r
    lrl                      ( 00 Liv • "56rn:.12-,l}il
              Other Location:o             -re          .J                              Lrvi.Oc.· ('nsv)
    Present during this interview is;



          (Title)                                                                  (Name)

              Q 1 ~you aware this interview is be.ing audio and/or video recorded?
              Q2 L.!::11:Ia§ . yone threatened you in order to obtain this interview?
              Q3           e you giving this interview of your own free will?
              Q4         lease, state your full name, and spell your last name. What is your date of birth?
              Q5 o.-st.!!J:e your home address including the zip code.
              Q6 ~this the same as your mailing address? (If no) Mailing address?
              Q7 ~ate your home telephone number with the area code.
(             Q8 [}State your mobile and an alternate phone number with area codes.
              Q9 D Are you employed?
              Q 10 ~te your employer and the position you hold there.
              Ql l l::::fWhat is your work telephone number? )oc -S'<.f· 7 5·,_1
              Ql2 [il.Afe you aware the following interview will be a sworn statement?


    PLEASE RAISE YOUR RIGHT HAND

    Do you,     SJ(:.::V e::;...J   L•-t' L &Jz-+ , solemnly swear or affirm to tell the truth, the whole truth, and
    nothing but the truth, so help you God?

    I UNDERSTAND THE ~9VE OATH THAT I HAVE TAKEN•
• L-    YJA;idf~ 1fa711
                                                                                                                       --
                                                                                      /tr1f-/3
~                            ~Signature                                                     Date                         Time


                              Witness signature                                             l)ate                        Time
     Subscribed and sworn to me by                                                            GIL-Bf:.K-C_ _
     This           IC1~                                                          Z.e1~       KEl!ffl! l. TAYLOR lfo!ary ID# 451725
                                                                                              Notary Public, Stats at large, KY
                                                                                             li/lj1 commis•ion. expir,sei;.t. 21, 2015
                                ot Pub12, State at Large                                            My Cmmmssmn xp es


                                                             ~   ':   -   .
                                                                                                                        GB003498
        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 19 of 625 PageID #:
                                            1011




                               POLICE OFFICER TAPED STATEMENT FORM



            OPENING

            This is    E. ·   G-o 1'ns      of the Louisville Metro Police Department's Public
            Integrity Unit.

            Today's date is:     ID   /ia, JI~
                               -~,.,...,__,_,.,~-----~




            The time is: --~'~9_4~3________

            We are present at: 810 Barret Avenue, 4'~ Floor, in the Public Integrity Office.

                                OtherLocation:      '-loo 5. J~
            This will be a taped statement from
            9fHeef ~4-. i>;wv-e...         G: b ;SM:i

            This statement is in reference to PIU case #     1'.3 - 6 7
                                                        -~------------~
                                                                          Z-
            Present with me are Officer: _ _ _ _ _ _ _ __,.. _ttorney:_ _ _ _ _ _ _ _~
(
            and Lt.IS gt.                           of the Public Integrity Unit.

            Officer, are you aware that this statement is being video and audio taped?

            Does this meet with your approval?


            BACKGROUND INFORMATION ON OFFICER

            Officer, please state your full name and spell your last name.

            What is your code number?

            Where are you currently assigned?

            How long have you been in that Unit?

           · How long have you been on the Department?

            Are you under the influence of alcohol, drugs or any other intoxicants at this time?
            (Ifso, what are they?)
l1
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                                                    2006-12-21
                                                                                                   GB003499
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 20 of 625 PageID #:
                                        1012




        Are you taking any kind of medication that would affect your judgment or your ability to
        think clearly?

        Did you sustain any injuries duriug this situation? (If so, please describe.)

        Did you receive medical treatment? (If so, where and by whom?)

        What type of uniform or clothing were you wearing at the time of this incident?

        Do you have the same uniform or clothing on right now?

        RIGHTS WAIVER

        Because of the statutory requirements ofKRS 15.520, I am obligated to advise you of
        your constitutional rights prior to asking any further questions. ~]t~dfigii:JIYf!i!:efl

        START THE STATEMENT/INTERVIEW


        ENDING THE STATEMENT

        Is everything you told me the truth to the best of your knowledge?
(       We will now conclude the statement. The time now is:                16' f>l>
                                                                 ~~~-'-~~~~~~~




                                                 2006-12-21                                  GB003500
        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 21 of 625 PageID #:
                                            1013




                                              October 19, 2013


         Goins           Ibis is Sergeant Ed Goins of Louisville Metro Police Department's Public
                         Integrity Unit. Today's date is October the 19th, 2013. Time is 18:43 hours.
                         We are present at 400 South Jackson Street at the University Hospital. This
                         will be a taped statement from Louisville Metro Corrections Officer, Sergeant
                         Darren Gibson. This state is in reference to PIU Case #13-072. Sergeant, are
                         you aware this statement is bein' audio taped?
         Gibson          lam.
         Goins           Does this meet with your approval?
         Gibson          It does.
         Goins           Please state your full name and spell your last name.
         Gibson          Darren Scott Gibson. G-I-B-S-0-N.
         Goins           And what is your code number or badge number?
         Gibson          364.
(        Goins           And where are you currently assigned?
         Gibson          Uh, new jail complex. Main jail complex.
         Goins           How long have you been in that unit?
         Gibson          Uh, go in' on 7 Y, years.
         Goins           How long have you been on the department?
         Gibson          Same time.
         Goins           Are you under the influence of alcohol, drugs or any other intoxicants at this
                         time?
         Gibson          I am not.
         Goins           Are you taking any kind of medication that would affect your judgment or
                         your ability to think clearly?
         Gibson          No I am not.
         Goins           Did you sustain any injuries during this situation?
         Gibson          Not at this time.
         Goins           What type of uniform or clothing were you wearing at the time of the incident?

i(       Gibson          Uh,BDU's.
    '


                                                                                           GB003501
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 22 of 625 PageID #:
                                        1014




(                      Soon as we got down to University of Louisville Hospital Emergency Room, I
                       jumped out the side door to the ambulance. Came around the back. Opened
                       up the doors and assisted pullin' the stretcher out and I was givin' chest
                       compressions all the way until we gone in to room 9 and University of
                       Louisville nurses took over.
      Goins            Did you stay with inmate Hindi while U of L, uh, doctors and nurses were
                       givin' first aid?
      Gibson           I didn't.
      Goins            I need to go back to, uh, when you first entered the cell.
      Gibson           Yes sir.
      Goins            Uh, is there anything out of the ordinary that you noticed in his cell? I mean,
                       obviously he was, he was in need of medical attention.
      Gibson           Right.
      Goins            But other than that, did you notice any other thing?
      Gibson           Uh, the only thing I, I saw, um, I didn't know what the situation was when I
                       got up there. I didn't know why they were performin' CPR but look up on the
                       bars and you could see the sheet hangin'. Um, but other than that, nothin' was
                       out of the ordinary.
(
      Goins            He used a bed sheet?
      Gibson           Yes.
      Goins            And did you notice, did it look like it had been cut?
      Gibson           I didn't pay too much attention.
     Goins             Okay.
     Gibson            ... to whether it had been cut or not.
     Goins             And how was it. .. you said it was on the bar. How was it affixed to the bar?
     Gibson            It was tied.
     Goins             Did you notice any blood?
     Gibson            No. I don't believe so
     Goins             Inmate Hindi, did he appear to be, uh. . . from your vantage point, did he
                       appear to be pale?
     Gibson            He did.
     Goins             Okay. And was inmate Hindi, did he have a roommate or was he in there by
                       himself?

     Statement: Gibson, Sgt. Darren/PIU Case #13-072        October 19, 2013        Page 3 of7



                                                                                          GB003502
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 23 of 625 PageID #:
                                        1015




(     Goins            Okay. And did you all have any success m restarting his pulse or his
\

                       heartbeat, heart rate?
      Gibson           As far as I know, no.
      Goins            Was somebody checking that?
     Gibson            Yes. The nurse had a, uh, pulse oximeter on his finger.
     Goins             Uh-hum.
     Gibson            And um, she had at one point, I believe said that she, she has a pulse. She's
                       like it's, it could be from the chest compressions.
     Goins             Uh-hum.
     Gibson            So, um, once the ambulance got there, they hooked him up and started
                       monitoring them and I don't remember if they said he has a pulse or not.
     Goins             How long do you think it was, uh, you administered first aid before... you
                       said the fire department got there first?
     Gibson            Yes sir.
     Goins             How long, how long, how long do you think it took them to get there?
     Gibson            Um, it might've been 20 minutes if that.      15, 20 minutes before they all
                       showed up.
     Goins             Okay.
     Gibson            It was 16:01 when we, we gotta call over the radio. Uh, 16:02 is when EMS
                       was notified, uh, on the phone and then we arrived here at University of
                       Louisville Emergency Room, room 9. At 16:40 hours. But I was busy <loin'
                       chest compressions. I didn't get the times when (Inaudible), and EMS showed
                       up.
     Goins             So, basically, from your notes, 38 minutes from the time that EMS was
                       notified to the time that you arrived at room 9. Is that correct?
     Gibson            Yes sir. That's correct sir.
     Goins             Okay. So, once the fire department got there, they assisted you in, uh, basic
                       lifesaving, the first aid that you were administering?
     Gibson.           Yes sir.
     Goins             And then EMS got there at the same time as the fire department or, or a little
                       biflater?
     Gibson            Uh, couple minutes later.
     Goins             Okay. And from your recollection, neither the fire department nor the EMS,
                       Paramedics and EMT' s, uh, they were, they were unsuccessful in starting his
     Statement: Gibson, Sgt. Darren/PIU Case #13-072       October 19, 2013        Page 5 of7



                                                                                         GB003503
             Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 24 of 625 PageID #:
                                                 1016




               Gibson            Yes sir.
               Goins             Okay. You also stated that, that EMS drilled something into his shin. Do you
                                 know what that was? Can you tell me... ?
               Gibson            Um, uh, pick line. Uh; they use a drill to go into the shin bone. Put the pick
                                 line in and that's probably administered to be uh, shots. Whatever they give
                                 him.
               Goins             Did he have any reaction to ... when, when that was bein'.done?
               Gibson            No visual reaction. No sir.
               Goins             The oxygen tank that, that the nurses placed on him. Did that stay on him the
                                 whole time until he got here to the hospital?
               Gibson            Uh, no sir. That was, um, removed and the ambu bag was being used. And
                                 then, uh, once we got into the ambulance ... once EMS got there, they were
                                 using combination of the ambu bag and oxygen.
               Goins             If you had to go back and, and do anything different, would you have done
                                 anything different by the way that you acted this evening?
               Gibson            I don't know of anything else we could've done sir.
               Goins             And is there anything else, any other information that, uh, that you wanna state
                                 for the record before we end? Somethin' I, I might have forgotten to ask you
(                                or you want to state for the record?
               Gibson            I can't think of anything right now, sir.
               Goins             Is everything you told me been the truth to the best of your knowledge?
               Gibson            It has. Yes sir.
               Goins             Saying that, we'll end this interview. Time is 18, 18:56 hours.
               END OF
               STATEMENT
               PIU
               File #13-072/pm




(.(
 ' ...   •     Statement: Gibson, Sgt. Darren/PIU Case #13-072         October 19, 2013       Page 7 of7



                                                                                                    GB003504
     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 25 of 625 PageID #:
rI                                       1017




                            POLICE OFFICER TAPED STATEMENT FORM



          OPENING

         This is · f:.     Go /ns       of the Louisville Metro Police Department's Public
         Integrity Unit.

         Today's date is: --~{_o.,_/~1_'1--+-/~1-~----
                                    t     I


         The time is:
                         ------------~



         We are present at: 810 Barret A venue, 4tjl Floor, in the Public Integrity Office.

                             Other Location:       L/oo S · (,, ./4- ~-f ·
                                               --~"---=-~"'--'-------


         This will be a taped statement from
         Gflieer ~ .t · C."1 r- I s     Hov-n io&:-k:
         This statement is in reference to PW case #_~1~3~-~D~7~2-~---------

 (       Present with me are Officer:
                                      --------~·
                                                      Attorney:
                                                               ----------·
         and Lt./Sgt.                        of the Public Integrity Unit.
                :S'5f.
         ~r, are you aware that this statement is being video and audio taped?

         Does this meet with your approval?


         BACKGROUND INFORMATION ON OFFICER

         qre-cer,59+
                  please state your full name and spell your last name.

         What is your code number?

         Where are you currently assigned?

         How long have you been in that Unit?

        · How long have you been on the Department?

         Are you under the influence of alcohol, drugs or any other intoxicants at this time?
         (If so, what are they?)




                                                  2006-12-?1
                                                                                                GB003505
         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 26 of 625 PageID #:
                                             1018




(            Are you ta1dng any kind of medication that would affect your judgment or your ability to
             think clearly?

             Did you sustain any injuries during this situation? (If so, please describe.)

             Did you receive medical treatment? (If so, where and by whom?)

             What type of uniform or clothing were you wearing at the time of this incident?

             Do you have the same uniform or clothing on right now?

             RIGHTS WAIVER

             Because of the statutory requirements ofKRS 15.520, I am obligated to advise you of
             your constitutional rights prior to asking any further questions. ~fil:B~~

             START THE STATEMENT/INTERVIEW


             ENDING THE STATEMENT

             Is everything you told me the truth to the best of your knowledge?
(            We will now conclude the statement. The time now is:     ~~~~~~~~~~~




    !1
    \.


                                                     2006-12-21                                GB003506
     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 27 of 625 PageID #:
                                         1019




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\

                                           October 19, 2013


       Goins          This is Sergeant Ed Goins of the Louisville Metro Police Department's Public
                      Integrity Unit. Today's date is October 19th, 2013. The time is 21:22 hours.
                      We are present at 400 South 6th Street in the Louisville Metro Department of
                      Corrections Public, um, Professional Standards Unit office. This will be a
                      taped statement from Sergeant Chris Hornback. This statement is in reference
                      to PIU Case # 13-072. Sergeant, you aware this statement is being audio
                      taped?
      Hornback        Yes sir.
      Goins           Does this meet with your approval?
      Hornback        Yes sir.
      Goins           Sergeant, please state your full name, and spell your last name.
      Hornback        My name is Sergeant Chris Hornback. Last name is spelled H-0-R-N-B-A-C-
                      K.
      Goins           And what is your badge number?
(     Hornback        333.
      Goins           Where are you currently assigned?
      Hornback        I'm assigned to Floor Security on the fifth floor of the Hall of Justice.
      Goins           And how long have you been in that unit?
      Hornback        I've been in Floor Security since the beginning of my career and as well as
                      when I was promoted to Sergeant. I've. also stayed in, in Floor Security.
      Goins           Okay.
      Hornback        Um, my, my floor assignment changes day-to-day. So, I'm not always on the
                      fifth floor.
      Goins           Okay. How long have you been on the department?
      Hornback        Uh, since 9-19-03.
      Goins           Okay. Are you under the influence of alcohol, drugs or any other intoxicants
                      at this time?
      Hornback        No sir.
      Goins          Are you taking any kind of medication that would affect your judgment or
                     your ability to think clearly?
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      Hornback          No sir.
      Goins             Did you sustain any injuries during this situation?
      Hornback          No sir.
      Goins             Did you, did you ... I'm sorry. What type of uniform or clothing were you
                        wearing at the time of this incident?
      Hornback          I was wearin' a Class 'A' uniform with my uh, Class 'A' duty belt.
      Goins             And do you have the same uniform or clothing on right now?
      Hornback          Yes sir.
      Goins             Because of the statutory requirements of KRS 15.520, I'm obligated to advise
                        you of your constitutional right to prior to asking any further questions. The
                        important thing is for you to understand that this is a criminal investigation.
                        Not an administrative one. But saying that, would you like to give me a
                        statement anyway?
      Hornback          Yes sir.
      Goins             All right. Thank you. Sarge, are ... were you working tonight, um, when there
                        was a, uh, Medical Alarm Call that went out concerning an imnate by the name
                        ofMamu Hindi?
      Hornback          Yes sir.
      Goins             And can you tell me in as much detail as possible; in your own words, what
                        you remember about this incident?
      Hornback          Okay. When the incident occurred, I was sittin' in the Control Room at my
                        desk. I was doin' my beginning of the shift paperwork on the computer. You
                        know, fillin' out the break sheets and um, just loggin' in at the beginning shift
                        activities. At. .. it was about 16:00. Well, I'm sorry. 15:59 Officer Ramsey
                        ran into the Control Room and he was yellin' that imnate Hindi was hangin'
                        his self and he had the type ... the 'knife for life'. Which 'knife for life' is
                        what we use to cut the sheets down when, when guys try to hurt themselves.
                        Um, at that time, myself and Officer Ramsey ran back over to the East Walk
                        where imnate Hindi was housed. He's in, he's housed on HS East, North 1,
                        Cell # 3. (Clears throat) Excuse me. Upon my arrival, I observed imnate
                        Hindi already on the floor. The Officer Sanders and Officer Skaggs had
                        already removed him from the sheet that he was usin' as a noose. They were
                        able to pull it apart rather than cut it down before we got back there. So, they
                        already had him on the, on the floor and he was on his back. And he was, his
                        head was facin' towards the, the cell door. And they were tryin' to revive him.
                        You know, they were checkin' him and tryin' to wake him up. And, you
                        know, that. .. they were checkin' his pulse and things like that. I tried to call
                        on the radio for my Control Room to notify the nurse that was on the floor to
                        respond back there; but there was some other radio traffic. I, I kept gettin' cut

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                         off. So, I just took off runnin' out there and I grabbed the nurse. I said hey I
                         need you to come back here real quick. This guy's down. He's hurt. He
                         needs help and I told the Control Room Officer to call the nurses station and
                         get some more medical staff up there. So, then we all ran back there again.
                         Me and the nurse. Officer Ramsey, Sanders and Skaggs were still tendin' to
                         him. Um, Nurse Malone. . . Nurse Angel Malone, I believe is her name. She
                         checked his pulse and checked him for signs of life. She said we need to start
                         CPR. So, we immediately started CPR. She was doin' chest compressions. I
                         used the uh, Ambu bag to give him, give him oxygen. And we ciJntinued that,
                         you know, for several minutes. Um, Officer Skaggs and it was Officer,
                         Officer Skaggs relieved the nurse on the chest compressions. Sanders assisted
                         with the bag so that I could, I could stop and start callin' in, you know, radio in
                         more stuff in. And gettin' some more people up there. Um, also, durin' all
                        this I, I, I advised Main Control to start EMS. As soon as we start... as soon
                         as I knew we had to start CPR, I, I called for am, ambulance; Um, so, we
                        started the CPR, the ambulance was comin'. The nurse said, "look, you need
                        to double check and make sure that ambulance is comin." So, I called again
                        on the radio and told 'em to make sure that, told Main Control to tell 'em to
                        step it up and to respond Code 3, 'cause we needed them there right away.
                        And um, you know. 'Cause we knew he was in trouble. And we continued
                        CPR. Um, additional nurses arrived. I'm not sure what all their names are. I,
                        I don't know. There was several nurses arrived. Several more officers arrived ..
(                       I've got most of their names written down. I, I couldn't tell ya right off hand
                        right now. But uh, several of those officers, including two more Sergeants
                        assisted with CPR. You know, 'cause they were gettin' tired. You know, we
                        worked on him for quite a while. Um, so, we continue CPR and the fire
                        department arrived and EMS shortly after. They continued carin' for him.
                        They hooked him up with a AED machine. Our AED machine that's assigned
                        to that floor was out of service. In fact, it's kinda strange 'cause right before
                        this incident, I just logged into the computer that it was out. You know, durin'
                        our equipment check that our Safety Officer had taken it out of service for
                        repairs. So, um, anyway they hooked the AED machine up to him and
                        continued CPR. They continued carin' for him. Um and then they decided,
                        you know, they, they put him on the backboard and got him on the stretcher.
                        We escorted him out. You know, downstairs to the Sal, old Sally Port at the
                        Hall of Justice. Got him on the ambulance and, and send him to the hospital.
                        Um, we had officers escort him there and they. . . you know, standard
                        procedures. We secure him in a security set. Which is a set of security
                        shackles. You know, anybody gets transported goes in those. So they ,put
                        them on him at, at the ambulance. Um, he was transported to the hospital and
                        I learned shortly thereafter... well about a few minutes later, I heard on the
                        radio he was goin' to room 9 and shortly there afterwards, I, we got the call
                        that he had, he had passed away. Um, most of the incident was recorded on
                        our body cameras.



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     Goins              Uh-hum.
      Hornback          I think at first the officer that was carryin' a body camera wasn't back there.
                        But, shortly there, shortly there durin' the incident he was there. When I got
                        done ... when I came up from <loin' CPR, the camera, he was there with the
                        cameras. I'm not sure how much footage he got. And then of course,
                        everythjng's recorded up there on the, on the floor video cameras. Um, I had
                        Officer Cooper come down from the 6th floor. He was maintainin' a log of the
                        activities goin' in and out of the incident as well as my Control Room Officer
                        Bullard. I was also takin' notes. Um, Officer Cooper is apparently new
                        officer. So, a lot of his notes wasn't very good. But, I mean, he, he was tryin'.
      Goins             Uh-hum.
      Hornback          Um, I've got a detail notes from the, from the Control Room Officer and then I
                        had my notes as well for the report. And then Officer Taylor, who had the
                        body camera.
      Goins             Who's that? Officer Taylor?
      Hornback          Taylor. Taylor had the body camera. That's the officer who was out there in
                        the hallway.
      Goins             Okay.
      Hornback          Um, and of course I radioed... Well as soon as I knew that there was an
                        inmate tryin' to hurt themselves, I immediately notified the Lieutenant on the
                        radio before I even got. .. I was walkin' back there.
      Goins             Uh-hum.
      Hornback          You know, when... and I radioed and I told him to respond. But I didn't
                        know how bad it was until I actually got there and then I realized he was
                        down, you know and then I started callin'. .. runnin' back and forth to get the
                        nurse and gettin' the ambulance.
      Goins             Okay. Okay.
      Hornback          Other than that I, I can't remember much after that. Other than just ...
      Goins             Okay.
      Hornback          You know, other than that; then you guys showin' up. (Laughs).
      Goins             That, that's fine, that's fine. You've been, been very thorough. Uh, just have
                        a few follow-up questions. Uh, just to make sure I understand everything.
                      · Um, or help. I guess help, help me clear up some things so I can understand.
                        Um, you said Officer Ramsey ran into the Control Room and, and retrieved the
                        knife.
      Hornback          Yes sir.
      Goins             To cut. .. that you all use to cut sheets.

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      Hornback          Yes sir.
      Goins             Do you know how he was notified that there's an inmate tryin' to hang himself
                        or (Inaudible)?
      Hornback         I'm not exactly sure. I think ... And it's just speculation, I think from ... and I
                       haven't actually sat down and talked to him about how he found out, but. ..
                       'Cause he was assigned to the West. I think that the um, the work aide that
                       was assigned back there to ... They was watchin' another inmate right next to
                       Hindi's cell. I think he came out there and told him.
     Goins             Uh-hum.
     Hornback          Um and then he went back there to see about him, you know. And then when
                       he got back there and the other two officers were, were there. They all went in
                       to get him down and I guess after they ... I'm, I'm assumin' that Ramsey
                       probably opened the door and then let Sanders and Skaggs into the cell.
     Goins             Uh-hum.
     Hornback          So they could get him down and then he ran over to get the knife. By the time
                       we got back over there they were able to get him, you know, off of it.
     Goins             But that's just spec ... you don't know that for a fact.
     Hornback          I don't know that for a fact.
(    Goins             You're just puttin' it together.
     Hornback          I'm just, I'm just guessin'.
     Goins             Right.
     Hornback          You know.
     Goins             Okay. Based on what you saw. That's ...
     Hornback          Right.
     Goins             ...that (Inaudible).
     Hornback          I know at some point, he, he found out that, that Hindi was tryin' to hurt his
                       self. I don't know if one those officers hollered for help and he went to see or
                       ifthe work aides came out and told him.
     1035Goins         Okay. All right. That's fine. Uh so when you first entered the cell, uh, what
                       was the first thing you saw?
     Hornback          Uh, when I first, when I first got in there, you know, um, me and Malone
                       pretty... Nurse Malone pretty much entered at the same time.
     Goins             Uh-hum.
     Hornback          Um, inmate Hindi was layin' on his back.           Um, he didn't appear to be
                       breathin'.

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      Goins             Uh-hum.
      Hornback          You know, he... and I saw the, the sheet hangin' from the bars. So, I knew he
                        really, he really tried to do it this time. You know, I knew he was tryin' to hurt
                        his self and the nurse was checkin' his vitals and you know, she started do
                        CPR and I uh, I grabbed the, the bag. We were, we had to put the bag
                        together.
      Goins             Uh-hum.
      Hornback          And then, and then I, I, you know, put it on his face and started pumpin' the air
                        in. So, um, other than that, I mean, the cell looked normal.
      Goins             Okay.
      Hornback          Um, you know, his bunk was made. He um, he's of the uh, Islamic faith and
                        he had his um, prayer rugs folded up on his bed.
      Goins             Uh-hum.
      Hornback          So, I mean, it looked like a normal cell.
      Goins             Okay.
      Hornback          You know there was nothin' out of place.
      Goins             Okay. Where was the uh, where was the oxygen bag you used? Where'd you
                        get that from?
      Hornback          Out of... we have uh, um, ER bag inside every Control Room.
      Goins             Okay.
      Hornback          So, you know, when I came out to grab the nurse, she grabbed that.
      Goins             Okay.
      Hornback          And we brought it back there with us.
      Goins             Okay. So, when you first saw inmate Hindi, um, you said it appeared that he
                        was not breathing?
      Hornback          Yeah. He didn't look like he was breathin, to me.
      Goins             Okay. Was his skin pale or his face blue or anything like that?
      Hornback          No. No. I mean, I didn't notice any discolor. I mean he had some facial hair,
                        you know. And when I was, when I was assistin' he, he ... his body felt
                        warm. You know, he wasn't cold or anything.
      Goins             Uh-hum.
      Hornback          So.
      Goins             Okay.


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     Hornback          But, but he, but there was ... I mean, his chest wasn't cornin' up and down.
     Goins             Okay.
     Hornback          And, and I checked him for air too when I was, when we were puttin' that bag
                       together. I didn't, I didn't hear anything or see anything.
     Goins             You said the nurse... she checked for a pulse?
     Hornback          Yeah. She checked his pulse.
     Goins             And what did she say?
     Hornback          And she, she, she said, "let's start CPR now."
     Goins             Okay.
     Hornback          And she started.
     Goins             Okay.
     Hornback          You know, basically she started CPR and said, "let's go."
     Goins             Okay.
     Hornback          So, we, you know, we started.
     Goins             So, the whole time that you were in the cell, uh, after EMS arrived and
(                      transported him to the old Sally Port. Um, did you see any obvious signs of
                       life? His eyes open, a breath, a movement, hands, leg, anything?
     Hornback          No sir.
     Goins             Okay. Um, you also mentioned just a few minutes ago, uh, something about
                       do it again. Is this the first time that he's attempted suicide or talked about it
                       or.. ?
     Hornback          He has talked about it before. I haven't had a whole lot of dealings with him
                       in the past several months but I do know that he has been on Level 1
                       observation before where he has made threats to hurt his self. Um, I don't
                       know a specific dates and times.
     Goins             Uh-hum.
     Hornback          We'd have to get that information from the medical or the mental health staff.
     Goins             Uh-hum.
     Hornback          But, I do know that he has been on levels before.
     Goins             Okay.
     Hornback          Where he's threatened to hurt his self.
     Goins             Okay.



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      Hornback          I don't know how many times.        But I do know at least once that it, it's      ('
                        happened.
      Goins             Okay.
      Hornback          You know, just 'cause I've heard stories about him, you know, bein' put on
                        those levels.
      Goins             Okay. Lookin' back on everything that, that had happened tonight. .. and I
                        know it's, it was probably very chaotic scene up there. Uh, but lookin' back,
                        uh, kinda in the hind sight. Um, specifically as a supervisor, is there anything
                        that you all could've done differently?
      Hornback          I, I, I can't see what we could've done different. I think we tried everything
                        we could. Um, the Wing Officers responded. You know, very quickly. They
                        jumped right in there and they started checkin' him. Um, the nurse got there
                        very quickly. You know, from the time I found out about it 'til the time we
                        had nur, a nurse in there and doin' CPR was, you know, a minute, 2 minutes
                        tops.
      Goins             Uh-hum.
      Hornback          And we immediately started care for him. You know, we, we tried everything
                        we could to save him.
      Goins             Uh-hum.
      Hornback          Um, we never let up on CPR. I mean some other officers and Sergeants did
                        arrive and they, they jumped in there and relieved the officers that were doin'
                        chest compressions. You know and, and... so we were constantly switchin' up
                        so it never let up.
      Goins             Uh-hum.
      Hornback          You know, there was never a time where they were too tired to keep goin'.
                        You know, we, we'd pull him out and put somebody right back on, on him.
                        And that continued even when the um, EMS and Fire Department showed up.
                        I believe Sergeant Gibson continued. . . was the one doin' the chest
                        compressions on the way on to the ambulance.
      Goins             When um, the Fire Department arrived, uh, did they, did they do any
                        additional, uh, basic lifesaving first aid? Other, other than chest compressions
                        and, and (Inaudible).
      Hornback          Um, yeah. They were checkin' his vitals and, and, and things. I mean, there
                        were so many people around. At that point, by the time they got there I'd
                        kinda stepped back out of the cell.
      Goins             Uh-hum.
      Hornback          And I was takin' notes and tryin' to log everything in and makin' sure that we
                        were clearin' the way for the Fire Department and stuff to get in there. But

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                        once they arrived, you know, they, there was several of 'em. And it's a very
                        tight quarters up there. Um, they were, you know, they had him surrounded
                        and they were workin' on him. You know. I'm not. .. they hooked him up
                        some of their machines and um, I don't know if they gave him any injections
                        or not. But I do know they hooked him up to their, to their equipment.
      Goins             Uh-hum.
     Hornback           And had monitors on him.
     Goins              Uh-hum.
     Hornback          And they, they too were, were doin' CPR as well.
     Goins             Okay. And the last, this last couple of question. Uh, can you estimate how
                       long it took for EMS to get there?
     Hornback          Um, actually I have the times. Um, I wrote everything down as it, as it was
                       happenin'. (Shuffling through papers) (Inaudible) on this piece of paper I
                       brought down here with me. Of course, that's not it. Well. .. I'm sorry I left
                       all that up on my desk. (Laughs)
     ,Goins            That's okay.
     Hornback          Sorry. Well anyway, it wasn't very, it wasn't. .. I don't think it was very long.
                       Um, I got over there at 16:00 I was callin' for the ambulance. I believe it's
(                      16:0, if I'm not mistaken, at 16:05 the uh, Fire Department arrived and I
                       believe at 16:08 is when EMS arrived.
     Goins             Uh-hum.
     Hornback          And then by, I'd have... I wish I had them in front of me. 'Cause I just did
                       our report.
     Goins             Uh-hum.
     Hornback          Logged all that in there. But I believe by 16:24 we were taking him to the
                       ambulance and then ... I mean, shortly after that, 'bout 16:30 he was on his
                       way to the hospital.
     Goins             Okay. Okay. And, and it's just a estimation.
     Hornback          Right. Right.
     Goins             That's fine. That's fine.
     Hornback          I have the exact times written down. I'm, I apologize for not havin' 'em right
                       in front of me.
     Goins             Okay. Um, had you had any prior, prior incidents? I know we. talked about
                       inmate Hindi and made reference about suicide or made threatenin' to suicide.
                       But, but in, in your time as a officer here and a, and a Sergeant while he's been
                       an inmate, have you had prior disciplinary incidents with him or anything like


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                        that?
      Hornback          I have in the past. Since I've been a supervisor, I've had no issues with inmate
                        Hindi. Um, I been assigned to areas that, that he was housed at.
      Goins             Uh-hum.
      Hornback          In the new jail complex. He was house, housed on J3 and J4 for a while. You
                        know, goin' back and forth there. We always keep him in a single cell.
      Goins             Uh-hum.
      Hornback          Um, but durin' those times, I had no incidents with him. Prior to that when I
                        was an officer, um, there was an incident where he had and we declared it a
                        cultural misunderstanding 'cause he was happy with the nurse and to give her
                        things. He tried to give her a hug and kiss. You know, to thank her for helpin'
                        him.
      Goins             Uh-hum.
      Hornback          And I'm thinkin' it was over gettin' him some medication or somethin'. But
                        from that he got written up. You know, 'cause that considered assaultin' a
                        staff member.
      Goins             Uh-hum.
      Hornback          You're not supposed to grab nurses or try to hug and kiss 'em. Um, so he was
                        written up for that. I wasn't, I wasn't involved with that but I'm not actually
                        the one that wrote him up. Another officer wrote him up and I just, I was just
                        there to escort him back and forth to talk with the supervisors that were
                        investigatin' that incident. Um, about a month or so later, I work J3. That's
                        the new, new jail and he was housed in Dorm 7, I believe, is where that
                        incident occurred. Um, it was Sick Call time. You know, the nurse has to go
                        to their dorm and, and our job was escort the nurse while they give their
                        medicine. Um, he came out of the dorm then and, and you know, for some
                        reason he... I don't know why. 'Cause I never had any bad, bad incident with
                        him or any kind of bad contact with him at all other than him gettin' written
                        up, you know, a month prior. But he had somethin' some kind of issue with
                        me and he was mad at me about somethin' and he was yellin' at me and things
                        and I'd been told by some of the other officers that he had a problem with me.
      Goins             Uh-hum.
      Hornback          And I thought well that's crazy. I haven' had any issues with him. You know,
                        I just thought they're, you know, I thought they were yankin' my chain,
                        honestly. And but that morning when he came out for Sick Call he had said
                        some things and I thought, man, you know, we gotta get to the bottom of this.
                        So, I asked him to step out and I was gonna escort him down to West Hold and
                        talk to him. Well, then he just, you know, he just went ballistic and was
                        screamin' and yellin' and ... Um, we end up havin' to walk him down to the
                        cell and, and secure him in West Hold and um, from there I had mental health       \___,;

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                        come up and talk to him. 'Cause he was in the mental health dorm at that
                        time.
      Goins             Uh-hum.
      Hornback          So I thought well he's just lost it. You know. For whatever reason. So,
                        mental health came up and talked to hini and they decided they were gonna
                        take him down to J2 for um, observation. Just to watch him. You know,
                        'cause I told 'em I don't know why he's got such a issue with me. Honestly, I
                        think he had me confused with somebody else.
      Goins             Uh-hum.
      Hornback          I don't know why or who it was. But. .. That's, that's what we figured.
      Goins             Okay.
      Hornback         Well from there um, the mental health staff come back to our floor and said
                       look he's got. .. he really has an issue with you and he...the whole time he's
                       been down there he's been makin' threats that he's gonna kill you. No matter
                       what:
      Goins            Uhm.
     Hornback          And he had said that when they were escorting him off the floor down to 2 but
                       I just blow it off. You know, cause guys in there say that all the time.
(
     Goins             Uh-hum.
     Hornback          But when the mental health doctor and the nurse came up and said look, you
                       guys need to file a report. He really may try to hurt you. We really think he's
                       goin' to.
     Goins             Yeah.
     Hornback          So, um, me and my Sergeant at the time, we, we talked about it. And we're
                       like well I guess we'd better do an Incident Report and we' 11 put charges on
                       him for terroristic threatening. So, we did that and then of course, he's a high
                       profile case, so that got blown all over the news. And uh, you know, which
                       was ridiculous. (Chuckles) But um, but after that, I mean, after that day, I
                       haven't had any more negative contact with him at all. You know, 'cause ...
                       even from that day I have seen him since then and I have talked to him and,
                       and said hello to him. You know, even after puttin' those charges on him.
     Goins             Uh-hum.
     Hornback          So, I, I don't know. It's kinda, kinda wild.
     Goins             And he, he never discovered the source of, of his apparent dislike of you?
     Hornback          No. No. I, I never knew the ... The mental health doctor that was here at the
                       time, he resigned and I never did get the full story. (Laughs)


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      Goins             All right. Uh, is there anything you wanna state for the record before we uh,     1/ ' '
                        end this interview?
     Hornback           No sir, other than uh, you know, we, we did everything we could to try and
                        save him. I uh, I am pretty upset that he passed away. You know. I don't
                        wish that on anybody. And um, from what I seen, all the officers did their job.
                        They, they did the best they could and I'm just sorry this happened. So. I, I
                        don't know. We'll just have to say some prayers for him and his family now.
      Goins             Okay.
      Hornback          I, I don't know what else to do,
      Goins             Okay. Is everything you've told me been the truth to the best of your
                        knowledge?
     Hornback           Yes sir.
      Goins             All right. Seeing that, we will end this interview. The time is now 21:44
                        hours,
      END OF
      STATEMENT
      PIU
      File #13-072/pm




      Statement: Hornback, Sgt. Chris I Case #PIU 13-072       October 19, 2013       Page 12of12

                                                                                     GB003518
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(-                          POLICE OFFICER TAPED STATEMENT FORM



         OPENING
                             I
         This is    12.· Go• n   6       of the Louisville Metro Police Department's Public
         Integrity Unit.

         Today's date is: _ __,/,..o._,_fi~"l..__,_./~1s~-----
                                     1
         The time is: _ ___,c.u__,_________ ,

         We are present at: 810 Barret Avenue, 4 1~ Floor, in the Public Integrity Office.

                             Other Location:       t-foo ? . ...kvit.'$8\-\
         This will be a taped statement from
         Officer    ~~;o · ..,\~~

         This statement is in reference to PIU case #_ _~1~'5~-~0~7~1.--~--------

         Present with me are Officer:_ _ _ _ _ _ _ _~Attorney: _ _ _ _ _ _ _ _~
         and Lt./Sgt. ·                         of the Public Integrity Unit.

         Officer, are you aware that this statement is being video and audio taped?

         Does this meet with your approval?


         BACKGROUND INFORMATION ON OFFICER

         Officer, please state your full name and spell your last name.

         What is your code number?

         Where are you currently assigned?

         How long have you been in that Unit?

        · How long have you been on the Department?

         Are you under the influence of alcohol, drugs or any other intoxicants at this time?
         (If so, what are they?)




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    '




             Are you taking any kind of medication that would affect your judgment or your ability to
             think clearly?

             Did you sustain any injuries during this situation? (If so, please describe.)

             Did you receive medical treatment? (If so, where and by whom?)

             What type ofunifonn or clothing were you wearing at the time of this incident?

             Do you have the same unifonn or clothing on right now?

             RIGHTS WAIVER

             Because of the statutory requirements ofKRS 15.520, I am obligated to advise you of
             your constitutional rights prior to asking any further questions. :mJlt~Jll!~~lt'®~

             START THE STATEMENT/INTERVIEW


             ENDING THE STATEMENT

             Is everything you told me the truth to the best of your knowledge?
(            We will now conclude the statement. The time now is: --~1~'1_5_1~-----




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(''
                                            October 19, 2013


       Goins           This is Sergeant Ed Goins of the Louisville Metro Police Department's Public
                       Integrity Unit, Today's date is October 191h, 2013. The time is 19:17 hours.
                       We are present at 400 South Jackson, University of Louisville Hospital. This
                       will be a taped statement from Louisville Metro Corrections Officer Antonio        I
                       James. This statement is in reference to Pill Case #13-072. Officer, are you     ~.
                       aware this statement is being audio taped?                                         I
                                                                                                          I
       James           Yes sir.
                                                                                                          I'
       Goins           Does this meet with your approval?                                                  I
       James           Yes sir.                                                                           I
       Goins           Please state your full name and spell your last name.
       James           Antonio LeMar James. James spelled J-A-M-E-S.
       Goins           And what is your code number?
       James           7657.
(      Goins           And where you currently assigned?
       James           The Booking Floor, sir.
       Goins           How long you, how long have you been in that unit?
       James           2 years, sir.
      ·Goins           How long have you been on the department?
       James           2 years, sir.
       Goins           Are you under the influence of alcohol, drugs or any other intoxicants at this
                       time?
       James           No sir.
       Goins           Are you taking any kind of medication that would affect your judgment or
                       your ability to think clearly?
       James           No sir.
       Goins           Did you sustain any injuries during this situation?
       James           No sir.
       Goins           What type of uniform or clothing were you wearing at the time of the incident?
       James           I am wearing a full Class 'A' uniform sir.
ll

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      Goins             Do you have the same uniform or clothing on right now?
      James             Yes sir.
      Goins             Because of the statutory requirements of KRS 15.520, I'm obligated to advise
                        you of your constitutional rights prior to asking any further questions. It's also
                        important for you to understand that this is a criminal investigation. Not an
                        administrative one and knowing that would you like to give me a statement
                        anyway?
      James             Yes sir.
      Goins             All right. Officer, Officer James, were you present this evening at Louisville
                        Metro Corrections when there was a medical call, uh, that went out concerning
                        an inmate by the name of Mahmoud Hindi?
      James             Yes sir.
      Goins             Can you tell me in your own words what actions you took or you observed, uh,
                        concerning the, this medical call?
      James             Yes sir. At the time of the call, uh, I got on to one of our computers down on
                        the Booking Floor and uh, checked to see who the inmate was who they were
                        speaking of at the time. Uh and so I pulled it up and was able to see who was
                        it. I saw there was a Mahmoud Hindi. Uh, at the time, we just kinda were at a
                        standstill. The Booking Floor wasn't too busy. So, we're just kinda listenin'
                        in to see what all was goin' on. Um, from that time there was just a, a short
                        little time and then a phone call I received; I didn't receive a phone call.
                        Another officer received the phone call. Uh, one of the Sergeants asked for me
                        and they told me to uh, grab my gear. My weapon, you know. And, and pretty
                        much, uh, head out to the old Sally Port. Uh, at the time, I didn't quite know if
                        I was gonna go on a run or maybe I was helpin' to direct traffic so no one
                        would try to stop and try to see what was goin' on at the time. But, uh, what I
                        did I end up goin' into Exterior Control Room. When I got there, they told me
                        that I was gonna go, possibly gonna go on a run. So, I end up goin' to
                        Exterior, Exterior Control and getting their, a uh, department, depart,
                        departmental cell phone. That way they could keep in contact with me. So,
                        when I was on the ambulance and when I, I arrived at the hospital I could let
                        them know what was goin' on at the time. So, from that time, I, I retrieved the
                        departmental cell phone, I went over to, uh, the old Sally Port and I stood
                        outside, uh and waited for the ambulance to arrive with, uh, Hindi. Uh and at
                        that time once they were (Inaudible) and everything and were able to get him
                        inside of the, uh, ambulance vehicle that I was to get on, get inside and would
                        ride with him to the hospital. Um, there was another officer who, uh, they also
                        had, uh, go along with me and it was, uh, Officer Stimphil. And he logged, he
                        rode along with me and we pretty much, uh, waited as they finished up and got
                        Hindi into the vehicle. Once they did that, uh, Officer Stimphil told me I
                        didn't, as long as I, along as me as well. Uh, it pretty much, they continued on


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                            with, uh ... At the time they, they come in with Hindi, they were <loin' uh,
                            chest compressions and using the device to put air into his lungs. I pretty
                            much stood out the way so that they could get him into the vehicle property,
                           properly secured and (Inaudible) waited once he was secured and uh, everyone
                            was told what they needed to do being the EMS and the Fire Department and
                            all the other officers once everyone was told what they needed to do.
                            (Inaudible). I entered the vehicle and I pretty much uh, sit around and make
                            sure I was out of the way so they could continue to give Hindi, you know,
                            compressions and uh, put air in his lungs. Try to keep him alive as much as
                           they can. Uh, once there was, uh, once everyone... the doors were shut, uh, I        '
                           was inside of the EMS vehicle. Uh, one of the EMS officers asked me, you
                           know, to grab, grab some gloves and uh, help with compressions. You know,
                           uh, my Sergeant, Sergeant Gibson, he had. been helpin' with compressions
                           from the time that they arrived to the vehicle. to the time that they got him in
                           and I know he was, you know, gettin' a bit fatigued. So, I had no problem
                           steppin' in to help with that. Uh, Sergeant Gibson, he started off with ... from
                           the time they got inside to the time we were inside the vehicle and then another
                           EM, uh, EMS officer, uh, traded up times with him and then at that time, the
                           EM, EMS officer was gettin' fatigued, I took in over for him. Uh, 'round that
                           time that I took over, we were gettin' closer to University Hospital. So, I
                           continued to give chest compressions while, uh, for, an EMS officer put a, put
                           the, um, breath into his lungs. At that time then, once we arrived at the, uh,
(                          hospital and uh, the vehicle actually stopped. My, uh, partner, Officer
                           Stimphil, he took over for me so that I could exited the vehicle and could help
                           get Hindi out of the vehicle and into the hospital. Uh, once Hindi was out of
                           the vehicle, Sergeant Gibson continued the, uh, he continued ... he took over
                           with the, uh, chest compressions until we were able to get into, uh, Room 9
                           which is the trauma unit at the University of, uh, University Hospital. At that
                           time, uh, University, uh, hospital staff, they took over and uh, that pretty much,
                           uh, completed everything we had, uh ... my, completed my part of the, the uh,
                           situation.
         Goins             Okay. Let me back up and just to make sure...
         James             Uh-hum.
         Goins             ... I understand a few things.
         James             Yes sir.
         Goins             Clarify a few things.
         James             Yes sir.
         Goins             The call to. . . the call that, uh, that inmate Hindi needed some medical
                           attention, did that come over the radio?
         James             Yes sir.
(l ..
         Statement: James, Ofc. Antonio/Pill Case #13-072        October 19, 2013         Page 3 of8


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      Goins            And do you remember what the, what the call was or what they said?
      James            Ub, not verbatim. Ub, I know they said, uh, 5021, medical, any medical staff,
                       uh, they come to the, uh, 5th floor, Eastside. Ub, see uh, I wanna say North 1,
                       bed 3. I think that's (Inaudible). I'm not quite sure. Yeah. I wanna say it's
                       North 1, bed 3.
      Goins            And that's, that's typical, uh, a typical call would come out just like that?
      James            Yeah, yeah. Uh, if anything it was if someone is havin' a seizure. If someone
                       just accidently fall out of the bed. If it was anything dealin' with medical, they
                       would make a call like that. Ub, but the ... this call usually serious for the
                       Sergeant on that floor. He uh, he repeated it again.
      Goins             Uh-hum.
      James             And then he also notified uh, via radio, for uh, our Lieutenant.
      Goins             Uh-hum.
      James             So. At that time, he was ... it was pretty serious.
      Goins             Because he called for his commanding officer?
      James             Yes sir.
      Goins             And that's not normally done?
      James             Ub, if it is anything that severe.
      Goins             Uh-hum.
      James             Then, yes. They will always call the commanding officer.
      Goins             Okay.
      James             Yes sir.
      Goins             Okay.
      James             Always call the commanding officer.
      Goins             So, you knew it was something serious.
      James             Yes. Yes.
      Goins             Just by the way it came over the radio.
      James             Just by the it came out. Uh, you could tell, uh, he was very a, he was a, very,
                        you could tell his tone was very serious.
      Goins             Uh-hum.
      James             And on top of that he immediately called for, um, our Lieutenant and uh. some
                        more medical staff.



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        Goins             Uh-hum. You said you, you said you pulled him up on the computer to see
                          what inmate it was?
        James            Uh-hum.
        Goins            Do they, so they, they, they used the inmate's name or you just looked him up
                         by his cell number?
        James            Uh, the cell.
        Goins            Okay.
        James            Uh, in our computer systems you can uh, uh ... each inmate is assigned to a
                         bed.
        Goins            Uh-hum.
        James            Uh, especially single cells. Each inmate who is in a single cell, you can tell,
                         you can look them up, uh, by their single cells. Uh-hum.
        Goins            And. . . So you, you found out on the computer that it was Ma, Mahmoud
                         Hindi.
        James            Yes sir.
       Goins             Is that correct?
        James            Yes sir.
(
       Goins             And had you .have any previous dealings with this inmate?
       James             Uh, I. .. was on a hospital run awhile back. I had to (Inaudible). Uh, can't
                         really remember the date or the time but, uh, when I (Inaudible) he didn't have
                         any problems. He was up here for medical reasons.
       Goins             Uh-hum.
       James             Uh, he's pretty quiet for the most part. Watch TV.
       Goins             Uh-hum.
       James             But um ...
       Goins             Y'all didn't have any conversations?
       James             Uh, he just talked to me about the TV shows and anything like that.
       Goins             Uh-hum.
       James             But nothing else.
       Goins             Uh-hum. And he wasn't a disciplinary problem at that time?
       James             I didn't have any problems out of him.
       Goins             Did he make any comments that you thought might've been strange or weird
(,(
       Statement: James, Ofc. Antonio/Pill Case #13-072         October 19, 2013      Page 5 of8

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                        or, or odd?
      James             Uh, he would a, he just. .. in my opinion the only question he would ask the
                        nurse, you know, can I have, you know, a cup of ice or, you know, somethin'
                        like that. The things that they are, they're allowed here in University Hospital.
                        But, I didn't have any problems with him.
      Goins             Okay. And then you received a phone call to go across the street to the only
                        Sally Port?
      James             Yes sir.
      Goins             Is that correct?
     James              Uh-huh.
      Goins             And what did the Sergeant tell you on that phone call?
     James              Uh, he just pretty much told me to uh, grab my gear. Grab my weapon and
                        then the gear from my duty-belt and just go outside and wait in Sally Port.
                        Wait for EMS to come with Hindi. And then from there I pretty much, uh ...
                        I went there and then, uh, I pretty much waited, um, to see what the situation
                        was.
      Goins             Uh-hum. And when you first saw inmate Hindi, I guess, coming to, coming to
                        the ambulance ...
      James             Uh-hum.
      Goins             ... what was goin' on with him?
      James             Uh, you had EMS, you had uh, our officers, Sergeants, uh, you had Fire
                        Department, uh, everyone... some nurses from the, uh, from the jail, uh,
                        Department of Corrections. Uh, everyone was pretty much... everyone who
                        could lend a hand and to make sure that, you know, he stayed... he had
                        breaths and they would... uh, our Sergeant. They would give compressions.
                        The EMS staff were pressin' breathe into his lungs. So, anyone who could do
                        anything, they were helpin'. Uh, think Fire Department were, you know,
                        gettin' the right type of, uh, medicines to, to keep him uh, you know,
                        stabilized. They were (Inaudible). Everybody who could do anything, that
                        they were able to without bein' too clustered, they, they, they did what they
                        could.
      Goins             Uh-hum.
      James             So, uh, that pretty much it. Everybody...they did what they did and then there
                        was some (Inaudible). Other staff too, as well who were also ... they were
                        people who responded to the call. So.
      Goins             Yeah.


                                                                                                            lj
      Statement: James, Ofc. Antonio/Pill Case #13-072        October 19, 2013         Page 6 of8

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           James            Everybody pretty much made sure that he was there and he was still takin' care
                            of him from the time he left, from the time he got to the ambulance to the time
                            we left.
           Goins            Okay. You, you referenced medicine. Were they tryin' to ... were they givin'
                            him medication?
           James            Uh, I don't know if it was like, uh, like medication, medication (Inaudible) to
                            like to stabilize him. The heart rate or to, uh, you know ... I don't know any
                            medical terms. So it just. .. to keep him in a pretty like safe area. Until they
                            were able to get him to the hospital.
           Goins            Was this through a, uh, pill or a IV or?
           James            I think, I, I wanna say like a IV.
           Goins            Okay.
           James            Yeah.
           Goins            But, do you know, was that in his arm or hand or do you know?
           James            Uh, I won't, I didn't quite check to see where it was.
           Goins            But you saw a, you saw a IV line or somethin' comin' from his body.
           James            Uh-hum. Yes. Yes sir. And they had IV line, they had oxygen.
(         Goins             Okay.
          James             Just <loin' whatever they could to make sure that he, you know, had breath in
                            him. Just tryin' to stay alive 'ti! they get him to the hospital.
          Goins             Okay. So, then you rode with him and the other... your Sergeant and another
                            officer...
          James             Yes sir.
          Goins             ... on the way to the hospital?
          James             Yes sir.
          Goins             Um, what was goin' on in, inside the ambulance?
          James             Inside the ambulance.
          Goins             On the way, on the way here.
          James             On the way. Uh, we pretty much were takin' turns, uh, giving compressions.
                            Me and my fellow officer and then our Sergeant and then another EMS guy.
                            The four of us who took turns givin' compressions and then there was one, uh,
                            EMS staff who was, uh, pushin' the breath into his lungs, And the four of us,
                            the four of us who are takin', uh, turns we just. .. soon as we noticed someone
                            was gettin' fatigued, we just one right after the other.
u"----
          Statement: James, Ofc. Antonio/Pill Case #13-072        October 19, 2013        Page 7 of8

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      Goins             Okay.
      James             Step in to give, uh, chest compressions.
      Goins             And you continued to do that 'til you got here to University of Louisville
                        Hospital?
      James             Yes.
      Goins             Okay. Durin' all that time, um, from the ride from Corrections to here, uh, or
                        even while you're getting him out of the ambulance, did it, did you ever notice
                        any obvious signs of life? Did his eyes come open? Did he breathe? Did he
                        move a hand or a foot?
      James             No sir. I didn't notice any signs oflife.
      Goins             Okay. Is there anything else you wanna state for this, uh, record? Anything
                        you wanna state for the record before we end this interview?
      James             No sir.
      Goins             Is there some other information that you have that, uh ... piece of information
                        that you think I should know? Something I might've forgot to ask you?
      James             No sir.
      Goins             Is everything you've told me been the truth to the best of your knowledge?
      James             Yes sir.
      Goins             All right. Seeing that, we'll end this interview. The time is now 19:31 hours.
      END OF
      STATEMENT
      PIU
      File #13-072/pm




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                                                                                   Pc. #:                       oa -
                                  LOUISVILLE METRO POLICE DEPARTMENT
                                         PUBLIC INTEGRITY UNIT
                                          OFFICIAL STATEMENT
(                                      CASE NUMBER: / 5- D/;:)
     Today's date is       0 d- lG\ f\/\_     1
                                                  ZL> I 3            The time is         j 0 '. )      7 ptvi_          hours.

    This is an interview with         De ~U).._Q )~o.(V\uvi                                (RIS)

    This interview is being conducted at:

    0         Public Integrity Unit, 810 Barret A venue, Louisville, KY 40204
    ff        Other Location:          lp DO W, Je._,-tf'..ifsotJ,                     LVVI DG



         (Title)       /                                                   (Name)

            QI ~Arou aware this interview is being audio and/or~ recorded?
            Q2          · anyone threatened you in order to obtain this interview?
            Q3 Lr~ou giving this interview of your own free will?
            Q4 @]$Jase, state your full name, and spell your last name. What is
            QS m y o u r home address including the zip code.
            Q6            · s the same as your mailing address? (If no) Mailing address?
            Q7~  Lj§tae our home telephone number with the area code.
            Q8 [21'S)a'. e your mobile and an alternate phone number with area code
            Q9 LB'~ you employed?
            QIO ~your employer and the position you                   there. (,,,.-,
            QI I             ·s your work telephone number
            Q12       e you aware the following interview wi


    PLEASE RAISE YOUR RIGHT HAND

    Do you,   D-e.s.e.o-n      ~fVIS-e~            , solemnly swear or affirm to tell the truth, the whole truth, and
    nothing but the truth, so help you    Go ?
    GND(i]Z:'{i                         OAIBTHATIHAVETAKEN

                                 Si    ture                                                                                  Time
                   .

    ----------- - - - - - - - - - - - - - - -
                             Witness signature
                                              .

                                                                                   -                                       - Time


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                                                                                       Nlfiar:t tD i; ·42'San~
               '            Notary Public, State at Large                                     My Commission Expires
                                                                                                                                                 .~
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                                                  October 19, 2013
                                                                          --
               Baker          This is Sergeant Mindy Baker with Louisville Metro Police Department's
                              Public Integrity Unit. This is gonna be official statement. Case number is 13-
                              072. Today's date is October 19th, 2013 and the time is 10:57 p.m. This is an
                              interview with DeSean Ramsey and it's being conducted at 600 West Jefferson
                              at Corrections. Present during this interview is myself and DeSean Ramsey.
                              DeSean, are you aware this interview is being audio recorded?
               Ramsey         Yes.
               Baker          Has anyone threatened you in order to obtain this interview?
               Ramsey         No.
               Baker          Are you giving this interview of your own free will?
              Ramsey          Yes.
                                                                                                                    ;jf
              Baker           Please state your full name and spell your last name.                                 ..   --~
                                                                                             '•'   .   ,;,,•

              Ramsey          DeSean Michael Ramsey. R-A-M-S-E-Y.                                              ..
(             Baker
              Ramsey
              Baker
              Ramsey
                             ...
                              What is your date of birth?


                              State your home address including the ZIP code.


              Baker           Is this the same as your mailing address?
              Ramsey          Yes.
              Baker           Do you have a home telephone number?
              Ramsey          Negative.
              Baker           Do you have a cell number?
              Ramsey
              Baker           Are you employed?
              Ramsey          Yes.
              Baker           State your employer and the position you hold there.
              Ramsey          Corrections Officer. Louisville Metro Department of Corrections.
              Baker           What is your work phone number?
!.(
      '---




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      Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 51 of 625 PageID #:
                                          1043




            Ramsey
            Baker            Are you aware the following interview will be a sworn statement?
            Ramsey           Yes.
            Baker            Please raise your right hand. Do you, DeSean Ramsey, solemnly swear or
                             affirm to tell the truth, the whole truth and notl:;ting but the truth, so help you
                             God?
            Ramsey           I do.
            Baker            Okay, just sign right there. And put the date.
            Ramsey           Okay. And it is ...
            Baker            All right. Regarding the incident that happened earlier, um, with, with inmate
                             Hindi. Can you just tell me in your own words what your role was and what
                             you observed and how you were involved in that.
            Ramsey            All right. I was in Five Control. Um, came out. .. I was leavin' out to get
                              some papers. Officer Skaggs ran to me and was like we have somebody back
                              there hangin'. I immediately followed him back to the East Walk, at cell 3 he
                              opened the door. Went in and I seen inmate Hindi hangin' facin' the wall
"''                           towards the window out with his back to us. I immediately ran to him and
                              grabbed a hole of him. Picked him up to relieve pressure from the sheet that
                              he had around his neck. After I did that, try ... Skaggs and Sanders were in
                              there with me. They attempted to pull the sheet off of his head. It wasn't
                              workin', so, I told Sanders to hold tight to h~t back, I just ran back
                              to the Control Room to grab the 'Knife of L~e sheet down. Came
                              back with the 'Knife of Life'. He was already down and had the sheet off of
                              hi                                                           I got back. We laid
                              him to the ground. 1mmed1ately start yellin', uh, Mr. Hindi's name. Rubbin'
                              him, movin' him. Seein' if he'd move his head or respond. He didn't. I gave
                              him a few, I will say 5 sternum rubs to see if he would respond to that. He did
                              not. Um, it was at that time, the nurse came and she said we needed to start
                              CPR. At that time, she began do chest compressions. While she was <loin'
                              that I observed, uh, Officer Sanders with a oxygen mask. Has a blue ball to it
                              that you squeeze and it gives the person air. He was holdin' to his face,
                              squeezin'. He got tired probably after like a good 2 minutes into it. Just
                              constant. So, I relieved him and I start~ag. I squeezed the
                              bag until more officers came. It was p~Other probably minute
                              and a half and after that, uh, I believe it was, I believe it was Officer Forbes.
                              Him. He relieved me. I stayed back because I couldn't make my way out. So,
                              I just stayed back and observed him and watched everyone else. Um,
                            . constantly asked 'em if they needed to change out. They was tired. They
                              didn't. I eventually relieved my Sergeant, Sergeant Gibson and oxygen bag
                              again. I squeezed as much as I could until EMS got there. They arrived. Uh,


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                   the whole time while they was <loin' their thing, I was still givin' him oxygen
                   through the little blue bag. We moved. Got up. They got him on the
                   backboard. Put him on a stretcher. I was still right there controllin' the
                   oxygen. Walked all the way to the... rode the little stretcher to the elevator.
                   Got on the elevator with him. I'm still givin' oxygen this whole time.
                   Elevator all the way down to the kitchen. We went out the old Sally Port.
                   Whole time still (Inaudible) on the oxygen. All way 'ti! we got to the EMS
                   van. We got inside the van. I was relieved by one of the EMS workers. I exit
                   the van. That was it.
  Baker            When Officer Skaggs ran and got you for help.
  Ramsey           Uh-hum.
  Baker            And you all both went back to the door. Had the door been open before both
                   of y'all went back or...
  Ramsey           No.
 Baker             ... you went back. And how did y'all get the door open?
 Ramsey           On the way back, Skaggs, uh, stopped at the box and he had keys, so, when he
                  ran back there, he popped the box and we both shot in. 'Cause he was right
                  there for me. Like leaned out, so, basically he stopped at the box. Opened it.
                  I kept goin'. He followed me and we both went in.
 Baker             s.ox211;. . ~, you open a box.
 Ramsey            Uh-hum.
 Baker            And then is there uh ... ? . ··. ·;I
 Ramsey           There's a button. He was in cell 3, so, he keyed it. Opened the box. He
                  pressed cell 3. The door opened up. Left the box. He ran down there. Just
                  left everything else. We both went in.
 Baker            Okay. When you first went in...
 Ramsey           Uh-hum.
 Baker            What'd you notice about him when you first went in?
 Ramsey           When I first went. .. I noticed that how he was, how he was basically like
                  hangin' his self. Like, uh, he has his ... basically, his body weight like he was
                  on his knees and when you go through the door, there's a window like on the
                  bar at the top and he was facin' that way. Usually it was odd 'cause usually
                  they face the opposite way. Like the door opens up and they're facing you.
                  He was faced away from us. So, he wasn't lookin' at us first I noticed and
                  knowed that he was like not movin'. So, normally he's out. . . He's
                  unconscious, so. Pick him up. Relieve that pressure and try to get him back.
                  That was the first thing I noticed was how he was, how he was actually


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                       hangin' his self.
      Baker            When you went to pick him up, did you notice ifhe was cold to the touch? If
                       he was warm?
      Ramsey           He wasn't at that time. I grabbed... I didn't have actual skin contact 'cause he
                       had a jump suit and I had these ... on BDU's. Long sleeves on. But I reached
                       around him, when I picked him up, I didn't feel anything. He was at the point
                       that when I left and came back and they already had the sheet off of him. He
                       laid him down. That's when I start feelin' contact and I felt his hands 'cause
                       we moved him over and he was, he was cold. He had a few ... his hands were
                       cold. His ears were turnin' a little blue and I noticed his toes was blue or
                       purplish. At that time.
      Baker            So he was cool to the touch?
      Ramsey           At that time, yes.
      Baker            Okay. You didn't notice a pulse?
      Ramsey           I didn't check. I didn't um, I don't even know how to check for a pulse to feel,
                       so. Uh, I didn't check for a pulse or anything like· that. I just basically
                       shoutin' his name. Shakin' him. Tryin' to get him to respond. A few sternum
                       rubs on the top. Nothin'.
      Baker            Okay. So did it look like he was on his, like his knees were actually touching
                       the ground?
      Ramsey           Yes.
      Baker            How was his, um, neck or his head? Was his head tilted down? Was it up?
                       Did you, do you (Inaudible)?
      Ramsey           It was, it was basically, it was, it was like, um, it's like... It wasn't down. It
                       is like in a regular position how he was layin' and how he had the sheet.
                       'Cause like I said it was odd because he was facin' away. So usually like ifit
                       was a sheet, he was like tryin' to push his head forward. But when his... like
                       a regular person standin' upright and he wasn't drooped over or anything. He
                       was just standin' right there and the weight of his body just had his head
                       perfect. Like it was just lined up perfectly. It wasn't forward, it wasn't back.
                       It was just like a regular person.
      Baker            So if you were walkin' by ...
      Ramsey           Uh-hum.
      Baker            ... and you just glanced over... if you didn't see the sheet hangin' ...
      Ramsey           Uh-hum.
      Baker            ... you might've of just thought he ...


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('     Ramsey           You would think, you, you'd think he was prayin'.
       Baker            Did he do that a lot? Did he pray?
       Ramsey           He did a lot. With Hindi did a lot of prayin'. He did a lot.
       Baker            Are you normally on that floor?
       Ramsey           Yes.
       Baker            So you dealt with imnate Hindi a lot.
       Ramsey          A lot.
       Baker           What. .. Usually what is his demeanor? How is he... ?
       Ramsey          Absolutely perfect. Like he's fine. Tells me jokes. Uh, he's always smilin'.
                       Ask for his (Inaudible). Gets his medicine on time. Never had not one
                       problem out of him.
       Baker           And he prays a lot?
       Ramsey          A lot.
       Baker           And you can.. .is he... how' d you know? Is he... can you hear him or... ?
       Ramsey          Yeah. You can hear him prayin' or when you just walkin' by, you can see him
                       on his prayer rug and doin' his prayer. Just keep goin'. Sometimes you can
(                      hear the stuff he says. And just like any other day.
       Baker           When he prays and you walk by, is that usually the way he's facin' and where
                       he's at?
       Ramsey          No. But he's prayin'. He's usually facin' like towards the door. He walked in
                       and he's facin' the wall. But when he's prayin' he's usually facin' outward.
                       Like how if we walk through a door and you see him first. Eye contact. He's
                       not gotta his back to ya or anything.
      Baker            Was it anything odd about today with his demeanor?
      Ramsey           I didn't, I didn't have .no contact. I was on the, I was assigned to the West.
                       So, it's the other side. Um, so, I didn't have the ... kind to like, have
                       communication with him. I would (Inaudible) on my way back there and like
                       joke around with everybody. But today I didn't get a chance to, uh, so. I
                       didn't have like no contact with him to that point.
      Baker            But he, you said he, he's, he jokes with you and ...
      Ramsey           Uh-hum. Yeah. He's complete. Never had not a one problem out of him. At
                       all.
      Baker            Is this somethin' that, that he's never mentioned before or would you have
                       ever thought he would've done this?


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      Ramsey           No. Not with the all ... I never heard him say anything about it. I never heard    ('
                       him threaten his life. Anybody else. Like I said, when I'm around I guess our
                       rapport's, so, it was good rapport. But when I'm around him, I, I never not
                       one incident with him. He's always smilin', laughs, thumbs-up all the time.
                       He always gives me the thumbs-up. Everything he does. That's what I
                       remember about him.
      Baker            So the, this kind of shocked you?
      Ramsey           It did! It actually did 'cause I wanna... Skaggs came and said somebody back
                       there hangin'. I did not expect it to be Mr. Hindi. Did not.
      Baker            I may have asked you this.
      Ramsey           Uh-hum.
      Baker            At any time did you hear anybody say that he had a pulse or um, they could
                       feel a pulse whether it be the nurses or EMS, Fire. Did you ever hear anything
                       like that?
      Ramsey           They did not. I didn't. I was focused on like what was goin' on. I. .. it. .. a
                       lot of it was on, there was a lot of people back there and it was strange that I
                       didn't hear none ofit. Just basically focused and seein' ifhe moved. That was
                       the main thing.
      Baker            And you never saw that?
      Ramsey           Never saw him move.
      Baker            After they... EMS took him out of the cell...
      Ramsey           Uh-hum.
      Baker            ... and they transported him, what'd you do after that?
      Ramsey           I went with him. I was the one supplyin' oxygen. Like somebody had the, the
                       mask on his face. Like pressed air so it's a good seal. And I basically just
                       squeezed the bag. Give air in there. To give air to his body. The whole time.
                       Since ... when we left his cell 3, got to the elevator. Down on the elevator.
                       All the way through the kitchen. Out to Sally Port into the van. I was the one
                       givin' him air. Or attemptin' to.
      Baker            When you all go down and walk through the hall.
      Ramsey           Uh-hum.
      Baker            Do you usually look into each cell as you're goin' down through?
      Ramsey           Yes. Uh-hum. It comes just like second nature.
      Baker            When had you been in there...had you been in there before that happened?
      Ramsey           Have not. Not that day. It was early in the shift and I was still tryin' to get


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                         things settled on my side and when I came in at Control, that's when I seen
                         Skaggs. I wasn't. .. I ain't even been, I ain't even been off the dorms to my
                         side yet.
        Baker            Okay. Is there anything, any other questions, anything that I haven't asked
                         you that you can think of that may be beneficial to this case?
        Ramsey           Uh-uh.
        Baker            Any other details? Things that you might've seen or heard?
        Ramsey           No. I was the second one in. I. .. nothin' from that point when we, I mean, I
                         didn't. .. like I said, it was a shock to me. So. And like, it was like prepped or
                         anybody said anything. Like somebody back there <loin'. I just heard
                         somebody's back there hangin' and I went. And for me goin' to that cell first
                         time that day until they, we left, that was my only interaction, only thing I
                         heard from him. I didn't hear nothin' from my work aid. I didn't hear nothin'
                         from anybody else but Skaggs tellin' me when we we~t back there.
        Baker            Did inmat~ Hindi have uh, a good relationship or um, with, with all the
                         Correction Officers on, on, that work that area?
        Ramsey          Uh, that worked there. I, I would say yeah. I haven't heard of anything of him
                        havin' a problem with anybody. See, he was, he was a easy guy. He was a
                        real easy guy. Always smilin' and never, never caused a problem. I don't
(                       remember him havin' a problem with anybody that comes to mind.
                        (Inaudible) that's on that floor.
        Baker           And the way the cells operate ...
        Ramsey          Uh-hum.
        Baker           There's a ... no way that anyone could have gotten into the cell with him
                        unless they had a key and had released and opened the cell door.
        Ramsey          Absolutely.
        Baker           So, the work aid that walks back and forth.
       Ramsey           l)h-hum.
       Baker            Don't. .. they do not have access to get in those cells.
       Ramsey           No.
       Baker            Okay. Um, I don't have any other questions. Like I said, is there anything
                        else that you wanna add to the statement before we conclude?
       Ramsey           No. With my involvement, that's all I can. . . I went through it a lot in my
                        head. Over and over. Just to make sure I wasn't missin' nothin' but that's
                        everything.
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      Baker            Okay.
      Ramsey           On my end.
      Baker            Uh, with that is everything that you told me the truth to the best of your
                       knowledge?
      Ramsey           Absolutely.
      Baker            Okay. We will conclude this statement. The time is 11: 10 p.m.
      END OF
      STATEMENT
      PIU
      Case#l3-072/pm




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                                             LOUISVILLE METRO POLICE DEPARTMENT
                                                    PUBLIC INTEGRITY UNIT
                                                     OFFICIAL STATEMENT
(                                                 CASE NUMBER:      11 ~- CJ '1 ;'.).
      Today's date is                 Ia / I'1 / 1')                        The time is          °I : G&. p     IV\_   hours.
      Thisisaninterviewwith                   OfL Ge£l(l66          ~D::ii.5                           (RIS)
      This interview is being conducted at:
     0 Public futegrity Unit, 810 Barret Avenue, Louisville, KY 40204
     ~Other Location:           le l:'C t_:.....). ·s~ ~...J [,(VI                                             ac
     Present during this interview is;
                                                                      SG-+. I<. fA'-(0fL {p-1- L')
          (Title)                        .                                        (Name)
               QI         ~aware       this interview is being audio and/or video recorded?
               Q2 !k(H~yone threatened you in order to obtain this interview?
               Q3 Lj-1\re you giving this interview of your own free will?
               Q4 [2J".Please, state your full name, and spell your last name. What is your date of birth.
               Q5 Gstate your home address including the zip code. ~
               Q6 (g1s this the same as your mailing address? (If no) M~dress?
(
               Q7 Gh;tate your home telephone number with the area code.
\.             Q8 [2fJ')tate your mobile and an alternate phone number with ar
               Q9         0
                      Are you employed?
               QlO c:rstate your employer and the position you hold there.
               QI I LJWhat is your work telephone number?
               Q12 0 Are you aware the following interview will be a sworn statement?

     PLEASE RAISE YOUR RIGHT HAND

     Do you, C..,ec<U.£ ~1-..j CG'L-5                     , solemnly swear or affrrm to tell the truth, the whole truth, and
     nothing but the truth, so help you God?




                                                                                          Date                           Time

                                                                                          T'\,...+ .....
                                      Witness signature                                                                  Time
      Subscribed and sworn to me by                         of-C- GCcK."(::, S .SA~ D~
     11118            /   1 fir.         day of 6 Cro     <7~                  2o 13         KEVIN l TAYLOR Notary ID# 451725
             ----1/           ----?                                                          Nolllry Pl.lblic:, State at Large KY
               /-J-.~ ~State at Large
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       Taylor          Okay. This is Kevin ... Sergeant Kevin Taylor of the Louisville Metro Police
                       Department's Public Integrity Unit. Uh, this is gonna be an official statement.
                       Case #13-072. Today's date is 10-19 of2013. The time is gonna be 9:56 p.m.
                       This is gonna be ub, an interview Officer George Sanders of, ub, Louisville
                       Metro Division of Corrections. Our location is gonna be 600 West Jefferson at
                       the PSU Offices of Metro Corrections. Uh, present durin' this interview is
                       myself, Sergeant Kevin Taylor of Public Integrity. Um, Officer Sanders are
                       you aware this interview is being audio recorded?
       Sanders         Yes.
       Taylor          Has anyone threatened you in order to obtain this interview?
       Sanders         No.
       Taylor          Are you giving this interview of your own free will?
       Sanders         Yes.
       Taylor          Please state your full name and spell your last name.
       Sanders         Uh, George Sanders. Uh, my last name is S-A-N-D-E-R-S.
       Taylor          And what is your date of birth?
       Sanders
       Taylor
       Sanders
                      -State your home address including the ZIP code.


       Taylor          And is this same as your mailing address?
       Sanders         Yes.
       Taylor          Okay. State you home number and area code.
       Sanders         Uh, area   code~
       Taylor          State you mobile or alternate number.
       Sanders         Uh, cell number i~
       Taylor          Are you currently employed?
       Sanders         Yes.
       Taylor          State your employer and the position you hold there.

1,(    Sanders        Um, I work at Louisville Metro Department of Corrections. Um, I'm a Floor




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                        Officer.
      Taylor            Uh, what is your work number there?
      Sanders           Uh, work number, my badge number?
      Taylor            Uh, the phone number to the Corrections.
      Sanders           Shoot I haven't. .. (Chuckles)
      Taylor            Okay.
      Sanders           Uh, I, I might have it wrote down somewhere. (Laughs) I'm sorry.
      Taylor            Okay. That's okay. I mean, these (Inaudible) I'm askin', are you employed?
      Sanders           Okay.
      Taylor            I mean, I know that. But yeah. It's just like a set of questions that's on this
                        sheet here.
      Sanders           I understand.
      Taylor            Are you aware the following interview will be a sworn statement?
 .
      Sanders           Yes.
      Taylor            Okay. Please raise your right hand? Do you, George Sanders, solemnly swear
                        or affirm to tell the truth, the whole truth and nothing but the truth, so help you
                        God?
      Sanders           Yes.
      Taylor            Okay. I just need your signature right there    w~de           an 'x'. Signature,
                        date and time. And we can begin.                  1111111111
                        Today's 9~ ·


      Sanders           Been writin' it all day. Time is 22:00 hours. (Inaudible). My signature right
                        here?
      Taylor            Yeah. That's it. You got it. You do.
      Sanders           Okay.                   ~
      Taylor            That's it.
      Sanders           That's it. There ya   g~
      Taylor            All right. Okay. Officer Sanders, um, we're here investigatin', uh, uh, an in-
                        custody death that occurred at Metro Corrections tonight. Um, just in your
                        own words could you just explain, um, how you became involved with the
                        incident?



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       Sanders          Um, I was comin' from, uh, South 1. I just got done talkin' with some inmates
                        over there. I was comin' down the hallway that leads from, from South 1. The
                        hallway that goes to North 1. And I heard, um, Officer Skaggs holler for
                        Officer Ramsey and I come round the comer and Officer Skaggs motioned to
                        me to go to one of the cells. I didn't which cell he was open, at the time. And
                        I saw the door open and really didn't was goin' into. Until I got in there.
       Taylor           Wow.
       Sanders          And uh, and it just all took, everything just took over.      You know, I just
                        grabbed him.
       Taylor           Uh-hum .
       Sanders          . . . and lifted up on, uh, Mr. Hindi. I grabbed him immediately and just picked
                        up on him. And uh, Officer Skaggs was just tryin' to pull it off of this, you
                        know, his, uh, over the top of his head. Which he had a hard time at first.
       Taylor           Uh-hum.
       Sanders          And uh, Officer Ramsey went to get, uh, scissors to cut it and I was just
                        holdin' him. And that's, I mean, that, that's it. That's pretty much as
                        quick. .. that's just. .. I mean, it. .. a blink of eye of how quick it happened.
      Taylor            Okay. Do you know who first, uh, found, uh, Mr. Hindi?
(      Sanders          Um, it was my understanding and uh, that the inmate walked by. A inmate
                        that was <loin' a 101.
      Taylor            Uh-hum.
       Sanders          (Jfu,"~d somethin' to uh, Officer Skaggs. Hey, you have a guy apparently is
                        tryin' to hang himself or so.methin' to that matter. I'm really not sure. 'Cause
                        I. ..
      Taylor            Okay.
      Sanders           But, you know, that's all I really know.
      Taylor            Okay. When, when you first, uh, entered the cell, um, do you remember which
                        face, which, which direction he was facing?
      Sanders           He was facing the ... away from us. He had his back to the door.
      Taylor            So his back was to the door?
      Sanders           Right. It looked, it looked like he was kneeling.
      Taylor            It did?
      Sanders           Yeah.
      Taylor            Okay. Could you tell ... were, were his knees on the ground?

\(    Sanders           I couldn't tell. I didn't even look.


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      Taylor            Or touching?
      Sanders           To be honest with you. I just immediately went to grab him. That's it.
      Taylor            Okay. All right. So, let's see you grabbed him to ... I guess in an attempt to
                        kinda hold him up.
      Sanders           I've just. .. yeah. I literally picked ...
      Taylor            Uh, uh, you (Inaudible) while the officer did the...
      Sanders           I had him picked up. I picked his whole entire body up. And his head, his
                        head fell back and landed on my shoulder right here and then he went limp this
                        way and I just pulled him back and then Skaggs was, Officer Skaggs is right
                        there, you know, with me the whole time. That's how quick it all, it all
                        happened.
      Taylor            Okay. Um, at any time during that, uh, period did, did it appear that he was
                        conscious or unconscious?
      Sanders           I don't know. He, uh, he was unconscious.          I'm almost positive he was
                        unconscious. He was limp.
      Taylor            Okay. Um, once it's removed, uh, what happened next? Once, once...
      Sanders           I let him down on the j1oor and laid him back.
      Taylor            Okay.
      Sanders           And we... I checked, I checked his vitals. I che, I checked his neck.
      Taylor            Okay.
      Sanders           I was, I was still (Inaudible) a pulse. I could find one. And then everything
                        just started happenin' so fast.
     .ifaylor           Okay.
      Sanders           At that point.
      Taylor            Um, who administered CPR?
      Sanders           We all started workin' on him.
      Taylor            Okay. But can you give me who all was assisting (Inaudible)?
      Sanders           Oh. That (Inaudible) me, um, Officer Skaggs, Officer Ramsey. Shortly after
                        that, the nurse showed up and we all would just started workin' on him. Uh,
                        we put the breath, um, the mask on his face. Um, Skaggs started <loin' uh,
                        chest compressions. I was to his ... squeezin' of the bag.
      Taylor            Who was the nurse?
      Sanders           Oh, I can't remember her name. I can't remember none of the nurses names



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          Taylor            Can you describe her to me? What does she look like?
          Sanders           Uh, short black lady. Probably in her late 30's. She, she was right there with
                            us. She was helpin' us.
          Taylor           Could it have been Malone? The name ring a bell?
          Sanders          I don't know. I don't have any idea.
         Taylor            Okay.
          Sanders          I didn't. ..
         Taylor            So durin' the, durin' the course of CPR, you guys were takin', were probably
                           takin' ... doin' a rotation. Um. . .
         Sanders           Well, um, yeah, um, I was, I was <loin' the, uh, bag. My hands, my forearms
                           _started crampin'.
         Taylor            Yeah.
         Sanders           Okay. And I was <loin' it and I said, hey, I need somebody to take the bag.
                           And I think it was Ramsey. I'm not sure.
         Taylor            Okay.
         Sanders           I, I don't know who relieved me and at that point, then I just slid over and held
                           the mask over his mouth and his nose.
         Taylor            Okay.
         Sanders           And uh, and I did that for a little while. I don't' know how long. And I had
                           my legs underneath me.
         Taylor            Uh-hum.
         Sanders           Squattin' down on my legs. It was cramped right there. And my legs went to
                           sleep. Okay. And I started crampin' up.   ·
         Taylor            Yeah.
         Sanders           I was in a lot of pain at the time. And I said somebody's gotta hold this mask.     .   i

                           I gotta get up.                                                                         '




         Taylor            Right.
         Sanders           And then somebody else jumped in. I'm not even sure who jumped in at that
                           point.
         Taylor            Okay.
         Sanders           I don't even.. .I didn't even look at anybody's faces. I was just, you know,
                           lookin', you know, Mr. Hindi. I was just tryin', you know, (Inaudible) all
                           tryin' to get it together, sort to speak.
((
- ~--

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      Taylor            So, any time during, uh, the CPR, did it appear that you guys might've been         ('
                        able to revive him. Did you see any signs of... ?
      Sanders           I don't, I really don't, I don't really don't know. I thought we did at one time.
      Taylor            (Inaudible).
      Sanders           'Cause I saw, I saw his jaw move and his tongue move.
      Taylor            Really?
      Sanders           And I, and I hollered out. I said, hey, he's movin' his tongue. He's movin' his
                        tongue. But I don't know if, I don't know if that was, you know, I'm right
                        there in his face. Holdin' it, right?
      Taylor            Right.
      Sanders           You follow me? You understand what I'm sayin'?
      Taylor            Yeah.
      Sanders           And uh, and I just, probably just blurted it out just out of, you know. Okay,
                        cool. You know, we're gettin' somewhere with this.
      Taylor            Yeah.
      Sanders           You know, it's pretty crazy. It was kinda, it was ... We were, you know and
                        Skaggs was doin' chest compressions. He was workin' his butt off. The nurse
                        was doin' chest compressions. Skaggs was doin' chest compressions and I. ..
                        somebody else jumped in. I, I. .. one of the Sergeants jumped in at that point,
                        I believe.
      Taylor            Okay. Um, do you normally like do the same job every day or does every day
                        you end up you could be doin' somethin' different? Just in terms of ...
      Sanders           On a given week, I might work on the, on the, in the old jail. HS. I might be
                        over there three days a week and I might be somewhere else two days a week.
      Taylor            So, were you one of the officers on that floor?
      Sanders           Yes.
      Taylor            Okay.
      Sanders           I was assigned to that floor that day.
      Taylor            Okay. Explain to me how the, how the, you know, thejail works in terms of,
                        you know, an inmate that's inside, um, a single cell.
      Sanders           Okay.
      Taylor            Um, how does it work in terms of, um ... Would anyone have access to enter
                        his cell?
      Sanders           No. It would be impossible.


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('<    Taylor            Is that even possible?
        Sanders          No. It'd be impossible.
       Taylor            Not possible? Okay.
       Sanders           It's not possible, no.    That. .. no. Those doors when they're locked, their
                         logged.
       Taylor            Okay. And can you explain to me what's the process for, for opening a door?
                         For any cell.
       Sanders           You have to ... okay. At the end, at the end of the halls, um, there's a box.
       Taylor            Uh-hum.
       Sanders           (Inaudible) box. And it takes a certain key to open that lock.
       Taylor            Okay.
       Sanders           Okay. You turn the lock and then you grab the handle and you push down and
                         pull out at the same time.
       Taylor            Okay.
       Sanders           And that's where the control panel is to open the doors.
       Taylor           .okay.
       Sanders           And it would... somebody would have to do that to open a door up and down
                         that walk. Right there.
       Taylor            So, um in addition to the work aide, uh, do you guys periodically walk up and
                         down to check on the inmates?
       Sanders           Yeah. Absolutely.
       Taylor            Um, did you do that today?
       Sanders           Yes.
       Taylor            Uh...
       Sanders           Actually, I, I, I saw Mr. Hindi at probably, probably round 10 after, 15 after,
                         sitting on his rack. I was doin' my count. I was goin' through, you know, we
                         have to do our count to begin our shift.
       Taylor            10 after what?
       Sanders           I'm gonna say at 10 to 15 after three. That's the beginning of the shift.
       Taylor            Okay. And you say he was doin' what?
       Sanders           He was sitting on his, on his bed. And then I saw him again be... later. A
                         little while later. I think he was, I, I'm almost positive he was still sitting on
                         his bed, at that time. You know, you walk by and you catch... you know, you


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                        glance, you, you're walkin', you glance. You keep goin'.
      Taylor            Right.
      Sanders           You know, you really study what, what they're <loin' per se.
      Taylor            Right. So, at any time, did they, did anything about, um, Mr. Hindi's behavior
                        seem different?
      Sanders           No. He was very quiet. He didn't, he didn't say much to anybody.
      Taylor            (Inaudible) normally (Inaudible)?
      Sanders           Yeah. He was very polite to all of us.
      Taylor            Really?
      Sanders           Yeah. I never had a lick of trouble with him.
      Taylor            Okay.
      Sanders           No. Absolutely not. He was, he was always, you know, Mr. Hindi you want
                        your (Inaudible) out. Yes please, da, you know. No. He was very polite to us.
                        We never had an trouble with him.
      Taylor            Okay. Um, is there anything else you'd like to add to your statement before
                        we conclude?
      Sanders           No. That's it.
      Taylor            Okay. All right. Well, the time now is, uh, 10:09 p.m. and that will conclude
                        this statement.
      END OF
      STATEMENT
      PIU
      File #13-072/pm




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                                   LOUISVILLE METRO POLICE DEPARTMENT
                                          PUBLIC INTEGRITY UNIT
                                           OFFICIAL STATEMENT
                                        CASE NUMBER:  {3 0 ] ~
      Today's date is     , ( Q(   \ °t / l,J                       The time is     J? ' t 2..- p,v.     hours.
      This is an intervie~~th       {LA '(V\ON 0. S I(/\ 6-C-5                        (RIS)

     . This interview is being conducted at:

      0       Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204                    /                  "-.
      ~therLocation:                      (oG0~   W.        -;;)£Bi_,~~,.J           z;.-f,    (_LfVl fJC l
      Present during this interview is;
                                                       S G--t, lz.
                                                                                                       Pxu)



 (




     PLEASE RAISE YOUR RIGHT HAND

~o you, (L~ ~ o pJ S/(.A C,.,?- S                 , solemnly swear or affirm to tell the truth, the whole truth, and
     nothing but the truth, so help you God?




                               z:_-
     I UNDERSTAND THE ABOVE OATH THAT I HAVE TAKEN.


ft ,,,;M~                                                                         Date                      Time




                           Notary Public,                                                My Commission Expires


                                                                                                         GB003547
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    /
t


                                                  October 19, 2013


             Baker           This is Sergeant Mindy Baker with Louisville Metro Police Department's
                             Public Integrity Unit. This is official statement. Case number is 13-072.
                             Today's date is October 19th, 2013 and the time is 20:12. This is an interview
                             with Ray, Raymond Skaggs. This interview is being conducted at 600 West
                             Jefferson in Corrections. Present during this interview is myself and Sergeant
                             Kevin Taylor and Officer Raymond Skaggs. Officer Skaggs, are you aware
                             this interview is being audio recorded?
             Skaggs          Yes.
             Baker           Has anyone threatened you in order to obtain this interview?
             Skaggs          No.
             Baker           Axe you giving this interview of your own free will?
             Skaggs          Yes.
             Baker           Please state your full name and spell yol.lr last name.
             Skaggs          Ramone Dominic Skaggs. S-K-A-G-G-S.
        (
             Baker           State your home address including the ZIP code.
             Skaggs
             Baker           Is this the same as your maiiing address?
             Skaggs          Yes.
             Baker           State your home telephone number with the area code if you have one?
             Skaggs
             Baker           Do you have a mobile number?
             Skaggs          Yes.
             Baker           What's that with the area code?
             Skaggs
             Baker          Are you employed?
             Skaggs         Yes.
             Baker           State your employer and the position you hold there.
             Skaggs         LMDC and a Wing Officer.
    1,l

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      Baker            Your work number.                                                                   (
      Skaggs           Uh, my work number would probably be the jail. Probably uh, 502-574-7508.
      Baker            Are you aware the following interview will be a sworn statement?
      Skaggs           Yes.
      Baker            Please raise your right hand. Do you, Ramone Skaggs, solemnly swear or
                       affirm to tell the truth, the whole truth and nothing but the truth, so help you
                       God?
      Skaggs           I do.
      Baker            Is Raymond?
      Skaggs           Ramone.
      Baker            Ramone. Okay. Have you sign here. Thank you.
      Skaggs           Your welcome.
      Baker            Regarding the incident tonight, just start out with where you were assigned and
                       tell me, you know, what happened.
      Skaggs           I'm assigned to HS East. Uh, me and Officer Sanders. At about
                       approximately, 15:55, uh, my one-on-one worker, inmate Allen Myers, came
                       to me and told me that uh, inmate in Cell #3 was hanging his self. So after
                       that ... at that point when he told me, I went to Cell 3, North 1, Cell 3 and I
                       seen inmate Hindi hanging himself. So I ran and told um, Officer Ramsey to
                                  ·                   ·              ·              cer Ramsey, Officer
                               s                                       c.           eme. Anduh,we
                       attempted to pick him up and try to take the ,uh, the sheet off his neck. At that
                       point, we couldn't get it off. Officer, Officer Ramsey exit the cell to get the
                       'Knife of Life'. I got on his bunk. Actually, I pulled the sheet enough to
                       loosen it enough to actually take it off his head, at that point. Officer Sanders
                       and I laid him on the ground . I kept say~di, Hindi, Hindi. He
                       wasn't respondin'. So I put, uh ... I chec~o pulse. So I put uh,
                       a blanket under his head and Officer Ramsey kept givin' him a couple of
                       sternum rubs. I kept sayin', Hindi, Hindi and gettin' no response. At that
                       point, um, Nurse Malone came to the scene and uh, she checked his pulse. She
                       didn't get a pulse, so, she said we needed to to do CPR. At that point, an
                       officer actually brought the little bag in ~sey was squeezin'
                       the bag over his face and she, uh, Nurse~tually doin' CPR on
                       him. And I stood back until she needed someone to assist her. At that point, I
                       think, 3 or 4 minutes after she doin' compressions, I took over and started
                       doin' compressions. As she, as she, as she told me to. Did compressions for
                       about 3 or 4 minutes and uh, at that point, other officers started comin' in.
                       And then Sergeant Gibson came in and he took over for me and I exited the



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                            cell.
       Baker               What'd you do after you exited the cell?
       Skaggs              Well, I, I just. . . Lieutenant uh, Lieutenant Gilbert told me to exit the cell
                           'cause I was actually soaked. When I, when I was sweatin' a whole lot 'cause
                           I was <loin' compressions for 4 or 5 minutes. It's a long time and uh, I just
                           cooled off at the Officer's Station. And then at that point, he told me to
                           actually walk around. Do some rounds. To make sure everyone in the, on the
                           East Wing wasn't actin' silly.
       Baker               Okay. Do you remember the, when the last time. . . Did you actually see, uh,
                           the inmate Hindi in 3, did you see him durin' the day? Before this happened?
       Skaggs              Yeah. He was sittin' on his bunk. He was fine.
       Baker               Do you remember when it was you saw him before this happened?
       Skaggs              Uh, well, I left, uh, around ... I can say approximately 15:40, 15:42ish. That's
                           when I walked out of the dorm. Out the east side wing. And then at 15:55
                           that's when, uh, the inmate came to me and told me.
       Baker              Were you one of the last ones... ? Do you all check them periodically or have
                          to look at 'em with the sheets? How does that work?
       Skaggs            Well, the sheets only happen to people who's on levels. So if they have a
                         sheet hangin' up, we have to do, you have to check their sheets every 15 to 20
                        minutes. But he was an inmate that actually doesn't have a sheet. So, usually
                         whenever I'm hittin' somebody's sheet, I'll check in on all the cells. When I
                      li'wiil!C'Jj'ilst. But in North I is where he's at; so, I would have to go back and
                         forth. That's where the officers section is. So, we have to go back and forth
                         all the time. So every time I walk past, since his cell's always close... always
                         check them cells anyway.
      Baker               So, you had seen him last sittin' on the bed at around 15:42?
      Skaggs          - Yeah. He was fine.
      Baker               Is that when you also checked the cell 2 of which is, had a sheet on it?
      Skaggs              Yes ma'am. The thing that uh, I think if I'm right, at 15:35 was the last time
                          we actually hit that sheet. Uh, ifI think I'm right. 15:35 was the last ... cell 2
                          sheet.
                      . " ....: 1:   .'   -:r--~-f   ,. '
      Baker           ·But yo~ probably saw him more around 15:42?
      Skaggs              Yeah.
      Baker               Hour.
      Skaggs              Hm?

\(

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      Baker            Did he say anything to ya at all today?
      Skaggs           Naw. He ain't talked to me once today. I was shocked. 'Cause he usually
                       always says, you know, I talk. .. When I'm back there. . . I'm usually on the
                       West Wing. But usually, when I come to (Inaudible) he usually talkin'. But
                       he didn't say anything today.
      Baker            Had he been acting odd lately? Any...
      Skaggs           I'm not for sure. 'Cause usually I'm on the West, so. Today was the first time
                       I'm on East in probably a couple of weeks.
      Baker            Okay. Did you ever hear any of the other inmates say anything about him
                       or...
      Skaggs           No ma'am .
      Baker            . . . him actin' odd today?
      Skaggs           No ma'am.
      Baker            Sergeant Taylor.
     Taylor            You said that, uh, he normally talks to ya. What type of things does he
                       normally talk to you about?
      Baker            Uh, basically, he don't really talk to me a whole lot He'll say, 'How ya <loin'
                       Officer Skaggs." "ls chow up?" Stuff like that, but other than that, he doesn't
                       really have a deep conversation. But usually, most the time, he's always
                       prayin'.
      Taylor           Really?                                                  .'
      Skaggs           Yeah.
     Taylor            Okay. Um, did anything about his behavior when you saw him earlier today,
                       seem different or odd?
      Skaggs           No. Just sittin' on his (Inaudible). He's usually sittin' up or he's layin' down.
    · Taylor           Okay. When, um, I mean, you guys were notified, um, by the aide. What
                       exactly did he say? How' d he describe to you what happened?
      Skaggs           He came, he came to me and said uh, "Skaggs." He said uh, "Inmate in cell #3
                       is hangin' himself." I said, are you serious? And he was like, "Yes. I'm
                       serious." And so I that's when I, that's when I ran over
                                                                          ,.'
                                                                                there to him.
     Taylor            Okay.
      Skaggs           And then, uh, he went back to his pole. Where he was sittin' at and that's
                       when I seen the inmate hangin' ... Hindi, Hindi hangin' his self So, like I
                       said, at that point, I said, Officer Ramsey, I need your assistance. And I ran,



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(--.
                          he ran over to me. As soon as that, I opened the door and we all three. Me,
                          Officer Ramsey and Officer Sanders ran to his cell.
         Taylor           So, was he face, facing the, facing away from the cell door or facing the cell
                          door (Inaudible) facing one of the walls?_
         Skaggs           No. He was face ... no, he was, he was facing, he was facing . . . If you, if
                          you look in the cell, where the bars are at. He's facing like you're lookin', like
                          you were lookin' outside.
         Taylor          Oh. So, he was facing... so, his... when you, when you looked in, you. saw
                         his backside?
         Skaggs          Yes.
         Taylor          Okay.
         Skaggs          Look like... He looked like he was on his knees 'cause he's so tall but he was
                         on, look like he was on his knees but he had a noose hangin' around his neck
                         and was on his knees.
        Taylor           Okay. So, could you tell if his knees were actually touchin' the ground?
         Skaggs          That, I'm not for sure.
        Taylor           Okay.
(        Skaggs          But it kinda looked like he was but I'm not really, not for sure.
        Taylor           Um, when... I guess when you guys first noticed or you know found him in
                         there, what. .. was he. . . did you guys detect like a heartbeat, pulse, anything?
         Skaggs          No. Soon as, as soon as we, as soon as I got the, uh, the sheet off his neck, uh,
                         me and Officer Sanders laid him on the ground and uh, immediately Officer
                         Ramsey gave him some sternum rubs and like I said I kept callin' his name.
                         So I took his pulse. I didn't get a pulse of him at all.
        Taylor           (Inaudible).
        Skaggs           And that's when uh, Nurse Malone stepped in and she said oh we... she
                         checked his pulse. Nothin'. She said we need innnediately start CPR.
        Taylor           Um, can you remember how his, how his, I guess his neck looked? Did you
                         notice anything about his neck that didn't seem normal?
        Skaggs           I didn't pay attention to his neck. I just noticed his face was really white.
        Taylor           His face was white?
        Skaggs           Yeah.
        Taylor           Um...




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      Skaggs            And his mouth was, his mouth was open. His face was real white. But I didn't         ~
                        pay attention to his neck because I was tryin' to, you know, see ... tryin' to get
                        him to wake up and also tryin' to listen to Nurse Malone instructions as well.
      Taylor            I see. Okay. Um, I don't have any further.
      Baker             You said he was facing the, towards the window.
      Skaggs            Yes ma'am.
      Baker             Where the bars are.
      Skaggs            Yes ma'am.
      Baker             And his knees were almost to the ground?
      Skaggs            Yes ma'am.
      Baker             You say he prays a lot?
      Skaggs            Well, every time I'm over there, he's always prayin'. Yes.
      Baker             And when he's prayin', is he, is he usually sittin' on his bed? How's, how's
                        he usual!y... is he on his knees?
      Skaggs            Well, that I'm not for sure because usually when he's prayin', I don't bother
                        him. I'm at the officer's station. I can just hear him pray. But I don't actually
                        pay like, you know, I don't disturb him when he's prayin'. But he prays, when
                        he prays, he prays loud.                                                             (
      Baker             Okay. You ever walk by and see him...?
      Skaggs            No. I've never. No ma'am.
      Baker             Is there any other questions that we have not asked you, um, as far as,
                        information that you might remember that might be beneficial to this case?
      Skaggs            No, ma'am. (Inaudible) everything.
      Baker             Is everything that you've us the truth to the best of your knowledge.
      Skaggs            Absolutely.
      Baker             Okay. We will conclude this interview at 20:43 hours.
      END OF
      STATEMENT
      PIU
      File #13-072/pm




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                                              LOUISVILLE METRO POLICE DEPARTMENT
                                                     PUBLIC INTEGRITY UNIT
(                                                     OFFICIAL STATEMENT
\                                                  CASE NUMBER:   / 3 · (J "l -Z.... . .~
              Today's date is             I c I rr / 13                           The time is      I0 : '!:,)   [)1....._   hours.

              This is an interview with          ore       /-16Nf.y $'; ""-t>-O'J_)                 (RIS)

              This interview is being conducted at:

              0         Public Integrity Unit, 810 Barret A venue, Louisville, KY 40204
              i f Other Location:                     ( 0 oO    w · -:51:...··~~P$L,J0 ...J l. IV'-0 C      (Psu)
              Present during this interview is;
                                                                                                       (pTuJ ·
                     (Title)        /                                                   (Name)
                       QI [3"'~ou aware this interview is being audio and/or video recorded?
                       Q2 E ; ; , ayone threatened you in order to obtain this interview?
                       Q3        e you giving this interview of your own free will?
                       Q4 ~)ease, state your full name, and spell your last name. What is your date of birth?
                       QS (3'S.)ate your home address including the zip code.
                       Q6 Lj'I,J-this the same as your mailing address? (If no) Mailing address?
                       Q7 [J~tate your home telephone number with the area code. ~
    (                  Q8 0"state your mobile and an alternate phone number with ar~
                       Q9 0 Are you employed?                                                    ·
                       QlO [}State your employer and the position you hold there.
                       Q 11 0 }Vhat is your work telephone number?
                       Ql2     IT
                              Are you aware the following interview will be a sworn statement?


          PLEASE RAISE YOUR RIGHT HAND

          Do you,         ME<'JR..y      $1)N--IV'-b..U         , solemnly swear or affirm to tell the truth, the whole truth, and
          nothing but the truth, so help you God?
          I UNDERSTAND THE ABOVE OATH THAT I HAVE TAKEN.


~ 9Jny~ature                                                                                    Date
                                                                                                                            10 <fO
                                                                                                                              Time


                                         Witness signature                                      Date                          Time
              Subscribed arid sworn to me by

              This         l °I (.--\,
                         ~~~~~
                                             day of    0 U-L> :g <.il..
                                                       ~



    I I                 -7~                ;(Si?. ( -------
                                         Notary Public, 8ftte at Large
          "

                                                                                                                            GB003554
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•                                           1067                   L.Moc. o Pc. .




                                POLICE OFFICER TAPED STATEMENT FORM



            OPENING

            This is    £: ·   ba ;ri "       of the Louisville Metro Police Department's Public
            Integrity Unit.

            Today's date is: --~lo..,,_/~i">-+-/~t~----
                                         1
            The time is: --~lj-<-"-o~'k_ _ _ _ _ _ __

            We are present at: 810 Barret Avenue, 4'~ Floor, in the Public Integrity Office.

                                 Other Location:     t./;oo 5. J d-&~50V'I
            This will be a taped statement from
            Officer    g:  c. ha-..,Jsev- :S-h n-.p h; I                                                ,,.,   . ':·t (.




            This statement is in reference to PlU case#       /3 - 07 2-
                                                         -~~~~----------



    (       Present with me are Officer:_ _ _ _ _ _ _ _~Attomey:·_---,------~
            and Lt./Sgt.                           of the Public Integrity Unit.

            Officer, are you aware that this statement is being video and audio taped?

            Does this meet with your approval?


            BACKGROUND INFORMATION ON OFFICER

            Officer, please state your full name and spell your last name.

            What is your code number?

            Where are you currently assigned?

            How long have you been in that Unit?

           · How long have you been on the Department?

            Are you under the influence of alcohol, drugs or any other intoxicants at this time?
            (If so, what are they?)




                                                     2006-12-21
                                                                                                   GB003555
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    Are you ta1dng any kind of medication that would affect your judgment or your ability to
    think clearly?

    Did you sustain any injuries during this situation? (If so, please describe.)

    Did you receive medical treatment? (If so, where and by whom?)

    What type of uniform or clothing were you wearing at the time of this incident?

    Do you have the same uniform or clothing on right now?

    RIGHTS WAIVER

    Because of the statutory requirements ofKRS 15.520, I am obligated to advise you of
    your constitutional rights prior to asking any further questions. ~~lt!Jl&f,§

    START THE STATEMENT/INTERVIEW


    ENDING THE STATEMENT

    Is everything you told me the truth to the best of your knowledge?

    We will now conclude the statement. The time now is:     ~~~~~~~~~~~




                                            2006-12-21                                GB003556
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                                 LOUISVILLE METRO POLICE DEPARTMENT
                                        PUBLIC INTEGRITY UNIT
                                         OFFICIAL STATEMENT
                                      CASE NUMBER: I'3 - 0 -7 ;)_
     Today'sdateis Oc,f !£1. LO\~             Thetimeis                                2-1     S-7          hours.

     Thisisaninterviei~th Ph~//.·(? Su.mM-t<5                                               (RIS)

 This interview is being conducted at:
 0           Public Integrity Unit, 8 I 0 Barret Avenue, Louisville, KY 40204
 Gf"         OtherLocation:           loDO       0.   'J{rfU',)o"1 .St-.                     LLM DCJ
 Present during this interview is;
                                          M 71 SL[£ ,        Sc0-   rv-"".-vJ     J
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                                                                                                    - - -'

        (Title)          .                                                 (Name)
             QI   ~ou           aware this interview is being audio and/or;ri hi recorded?
             Q2 bJif...)IB"anyone threatened you in order to obtain this interview?
             Q3 E o u giving this interview of your own free will?
             Q4    _ ease, state your full name, and spell your last.name. What is our date of birth?
             Q5   tJ~te your home address including the zip code.
             Q6 l3J1§.Jhls the same as your mailing address? (If no)            aodress?
             Q7 8'$)lrte your home telephone number with the area code.
             Q8 lj'Bprte your mobile and an alternate phone number with
             Q9 GYA;:e'You employed?
             QIO E e your employer and the position youiiiit&old      there.        o c,
             QI I        at is your work telephone number?
             QI2    Are you aware the following interview will e           om      ment?

 PLEASE RAISE YOUR RIGHT HAND

 Do you,?       h_,1 ; ~ i,_ (I.I f\;t l / ;       , solemnly swear or affirm to tell the truth, the whole truth, and
nothing but the tru , so help you God?

 I~THATIHAVETAKEN.                                                           /o/;q           /t 3            d JS-CJ
                                 Signature                                            Date                     Time


                             Witness signature                                        Date                     Time
     Subscribed and sworn to me by
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                                              1070




                                               October 19, 2013


           Baker           This is Sergeant Mindy Baker of the Louisville Metro Police Department's
                           Public Integrity Unit. This is official statement. Case number is 13-072.
                           Today's date is October 19th, 2013 and the time is 21:57 hours. This will be an
                           interview with Sergeant Phillip Summers. And is being conducted at 600
                           West Jefferson Street at the Department of Corrections. Present during this
                           interview is myself and Sergeant Summers. Sergeant Summers, are you aware
                           this interview is being audio recorded?
           Summers         Yes.
           Baker           Has anyone threatened you in order to obtain this interview?
           Summers         No.
           Baker           Are you giving this interview of your own free will?
           Summers         Yes.
           Baker           Please state your full name and spell your last name.
           Summers         Phillip Summers. S-U-M-M-E-R-S.
~
           Baker           What is your date of birth?
           Summers
                                                         ~·,,


           Baker           State your home address including the ZIP code.
           Summers
           Baker           Is this the same as your mailing address?
           Summers         Correct.




                          -
           Baker           State your home telephone number with the area code, if you have one.
           Summers
           Baker           S tate your mobile and an alternative uh, phone number. An alternate phone
                           number with the area codes.
           Summers
           Baker           Are you employed?
           Summers         Yes.
           Baker           State your employer and the position you hold there.

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      Summers           Louisville Metro Department of Corrections. Um, I'm a Day-Shift Supervisor.
                        Sergeant.
      Baker             Work telephone number.
      Summers           S74-2167.
      Baker             Are you aware the following interview will be a sworn statement?
      Summers           Yes, I am.
      Baker             Please raise your right hand. Do you, Phillip Summers, solemnly swear or
                        affirm to tell the truth, the whole truth and nothing but the truth, so help you
                        God?
      Summers           Yes ma'am.
      Baker             I need you to sign right here. And (Inaudible) the date and the time.
      Summers           Sorry.
      Baker             That's okay. 2l:S9. All right. Thank you. Um, the incident that occurred
                        today, if you'll just explain to me in your own words, um, what you saw, what
                        happened and how you were involved.
      Summers           Um, as I stated, I'm on day-shift but I signed up for volunteer overtime. I was
                        assigned ti) the 6th floor. So, after the day-shift I was standin' outside of the
                        main jail complex. Um, talkin' to a Lieutenant from first shift when I heard           (
                        Sergeant Hornback come over the radio approximately 16:00, stating that he
                        needed additional medical personnel on HS East. So, I started walkin' that
                        way, uh, due to the fact that, um, I'm a Sergeant I l$oor above him. Plus,
                        he's a fairly new Sergeant. So, I was gonna try to help him out as much as
                        possible. Um, as I was makin' my way into the front door of the Hall of
                        J                                                            that they had begun
                        CPR. So I actually started running to the scene to see if I could help. When I
                        arrived I got on the HS East. Um, there were officers as well as one nurse in
                        the cell at that time, already administering CPR. Um, I noticed that there were
                        work aides that were still inmates. They were still um, out on the walk. I
                        instructed, uh, Wing Officers that were standin' there to go ahead and Jock the
                        floor down. Put all those inmates up. U~e of my officers from
                        H6 post up outside of uh, the door leading into the East Walk on HS and
                        instructed him to take notes of any person entering or exiting HS East and what
                        time they did so. Um, I also instructed him to ... no one except for Sergeants
                        or above or medical staff was to come to                      to the fact that there
                        was already enough people over there. I then returned back to Five East. Uh,
                        entered the cell and I'm not sure if it was Officer Sanders or Officer Forbes,
                        but one of 'em was holding the mask on inmate Hindi's face. Tryin' to create
                        a barrier so that they could get oxygen in. And uh, I asked if they needed to be
                        relieved. They said yes. So I took over that spot. Um, continued to, to hold


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(                        that position until uh, I believe it was Louisville Fire and Rescue arrived first.
                         They didn't actually take over the CPR but they did start assessing, uh, inmate
                         Hindi. Um, EMS then arrived. They were also assessing him and uh, several
                        of them entered the cell. One of them actually gave me an oxygen mask to
                         take the place of the manual oxygen mask. So, I replaced that. Uh, actually
                         that was one of our nurses that did that before EMS actually entered the cell.
                         So, I continued to hold my position, uh, until EMS entered the cell and then
                        they actually took over my position, uh, tryin' to get, uh, an IV and stuff
                        (Inaudible) inserted. I then exited the cell. Knew that we had, we're gonna
                        have to have officers, uh, go on the, go on the, uh, emergency run with the
                        inmate. So, I coordinated with the Booking Floor Sergeant. We actually sent
                        2 ... assigned 2 officers to go, go. Due to the fact of him bein' a high profile
                        inmate. Uh, having a extensive or excessive, uh, bond amount even in his, you
                        know, condition. So, um, those 2 officers were contacted. They were told that
                        they needed to get their. weapons and immediately, uh, report over to the old
                        Sally Port. Um, I also tried to coordinate, uh, other things such as havin' an
                        officer go get a security set to hand off to the officers goin' to ... on the
                        hospital run. Um, once everybody, uh, left the floor, we escorted EMS down
                        to the ambulance. Helped them load, uh, the stretcher with inmate Hindi on it.
                        Our officers were loaded in. As they, as they left, I instructed one of the
                        officers from H5 or from a different floor ... actually, it was Officer Warden.
                        I instructed him to go back to H5 to get the cam, uh, digital camera. To open
(                       the door to the cell but do not enter. Take pictures of, of the cell. I also
                        instruct him to get all the medical equipment and secure that in the Control
                        Room. Um, and I believe then the last thing I did, uh, the observation sheets
                        that were on the cells, on the East Walk, there was uh, I'm not sure how many
                        total there were but there was some suicide observation sheets on certain
                        inmates cells as well as some that were just medical. I had them go ahead and
                        pull those and make copies of 'em. Just for reference to see what time that the
                        officers had actually made rounds. Uh, the copies of those were made and I
                        actually took those myself, uh, to the Lieutenant's office and handed those
                        over to Lieutenant Gilbert. Uh, I then returned back to H5 to see if Sergeant
                        Hornback needed anything else. Um, at that time, he was doin' everything that
                        he needed to be doin' as far as report and all that. So, I actually left the floor
                       .to go chec:~ f.1J.lmy floor and that's pretty much it with the incident.
     Baker             Okay. Who was the officer that you had takin' notes that you had stationed
                       outside?
     Summers           Officer Cooper. I will say that he's a, he is a brand new officer. Um, at the
                       end of the incident, I asked to see his notes and they were pretty vague. They
                       weren't any ... and I know that Officer Bullard was, was also takin' notes. So,
                       I looked at hers and I actually told her she took very good notes.
     Baker             Uh-hum.



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      Summers           So. We actually had 2 different people takin' 'em. And I made sure that both        ('
                        of those copies got to, uh, Sergeant Hornback.                                      '
      Baker             Okay.
      Summers           Since it was his floor.
      Baker             Did her notes have everything on there and more than what his had?
      Summers           Yes. Absolutely.
      Baker             There wasn't anything on his that needed to be added to that?
      Summers           No. No.
      Baker             Okay. When you arrived in there, in the cell, was there ... did you ever hear
                        anything about there being a pulse?
      Summers           I asked a couple of times was there a pulse. I believe the Medical Nurse said
                        that she could only... I kept hearin' the word 10. That, that's all she could,
                        she could get was 10. Basically 10 heart beats a minute. And then I heard her
                        say that normal was between 60 and 100.
      Baker             Was there ever, um, is it a AED or uh ... where they used to shock. .. ? Was
                        that in there?
      Summers           It was never ... Not until EMS was there. I believe it was EMS. It was either
                        Fire or EMS who brought it in. We did not actually have our own in there.
      Baker             Did it, did it work? Did they use it?
      Summers           They did hook it up and it advised 'No Shock'.
      Baker             Okay. How long have you been on? Corrections?
      Summers           Uh, 7 years.
      Baker             In 7 years have you dealt with something like this before?
      Summers           Yes.
      Baker             Um, what'd it seem like to you when you walked in? Did he appear to be like
                        he'd been there awhile or he was already... ?
                                                                  .•· ..

      Summers           It, it was really hard to tell because even; you know, holding the mask on his
                        face, he didn't appear very cold. He was still, you know, quite warm and at
                        one time while holding the mask on, I actually thought he, I thought he was
                        kinda movin' his head a little bit. But I'm not sure ifthat was from, you know,
                        the motion of, of, of the chest compressions or what. But, uh, I noticed that his
                        hands were, were white and they, you know, the longer it went, the colder he
                        got. But. .. you know, seein', you know, I was involved in a, in another
                        incident and soon as the guy fell to the ground and we started CPR, I mean, he
                        was purple and blue just like that. So. It's hard for me to say how long he had


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                   actually, you know, been, been sitting there. Uh, one other thing I will say that
                   I forgot to add was, um, when I took the observation sheets to Lieutenant
                   Gilbert, I was talkin' to him about the DVR on the camera. So, I went down to
                   main control and I pulled that up. And I noticed that the work aide who
                   actually alerted the officers, went and stood in front of the cell and I
                   counted.. .I, I watched the time elapse. It was somewhere around 20 to 22
                   seconds. I'm not sureifhe was tryin' to ... You can't. .. there's no audio.
  Baker            Uh-hum.
  Summers          It's only video and it's from the other end of the hallway pointin' that way.
                   So, I couldn't tell if he was actually havin' a conversation with him. Maybe
                   tryin' to talk him out of what he was <loin' and then when he saw him actually
                   do it, is when he... he didn't run out of the walk, walkway. He walked, you
                   know, at a, at a, at a pretty good pace. And I mean, it was less than 10 seconds .
                   the officers were there.
 Baker             But he was still warm when you were there still.
 Summers           When I was there, yes.
 Baker             You said Louisville Fire arrived first and they were assessing him and then
                   EMS were assessing him. What were they saying as far as their assessment?
                   Did you hear that?
 Summers           You really, I really couldn't get a good grasp on... I mean they were tryin'
                   different things. Now, when I came out of the cell, I know that they inserted
                   an N into his leg. Um, before I came out they put, put the AED on him. It...
                   like I said, it advised 'No Shock'. Other than that, once I came out of the cell,
                   like I said, I started focusin' on other things that needed to be done in order for
                   them to depart to have the officers ready and stuff. So, I really didn't hear a
                   whole lot cifwhat they were sayin'. Now, when we were escorting them down
                   the elevator, I did ask one of 'em if they.. .if he had a pulse. And one of 'em
                   said, "no." So, I mean...
 Baker             Who were the nurses that were in there? Do you know them by name?
 Summers           Uh, Nurse Malone, Nurse Bertram and Nurse Griffith showed up. But, I don't
                   think she actually was involved. She was just in the hallway and then she
                   exited and I don't remember seein' her again.
 Baker             And you've had situations like this before. Was there anything different about
                   this situation that would... did everything go according to, you know, the way
                   it should go for the way everybody's trained?
 Summers           I mean, it was tough bein' in that small space. I've never had to deal with one
                   in that small of a space. So that was difficult. But the officers that responded,
                   medical that responded, everybody... nobody froze. Everybody acted, you
                   know, they fell back on to what they were trained to do and I mean, they


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                        started CPR right away. You know. Were doin' everything they could. They         ("
                        were yellin' his name. Tryin' to, you know, get him to do whatever. I mean,
                        they're inmates but yet, you know, we're responsible for 'em, so. I didn't see
                        anything that was... I mean, I think, I think everybody did a good job on what
                        they tried to do to, you know, for as long as they did. You know, tryin' to,
                        tryin' to get him to come back.
      Baker             Who were the two officers that you sent with him to escort to the hospital? Do
                        you know their names?
      Summers           Officer James and Officer Stimphil. Which is S-T-I-M-P-H-I-L. And also
                        uh ... now, we only sent those but Sergeant Gibson got in the ambulance and
                        actuaJly went with them.
      Baker             Okay. Is there any questions I have not asked you or any other information
                        that you can think of that would be beneficial to this case?
      Summers           Not that I know of. I mean, that's pretty much it.
      Baker             Is everything that you've told me the truth to the best of your knowledge?
      Summers           Yes ma'am.
      Baker             Okay. We will now conclude this interview. The time is 10:12 p. m.
      END OF
      STATEMENT
      PIU
      File #13-072/pm




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                                     LOlliSVILLE METRO POLICE DEPARTMENT
                                              PUBLIC INTEGRITY UNIT
(                                              OFFICIAL STATEMENT
\                                           CASE NUMBER:               I 3- 0 '7 '.)_
        Today's date is   0 / i '1 { I J
                                 /                                     The time is      9 ' /S     tJ/Y\    hours.
        Thisisaninterviewwit~o?v rlyArv'                 TAy&J(L            LfhDC (RIS)
        This interview is being conducted at:
        0       Public Integrity Unit, 810 Barret A venue, Louisville, KY 40204
        ~ther Location:                     (o ()0    lN •     -Se-f' fc-IL:J()t....J       {L fVI DC)
        Present during this interview is;
                                                             sG-+ '        {A   Yl,·rfL

             (Title)         /                                               (Name)
               Q    DYM"e
                      le    yo aware this interview is being audio and/or video recorded?
               Q2      l2f
                      ~anyone threatened you in order to obtain this interview?
               Q3 E y o u giving this interview of your own free will?                                     ~
               Q4         ase, state your full name, and spell your last name. What is your date of birth? . _ . -
               Q5 ~ §tate your home address including the zip code.
               Q6 [g'l_µbis the same as your mailing address? (If no) Mailing address?
               Q7 (Erfltate your home telephone number with the area code. ~
    (          Q8      er
                      _§tate your mobile and an alternate phone number with~
               Q9 [JAre you employed?
               QIO 0 State your employer and the position y l l i l l e r e .
               Ql l 0 What is your work telephone number?
               Q12 0 Are you aware the following interview WI ea                tement?

        PLEASE RAISE YOUR RIGHT HAND

        Do you, f_i;Al-..l IA'-/ LofC..              , solemnly swear or affirm to tell the truth, the whole truth, and
        nothing butt ; truth, so help you God?
        I UNDERSTAND THE ABOVE OATH THAT I HAVE TAKEN.

                                                                                 10-19-13                  21   (=)
                                                                                     Date                       Time

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                                                                                     Date                       Time




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                                             October 19, 2013


         Sgt. Taylor    This is Sergeant Kevin Taylor of the Louisville Metro Police Department's
                        Public Integrity Unit. Uh, This is gonna be in reference to Case #13-072.
                        Today's date is 10-19 of 2013. The time is 9:15 p.m. This is gonna be an
                        interview with Officer Ryan Taylor of Louisville Metro Division of
                        Corrections and our location is gonna be 600 West Jefferson, uh, in the PSU,
                        PSU offices of Louisville Metro Division of Corrections. Present during this
                        interview is Sergeant Kevin Taylor and Sergeant, um, Mindy Baker. Both of
                        Public Integrity. Officer Taylor, are you aware this interview is being audio
                        recorded?
         Ofc. Taylor    .Yes.
         Sgt. Taylor    Has anyone threatened you in order to obtain this interview?
         Ofc. Taylor    No.
         Sgt. Taylor    Are you giving this interview of your own free will?
         Ofc. Taylor    Yes.
(        Sgt. Taylor   ·Please state your full name and spell your last name.
         Ofc. Taylor    Ryan Scott Taylor. T-A-Y-L-0-R.




                        --
         Sgt. Taylor    And what is your date ofbir):h?
         Ofc. Taylor
        Sgt. Taylor     Okay. State your home address including the ZIP code.
        Ofc. Taylor
        Sgt. Taylor     Okay. And is this the same as your mailing address?
        Ofc. Taylor     Yes sir.
        Sgt. Taylor     Okay. State your telephone number, area code.
        Ofc. Taylor
        Sgt. Taylor     Okay. Do you have a mobile or alternate number?
        Ofc. Taylor     That's the mobile number. That's the only number I have.
        Sgt. Taylor     Okay. All right and where are you currently employed?
        Ofc. Taylor     Louisville Metro Department of Corrections.
        Sgt. Taylor     All right. State the position you hold there.
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      Ofc. Taylor      Corrections Officer.
      Sgt. Taylor      And what is your work number?
      Ofc. Taylor      I don't know. I don't it. ..
      Sgt. Taylor      Yeah.
      Ofc. Taylor      ... um, S-7. I believe it's S02-S74 ... I've got it written down here. (Pause)
                       S02-S74-7S07.
      Sgt. Taylor      7-S-0-7. Okay.
      Ofc. Taylor      That's the front desk.
      Sgt. Taylor      Okay. Are you aware the following interview will be a sworn statement?
      Ofc. Taylor      Yes sir.
      Sgt. Taylor      Okay. All right. Please raise your right hand? Do you, Ryan Taylor,
                       solemnly swear or affirm to tell the truth, the whole truth and nothing but the
                       truth, so help you God?
      Ofc. Taylor      Yes sir.
      Sgt. Taylor       Okay. Just need your signature right here. (Inaudible). Right there.
      Ofc. Taylor       All right.
      Sgt. Taylor      Signature, date and time. Okay. All right. Uh, Officer Taylor, urn, in your
                       own words just kinda, uh, just start from the beginning how you became
                       involved in this incident and just tell us, you know, in your words what, what
                       happened.
      Ofc. Taylor       As Officer Ramsey was comin' back to the C - m on HS.
      Sgt. Taylor       Uh-hum.
      Ofc. Taylor       He                                                         So, as I'm comin'
                        out. .. as he's comin' out, he's runnin' back toward, uh, urn, HS East and he
                        had the Knife for Life and he was callin' for the Sergeants to come over with
                        him. And at that time I took off followin' him. Saw the body count at the time
                        so, I figured, you know, we need to have this whenever there is something
                        goin' on.
      Sgt. Taylor       Right.
      Ofc. Taylor      So, I run over to the, uh, that, this ... the area. I think it's HS North One, Cell
                       Three and there was already 4 other people. Other officers over there.
      Sgt. Taylor       Yeah.
      Ofc. Taylor       And so, at that time, I fig, I knew it had ... it was crowded. So I stood to the, I
                        stood off... a little bit back out of the way. And turned on the camera or the
                        body camera. And basically just recorded the rest of it.


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(                  Sgt. Taylor      Okay. Um, so, when you first got there, what exactly did you see? I mean, did
                                    you see... ?
                   Ofc. Taylor      I saw, uh, inmate Hindi on the ground. That's all I saw.
                   Sgt. Taylor      Okay. So, they... he was already down on the ground.
                   Ofc. Taylor      He was already down on the ground.
                   Sgt. Taylor      Okay. And what were the officers <loin' at that time?
                   Ofc. Taylor      They were already <loin' chest compressions.
                   Sgt. Taylor      Okay. So, they were administering CPR?
                   Ofc. Taylor      Correct.
                   Sgt. Taylor      Um, can you remember who the officers were that you saw <loin' the CPR?
                   Ofc. Taylor      I know there was Officer Skaggs.
                   Sgt. Taylor      Okay.
                   Ofc. Taylor      Officer Ramsey, Officer Sanders and I remember them. And then it started
                                    gettin' really crowded. So, I couldn't really tell, uh, who else was <loin' it.
                                    Because... and I know that they continued to switch off.
                   Sgt. Taylor      Okay.
(                  Ofc. Taylor      As it was gettin', as they were <loin' it for a while.
                   Sgt. Taylor      Right.
                  Ofc. Taylor       'Cause t~y was gettin' tire~ but I don't know who all was actually <loin' it. I
                                    do know 1hat them ... was 1t 3 or 4. Skaggs, Ramsey, Sanders. I know that
                                    they were all over there.
                  Sgt. Taylor      Pkay..
                  Ofc. Taylor       But that's all I can... I know that for sure.
                  Sgt. Taylor       Durin' that time did you see any medical personnel. ..
                  Ofc. Taylor       Yes, uh ...
                  Sgt. Taylor       , . .involved in:the CPR?
                  Ofc. Taylor       Nurse Malone was right behind us.
                  Sgt. Taylor       Nurse Malone.
                  Ofc. Taylor      Yes sir. Soon as she got there, she, she helped with it. She helped out. She
                                   jumped right in.
                  Sgt. Taylor       Okay. Um, From what you could see, uh, did he... did there appear to be or
                                    did you hear anyone say that he might've had a pulse or was breathing or
\ I
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      "'------


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                       anything?
     Ofc. Taylor       I did hear that uh, there was a possibility of a pulse.
     Sgt. Taylor       Uh-hum.
     Ofc. Taylor       And I do know our, our. .. I don't know anything about the AED but I do
                       know that the AED did not administer a shock.
     Sgt. Taylor       Okay.
     Ofc. Taylor       So, it said no shock needed.
     Sgt. Taylor       Okay.
     Ofc. Taylor       And that's all I, I know that much.
     Sgt. Taylor       All right.
     Ofc. Taylor       I don't know what that means or anything. But, it might've been a pulse but
                       nothing happened.
     Sgt. Taylor       So, um, you mentioned earlier that you were in possession of the body cam.
     Ofc. Taylor       Yes sir.
     Sgt. Taylor       Uh, where exactly is that like placed on the uniform?
     Ofc. Taylor       Where it was placed on my chest right here.
     Sgt. Taylor       Okay.
     Ofc. Taylor       But because there was, it was so crowded, I was actually holdin' it up. U sin' it
                       hand held.
     Sgt. Taylor       Okay.
     Ofc. Taylor       So, that way I get a better view of what was goin' on.
     Sgt. Taylor       So, does it pick up, uh, audio and video or is it just video?
     Ofc. Taylor       I believe it does pick up audio. I'm not 100% sure 'cause I've never seen...
     Sgt. Taylor       Okay.
     Ofc. Taylor       ... the video on it. But I believe it does.
     Sgt. Taylor       Okay. Um, were you there when EMS arrived?
     Ofc. Taylor       Yes sir.
     Sgt. Taylor       Okay. Um, is it, is it possible, you know, with, you know ... just kinda explain
                       how, how your facility works. Is is possible if someone is in a single cell; is it
                       possible for anyone to get inside there without you guys knowin' it?
     Ofc. Taylor       No.



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(     Sgt. Taylor      It's not possible?
      Ofc. Taylor      Not that I know of.
      Sgt. Taylor      Okay.
      Ofc. Taylor      We have to have keys to ope, unlock it. Or the uh, Control Room Officer, if
                       you're over in, uh, the new jail complex.
      Sgt. Taylor      Uh-hum.
      Ofc. Taylor      Or the, uh, (Inaudible) or JI through J3 to J4.
      Sgt. Taylor      Uh-hum.
      Ofc. Taylor      Over there you have to have a Control Room Officer to, uh, open the door.
      Sgt. Taylor      Okay.
      Ofc. Taylor      But over in where we were, HS, H6 you gotta have the keys.
      Sgt. Taylor      Okay;
      Ofc. Taylor      And then you gotta unlock it.
      Sgt. Taylor      Okay. Um, did you know, uh, inmate Hindi? Did you know of him or who he
                       was or (Inaudible)?
     Ofc. Taylor      I knew who he was but I been workin' on this floor for several weeks.
(
     Sgt. Taylor       Okay.
     Ofc. Taylor      And he's been on this floor for probably 'bout the past month, possibly.
     Sgt. Taylor       Uh-hum.
     Ofc. Taylor      I don't know when they moved him up, but I do know that he's been on this
                      floor for a while.
     Sgt. Taylor      Have you noticed anything about him that would spark any concern?
     Ofc. Taylor      No.
     Sgt. Taylor      Any difference in the way he was behaving or anything he might've said?
     Ofc. Taylor      No.
     Sgt. Taylor      Okay. Um, Sergeant Baker, do you have anything?
     Baker            What'd you know of inmate Hindi. How' d you ... what have your interactions
                      been like with him?
     Ofc. Taylor      I haven't had any ... I mean, it's just, they've been professional. Haven' really
                      have any, uh, conversate... I don't really talk to 'em too much and uh, he
                      really hadn't. .. he's been, he's been professional back to me. He wasn't
                      really... he didn't threaten me or anything like that. Just been professional



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                        both ways.
      Baker             When you walk by there, when you do work that, that area, what have you
                        noticed about him? What does he (Inaudible)?
      Ofc. Taylor       I do know he's, I know he's, he prays. He's real quiet. He don't really bother
                        anyone. And uh, I notice he, he sleeps a lot. And so, other than that I don't
                        really know much.
      Baker             You say he, he prays a lot?
      Ofc. Taylor       Yeah. He prays . . . I don't know how often but I believe he's Muslim,
                        possibly. And so I do know that he had a prayer rug in his cell and so he ... I
                        know he prays 'cause at times you can hear him prayin' from down the hall.
      Baker             So he's kinda (Inaudible).
      Ofc. Taylor       Or down the walk.
      Baker             Loud?
      Ofc. Taylor       At times. Yes.
      Baker             When you've walked by and he's been praying before, had you noticed how he
                        does that? Is, is he... ?
      Ofc. Taylor       He tend... I know he's on the floor and that's only ... I, I don't. .. I try not to
                        disturb him. I, I mean, I do due to the security checks.
      Baker             Uh-hum.
      Ofc. Taylor       But I try not to disturb him when he's <loin' that because I know it's important
                        to him. And so, ever, every once in a while when I'm walkin' by if he's
                        prayin', I'll kinda look in and I've noticed ... I don't, see I don't know which
                        way that Muslim's face. 'Cause I know they face certain ways each time.
                        And uh, so, I don't know if, um, he's always facin' same direction or if he
                        maybe facin' a different direction each time. But I do notice that he's on the
                        floor.
      Baker             What, like on his knees?
      Ofc. Taylor       Yes.
      Baker             Okay. How long from that. . . the time that you heard, I guess it was
                        commotion goin' on.
      Ofc. Taylor       Hm.
      Baker             Um, to when EMS got there. How long do you think all that, um, that time
                        period was?
      Ofc. Taylor       I wanna say, probably, 7 or 8 minutes.
      Baker             From the point that this started?
                                                                                                              lj
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      Ofc. Taylor       That when... he was con... yeah. From ... Well, from whenever I got over
                        there 'ti! they arrived, was about 7 or 8 minutes.
      Baker             But you had gotten there late?
      Ofc. Taylor       I got there as soon as, uh, I heard... Like he was already on the ground when I
                        got there. I don't know how long it'd been. Because I just. .. I went over
                        there soon as I saw a commotion goin'. Tried to do what I could.
      Baker             But they had already, they had already gotten him off. ..
      Ofc. Taylor       They already got him off. Yes.
      Baker             I don't have anything else. Sergeant Taylor, any other questions?
      Sgt. Taylor       No. Um, did uh, is there anything else you'd like to add to your statement
                        before we conclude here today?
      Ofc. Taylor       That's it.
      Sgt. Taylor       All right. The time now is 09:26 p.m. And that will conclude this statement.
      END OF
      STATEMENT
      PIU
      File #13-072/pm
(




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                                     LOillSVILLE METRO POLICE DEPARTMENT
                                             PUBLIC INTEGRITY UNIT
                                              OFFICIAL STATEMENT
(                                          CASE NUMBER:  / ]· f) 7 2..
          Today's date is      to( Ii (13                                  The time is                           hours.

          This is an interview with 0~ C . TE.fl.fl..   'j    V-.1 JD.{l.DE-,..;,   5r.       (RIS)

         This interview is being conducted at:

         D         Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204

         w         Other Location:         ·Li, co   lA..J.   :5.sr:R:-..f2...5.u,.J      l-rvt 0    C.   (Psu)
         Present during this interview is;



              (Title)                                                            (Name)

                 QI      ~ou       aware this interview is being audio and/or video recorded?
                 Q2 Bi~ ~yone threatened you in order to obtain this interview?                                 .
                 Q3          you giving this interview of your own free will?                          ~
                 Q4 ~ ase, state your full name, and spell your last name. What is your date of birth? .............
                 Q5 !ZrState your home address incluillng the zip code.
                 Q6 []1's this the same as your mailing address? (Ifno) Mailing address?
(                Q7     0~te your home telephone number with the area code.         -
                 Q8 B'State your mobile and an alternate phone number with area codes
                 Q9 D Are you employed?
                 QI 0 0'State your employer and the position y~u    hold ther
                 QI I 0 'YJiat is your work telephone number?
                 QI2 G:}1\re you aware the following interview         ea sworn statement?


         PLEASE RAISE YOUR RIGHT HAND

         Do you,    -r 6 '7.AL Y W   AQ.-Ci;; ,..J   , solemnly swear or affirm to tell the truth, the whole truth, and
         nothing but the truth, so help you God?


                                                                                    Jo·- I q - 13              /O"'z        e.A..,,
                                     Signature                                             Date                      Time


                               Witness signature                                                                    Time

          Sub~cribed and sworn to me by                 oi:::c T E:.e.<Z~ ~~ {\(Z.._t:>EN~-----
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                 __ 7/     ~ ____,_-
                                                                              z,..,,3         KEVINLTAYLOR NO!arylD#451725
                                                                                              Notary Public, State at Large KY
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                                        LOillSVILLE METRO POLICE DEPARTMENT
                                                 PUBLIC INTEGRITY UNIT
                                                  OFFICIAL STATEMENT
                                              CASE NUMBER:   t 3' -CJ 7z_
     Today's date is                     lo/1q /t3                        The time is           z_i..'5" 5      hours.
                                               I
     This is an interview with                N; ale      Redx~                             (RIS)
     This interview is being conducted at:

              Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204

              Other Location:

    Present during this interview is;



           (Title)       /                                .                      (Name)              '

              QI     Qtfoe you aware this interview is being audio and/or video recorded?
             Q2 [g'Jias anyone threatened you in order to obtain this interview?        ·
             Q3 l ! : e you giving this interview of your own free will?
             Q4        as. e, state your full name, and spell your last name. What is your date of birth?
             Q5      ~ ~te  your home address including the zip code.
             Q6   Wflythis the same as your mailing address? (If no) Mailing address?
             Q7   [J!S)ate your home telephone number with the area code.
(            Q8   [M'S)!ite your mobile and an alternate phone number with area codes.                          ·
             Q9   U:VM'e you employed?
             Q!O (g"State your employer and the position you hold there.
             QI I    B
                     ~at is your work telephone number?
             Ql2 [JJ1\re you aware the following interview will be a sworn statement?

    PLEASE RAISE YOUR RIGHT HAND

    Do you,        iJ   1 &J
                        1
                               le     B~                ,solemnly swear or affirm to tell the truth, the whole truth, and
    nothing but the truth, so help you God?

    I UNDERSTAND THE ABOVE OATH THAT I HAVE TAKEN.


    X- ~ \2A ..t::;ignature                                                             Date


                                    Witness signature                                   Date                        Time

    Subscribed and sworn to me by                                NICOL.€
    This                                                             , 201$ '3            l\lofaiy Pu~~· State at Large, KY
                                                                                          My Comm1ss1011 expires July 27 2016
                                                                                          NotaJy IDll 471447        '
                                                                                              My Commission Expires



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(
                                          October 19, 2013


      Goins          This is Sergeant Ed Goins of the Louisville Metro Police Department's Public
                     Integrity Unit. This is an official statement in regards to Case #13-072.
                     Today's date is October 19th, 2013. The time is 22:53 hours. This is an
                     interview with Nicole Bertram. This interview is being conducted at 400
                     South 6th Street ·in the Louisville Metro Department of Corrections
                     Professional Standards Unit office. 'Miss Bertram, are you aware this
                     interview is ·being audio recorded?
      Bertram        Yes.
      Goins          Has anyone threatened you in order to obtain this interview?
     Bertram         No.
      Goins          Are you givin' this interview of your own free will?
     Bertram         Yes.
     Goins           Please state, please state your full name and spell your last name.
     Bertram         Nicole Bertram. B-E-R-T-R-A-M.
(


                     -
     Goins           And what is your date of birth?
     Bertram
     Goins           State your home address including the ZIP code.
     Bertram
     Goins           Is this the same as your mailing address?
     Bertram         Yes.
     Goins           Please state your home telephone number with area code.
     Bertram         I don't have a home telephone.
     Goins           Do you have a cell phone?
     Bertram         Yes.
     Goins           Please state your cell phone, uh, with area code.
     Bertram
     Goins           Are you employed?
     Bertram         Yes.
     Goins           Please state your employer and the position you hold there.




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      Bertram          Corizon. And I'm a LPN.
      Goins            Are you aware the following interview will be a sworn statement?
      Bertram          Yes.
      Goins            Please raise your right hand. Do you, Nicole Bertram, solemnly swear or
                       affirm to tell the truth, the whole truth and nothing but the truth, so help you
                       God?
      Bertram          Yes.
      Goins            Please sign and date. 22:54. All right, Miss Bertram. Were you present this
                       evening, uh, here at Corrections when a medical call came out, uh, concerning
                       an in, uh, concerning an imnate by the name ofMamu Hindi?
      Bertram          Yes.
      Goins            And did you respond to that call at some point in time?
      Bertram          Yes.
      Goins            Uh, can you tell me in your own words what you did, what you observed, uh,
                       while on scene at that call?
      Bertram·         Uh, yes. Uh, upon arrival, uh, to the imnate's, uh, cell, I seen staffperformin',
                       uh, CPR. Uh, he was on the floor. Uh, his skin color was pale. Uh,
                       unconscious. His eyes were closed and staff was performin' CPR. Um, I was
                       told to go get, um, an emergency bag. Uh, brought that back and uh, handed a
                       02 Stat Monitor Machine to my Supervisor Malone. She, uh, applied it to his
                       finger and uh, I just stayed with them until E~ and left the building
                       with him. Uh, in case they needed any, you know, other assistance. Other
                       than that, EMS took over.
      Goins            Okay.
      Bertram          I was on the 3rd floor.
      Goins            Is that your normal area?
      Bertram          Yes. In the Triage Room. Doin' Accu-checks.
      Goins            And how ... what. .. did the call come over the radio or was it your cell phone
                       or?
      Bertram          Uh, it was, it came over the radio. Um, I heard some, you know, it, goin' over
                       the radio. But, I didn't know what was goin' on. I was in the Triage Room.
                       And then I heard them askin' each other... CO's askin' each other if! had left
                       and I was like, no. I'm, I'm still here.                e that I needed to get
                       over to 5, um, immediately.
      Goins            Did they tell ya what, what it was for?
      Bertram          No. They just said I needed to go ASAP. ].Jm, Officer, um, Warden, uh,
                       pretty much escorted me over there. We ran over there and as we were runnin'

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(cc
                           over to 5, we heard the 300 code. So.
'
         Goins             And what does that mean?
         Bertram           Um, death. Possible death. I'm not. .. I just. ..
         Goins             Okay.
         Bertram           I just know he said, "oh. It's a 300" and you know, we started runnin' faster.
         Goins             Okay. So, it took you ... I'm assuming it took you a few minutes to get from
                           where you were up to, up to 5.
         Bertram           Yeah.
         Goins             Okay. And once you arrived on, on the 5th floor at, uh, inmate Hindi's cell,
                           what'd you see? What was the first thing you saw when you, you entered that
                           area?
         Bertram           Um, I just seen CO's everywhere and as I approached the, you know, the door,
                           I seen him on the floor with my Supervisor and other CO's. They were
                           performin' CPR.
         Goins             And your Supervisor is ...
         Bertram           Malone.

    "    Goins             Malone?
    ~
         Bertram           Uh-hum.
         Goins             Okay. So, she was performin' CPR?
         Bertram           Yes. She was assistin' with the CPR.
         Goins             Mong with... some· correction 'officers? · ·
         Bertram           Yes. I'm not sure of their names.
         Goins             Okay. And what did you do at that point?
         Bertram           At that point, I was just like, you know, what'd y'all need me to do and she
                           told me to go get the ER Bag. Emergency, uh, we needed, uh, (Inaudible).
                           The Emergency, uh, life saver. The...
         Goins             TheAED?
         Bertram           The AED. I'm sorry.
         Goins             Okay.
                           ,•·   '. ._'. -.. ''•'   'ii·;·j_,,+,-~\{~
         Bertram           So,     we
                                   neeilecfthat. Uh, we didn't have one on the floor. Um, I went into the
                           Triage Room to look for it. To see if it was in the Triage Room on the 5th
                           floor. It wasn't in there. So, I just grabbed the Emergency Bag. Brought that
                           and uh, we needed a 02 Sat Machine. Um, my co-worker, uh, Griffin, she had
                           one. Griffith. And she handed it to me and I handed it to the Supervisor. She
                           put it on the finger so that we could get some type of, um, (Inaudible) to see if

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                       he was ... had a, a pulse and all of that. You know. And 02. So.
      Goins            Do you what that 02 reading catne back? Do you know what the number
                       was?
      Bertratn         No.
      Goins            Okay. Do you remember... you said that inmate, Hindi, was layin' on the
                       floor?
      Bertratn         Uh-hum.
      Goins            Uh, do you remember looking at the room? Did you see anything around the
                       room that was unusual or out of place?
     Bertratn          No. All I know is I saw the.sheet. 'Cause I didn't know exactly what had
                       happened. I just know he was on the floor. I didn't know if he had choked or
                       what. So, um, when I seen the sheet, I asked .. .I was like what did he, you
                       know, hang his self? And they was like yeah. So.
      Goins            And where, where was the sheet?
      Bertratn         It was hangin' from the bar. From the window. You know, the bars on the
                       windows.
      Goins            Okay. And can you describe the condition of, uh, inmate Hindi, himself? You
                       said he was pale?
      Bertratn         Uh-hum.
      Goins            And not just his face?
      Bertratn         No. His, his body too. His ... I mean, 'cause I, you know, his chest was
                       uncovered. They were <loin' CPR and it. .. he was just pale. It, you know.
                       His eyes were closed and seemed lifeless. It just. . , you know. We were
                       tryin' to get him to come back.
      Goins            Okay. What is your um... You, you said you're an LPN.
      Bertratn         Uh-hum.
      Goins            Or are you a RN?
      Bertratn         LPN.
      Goins            You're an LPN? And long have you been an LPN?
      Bertratn         3 years.
      Goins            Okay. And prior to that, were you in the II!edipal field?
      Bertratn         Yes.
      Goins            What and at, in what facility?
      Bertratn         Oh, gosh. Uh, I've worked at other nursin' homes. Uh, Georgetown Manor,


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                               uh ...
              Goins            Were you a CNA?
              Bertram          I was a nurse there. LPN there.
              Goins            Oh, you were LPN?
              Bertram          Uh-hum.
              Goins            Okay.
              Bertram          And I was a CNA, a CMT for years, so. Since '98.
              Goins            Okay.
              Bertram          I've worked at Jewish, U of L.
              Goins            So over 15 years of medical experience.
              Bertram          Uh-hum.
              Goins            Okay. Um, so in your experience, uh, looking at his condition, did it appear to
                               you that he was in some type of cardiac arrest or, or was havin' serious ...
              Bertram          Yes.
              Goins            ... serious medical problems?
(            Bertram           Yes.
              Goins            Okay. So what they were doing. . . the, the 02 on the finger, the chest
                               compressions, uh, were they breathing for him as well?
             Bertram           Yes. We had the bin, the Ambu Bag, yeah.
             Goins             Okay.
             Bertram           He was doin' the whole thing.
             Goins             Okay. So, none of that seemed out of place or out of the ordinary.
             Bertram          No. Uh-uh.
             Goins            That was very, uh, in your opinion, that's exactly what you would've done. Is
                              that correct?
             Bertram          Yes.
             Goins            Okay. Did you stay in that area once EMS arrived on the scene? Did you stay
                              there?
             Bertram          Yes. I didn't leave until they left.
             Goins            Okay. Um and what were, uh, EMS's actions?
             Bertram          Uh, they came in and uh, help assisted the CO. CO, you know, kept
C(                            performin', uh, CPR. And they came in; took over. Started, uh, gettin' their
     '---
                              equipment out. Placin' it. Tryin' to get some readings. Uh, EKG's. Tryin' to

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                       get, see if they could get some, um, pulses and ... they were, they were pretty    ("\
                       good. They, they did what they had to do. Um, they performed CPR for a
                       while.
      Goins            Okay. Now, what is a while? Is that a couple of minutes ... ?
      Bertram          No. It was ... I know at least a good 15 to 20 minutes. It, it was a nice
                       minute.
      Goins            Okay.
      Bertram          It was a while.
      Goins            So in fact, 15 to 20 minutes they, they performed CPR.
      Bertram          Yeah. We was ... up there, yeah.
      Goins            Okay. And anytime while you were present there, did you notice any obvious
                       signs of life? Did his eyes come open? Did his hands or feet move? Any
                       breathing?
      Bertram          No. Um ... no. He didn't move at all. Um, at one point, we got a... We
                       thought we had a pulse. I guess, uh, the Supervisor said, she was, uh, on the
                       machine it came... she said it was 10 or somethin' like that and so we all
                       started yellin' his name, you know. Hindi, Hindi, you know. But. .. he didn't
                       never responded.
      Goins            Never responded. Okay. Looking back, uh, on that, this incida night, this
                       incident tonight. .. I know it was probably very chaotic, but looking back on it
                       now, in hindsight, uh, is there anything that you would've done differently?
      Bertram          Um... (long pause) No, I. .. no. I don't ... I think we all did what we, you
                       know, we're trained to do. You know. Put in a whole lot of effort.
      Goins            Yeah.
      Bertram          You know. Worked as a team.
      Goins            Right. Had you had any, uh, previous, uh, run-ins with, uh, inmate Hindi?
                       Any conversations?
      Bertram          Yeah, this mornin'. I, I gave him his medicine and he was very nice. He's
                       always been very nice to me. You know. Um, polite. So, no. He's always
                       been a really nice inmate.
      Goins            This momin' did he make any unusual comments?
      Bertram          Uh-uh.
      Goins            Did he appear to be distraught or under any type of distress?
      Bertram          No. He seemed normal to me. You know.
      Goins            Did he take his medications?


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(- ..              Bertram           Yeah. He took his medication except for uh, he took ibuprofen. So.
                   Goins             In addition to some other type of medicine?
                   Bertram           No. He did not take 2 of his medications.
                   Goins             Okay. And that. .. was that unusual?
                   Bertram           Um,no. No.
                   Goins             Okay. But his mental state seemed...
                   Bertram           Fine. Very pleasant. It. .. I had no question. You know, usually, you know,
                                     um, you can tell when somethin's botherin'. If you ... 'cause I have that same
                                     floor all the time when I work. He's been the same pies, pleasant person.
                                     Smilin', waivin'. Nothin' different.
                   Goins             Okay. Uh, I wanna ask you... just. .. I wanna check on one thing. The AED.
                                     You said you went to look for that first and it, and it. .. What'd you say about
                                     that?
                   Bertram          They kept sayin', uh, they was sayin' that we needed A, A, that we needed the
                                    AED. And I was like, where is it. And they said, Bennet had it. I don't know
                                    who Bennet is. So, I, uh, she told me go in and just look in the Triage Room
                                    just to see if it's in there. And I went in there and I didn't see in there and I
                                    grabbed the uh, emergency bag and so ... and tried to find anything in there
 (                                  that we can use, um, like the oxygen masks, (Inaudible). And we, you know,
                                    got that hooked up and all that stuff, so.
                   Goins            Is that something that's kept on every floor? Does every floor have an AED?
                                    Or do you know?
                   Bertram          I'm not for sure. Obviously, uh... I'm not for sure. So, I don't wanna say.
                   Goins            Do you have one on your floor? On the 3rd floor?
                   Bertram          Mm, no. Not that I know of. Not. .. no. Not that I know of. I'm thinkin'
                                    because... uh-uh. No. I've never seen one.
                   Goins            Did you follow the ... once he was on the, uh, gurney, did you follow 'em all
                                    the way down to the Sally Port?
                   Bertram          No.
                   Goins            Was there anything unusual about what EMS did? Everything seem normal
                                    procedures for them?
                   Bertram          Yeah. Um, I watched 'em, uh, intubate him. Uh and they kept <loin' the CPR.
                   Goins            Okay. Uh, is there anything else you wanna state for the record before we
                                    close this interview?

 ,,
 r"
     ,"-..__ -
                   Bertram          No. Um, I just feel like everybody worked as a team tryin' to bring him back,
                                    you know. Despite what he may have done, he was a, he was always kind to


                   Statement: namex I Case #PIU 13-072           October 19, 2013         Page7of8
                                                                                                         GB003580
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                        me.
      Goins             Uh-hum.
      Bertram           And that's about it.
      Goins             Okay. Uh, is there any other piece of information that you think might be
                        useful to this investigation? Somethin' I haven't asked you.
      Bertram           (Pause) Um, no. Not that I can think of. ·
      Goins             Is everything you've told me been the truth to the best of your knowledge?
      Bertram           Yes.
      Goins             Okay. Saying that we'll end this interview. The time is 23:08 hours.
      END OF
      STATEMENT
      PIU
      File #13-072/pm




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                                                                                     GB003581
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                                         1094                LMOC.tJ~rZ5E.
                             LOUISVILLE METRO POLICE DEPARTMENT
                                    PUBLIC INTEGRITY UNIT
                                     OFFICIAL STATEMENT
                                  CASENUMBER:    t5-o1Z..
 Today's date is         fD(1'1 /is             The time is                                              hours.
                                1
 This is an interview with    L.a ±4sh; a 0 h -~ ..µ,.                          (RIS)

 This interview is being conducted at:

          Public Integrity Unit, 810 Barret A venue, Louisville, KY 40204

          Other Location:

Present during this interview is;



       (Title) ·                                                     (Name)

          QI    ~you aware this interview is being audio and/or video recorded?
          Q2 ~ anyone threatened you in order to obtain this interview?
          Q3           you giving this interview of your own free will?
          Q4  L.Y1'jkla8e, state your full name, and spell your last name. What is your date of birth?
         Q5 UJ'S_prte your home address including the zip code.
         Q6 [g'ls this the same as your mailing address? (Ifno) Mailing address?
         Q7 ·{J S~ your home telephone number with the area code.
         Q8 ~~ your mobile and an alternate phone number with area codes.
         Q9 ~_,PYOU employed?
         QI 0 L0'State your employer and the position you hold there.
         QI    i.-8
                 \9:1at is your work telephone number?
         Ql2 [9""Are you aware the following interview will be a sworn statement?


PLEASE RAISE YOUR RIGHT HAND

Do you,    L "2- -Id.sh i .a (;'.-LWJ+t. , solemnly swear or affirm to tell the truth, the whole truth, and
nothing but the       th, so help you God?

                          ABOVEOAIBmATIHAVETAKEN.                                      I
                                                                     . . 10 / lt!t         1'3       x   Z-311
                            Signature                                K.     Date                 '         Time


                        Witness signature                                  Date                            Time

 Subscribed and sworn to me by                          L4TA5Hlt4         GIZ1 FF ITH


                   r;,;.~~"'
This                                                      , 201:13             Notaiy Pu?lic, Slate at Large, KY
                                                                               My Commission expires July 27 2016
                                                                               Notary ID# 471447               '
                   7-@NotarypubliC ;         at Large                              My Commission Expires




                                                                                                         GB003582
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                                                 · October 19, 2013


              Goins           This is Sergeant Ed Goins with the Louisville Metro Police Department's
                              Public Integrity Unit. This is an official statement in regards to Case #13-072.
                              Today's date is October the 19th, 2013. Time is 23:15 hours. This is an
                              interview with Latashia Griffith. This interview is being conducted at 400
                              South 6th Street, Louisville Metro Department of Corrections, Professional
                              Standards Unit office. Miss Griffith, are you aware this interview is bein'
                              audio recorded?
              Griffith        Yes.
              Goins           Has anyone threatened you in order to obtain this interview?
              Griffith        No.
              Goins           Are you giving this interview of your own free will?
              Griffith        Yes.
              Goins           Please state your full name and spell your last name.
              Griffith        Latashia Vonshea Griffith. G-R-I-F-F-I-T-H.
(


                             -
              Goins           And what is your date of birth?
              Griffith
              Goins           State your home address including the ZIP code.
              Griffith
              Goins           Is this the same as your mailing address?
              Griffith        Yes.
              Goins           Please state your home telephone number with area code.
              Griffith       I don't have a home telephone.
              Goins          Please state your cellphone number with area code.
              Griffith
              Goins           Are you employed?
              Griffith       Yes.
              Goins          Please state your employer and the position you hold there.
              Griffith        Corizon. Licensed Practical Nurse.
1(
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      Goins             Are you aware the following interview will be a sworn statement?
      Griffith          Yes.
      Goins             Please raise your right hand? Do you, Latashia Griffith, solemnly swear or
                        affirm to tell the truth, the whole truth and nothing but the truth, so help you
                        God?
      Griffith          I do.
      Goins             Please sign, date and time. 23: 17. Miss Griffith, were you working this
                        evening, uh, when a call came in about a medical emergency involving an
                        inmate by the name of Mahmoud Hindi?
      Griffith          Yes.
      Goins             And did you in fact respond to the location of Mr. Hindi's cell?
      Griffith          I did.
      Goins             And in your own words, can you explain to me what you observed once you
                        arrived there?
      Griffith          I, um, arrived there. Mr. Hindi was lying on the ground and several officers
                        and um, my Charge Nurse were giving him, urn, CPR. Uh, chest compressions
                        and they had the ambu bag on. At that time, I, uh, I opened the emergency bag
                        and retrieved the oxygen mask and too being and hooked it up to the 02 tank
                        and waited for them to ask for it.
      Goins             And where were you when uh, received word of this, of this medical
                        emergency?                          -
      Griffith          Um, I had just gotten off the elevator and walked into the station and the phone
                                                                                 the phone. Um, there,
                                                                                   ention for inmate on
                        HS. I hung up the phone. As soon as I walked out of the nurses station,
                        Sergeant Brockbank uh, was also had heard over the radio that they needed a
                        nurse over there and he went, he went with me.
      Goins             And what was his last name?
      Griffith          Brockbank.
      Goins             And you said you were in the nurses station. Where is that? What floor is that
                        on?
      Griffith          It's on the two, urn, floor two.
      Goins             So, then you and Sergeant Brockbank went up to HS?
      Griffith          Yes. And several other officers were with us as well. We gotta, we all entered
                        the elevator at the same time. Goin' to the same incident.

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                                         1097




(     Goins              Okay. You said you observed your Charge Nurse. Who is that?
      Griffith           Angel Malone.
      Goins·             Okay. And you also talked about retrieving equipment from the emergency
                         bag. Where... did you have this bag with you?
      Griffith           Yes. We have the emergency. Oh, Nurse Hammond. She was also with us
                         when we got, we... she grabbed the emergency bag. We all got on the
                         elevators together and um, when we got over there, I got the, um, the oxygen
                         mask out of the emergency bag.
      Goins              Did anybody ask you to do that?
      Griffith           No.
      Goins              Is that normal procedure?
      Griffith           Um, yes. Ifwe get 'em revived, you wanna apply oxygen.
      Goins              Okay.
      Griffith           Um, to make sure he gets oxygen.
      Goins              Okay. And did in fact, was there a point in time where, where you had to
                         apply oxygen to him?
      Griffith           No.
(
      Goins              Did somebody else do that?
      Griffith           Um, by that time, EMS was comin'. They had came.
      Goins               Okay. So you never really actually had to turn on the oxygen and put the mask
                         ion
                        ,.;
                             his face.
      Griffith           No. I, I hooked up and turned it on but we... they were still had the ambu bag
                         over him and still givin' him chest compressions at that time.
      Goins              Uh-hum.
      Griffith          And by that time they were .... like I said, they were givin' him chest
                        compressions and doin' the ambu bag and ... You know, once you start the
                        compressions, you have to keep goin' until you get a pulse and that. By that
                        time, the EMS came and then that's when I stepped back and let EMS do what
                        they had to do;
      Goins             Uh-hum. Do you know how, how long approximately you were there before
                        EMS got there?
      Griffith          Yeah. Only a few minutes.
      Goins             Okay. Were, were the fire department there when you got there?

      Statement: Griffith, LPN Latashia/Pill Case #13-072      October 19, 2013      Page 3 of7



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      Griffith          It could've been the fire department. It was other, other people that came. I    ('
                        don't remember if it was fire department or EMS. I just know another entity
                        showed up.
      Goins             Okay.
      Griffith          I didn't pay attention to what they were wearing or anything like that.
      Goins             Okay. Um, your tittle is a LPN. Is that correct?
      Griffith          Yes.
      Goins             How many years have you been LPN?
      Griffith          Um, five ... ?
      Goins             Okay.
      Griffith          Five. Yeah.
      Goins             Were, were you in the medical field prior to, to that?
      .Griffith         No.
      Goins             Okay. In your, in your opinion, um, based upon the condition of inmate Hindi,
                        um, should anything had been done differently?
      Griffith          No. He ...
      Goins             Were the procedures, procedures that they were doin', was that correct in your
                        opinion?
      Griffith          Yes. He was gettin' chest compressions and they had the ambu bag on
                        immediately. So, he was, he got what he. . . what, what was supposed to
                        happen. It was been in order.
      Goins             Okay. Did you actually go in his cell?
      Griffith          No. I was standing right there in the, I guess, the, the doorway?
      Goins             The doorway?
      Griffith          Yes.
        '
      Goins             Okay.
      Griffith          Uh-hum.
      Goins             Um, can you describe Mr. Hindi. What he looked like to you in your opinion?
                        Medically.
      Griffith          He was gray. His eyes were closed and um, he, he was, he was gray. He was
                        gray and his eyes were closed but he had the ambu bag was on him. Uh, he
                        wasn't, you know, movin'.

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r'"
\       Goins             Okay. Did he have any other marks? No blood or anything?
        Griffith          No. I didn't see any blood.
        Goins             What about his cell? How would you describe his cell?
        Griffith          Um, I did see the sheet still hangin' on the bars. I, I did observe that. Um...
        Goins             What bars was that?
        Griffith          Sort of bars. Like the window up there and      um,   sort the, the bars like right
                          there.
        Goins             Uh-hum.
        Griffith          Um, on the... you know, right ... The, the window is all the way up at the top
                          but there's still bars there.
        Goins             Uh-hum.
        Griffith          For some reason. So. Um, that as there. Um, I saw a book on his table
                          opened up. Um but that's all I could see of the room. There were officers and
                          then and the other two nurses were actually inside of the, the cell, so. And it's
                          not a very large cell, so. That was... I couldn't see anything else.
        Goins             Okay. Did you assist in any way in, in, uh, doin' CPR?
        Griffith          No.
        Goins             Did you... were you present in, in the area the whole .time while EMS was
                          giving him basic lifesaving and first aid?
        Griffith          No. Um, Nurse, Nurse Hammond suggested that a nurse needed to go back to
                          the nurses station since all of the nurses were over there and um, I went back
                          over because I needed to call Doctor Smith and let him know what happened
                          and also get the paperwork ready to send... to fax over to the hospital as well.
                          So, I was, I went back to the nurses station when EMS got there.
        Goins             Okay. So, how long approximately do you think you were um, present in his
                          cell or in the area?
        Griffith          3 to 5 minutes.
        Goins             Okay. Had you had any prior incidents uh, with this inmate? Good, bad or, or
                          (Inaudible)?
        Griffith          Oh, yeah. Uh, average incidents. Like givin' him his medicine before. Um,
                          you know, he's spoken to me. Hello Nurse Griffith, you know. Different
                          things like that but not a, never a bad incident.
        Goins             Okay.
        Griffith          Yeah.

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      Goins             When was the last time you gave him medication?
      Griffith          Well, you know. Let me take that back. He's, uh, he did ... I did have to
                        respond to an incident that he had one time.
      Goins             Uh-hum.
      Griffith          The last time I gave him medication? I can't specifically say right now
                        because I don't have his M.A.R. in front of me. But he hasn't been on the
                        floor that I work on in, in several months.
      Goins             Okay.
      Griffith          But when he was on the floor that I worked on, I, I, I've given him medication
                        before.
      Goins             Okay.
      Griffith          Uh-hum.
      Goins             And what floor do you normally work on?
      Griffith          Four.
      Goins             Okay. And you said just a few minutes ago that you did have to respond to an
                        incident with him?
      Griffith          Yes. Um, a few months ago when he was on 4, um, he ... the, um, I had to
                        respond to an incident that was, um ... He was, um. . . I don't wanna use the
                        word fighting. He was resisting an officer.
      Goins             Uh-hum.
      Griffith          And usually when they have to put handcuffs on 'em, I. .. the nurse has to go
                        up and check to make sure that, you know, the circulation and everything. So.
                        That's what happened with that.
      Goins             Okay. Did he have any injuries from that incident?
      Griffith          Um, just redness on him, you know. On his, on his wrist and from where they
                        had to lay him on the floor, he had some redness on him. But he didn't have
                        any bruises, bumps, cuts or anything like that.
      Goins             Okay. I know that you stated that you were only in, in, in his cell or in the area
                        for, for 3 to 5 minutes, but in that time...
      Griffith          Uh-hum.
      Goins             ... uh, looking back on it now, um, based upon what everybody did, would
                        you do anything differently? Would you suggest they do anything differently?
      Griffith          No. And while you were there in the area, uh, did you notice any obvious
                        signs of life? Did his eyes open? Did he move? Did he breathe on his own?

      Statement: Griffith, LPN Latashia/Pill Case #13-072       October 19, 2013       Page 6 of?



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      Griffith           No.
      Goins              Any of that. Okay. Is there anything you wanna state for the record before we
                         end this interview?
      Griffith           No.
      Goins              Is there any information that you have that you think might be beneficial to
                         this investigation? Something I haven't asked you?
      Griffith           No.
      Goins              Okay. Is everything you told me been the truth to the best of your knowledge?
      Griffith           Yes.
      Goins              All right. Saying that, we'll end this interview. Time is 23:27 hours.
      END OF
      STATEMENT
      PIU
      File #13-072/pm




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      Statement: Griffith, LPN Latashia/Pill Case #13-072       October 19, 2013       Page 7 of7



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                                                     1102
                                       LOUISVILLE METRO POLICE DEPARTMENT
                                              PUBLIC INTEGRITY UNIT
    -                                          OFFICIAL STATEMENT
(                                                  CASE NUMBER:                / 3.   ()   I 2.-
        Today's date is             / 0 / I °I   / /3                    .   The time is      I I .' CJ <f ()yn      hours.

        This is an interview with {!Ji'lrC.._5f, )         Sf1A(l.,Jf'v' /1AMfV'\CN 0 (RIS)
    This interview is being conducted at:

    0             Public Integrity Unit, 8 I 0 Barret Avenue, Louisville, KY 40204                                /,:;
    -
    LY'
           /
                 Other Location:                 (c, (,U   u..J ,   "5tsFh...'% di,_)       / (_(Vl.{)C-)
                                                                                            L'
                                                                                                              (fJ s u)
    Present during this interview is; ·



               (Title)                                                            (Name)

                 QI      ~-       ···aware this intervie"; is being    audi~
                                                                       and(o: vide? recorded?     ·
                 Q2                 one threatened you m order to obtam this mterview?
                 Q3 ~¥e y giving this interview of your own free will?
                 Q4 ~~se, state your full name, and spell your last name. What is your date of b i r t h ? . - .
                 Q5 ~;ate your home address including the zip code.
                 Q6 ~s this the same as your mailing address? (If no) Mailing address?
                 Q7 0 State your home telephone number with the area code.
l                Q8      bl
                          _§tate your mobile and an alternate phone number with area codes.
                 Q9 L6Are you employed?
                 QIO i:;::}sfate your employer and the position you hold there. ColYiz.o,.,, L.PN
                 QI I    0\jhat is your work telephone number?                              '
                 QI 2 [±!"'Are you aware the following interview will be a sworn statement?


    PLEASE RAISE YOUR RIGHT HAND

    Do you, 6hM<:> 1'l HAl'v\IV'()"-1 D solemnly swear or affirm to tell the truth, the whole truth, and
    nothing but the truth, so help you God?

    I UND:s. TAND THE ABOVE OA.TH THAT I HAVE TAKEN.

~ ~·~                           ,
                                    JO-Signature                                            Date                         Time
                                        -----...
                                Witness signature                                                                        Time

        Subscribed and sworn to me by                          __5 If rtt._{2.J) t'1        i-/ f1YV?!V1orJ-D- - - -
        This             /q yi,..      day of () C;t-1.9 '$'V(_


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                                                  October 19, 2013


               Taylor         This is Sergeant Kevin Taylor of the Louisville Metro Police Department's
                              Public Integrity Unit. This will be an official statement, uh, in reference .to
                              Case #13-072. Today's date is 10-19 of2013. The time is 11:04 p.m. This
                              will be a statement with, uh, Nurse Sharon Hammond?
               Hammond        Uh-hum.
               Taylor         And our location is gonna be 600 West Jefferson. Uh, in the PSU Offices of
                              the Louisville Metro Division of Corrections. Uh, present for this interview is
                              myself, Sergeant Kevin Taylor and um, Miss Sharon Hammond. Miss
                              Hammond, are you aware this interview is bein' audio recorded.
               Hammond        Yes.
               Taylor         Has anyone threatened you in order to obtain this interview?
               Hammond        No.
               Taylor         Are you giving this interview of your own free will?
(              Hammond        Yes.
               Taylor         Please state your full name and spell your last name.
               Hammond        Sharon Lee Hammond. H-A-M-M-0-N-D.




                             -
               Taylor         And what is your date of birth?
               Hammond
               Taylor         State your home address with ... uh, including the ZIP code.
               Hammond
               Taylor         Okay. And is this the same as your mailing address?
               Hammond        Yes,
              Taylor          State your home number with area code.
               Hammond        Cell phone number. No home number.
              Taylor          Okay.
              Hammond
              Taylor

u
'"\
 ---... __
              Hammond




                                                                                                GB003591
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        Taylor            8038. Okay. Okay. And uh, state your employer and the position you hold           (,,.--'
                          there.
        Hammond           Corizon. LPN.
        Taylor            Okay. And what is your work number?
        Hammond           (Silence)
        Taylor            Okay. (Chuckles) Are you...
        Hammond           I know it. ..
        Taylor            Are you aware the following interview will be a sworn statement?
        Hammond           Yes.
        Taylor            All right. Please raise, please raise your right hand? Do you, Sharon
                          Hammond, solemnly swear or affirm to tell the truth, the whole truth and
                          nothing but the truth, so help you God?
        Hammond           Yes.
        Taylor            All right. I just need your signature right here. And date and time. Okay. All
 ·:.·                     right. Miss Hammond, in your own words, um, just tell us how you became
                          involved with the incident that occurred at the, uh, jail tonight.
        Hammond           I was on the second floor of the jail walking with an officer and heard a co,
                          call for more medical assistance needed in HS. Which is Hall of Justice 5. I
                          went to emerg... they... the medical, the medicine room. Grabbed the ER bag
                          with an officer who also grabbed an oxygen tank. We proceeded to go to ...
                          Myself, approximately 6 officers and another nurse proceeded to walk over to
                          or run to the Hall of Justice. When I arrived, inmate Hindi was on the floor in
                          his cell. CPR was being performed by Nurse Malone and an officer, who I'm
                          not for sure who was, um, at the time. I basi~ed in the hall in case
                          assistance was needed.                          -
        Taylor            Okay.
        Hammond           And wh                                                , ce there were several
                          nurses there, I decided it was best to go back to the medical... nurses station
                          instead of leaving at number 1 with no nurses. And went to make copies of
                          pertinent information in his chart to send with EMS to the hospital. But by the
                          time I had the copies made, he was already in route and we faxed to U of L.
        Taylor            Okay. So, I guess at no time you actually were a part of the, uh ...
        Hammond           No. Just there in case anything was needed.
        Taylor            Okay. All right. Did you see anyone ad
        Hammond           Yes. Nurse Malone.
        Taylor            Okay.

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                                            1105




         Hammond           And several officers in the time I was standing there. I'm not really for sure
                           how many. Took turns <loin' chest compressions.
         Taylor            Do you know of the officers. You know the names?
         Hammond           No, no. I still don't know most of the officers names.
         Taylor            Okay. Um, I guess when you arrived on scene, um, did, did you get to, a
                           chance to see inmate Hindi?
         Hammond           Not real well. 'Cause there were too many people around the door. He was in
                           the door. I was out in the hall. Never was in the room with him. I did see him
                           briefly through glimpses. Uh, he was unresponsive and CPR was being done.
                           And basically, did not see much because everybody was huddled over. I
                           mean, you know, they were on top of him. Not on top of him. Doing CPR and
                           nurse Malone was administering the oxygen.
         Taylor            Okay. At anytime, were you... so, were you present when EMS arrived?
         Hammond           Yes.
         Taylor            Okay. Uh, at any time, did he, uh, appear to be revived?
         Hammond           Not that I was aware of, no.
         Taylor            Okay.
(        Hammond          There were 20 officers and people there around the door and I stood hack just
                          in case help was needed.
         Taylor            Okay.
         Hammond           So, I really didn't any ... I didn't actually see anything.
         Taylor           Um, prior to, uh, today, had you had any, uh, interaction with inmate Hindi?
                           . 4:·,·.A't
         Hammond          He has some... gave him his meds several times.
         Taylor           Okay. Just in your, you know, your... what you can remember, um, do you
                          Yremember anything about his personality or•llhything about him ...
         Hammond          Nothing.
         Taylor           ... to let you think that he might be... ?
         Hammond          Uh-uh. (Inaudible). As a matter fact, he has refused some of his meds. In the
                          past. But he was smiling when he did it.
         Taylor           Really?
         Hammond         ~Uh~hui.n.
         Taylor         l Okay. Um, did he give you any reason why he didn't (Inaudible)?

         Hammond         .. I've never actually spoke with. Other than him saying, "I do not want meds."
<,(,                      · Or, "Thank you." When I have gave him his meds. But as far as a

         Statement: namex I PIU Case #12-014              April IO, 2014                 Page 3 of 4

                                                                                                GB003593
Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 114 of 625 PageID #:
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                        conversation...
      Taylor            (Yawns). Sorry.
      Hammond           ... far as a conversation, No, I've never had a conversation with him.
      Taylor            Uh, are you at liberty to say... if you can even remember, what those meds
                        might've been?
      Hammond           I. .. not off the top of my head. I don't remember what they are.
      Taylor            Okay. Well, um...
      Hammond           We give meds to a lot of people in the night. So. The interaction with each
                        inmate is very short.
      Taylor            I see. Um... well, I don't really have any other questions.
      Hammond           Okay.
      Taylor            Is there anything else you'd like to add to your statement?
      Hammond           No. No.
      Taylor            Okay. All right. The time now is 11:12 p.m. And that will conclude this
                        statement.
      END OF
      STATEMENT
                                                                                                      I
      PIU
      File #13-072/pm




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                                                                                        GB003594
                     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 115 of 625 PageID #:
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                                            LOUISVILLE METRO POLICE DEPAR'fMENT
                                                   PUBLIC INTEGRITY UNIT
                                                    OFFICIAL STATEMENT
                                                 CASE NUMBER:   i3-t>7Z.
               Today's date is   -~'o_,/rt~'l~,,_I~'3~----­                  The time is                          hours.

               Illls is an interview with   -~Jhi~~*'-'"'''-'-l-~11~c-~l~D~V\t?....=------     (RIS)
              This interview is being conducted at:

              0         Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204

             i;lr'      Other Location:            td,00      -S: ({,*1,     S:+.       l.-H J)(_
             Present during this interview is;



                     (Title)      .                                                 (Nrune)

                       QI §t/._e. you aware this interview is being audio and/or video recorded?
                       Q2       as anyone threatened you in order to obtain this interview?
                       Q3 ~ you giving this interview of your own free will?
                       Q4         ase, state your full name, and spell your last name. What is your date of birth?
                       Q5 LY ,Sti te your home address including the zip code.                            ·
                       Q6 &¥1,bis the same as your mailing address? (If no) Mailing address?
                       Q7 1321'~te your home telephone number with the area code.
(                      Q8 [SfSprte your mobile and an alternate phone number with area codes.
                       Q9 C::Y¥e you employed?           .
                       QlO ~S· your employer and the position you hold there.
                       Q 11       at is your work telephone number?
                       Ql2    :Are you aware the following interview will be a sworn statement?


         PLEASE RAISE YOUR RIGHT HAND

         Do you,     fWr~el Ma.lo~                         , solemnly swear or aff= to tell the truth, the whole truth, and
         nothing but ilie ~th, so help you God?

                     ERSTAND THE ABOVE OATH THAT I HAVE TAKEN.

                                                                                      Jo··/1-r5
                                                                                           Date                     Time


                                      Witness signature                                    Date                     Time

            Subscribed and sworn to me by

            This                                                                              Notary Pu~ri~. State iii Large, KY
                                                                                              My Cnmrmse:on expires July 27 2016
I,
                                                                                              Notary ID# 471447                '
'.\   '-..._ __ _                                                                                 My Commission Expires




                                                                                                                  GB003595
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                                            October 19, 2013


        Goins           This is Sergeant Ed Goins of the Louisville Metro Police Department's Public
                        Integrity Unit. This is an official statement in regards to Case #13-072.
                        Today's date is October 19th, 2013. The time is 22:13 hours. This is an
                        interview with Angel Malone. This interview is being conducted at 400 South
                        6th Street in the Louisville Metro Department of Corrections Professional
                        Standards Unit office. Miss Malone, are you aware this interview is being
                        audio recorded?
        Malone         Yes.
        Goins           Has anyone threatened you in order to obtain this interview?
        Malone         No.
        Goins          Are you giving this interview of your free will?
        Malone         Yes.
        Goins          Please state your full name, and spell your last name.
        Malone         My name is Angel Renee Malone. Malone is spelled M-A-L-0-N-E.
(                                                                                       . ·~
        Goins          And what is your date of birth?
        Malone
        Goins          Please, please state your home address including the ZIP code.
        Malone
        Goins          Is this the same as you mailing address?
        Malone         Correct.
        Goins          Do you have a home telephone number?
        Malone         No.
        Goins          Do you have a cell phone number?
        Malone
        Goins          Are you employed anywhere?
        Malone         Yes.
        Goins          Please state your employer and the position you hold there.
        Malone         I work for Corractions, Corazon Correctional Medical and my position is RN
(l_                    Weekend Supervisor.




                                                                                               GB003596
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      Goins            And do you know what your work telephone is?
      Malone           It's 502-574-2145.
      Goins            Are you aware the following interview will be a sworn statement?
      Malone           Yes.
      Goins            Please raise your right hand. Do you, Angel Malone, solemnly swear or affirm
                       to tell the truth, the whole truth and nothing but the truth, so help you God?
      Malone           Yes, I do.
      Goins            Please sign and date.
      Malone           Time?
      Goins            22:14.
      Malone           22:14?
      Goins            Uh-hum.
      Malone           Okay.
      Goins            Thank you.
      Malone           Thanks.
      Goins            Miss Malone were you working, uh, earlier this evening when there was a uh,
                       medical call. A medical alarm that went out on a inmate by the name of


      Malone
      Goins
                       Mamu Hindi?
                       Yes I was.

                       Ill I      IT J         31 Fil!Wt
                                                                       -
                       @d were you on scene, uh, d.uring some of the uh, uh, basic lifesaving that
                                                               I Pl llll
      Malone           Yes I was.
      Goins            Can you tell me as much detail as possible and in your own words. Uh, what
                       you remember about this incident?
      Malone           Yes. I arrived, uh, on the 5th floor which is ...that's where the inmate was
                       located, uh, to do my Accu Checks. When I arrived Officer Ramsey was
                       standin' by the Control Room. I explained to him that I was here to do the
                       Accu Checks. Uh, it was about 1~trol Room. Started to
                       ask him can we go ahead and ~- At that time, uh,
                       Officer. .. I don't. . .I'm not sure of his name, came up and said, "there's an
                       inmate hangin'." We need backup. I set my uh, Accu Check cubby in the
                       Control Room right there. Asked Officer Bullard, who was workin' Control,
                       to get all the ... of the nursin' staff here immediately. And I went to respond to
                       the inmate uh, with the possible hangin'. When I got to the inmate's cell, uh,
                       he was already on the floor and um, I checked his pulse in three areas. His
                       carotid, his brachia! and his pedal. He was without a pulse. His extremities,        (\.__/

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                                                                                      GB003597
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                           his upper and lower extremities, hands and feet were both cold. I started CPR.
                           Called for Corrections to call 9-1-1. I was informed by a Correctional Officer
                           that 9-1-1 had already been called. Continued to do the CPR for about 5
                           minutes. At that time Officer Skaggs switched me places. He started to do
                           CPR. Meanwhile Officer Ramsey was givin' rescue breaths with the Ambu
                          bag. I continued to check the pulse off and on until EMS arrived. At one
                          point the other nurses came. One of 'em gave me uh tank with oxygen. I put
                          it on him. Uh, another nurse gave me a 02 set. I checked it. His 02 was
                          showin' 83%. Um, his heart rate was JO, I told them to continue CPR. 10
                          was not compatible with life. Uni, at that time, EMS arrived. They checked
                          him and seen that he was without pulse and then they switched me and
                          Correctional Staff's place and they started CPR. Another EMS attached the
                          AED leads and um, to see if he needed shockin'. The AED indicated that no
                          shock was advised and to continued CPR. They continued CPR. Another
                          EMS pulled out the Epinephrine and gave him a shot of the Epinephrine. He
                          still was without pulse. We continued to check, check his pulse again. At that
                          time, the EMS transferred him from the floor to the stretcher and they asked
                          did they need to continue CPR. I told 'em yes, they are to continue CPR until
                          the doctor tells 'em to stop. They continued CPR on exiting the building. Uh,
                          me and a couple of the correction officers followed 'em out from the floor all
                          the way to when the inmate got in the ambulance. They was still <loin' the
                          CPR at this time and I, I could see 'em <loin' it as they, as the ambulance
(                         pulled away.
        Goins             All right. Um, just a few follow-up questions. Uh, you said uh, I believe you
                          sai,4,l1f9'1• your title's an RN?
        Malone            Yes.
        Goins             Okay. And how long have you been an RN?
        Malone            I got my RN license August 12th of this year.
        Goins             Okay.
        Malone            2013.
        Goins             Okay. And did you work in the medical field prior to that?
        Malone            Yes. I was workin' as a LPN since July the 5th of201 l.
        Goins             Okay.
        Malone            And I was workin' as a nurse assistant from August of '98 to ... I got my LPN
                          license.
        Goins             Okay. So you, you've got approximately uh, a little more than a 15 years
                          experience in, in nursing in the medical field.
        Malone            That's correct.
IJ
 '·

        Statement: Malone, Nurse Angel I Case #PIU 13-072       October 19, 2013       Page 3 of9.

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      Goins             Okay. And your position uh, on this date and time specifically is ... not only
                        an RN but you're the Weekend Supervisor.
      Malone           I'm the Weekend Supervisor.
      Goins             Okay. And you talked about a Accu Check. What is that?
      Malone           It's where you test how much the amount of, uh, sugars in a person's blood
                       and determine whether they need insulin or a snack if it's low. Uh, insulin if
                       it's high. Uh, I was assigned to do the insulin, the Accu Checks on 2 floors.
                       Five and Six. When I got in the elevator, I asked the, put up the 6 fingers for
                       them to take me to 6 first and then gonna come back down to 5 but he took me
                       to s.first and uh, I remember commenting when I got off the elevator, I asked
                       Officer Ramsey, I said what're you doin' on 6? And he said, "Malone, you're
                       not on 6. You're on 5." And he's like, "well you're here now. Let's go ahead
                       and do the Accu Checks." I was like, okay, you know. I'll go on and get 'em
                       over with, you know. And then at that time, that's when officer came up and
                       said, 'we need backup. There's a inmate hangin' ."
      Goins             And which officer was that?
      Malone            I'm not sure of his name.
      Goins             Okay. Was he a white male, black male? ·
      Malone           He was a black male. I think it was Officer Skaggs. But I'm not sure.
      Goins             Okay. Okay. And what was his words specifically?
      Malone            "We need backup. A inmate's hangin'."
      Goins             Okay. Um and what'd you do at that time?
      Malone           Well, I. .. at this time, when he came up, me and Officer Ramsey was standin'
                       by the Control Room and I had, uh, my cubby that holds my Accu Check
                       material which it has sharps and needles and so, we suppose to keep them
                       locked up at all times. So, since I was standin' by the Control Room, I put that
                       Accu Check cubby right there in the doorway and I yelled for the Control
                       Officer, which was Officer Bullard, call all the other nurses and get 'em here
                       now. And then I raced to the inmate.
      Goins             Okay. And what was the first thing that you saw once you entered the cell?
      Malone           When I, when I first uh, got to the cell, I could see he was on the floor. I could
                       see that the officers was tryin' to straighten him out and they was sayin' we
                       don't think he's breathin'. And then that's when I stepped over him and I
                       checked his pulse in the three areas. Staring with carotid, then the brachia! and
                       then the ped, pedal.
      Goins             And which, which officers were in there already?
      Malone            Ramsey and Skaggs.
                                                                                                            lj
      Statement: Malone, Nurse Angel I Case #PIU 13-072       October 19, 2013       Page4of9
                                                                                      GB003599
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      Goins             Okay. And were they petforming any type oflife saving first aid?
      Malone            They was ... Ramsey was trying to urn, check to see ifhe did have a pulse and
                        he was asking me. I don't think he has a pulse. Can you check it? And I said
                        sure. You know. And I went to check his three pulses.
      Goins             Okay.
      Malone            The three locations for the pulses.
      Goins             And then when you, you checked those three locations, you didn't have any ...
                        you didn't feel a pulse. That's when you said we need to start CPR? Is that
                        correct?
      Malone            I didn't say it, I just did it.
      Goins             You just did it.
      Malone            Yes. I locked my fingers and I started CPR and I said call 9-1-1.
      Goins             Okay. You also stated that to, to, to your touch, in your opinion, uh, his hands
                        and feet felt cold?
      Malone            Yes.
      Goins             Okay. Is that, uh, medically, is that significant?
      Malone            Medically, that could indicate that the blood was not flowin' for a good
t                       minute.
      Goins             Okay. When you say a minute, that's specifically 60 seconds or just a short
                        period of time?
      Malone            Short period of time. But it meant that his pulse, his heart rate did not stop
                        right there when I got there. It had already probably stopped.
      Goins             Okay.
      Malone            But uh, before I do the CPR, I need to verify that he's without pulse.
      Goins             Uh-hum.
      Malone            But, once I went to check his pulse, you know, I felt his fingers and when I
                        checked his pedal pulse, his feet, it, they both were cold to touch. So, my
                        nursin' judgment was he was already without a pulse.
      Goins             Okay. You also referenced uh, his 02 was at 83%. Uh, can you medically,
                        could you explain that?
      Malone            The 02 stat for a healthy uh, viables .. .livable person should be no less than
                        90% but they like it to be 95 or better.
      Goins             Uh-hum.
      Malone           If a person's under 90, you're gonna have him on oxygen. You're gonna be


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                                                                                             GB003600
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                        tryin' to do some life savin' measures.
      Goins             Okay. So, even at 83%, which seems like it would be high. It's really very
                        dangerous situation.
      Malone           Yes.
      Goins             Okay. Do you... in your estimation, how long did you perform uh, CPR
                        before EMS got there?                                  ·
      Malone            I didn't per, perform it the whole time. I performed it 5 minutes and then
                        Officer Skaggs took over and he did it for a while.
      Goins             Uh-hum.
      Malone            And uh and then Officer Gibson, um, took over.
      Goins             Okay. And that. .. were, were all three of y'all alternating on the Ambu bag?
      Malone            Yes. I. .. no. Ramsey did the Ambu bag the whole time.
      Goins             Okay.
      Malone            We was alternatin' on the CPR.
      Goins             Uh-hum.
      Malone            The Ambu bag can be tire, tiring. You know. But the CPR, the actual
                        compressions of the chest, it takes a lot of energy and lot of force. Um,
                        sometimes even ribs get cracked, but sometimes that have to happen in order
                        to save the life.
      Goins             So, did you stay in the cell once E uh, once the Fire Department and EMS
                        arrived?
      Malone            Yes.
      Goins             And you just observed ... Did you continue to help or you just (Inaudible)
                        observed them?
      Malone            I continued to speak on my nursin' judgment. When they put the AED on him
                        to check to see if shock was indicated, I asked them please, please stay clear of
                        the patient when, when you're tryin' to see if a shock needs ... so, they won't
                        nobody get shocked.
      Goins             Uh-hum.
      Malone            And uh, again, when they transferred him from the floor to the, um, stretcher,
                        uh, uh, EMS asked another EMS that should we continue CPR. And I spoke
                        up and said yes. You're to continue CPR until a doctor tells you stop.
      Goins             Okay. And you also made a statement about, about the AED, uh, once they
                        attach the leads, I guess the machine indicated no shock needed, necessary.
      Malone            Correct.


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                                                   1114




                Goins             Why: . .ifhe was having uh, uh some type of cardiac incident, why would that
                                  say no shock?
                Malone            This machine is not supposed to shock when there's no heartbeat. It's only to
                                  shock ifthere is a heartbeat but it's sporadic or irregular and then it shocks it to
                                  get it, to a normal beat.
                Goins             Okay.
                Malone            But if there's no heartbeat, this machine will not shock. It'll say continue
                                  CPR. Shock is not indicated.
                Goins             Okay.
                Malone            You have to have a heartbeat for this machine to shock you.
                Goins             Okay. All right. And this AED machine, was that yours or was that
                                  something Corr, uh EMS brought?
                Malone            That was somethin' that EMS had brought.
                Goins             Okay. But you all do have AED machines in the, in the jail here. Is that
                                  correct?
                Malone            Yeah.
                Goins             Okay. Uh, the epi, the epi shot that he was, that he received, that wasn't
t                                 successful? In bring, in bringin' up some type of a pulse?
                Malone            No. No. Um, sometimes it is. Sometimes it's successful like if they maybe
                                  have a heartbeat but it's low. Like if at one point when I was doin' the CPR
                                  and we put the Pulse-Ox Machine on his finger, it's gonna tell how, how much
                                  oxygen in his blood and it's gonna tell his heart rate. Well, it showed 10
                                  which is not compatible with life. You still have to do CPR. 'Cause IO is ifhe
                                  don't have a heartbeat. So, maybe if we had the epinephrine at that time and
                                  give it to him, yes. Maybe it could bring that heart rate up 'cause he had one.
                                  But when you don't have one and you're givin' the medicine that's supposed
                                  to bring it up, it may not be effective.
                Goins             Right.
                Malone            He didn't have a heart rate.
                Goins             Right. Okay. And did you follow... uh, once, once EMS had him on the
                                  gurney, um, did you follow them all the way down to the Sally Port?
                Malone            Yes I did. I followed 'em until they got him in the ambulance and until they
                                  left. I wanted to make sure that they continued CPR.
                Goins             Okay. And they, and they did do that. Is that correct?
                Malone            They did.
((              Goins             Okay. Have, have you any previous uh, incidents with this uh, with inmate
 "-~-   - ,




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                                                                                                        GB003602
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                       Hindi? Any disciplinary, anything that you thought was odd or unusual?               (~--:;

      Malone           I hadn't. I hadn't had any incidents with him.
      Goins             Okay. Had you have any conversations with him before?
      Malone           I mainly work the, uh, Mental Health Floor. Um, the Mental Health Floor is,
                       uh, around the nurses station and on second shift I work a cart. Mental Health
                       Cart and I work as the Supervisor. So they kinda keep me to the floor by the
                       nurses station so that if a, if anything happens, I can respond fast. I was there
                       to do Accu Checks. I do go to do the Accu Checks over there. But as far as,
                       passin' out meds and stuff, there's nurses that's assigned to that floor with
                       them, them inmates over there. So, I haven't had the chance to really talk to
                       him.
      Goins            Uh-hum.
      Malone           Uh, I'm not sure if the other nurse who usually works that floor had. She
                       possibly could've.
      Goins             Okay. Um, in hindsight, lookin' back on everything, uh, specifically as a
                        supervisor, uh, if you had to do it all over again, was there anything you would
                        do differently?
      Malone           No. I would do everything I could to save his life like I did today. And uh, I
                       would expect the sanie from the officers who was workin' with me today.
      Goins             Is there anything else you wanna state for the record before we end this
                        interview?
      Malone            I, I wondered a while afterwards how it is that I put up 6 fingers and ended up
                        on 5, you know. And I just said maybe that's where I supposed to be at that
                        time.
      Goins            Uh, is there anything else you think I should know? Something that might
                       help this investigation? Maybe a question I didn't ask you? Or somethin' that
                       you think is important?
      Malone            You know, he was a mental health patient. Uh, he wasn't on levels uh, from
                        what I'm told, he had never made any, you know, threats. Um, I guess if he
                        would've, he would've been down on the Mental Health Floor which is where
                        I work, you know. But, I don't think that doin' anything different would've
                        still saved him. You know? I think that we done everything we could. Um,
                        Medical and Corrections alike. Um, I was the only nurse over there for a
                        period of time. Uh, it wasn't a extended period of time. But, um, you know,
                        they had to locate all the other nurses on their floors and call 'em over and I
                        felt like, you know, I felt like Corrections was just as good as Medical. I kinda
                        felt like they had my back, sort to say. And uh, that's the type of team I want
                        workin' when somethin' like that happens.
      Goins             Okay.    Uh, is everything you've told me the truth, to the best of your


      Statement: Malone, Nurse Angel I Case #PIU 13-072        October 19, 2013       Page 8 of9

                                                                                      GB003603
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                        knowledge?
      Malone            Yes.
      Goins·            Okay. (Inaudible) we'll end this interview. Time is 22:31 hours.
      END OF
      STATEMENT
      PID
      File #13-072/pm




(




      Statement: Malone, Nurse Angel I Case #PID 13-072      October 19, 2013      Page 9 of9

                                                                                           GB003604
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                                    LOUISVILLE METRO POLICE DEPARTMENT
                                            PUBLIC INTEGRITY UNIT
                                             OFFICIAL STATEMENT
(                                        CASE NUMBER: \ S- {) '7 d
     Today's date is ('.)      J-   ...10   +;
                                           Z a l3           The time is IS-;t ~                               hours.

     Thisisaninterviewwith           \40.rc~ "Dor-\.e...r J1C'           (RIS)
     This interview is being conducted at:
     ~ Public Integrity Unit, 8 I 0 Barret Avenue, Louisville, KY 40204
     0        Other Location:
     Present during this interview is;



           (Title)                                                       (Name)                      .
             QI      ~~you   aware this interview is being audio and/OE i1h: recorded?
             Q2         anyone threatened you in order to obtain this interview?
             Q3 g ~ you giving this interview of your own free will?                     .
             Q4 ~)ease, state your fuil n~e, an~ spell y~ur last name. What is your date of birth?
             Q5      G'SJPte
                         your home address mcludmg the zip code.                       -
             Q6 ~s_this the same as your mailing address? (If no) Mailmg ad es ?
             Q7 ~te your home telephone number'with the area code.
(            Q8 ~te your mobile and an alternate phone number with are            es.
             Q9 G'"',ye you employed?
             Q 10 ~te your employer and the position you hold there. LN g,-t 5 (:::>I If Z... ~          !f
             QI I        is your work telephone n u m b e r ? - - -
             QI2   Are you aware the following interview~tement?


    PLEASE RAISE YOUR RIGHT HAND

    Do you,    11 o..rr Do
                       ~       'l..  \er         ,solemnly swear or affinn to tell the truth, the whole truth, and
    nothing but the tru , so help you God?


                                                                                                         IS.JI
                                                                                                               Time

    ----·-.----------------
                            Witness signature
                                                                             -   Date                          Time
    Subscribed illld sworn to me by           __,_/ft
                                               __a_F:_,,,.----1'/'----D
                                                                   __o_e-_te_·_r-__________
    This      _2_0 fh           day of OG f obu       , 2013             Notary Public, State at Large, KY
                                                                         My Comm1ss1on Expires Nov. 26, 2016
                                                                                 Notary ID# 478903
                     ~ NOtaiy Public, State at Large                                    My Commission Expires




                                                                                                          GB003605
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                                     1118
          ENDING THE STATEMENT

          Are there any questions we have n9t asked you or any other infonnation you have that
          may be beneficial to this case? jt/

          Is there anything you want to state for the record before we end?

          Is everything you told me the truth to the best of your knowledge?

          We will now conclude the statement. The time is: (    ~ l/B ti__,-5




                                       I I




                                                                                     GB003606
              Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 127 of 625 PageID #:
                                                   1119




(<
                                                    October 20, 2013


                Baker          This is Sergeant Mindy Baker of the Louisville Metro Police Department's
                               Public Integrity Unit. This is a official statement. Case number is 13-072.
                               Today's date is October 201h, 2013 and the time is 15:28 hours. This is an
                               interview with Harry...
                Dozier         Dozier.
                Baker          ... Dozier. This interview is being conducted at the Public Integrity Unit. 810
                               Barret Avenue, Louisville, Kentucky 40204. Present during this interview is
                               myself and Harry...
                Dozier         Dozier.
                Baker           . . .Dozier. Are you aware this interview is being audio recorded?
                Dozier         Yes.
                Baker          Has anyone threatened you in order to obtain this interview?
                Dozier         No.
(               Baker          Are you giving this interview of your own free will?
                Dozier         Yes.
                Baker          Please state your full name~ and spell your last name.
                Dozier         Harry H. Dozier III. Last name is D-0-Z-I-E-R.
                Baker          What is your date of birth?
                Dozier
                Baker          State a home address including the ZIP code.
                Dozier
                Baker          Is this the same as your mailing address?
                Dozier         Yes.
                Baker          State your home telephone number with the area code.
                Dozier         I don't have a home. Just a cell.
                Baker          Okay. What is your cell number?
                Dozier         Cell phone is area cod~
                Baker          Are you employed?
(. (
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                                                                                                            ~.
      Dozier           Yes.                                                                                 I
      Baker            State your employer and the position you hold there.
      Dozier           Employer's Louisville Metro EMS and I am a Division 2 Paramedic.
      Baker            Do you know your work phone number?
      Dozier           Uh, I can give ya, just like our supervisor's number.
      Baker            That's good.
      Dozier           Uh, 574-4261.
      Baker            Are you aware the following interview will be a sworn statement?
      Dozier           Yes.
      Baker            Please raise your right hand. Do you, Harry...
      Dozier           Dozier.
      Baker            ...Dozier, solemnly swear or affirm to tell the truth, the whole truth and
                       nothing but the truth, so help you God?
         '
      Dozier           I do.
      Baker            All right. Just sign right there. Sign and date and time. All right. Yesterday
                       on October 19th you were dispatched to a run at Corrections. Just tell me, uh,
                       your role and what happened.
      Dozier           Okay. We were dispatched to Corrections on a cardiac arrest, uh associated
                       with a hanging. We had just cleared Kosair Hospital when we were
                       dispatched. Um, not sure of the exact in-route time. But, I know it wasn't all
                       that long. It was just, uh, I think it was only half a mile distance to the run
                       there. Um, escorted up by a police officer. Arrived on scene to a 56, I believe,
                       year-old male. Was still partially in the ~g ~e. A CPR was being
                       performed between, uh, Louisville F i n - - d Metro Corrections
                       staff. Um, initially, when we got there, patient had been on the Fire



     -                 Departments AED. They advised there was no shock advised. He was placed
                        - 11 J I1 H I I JI I J IfIll 111 Ii FI] I :;           u•im   and remained so
                       throughout the entire, uh. run. Best I can tell while we were <loin' it, they, uh,
                       said that they had found the patient at approximately, uh. . . I spoke with a
                       Corrections Officer that told me he was the one who found the patient and said
                       he had found him at 15:50. Uh, was when they found him. Nobody knew how
                       long he'd been down. I asked a couple of times just to get an idea of the down
                       time on the patient during the cardiac arrest and I never really got an answer of
                       that. Just when, when they found him was at 15:50. Um, patient did have
                       obviously ligature marks around the neck that I could see. It was cyanotic
                       from the clavicle                 ·ously, you know, with the cardiac arrest, he
                       was unconscious, unresponsive. Pulseless, not breathing. So, CPR is being
                       performed. Ventilations were being done. Uh, my role was the paramedic on


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                          scene. So, went through of all our ACLS protocol and guidelines. Uh, an I.0.,
                          Inner Osseous needle was started to administer medications. Um, went
                          through all that. Gave her medications. Got him on the backboard. Put him
                          on the stretcher. At that point, we went ahead and intubated him once we had
                          a little bit more room and got him actually outa the cell. I didn't see ... just a
                          quick overview. Didn't really see a whole lot of trauma other than to his chest.
                          He did have abnormal deformity to his chest but most likely it was because of
                          CPR prior to when we got there. Looked like that when I got there. Um,
                          could've been just from, from CPR being done or it could just be how his chest
                          look. But I didn't see any like bruising type trauma. It was just the~ the shape
                          of his chest was abnormal from what I normally see. Um, got him intubated.
                          Ventilations continued and uh, I mean, we just followed our, like I said, our
                          ACLS (Inaudible) protocol guidelines with him. Uh, he remained on our
                          monitor. Like I said, we never, he was never shocked. We never got a pulse
                          back. Never had a rhythm that would've indicated he had a pulse back. Um,
                          supervisor was on scene as a, a second paramedic on scene with me and uh,
                          took him downstairs to the ambulance and ended up transporting him. It was
                          myself, uh, Paramedic, our Paramedic Supervisor and I believe 2 Metro
                          Corrections staff in the back of the ambulance with us. Uh and we transported
                          him Code 3. Our lights and sirens to University Hospital.
         Baker            Okay. Just a few things.
         Dozier           Uh-huh.
         Baker            You said that Fire had him hooked up to a AED?
         Dozier           Correct.
         Baker            And it said no shock advised?
         Dozier           Correct.
         Baker            ..~y. i1ql~.at,ll{Iat
                             -   :   ,)   -. it says 'no shock advised'?
         Dozier           'Cause he, he ... the, their AED isn't...they're not trained to interpret a
                          rhythm. So the machine essentially interprets the rhythm for them and an
                          a:systolic rhythm, you can't shock it. There's nothing... there's no electridi!
                          activity in the heart .. .it's, you know, when you see flat line that's essentially
                          what asystolic is. There's no electrical activity. The machine makes that
                          determination for them. So, essentially, they just let me know that he had not
                          been defibrillated prior to our arrival.
         Baker            So, when it says 'no shock advised', that means he's basically, he's ...
         Dozier           He's not. .. yeah. He's, his heart is not in a rhythm that the machine will
                          defibrillate. There's only two rhythms. Ventricular fibrillation and ventricular
                          tachycardia for the mciw·pan· that that machine will, will defibrillate. He
                          wasn't in either, either one of those. So,. his heart was asystolic. He had no
(('-                      electrical activity in his heart whatsoever. So, there's, there's no reason for


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                       that machine to deliver a shock. So, at that point, all you do is continue with      (r--,
                       CPR and ventilations. So, I did ... essentially do the same thing, but instead of
                       the machine analyzing it, I have 'em stop CPR. Look at what the rhythm is on
                       the monitor. What it's showing and I make that determination whether or not
                       the patient's in a rhythm that needs to be shocked or is not in a rhythm to, to be
                       shocked. Which he never was. He was in a asystolly the whole time.
      Baker            With him being in that capacity.
      Dozier           Uh-hum.
      Baker            Does it. .. that usually mean he's been down for a quite a while or he is
                       basically deceased at that point and how... what is that usually... ?
      Dozier           It, it's hard to say. I mean, there, there's really no determination. Some
                       people can go a long time in a particular rhythm before they go asystolly.
                       Some people go straight into asystolly. Just depends on what the, I guess,
                       ideology is behind the cardiac arrest. There, there's really no way to know.
                       Without having a monitor present beforehand. Yes. Usually at that point
                       they're... when somebody's asystolic, that is one our requirements for
                       pronouncing somebody dead on top of all the other ones per, uh, the, the
                       determine that, that death protocol. But, there... to, to me, there's no way to
                       know how long he had been in that rhythm or how long he was in another
                       rhythm prior to it. There's just. .. All I know is what he was in when I got
                       there and what he was in throughout the, the time of the run.
      Baker            And he stayed from the point you made contact with him and from apparently,
                       the point that, um, the staff and Fire made contact, he was always in that a...
      Dozier           Asystolly. As far as, with the AED, I, I don't know. He could've been in
                       another rhythm but he wasn't in a rhythm that the AED would recognize as a
                       shockable rhythm. Like I said, the only thing that I know for sure is from
                       when the time I put him on my monitor, he was in asystolly and remained so
                       the entire time he was on our, on our monitor. -
      Baker            Okay. I see. I understand now. So, to clarify, from the point you hooked him
                       up to your monitor, from that point all the way to the hospital and when you
                       were hands off and he was with hospital staff.
      Dozier           Correct.
      Baker            He was asystolly the whole time.
      Dozier           Correct. Yes. Yeah. He never had, uh. . . At, at every pulse check that
                       I. .. where I had CPR stopped so I can analyze the rhythm, he never had a, uh,
                       anything that could've been determined as a, a profusing rhythm or, uh,
                       evidence of goin' towards a profusing rhythm. It was asystolly the entire time.
      Baker            And you said cyanotic from   cla~cle   up.
      Dozier           Correct.


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\               Baker             What, what does that mean?
                Dozier           The uh ... So, like a blue color to the skin and most likely just caused because
                                 of the, the hanging part of it. So, you get that cut off of blood, blood flow. So,
                                 you get the blood trapped in the head. And a lot of it's just because he was in
                                 cardiac arrest. You don't have blood flow unless you're doing CPR. And
                                 even at best it. .. at your best CPR, it's not as good as your heart, you know, is
                                 your, your heart pumping on its own. So. So, essentially, it's uh, just a blue
                                 color. Is what cyanotic means. And it was more pronounced from the, from
                                 the clavicles up from what I could tell.
                Baker            And, and this is a question you might not know the answer to this. But, how
                                 long you ... is a normally will somebody be, uh, hanging before they go out?
                                 Um, is that usually a couple of minutes to hang like that and then they... ?
                Dozier           I don't know that I can say for sure. I mean, I. .. maybe everybody's different.
                                 I mean, at some point, eventually, without blood flow to the head, you're
                                 gonna, you, you know, you're gonna pass out and you know, as soon as, once
                                 you pass out, your respiratory drive will stop or if you, you know, if it's tight
                                 enough and you can't breathe, they're both gonna work against it. You know,
                                 you're cutting the blood flow off to the head and you're not breathing, so,
                                 you're not circulating any oxygenated blood at that point. And it's, you know,
                                 it's a downward progression from there. You're, you're not breathing. You
                                 have no blood flow, so, you start getting the, the brain damage sets in pretty
    (                            quick. And at that point you, your heart goes, your heart stops beating. What
                                 rhythm it goes into, I can't, I. ..there's no way for me to determine that
                                 without being present while it happens, you know.
                Baker            Uh-hum. Did you ever...when you arrived, was he cold, do you remember
                                 was he cold to the touch or...?
                Dozier           He was cool. Um, however, given the circumstance when I found him he was,
                                 it wasn't very warm in there to begin with. So, .he's gonna, you're naturally
                                 gonna be cold 'cause your heart's not circulating. You have no metabolism
                                 that you, your body normally uses to keep you warm and he was layin' on a
                                 concrete. floor.                                                    I

                Baker            Okay.
                Dozier           That's gonna naturally make you cold. So, um, whether it was all of those
                                 combined or ifit was a prolonged down time, you know, that's, that's why I
                                 asked multiple times tryin' to find out if anybody knew at least an approximate
                                 time of how long he'd been down and I, I never really got a, a solid answer out
                                 of it. You know, with given the situation, somebody might've known and they
                                 just couldn't say or couldn't remember. So, the only thing I could go off of
                                 was when they found him which was, you know, like I said, I was told 15:50
                                 and from the time that. .. from that time to the time that we got there and began
                                 everything. So, that's, you know, that's all I have to go off of is the
    (I
    ··'-···                      information that everybody else might have and kinda piece it together. But, I

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                       mean, yeah. He, he absolutely, was cool to the touch. Most people who don't         (''
                       have a heart beat are, you know. You just. ..
      Baker            Uh-hum.
      Dozier           ... it's kinda how it works.
      Baker            Was there anything that looked odd to you or suspicious in any way?
      Dozier           Not that I noticed, I mean, granted the...when I'm goin' through things, I
                       kinda do just a, a quick look. You know, just make sure there's no other
                       obvious trauma. Obviously, I focused most of my assessment on his neck
                       region. Made sure there wasn't any trauma preventing us from ventilating him
                       which would cause even further problems. I, you know, I did see the bruising
                       and the, the ligature marks around his neck. I saw the ...where he had been
                       hanging from the uh, from the back wall. But, other than that. . . and, and his
                       chest. Like I talked about before. And like I said, not having ever seen him
                       before, very well could've been how his chest normally looks.
      Baker            Uh-hum.
      Dozier           But to me I have to point it out because it doesn't look normal to me. Can't
                       say what it was for sure but I just have to, you know. I can only document
                       what I, what I see and to me that's abnormal for ... compared to the, the norm,
                       the average person.
      Baker            You said it's abnormal when somebody ... if, if... say they had found him and
                       it took you all maybe 5 minutes, 10 minutes to get down into that area.
      Dozier           Uh-hum. Uh-hum.
      Baker            If they had been <loin' CPR on him constantly with chest compressions for 10
                       minutes, would that cause some (Inaudible)?
      Dozier           It could. It depends on the quality of CPR. You know, they have set
                       guidelines and you're supposed to compress this far and this fast. Some
                       people get excited and maybe do CPR too fast or too hard and it can cause
                       trauma. You know, really, most the time you're gonna break ribs when you do
                       CPR. It's just kinda the nature of the beast. Because you gotta get that
                       compression to get the blood circulation. Um, it, it very well could be from
                       that. It could be a situation where they didn't have their hands correctly placed
                       during CPR. You know, you get a little too far down and it can cause a little
                       bit more deformity because of... you're essentially using your sternum to
                       compress your heart against your backbone. I mean, that's what you're using
                       to, to profuse. If you're not exactly in the right spot it can cause problems.
                       And it also depends on the patient's physical condition. You know, if you
                       have a younger person that's in good shape and has strong bones, you're gonna
                       have less deformity with prolonged periods of CPR versus somebody who's ,
                       you know, 100 pounds and 90 years old and has osteoporosis and you know,
                       bone degeneration. It doesn't take much to get that deformity to the chest


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                         because their bones just can't handle the trauma of CPR in general. So, you
                         know, that's... there's ... unfortunately there's a lot of factors that go into it.
                         But, I mean, the longer you do CPR, yes. You... the, the more you'll see that
                         you kinda get a, a, an indent there on the chest just from that repetitive
                         compression. Um and then like I said, it has to do with how the CPR is done
                         as well.
      Baker              So, it wouldn't' be odd though to, for the abnormally to come from CPR.
      Dozier             Not, not necessarily. You know, it, it. ..I've seen it before. Just not
                         necessarily, I guess, maybe not as pronounced as this was. You know, it
                         seemed like he did have a, a fairly good concave in his chest. But not having
                         seen what his chest looked like before. Like I said, you can... some
                         peoples ... Not everybody's rib cage is the same. It very well could've been
                         normal for him.
      Baker              Okay. All right. Um, Is there any questions that I haven't asked you or any
                         other information that you think may be beneficial to this case?
      Dozier             I don't think so. Uh, you know, like I said, I saw the ... nobody could tell me
                         how long he'd been down. Uh, given the circumstances. Especially with a, a
                         hanging. Although it could be considered a traumatic, a, a traumatic cardiac
                         arrest because it was a hanging, his may not have been necessarily traumatic
                         just because there wasn't, you know, a long fall associated with the hanging.
(                        Uh, no severe neck trauma was noted other than, you know, the ligature marks
                         where, where the sheet was. But, um, I mean, like I said, I, I really didn't see
                         much else other than, you know, they, they had showed me where he'd been
                         hanging. Nobody... I don't, I think I asked once but I don't know that I ever
                         got an answer as to exactly how he was found hanging. Whether he was, you
                         know, his feet were out or he was on his knees. I don't think I ever really got
                         an answer to that; which at that point, it's somewhat inconsequential, you
                         know. It was what it was. So.
      Baker              Okay. Is there anything that you wanna state for the record before we end?
      Dozier             Nope.
      Baker              Is everything you told me the truth to the best of your knowledge?
      Dozier             To the best of my knowledge.
      Baker              Okay. We will now conclude this statement. The time is 15:48 hours.
      END OF
      STATEMENT
      PIU
      File # 13-072/pm




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                                  LOUISVILLE METRO POLICE DEPARTMENT
                                         PUBLIC INTEGRITY UNIT
                                          OFFICIAL STATEMENT
                                       CASE NUMBER: \    Q'7          3-             J.
         Today'sdateis     Qc.,t. \q+'--,        Z01~                 Thetimeis           ~053_'_           hours.
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      This interview is being conducted at:

      0        Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204

      W'otherLocation:                 (oOO          W. tlJfefSoo S±. GVV\1)C]
     Present during this interview is;

                                                                             I

            (Title)                                                         (Name)

              QI      ·~ou      aware tlris interview is being audio and4ir 1iliee recorded?
              Q2            anyone tllreatened you in order to obtain this interview?
              Q3 ['.(",e.r€you giving tlris interview of your OWII free will?                .
              Q4 G"~ase, state your fuil name, and spell your last name. What is your date of birth?
              QS 13"~e your home address including the zip code.
              Q6 [31}'tfils the same as your mailing address? (If no)                     .    ,
              Q7 ~St ,your home telephone number with the area code.
              Q8          te your mobile. and an alternate phone number with area co es.
              Q9 bf fae you employed? }/'J
              QI 0 O)~te your employer and tlie position you hold tliere.
              QI I    0
                     }Ylfat is your work telephone number?
                      IT
              Q12 Are you aware tlie following interview will be a sworn statement?

 . PLEASE RAISE YOUR RIGHT HAND
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     Do you,    AI CA II'    Me 't  <f             , solemnly swear or affrrm to tell the truth, tlie whole truth, and
     nothing but the truth, so help you God?
                           THE ABOVE OAm THAT I HAVE TAKEN.

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      Subscribed and sworn to me by                                         VV\ E Y E R - - - - -
     This
                 ~               d~y of (Zr,~                          , Zo12>       Notary Public, State et large, KY
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                                          October 19, 2013


      Baker           This is Sergeant Mindy Baker of the Louisville Metro Police Department's
                      Public Integrity Unit. This is a official statement. Case number is 13-072.
                      Today's date is October 19th, 2013 and the time is 20:53 hours. This is an
                      interview with Alan Meyer. This interview is being conducted at 600 West
                      Jefferson Street, Louisville Metro Corrections. Present during this interview is
                      myself, Alan Meyer and Sergeant Kevin Taylor. Alan, are you aware this
                      interview is being audio recorded?
      Meyer          Yes ma'am.
      Baker           Has anyone threatened you in order to obtain this interview?
      Meyer          No ma'am.
      Baker          Are you giving this interview of your own free will?
      Meyer          lam.
      Baker          Please state your full name and spell your last name.                  '
(     Meyer          It's Alan Joseph Meyer. M-E-Y-E-R. Is my last name.
                                                                                     '":
      Baker          What is your date of birth?
      Meyer          It'~
      Baker          State your home address including the ZIP code.
      Meyer


      Baker          Is this the same as your mailing address?
      Meyer          Yes ma'am.
      Baker          Do you have a home telephone number?
      Meyer
      Baker          Do you have a mobil number or alternate number?
      Meyer
      Baker          Are you employed?
      Meyer          Uh, no ma'am.
      Baker          Are you aware that the following interview will be a sworn statement?
      Meyer          Yes ma'am.




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      Baker            Please raise your right hand. Do you, Alan Meyer, solemnly swear or affirm           (''
                       to tell the truth, the whole truth and nothing but the truth, so help you God?
      Meyer            I do.
      Baker            Just have ya sign right there. And then date. 19. It's 20:54. All right. Just
                       tell me... uh, today you were assigned as a Work Aide Monitor. Um, just tell
                       me what happened tonight.
      Meyer             Uh, like she was sayin', I was assigned to be a work aide. Uh, what, what they
                        ca.II is a one-on-one monitor and the wing... I was on the 5111 floor, East Wing.
                        Uh, I think it was Admin. Seg. There's about 11 cells I had to look at. About
                        10 of 'em were full and I was supposed to go look at the medical patients and
                        make sure that they weren't havin' seizures. It was uh, there's about 5 or 6
                        cells. And one of 'em was uh, the one who hung himself. Number 3. And I
                        first initially got there and I checked . I walked pass his room. Made sure
                        nothin' was happenin' and uh, I thought I saw him prayin' so I kept goin'. I'd
                        only been there 10 minutes probably on my shift. Um and as I walked back
                        through 'bout 5 minutes later, I saw, um, him prayin' still but then I saw the
                        noose that was attached to the bars and he was hangin'. His toes were purple.
                        His hands were free. I obviously knew that he was tryin' to hang himself.
                        Tryin' to commit suicide. Uh, so, I went and yelled at, uh, the officer on the,
                        the unit. It was, uh, a white guy. It was Sanders, Officer Sanders and the
                        black guy was, uh, Skaggs, I believe. And uh, I yelled at Skaggs first. Skaggs
                        came and uh, then Sanders came. Followed. And they took him down. So.               (
                        But I just uh, I guess I was the initial one to recognize that. .. because I was
                      . monitoring him.                    .         ...
      Baker            He wasn't actually somebody that you were supposed to be monitoring,
                       though. He wasn't on a watch. It was ...


                       uh, sheet of paper that I was supposed to loo
      Baker            So, are you supposed to look at everybody that's in that. ..
      Meyer            On that's ... walk. Yes.
      Baker            Okay.
      Meyer            Just to make sure that they're not   ha~or                     they're not havin'
                       seizures.
      Baker            When you went by the first time,   yo~t                 he was prayin'.
      Meyer            You know, like I, I had initially got there, they told me what I needed to do
                       and 'bout 10 minutes into it, I walked through. And uh, I thought I saw him
                       prayin'. And then about 5, 10 minutes after that, I walked through and uh,
                       that's when I saw him prayin' again and realized that it was a noose. It was a
                       white uh, blanket that he had tied I guess a couple of times and hung to the
                                                                                                            L
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                         bars and then put around his neck and uh, he was hangin'.
       Baker             Which way was he facing?
       Meyer             He was, he was, uh. . . I was looking at his back. He was facing north,
                         northbound, I guess.
       Baker             Okay.
       Meyer             Lookin' at Jefferson Street.
       Baker             Okay. He was facing away from the actual cell that you were looking at.
       Meyer             Yeah. He was. . . Yes, yes.
       Baker             Were his ...was he actually hanging as far as his feet or knees? Was there any,
                         um... ?
       Meyer             Uh, his toes, his feet were on the ground but he was in this kinda obviously,
                         like deliberately, like tryin' to fall back as far as he could to, I guess, to make
                         sure it's around his neck. But his toes were on the ground and they were
                         pmple when I saw him.
      ·Baker             Where are you normally housed at? Which floor?
       Meyer             Uh, in the new jail. On the uh, 3rd floor.
       Baker             And this is the first day you've ever done the monitoring?
(
       Meyer             In that wing. It's the 3rd day that I've done monitoring.
       Baker             Have:&<>u ~ard or seen him praying before?
       Meyer             No.
       Baker             So why'd you think he,was prayin'?
       Meyer            Just the way that. .. because the way he... his feet were... came out. I mean,
                        I'm Catholic. I've been... I've seen pews and, you know, the way his feet
                        were out and his hands were out and his head was up and it just kinda what it
                        looked like.
       Baker             So, this is the first time you monitored this floor at all?
       Meyer            Yes.
       Baker            Have you ... you've never had conversations with him any other days?
       Meyer            No. No.
       Baker            Did you have any conversation with him? You said you'd been there for 10
                        minutes.
       Meyer            No.

((     Baker            Had you had any... ?
 "
       Statement: Meyer, Alan/Case #PIU 13-072            October 19, 2013             Page3 of7

                                                                                              GB003617
Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 138 of 625 PageID #:
                                     1130




      Meyer            No. Interaction none.      I hadn't even seen him.      I didn't know what. ..
                       anything about him.
      Baker            What time did you start today?
      Meyer            The uh, shift started at a probably be about 3 :30, 3 :40. Maybe 4:00. I, I don't
                       remember.
      Baker            When you got there, when you started...how long was it before you walked
                       down that way?
      Meyer            Well, I initially, walked through. But I didn't look in. And uh, I sat down.
                       Uh, talked to the C.0. and then 10 minutes went by and I was walkin' through
                       there and that's when I thought I saw him prayin'. And then 5 minutes later, I
                       walked back and that's when I realized somethin's wrong.
      Baker            When you initially walked through and you thought he was prayin', you were
                       walkin' towards ... you went pass toward Cell 2?
      Meyer            I, I walked... The initial time I saw him, he was on my right and when I came
                       back, he was on my left. The cell. It was Cell 3, actually.
      Baker            But, you were going... Did you stop at Cell 2? Check on him and then you
                       turned back around to come back or did you walk into the quarters where the
                       guards are?
      Meyer            Yeah. I just was kinda loo kin' at the guards. I looked at 2, I looked at I and · (
                       then kinda just was zoned out lookin' at the guards. Killin' time. And then
                       when I walked back through, there was just like peek, peek and then peek
                       again and then I saw the noose.             .i

      Baker             Okay. How long have you been here uh, at Corrections?
      Meyer            Uh, since the 14th of October. 'Bout 5, 6 days.
      Baker            Did you hear, did any other inmates say anything that they had heard him uh,
                       say anything today or that they thought, you know, he had said anything about
                       plarmin' this or... ?
      Meyer            No ma'am. Uh, I really haven't talked to anybody that knew him or knew of
                       him. The other people in there didn't mention it. You know, they knew
                       anything about him wantin' to harm himself or do (Inaudible). No.
      Baker             Sergeant Taylor?
      Meyer            Yeah. I was just gonna ask, um, when you saw him um ... could you tell if his
                       knees were actually on the ground or not?
      Baker            I, I didn't. .. the first time, I didn't when I looked through the glass, I didn't
                       really . . . It was so quick that I didn't realize that his knees were on the
                       ground.
      Taylor           Uh-hum.                                                                              I
                                                                                                            \__/

      Statement: Meyer, Alan/Case #PIU 13-072           October 19, 2013            Page 4 of7

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(            Meyer             I just passed him. I thought he was prayin'. Uh... it's. only like a 6 inch by
                               3foot glass and you just kinda just peer into it.
             Taylor            Right..
             Meyer             And uh, then the second time around is when he hadn't moved at all. That was
                               kinda weird, so. That's when I felt like I needed to really look in there. And
                               that's when I saw the noose.
             Taylor            I mean, just try to remember how his body was positioned. Did it appear that
                               his hand was up or was it down?
             Meyer             I couldn't remem, I couldn't, I couldn't tell ya.
             Taylor            Okay.
             Meyer             It looked normal like. Like he was sittin' up, I guess.
             Taylor            Okay. When, I guess, when the officers went in and the nurse came in, um,
                               you were... were you inside the cell durin' all that or you probably were out of
                               the way when all that stuff was goin' on?
             Meyer             I was kinda out of the way. I saw Officer Sanders pick him up. I didn't, I
                               didn't go into the, the cell. I stood outside of it and I saw Officer Sanders pick
                               him up and uh, Skaggs pulled the noose off of him, I think.
             Taylor            And that's just by from what you saw or you just heard that?
(
             Meyer             I saw that.
             Taylor            Okay. Uh, (Inaudible).
             Meyer             And there was a 3rd, 3rd uh, officer in there as well.
             Taylor            Was, I mean, was it. ..did that appear to be somethin' like a high degree of
                               difficulty for them to remove the noose from his neck or... ?
             Meyer             Yeah. I think he struggled initially. They had picked him up and uh, they
                               tried to, to pull it off of him. And uh, I guess, messed up so they had to try it
                               again.
             Taylor           And so, durin' all this, I mean, did he appear to be already unconscious?
             Meyer            Oh, he was already out. He was, he was already out. Um, when, when they
                              picked him up he did spin a little bit and I mean, I didn't see... his eyes were
                              closed and he already looked purple.
             Taylor           Uh-hum.
             Meyer            So.
             Taylor           While they were, uh, <loin' all that, can, can you think of anything that you
                              might've heard just in terms of the conversations? I mean, did anyone say that
                              they could detect a pulse or note any breathing or anything like that? I mean,
((,,__ _




             Statement: Meyer, Alan/Case #PIU 13-072            October 19, 2013            Page 5 of7

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                       could you hear any of those conversations?
      Meyer            Uh, they said that he wasn't breathing.
      Taylor           Okay.
      Meyer            Um and that, that was from the nurse. Um and then I guess the Sergeant came
                       in with uh everything you needed to do with, to do ...not only CPR but like
                       the, uh, breathe through the mouth.
      Taylor           Uh-hum.
      Meyer            (Inaudible). A big (Inaudible). And uh, they, they started <loin' CPR They
                       started yellin' his name.
      Taylor           Uh-hum.
      Meyer            It started with a ... It's like Hensley or Hen, Henley.
      Taylor.          It's Hindi.
      Meyer            Hindi?
      Taylor           Uh-hum.
      Meyer            Yeah. Hindi, Hindi.
      Taylor           Okay.
      Meyer            And then right after that they pulled me back out. They, they shut the, the jail
                       down.
      Taylor           Uh-hum.
      Meyer            And they locked me down. So.
      Taylor           Okay. Aside from you ...
      Meyer            (Inaudible).
      Taylor           Aside from you, um and granted I know this is a jail and they're all in
                       individual cells. Is it possible anyone else could've been on that floor or
                       possibly entered his cell? Is that even possible?
      Meyer            I don't think so.
      Taylor           Okay.
      Meyer            Not. .. no. Not unless, uh, an officer opens his door.
      Taylor           Okay. I don't have anything further.
      Ba]\er           Like what he was sayin', you said it was obvious... you thought he wanted to,
                       you know, this was his choice or what was it you said ...
      Meyer            Oh, yeah. I mean. Yeah. This is definitely his choice. That was suicide.
                       That's uh .. .I mean. . . Tryin' to hang himself. There was a noose that he

      Statement: Meyer, Alan/Case #PIU 13-072           October 19, 2013           Page 6 of7

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    ~


(                            made from his bed sheet. Shoo. It's sad.
           Baker             Did it appear to you that the, the officers and nurses did everything they could
                             to try and bring him back?
          Meyer              Oh, yeah. They. . . Just fast as they could when they realized what was goin'
                             on. When I, when I told Officer Skaggs, him and Sanders busted in. Tried to
                             pick him up. Tried to start CPR. The nurse came in by then and it all
                             happened so quick. It was 30 seconds to 2' minutes.
                                                                       '




          Baker              Did you see them <loin' CPR on him?
          Meyer              Yes ..
          Baker              Did that last for quite a while?
          Meyer              Well, I was only there for a specific.. .like probably 30 seconds watchin' 'em
                             do CPR and then I guess they came over the radio that they're shuttin' the Jail
                             down. That I needed to go.
          Baker              So, where did they take you?
          Meyer              Uh, in another wing. On the same floor. And uh, locked me up.
          Baker              But you couldn't hear anything when you went into that other wing?
          Meyer              No, no, no. I couldn't hear anything.
(         Baker              Okay. Sergeant Taylor?
          Taylor             I don't have anything further.
          Baker              Okay. Is there anything we haven't asked you about that, you know, you
                             remember or think would be beneficial to tell us regarding this case?
          Meyer              No ma'am.
          Baker              Okay. Is everything that you've told us the truth to the best of your
                             knowledge?
          Meyer              Yes ma'am.
          Baker              With that we will conclude that, conclude this interview. The time is 21 :09.
          END OF
          STATEMENT
          PIU
          File # 13-072/pm




          Statement: Meyer, Alan/Case #PIU 13-072               October 19, 2013         Page7 of7

                                                                                                GB003621
          Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 142 of 625 PageID #:
                                               1134
                                     LOUISVILLE METRO POLICE DEPARTMENT
                                             PUBLIC INTEGRITY UNIT
                                              OFFICIAL STATEMENT
                                          CASE NUMBER: \ 3 - 0 '1 'J.
       Today'sdateis        OJ-          20_µ...,   Z..013               Thetimeis        150/                hours.
      This is an intervie!~th            ? h i 11 i r No...h rv.                             (RIS)

      This interview is being conducted at:
      ~Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204
      0          Other Location:
      Present during this interview is;



              (Title)                                                          (Name)
                QI      ~you      aware this interview is being audio and/ol'-¥iMo recorded?
                Q2 E y o n e threatened you in order to obtain this interview?
                Q3           you giving this interview of your own free will?       ·        .
                Q4 ~e, state your full name, and spell your last name. What is your date ofb"
                Q5          e your home address including the zip code
                Q6 ~phis the same as. your mailing address? (If no) Mailiiig add
.(

\
                Q7
                Q8
                        Bes
                          tee your home telephone number with the area code.
                           e your mobile and an alternate phone number with area co es.
                                                                                          ?



                Q9 ~~e you employed?
                Ql 0 ~e your employer and the position you h                          S         \--c vi...
                QI 1       at is your work telephone number?
                Ql2   :Are you aware the following interview

     PLEASE RAISE YOUR RIGHT HAND

     Do you,       'P 'h,
                      ' \ \ i ~
                      1
                                         N
                                     c>. ~ m          , solemnly swear or affrrm to tell the truth, the whole truth, and
     nothing but the truth, i( help you God?

     :.Ii. /L---:::::-----·
     I UNDERSTAND THE ABOVE OAIB mAT I HAVE TAKEN.

                                                                               /o-.J.6 ·-IJ
                                   Signature                                          Date                      Time

     ------·-----~-------------

                               Witness signature                                      Date                      Time
     Subs::-ribed and sworn to me by                      J?I\; [(!(?      NO..~ ()\
     1~  .
      .~n1s        Z0 +-1..        day of     Q(.,10 J3.U1- , 20 I :;.              Notary Public, State at Large, KY
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                 ~Vl("e.v,{;{<-
                                            q     L ,,,-
                                            t..::2-~.r
                                                                                    My Comm1ss1on Expires Nov. 26, 2016
                                                                                    Notary 10#478903
                          Notary Public, State at Large                                      My Commission Expires




                                                                                                             GB003622
Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 143 of 625 PageID #:
                                     1135
           ENDING THE STATEMENT

          Are there any questions we have not asked you or any other information you have that
          may be beneficial to this case?

          Is there anything you want to state for the record before we end?

          Is everything you told me the truth to the best of your knowledge?

          We will now conclude the statement. The time is:   />V? A~ ·




                                                                                     GB003623
            Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 144 of 625 PageID #:
                                                 1136                               Page 1 ofl




                                 Subject Information Form
                                  Printed By: Louisville Metro Police Department

                                                  Telephone:          Fax:
                                                  Printed for. User, LMPD




                                             -
                                              HINDI, MAHMOUD Y • (4983S6)


                                              Subject Physical Descriptors

                                                                             Ra_ce:           UNKNOWN
                                              Book Num:        2012029184    Sex:             MALE
                                                                             Height:          600
                                                                             Weight:          195
                                              SIO:                  Hair Color:               MIXED
                                              FBllD:                Eye Color:                GREEN
                                              SSN:           . F a c i a l Hair:              MUSTACHE

                                              DOB:
                                              Age:             56Years
                                              Age at Arrest:55 Years         Birth City:
                                              OL State:                      Birth State:
                                              DL Num:                        Birth Country:




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    "'---



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    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 145 of 625 PageID #:
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    suspension of access.


        JEFFERSON CIRCUIT COURT I CASE NUMBER: 12-CR-002772                                                          Log-Off,:11


    lcoMMONWEALTH vs. HINDI, MAHMOUD YOUSEF                                                                 II        Source: SI
          Filed on
                                            C~IN~; Open Judge: HON. FREDERIC COWAN
    D     09/13/2012
                                  jcmcuIT
                                                                                                                                   I
    lcoMPLAINING WITNESS: BAKER, YOLANDA I LMPO,                                                            II      P-800-24911
    DI Address                ILMPD;,

    JcoMMONWEALTH'S ATTORNEY: CONROY, RYANE,                                                                II         RCCAOI
    DI Address               IJcoMMONWEALTH ATTORNEY OFFICE; ,                                                                     I
    !DEFENDANT I RESPONDENT: HINDI, MAHMOUD YOUSEF                                                          11@400007659001


    o--~
     I
    Dlrd-In£0                     Race: W; Sex: MDOB:
                                  SCH#: 201586141185
                                                                    EyeColor: GN; HairColor: BK; Height: 600; Weight: 195

                                                                                                                 DEFIS
                                                                                                                 REMANDED


    D
                                  Set on: 09/13/2012; Amount: $0 NO BAIL SET (DEF MAY NOT POST
          Bail: I                                                                                                INTO CUSTODY
(                                 BOND)
                                                                                                                 WITHO UT BAIL

    JcHARGE 1 ORIGINAL: MURDER                                                                                                     I
          Charged on
    D     09/13/2012          juoR: 0091500
                                                                                                                                   I
    lcHARGE 2 ORIGINAL: MURDER                                                                                                     I

    D     Charged on
          09/13/2012          luoR: 0091500
                                                                                                                                   I
    lcHARGE 3 ORIGINAL: WANTON ENDANGERMENT-lST DEGREE                                                                             I
          Charged on
    D     09/13/2012
                              juoR: 0132010
                                                                                                                                   I
    JcHARGE 4 ORIGINAL: WANTON ENDANGERMENT-lST DEGREE                                                                             I
          Charged on
          09/13/2012          !uoR: 0132010
    D
    lcHARGE 5 ORIGINAL: WANTON ENDANGERMENT-lST DEGREE
          Charged on
          09/13/2012          !uoR: 0132010
    D
    JcHARGE 6 ORIGINAL: WANTON ENDANGERMENT-lST DEGREE

    D     Charged on
          09/13/2012          juoR: 0132010

    lcHARGE 7 ORIGINAL: WANTON ENDANGERMENT-lST DEGREE
    Ill                      II




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Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 146 of 625 PageID #:
courtNet Inquiry Results - Not An Official Court 1138
                                                 Record                 Page2 of 4




 LJ   Charged on
      09/13/2012     juoR: 0132orn
                                                                                                       I
!CHARGE 8 ORIGINAL: WANTON ENDANGERMENT-I ST DEGREE                                                    I
D     Charged on
      09/13/2012     juoR: 0132orn

!CHARGE 9 ORIGINAL: WANTON ENDANGERMENT-lST DEGREE
                                                                                                       I
                                                                                                       I
D     Charged on
      09/13/2012     juoR: 0132orn

!Document(s) Information
                                                                                                       I
                                                                                                       I
EJ    Filed on
      09/13/2012     !INDICTMENT
                                                                                                   I
EJ    Filed on
      09/13/2012     lcoMMITTMENT                    119/20/12@ 3:30

                                                     I~HE                                          I
~                    I                                CONFIRMATION OF RECEIPT SENT TO IA IL OF
      Filed on
                     CORRESPONDENCE                       MOTION TO REMAND THE DEFT. WITHOUT
      09/13/2012
                                                      BAIL PURSUANT TO RCR 4. 02



~
                     ORDER OF ARRAIGNMENT-
      Filed on                                        PD APPT BAIL MAY NOT BE GIVEN 10 /22/12 @
                     NOT GillLTY PLEA; FIRST
      09/19/2012                                      9:30PTC
                    •CLASS MAIL
                                         .       .
EJ    Filed on
      0912612012     ORDER APPOINTING PUBLIC ADVOCATE



EJ    Filed on       ORDER OF CONTINUANCE;
      10/09/2012     FIRST CLASS MAIL                IPC RIA TO Il-02-12
                                                                                                   I
EJ    Filed on
      10/09/2012
                     IORDER - EXP ARTE; HAND
                      DELIVERY                       llsEALED
                                                                                                   I

EJ    Filed on
      10/12/2012     !DISCOVERY
                                                                                                   I
EJ    Filed on
      10/25/2012     !DISCOVERY

                     ORDER FOR HOSPITAL
                                                                                                   I
EJ    Filed on
      II/05/2012     RECORDS; FIRST CLASS MAIL       loF MARVIN FISHER
                                                                                                   I

B     Filed on
      11/20/2012     !ORDER SCHEDULING               1112/3/12 BH
                                                                                                   I
EJ    Filed on
      12/03/2012     lcoMMITTMENT                    llNBS 1/14/13 @ 8:45
                                                                                                   I
B     Filed on
      12/04/2012    ISUPPLEMENTAL FILING             !!RESPONSE TO ORD FOR DISC
                                                                                                   I
EJ    Filed on
      01/14/2013     lcoMMITTMENT                    113-4-13@ 10:00 NBS
                                                                                                   I
B     Filed on
      01/24/2013    ISUPPLEMENTAL FILING             llRESPONSE TO ORD FOR DISC
                                                                                                   I
B     Filed on
      02/08/2013    !SEALED DOCUMENT                 llEXPARTE
                                                                                                   I
EJ   Filed on
     03/04/2013     lcoMMITTMENT                     114-26-13 AT 8:45AM NO BOND SET
                                                                                                   I
FllFiled on         II RESPONSE                      11 ... TOTHE   COURTS PRETRIAL ORD FORD       I
http://courtnet.kycourts.net/courtnet/ns/CaseAtGlance.asp?county=OS61 &division=CI&c...GB003626
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              LJl0311212013         I                               )IscoVERY AND NOTICE PURSUANT TO 40 4(B)        )
              WFiledon
              LJ 03/28/2013         ISUPPLEMENTAL FILING
                                                                 I
                                                                   RESPONSE TO THE COURTS PRETRIAL OR DER OF
                                                                 . DISC, CD ATTATCHED
              Cl Filed on
              LJ 04/08/2013         ISEALED DOCUMENT             II EXPARTE                                         I
              f:lFiledon                                            6-3-13@ !OAM PTC NBS DEFT REMANDED IN
              LJ  04/26/2013        lcoMMITTMENT
                                                                 1. JAIL WITHOUT BAIL


              a~!~~~~~13
                                                                   THE CW HAS A SUPPLEMENTED DISCOVERY
                                                                   THE CW IS CLOSE TO COMPLETING DISCOVERY
                                    !JUDGE'S MEMO
                                                                 I
                                                                 . NEXT PC IS 6-3-13 @ 10 AM
              Cl Filed on
              LJ 04/30/2013         !DISCOVERY                   JJsUPPLEMENTAL; PP 1102-103                        I
              MFiledon
              LJ 06/03/2013         lcoMMITTMENT                 118-26-13 @8:45 NBS DEFT MAY NOT GIVE BAIL         I




              B=B
              r:lFiledon
              LJ 06/06/2013
                                     ORDER OF CONTINUANCE;
                                     HAND DELIVERY
                                                                I
                                                                  ONL OUTSTANDING DISCOVERY IS RECOR DING
                                                                  FROM CORRECTIONS MEDICAL RE CORDS WILL
                                                                  BE PROVIDED TO DEFT NEXT PC SET FOR 8-26-13
                                                                 _@8:45

                                                                 15-6-14@10AMPC7-11-14@10AMJT                       I
              Q    Filed on
              LJ 08/12/2013         lsEALED DOCUMENT

              0Filedon
              LJ 08/26/2013         jcoMMITTMENT                1110-10-13 @ 8:45 NO BAIL SET DO NOT RELEASE        I
(             D Filed on
              LJ 08/27/2013
                                     ORDER OF CONTINUANCE;
                                     HAND DELIVERY               110-16-13@8:45                                     I
              0Filedon       I                                     CW BELIEVES DISCOVERY IS COMPLETE; NO LAB
              LJ I0/16/2013JUDGE'S MEMO                         .I TESTS REQUIRED 12113113 @ 8:45AM
                                                                   l2/13/13 @8:45AM NO BAIL SET, DEFENDANT
              LJ
              MFiledon
                 10/16/2013
                                    I
                                     ORDER OF COMMITMENT
                                                                I
                                                                . MAY NOT GIVE BAIL, DO NOT RELEASE
              )court Date(s) Information

              Ell ARRAIGNMENT on 09/17/2012
                                                                11::~~: HON. FREDERIC COWAN Time: 1530 hours;
                                                                        3                                           I
              EllPRETRlAL CONFERENCE on 11/02/2012                 J~dge: HON. FREDERIC COWAN     'R/AFR 10_22_12 I
                                                                .I Tlllle: 1000 hours; Rm: 13     .               .
                                                                llJ:~~: HON. FREDERIC COWAN Time: 1530 hours;
              [II MOTION HOUR on 11/13/2012                             3                                           I

                                                                 MOTION - OTHER; Filed By: APA ; Disp: ; Manner .
              DIMotion I filed on: 11/08/2012
                                                                I
                                                                _Type: ******
                                                                llJ:~~: HON. FREDERIC COWAN Time: 1100 hours;
              E!IBOND HEARING on 12/03/2012                            3                                            I

                                                                11::~~: HON. FREDERIC COWAN Time: 0845 hours;
              EJIPRETRlAL CONFERENCE on 01/14/2013
                                                                       3                                            I



i(
              EJIPRETRlAL CONFERENCE on 03/04/2013
                                                                IJudge: HON. FREDERIC COWAN Time: 0900 hours;
                                                                _Rm: 13
                                                                11::~~: HON. FREDERIC COWAN Time: 0845 hours;
     '- - -
              EJIPRETRlAL CONFERENCE on 04/26/2013
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              http://courtnet.kycourts.net/courtnet/ns/CaseAtGlance.asp?county=0561&division=CI&c...GB003627
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                                                             11~~~: HON. FREDERIC COWAN Time: 1000 hours;
     EJIPRETRIAL CONFERENCE on 06/03/2013
                                                                    3                                                      I
                                                             11~~~~HON. FREDERIC COWAN Time: 0845 hours;
     EJIPRETRIAL CONFERENCE on 0812612013

                                                             IJudge: HON. FREDERIC COWAN Time: 0845 hours;
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    EllPRETRIAL CONFERENCE on 10/16/2013
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    BIPRETRIAL CONFERENCE on 10/16/2013
                                                             IJudge: HON. FREDERIC COWAN Time: 0845 hours;
                                                              Rm: 13

    BIPRETRIAL CONFERENCE on 12/13/2013
                                                             IJudge: HON. FREDERIC COWAN Time: 0845 hours;
                                                              Rm: 13

                                                             11~~~: HON. FREDERIC COWAN Time: 1000 hours;
    BIPRETRIAL CONFERENCE on 05/06/2014
                                                                   3                                                      I
                                                             11~~~: HON. FREDERIC COWAN Time: 1000 hours;
    EJIJURY TRIAL on 07/11/2014                                    3                                                      I
                                                             County information last updated on: 10/18/2013 5: 15:00 AM

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                      Mam Search [ Calendar f Charge Disposition [ Citation Search f Future Dates
                                User Account I Contact Us f Report A Problem

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                                                                                               I 0/20/2013
       Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 149 of 625 PageID #:
                                            1141

    Inmate Nbr
      00577966

    Name
      HINDI, MAHMOUD Y




(




    25207 Eggers                        10/19/2013 17:58                             Page: 1
                                                                            GB003629
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                       LOUISVILLE METROPOLITAN DEPARTMENT OF CORRECTIONS
                                                                             Booking Report
(     nmate#                    Inmate Name                          Sex                     Race
     00577966                   HINDI, MAHMOUD Y                     MALE                    White/Eurp/ N Afr/Mid Eas
     Booking Number             Date/Time                            Hair Color              Eye Color
     2012029784                 09/07/2012 02:36                     Black                   Green

     Drivers License#
     IN

                                              -DOB



          Address: INVALID CONVERSION ADDRESS RD
                   JO
                                                                     Ethnicity:



                                                                Phone:                          FBI#:
                                                                                                           Height
                                                                                                           6'00"




                                                                                                SID#: A0761434
                                                                                                                     Weight
                                                                                                                     195




           Resident:                                              Scars, Marks, Tattoos
                                                              Type                  Location               Description
             County:

          Birth State:JO

      Citizenship: United States of America


                                                                        Additional Information
                Classification: MXIAB                                   Occupation:

              Cell Assignment: H5-N1/003                                     Employer:

             Sentence Starus:                                  Emergency Contact:



(                                                                             Arrest Information
              Committed By:                                                          Arresting Officer: BAKER

           Arrest Date/Tlme:09/06/2012 07:09                                             Booking Officer: Brown, Johnathan

           Arresting Agency:LOUISVILLE METRO POLICE                                            Location: 4601 SPRINGDALE RD LOUISVILLE

                 Arrest Note: SUBJ SHOT TWO VIC AT ABV LOC CAUSING THE DEATH OF ONE VIC
                              AND CRITICALLY INFJURING THE OTHER. SEVEN ADDITIONAL
                              PEOPLE WERE WITHIN FEET OF SUBJ AS HE FIRED TWO SHOTS



                                                                                    Charges
      Reference#                Statute            Category            ChargeDtTm            DisposillonDtTm        Document      Court     Bond Type
      Case Nbr                  Description                            Court DtTm            Disposition            Bond/Sentence           Bond Amount
      02801207                  507.020            NON-CRIMINAL                              09/14/2012 05:09 Not Applicable
      12F010120                 MURDER                                                       COURT ORDER
      02801208                  508.060    NON-CRIMINAL                                      09/14/2012 05:09       Not Applicable
      12F010120                 WANTON ENDANGERMENT 1ST                                      COURT ORDER
                                DEGREE
      02801209                  508.060    NON-CRIMINAL                                      09/14/2012 05:09 Not Applicable
      12F010120                 WANTON ENDANGERMENT 1ST                                      COURT ORDER
                                DEGREE
      02801210                  189.390     NON-CRIMINAL                                     09109/2012 01:09 Not Applicable
      *OOT09993 LAUREL          SPEEDING 7MPH OVER (LIMTED                                   RIP CREDIT
                                ACCESS)                                                      TIME SERVED
      02801211                  507.020            NON-CRIMINAL                                                     Not Applicable   CR13
      12CR2772                  MURDER                                 12113/2013




'I
      .)2801212                 507.020            NON-CRIMINAL                                                     Not Applicable   CR13
      12CR2772                  MURDER                                 12/13/2013
      02801213                  508.060            NON-CRIMINAL                                                     Not Applicable   CR13


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      12CR2n2                 WANTON ENDANGERMENT 1ST     12113/2013
                              DEGREE
      02801214                508.060      NON-CRIMINAL                                             Not Applicable     CR13
      12CR2n2                 WANTON ENDANGERMENT 1ST     1211312013
                              DEGREE
      02801215                508.060      NON-CRIMINAL                                             Not Applicable     CR13
(     12CR2n2                 WANTONENDANGERMENT1ST       1211312013
                              DEGREE
      02801216                508.080      NON-CRIMINAL                                             Not Applicable 203             CASH
      13F000021               TERRORISTIC THREATENING,    12/06/2013                                Bond: $10000.00                $ 10,000.00
                              3RDDEGREE
      02801217                508.01       NON-CRIMINAL                           09114/2012 05:09 Not Applicable
      12F010120               ASSAULT 1ST DEGREE                                  COURT ORDER
      02801218                508.060 '1   NON-CRIMINAL                           09/14/2012 05:09 Not Applicable
      12F010120               WANTONENDANGERMENT1ST                               COURT ORDER
                              DEGREE
      02801219                508.060      NON-CRIMINAL                           0911412012 05:09 Not Applicable
      12F010120               WANTONENDANGERMENT1ST                               COURT ORDER
                              DEGREE
      02801220                508.060      NON-CRIMINAL                           0911412012 05:09 Not Applicable
      12F010120               WANTONENDANGERMENT1ST                               COURT ORDER
                              DEGREE
      02801221                508.060      NON-CRIMINAL                           09/1412012 05:09 Not Applicable
      12F010120               WANTON ENDANGERMENT 1ST                             COURT ORDER
                              DEGREE
      02801222                508.060      NON-CRIMINAL                           09/14/2012 05:09 Not Applicable
      12F010120               WANTONENDANGERMENT1ST                               COURT ORDER
                              DEGREE
      02801223                02900        NON-CRIMINAL                           09/07/2012 06:09 Not Applicable
      *OOT09993 LAUREL        SERVING WARRANT FOR OTHER                           WARRANT
                              POLICE AGENCY                                       SERVED
      02801224                508.060      NON-CRIMINAL                                            Not Applicable     CR13
      12CR2n2                 WANTON ENDANGERMENT 1ST     12/13/2013
                              DEGREE
(     02801225                508.060      NON-CRIMINAL                                             Not Applicable    CR13
      12CR2n2                 WANTONENDANGERMENT1ST       1211312013
                              DEGREE
      02801226                508.060      NON-CRIMINAL                                             Not Applicable    CR13
      12CR2n2                 WANTON ENDANGERMENT 1ST     12113/2013
                              DEGREE
      02801227                508.060      NON-CRIMINAL                                             Not Applicable    CR13
      12CR2772                WANTON ENDANGERMENT 1ST     12/13/2013
                              DEGREE
      02801228                13123        FELONY                                 01/14/2013 12:01 Not Applicable
      13F000021               ASSAULT 3RD DEGREE (OFFICER                         DISMISSED
                              TRANSPORTING INMATES)

                                                                                                             Active Bond Tota1:$10000.00
                                                                                                                    Bonds Total: $10000.00


                                                                  Arrest Information
          Commitled By:                                                  Arresting Officer: NICHOLSON

       Arrest Date/Time:09/07/2012 04:09                                     Booking Officer: Brown, Johnathan

       Arresting Agency;LOUISVILLE METRO CORRECTIONS                               Location: 400 s 6TH ST LOUISVILLE
                        DEPT
             Arrest Note:                         NC

                                               HOLD LAUREL
                                                              -                  -
                            co
                            SUBJ HELD ON LAUREL CO WARRANT FOR COURT
ll                                                                            arges
      Reference#              Statute       Cateqoiy          Charge DtTm         DisoositionDtTm   Document          Court        Bond Type


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             Case Nbr             Description     Inmate Signature       CounDtTm           Disposition Date   Bond/Sentence                  Bond Amount


                                                Officer Signature                                     Date             Active Bond Total: $0.00

                                                                                                                              Bonds Total: $0.00


                                                                             Arrest Information
                · Committed By:                                                        Arresting Officer: HORNBECK

              Arrest Date/Time:01/01/2013 07:01                                        Booking Officer: Brown, Johnathan

              Arresting Agency:LOUISVILLE METRO CORRECTIONS                                  Location: NJC - 3RD FLOOR DB LOUISVILLE
                               DEPT
                   ArrestNote:"'*****U*h*'"""'*" * • '"*ADDED CHARGes-·-·- - - - · - -
                                WHILE IN CUSTODY AT THE LOUISVILLE METRO DEPT. OF
                                CORRECTIONS, HOUSED ON THE THIRD FLOOR IN DORM #8.
                                INMATE HINDI. MAHMOUD WAS RECEIVING HIS DAILY MEDICATION
                                FROM THE FLOOR NURSE. AS HE STEPPED OUT INTO THE
                                VESTIBULE. HE BECAME VERBALLY DISRUPTIVE TOWARDS
                                OFFICERS. HE THREATENED TO KILL I OFFICER HORNBECK AS HE
                                WAS BEING ESCORTED OFF THE FLOOR AND THREW WATER FROM
                                HIS CUP ON MY UNIFORM, ARM AND FACE AS HE WAS BEING
                                ESCORTED TO A HOLDING CELL WHEN TALKING TO MENTAL
                                HEALTH, HE MADE FOUR REFERENCES TO MY LIFE. I AM IN FEAR
                                FOR MY LIFE AND PERSONAL SAFETY DUE TO THE CURRENT
                                CHARGES THAT HAVE HIM HOUSED IN THE FACILITY AND HIS
                                MENTAL ABILITY TO CARRY OUT HIS THREATS TOWARDS ME.

                                                                                    Charges
          Reference#              Statute          Category             ChargeDtTm          DlsposltlonDtTm    Document      Court            Bond Type
          CaseNbr                 Description                           Court DtTm          Disposition        Bond/Sentence                  Bond Amount




(                                                                                                                     Active Bond Total: $0.00

                                                                                                                              Bonds Total: $0.00



                                                                                       Holds
         ORI                 Agency Name                              Bond Amount                 Slatus        Bond Denied     Warrant Nbr
                             Slatute                                  Description




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                                                 CHRONOLOGICAL REPORT

      Name: Mahmoud, Hindi                         DOB. . . .                                            CIN# 577966

            DATE          TIME
           9/7/12         2:36a       Patient booked into Louisville Metro Department of Corrections.
                          3:20a       Patient completed medical intake. Blood Pressure-140/80, Pulse- 96, Respiration-17,
                                      Temperature- 97.2. Reports a history of depression and was taking Prozac 40 mg
                                      samples from his office. Patient denied ever being hospitalized for any psychological
                                      reason, never had a suicide attempt, and denied current suicide ideation. He also
                                      reported a lower back surgery 3 months prior to arrest. Patient referred to mental
                                      health due to the nature of his charges and his report of depression.
                          1:15p       Patient seen by mental health. Mental health evaluation, treatment plan, and discharge
                                      completed. Patient reports a history of depression with last treatment in 2007. Stated
                                     that he was treating him with samples of Prozac from his work. Patient referred to
                                     doctor for continued evaluation.
                         1" shift     Patient seen by Psychiatrist. Patient was alert and orientated .: 3, mood and affect
                                     were normal however inappropriate for situation, denies suicide ideation or
                                     hallucinations. Patient was given the diagnosis of Depression and started on Prozac
                                     40mg daily. Patient signed the Psychotropic Medication Consent Form. Return to see
                                     me in 1 month.
           9/17/12       1st shift   Patient seen by Psychiatrist. Patient was alert and orientated x's 3, mood was euthymic,
                                     affect was normal, insight and judgment fair, denies having hallucinations or suicide
                                     ideation. Patient diagnosis was depression, no change in medication.
           9/18/12        8:30a      Patient seen by mental health professional. Patient adjusted well to mental health
       ,                             dorm. Medication compliance reported, no issues reported. Patient encouraged
(                    .
                                     continuing compliance .
           9/19/12       12:00p      Patient 14 day History and Physical and mental health evaluation completed. Blood
                                     Pressure-122/90, Pulse- 64, Respiration- 16, Temperature- 98.4. Patient reported a
                                     history of 2 back surgeries in 1994 and 2012. Patient reported a history of depression
                                     and referral made. Patient denied any major problems and education was provided for
                                     medication and dental.
           9/26/12       12:30p      Patient seen by mental health. Patient doing well in mental health dorm. Presented as
                                     stable. Patient encouraged continuing compliance.
       10/4/12            l:OOp      Patient seen by mental health. Presented as stable. No issues reported.
        10/9/12          ll:OOa      Patient seen by mental health. Patient doing well, stable.
       10/17/12           9:30a      Patient seen by mental health. Presented as stable. No issues reported.
       10/17/12          1" shift    Patient seen by psychiatrist. Patient was alert and orientated x's 3, mood was euthymic,
                                     affect was normal, insight and judgment fair, denies having hallucinations or suicide
                                     ideation. Patient diagnosis was depression with psychotic, no change in medication.
       10/22/12          1" shift    Patient refused medication- Prozac and ibuprofen
       10/25/12          ll:OOa      Patient seen by mental health. Patient doing well, stable. Continue medication
                                     management.
       11/15/12          lO:OOp      Health Service Request- cutaneous allergies
       11/17/12           1:30p      Patient compliant was that he was having a rash caused by his underwear. Nurse noted
                                     no rash. Patient reported that he wanted Hanes from Wal-Mart. Patient became upset
                                     and ended assessment.
       12/10/12          1'' shift   Patient seen by Psychiatrist. Patient seen doctor reported side effects to medication of
                                     forgetfulness. Patients mental status was alert and orientated J(s 3, mood was
                                     euthymic, affect was normal, insight and judgment fair, denies having hallucinations or
                                     suicide ideation. Patient diagnosis was depression, no change in medication.




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       12/31/12   1" shift     Patient seen by Psychiatrist. Patient seen doctor reported side effects to medication of
                               rage and irritability. Patients mental status was alert and orientated x's 3, mood was
                               euthymic, affect was normal, in.sight and judgment fair, .denJ.es having hallucinations or
                              suicide ideation. Patient diagnosis was depression,' no chaiige in medication.
                               Compliance rate of 93 %.
       12/18/12   12:15p       Patient seen by mental health. Patient expressed concerns about others in the dorm.
                               Patient may be getting to comfortable in dorm. He refers to others in derogatory terms.
                               Mental health professional encouraged medication compliance and will continue to
                               monitor behavior changes.
        1/1/13     1:30p       Doctor and nurse pulled patient and spoke with him about altercation that happened
                               on the floor. Patient reported that he had problems with the officers and stated that he
                               would kill the officer. Medical called command staff to notify them of statements.
                  1" shift    Patient seen by Psychiatrist. .Patient presented with pressured speak and focused
                              anger. His mental status was alert and orientated x's 3, he was agitated and fidgety
                              with rapid pressured speech, his mood was angry, with poor judgment and Insight.
                              Patient diagnosis was mood disorder with homicidal ideation. Patient refused Trilafon.
        1/2/13    1'' shift   Patient seen by the Psychiatrist. His he reported homicidal ideation toward a particular
                              officer. The Psychiatrist made a change in his medications at this time.
        1/3/13    1'' shift   Patient seen by Psychiatrist. He continues to verbalize anger toward staff. He denies
                              any homicidal or suicidal ideation at this time.
        1/3/13    10:15a      Patient seen by MHP. He continues to talk about incident with particular officer. His
                              mental status was stable at the time. MHP provided reflective listening and had patient
                              transferred into a dorm on the MH Unit.
       1/10/13     1:30p      Patient seen by MHP. He was stable at the time and remained in a MH dorm.
       1/16/13    1" shift    Patient seen by the Psychiatrist. Patient stable at the time. He complains of side
                              effects of his mecjications. Changes were made in his medications. AIMS testing were
(      1/24/13    1" shift
                              also completed.
                              Patient seen by Psychiatrist. Patient stable at the time. He reports an improvement in
                              his mood. He also request to move to another MH dorm.
        2/1/13    1" shift    Patient seen by the Psychiatrist. Patient stable at the time. He complains of side
                              effects of medications and cell being cold. Changes were made in his medications.
        2/5/13    4:00p       Patient seen by MHP. He was stable and housed in a MH dorm at the time. He voiced
                              no complaints.
        2/7/13     2:20p      Patient seen by MHP. He was stable at the time. He voiced no complaints.
        2/7/13    l" shift    Patient seen by Psychiatrist. He was stable at the time. He continued to talk about
                              issue with officer. It was discussed with him that he would be moved to GP.
        2/9/13    12:30p      Patient placed on Suicide Precautions after voicing thoughts of self-harm. He also
                              complains offeeling confused and paranoid.
       2/10/13    2:15p       Patient seen by MHP. He now denies suicidal ideation and voices concerns of being on
                              Suicide Precautions. MHP discussed coping skills and reasons he was placed on levels
                              with patient. He also discussed patient's medications with the Psychiatrist.
       2/11/13    12:00p      Patient seen by MHP. He is stable at the time.
       2/12/13    ll:OOa      Patient seen by MHP. He is stable at the time.
       2/12/13    1" shift    Patient seen by Psychiatrist. He is stable at the time. He voices concern with being
                              moved to GP. He was changed to level II at this time.
       2/13/13     1:50p      MHP attempted visit with patient however he was at a visit during the time.
       2/14/13    12:15p      Patient seen by MHP. He is stable at the time and denies any suicidal ideation. He
                              complains of "forgetfulness". Coping techniques and safety issues were discussed.
                              Patient remains on Level II at this time.
       2/15/13    11:45a      Patient seen by MHP. He is stable at.the time. He continues to deny suicidal ideation.
                              Coping techniques and medication compliance were discussed.
       2/16/13    11:30a      Patient seen by MHP. He is stable at the time.' His only complaint is that cell is cold.




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            2/17/13    12:00p      Patient seen by MHP. He is stable at the time. Requested to be taken off levels.
            2/18/13    ll:OOa      Patient seen by mental health. He is stable at the time. Denied suicide ideation.
            2/19/13     3:50p      Patient seen by mental health. He is stable at the time. Reports some sadness over
                                   being housed in the cell. He wanted to go to GP. Mental health professional discussed
                                   coping.
            2/20/13     2:10p      Patient seen by mental health. He is stable at the time. Questions how much longer he
                                   will have to stay in observation. Denies suicide ideation.
            2/21/13    12:05p      Patient seen by mental health. Patient concerned about a change in sleep pattern.
                                   Denied suicidal ideation. Mental health professional and patient discussed medication.
            2/21/13    1" shift    Patient seen by psychiatrist. Patient reported some sadness and requested pervious
                                   medications.' Medication adjustments were made and patient levels discontinued and
                                  cleared to general population .
            2/22/13    7:00p      .Patient refused medication (Trilafon).
            2/25/13    8:00a       Patient refused medication (Cogentin & Trilafon).
            2/27/13      1"       Patient seen by Psychiatrist. Patient was confrontational and expresses that he would
                                  hurt patients on that mental health unit and staff. Psychiatrist assessment is and
                                  adverse side effect to Prozac and paranoia.
            2/28/13    11:20a     Patient seen by Mental Health. Patient requested that his medication be changed and
                                  the Prozac restarted. He stated that he wanted to be on the mental health unit. Mental
                                  Health professional and discussed patient concerns with doctor. Doctor aware of
                                  medication changes.
            3/3/13     1:35a-     Patient seen by medical. Patient complained of pain "I was kicked in my side." Nurse
                       8:20a      noted injury and called medical doctor. A stat x-ray was ordered and he is moved to
                                  medical unit on medical observation until patient x-ray could be read. Per report he had
                                  right numpneumothorax, he was then sent to ER.
            3/6/13                Patient return from the hospital.
(           3/6/13    1" shift
                      1" shift
                                  Patient seen by medical provider. Orders were given for continued treatment and pain.
                                  Patient seen by Psychiatrist- Patient refused to come to see doctor. Doctor went to see
            3/6/13
                                  him cell side. Patient was argumentative with doctor and spoke about being at the
                                  hospital. Patient refused to sign consent forms for medication.
            3/7/13    1" shift    Patient seen by Psychiatrist. Patient noted to be paranoid about correction staff.
                                  Patient medications were changed at this time.
           3/11/13    1'' shift   Patient seen by medical provider. Patient noted to need a follow up about with trauma
                                  clinic in 2 weeks. Medication changes made.
           3/15/13    1st shift   Patient seen by Psychiatrist. Patient noted to be in good spirits. Patient medication
                                  stayed the same.
           3/20/13    ll:lOa      Patient seen by mental health. Patient stable, medication compliance discussed, spoke
                                  about his release from medical.
           3/22/13    1" shift    Patient seen by medical provider. Patient vitals were stable. Medication increased and
                                  cleared to GP.
           3/28/13    11:15a      Patient seen by mental health on segregation rounds.
           4/2/13     9:40        Patient returned from trauma clinic. Blood Pressure-118/73, Pulse- 77. No new orders
                                  given.
           4/4/13     11:30a      Patient seen by mental health on segregation rounds.
           4/11/13    12:40p      Patient seen by mental health. Patient reports medication compliance. Patient had no
                                  concerns.
           4/11/13    12:45p      Patient seen by mental health on segregation rounds.
           4/17/13    1:20p       Patient seen by mental health on segregation rounds.
            5/2/13    2:32p       Patient seen by mental health. Patient reports medication compliance and had not
                                  concerns.
            5/6/13    ll:OOa      Health Service Request- Patient requesting medication change back to Prozac.
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        5/8/13    12:59p        Patient seen by mental health- Patient requested for his medication to be changed back
                                to Prozac 40mg. Mental Health Professional spoke with patient about medication
                                compliance.
        5/9/13    l:OOp         Health Service Request- Wart on right hand and back pain
        5/10/13   12:45p        Patient seen by mental health on segregation rounds.
        5/13/13   ll:OOa        Vital signs normal. Patient concern is lower back pain.
        5/16/13   l:OOp         Patient seen by mental health on segregation rounds.
        5/17/13   ll:lOa        Patient seen by mental health on segregation rounds.
        5/28/13   1:20p         Patient seen by Site Medical Director. His vitals were stable. He complained of lower·
                                back pain. Medications changed at this time.
        6/3/13    1" shift      Patient seen by MHP. He stable at the time. He voiced no complaints.
        6/26/13   12:20p        Patient seen by MHP. He stable at this time. He voiced wantingto be housed on the
                                MH Unit.
       7/12/13    11:15a        Patient seen by mental health on segregation rounds.
       7/17/13    1" shift      Patient seen by MHP. He stable at the time. He voiced no complaints.
       7/17/13    l:OOp         Patient seen by mental health on segregation rounds.
       7/26/13    12:00p       Patient seen by mental health on segregation rounds.
       8/1/13     1:35p        Patient seen by mental health on segregation rounds.
       8/8/13     11:20a       Patient seen by mental health on segregation rounds.
       8/8/13     1:30p        Patient seen by MHP. He requested to see the Psychiatrist. He was stable at this time.
       8/12/13    1" shift     Patient turned in HSR related to back pain and wart.
       8/14/13    2"" shift    Nursing called to assess patient. He complains of pain to his neck, knees, and ribs. His
                              ·was assessed and in no distress.
       8/15/13    12:30a       Nursing called to assess. He complains of pain to his ribs. He was demanding to go to
                               the E.R. His vital signs were in normal limits. An EKG was completed that showed no
                               abnormalities.
(      8/15/13    11:40a       Patient seen by Nursing regarding HSR. He refused the pain protocol.
       8/15/13    l:OOp        Patient seen by mental health on segregation rounds.
       8/16/13    1'' shift    Patient was uncooperative with Chronic Clinic visit.
       8/16/13    5:00p        Wellness check completed by Nursing. Patient stable with no complaints.
       8/16/13    3:30p        Patient seen by MH P related to call from spouse. She reports that he is having suicidal
                               ideation. Patient was placed on Suicide Precautions.
       8/17/13    1:40a        Wellness check completed by Nursing. Patient stable with no complaints.
       8/18/13    4:10a        Wellness check completed by Nursing. Patient noted to be agitated.
       8/19/13    12:00a       Wellness check completed by Nursing. Patient stable with no complaints.
       8/19/13    8:00a        Wellness check completed by Nursing. Patient reports that he is fasting and wanted
                               meds later.
       8/19/13    lO:OOa       Patient was seen by MHP. He was stable at the time and denied suicidal ideation. He
                               requested change in medications.
       8/19/13    1:50p        Patient seen by MHP. He was agitated and uncooperative.
       8/19/13    1" shift     Patient seen by Psychiatrist. His mood was labile, pressured speech, thought process
                               racing, flight of ideas, thought content paranoid, and he denies suicidal ideation.
                               Medications changed at this time.
       8/20/13    12:30a       Wellness check completed by Nursing. Patient stable at the time and voices no
                              concerns.
       8/20/13    ll:OOa      Patient seen by MHP. Patient stable at the time. He request to remain on the MH Unit.
       8/20/13    8:00p       Wellness check completed by Nursing. Patient stable at the time and voices no
                              concerns.
       8/21/13    6:12a       Wellness check completed by Nursing. Patient stable at the time and voices no
                              concerns.
       8/21/13    11:05a      Nursing visit. Patient assessed and stable.




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        8/21/13   1" shift    Wellness check completed by Nursing. Patient stable at the time and voices no
                              concerns. He request to be taken off Observation.
       8/21/13    l:OOp       MHP visit. Patient stable and voices no complaints.
       8/21/13    4:45p       Wellness check completed by Nursing. Patient stable at the time and voices no
                              concerns.
        8/22/13   12:35a      Wellness check completed by Nursing. Patient stable at this time. He reports that he
                              does not want to harm self and would like to see the Psychiatrist.
       8/22/13    12:00p      Wellness check completed by Nursing. Patient stable at the time and request to see
                              Psychiatrist to be taken off Observation.
       8/22/13    l:OOp       Patient seen by MHP. Patient was stable. He requested to be moved from single cell to
                              dorm on MH Unit.
       8/22/13    2"" shift   Wellness check completed by Nursing. He was noted to be agitated. He denies suicidal
                              ideation.
       8/23/13    12:00a      Wellness check completed by Nursing. He stable and requesting to see the Psychiatrist
                              to be taken of Observation.
       8/23/13    4:30a       Patient seen by Nursing with complaints of pain to finger.
       8/23/13    lO:OOa      Patient seen by MHP. He is stable and denies suicidal ideation. He demanded to remain
                              on the MH Unit.
       8/23/13    8:00p       Wellness check completed by Nursing. He was stable but upset regarding his water
                              being shut off.
       8/24/13    12:10a      Wellness check completed by Nursing. Patient stable at the time and voices no
                              concerns.
       8/24/13    8:10a       Patient seen by MHP. Patient stable at the time and has no complaints.
       8/24/13    9:15a       Wellness check completed by Nursing. Patient stable at the time and voices no
                              concerns.
                    0
       8/24/13    2" shift    Patient turned in HSR with complaints of back pain.
(      8/25/13    4:25a       Wellness check completed by Nursing. Patient stable at the time and voices no
                              concerns.
       8/25/13    8:15a       Patient seen by MHP. He is stable at the time and requesting to come off Observation.
       8/26/13    2:00a       Wellness check completed by Nursing. Patient stable at the time and voices no
                              concerns.
       8/26/13    4:00p       Patient seen by MHP. Patient reports increase depression related to court. He denies
                              suicidal ideation. MHP discussed coping shields.
       8/26/13    8:00p       Wellness check completed by Nursing. Patient stable at the time and voices no
                              concerns.
       8/26/13    2"" shift   Wellness check completed by Nursing. Patient stable at the time and voices no
                              concerns.
       8/27/13    12:00a      Wellness check compl~ted by Nursing. Patient stable at the time and voices no
                              concerns.
       8/27/13    12:00p      MHP visit. Patient stable and denies suicidal ideation. Patient asking about housing
                              once released from the MH Unit.
       8/28/13    1:50a       Wellness check completed by Nursing. Patient stable at the time and voices no
                              concerns.
       8/28/13    8:00a       Wellness check completed by Nursing. Patient stable at the time and voices no
                              concerns.
       8/28/13    1" shift    Patient seen by Psychiatrist. His thought content was appropriate, no suicidal ideation;
                              mood was labile, affect appropriate, speech pressure. He was taken off Observation.
       8/29/13    4:40p       Nursing visit. Patient stable. Pain protocol was ordered.
       9/3/13     1" shift    Call from patient's spouse stating that he is not harm self and stating that he wants to
                              be taken off Observation. MHP followed up with patient who was stable at the time.
        9/4/13    1:50p       MHP visit. Patient stable and voices no concerns.




                                                                                                          GB003637
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 158 of 625 PageID #:
                                         1150



        9/11/13     1:30p        MHP visit. Patient stable and voices no concerns.
        9/11/13     3:00p        Patient turns in HSR complaining of neck pain. He was requesting to see an MD for pain
                                 meds. He also requested meds for constipation.
        9/12/13     3:00p        Patient turns in HSR complaining of edema in lower extremities. He is requesting to see
                                 MD.                                                         .



        9/13/13     6:05p        Nursing visit to address HSR's. His vitals were stable. He was ordered a pain pack and
                                started on constipation protocol.
        9/18/13     2:00p       Patient seen by mental health. Patient stable and voiced no current concerns.
        9/19/13     1" shift    Patient seen by Psychiatrist. He was stable at this time. He denies suicidal ideation. He
                                complains of decrease sleep changes were made in his medications.
        9/24/13     12:15p      Patient seen by mental health on segregation rounds.
        9/24/13     1:30p       Patient seen by mental health. Patient was stable and is quoted tell Mental health that
                                "happy to see you". Patient requested to be moved to mental health dorm 8. Mental
                                health explained that he was not a candidate for that housing location.
      9/25/13       1:00        Health Service Request- neck pain and side effects to medication
      9/28/13       1" shift    Patient refused to see medical to address Health Service Request.
      10/2/13       11:12a      Patient seen by medical doctor in relation to edema is legs and stiffness in neck. Doctor
                                noted no edema and gave ibuprofen for pain.
      10/2/13       12:05p      Patient seen by mental health on segregation rounds.
      10/9/13       12:40p      Patient seen by mental health on segregation rounds.
      10/14/13      8:00a       Patient was offered meds during med pass.
      10/14/13      8:00p       Patient was offered meds during med pass.
      10/15/13      8:00a       Patient was offered meds during med pass.
      10/15/13      8:00p       Patient was offered meds during med pass.
      10/16/13      8:00p       Patient was offered meds during med pass.
      10/16/13      l:lOp       Patient seen by mental health on segregation rounds.
(     10/16/13      8:00p       Patient was offered meds during med pass.
      10/17/13      8:00a       Patient was offered meds during med pass.
      10/17/13      8:00p       Patient was offered meds during med pass.
      10/18/13      8:00a       Patient was offered meds during med pass.
      10/18/13      1" shift    Patient seen by medical on medical segregation rounds
      10/18/13      8:00p       Patient was offered meds during med pass.
      10/19/13      8:00a       Patient was offered meds during med pass.
      10/19/13      4:00p       Patient found hanging in cell by correction staff. Medical was on floor and CPR begin
                                and continued until EMS took over.
      10/19/13      4:45p       Dr. Johnson pronounced that patient was deceased.



      Respectfully Submitted,

      Kibibi Wood-Montgomery
      Director of Mental Health




                                                                                                            GB003638
      Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 159 of 625 PageID #:
                                           1151

       Division: I DISTRICT                               Incident/Investigation Report
       Beat:              123
                  Agency: LMPD                       Case Number: 80-13-080486                               · Case Status:OPEN ACTIVE
(
                      .                                           .   ..                                                .

                                                                           Incident Information                                               .
     Date/Time Reported
     10/19/2013 18:57
                                    I          ·.
                                      Date/TlRle From
                                      10/19/2013 18:57
                                                                           .


                                                                               IDatelfime To
                                                                               10/19/2013 18:57
                                                                                                            Officer
                                                                                                            (6782) BAKER, MINDY R
                                                                                                                                 ..               .   ·..    .                     · ..




     Incident Location
     400 S 61H ST, LOUISVILLE, KY 40202
                                                                                                                                                                                          '"


                                                                                          Charges
     _:- ::>, -'·- Charge Type   Description                                                                                                Statute                  UCR      0 Att
       l.    State               DEATH INVESTIGATION                                                                                        03009                   90Z       l?I Com
     Alcohol, Drugs or Computers Used Location Type                                                  Premises Entered       Forced Entry Weapons
     0 Akohol 0 Dmgs 0 Computera JAIL I PENITENTARY                                                                         0 Yes 6'l No  I.
     Entry                           Exit                                      Criminal Activity                                              2.
                                                                                                                                              3.
     Bias Motivation                                Bias Target                                    Bias Circumstances                     Hate Group




     Name(Last, First, M)                                                                                                        Race   Sex                                  Age
     HINDI, MAHMOUD YOUSEF                                                                                                      M       M                                       56
                                                                                                                                                            Home Phone


                                                                                                                                                            Business Phone


                                                                                                                                                            Cell Phone




    Report: r_lwlni.frx                                    Printed by: (6782) BAKER, MINDY R                 at 5/5/2015 22:58                                               Page I of6

                                                                                                                                                                 GB003639
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                                     1152


     Division: I DISTRICT                  Incident/Investigation Report
     Beat:       123
               Agency: LMPD             Case Number: 80-13-080486                  Case Status:OPEN ACTIVE




   Owner                                                                            License I State                 Color


   Status                          Status Officer                              Quantity       Units of Measure


   Gun Type                     Caliber                   Finish                   Grip


   Condition                 Gun Test             Test Type                    Sight Test              Sight Type
                                Yes       No                                       Yes       No
   Property Notes




               Description                                                          Serial Number                   Make/Model


   Owner                                                                             License I State                Color


   Status                          Status Officer                              Quantity       Units of Measure         Value


   Gun Type                     Caliber                   Finish                   Grip                                                        I
   Condition                 Gun Test             Test Type                    Sight Test              Sight Type
                                Yes       No                                       Yes       No
   Property Notes


                                                                               ~','

               Description                                                          Serial Number                   Make/Model


   Owner                                                                            License I State                 Color


   Status                          Status Officer                              Quantity       Units ofMeasure           Value


   Gun Type                     Caliber                   Finish                   Grip                              Guo Stock


   Condition                 Gun Test             Test Type                    Sight Test              Sight Type
                                Yes       No                                       Yes      No
   Property Notes




   Report: r_lwlni.frx                         Printed by: (6782) BAKER, MINDY R   at 5/5/2015 22:58                               Page 2of6

                                                                                                                        GB003640
      Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 161 of 625 PageID #:
                                           1153

       Division: I DISTRICT                       Incident/Investigation Report
       Beat:        123
                  Agency: LMPD            Case Number: 80-13-080486                       Case Status:OPEN ACTIVE
(

                                                                                           Serial Number                  Make/Model


     Owner                                                                                 License I State                Color


     Status                             Status Officer                                Quantity      Units ofMeasure           Value


     Gun Type                     Caliber                    Finish                       Grip                             Gun Stock


     Condition                 Gun Test              Test Type                        Sight Test             Sight Type
                                  Yes        No                                           Ye~      No
     Property Notes




              , Description                                                                Serial Number                  Make/Model


     Owner                                                                                 License I State                Color


     Status                             Status Officer                                Quantity      Units ofMeasure           Value

(
     Gun TYPe                     Caliber                    Finish                       Grip                             Gun Stock


     Condition                 Gun Test              Test Type                        Sight Test             Sight Type
                                                                                          Yes      No
     Property Notes




                 Description                                                               Serial Number                  Make/Model


                                                                                           License I State                Color


     Status                             Status Officer                            Quantity          Units of Measure         Value


     Gun Type                     Caliber                    Finish                       Grip                             Gun Stock


     Condition                 Gun Test              Test Type                    Sight Test                 Sight Type
                                  Yes        No                                           Yes      No
    Property Notes




    Report: r_lwlni.frx                           Printed by: (6782) BAKER, MINDY R      at 5/5/2015 22:58                                 Page3 of6

                                                                                                                                       GB003641
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                                     1154


     Division: 1 DISTRICT                    Incident/Investigation Report
     Beat:       123
               Agency: LMPD             Case Number: 80-13-080486                    Case Status:OPEN ACTIVE




               Description                                                            Serial Number                   Make/Model


   Owner                                                                              License I State                 Color


   Status                             Status Officer                             Quantity       Units ofMeasure          Value


   Gun Type                     Caliber                    Finish                    Grip                              Gun Stock


   Condition                 Gun Test              Test Type                     Sight Test              Sight Type
                                Yes        No                                        Yes      No
   Property Notes




                                                                                      Serial Number                   Make/Model


   Owner                                                                              License I State                 Color


   Status                             Status Officer                             Quantity       Units of Measure          Value


   Gun Type                     Caliber                    Finish                    Grip                              Gun Stock


   Condition                 Gun Test              Test Type                     Sight Tes~              Sight Type
                                Yes        No                                        Yes      No
   Property Notes




   ',s~;       Description                                                             Serial Number                  MakeiModel


   Owner                                                                              License I State                 Color


   Status                             Status Officer                             Quantity       Units of Measure          Value


   Gun Type                     Caliber                    Finish                    Grip                              Gun Stock


   Condition                 Gun Test              Test Type                     Sight Test              Sight Type
                                Yes        No                                        Yes      No
   Property Notes




   Report: r _lwlni.frx                         Printed, by: (6782) BAKER, MINDY R   at 5/5/2015 22:58                               Page 4 of6

                                                                                                                          GB003642
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                                           1155

       Division: 1 DISTRICT                        Incident/Investigation Report
       Beat:        123
                  Agency:      LMPD           Case Number: 80-13-080486                       Case Status:OPEN ACTIVE
(



     Owner                                                                                     License I State                Color


     Status                                 Status Officer                                Quantity      Units of Measure          Value


     Gun Type                         Caliber                    Finish                       Grip                             Gun Stock


     Condition                   Gun Test                Test Type                        Sight Test             Sight Type
                                      Yes        No                                           Yes·     No
     Property Notes




                 Description                                                                   Serial Number                  Make/Model


     Owner                                                                                     License I State                Color


     Status                                 Status Officer                                Quantity      Units of Measure


     Gun Type                         Caliber                    Finish                      Grip


     Condition                   Gun Test                Test Type                    Sight Test                 Sight Type
                                    Yes          No                                           Yes      No
     Property Notes




    Report: rJwlni.frx                                Printed by: (6782) BAKER, MINDY R     at S/S/2015 22:58                                 Page5 of6

                                                                                                                                          GB003643
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                                     1156

     Division: I DISTRICT                     Incident/Investigation Report
     Beat:       123
               Agency:    LMPD           Case Number: 80-13-080486                     Case Status:OPEN ACTIVE




                                                               PUBLIC NARRATIVE

    Subject was an inmate at Louisville Metro Department of Corrections. Subject was found hanging in his single cell. Corrections and medical staff
   personnel performed CPR on the subject. LMEMS arrived and took over the medical treatment. The subject was transported to University
   Hospital and promounced dead.




                                                         INVESTIGATIVE NARRATIVE




   Report: r _lwlni.frx                        Printed by: (6782) BAKER, MINDY R      at 5/5/2015 22:58

                                                                                                                        GB003644
            Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 165 of 625 PageID #:
                                                 1157


       I                                        Louisville Metro Police Department
                                                     Crime Scene Unit Report

     Date:         10/19/2013                                   Day: Saturday                     ~Original        D Supplement
     CSU#:                80-13-0804860Rl-BROWN                                          ICN #:   80-13-080486
     Offense(s):             Death Investigation
                                                                                                  --------------
     Notified/Dispatched by:                Sergeant M. Baker I by telephone
               Time Received:      1839            Arrival Time:
                                                                     -1910
                                                                       ------                                 Cleared Time:   2008
     Detective(s) at Scene:                 Sergeant M. Baker, Sergeant K. Taylor
                                            Sergeant M. Baker I PIU
     Lead Detective/Division/Unit:                                                                                 Code#:
                                                                                                                              -6782
                                                                                                                                ----
                                            M. Brown
     CSU Technician(s):                                                                                            Code#:
                                                                                                                              -8105
                                                                                                                                ----
    Crime Scene Information:
                        400 South 6th Street, 5th Floor, Cell 3
                        (Louisville Metro Departmentof
    Location of Scene: _C_o_rr_e_ct_io_n_s_,_)_________-,-                                   Date of Occurrence:    10/19/2013
    Type of Premise:       0Residence 0Roadway 0Business 0Vehicle~!Zl~O~t~h~er_-'-Ja=i~I- - - - - - - - - -
    Weather Condition:        !Zllnside 0Snow 0Rain 0Clear OOther
                                                                                          ----------------
    Victim's Information:
(   /ictim's Name:          Mahmoud Y. Hindi
                                            1          1
    Victim's Address:       400 South 6 " Street, 5 " Floor, Cell 3
    Cit :    Louisville                                                  State:
    Elimination Prints Taken?       0 Yes             !Zl No·       0 Post Mortem
    Race:     White                                 Sex:    Male                  DOB:
    Victim's Hands Ba       ed?     D Yes            !Zl No                         GSR Done on Victim?       0 Yes           No

    Susoect Information:
                                                                                         .
                                        .
                                                    Race.          Sex                                      Addre.ss.                GSR
    N/A
                                                                                                                                     ri
    Photography:
    Photographing Technician(s): _M~.-=B-'-ro~w"--n------------------------

    Video:
    Video Technician(s) or Detective:            M. Brown with Sergeant M. Baker

    Crime Scene Mapping:
      ime Scene Measurements and Diagram Completed By: _N_/A__________________




                                                                                  1of3                                     LMPD # 07-0001
                                                                                                                        GB003645 05/13
          Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 166 of 625 PageID #:
                                               1158
                                                                                                                             C.~Ud#: 80-13-0804860Rl-BROWN
      Evidence Processing:




                                                                                                                                                0Scene         CSU
                                                                                                   D                                    D       OATG        D Other


                               Videotape of scene
                               Handwritten note on piece of white. colored paper, locate<l{ under the bed at 400 South
           2                   5th Street, 5th Floor, Cell 3                                                  ·.        V\
                               White colored bedsheet containing two knot~~nd used as ~.ligature by the victim,
                               located tied to the ninth bar from the west'.effm.~~!')t of bars'f:l.!'!ar the window at 400
           3                   South 5th Street 5th Floor Cell 3
                                                    '             t
                                                                                        .(n••c'E.'i&:i•:<:&:·f.•· • ., .. \.'.
                                                                                              '-·~'-··."'."-'.. ·~--~ '"''"'•!1.-- ,,   ~.:.;

                               Cut, gray colored "Bob Barker" brand short sleevesfifiifri\li,tf(~~ "LMDC" on the back,
           4                   size "4XL", collected from Ser ea ·" t · ~r~-o-~~~-,--~~~-----,,--~~,--~~                 ' "''':·~~'!i,fuit.
                               Cut, cream colored "Bob Barker                                     · ."brand long slee\i'eft$birt, size "2XL'',
           5                   collected from Ser eant M. E!iifKJr                                        '                             '\ l'i~'.ic .•
                               Pair of cut, gray colored pi:ifit~l{il:~~ed "LMIJ~{i1on front, unknown b'~~fid, unknown
           5                   size, collected from Ser eant M.'''IB~~er                              f;~i..'                                '
                               Pair of cut, gray colored "Hanes" br'l:iQ~iJ,mgefrwear, unknown size, collected from
           7                   Ser eant M. Bak§!(.·,<,,•;(.;,,.. ..                \i;.fiL·: .
                               Black, gray, al')•J)fangeCio'l~ti!l~ \:1440 sPQ~~·~,brand watch, collected from Sergeant M.
(          8                   Baker           1 ·'            ' ':.,.... " .•. ,~           ---'~;·:~<-;···_
                                                                                                   ;:;;.- ,--




      Narrative:
      On Saturda¥Jb119/2013J~t ap·~~~Jr,riately 1839 hours;rsergeant M. l;wker requested that CSU
      respond to 1Wouisville Metro Departl)j~ntof Correction$,. 5th Floor, Celf"3, located at 400 South 5th
      Street. uP,'~h arrival, Technician M;''ijf~'fyr:i met with ~Eirgeants M. Baker and K. Taylor and performed
      the followii'lg:                          ··· · " ::      '
                 \/'i
                 \..:,·.:'-_. -..                            \,

      Videotaped\fhe.
                  \
                      scene, which now beeomes
                                '"       -,
                                               Exhibit #1.
                           :

      Photographed th!=! scene.

      Collected Exhibits #2 and #3.

      Collected Exhibits #4, #5, #5, #7, and #8 from Sergeant M. Baker.

      At approximately 2008 hours, Exhibits #1, #2, #3, #4, #5, #5, #7, and #8 were transported to the CSU
      Office and secured in the CSU Evidence Lab.


l(.
                                                                      CONTINUED Pa e 3

                                                                                    2 of 3                                                               LMPD # 07-0001
                                                                                                                                                  GB003646        05/13
        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 167 of 625 PageID #:
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    On Sunday 10/20/2013 at approximately 0035 hours, photographed Exhibits #2, #3, #4, #5, #6, #7,
    and #8.

(   ~xhibits   #4, #5, #6, and #7 were secured in a CSU Drying Cabinet.

    Exhibits #2 and #8 were secured in a CSU Evidence Locker.

    Exhibit #1 was deposited into the Forensics Video Vault on Sunday 10/20/2013 at approximately
    0145 hours.

    Exhibit #3 was secured in a CSU Evidence Locker for transport to Pattiology on Sunday 10/20/2013.
                                                                                                  .                                                                                                    ~




    (*NOTE - Technician J. Silveria removed Exhibit #3 from the                             Locker on Sunday                                                                            CSU'~~Ja~nce
    10/20/2013 at approximately 0720 hours for transport to Pat~ology. Teo~r1ician J. Silveria returned
    from Pathology and resecured Exhibit #3 in a CSU Evidenr~~ Locker at ~~proximately 1130 hours.
    See CSU report 80-13-080486SILV.)                         (';-;; . .
                                                                     ,. . ',,,,.
                                                         <.· '·:;. ,,:;~''(-)
                                                                                 '\
                                                                                    \,'.•·>                                                                                        ..


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                                                                                                                                                                                                 :i,> .. \'.i.'.y;<,i.:;_i;\t!,~;~,:;,
                                                                                                                                                                                                         - ; -;<'_;-.' ::           ":,.--..
                                                                                                                                                    '',.                                                               ;-     ''_'.·'-: ...    ,
                                                                                                                                          ~h~)_;:~:{\~·-;f,;:,'.~}~:;·,                                                  ' '·'"{\~?::(··
                                                                                                                        ,r,:.?), -                     "·-,<:t&,~;;;.:f:.:~t~-'.·>.                                                     -. '\2;1;:~ ~- - -'.

                                                     .                                           (::.:S:I.¥·~..                                                        -;~"i.:J;                                                                   ·z.;;~;1}'
    On Sunday 10/20/2013 at approximately 2230:\\l,~4~. Techfilj~ian M. Brown perfo1Jl1ed the following:
                                                                                                                                     ..         .                           Ji."

    Exhibits #4, #5, #6, and #7             wer~f!!l.r:tl(")clf~Q from th~''~'$1J,JP~ing Cabinet.
                                                     ,,~   __,_,._, ,-'.::''" .--,_ --- '." ·---·<·-'-·-··- ,c -"   '                                -,,·~}''.•}:'.(·_\'




(   ..:xhibits #2, #3, and #8           wer~~moved
                                           ,- '    i;cifil'.tK~·csu
                                                         ''< .,_ ,.,,", EJfa~'il¢e Lockers.                                                                                ,,-.~-.~-

                                           f-'-···                                                                          \,>•,_;_:,~.:                                    '<,j':~,;~~:>~--
                                           f;~·t.                                                                             ··;.- ·•" '."'-                                    ' " --' ; ' ' '" . ~
    Exhibits#~, #3, #4, #5, #6, ;~K· and #8 were trarls~g~ed to the0~fY1FD Property Room and released to
    Clerk D. R1chmond\on Mon~~.¥ .10/21/2013 at appre~1i:nately 09!'>5 hours .
                            .d   \<..         \oi'.,>.                                                                                              \(
    (*NOTE - A .~n(')tocdpy Qf Exhl~!.~'!t was placed in thifSU file.)

                fo5:i:-'
                r,~,,,·.-
                '< _,
    Technician:s Name:             M. Brown                                                                                                                                                                                                        Code#: 8105
    Supervisor)~!Slame: -----~,~,- - - - - - - - - - - -
                                                                                                                                                                                                                                                                -----
                                                                                                                                                                                                                                                   Code#:
                                                                                                                                                                                                                                                                -----
    Date:   -----i~-"----------i~




                                                                                                                                                         3 of 3                                                                                                   LMPD # 07-0001
                                                                                                                                                                                                                                                               GB003647    05/13
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                                             1160


       I                              Louisville Metro Police Department
                                           Crime Scene Unit Report

      Date:           10/19/2013                       Day:     Saturday                     0   Original         ~Supplement
      CSU#:              80-13-080486DAVE                                              80-13-080486
                                                                                     ICN#:
      0 ffens e(s):         Death Investigation
                                                                                      -------------
                                                                                 PIU Case #13-072
      Notified/Dispatched by:         Sergeant M. Baker, by phone
                                 1839
               Time Received:                Arrival Time:
                                                              -1910
                                                                ------                                      Cleared Time:   1936
                                                                                                                            - ---
      Detective(s) at Scene:          _S_e_rg~ea_n_t_E_._G_o_in_s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      Lead Detective/Division/Unit:   Sergeant M. Baker/PIU                                                     Code#:      6782
                                                                                                                            - ---
                                      Technician S. Davenport
      CSU Technician(s):                                                                                        Code#:
                                                                                                                            -4223
                                                                                                                               ---
    Crime Scene Information:
                         400 South 61h Street, 5th Floor, Cell 3
                         (Louisville Metro Department of
    Location of Scene: _C~o_r_re_c_t_io_n_s<--c)- - - - - - - - -                        Date of Occurrence:       10/19/2013

    Victim's Information:
    Victim's Name:       Mahmoud Y. Hindi W/
    Victim's Address:    400 South 61" Street,   s'" Floor, Cell 3
(   )t :   Louisville                                                State:     KY                              Zi Code:     40202

           ect Information:



                                                                                                                                      0
    Photography:
    Photographing Technician(s): _T_ec_h_n_ic_ia_n--'-S_.D-'-av_e'"'""n-"p-'-o_rt'---------------------

    Exhibits Collected:
                                                                         Description




    Narrative:
    On 10/19/2013 at approximately 1839 hours, responded to University Hospital ER, 530 S. Jackson
    Street, Room 9, Bay 4. Upon arrival was met by Sergeant E. Goins of PIU and the following was
    performed by Technician S. Davenport at the request of Sergeant E. Goins:

       Photographed the victim, Mahmoud Y. Hindi.




                                                                              1of2                                           LMPD # 07-0001
                                                                                                                     GB003648         05/13
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                                             1161

                                                                     tSU,#: 80-13-080486DAVE

   Technician's Name:    Technician S. Davenport                        Code#:   4223
                                                                                 - ----
(- 3upervisor's Name:                                                   Code#:
     Date:
             ~-----------




(




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                                    POSTMORTEM EXAMINATION

                                            OF THE BODY OF

                                    HINDI, MAHMOUD ME-13-1161

               A postmortem examination of the body identified by the Jefferson County
        Coroner as Mahmoud Hindi is performed at the Urban County Government Center on
        Sunday, October 20, 2013 at 8:00 a.m. by Dr. Amy Burrows-Beckham. Attendant is
        Sarah LaMantia.

        EVIDENCE

                LMPD CSU provides a sealed evidence bag which contains a ligature. The bag is
        opened and the ligature is removed. The ligature consists of a white sheet which is tied in
        knots at each end to create two loops. At one end is a smaller loop which has been
        previously cut. Per a representative from the Louisville Metro Department of Corrections,
        this end was tied to bars on a window in a jail cell. At the other end is a larger loop. Per
        corrections, this loop was around Mahmoud Hindi's neck and was removed without
        cutting. At one end of the sheet are the initials "MBB" written in black marker. After
        examination, the ligature is returned to the evidence bag and sealed by CSU.

        EXTERIOR OF THE BODY

(              The body is received clad in a hospital gown.

                 The body is that of a well-developed, well nourished, white male appearing the
        offered age of 56 years. The body has a height of 72 and 1/2" and a weight of 203
        pounds. The scalp hair is light and dark gray, wavy, and measures up to 2". The pupils
        are round, equal, and 6mm. They are viewed through clear corneae. The irides are green.
        The sclerae and conjunctivae are not injected. A single bulbar petechial hemorrhage is
        present on the inferior aspect of the right globe. Several palpebral petechial hemorrhages
        are present on both right upper and lower eyelids. A single petechial hemorrhage is
        present on the palpebral conjunctivae of the left upper eyelid. The nose and ears are free
        of abnormality. The natural anterior dentition is present and in good repair. A gray beard
        and mustache are present. The lips demonstrate drying artifact. The superficial lymph
        nodes are not enlarged. The chest demonstrates a marked pectus excavatum. The chest is
        slightly asymmetric as the right anterior rib cage is more lateral and more pronounced. A
        1 and 1/4" by 3116" transverse scar is present in the right lateral mid chest. The abdomen
        is flat and demonstrates no obvious remote surgical scar. The external genitalia are
        normal male. The penis is circumcised. The testes are within the scrotal sac. The
        extremities demonstrate no edema, deformity or fracture. On the anterior aspect of the
        left knee is a 1/2" by 7/8" postmortem indentation with a tan center and a pink periphery.
        A similat 3/4" by 1/2" postmortem indentation is noted of the anterior aspect of the right
        knee. Small dry plaques are present inferior to the knees bilaterally with slight
        prominence of the underlying bone. On the ventral lateral aspect of the left wrist are at




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        least three remote scars which measure up to 1/4". On the dorsal aspect of the left arm in
        the middle one third is a l" by 3/4" oval scar. Rigor mortis is well developed in the
        muscle groups. Livor mortis is present posteriorly except over pressure points. A 4 and
        1/2" somewhat "Y" shaped, linear scar bearing evidence of surgical suturing is present on
        the lower mid back.

        EVIDENCE OF MEDICAL TREATMENT

                 A cervical collar is in place. An endotracheal tube is present in the mouth and
        secured with tape. Defibrillator pads are present on the trunk. EKG pads are present on
        the trunk. An intraosseous catheter is present in the anterior aspect of the right leg and is
        attached to an IV bag. A hospital bracelet with the name "Mahmoud Hindi" and an
        Emergency Department bracelet with the numbers "8478" encircle the left ankle. An
        identification bracelet with the name "Mahmoud Hindi" and the initials "JCC" encircles
        the left ankle. Two toe tags are present on the left great toe which state the name
        "Mahmoud Hindi".

        INJURIES

                A nuchal ligature furrow encircles the anterior and lateral aspects of the neck. On
        the right lateral aspect of the neck, this ligature furrow measures up to 1 and 3/4" in
        width. On the anterior surface of the neck, this ligature furrow measures up to 1 and 112".
        On the left lateral aspect of the neck, the ligature furrow measures up to 1 and 1/4". The
        suspension point appears to be just inferior to the left ear. The posterior aspect of the
(       neck is does not demonstrate the ligature furrow. A pale tan post mortem indentation of
        the tape securing the endotracheal tube encircles the neck and is present in association
        with the ligature furrow. The ligature furrow demonstrates an orange/yellow parchment
        type base in areas and pink discoloration in areas. This ligature furrow is consistent with
        the pattern of the sheet encircling the neck.

        INTERIOR OF THE BODY

                A "Y" incision is carried through a midline panniculus measuring up to 5cm into
        an abdominal cavity lined with glistening serosa and containing a few ccs of bloody fluid
        present between the left lobe ofliver and the left hemidiaphragm. Generally, the intra-
        abdominal viscera maintain their usual in situ relations. A few adhesions are present
        between the omentum and the inferior aspect of the right Jobe ofliver, and the omentum
        and the anterior abdominal wall in the right upper quadrant. The vermiform appendix is
        present.

                The mediastinum is in the midline. The lungs are of somewhat decreased
        inflation. There is no free fluid noted in either smooth, pleural space.




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         CARDIOVASCULAR

                The heart is somewhat enlarged but of normal configuration and weighs 470
        grams. The epicardial surface contains a mildly increased amount of glistening, yellow
        adipose tissue. The cardiac chambers demonstrate left ventricular hypertrophy with the
        left ventricular wall measuring up to l .9cm and the interventricular septum measuring up
        to 1.6cm. The mural and valvular endocardia are smooth and glistening. The mitral valve
        demonstrates mild myxoid degenerative changes. The chordae tendineae are not
        thickened. The papillary muscles and projecting myocardial muscle bundles are of
        normal prominence. The sinotubular junction demonstrates mild atherosclerotic changes
        without compromise of the coronary ostia. The coronary ostia are in their usual location
        and give rise to a right dominant circulation. Sectioning the coronary arteries reveals no
        atherosclerotic changes. On section, the red/brown myocardium is of normal consistency
        and fails to demonstrate remote scar or acute hemorrhage.

               The systemic aorta is of normal caliber and elasticity. The intimal surface is
        smooth and glistening. The ostia of the large branches are of normal distribution and
        dimension. Exploration and inspection of the large veins reveals no evidence of ante
        mortem clot.

        RESPIRATORY

                The right lung is of normal lobation but demonstrates interlobar adhesions. The
        left lung demonstrates an additional partial fissure of the left upper lobe oflung. The
(       lungs are heavy and weigh 1460 and 1120 grams, right and left respectively. Multiple
        petechial hemorrhages are present on the pleural surfaces bilaterally. A mild to moderate
        amount of subpleural anthracotic pigment is present within all lobes. The pleural surfaces
        are intact. The bronchial tree is of normal distribution and dimension. It is lined with
        tan/red epithelium and contains red tinged frothy fluid. The pulmonary vasculature is free
        of ante mortem thrombo-emboli. On section, the fine, lacy pulmonary architecture
        demonstrates marked edema but no consolidation, calcification or friability formation.
        The hilar lymph nodes are mildly anthracotic and non-calcified.

        LNER AND GALLBLADDER

               The liver is somewhat large and weighs 2220 grams. The capsule is intact, smooth
        and shiny. The liver edge is sharp. On section, the red/brown hepatic substance
        demonstrates patchy yellow discoloration.

               The gallbladder contains approximately lOcc of bile. Stone is not demonstrated.
        Exploration and inspection of the large bile ducts reveal them to be of normal distribution
        and dimension. They are patent and free of stone.




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    PANCREAS

            The pancreas is in its usual location and on section is composed of normally
    lobulated, yellow/tan, soft substance. No focus of calcification is demonstrated.

    ADRENALS

           The adrenal glands are in their usual location and are of normal size and shape.
    On section, they are composed of smooth, yellow outer cortical rims which overlie zones
    of deeper brown cortical and gray medullary substances.

    GENITOURJNARY

            The left kidney is somewhat larger than the right kidney; the left kidney weighs
    250 grams, the right kidney weighs 190 grams. The capsules are removed easily to reveal
    multiple cortical scars on the left and an occasional cortical scar on the right. Otherwise
    the capsular surfaces are smooth. On section, the cortices and medullae ar.e well
    demarcated. The usual arcuate markings are preserved. No abnormality of the calyx,
    pelvis, cortex or medulla is demonstrated. The ureters are patent.

            The urinary bladder contains approximately 75cc of urine. The openings of the
    ureters into the bladder are normal. The bladder mucosa is light tan and finely wrinkled.

            The prostate gland is of normal size and shape. On section, it is composed of firm,
    white, almost rubbery substance. No focus of nodularity or yellow discoloration is
    demonstrated. A single approximate Smm white nodule is present within the prostate.

    SPLEEN

            The spleen weighs 280 grams. The capsule is smooth, shiny and intact. On
    section, no focal abnormal markings are demonstrated. The usual follicular and trabecular
    markings are preserved.

    ALIMENTARY

            The smooth-walled esophagus is intact, of usual thickness and gray. Its mucosa is
    present in normal longitudinal folds. The cardioesophageal junction is easily identified.
    The gastric wall is intact and of usual thickness. No abnormality of its serosal surface is
    demonstrated. The gastric mucosa is present in its normal rugal pattern. The stomach
    contains approximately 1 and 1/2" cups of masticated food consisting of apparent
    potatoes and other food. The pylorus and duodenum display no abnormality. The small·
    and large intestines are not remarkable.




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            MUSCULOSKELETAL

(                   Examination and palpation of the spine, ribs, shoulder girdle and pelvis reveals a
            transverse fracture of the sternum and acute fractures of right anterior ribs 2 through 6
            and left anterior ribs 2 through 7. Healing fractures with callus formation are noted of
            bilateral anterior ribs 8 and 9.

            NECK
            (DISSECTION PERFORMED LAST)

                    There is no soft tissue hemorrhage within the neck. The hyoid bone and thyroid
            cartilages are intact. The larynx and trachea are of average caliber. They are lined with
            tan epithelium and contain no foreign material. The vocal cords display no abnormality.

                    The tongue displays no abnormality.

            THYROID

                    The thyroid gland demonstrates no abnormality.

            HEAD
                    There is no soft tissue hemorrhage within the scalp. The calvarium is intact and
            displays no abnormality. The dura is of normal tenseness. The superior sagittal sinus is
    i
            patent and in the midline. The leptomeninges are glistening and translucent. The brain is
    \       of normal convolutional pattern and weighs 1500 grams.

                    Examination of the arteries at the base of the brain reveals them to be of normal
            distribution and dimension. They are smooth-walled, collapsed and transparent. The
            uncinate gyri and cerebellar tonsils do not demonstrate pressure phenomena.

                    Multiple frontal sections of the brain at approximate levels of2cm reveal normal
            relations of gray and white substance. No focal abnormal markings are demonstrated. The
            ventricles contain clear fluid and the lining ependyma is smooth and glistening. The
            choroid plexuses display no abnormality. The basal ganglia are normal.

                    Multiple horizontal sections of the cerebellum, pons and medulla reveal normal
            architecture of these structures without focal abnormal markings.

                    Examination of the base of the skull, after removal of the brain and dura, fails to
            reveal fracture.




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         DISPOSITION OF EVIDENCE

            The following items are maintained at the OCME:

            1)        Photographic documentation
            2)        Diagrammatic documentation
            3)        Tissue for stock
            4)        A DNA standard card
            5)        Intraabdominal inferior vena cava blood for short tenn storage

            Intraabdominal inferior vena cava blood, urine and vitreous fluid are submitted in a
            sealed kit to AlT Laboratories for toxicologic and possible chemical analysis.

           A representative from LMPD CSU (J. Silveria) is present during the course of the
           autopsy and obtains photographic documentation, videographic documentation,
           pulled head hair, a DNA standard card, identification fingerprints, and the ligature.

           Two representatives from Louisville Metro Department of Corrections (G. Joyner and
           A. Daugherty) are present during the course of the autopsy.

           A representative from LMPD Public Integrity Unit (M. Baker) is present during the
           course of the autopsy.


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                                       JUSTICE AND PUBLIC SAFETY CABINET
                                                      Office of the Chief Medical Examiner
         Steven L. Beshear                                Urban Government Center                            J. Michael Brown
         Governor                                             810 Barret Avenue                                       Secretary
                                                      Louisville, Kentucky 40204-1702
                                                Phone (502) 852-5587 Fax (502) 852-1767
                                                               www.kentucky.gov
                                                              FINAL DIAGNOSIS

                                                    HINDI, MAHMOUD ME-13-1161

                             I) Asphyxia via ligature hanging:
                                A. Recovered in jail cell hanging by sheet ligature attached to bars of a window,
                                    per coroner and representatives from LMDC
                                B. Nuchal ligature furrow
                                C. Bulbar and palpebral petecbial hemorrhages
                                D. Absence of hemorrhage in neck musculature or fracture ofhyoid bone/thyroid
                                    cartilage
                                E. Pulmonary edema
                             2) Status post attempted resuscitation with cervical collar, intubation, vascular
                                access, acute rib and sternal fractures.
    (                        3) Cardiomegaly (470 grams).
                             4) Healing rib fractures.
                             5) Remote back surgery, NOS.
                             6) Death in custody.
                             7) Postmortem intraabdominal inferior vena cava blood and urine toxicology
                                negative for tested drugs of abuse.                          ·


                        OPINION: Death in this 56 year old man, Mahmoud Hindi, is due to asphyxia via
                        ligature hanging. (E983.0; E953.1J)




                        DATE PERFORMED: October 20, 2013
                        DATE COMPLETED: October 30, 2013
                        COUNTY OF JURISDICTION: Jefferson




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         COMMONWEALTH OF KENTUCKY
         OFFICE OF THE CHIEF MEDICAL EXAMINER
         LOUISVILLE, KENTUCKY


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                                 COMMONWEALTH OF KENTUCKY
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          Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 180 of 625 PageID #:
                                               1172


    Baker, Mindy ·

     From:                      Flaherty, Curtis ·
(   '"ent:                      Sunday, October 20, 2013 1 :15 AM
    To:                         Burbrink, Don
    Cc:                         Robison, Vince J; Baker, Mindy
    Subject:                    P.1.U. Case# 13-072      ·


    Major,

             On Saturday, October 19, 2013 at approximately 1654 hours I was contacted by Lt. Chuck Eggers, LMDC PSU
    commander, in reference to an inmate (Mahmoud Y. Hindi) who had been found with a bed sheet around his neck and
    unresponsive in his cell at Metro Corrections by another inmate (work aide) at approximately 1555 hours. Inmate Hindi
    received CPR from Corrections officers, Corrections medical staff, Metro E.M.S. and Louisville Fire. Inmate Hindi was
    transported to University Hospital where he was pronounced dead at 1645 hours. LMPD PIU and CSU responded to
    both Metro Corrections and University Hospital to conduct the death investigation. Deputy Coroner Larry Carroll
    responded to the hospital and advised an autopsy will be perfonned this morning. Inmate Hindi was booked into Metro
    Corrections on 09/07/12 at 0236 hours, he was arrested by LMPD for Murder and multiple counts of Wanton
    Endangerment I. Inmate Hindi was housed in a single cell on the fifth floor of the Hall of Justice. He was not on a
    suicide watch at the time of the incident. Sgt. Mindy Baker is the lead investigator on this case.

               Inmate:




(




             Hindi Y. Mahmoud
             Arab Male
             D.O.~
             HGT     6'00'   WGT    1951bs



    Respectfully,

    Curtis




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                                                            Jefferson County, KY
                                                                Records Summarv Reoort
                                                                    Search Criteria:


                                                                     Folder Name; Mahmoud HiiJdi 1




Jefferson County Metro Govt -   5-N·1-DR   1               MAHMOUD       HINDI                  5779662032   10-19-2013 10:03:03    10-19-2013 10:18:03           900               15.0
HOJ
Jefferson County Metro Govt -   5-N-1-DR   1               MAHMOUD       HINDI                  5779662032   10-18-2013 17:21:41    10-18-201317:36:41            900               15.0
HOJ
Jefferson County Metro-Govt-    5-N-1-DR   1               MAHMOUD        HINDI                 5779662032   10-18-201317:05:14     10-18-2013 17:20:14           900               15.0
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Jefferson County Metro Govt -   5-N-1-0R   1               MAHMOUD       HINDI                  5779662032   10-14-2013 18:47:47    10-14-2013 19:02:47           900               15.0
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Jefferson County Metro Govt-    5-N-1-DR   1               MAHMOUD        HINDI                 5779662032   10-14-201318:15:25     10-14-201318:30:25            900               15.0
HOJ
Jefferson County Metro Govt -   5-N-1-DR   1               MAHMOUD        HINDI                 5779662032   10-12-201310:12:11     10-12-201310:21:06            535               8.92
HOJ
Jefferson County Metro Govt -   5-N-1-DR   1               MAHMOUD        HINDI                 5779662032   10-12-2013 09:55:38    10·12-201310:10:38            900                15.0
HOJ
Jefferson County Metro Govt -   5-N-1-DR   1               MAHMOUD        HINDI                 5779662032   10-10-201311:30:24     10-10-201311:45:23            899                14.98
HOJ
Jefferson County Metro Govt -   5·N-1-DR   1               MAHMOUD        HINDI                 5779662032   10-08-2013 12:27:47    10·08-2013 12:42:47           900                15.0
HOJ
Jefferson County Metro Govt -   5-N-1-DR   1               MAHMOUD        HINDI                 5779662032   10-08-2013 12:11 :48   10-08-2013 12:26:48           900                15.0
HOJ
Jefferson County Metro Govt -   5-N-1-DR   1               MAHMOUD        HINDI                 5779662032   10-08-201311:55:43     10-08-201312:10:43            900                15.0
HOJ
Jefferson County Metro Govt -   5-N-1-DR   1               MAHMOUD        HINDI                 5779662032   10-06-2013 08:50:47    10-06-2013 09:05:47           900                15.0
HOJ
Jefferson County Metro Govt -   5-N-1-DR   1               MAHMOUD        HINDI                 5779662032   10-06-2013 08:34:29    10-06-2013 08:49:29           900                15.0
 HOJ
Jefferson County Metro Govt -   5-N-1-DR   1               MAHMOUD        HINDI                 5779662032   10-05-2013 08:45:55    10-05-2013 09:00:55            900               15.0
 HOJ


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Jefferson County Metro Govt -       5-N-1-DR    1                -   MAHMOUD     HINDI              5779662032   10-05-2013 08:13:39    10-05-2013 08:28:39             900                15.0
HOJ
Jefferson County Metro Govt -       5-N-1-DR    1                    MAHMOUD     HINDI              5779662032   10-03-2013 09:53:15    10-03-2013 09:53:55             40                 0.67
HOJ




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Jefferson County Metro Govt -       JS-N-1-DR   11    I              I MAHMOUD   !HINDI             J5779662032 I 10-03-2013 09:44:09   I 10-03-2013 09:44:30          121                 J0.35
HOJ
Jefferson County Metro Govt -       JS-N-1-DR   11                   I MAHMOUD   !HINDI             15779662032 XXX-XX-XXXX 09:42:08    I 10-03-2013 09:43:03           155                I0.92
HOJ
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Jefferson County Metro Govt -       IS-N-1-DR   11                   I MAHMOUD   !HINDI             15779662032 XXX-XX-XXXX 09:25:58    XXX-XX-XXXX 09:40:58            1900               115.0
HOJ
Jefferson County Metro Govt -       \5-N-1-DR   11    1•     I       I MAHMOUD   !HINDI             15779662032 XXX-XX-XXXX 09:10:01    J10-03-2013 09:25:01            1900               115.0
HOJ
Jefferson County Metro Govt -       IS-N-1-DR   J1    I•             I MAHMOUD   !HINDI             15779662032 110-02-201310:27:06     I 10-02-2013 10:41:43           1877               114.62
l:!Q,1
Jefferson County Metro Govt -       5-N-1-DR     1                   MAHMOUD     HINDI              5779662032    10-02-201310:11:05     10-02-201310:26:05              900                15.0
HOJ
Jefferson County Metro Govt -       5-N-1-DR     1                   MAHMOUD     HINDI              5779662032    10-02-2013 09:55:06    10-02-2013 10:10:06             900                15.0
HOJ
Jefferson County Metro Govt -       \5-N-1-DR   11    I              JMAHMOUD    !HINDI             15779662032 XXX-XX-XXXX 09:36:23    I 10-02-2013 09:47:49           1686               I 11.43
HOJ
Jefferson County Metro Govt -       5-N-1-DR     1                   MAHMOUD     HINDI              5779662032 110-01-201319:28:24      I 10--01-2013 19:43:24          1900               115.0
HOJ
Jefferson County Metro Govt -       5-N-1-DR     1                   MAHMOUD     HINDI              5779662032    10-01-201319:12:29     10-01-201319:27:29              900                15.0
HOJ
Jefferson County Metro Govt -       5-N-1-0R     1                   MAHMOUD     HINDI              5779662032    10-01-201318:56:32     10-01-2013 19:11:32             900                15.0
HOJ
Jefferson County Metro Govt -       5-N-1-DR     1                   MAHMOUD     HINDI              5779662032    09-29-2013 09:34:37    09-29-2013 09:49:37             900                15.0
HOJ
Jefferson County Metro Govt -       15-N-1-DR   11    I              I MAHMOUD   IHINDI             15779662032 XXX-XX-XXXX 09:18:26    I 09-29-2013 09:33:26           1900               115.0
HOJ
Jefferson County Metro Govt-·       J5-N-1-DR   11    I              I MAHMOUD   !HINDI             15779662032 XXX-XX-XXXX 09:02:26    XXX-XX-XXXX 09:17:26            1900               115.0
HOJ
Jefferson County Metro Govt -        5-N-1-DR    1                   MAHMOUD      HINDI              5779662032 09-28-2013 12:27:15      09-28-2013 12:42:15             900                15.0
HOJ
Jefferson County Metro Govt -        5-N-1-DR    1                   MAHMOUD      HINDI              5779662032 09-28-2013 12:11 :16     09-28-2013 12:26:16             900                15.0
HOJ
Jefferson County Metro Govt -        5-N-1-DR    1                   MAHMOUD      HINDI              5779662032 09-28-2013 11 :55:20     09-28-2013 12:10:20             900                15.0
 HOJ
Jefferson County Metro Govt -        5-N-1-0R    1                   MAHMOUD      HINDI              5779662032 09-28-201311:39:11       09-28-2013 11:54:11             900                15.0
 HOJ
Jefferson County Metro Govt -        5-N-1-DR    1                    MAHMOUD     HINDI              5779662032 09-28-2013 11 :23:35     09-28-201311:38:16              881                14.68
 HOJ
Jefferson County Metro Govt -        5-N-1-DR    1                    MAHMOUD     HINDI              5779662032 09-27-2013 16:56:46      09-27-201317:11:46              900                15.0
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Jefferson County Metro Govt -        5-N-1-DR    1                    MAHMOUD     HINDI              5779662032 09-27-2013 16:40:48      09-27-201316:55:48              900                15.0
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 Jefferson County Metro Govt -       5-N-1-DR    1                    MAHMOUD     HINDI              5779662032 09-26-2013 13:18:21      09-26-201313:33:21              900                15.0
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Jefferson County Metro Govt -        5-N-1-DR     1                          MAHMOUD                HINDI                    5779662032 09-26-2013 11 :32:28         09-26-2013 11:41:31            543               9.05
HOJ
Jefferson County Metro Govt -        5-N-1-DR     1                          MAHMOUD                HINDI                    5779662032 09-26-2013 11:16:30          09-26-201311:31:30             900                15.0
HOJ
Jefferson County Metro Govt -        5-N-1-DR     1                          MAHMOUD                HINDI                    5779662032 09-25-201310:27:06           09-25-201310:41:37             871                14.52
!:!Q,!.
Jefferson County Metro Govt -        5-N-1-DR     1                          MAHMOUD                HINDI                    5779662032        09-25-2013 10:10:58   09-25-201310:25:58             900                15.0
HOJ
Jefferson County Metro Govt -        5-N-1-DR     1                          MAHMOUD                HINDI                    5779662032 09-25-2013 09:54:56          09-25-2013 10:09:56            900                15.0
HOJ
Jefferson County Metro Govt -        5-N-1-DR      1                         MAHMOUD                HINDI                     5779662032 09-25-2013 09:38:53         09-25-2013 09:53:53            900                15.0
HOJ
Jefferson County Metro Govt -        5-N-1-DR     1                          MAHMOUD                HINDI                     5779662032 09-24-2013 18:36:02         09-24-2013 18:45:26            564                9.4
HOJ




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Jefferson County Metro Govt -   5-N-1-DR   1               MAHMOUD       HINDI               ,5779662032 09-23-2013 18:33:26     09-23-2013 18:48:26            900               15.0
HOJ
Jefferson County Metro Govt -   5-N-1-DR   1               MAHMOUD       HINDI               5779662032 09-22-2013 10:35:09      09-22-201310:50:09             900               15.0
HOJ
Jefferson County Metro Govt -   5-N-1-DR   1               MAHMOUD       HINDI               5779662032 09-22-2013 10:19:12      09-22-201310:34:12             900               15.0
HOJ
Jefferson County Metro Govt -   5-N-1-DR   1               MAHMOUD        HINDI              5779662032 09-22-201310:03:13       09-22-2013 10:18:13            900               15.0
HOJ
Jefferson County Metro Govt -   5-N-1-DR   1               MAHMOUD        HINDI              5779662032 09-21-2013 11 :00:58     09-21-201311:15:38             880               14.67
HOJ
Jefferson County Metro Govt -   5-N-1-DR   1               MAHMOUD        HINDI              5779662032 09-21-2013 10:45:00      09-21-2013 11:00:00            900               15.0
HOJ
Jefferson County Metro Govt -   5-N-1-DR   1               MAHMOUD        HINDI              5779662032 09-21-2013 10:29:02      09-21-2013 10:44:02            900               15.0
HOJ
Jefferson County Metro Govt -   5-N-1-DR   1               MAHMOUD        HINDI               5779662032   09-21-2013 10:13:01   09-21-2013 10:28:01 .          900                15.0
HOJ
Jefferson County Metro Govt -   WALK 12ND 1                MAHMOUD        HINDI             . 5779662032   09-20-2013 16:08:38   09-20-201316:23:16             878                14.63
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12ND 1                MAHMOUD        HINDI               5779662032   09-19-2013 09:05:04   09-19-2013 09:20:04            900                15.0
CORR                            FL-2
Jefferson County Metro Govt-    WALK 12ND 1                MAHMOUD        HINDI               5779662032   09-19-2013 08:48:33   09-19-2013 09:03:33            900                15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12ND 1                MAHMOUD        HINDI               5779662032   09-19-2013 08:32:18   09-19-2013 08:47:18            900                15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12ND 1                MAHMOUD        HINDI               5779662032   09-19-2013 08:15:59   09-19-2013 08:30:59            900                15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK 1 2ND 1               MAHMOUD        HINDI               5779662032 09-18-2013 08:57:20     09-18-2013 09:09:59            759                12.65
CORR                            FL-2
Jefferson County Metro Govt -   WALK 1 2ND 1               MAHMOUD        HINDI               5779662032   09-18-2013 08:40:58   09-18-2013 08:55:58            900                15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12ND 1                MAHMOUD        HINDI               5779662032 09-18-2013 08:24:21     09-18-2013 08:39:21            900                15.0
CORR                       ·    FL-2


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Jefferson County Metro Govt -   WALK 1 2NO 1                              MAHMOUD               [HINDI                   [5779662032 [09-17-2013 09:13:13         [09-17-2013 09:28:13           [900              [ 15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK 1 2ND 1                              MAHMOUD                HINDI                   [5779662032 [09-17-2013 08:57:38         [09-17-2013 09:12:20           [882               [14.7
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12NO 1                               MAHMOUD                HINDI                   [5779662032 [09-17-2013 08:41:31         [09-17-2013 08:56:31           [900               [15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12ND 1                              [MAHMOUD               [HINDI                   [5779662032 [09-17-2013 08:25:36         [09-17-2013 08:40:36           [900               [15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12ND 1                               MAHMOUD                HINDI                    5779662032        09-17-2013 08:09:24   09-17-2013 08:24:24            [900               [ 15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK 1 2ND 1                              MAHMOUD                HINDI                    5779662032 09-16-2013 08:32:00          09-16-2013 08:39:55            [475               [7.92
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12ND[1                              [MAHMOUD               [HINDI                    [5779662032 [09-16-2013 08:15:55        [09-16-2013 08:30:55           [900               [ 15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK12ND(1                               (MAHMOUD               (HINDI                    (5779662032 (09-16-2013 07:59:47        (09-16-2013 08:14:47           (900               I15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12ND(1                              (MAHMOUD               (HINDI                    15779662032 (09-15-2013 10:42:16        (09-15-201310:57:04            1888               114.8
CORR                            FL-2
Jefferson County Metro Govt-    WALK 12ND(1                              \MAHMOUD               \HINDI                    \5779662032 \09-15-201310:26:07         \09-15-201310:41:07            1900               I 15.0
CORR                            FL-2
Jefferson County Metro Govt -   2-DAY        \1                          \MAHMOUD               \HINDI                    \5779662032 \09-15-2013 08:43:38        \09-15-2013 08:58:38           1900               [15.0
CORR                            ROOM
Jefferson County Metro Govt -   WALK    12ND[1                           [MAHMOUD               [HINDI                    [5779662032 [09-15-2013 08:34:31        [09-15-2013 08:38:58           [267               [4.45
CORR                            FL-2
Jefferson County Metro Govt -   WALK    12ND 1                            MAHMOUD                HINDI                    5779662032        09-15-2013 08:18:20    09-15-2013 08:33:20            900                15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK    12ND 1                            MAHMOUD                HINDI                     5779662032 09-15-2013 08:02:12          09-15-2013 08:17:12            900                15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK    12ND 1                            MAHMOUD                HINDI                     5779662032       09-14-2013 09:31:43   [09-14-2013 09:46:43           [900               I15.0
CORR                            FL-2




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             Total Files:33                Total Size:57.28 (MB)         Total Duratian(Sec):28412             Total Duration(Min):473.53




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Jefferson County Metro Govt -    WALK 12ND\1                  \MAHMOUD       \HINDI              \5779662032 \09-14-2013 08:08:24    \09-14-2013 08:23:24           \900               I 15.0
CORR                             FL-2
Jefferson County Metro Govt -    WALK 1 2ND 1                 MAHMOUD        HINDI               5779662032 09-13-2013 09:45:38      09-13-2013 10:00:20            1882               114.7
CORR                             FL-2
Jefferson County Metro Govt -    2-DAY      1                 MAHMOUD        HINDI               5779662032 09-13-2013 09:25:13      0.9-13-2013 09:40:13           1900               115.0
CORR                             ROOM
Jefferson County Metro Govt -    2-DAY      1                 MAHMOUD        HINDI               5779662032 09-13-2013 09:09:16      09-13-2013 09:24:16            1900               115.0
CORR                             ROOM
Jefferson County Metro Govt -    WALK12NDl1                   \MAHMOUD       \HINDI              \5779662032 \09-13-2013 08:37:01    \09-13-2013 08:40:13           1192               \3.2
CORR                             FL-2
Jefferson County Metro Govt -    WALK 12ND\1                  \MAHMOUD       \HINDI              15779662032 \09-13-2013 08:18:51    \09-13-2013 08:33:51           \900               I15.0
CORR                             FL-2
Jefferson County Metro Govt -    WALK12ND\1                   \MAHMOUD       \HINDI              \5779662032 \09-13-2013 08:02:35    \09-13-2013 08:17:35           \900               115.0
CORR                             FL-2
Jefferson County Metro Govt -    WALK 12ND\1                  \MAHMOUD       \HINDI              \5779662032 \09-12-2013 08:21:01    \09-12-2013 08:31:43           1642               \10.7
CORR                             FL-2
Jefferson County Metro Govt -    WALK 12ND\1                  \MAHMOUD       \HINDI              15779662032 \09-12-2013 08:04:50    \09-12-2013 08:19:50            \900              I15.0
CORR                             FL-2
Jefferson County Metro Govt -    WALK 12ND\1        I         !MAHMOUD       !HINDI              15779662032 XXX-XX-XXXX 07:48:37    XXX-XX-XXXX 08:03:37           1900               I15.0
CORR                             FL-2
Jefferson County Metro Govt -    WALK 12ND\1                  \MAHMOUD       \HINDI              15779662032 \09-11-2013 09:00:02    \09-11-2013 09:14:40            1878              114.63
CORR                             FL-2
Jefferson County Metro Govt -    WALK 12ND 1                  MAHMOUD         HINDI               5779662032 09-11-2013 08:43:51     09-11-2013 08:58:51              900               15.0
CORR                             FL-2
Jefferson County Metro Govt -    WALK 12ND 1                  MAHMOUD         HINDI               5779662032   09-11-2013 08:27:42   09-11-2013 08:42:42              900               15.0
CORR                             FL-2
;Jefferson County Metro Govt -   WALK 1 2ND 1                 MAHMOUD         HINDI               5779662032   09-11-2013 08:11:32   09-11-2013 08:26:32              900               15.0
CORR                             FL-2
Jefferson County Metro Govt -    WALK 12ND 1                   MAHMOUD        HINDI               5779662032   09-11-2013 07:54:52    09-11-2013 08:09:52             900                15.0
CORR                             FL-2
Jefferson County Metro Govt -    WALK 12ND 1                   MAHMOUD        HINDI               5779662032   09-10-2013 09:10:06   09-10-2013 09:25:06              900               15.0
CORR                             FL-2


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  CORR
            County Metro Govt-   WALK 1 2ND 1
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                                                      -    !MAHMOUD     !HINDI              15779662032 XXX-XX-XXXX 08:37:48    XXX-XX-XXXX 08:52:48           1soo              115.0

Jefferson County Metro Govt -    WALK 12ND 1               !MAHMOUD     !HINDI              15779662032 !09-10-2013 08:20:59    !os-10-2013 08:35:59           1900              I15.o
CORR                             FL-2
Jefferson County Metro Govt -    WALK 12NDl1               IMAHMOUD     !HINDI              15779662032 XXX-XX-XXXX 08:04:47    XXX-XX-XXXX 08:19:47           1900              115.0
CORR                             FL-2
Jefferson County Metro Govt -    WALK 12NDl1               IMAHMOUD     !HINDI              15779662032 XXX-XX-XXXX 12:35:15    109-09-201312:50:15            1900              115.0
CORR                             FL-2
Jefferson County Metro Govt -    WALK 1 2ND\1              \MAHMOUD     \HINDI              \5779662032 \09-09-201312:19:15     109-09-201312:34:15            l9oo              115.0
CORR                             FL-2
Jefferson County Metro Govt -    LP 115     1               MAHMOUD     !HINDI              15779662032 XXX-XX-XXXX 08:10:57    XXX-XX-XXXX 08:25:57           l9oo              I15.0
CORR
Jefferson County Metro Govt -
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CORR                             ROOM



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Jefferson County Metro Govt -    WALK 12ND    1             MAHMOUD      HINDI              5779662032 09-08-2013 08:32:12      09-08-2013 08:47:12             900               15.0
CORR                             FL-2
Jefferson County Metro Govt -    WALK 1 2ND   1             MAHMOUD      HINDI              5779662032    09-08-2013 08:16:01   09-08-2013 08:31:01             900               15.0


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CORR                             FL-2
Jefferson County Metro Govt -    WALK 1 2ND   1             MAHMOUD      HINDI              5779662032    09-08-2013 07:59:01   09-08-2013 08:14:01             900               15.0
CORR                             FL-2
Jefferson County Metro Govt -    WALK 12ND    1             MAHMOUD      HINDI              5779662032 09-07-2013 08:55:20       09-07-20·13 09:10:02          1882              114.7
CORR                             FL-2
Jefferson County Metro Govt -    WALK 12NDl1                IMAHMOUD     !HINDI             15779662032 XXX-XX-XXXX 08:38:33    XXX-XX-XXXX 08:53:33           1900              I15.0
CORR                             FL-2
Jefferson County Metro Govt -    WALK 12NDl1                IMAHMOUD     !HINDI             15779662032 XXX-XX-XXXX 08:22:24    XXX-XX-XXXX 08:37:24           l900              115.0
CORR                             FL-2
Jefferson County Metro Govt -    WALK 12NDl1                IMAHMOUD     !HINDI             15779662032 XXX-XX-XXXX 08:06:03    XXX-XX-XXXX 08:21:03           1900              115.0
CORR                             FL-2
Jefferson County Metro Govt -    LP 115       1             MAHMOUD      HINDI               5779662032   09-06-2013 15:53:34    09-06-2013 16:08:34            900               15.0
 CORR                                             I
Jefferson County Metro Govt -    LP 115       1             MAHMOUD      HINDI               5779662032   09-06-2013 15:37:16    09-06-201315:52:16             900                15.0
 CORR
Jefferson County Metro Govt -    WALK 12ND 1                MAHMOUD      HINDI               5779662032 09-06-2013 09:56:24      09-06-201310:11:00             876                14.6
 CORR                            FL-2
 Jefferson County Metro Govt -   WALK 1 2ND 1               MAHMOUD      HINDI               5779662032 09-06-2013 09:40:07      09-06-2013 09:55:07            900                15.0
 CORR                            FL-2
 Jefferson County Metro Govt -   WALK 1 2ND 1               MAHMOUD      HINDI               5779662032 09-06-2013 09:24:00      09-06-2013 09:39:00            900                15.0
 CORR                            FL-2
 Jefferson County Metro Govt -   2-DAY        1             MAHMOUD      HINDI               5779662032   09-06-2013 09:01:51    09-06-2013 09:04:45            174                2.9
 CORR                            ROOM




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 Jefferson County Metro Govt -   2-DAY        1             MAHMOUD      HINDI               5779662032   09-06-2013 08:42:22    09-06-2013 08:57:22            900                15.0
 CORR                            ROOM
 Jefferson County Metro Govt -   2-DAY        1             MAHMOUD      HINDI               5779662032   09-06-2013 08:23:39    09-06-2013 08:38:39            900                15.0
 CORR           .                ROOM
 Jefferson County Metro Govt -   WALK 1 2ND. 1              MAHMOUD       HINDI              5779662032 09-05-2013 09:09:53      09-05-2013 09:24:36            883                14.72
 CORR                            FL-2



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Jefferson County Metro Govt -        WALK 12NDl1                       IMAHMOUD               !HINDI                    15779662032 XXX-XX-XXXX 08:37:52   I09-05-2013 08:52:52           1900               I 15.0
CORR                                 FL-2
Jefferson County Metro Govt -        WALK 12NDl1                       !MAHMOUD               !HINDI                    15779662032 XXX-XX-XXXX 08:21:54   XXX-XX-XXXX 08:36:54           1900                I15.0
CORR                                 FL-2
:~efferson County Metro Govt-        WALK 12NDl1                       IMAHMOUD               !HINDI                    15779662032 XXX-XX-XXXX 08:38:39   XXX-XX-XXXX 08:53:39           1900                115.0
CORR                                 FL-2
;Jefferson County Metro Govt -       WALK 12ND!i                       IMAHMOUD               !HINDI                    15779662032 XXX-XX-XXXX 08:22:34   I09-04-2013 08:37:34            1900               115.0
CORR                                 FL-2
Jefferson County Metro Govt -        WALK 12NDl1                       IMAHMOUD               !HINDI                    15779662032 XXX-XX-XXXX 07:57:37   XXX-XX-XXXX 08:12:37            1900               115.0
CORR                                 FL-2
Jefferson County Metro Govt -        WALK 12NDl1               I       IMAHMOUD               !HINDI                    15779662032 XXX-XX-XXXX 13:18:51   XXX-XX-XXXX 13:33:51            1900               115.0
CORR                                 FL-2
Jefferson County Metro Govt -        LP 115      11                    IMAHMOUD               !HINDI                    15779662032 XXX-XX-XXXX 08:23:39   109.03.2013 08:38:39            1900               115.0
CORR




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Jefferson County Metro Govt -   WALK 12NDJ1                   I MAHMOUD       !HINDI              15779662032 IOS-02·2013 07:49:39     XXX-XX-XXXX 08:04:39           1900               115.0
CORR                            FL-2
Jefferson County Metro Govt -   2-DAY     11       I          IMAHMOUD        JHINDI              15779662032 109-01-201311:17:48      XXX-XX-XXXX 11:31:43           1835               113.92
CORR                            ROOM
Jefferson County Metro Govt -   LP 115    J1                  I MAHMOUD       !HINDI              15779662032 XXX-XX-XXXX 09:07:35     XXX-XX-XXXX 09:22:35           1900               I 15.0
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Jefferson County Metro Govt -   LP 115      1                 MAHMOUD         JHINDI              15779662032 Jo9,01-2013 08:51:37     109--01-2013 09:06:37          1900               I15.0
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Jefferson County Metro Govt -   LP 115      1                 MAHMOUD         JHINDI              l 5779662032 I09--01-2013 08:35:35   XXX-XX-XXXX 08:50:35           1900               115.0
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Jefferson County Metro Govt -   LP 115     11                 I MAHMOUD       !HINDI              15779662032 XXX-XX-XXXX 08:15:39     XXX-XX-XXXX 08:30:39           J900               I 15.0
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Jefferson County Metro Govt -   LP 115      11                I MAHMOUD       JHINDI              15779662032 XXX-XX-XXXX 09:18:38     XXX-XX-XXXX 09:33:38           1900               115.0
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Jefferson County Metro Govt -   LP 115      11                I MAHMOUD       !HINDI              15779662032 XXX-XX-XXXX 09:02:16     XXX-XX-XXXX 09:17:16           J9oo               115.0
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Jefferson County Metro Govt -   LP 115      11     I          IMAHMOUD        !HINDI              15779662032 XXX-XX-XXXX 08:45:27     XXX-XX-XXXX 09:00:27           l9oo               I 15.0
CORR
Jefferson County Metro Govt -   WALK 12NDJ1                   I MAHMOUD       !HINDI              15779662032 XXX-XX-XXXX 10:26:07     I08-30-2013 10:40:48           1881               114.68
CORR                            FL·2
Jefferson County Metro Govt -   WALK 12NDJ1                   I MAHMOUD       JHINDI              15779662032 Jo8-30-20131o:o9:53      106-30-201310:24:53            J9oo               115.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12NDl1                   IMAHMOUD        !HINDI              15779662032 XXX-XX-XXXX 09:57:45     106-29-201310:12:09            1664               114.4
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12NDl1                   I MAHMOUD       !HINDI              15779662032 106-29·2013 09:41:12     XXX-XX-XXXX 09:56:12           1900               I 15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12NDJ1                   JMAHMOUD        !HINDI              15779662032 XXX-XX-XXXX 09:23:42     106-29·2013 09:36:42           1900               I 15.0
CORR                            FL-2
Jefferson County Metro Govt -   LP 115    1                   MAHMOUD          HINDI               5779662032 08-26-2013 13:41:02       06-26-2013 13:56:02            900                15.0
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Jefferson County Metro Govt -   WALK 1 2NDl1                     I MAHMOUD   !HINDI             15779662032 XXX-XX-XXXX 07:58:21      XXX-XX-XXXX 08:13:21            1900              115.0
CORR                            FL-2
Jefferson County Metro Govt -   2-DAY        11                  !MAHMOUD    !HINDI             15779662032 XXX-XX-XXXX 18:29:37      [08-26-2013 18:44:37            [900              [15.0
CORR                            ROOM
Jefferson County Metro Govt -   2-DAY         1                  MAHMOUD     HINDI              5779662032 08-26-2013 18:13:29        08-26-2013 18:28:29             [900              115.0
CORR                            ROOM
Jefferson County Metro Govt -   WALK 12ND 1                      MAHMOUD     HINDI              5779662032    08-26-2013 14:41:48     08-26-2013 14:56:45             1897              114.95
CORR                            FL-2
Jefferson County Metro Govt -   LP 115       11                  !MAHMOUD    !HINDI             [5779662032 XXX-XX-XXXX 09:05:12      [08-25-2013 09:20:12            [900              I 15.0
CORR
Jefferson County Metro Govt -   LP 115       11      I           I MAHMOUD   !HINDI             15779662032 XXX-XX-XXXX 08:48:38      XXX-XX-XXXX 09:03:38            [900              I 15.0
CORR
Jefferson County Metro Govt -   [LP 115      I1      I           I MAHMOUD   !HINDI             15779662032 [08-25-2013 08:32:25      [08-25-2013 08:47:25            [900              [15.0
CORR
Jefferson County Metro Govt -   LP 115       11                  I MAHMOUD   !HINDI             15779662032 XXX-XX-XXXX 08:16:17      XXX-XX-XXXX 08:31:17            1900              I 15.0
CORR
Jefferson County Metro Govt -   LP 115       11                  I MAHMOUD   !HINDI             15779662032 XXX-XX-XXXX 11:38:31      108-24-201311:53:31             1900              I 15.0
CORR
Jefferson County Metro Govt -   ILP115       I1      li'1iilil   [MAHMOUD    [HINDI             [5779662032 [08-24-201311:22:42       I08-24-2013 11 :37:23           [881              114.68
CORR
Jefferson County Metro Govt -   ILP 115      [1                  [MAHMOUD    [HINDI             [5779662032 [08-24-2013 11:07:18      I08-24-2013 11 :21 :44          [866              [14.43
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Jefferson County Metro Govt -   [LP 115      11                  I MAHMOUD   [HINDI             [5779662032 [08-24-2013 10:51:10      [08-24-2013 11:06:10            [900              [15.0
CORR
Jefferson County Metro Govt -   WALK 1 2ND 1                     MAHMOUD     [HINDI             [5779662032 [08-23-2013 17:40:07      I08-23-2013 17:54:22            [855              114.25
CORR                            FL-1
Jefferson County Metro Govt -   WALK 12ND 1                      MAHMOUD     [HINDI             [5779662032 [08-23-201317:23:55       I08-23-2013 17:38:55            1900              I 15.o
CORR                            FL-1
Jefferson County Metro Govt -   LP 115       11                  I MAHMOUD   !HINDI             15779662032 108-22-201317:17:57       XXX-XX-XXXX 17:32:38            1881              114.68
CORR
Jefferson County Metro Govt -   LP 115       11                  I MAHMOUD   [HINDI             I 5779662032 I 08-22-2013 11:01 :27   [08-22-2013 17:16:27            [900              115.0
CORR
Jefferson County Metro Govt -   WALK 12ND[1                      [MAHMOUD    !HINDI             [5779662032 [08-22-2013 16:21'35      108-22-201316:36:03             [868              114.47
CORR                            FL-1
Jefferson County Metro Govt -    LP 115      11      I           I MAHMOUD   !HINDI             15779662032 XXX-XX-XXXX 15:03:21      XXX-XX-XXXX 15:18:21            1900              I 15.0
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Jefferson County Metro Govt -    LP 115       1                  MAHMOUD      HINDI              5779662032 08-21-2013 14:47:30        08-21-2013 15:02:00             870                14.5
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Jefferson County Metro Govt -    WALK 12ND 1                     MAHMOUD      HINDI              5779662032 08-20-2013 13:07:06        08-20-2013 13:09:16             130               2.17
CORR                             FL-1
Jefferson County Metro Govt -    WALK 1 2ND 1                     MAHMOUD     HINDI              5779662032    08-20-2013 12:42:32     08-20-2013 12:57:32             900                15.0
CORR                             FL-1
Jefferson County Metro Govt -    WALK 12ND 1                      MAHMOUD     HINDI              5779662032 08-20-2013 12:26:26        08-20-201312:41:26              900                15.0
CORR                             FL-1
Jefferson County Metro Govt -    WALK12ND 1                       MAHMOUD     HINDI              5779662032 08-20-2013 12:09:55        08-20-2013 12:24:55             900                15.0
CORR                             FL-1



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CORR                                  FL-2
Jefferson County Metro Govt~        f WALK 1 2ND                                          MAHMOUD                HINDI                       5779662032 [08-19-2013 10:43:59           08-19-201310:58:59             900               15.0
CORR                                  FL-2




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Jefferson County Metro Govt -   WALK 12ND 1                MAHMOUD          HINDI             5779662032 08-19-2013 10:12:24     08-19-2013 10:26:44              860                14.33
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12ND 1                MAHMOUD          HINDI             5779662032   08-19-2013 09:56:17   08-19-201310:11:17               900                15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK12NDl1       I         I MAHMOUD       !HINDI             15779662032 XXX-XX-XXXX 09:15:22   XXX-XX-XXXX 09:20:49            1327               15.45
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12NDl1                I MAHMOUD       !HINDI             15779662032 108-18-201318:05:19    XXX-XX-XXXX 18:20:19            1900               I 15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12ND 1                MAHMOUD          HINDI             5779662032 08-18-201311:43:05      08-18-201311:57:36               871                14.52
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12ND 1                MAHMOUD          HINDI             5779662032 08-18-201311:22:14      08-18-201311:31:43               569                9.48
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12NDl1                I MAHMOUD       IHINDI             15779662032 108-18-201311:10:52    108-18-201311:19:28             1516               18.6
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12NDl1                I MAHMOUD       !HINDI             15779662032 108-18-201310:54:49    I 00-18-2013 11 :09:49          1900               115.0
CORR                            FL-2
Jefferson County Metro Govt -   4 DORM 7A-   1             MAHMOUD          HINDI             5779662032 08-17-2013 20:43:38     08-17-2013 20:46:34               176               2.93
CORR                            2
Jefferson County Metro Govt -   WALK 12ND    1             MAHMOUD          HINDI             5779662032   08-17-2013 17:49:09   08-17-2013 18:04:09               900               15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12ND    1             MAHMOUD          HINDI             5779662032   08-17-201311:27:02    08-17-2013 11:41:36               874               14.57
CORR                            FL-2
Jefferson County Metro Govt -   WALK 1 2ND   1             MAHMOUD          HINDI             5779662032 08-17-201311:10:57      08-17-201311:25:57                900               15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12ND    1             MAHMOUD          HINDI             5779662032 08-17-2013 10:54:51     08-17-201311:09:51                900               15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12ND 1                MAHMOUD          HINDI             5779662032   08-17-201310:38:49    08-17-201310:53:35                886               14.77
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12ND 1                MAHMOUD          HINDI             5779662032   08-17-201310:22:43    08-17-201310:37:43                900               15.0
CORR                            FL-2
Jefferson County Metro Govt -   WALK 12ND 1                MAHMOUD          HINDI             5779662032 08-17-2013 10:06:33     08-17-2013 10:21:33               900               15.0
CORR                            FL-2


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  Jefferson County Metro Govt -           WALK 1 2ND 1                   I MAHMOUD    !HINDI                 15779662032 IOB-17-2013 09:34:19    XXX-XX-XXXX 09:49:19           1900               I 15.0
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  Jefferson County Metro Govt -           WALK 12ND 1                    I MAHMOUD    !HINDI                 15779662032 IOB-17-2013 09:18:11    loB-17-2013 09:33:11           1900               I 15.0
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  Jefferson County Metro Govt -           4 DORM 7A- l1                  I MAHMOUD    IHINDI                 15779662032 XXX-XX-XXXX 09:52:33    XXX-XX-XXXX 10:07:33            1900              115.0
  CORR                                    2
  Jefferson County Metro Govt -           4 DORM 7A- 1                   MAHMOUD      HINDI                  5779662032 08-16-2013 09:36:27      08-16-2013 09:51:27              900              115.0
  CORR                                    2
  Jefferson County Metro Govt -           4 DORM 7A- 1                   MAHMOUD      HINDI                  5779662032    08-15-2013 19:08:50   08-15-2013 19:19:05              615              110.25
  CORR                                    2
  Jefferson County Metro Govt -           4 DORM 7A- 1                   MAHMOUD      !HINDI                 15779662032 XXX-XX-XXXX 08:29:12    IOB-15-2013 08:44:12            (900              I 15.0
  CORR                                    2
  Jefferson County Metro Govt -           4 DORM 7A- 1                   MAHMOUD      (HINDI                 15779662032 (08-15-2013 08:13:09    (08-15-2013 08:28:09            1900              115.0
  CORR                                    2
  Jefferson County Metro Govt -           4DORM7A-l1                     I MAHMOUD    (HINDI                 (5779662032 (08-14-2013 18:52:24    Joa-14-2013 18:54:53            1149              12.48
  CORR                                    2
  Jefferson County Metro Govt -            4 DORM 7A- 11                 !MAHMOUD     (HINDI                 15779662032 (08-13-2013 20:37:50    I oa-13-2013 20:52:50           1900              115.0
  CORR                                     2
  Jefferson County Metro Govt -            4 DORM 7A- (1                 !MAHMOUD     !HINDI                 15779662032 (08-13-2013 09:51:27    (08-13-2013 10:06:27            1900              115.0
  CORR                                     2
  Jefferson County Metro Govt -            4DORM7A- J1                   !MAHMOUD     (HINDI                 15779662032 (08-12-2013 15:44:47    IOB-12-2013 15:59:47            1900              115.0
  CORR                                     2
  Jefferson County Metro Govt -            4 DORM 7A- J1                 I MAHMOUD    JHINDI                 15779662032 IOB-12-2013 15:28:41    JOB-12-2013 15:43:41            Jsoo              115.0
  CORR                                     2
  Jefferson County Metro Govt -            4 DORM 7A- l1                 JMAHMOUD     JHINDI                 15779662032 XXX-XX-XXXX 08:51:20    JOB-11-2013 09:06:18            Jass              114.97
  CORR                                     2
  Jefferson County Metro Govt -            4DORM7A-l1                    JMAHMOUD     JHINDI                 (5779662032 (08-11-2013 08:35:04    (08-11-2013 08:50:04            (900              115.0
  CORR                                     2
  Jefferson County Metro Govt -            4DORM7A-J1                    I MAHMOUD    JHINDI                 15779662032 JOB-11-2013 08:19:04    JOB-11-2013 08:34:04            lsoo              I 15.0
  CORR                                     2
  Jefferson County Metro Govt -            4 DORM 7A- l1                 !MAHMOUD     !HINDI                 15779662032 108-10-201316:49:34     108-10-201317:04:34             1900              I 15.0
  CORR                                     2
  Jefferson County Metro Govt -            4DORM7A-l1                    I MAHMOUD    JHINDI                 15779662032 JOB-10-2013 16:32:58    loB-10-201316:47:58             !900              I 15.0
  CORR                                     2
  Jefferson County Metro Govt -            400RM7A- J1                   I MAHMOUD    JHINDI                 15779662032 Joa-os-201311:10:53     I oa-09-2013 11 :25:39          1886              114.77
  CORR                                     2
  Jefferson County Metro Govt -            4 DORM 7A- 1                   MAHMOUD      HINDI                  5779662032 08-09-2013 10:54:45     IOB-09-201311:09:45             1900              115.0
  CORR                                     2
   Jefferson County Metro Govt -           4 DORM 7A- 1                   MAHMOUD      HINDI                  5779662032   08-09-2013 10:38:42   JOB-09-201310:53:42             1900              I 15.0
   CORR                                    2
   Jefferson County Metro Govt -           4 DORM 7A- 1                   MAHMOUD      HINDI                  5779662032   08-02-201310:10:42     08-02-2013 10:25:42             900                15.0
   CORR                                    2
  Jefferson County Metro Govt-             4 DORM 7A- 1                   MAHMOUD      HINDI                  5779662032 07-28-2013 09:00:47      07-28-201309:15:47              900                15.0
  CORR                                     2
   Jefferson County Metro Govt·            4 DORM 7A- J1                 \MAHMOUD     \HINDI                 15779662032 \07-28-2013 08:44:42    XXX-XX-XXXX 08:59:42            l9oo               115.0
   CORR                                    2
   Jefferson County Metro
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                                                                         IMAHMOUD     !HINDI                 15779662032107-23-2013 21:52:03     XXX-XX-XXXX 22:07:03            1900               115.0



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Jefferson County Metro Govt -           4 DORM 7A- 1                      MAHMOUD                HINDI                    5779662032 07-21-2013 08:04:35          07-21-2013 08:19:35           900               15.0
CORR                                    2
Jefferson County Metro Govt -           4 DORM 7A- 1                      MAHMOUD                HINDI                    5779662032        07-18-2013 18:36:20   07-18-201318:51:20            900               15.0
CORR                                    2
Jefferson County Metro Govt -           4 DORM 7A- 1                      MAHMOUD                HINDI                    5779662032        07-16-2013 18:10:47   07-16-201318:25:47            900               15.0
CORR                                    2
Jefferson County Metro Govt -           4 DORM 7A-   1                    MAHMOUD                HINDI                    5779662032        07-09-2013 22:34:17   07-09-2013 22:45:38           681               11.35
CORR                                    2
Jefferson County Metro Govt -           4 DORM 7A-   1                    MAHMOUD                HINDI                    5779662032        07-08-2013 16:39:57   07-08-201316:54:31            874               14.57
CORR                                    2
Jefferson County Metro Govt -           4 DORM 7A-   1                    MAHMOUD                HINDI                    5779662032        07-08-2013 16:23:28   07-08-201316:38:28            900               15.0
CORR                                    2
Jefferson County Metro Govt -           4 DORM 7A-   1                    MAHMOUD                HINDI                    5779662032        07-05-2013 10:57:51   07-05-201311:00:33            162               2.7
CORR                                    2




                                                                                                     Print Summary:
               Total Flles:50                    Total Size:83.43:(MB)   Totar Duration(Sec):40844             Total Duration(Min):680.73




 ~ecords   Summary Report                                                                                Paga; 3                                                                Report Generated on: 11/1112013 13:05:18 Central nme


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Jefferson County Metro Govt -    4DORM7A-11                 IMAHMOUD        !HINDI             I5779662032 I06-29-2013 22:17:09     I06-29-2013 22:32:09          1900                  115.0
CORR                             2
Jefferson County Metro Govt -    4DORM7A- l1                IMAHMOUD        !HINDI              15779662032 106-28-201310:54:11     106-28-201311:01:15           1424                  17.07
CORR                             2
Jefferson County Metro Govt -    4 DORM 7A- l1     I        IMAHMOUD        !HINDI              15779662032 106-26-201310:36:21     106-26-201310:51:21           1900                  I15.0
CORR                             2
Jefferson County Metro Govt -    4 DORM 7A-    1             MAHMOUD        HIN.DI              I5779662032 I06-25-2013 22:01 :23   I06-25-2013 22:16:23          1900                  I15.0
CORR                             2
Jefferson County Metro Govt -    4 DORM 7A-    1             MAHMOUD        HINDI               15779662032 XXX-XX-XXXX 22:17:07    I06-22-2013 22:32:07          1900                  115.0
CORR                             1
Jefferson County Metro Govt -    4DORM7A-     J1            IMAHMOUD        !HINDI              15779662032 XXX-XX-XXXX 18:38:51    XXX-XX-XXXX 18:53:51          1900                  I 15.0
CORR                             2
Jefferson County Metro Govt -    4 DORM 7A-   11            IMAHMOUD        !HINDI              15779662032 XXX-XX-XXXX 18:22:24    106-20-201318:37:24           1900                  I15.0
CORR                             2
Jefferson County Metro Govt -    4 DORM 7A- 1                MAHMOUD         HINDI              5779662032 06-18-2013 20:15:53      06-18-2013 20:30:53            900                    15.0
CORR                             2
Jefferson County Metro Govt -    4 DORM 7A- 1                MAHMOUD         HINDI              5779662032 06-15-2013 21:39:31      06-15-2013 21:54:31            900                    15.0
CORR                             2
Jefferson County Metro Govt -    4DORM7A- l1       I        IMAHMOUD        !HINDI              15779662032 XXX-XX-XXXX 20:49:16    XXX-XX-XXXX 21:04:16          1900                  I15.0
:ORR                             2
Jefferson County Metro Govt -    4 DORM 7A- l1              I MAHMOUD       !HINDI              15779662032 XXX-XX-XXXX 20:33:17    I06-13-2013 20:48:04          1887                   114.78
:ORR                             2
Jefferson County Metro Govt -    4DORM7A-11                 IMAHMOUD        !HINDI              15779662032 XXX-XX-XXXX 20:37:56    I06-11-2013 20:52:56          1900                   I15.0
:oRR                             2
Jefferson County Metro Govt -    4 DORM 7A-    1             MAHMOUD         HINDI              5779662032    06-11-2013 20:21:28   06-11-2013 20:36:28            900                    15.0
:ORR                             2
 lefferson County Metro Govt -   4 DORM 7A-    1             MAHMOUD         HINDI              5779662032    06-10-201315:50:41    06-10-2013 16:05:15            874                    14.57
 :ORR                            2
 lefferson County Metro Govt -   4 DORM 7A-    1             MAHMOUD         HINDI               5779662032 06-07-2013 10:31 :37    06-07-2013 10:46:37            900                    15.0
 :ORR                            2
 lefferson County Metro Govt -   4 DORM 7A-    1             MAHMOUD         HINDI               5779662032 06-04-2013 22:45:02     06--04-2013 23:00:02           900                    15.0
 :ORR                            2


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Jefferson County Metro Govt -     4 DORM 7A-   1              MAHMOUD     HINDI              5779662032 06-02-2013 08:42:58       06-02-2013 08:57:58              900               / 15.0
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A-   1              MAHMOUD     HINDI              5779662032 06-02-2013 08:26:55       06-02-2013 08:41 :55             900               /15.0
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A-   1              MAHMOUD     HINDI              /5779662032 /05-30-2013 19:31:51     /05-30-201319:46:51             /900               I15.0
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A-   1              MAHMOUD     /HINDI             /5779662032 /05-30-201319:14:22      I05-30-2013 10:20:22            /900               /15.0
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A-   1              MAHMOUD     /HINDI             / 5779662032 /05-28-2013 21 :14:14   /05-28-2013 21:29:14            /900               / 15.0
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A-   1              MAHMOUD     /HINDI             /5779662032 /05-24-2013 09:51:20     /05-24-201310:06:20             /900               /15.0
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A- /1              /MAHMOUD     /HINDI             /5779662032 /05-21-2013 21:04:24     /05-21-2013 21:19:24            /900               I15.0
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A- /1    I         /MAHMOUD     /HINDI             /5779662032 /05-19-2013 08:42:37     /05-19-2013 08:57:37            /900               115.0
CORR                              2
Jefferson County Metro Govt -     4DORM7A- /1                /MAHMOUD     /HINDI             /5779662032 /05-16-2013 18:24:25     /05-16-2013 18:39:25            1000               /15.0
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A- /1    JS        /MAHMOUD     /HINDI             /5779662032 /05-14-2013 22:24:57     /05-14-2013 22:39:57            /900               /15.0
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A- /1              /MAHMOUD     /HINDI             /5779662032 /05-10-2013 09:43:36     /05-10-2013 09:58:36            /900               I15.0
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A- /1              /MAHMOUD     /HINDI             /5779662032 /05-08-201310:17:08      /05-08-201310:32:08             /900               115.0
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A- 1                MAHMOUD      HINDI             / 5779662032 I05-06-2013 17:04:17    /05-06-2013 17:18:54            /877               /14.62
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A- 1                MAHMOUD      HINDI             /5779662032 /05-04-2013 15:40:00     /05-04-2013 15:55:00            /900             . / 15.0
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A- /1              /MAHMOUD     /HINDI             /5779662032 /05-01-2013 12:58:42     /05--01-201313:13:42            /900               I 15.0
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A- /1              /MAHMOUD     /HINDI             /5779662032 /04-28-2013 07:46:24     /04-28-2013 08:01:24            /900                / 15.0
CORR                              2
Jefferson Co1:1nty Metro Govt -   4DORM7A-/1                 !MAHMOUD     !HINDI             15779662032 XXX-XX-XXXX 20:39:34     I04-25-2013 20:54:34            !900               I 15.0
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A- !1              !MAHMOUD     !HINDI             /5779662032 XXX-XX-XXXX 20:26:16     XXX-XX-XXXX 20:41 :16           /900               115.0
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A- /1              /MAHMOUD     /HINDI             /5779662032 /04-20-201316:02:00      /04-20-201316:17:00             /900                /15.0
CORR                              2
Jefferson County Metro Govt -     4DORM7A-/1                 !MAHMOUD     /HINDI             15779662032 104-18-201317:38:47      XXX-XX-XXXX 17:53:47            /900                / 15.0
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A- 11              !MAHMOUD     !HINDI             15779662032 XXX-XX-XXXX 22:04:51     /04-16-2013 22:19:37            !886                /14.77
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A- 1                MAHMOUD      HINDI              5779662032 04-14-2013 14:08:22       04-14-2013 14:23:20             898                 14.97
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A- 1                MAHMOUD      HINDI              5779662032   04-12-2013 17:48:06     04-12-201318:02:49              883                 14.72
CORR                              2
Jefferson County Metro Govt -     4 DORM 7A- 1                MAHMOUD      HINDI              5779662032   04-09-2013 12:47:30     04-09-201313:02:30              900                 15.0
CORR                              2


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Jefferson County Metro Govt -    4 DORM 7A- l1                    \MAHMOUD               \HINDI                    I5779662032 I04-04-2013 10:46:48   \04-04-201311:01 :48          \900               115.0
CORR                             2
Jefferson County Metro Govt -    4 DORM 7A- 11            I       I MAHMOUD              \HINDI                    15779662032 XXX-XX-XXXX 22:07:56   \04-01-2013 22:12:24          1268               14.47
CORR                             2
Jefferson County Metro Govt -    4DORM7A-\1                       IMAHMOUD               \HINDI                    15779662032 103-31-201314:32:28    !03-31-2013 14:47:28          !900               I 15.0
CORR                             2
Jefferson County Metro Govt -    4 DORM 7A- !1                    !MAHMOUD               \HINDI                    15779662032 \03-28-201310:58:33    103-28-201311:13:33           1900               I15.0
CORR                             2
Jefferson County Metro Govt -    4 DORM 7A- 11                    !MAHMOUD               !HINDI                    15779662032 XXX-XX-XXXX 11:57:11   \03-26-201312:12:11            1900              115.0
CORR                             2




                                                                                              Print Summary:
            Total Files:48                Total Size:85.25 (MB)   Total Duration(Sec):41997             Total Duration(Min):699.95




Records Summary Report                                                                            Page: 3                                                            Report Generated on; 1111312013 06:36:17 Central Time



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Jefferson County Metro Govt -    4 DORM 7A· 11                  IMAHMOUD       !HINDI             15779662032 XXX-XX-XXXX 08:11:01     103·23-2013 08:26:01          1900              I 15.0
CORR                             2
Jefferson County Metro Govt -    WALK 3 2NDl1      l!ilillili   IMAHMOUD       !HINDI             15779662032 XXX-XX-XXXX 19:43:15     103·21-2013 19:57:03           1628              I13.8
CORR                             FL
Jefferson County Metro Govt -    2-DAY   11                     IMAHMOUD       /HINDI             15779662032 XXX-XX-XXXX 18:46:24     XXX-XX-XXXX 19:01:24          1900               I15.0
CORR                             ROOM
Jefferson County Metro Govt -    WALK32ND 1                     MAHMOUD        HINDI               5779662032 03-18-2013 18:02:13      03·18-201318:16:58              885               14.75
CORR                             FL
Jefferson County Metro Govt -    2-DAY       1                  MAHMOUD        HINDI               5779662032 03-16-2013 10:45:37      03·16·201311:00:37              900               15.0
CORR                             ROOM
Jefferson County Metro Govt -    2-DAY       1                  MAHMOUD        HINDI               5779662032 03-15-2013 15:37:03      03·15-201315:52:00              897               14.95
CORR                             ROOM
Jefferson County Metro ·Govt -   WALK32ND    1                  MAHMOUD        HINDI               5779662032 03-14-2013 17:29:59      03·14-201317:44:59              900               15.0
CORR                             FL
Jefferson County Metro Govt -    WALK32ND    1                  MAHMOUD        HINDI               5779662032 03·13·2013 17:24:12      03·13-2013 17:36:55             763               12.72
CORR                             FL
Jefferson County Metro Govt -    2-DAY       1                  MAHMOUD        HINDI               5779662032 03-12·2013 19:32:55      03-12-201319:47:55              900               15.0
CORR                             ROOM
Jefferson County Metro Govt -    2-DAY       1                  MAHMOUD        HINDI               5779662032   03-10-2013 10:50:57    03-10-201311:05:18              861               14.35
 :oRR                            ROOM
 Jefferson County Metro Govt -   2-DAY    1                     MAHMOUD         HINDI              5779662032   03-()9-2013 09:12:10    03-09-2013 09:27:10            900               15.0
 :oRR                            ROOM
 Jefferson County Metro Govt -   2-DAY    1                     MAHMOUD         HINDI              5779662032   03-08-201312:03:35      03-08-201312:18:08             873               14.55
 :ORR                            ROOM
 Jefferson County Metro Govt -   WALK32ND 1                     MAHMOUD         HINDI              5779662032   03-07·2013 17:54:05     03-07-201318:09:05             900               15.0
 ;ORR                            FL
 lefferson County Metro Govt -   5·N·1·DR    1                  MAHMOUD         HINDI              5779662032 03-02-2013 08:09:12       03-02-2013 08:24:12            900               15.0
 iOJ
 lefferson County Metro Govt -   5-N·1-DR    1                  MAHMOUD        HINDI               5779662032 03-02-2013 08:03:36       03-02-2013 08:08:13            277               4.62
 iOJ
 lefferson County Metro Govt -   5-N-1-DR    1                  MAHMOUD         HINDI              5779662032 03-01-2013 12:36:22       03-01-201312:51:22             900               15.0
  iOJ


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Jefferson County Metro Govt -           5-N-1-DR       1              MAHMOUD      HINDI              5779662032 02-27-2013 18:36:57     02-27-201318:51:57            900                15.0
HOJ
Jefferson County Metro Govt -           5-N-1-DR       1              MAHMOUD      HINDI              5779662032 02-26-2013 18:53:59     02-26-2013 19:03:28           569                9.48
HOJ
Jefferson County Metro Govt -           5-N-1-DR       1              MAHMOUD      HINDI              5779662032 02-26-201318:37:54      02-26-20131S:52:54            900                15.0
HOJ
Jefferson County Metro         Govt -   5-N-1-DR       1              MAHMOUD      HINDI              5779662032 02-24-2013 OS:31 :52    02-24-2013 OS:46:3S           SS6                14.77
HOJ
Jefferson County Metro         Govt -   5-N-1-DR       1              MAHMOUD      HINDI              5779662032   02-24-2013 OS:15:45   02-24-2013 OS:30:45           900                15.0
HOJ
Jefferson County Metro         Govt -   5-N-1-DR       1              MAHMOUD      HINDI              5779662032 02-20-20131S:57:46      02-20-2013 19:09:56           730                12.17
HOJ
Jefferson County Metro         Govt -   5-N-1-DR       1              MAHMOUD      HINDI              5779662032 02-1S-2013 17:17:22     02-18-2013 17:32:02           8SO                14.67
HOJ
Jefferson County Metro Govt -           5-N-1-DR       1              MAHMOUD      HINDI              5779662032   02-15-201312:06:48    02-15-201312:1S:30             702               11.7
HOJ
Jefferson County Metro Govt -           5-N-1-DR       1              MAHMOUD      HINDI              5779662032 02-12-201319:03:07      02-12-201319:1S:05             S9S               14.97
HOJ
Jefferson County Metro Govt -           5-N-1-DR       1              MAHMOUD      HINDI              5779662032 02-11-201316:43:20      02-11-2013 16:57:54            874               14.57
HOJ
Jefferson County Metro Govt -           5th Fl.        1              MAHMOUD      HINDI              5779662032   02-09-2013 09:57:43   02-09-2013 10:12:09            S66               14.43
HOJ                                     DORM9
Jefferson County Metro Govt -           WALK12ND 1                    MAHMOUD      HINDI              5779662032 02-07-2013 17:44:25     02-07-201317:55:39             674               11.23
CORR                                    FL-2
Jefferson County Metro Govt -           LP 115         1              MAHMOUD      HINDI              5779662032 02-03-2013 OS:39:49     02-03-2013 OS:54:49            900               15.0
CORR
Jefferson County Metro Govt -           2-DAY          1              MAHMOUD      HINDI              5779662032   02-01-2013 10:41:05   02-01-201310:56:05             900               15.0
CORR                                    ROOM
Jefferson County Metro Govt -           2DORM9         1              MAHMOUD      HINDI              5779662032   01-2S-2013 17:17:41   01-2S-201317:29:04             683               11.3S
CORR
Jefferson County Metro Govt -           2 DORMS        1              MAHMOUD      HINDI              5779662032 01-26-2013 15:36:57     01-26-2013 15:50:15            798               13.3
CORR
Jefferson County Metro Govt -           2 DORMS        1              MAHMOUD      HINDI              5779662032   01-25-2013 10:33:1S   01-25-2013 10:4S:1S            900               15.0
CORR
Jefferson County Metro Govt -           2DORM8         1              MAHMOUD      HINDI              5779662032 01-23-201311:32:2S      01-23-201311:47:1S             890               14.S3
CORR
Jefferson County Metro Govt -           2DORM9         1              MAHMOUD      HINDI              5779662032 01-22-2013 09:42:45     01-22-2013 09:57:34            SS9                14.S2
CORR
Jefferson County Metro Govt -           2 DORM9        1              MAHMOUD      HINDI              5779662032   01-21-201310:21:23    01-21-201310:36:23             900                15.0
CORR
 Jefferson County Metro Govt -          2DORM9         1              MAHMOUD      HINDI              5779662032 01-20-2013 10:43:2S     01-20-2013 10:5S:28            900                15.0
 X>RR
 Jefferson County Metro Govt -          2 DORMS        1              MAHMOUD      HINDI              5779662032   01-19-201310:02:56    01-19-2013 10:16:49            S33                13.S8
 ~ORR

 lefferson County Metro Govt -          2 DORM9        1              MAHMOUD      HINDI              5779662032 01-18..2013 09:36:34    01-18-2013 09:49:53            799                13.32
 ~RR
 lefferson County Metro Govt -          2DORM9         1              MAHMOUD      HINDI              5779662032 01-16..2013 14:27:45    01-16-2013 14:42:45            900                15.0
 :oRR



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Jefferson County Metro Govt -     12 DORM 9    11            I                   IMAHMOUD               !HINDI                    15779662032 101-12-201310:10:03    XXX-XX-XXXX 10:25:01           1898              114.97
CORR

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Jefferson County Metro Govt -     2DORM9        1                                 MAHMOUD                HINDI                     5779662032 01-11-2013 11:46:09    01-11-201311:56:44             1635              110.58
CORR
Jefferson County Metro Govt -     2 DORM9       1                                 MAHMOUD                HINDI                     5779662032 01-10-2013 09:36:02    01-10-2013 09:44:22            l5oo              18.33
~
Jefferson County Metro Govt -     l2DORM9      11            I                   IMAHMOUD               !HINDI                    15779662032 XXX-XX-XXXX 09:30:02   XXX-XX-XXXX 09:37:17           1435              17.25
CORR
Jefferson County Metro Govt -     l2DORM9      11             liiiiiliiiili II   IMAHMOUD               !HINDI                    15779662032 XXX-XX-XXXX 13:48:31   XXX-XX-XXXX 13:59:00           1629              110.48
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Jefferson County Metro Govt -     l2DORM9       11            iliilillillil      IMAHMOUD               !HINDI                    15779662032 \01-06-201311:02:19    101-06-201311:10:34            1495              18.25
CORR
Jefferson County Metro Govt -     12 DORM 9     11                               IMAHMOUD               !HINDI                    15779662032 I01-05-2013 11:39:43   \01-05-201311:54:08            1865              114.42
CORR




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                Total Files:50                Total Slze:82.75 (MB)              Total Ouration(Sec):40448             Tatar Duratian(Min):674.-13
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                                                                 Jefferson County, KY
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Jefferson County Metro Govt -     2DORM9       1                MAHMOUD       HINDI                 5779662032 01-04-2013 09:12:18     01-04-2013 09:27:18            900               15.0
CORR
Jefferson County Metro Govt -     WALK 1 2ND 1                  MAHMOUD       HINDI                 5779662032 01-03-2013 17:06:30     01-03-2013 17:17:37            667               11.12
CORR                              FL-1
Jefferson County Metro Govt -     WALK 12ND 1                   MAHMOUD       HINDI                 5779662032   01-02-201317:15:38    01-02-2013 17:27:32            714               11.9
CORR                              FL-1
Jefferson County Metro Govt -     2-DAY        1                MAHMOUD       HINDI                 5779662032   01-01-201319:30:11    01-01-201319:40:27             616               10.27
CORR                              ROOM
Jefferson County Metro Govt -     WALK 12ND 1                   MAHMOUD        HINDI                5779662032 01-01-2013 17:54:26     01-01-201318:07:41             795               13.25
CORR                              FL-1
Jefferson County Metro Govt -     3 DORM 8-2   1                MAHMOUD       HINDI                 5779662032   12-31-2012 08:54:33   12-31-2012 08:57:28            175               2.92
CORR
Jefferson County Metro Govt -     3 DORM8-2 1                   MAHMOUD        HINDI                5779662032   12-30-2012 10:23:04   12-30-201210:37:49             885               14.75
CORR
Jefferson County Metro Govt -     3 DORM 8-2   1                MAHMOUD        HINDI                5779662032   12-29-201211:11:59    12-29-201211:26:59             900               15.0
CORR
Jefferson County Metro Govt -     3 DORM 8-2   1                MAHMOUD        HINDI                5779662032   12-28-2012 09:08:40   12-28-2012 09:23:40            900               15.0
CORR
Jefferson County Metro Govt -     3 DORM 8-2   1                MAHMOUD        HINDI                5779662032   12-27-2012 14:17:32   12-27-201214:22:21             289               4.82
CORR
Jefferson County Metro Govt -     3 DORM 8-2   1                MAHMOUD        HINDI                5779662032   12-27-2012 14:01:25   12-27-201214:16:25             900                15.0
CORR                          .
Jefferson County Metro Govt -     3 DORM 8-2   1                MAHMOUD        HINDI                5779662032   12-26-2012 10:37:58   12-26-201210:41:53             235                3.92
CORR
Jefferson County Metro Govt -     3 DORM8-2 1                   MAHMOUD        HINDI                5779662032   12-26-2012 10:06:01   12-26-201210:21:01             900                15.0
CORR
Jefferson County Metro Govt -     3 DORM 8-2   1                MAHMOUD        HINDI                5779662032   12-25-2012 09:22:54   12-25-2012 09:28:37            343                5.72
CORR
Jefferson County Metro Govt -     3 DORM 8-2   1                MAHMOUD        HINDI                5779662032   12-25-2012 09:07:09   12-25-2012 09:21:46            877                14.62
CORR
Jefferson County Metro Govt -     3 DORM8-2 1                   MAHMOUD        HINDI                5779662032   12-23-201211:37:31    12-23-201211:46:45             554                9.23
CORR


~econ:ts   Summary Report                                                              Page; 1                                                       Report Generated on: 1111412013 11:28:28 Central Time


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Jefferson County Metro Govt -
CORR
Jefferson County Metro Govt -   3 DORM 8-2   1              MAHMOUD      HINDI              5779662032   12-21-2012 10:02:41     12-21-201210:17:41              900                15.0
CORR
Jefferson County Metro Govt -   3 DORM 8-2   1              MAHMOUD      HINDI              5779662032   12-19-201210:47:45      12-19-2012 11 :02:45            900                15.0
CORR
Jefferson County Metro Govt -   3 DORM 8-2   1              MAHMOUD      HINDI              5779662032   12-17-2012 10:25:46     12-17-201210:40:21              875                14.58
CORR
Jefferson County Metro Govt -   3 DORM 8-2   1              MAHMOUD      HINDI              5779662032   12-16-2012 09:41:01     12-16-2012 09:56:01             900                15.0
CORR
Jefferson County Metro Govt -   3 DORM 8-2   1              MAHMOUD      HINDI              5779662032   12-14-2012 11 :21 :22   12-14-201211:36:08              886                14.77
CORR
Jefferson County Metro Govt -   3 DORM 8-2   1              MAHMOUD      HINDI              5779662032   12-13-2012 11:17:12     12-13-201211:32:12              900                15.0
CORR
Jefferson County Metro Govt -   3 DORM 8-2   1              MAHMOUD      HINDI              5779662032   12-11-2012 12:02:07     12-11-201212:17:07              900                15.0
CORR
Jefferson County Metro Govt -   3 DORM 8-1   1              MAHMOUD      HINDI              5779662032   12-10-2012 22:08:46     12-10-2012 22:10:08             82                 1.37
CORR
Jefferson County Metro Govt -   3 DORM 8-1   1              MAHMOUD      HINDI              5779662032   12-10-2012 20:18:47     12-10-2012 20:20:16             89                 1.48
CORR
Jefferson County Metro Govt -   3 DORM8-1    1              MAHMOUD      HINDI              5779662032   12-10-201215:55:31      12-10-2012 15:56:52             81                 1.35
CORR
Jefferson County Metro Govt -   3 DORM 8-2   1              MAHMOUD      HINDI              5779662032   12-09-2012 21 :38:50    12-09-2012 21:52:12             802                13.37
CORR
Jefferson County Metro Govt -   3 DORM 8-1   1              MAHMOUD      HINDI              5779662032   12-08-201218:20:02      12-08-2012 18:21 :26            84                 1.4
CORR
Jefferson County Metro Govt -   3 DORM 8-2   1              MAHMOUD      HINDI              5779662032   12-08-2012 09:53:05     12-08-2012 10:08:05             900                15.0
CORR
Jefferson County Metro Govt -   3 DORM 8-2   1              MAHMOUD      HINDI              5779662032   12-06-2012 08:54:29     12-06-2012 09:09:12             883                14.72
CORR
Jefferson County Metro Govt -   3 DORM 8-1   1              MAHMOUD      HINDI              5779662032   12-05-2012 20:52:49     12-05-2012 20:54:10             81                 1.31i
CORR
Jefferson County Metro Govt -   3 DORM 8-1   1              MAHMOUD      HINDI              5779662032   12-05-2012 10:59:41     12-05-201211:05:43              362                6.03
CORR
Jefferson County Metro Govt -   3 DORM8-2 1                 MAHMOUD      HINDI              5779662032   12-04-2012 21 :20:45    12-04-2012 21:35:43             898                14.97
CORR
Jefferson County Metro Govt -   3 DORM 8-2   1              MAHMOUD      HINDI              5779662032   12-04-201214:37:41      12-04-2012 14:38:30             49                 0.82
CORR
Jefferson County Metro Govt -   3 DORM 8-2   1              MAHMOUD      HINDI              5779662032   12-02-2012 17:51:12     12-02-2012 18:00:30             558                9.3
CORR
Jefferson County Metro Govt -   3 DORM 8-2   1              MAHMOUD      HINDI              5779662032   11-29-201216:07:29      11-29-201216:20:51              802                13.37
CORR
Jefferson County Metro Govt -   3 DORM8·2 1                 MAHMOUD      HINDI              5779662032   11-27-201212:14:58      11-27-2012 12:25:17              619               10.32
CORR
Jefferson County Metro Govt -   3 DORM 8-2   1              MAHMOUD      HINDI              5779662032   11-25-201216:34:46      11-25-2012 16:42:05             439                7.32
CORR
Jefferson County Metro Govt -   3 DORM 8-2   1              MAHMOUD      HINDI              5779662032   11-25-2012 16:30:35     11-25-2012 16:33:42              187               3.12
CORR
Jefferson County Metro Govt -   3 DORM 8-2 1                MAHMOUD      HINDI              5779662032   11-22-201214:39:27      11-22-2012 14:54:27              900               15.0
 CORR



 Records Summary Report                                                          Page: 2                                                        Report Generated on: 11/1412013 11 :28:28 Central Time


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Jefferson County Metro Govt -   3 DORM8-2 1                       MAHMOUD                HINDI                    5779662032        11-20-2012 09:32:26   XXX-XX-XXXX 09'47:18          1892               114.87
CORR
Jefferson County Metro Govt -   3 DORM 8-2   1                    MAHMOUD                HINDI                    5779662032        11-18-201214:39,55    111-18-201214:52:56            1781              113.02
CORR
Jefferson County Metro Govt ~   3 DORM 8-2 11                    I MAHMOUD              \HINDI                    15779662032 111-16-201211:59:23         I 11-16-2012 12:14:23         1900               I 15.0
CORR



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             Total Flles:46              Total Size:61.43 (MB)   Total Duration(Sec):29697             Total Duration(Min):494.95




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             Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 204 of 625 PageID #:
                                                  1196

       Eggers, Arthur


(
    --~From:                        Hornback, Christopher A
        lent:                       Saturday, October 19, 2013 10:35 PM
       To:                          Gilbert, Steven E; Fugate, Allan; Dejarnette, Randall; Hogan, Michael
       Cc:                          Eggers, Arthur; Joyner, Gregory; Heacock, David; Madison, Lorna Y; Metro Corrections -
                                    Senior Staff; Metro Corrections Sergeants
       Subject:                     10-19-2013 051051                   .
       Attachments:                 10-19-2013 051051.docx


       At 1559, 10-19-2013. I Sgt. C. Hornback #333, observed Officer D. Ramsey run into the control room. He grabbed the
       knife for life, reported that inmate Hindi, Mahmoud cin#00577966 who is housed on HOJ 5-East North One, cell#3 was
       trying to hurt his self and was hanging from the cell bars. I and Ofc. D. Ramsey immediately responded to inmate Hindi's
       cell. I contacted Lt. Gilbert by radio to report the incident and for him to respond. Upon arrival at 1600 I observed
       inmate Hindi lying on his back with his head towards the cell door, with Ofc. G. Sanders and Ofc. R. Skaggs checking
       inmate Hindi for signs of life and attempting to revive him. The knife for life was not used because ~e had .already been
       removed from the sheet that he used to make a homemade noose. It was still attached to the bars. Nurse A. Malone
       was on the floor at the time, I advised control to have medical to respond, but did not transmit due to other radio traffic.
       I then ran back to the control room and had Nurse Malone respond to the scene and advised Ofc. Bullard in control to
       call for additional medical personnel to respond. I then returned to the scene with Nurse Malone. Nurse Malone
       checked inmate Hindi for signs of life and we began CPR. At 1600, I advised main control by radio to start EMS and for
       additional medical staff to respond. Nurse Malone was on chest compressions and I assisted with the Am bu-Bag. Inmate
       Hindi was showing no signs of recovery, I again advised control by radio to advise EMS to step it up and respond code
       three. Additional medical and sworn staff responded along with shift commander Lt. Gilbert.
(      Jfficer G. Sanders, Ofc. R. Skaggs, Ofc. D. Ramsey, Ofc. M. Forbes, Sgt. D. Gibson, Sgt. P. Summers, Nurse A. Malone and
       I Sgt. C. Hornback all assisted in applying CPR to inmate Hindi. At 1605, The Louisville Fire Department Unit arrived and
       began to access inmate Hindi. At 1608, The Louisville Fire/EMS Unit arrived and continued care for inmate Hindi and
       used the AED. CPR continued during the entire incident. At 1624, Inmate Hindi was escorted by stretcher to the old HOJ
       sally port entrance on Liberty Street. He was secured in a security set and escorted to the University Hospital by Sgt. D.
       Gibson, Ofc. A. James and Ofc. R. Stimphil. EMS departed at 1630. I was advised by radio from the transporting officers
       that Inmate Hindi arrived at room nine University Hospital at 1639. At 1645, I was advised by Lt. Gilbert that inmate
       Hindi was declared deceased by the University ER doctor.

       During the incident. Officer T. Warden escorted the Louisville Fire/EMS Units into the facility. Ofc. M. Cooper, Ofc. M.
       Bullard and I Sgt. C. Hornback kept a record of response times and traffic in and out of the incident area. Ofc. R. Taylor
       was responsible for the Body Camera and recorded the incident. The Body Camera and all observation sheets were
       pulled from the incident area and turned into Lt. Gilbert. Pictures were taken of the incident area around the cell, as well
       as inside the cell. The cell was secure, to preserve the scene for further investigation.

       At 1829, the Louisville (PIU) Public Integrity Detectives and the (LMDC) Louisville Metro Department of Corrections (PSU)
       Professional Standards Unit Sgt. Joyner arrived on the scene. At 1914 the Forensic Detective arrived. To conduct an
       investigation of the incident. All pictures and information was forward to Lt. Eggers Office and Senior Staff. Lt. Gilbert
       was advised.

( (_    '!. C. Hornback#333.




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                                                    1197

          Baker, Mindy

    -.From:                             Eggers, Arthur
(         lent:                         Monday, November 04, 201310:46 AM
         To:                            Baker, Mindy
         Cc:                            Flaherty, Curtis
         Subject:                       FW: Classification Report - M. Hindi
         Attachments:                   Mahmoud Hindi Classification Report.docx



         From: Allen, Jamie
         Sent: Tuesday, October 22, 2013 12:54 PM
         To: Bolton, Mark
         Subject: Classification Report - M. Hindi

         Mr. Bolton

         Attached is the classification report on M. Hindi #577966.

         Thanks,

        · Jamie Allen
         Offender Services Manager




         W:--
         Louisville Metro Department of Corrections
         400 S. Sixth Street
         Louisville, KY 40202

         "amie.allen@louisvilleky.gov
    (




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          Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 206 of 625 PageID #:
                                               1198

                                       1111!1 LOUISVILLE METROPOLITAN DEPARTMENT OF CORRECTIONS
                                       9' Classification Inmate Report
(    Inmate Number : 00577966                     Inmate Name: HINDI. MAHMOUD Y
     Name: HINDI, MAHMOUD Y                                             Sex :   MALE     Race :     White/Eurp/ N.Afr/Mid Eas                       Age: 56
     Address:                                                                            SSN:-
     Hair: Black                                  Eye:   Green                           Helght: 'too                             Weight: 195

        Birth Country:   JORDAN                               State :     Armond
       Marital Status: M•rried                                II Chffdren :     3
       Religion:       Islamic                                #Sisters:
       Hoodedness:                                            ti Brothers:

     Booking DetaHs
     Facility :               Main Jail Complex
     Booking 1)pe:            Standard                   . Juvenile:                N                                              N
    Arrival DtTm:             09/07/2012 02:36
     Charges
     WMNnt•

                     '501.020           MURDER                                      12/13/2013 CS:4S      Optn
                     '!101.0~           MURDER                                      WlO!lOU 00 45         O;l•n
                     'Soa.OiO           WANTON ENDANSERMENTlSfDffiREE:              12l23/20l3 08.45      0ptn
                     ~oa.060            \VANTON ENDANGf:RM~NT :l.$? PEGRff'         l~f;\~/~il ()$:45     Opim
                     ""soa.060          WAN!ON Et;DANGERMfNl 1S7 DEGREE             WW:WU O& 4S           Ojl<ffi
                     isos.oso           TERRORlSlIC THREA?ENlNG, 3RO DEGREE                               Ojan
                     "soa.02            ASSA:ULT lST DEGREE                                               Court Ordtl
                     'stm.060           WANTON ENDANGERMENT 1ST D£Gfl:EE                                  O~n
                     "soa.ooo           WANTON ENDANGERMENT m ~EGREE                                      oi-
                     'Soa.oso .         WANTON ENDANGERMENT lSl Df:GRE:E                                  Op~n

                     "soa.060           WANTON ENDANGEaMENl lSl PEG!lt;t                                  Open
(                    'Soa.060
                     "soa.060
                                        wANi"ON fNDANGf~MCNT 1St OtGFlEl
                                        \\!ANTON ENDANGER.MENllSTDEGREE:            U;.'13!2013 OS-<'15
                                                                                                          Op~n
                                                                                                          OPM
                     'Sos.060           WANTOlll INDAlllGIRMENT lST ll!GREI.        lV!ii!lOil 00·4>      OJ>fll
                     "11123             ASSAULT, 3RD DEGREE (SCHOOL                                       Oiimi:t~

                                        EMPLOYEE ·OR SCHOOL VOLUNTEER.)

     LAUREi.. CO
     WAA.RAf'.fl
     LAUREL CO                          SER\/'1NG WARRANT FOR OTHER POUCf
     \VARRAN1'                          AGENCY


Mahmoud Hindi #577966 was booked into Metro Corrections on 9/7/2012 on charges of Murder, Assault 1, and seven counts of Wanton
Endangerment 1" degree. On the same date he received added charges from Laurel County for a bench warrant for speeding. On 9/14/2012
the Assault 1" degree was upgraded to an additional Murder charge and all charges were indicted to Circuit Court (12CR2772). On 1/1/131/M
Hindi received additional added charges from Metro Corrections for Assault 3'' and Terroristic Threating due                             to an incident that occurred
while in custody.

On 9/7/2012 during the booking process l/M Hindi was pre-screened by Classification Staff. He stated he did not fear for his safety, did not
have any known enemies within the facility and did not have any housing needs in regards                                to medical or mental health. Medical Nurse A.
Ayers did however provide classification with a mental health notice to house l/M Hindi in the mental health unit J2Wl.

On 9/8/12 after arraignment court l/M Hindi was oriented by Classification Staff. He indicated he was married                            to Fatima Hindi for 29 years,
used her as his emergency contact and indicated he had 3 children. He further stated he completed high school and had a graduate degree.
He did not have any military experience, indicated his religious preference was Islamic and could read and write in English. l/M Hindi was
given a PREA screening, the opportunity to sign out his property and he took an inmate handbook.

,(__ " inmate Hindi's charges he was classified as a MX-GP-MH. MX (Maximum) due            to his Class A felony Murder charge, GP (General
Population) level behavior and MH (Mental Health) due      to his assigned mental health housing upon arrest. During his incarceration his
behavior level was upgraded to AB (Alert level behavior) due to his behavior with staff and documented disruptive/combative incidents.

Created by: JAllen                                                                                                                                  10/22/13
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             Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 207 of 625 PageID #:
                                                  1199
Housing Movement and Cell Transfers                                                                                 Mahmoud Hindi #577966

(A    -~igned Time In     Assigned Time Out    Housing                    Type                           Reason
       !2012 04:40:15     9/7/2012 05:34:43    Jl        p   •1    •002   Passive Baoking                Fresh arrest housing while awaiting the booking process
    9(1/2012 OS:SS:29     9/17/201219:26;54    JZW       w         •013   Mental Health                  After MH assessment was moved to MH unit single cell
                                                             ,"j •
    9/17/2012 20:S8:22    12/6/201211:32:07    J3        N    8  004      Mental Health                  Per MH Max Henderson moved to MH OPEN unit

    12/6/2012 11:38:47    12/6/2012 20:3S:37   J3        s •7      •008   Mental Health                  Per Nurse Grubbs moved from MH OPEN unit to MH single cell
    12/6/2012 20:S1:08    1/1/2013 08:49:37    J3        N   •8    •006   Mental Health                  Per MH moved back into MH OPEN unit
    1/1/2013 10:29:S5     l,13/201317:44:24    JZW       w   081   •003   Mental Health                  Per MH moved to MH unit observation cell
    1/3/2013 17:44:37     1/3/201317:45:21     JZW       w   •09 •012     Mental Health                  Per Nurse Sherman removed from obs into Open MH unit
    1/3/201317:45:21      1/4/201318:27:26     JZW       w   •09 •011     Mental Health                  Bed change in MH open unit
    1/4/2013 18:27:26     1/22/201316:17:40    J2W       w   •09 •001     Mental Health                  Bed change in MH open unlt:
    1/22/2013 16:18:07    1/23/2013 08:59:03   JZW       w   Wl
                                                                   •003   Mental Health                  Per MH moved into MH single cell
    1/23/2013 08:S9:14    1/28/2013 17:02:00   JZW       w   •08   •002   Mental Health                  Per MH moved from single cell to MH open unit
    1/28/2013 17:02:00    1/31/2013 11:04:23   J2W       w   •09   •006   Mental Health                  Per MH moved to another MH open unit
    1/3112013 11:04:23    1/31/2013 11:08:08   JZW       w   Wl    •005   Mental Health                  Per MH moved from open MH unit to MH single cell
    1/31/2013 ll:ll8:08   2/1/2013 13:04:10    JlW       w   Wl    •009   Mental Health                  Moved to another MH single cell
    2/1/2013 13:04:10     2/6/2013 18:01:29    J2W       w   W1
                                                                   •oos   Mental Health                  Moved to another MH single cell
    2/6/2013 18:01:29     2/7/2013 21:30:00    J2W       w   Wl    •012   Mental Health                  Moved to another MH single cell
    2/7/2013 21:39:03     2/9/2013 13:02:37    HS        w   •09 •002     Disciplinary Segregation       Per Or. Easley cleared from MH unit. Had DS time to seive
    219/2013 13:03:3S     3/3/2013 02:31:08    HS        E    Nl •001     Disciplinary Segregation       Moved to another OS cell
    3/3/2013 04:01:38     3/6/2013 02:3S:17    JZW       w   W2    •004   Mental Health                  Per Nurse Sloan moved to MH unit single cell
    3/6/2013 02:35:17     3/22/2013 21:02:42   JZW       w   W2    •001   Mental Health                  Per MH moved to another MH single cell
    3/22/2013 21:14:22    4/1412013 17:30:S9   J4        s   •7    •006   Administrative Segregation     Per Nurse Daughtery cleared from MH unit. Placed on AS by Class
       '1/201317:3-0:59   8/16/2013 22:00      14        s   •7    •007   Administrative Segregation     Moved to another AS single cell
(      .ii2013 22:14      8/23/2013 7:36       J2W       w   Wl    •006   Mental Health                  Per MH moved to MH unit single cell
    8/23/2013 7:36        8/31/201317:S6       JZW       w   Wl    •004   Mental Health                  Per Max Henderson moved to another MH unit single cell
    8/31/2013 17:56       9/20/2013 21:32      J2W       w   Wl    10     Mental Health                  Per Max Henderson moved to another MH unit single cell
    9/20/2013 21:32       10/21/2013 11:13     HS        E   Nl    3      Administrative Segregation     Per Nurse Sherman cleared from MH. Moved to AS by dass


l/M Hindi was housed in Metro Corrections for 410 days. During that time he was housed 26 different times. He had documented Mental
Health housing from the date of his arrest 9/7/12 until he was cleared by Dr. Easley on 2/7/13. At that time he was placed in Disciplinary
segregation once released from mental health due to having 60 days to serve plus an additional 15 on the shelf. While serving disciplinary
segregation time he was moved back to the mental health unit and cleared again. Upon being cleared he was placed in administrative
segregation by classification staff due his behavior towards officers and other inmates. He was reviewed by the Special Management Unit
Committee who reviews inmates in single cell housing. Special Management is a multi-disciplinary team review with staff from Senior
Management, Classification, Medical, Mental Health, Security and Disciplinary. While in Administrate Segregation housing he was moved to
the mental health unit in a single cell for observation. He was cleared by Mental Health on 9/20/13 ·and placed back into Administrative
Segregation until the incident on 10/21/13.


Incident Reports                                                                      Incident Date    ,I                Incident Typ_e                    B_ooking#
                                                                                                          DISRUPTIVE                                    2012029784
                                                                                     09/2612012 03:09     Strip search - lninate                        2012029794
l/M Hindi had 13 incidents while in custody including strip                          1210612012 10:12     DISRUPTIVE                                    2012029784
                                                                                     1210612012 10:12     UNAUTHORIZED CONTACT W/PUBLIC                 2012029764
search, disruptive, combative, hospital runs and suicide                             01/0112013 01:01     ADDITIONAL CHARGES                            2012029794
prevention.                                                                          0110112013 OL01      DISRUPTIVE                                    2012029764
                                                                                     02/09/2013 12:02     Sucide Prevention                             2012029764
                                                                                     03/02/2013 07:03     COMBATIVE                                     201-2029784
                                                                                     03103/2013 09:03     HOSPITAL, INMATE TRANSPORTED                  2012029764
                                                                                     OB/1412013 1a-·10    STRIP SEACH ~INMATE                           2012029784
                                                                                     08116/2013 15:30     Sucide Prevention                             2012029784
                                                                                     08/21/2013 11.05     DISRUPTIVE                                    2012029784
                                                                                     10/19/2013 15-55     HOSPITAL, INMATE TRANSPORTED                  20·12029784

Created by: JAllen                                                                                                                                   10/22/13
                                                                                                                                           GB003687
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                                                 1200
    Inmate Notes                                                                                           Mahmoud Hindi #577966

    /Date        Inmate Notes                                                                                                         Created By User
(      /2012      Pre-screening complete, SS Jordanian/W/M: Per the medical Nurse. A Ayers. LPN. inmate is to be housed in            Trammell. Barbara
                 the NJC with a bottom bunk in J'ZW Wl-#13 from JlP
     91712012     {IMS WIFE FATIMA HINDI 365-2648 CALL WAS RETURNED. A MESSAGE WAS LEFT RE: SECURA MRS HIND! Moppins. Marilyn
                 WAS GIVEN VISIT DATE AND TIME BY MH PROFESSIONAL BEV HASKINS.
     9/8/2012     W/M S5 -ORIENTATION and PREA COMPLETE - NO PROPER1Y RELEASED - RECEIVED HANDBOOK - RTN:                             Arriaga, Samantha
                 203 ON 9/14 - MURDER. ASLT l, WE 1x7 - $1,000.000 &amp: .. HOLD LAUREL co•• SPD Sll4.4S -
                 OVERRIDE HIGH TO LOW MED
    9/11/2012     Mr. Hindi was given a prayer rug, Glasses and a Quran. The prayer rug was drop off by his son.                      Whitlow, Sam

    9/12/2012     REQUEST HAIRCUT AND SHAVE.GYM OFFICERS CONTACTED VIA E-MAIL                                                         Moppins, Marilyn
    9/13/2012     2nd REQUEST FOR HAIRCUT AND SHAVE PRIOR TO CT TOMORROW.                                                             Moppins, Marilyn
    9/17/2012     J3JD8#1l FROM J2W/Wl#l3 - PER MEDICAL MOVEUST FROM MAX HENDERSON                                                    Arriaga, Samantha
    9/18/2013     ADDED CHARGE , NO CHANGE IN CLASS                                                                                   Mexicotte. Sylvia
    10/11/2012    Inmate was given his Quam out of his personal property. he removed the hardback cover and the cover was             Whitlow, Sam
                 placed back in his property: Spoke with his son 270-804-5884 concerning his Qurar\
    12/6/2012     PER NURSE GRUBBS {IM IS MOVED FROM J3JD8 TO J3/D7#8                                                                 Martlroysan. Mane
    1217/2012     Received write up on 12/6/2012 for cat. 3-A disruptive behavior. 4< engaging in sexual activities with              Dooley, Officer
                 anot11er person. received 15 days disp.seg. probated.

    12/10/2012    TURNED IN INMATE DJSGPUNARY APPEAL FORM                                                                             Mexicotte, Sylvia
    1211112012    Disciplinary appeal form forwarded to Deputy Director Bingham.                                                      Dooley, Officer
(      18/2012    NO CHANGE IN CLASS , HOLD GOT RELEASE                                                                               Mexicotte, Sylvia
    l/3/2013      PER HEALTH SERVICES MOVEUST SIGNED BY SHANNON SHERMAN l/M HAS BEEN PLACED ON MOVEUST Thomas. Ella
                 FROM J2W/OBS1 TO J2W/D9.
    l/4/2013      Recd write up on l/l/2013 for; CAT.3-A disruptiVe behavior: CAT.3-F using abusive and vulgar language               Hale, Officer
                 toward staff: CAT.3-G refusing to follow the directions of staf: CAT.3-1 lhreatening staff with physical harm:
                 CAT.4-K assaulting any staff member&#xOD: &#xOD; Inmate recd 60 d.<l.s which includes the 15 lfays he had
                 on the shelf.&#xOD: his time will go until 3/5/2013 and needs to be moved to the disciplinary segregation
                 unit today 1/4/2013;

    in12013       INMATE CAN'T BE MOVED TO D/S UNTIL CLEARED BY MENTAL HEALTH- EMAIL SENT TO ERNST AND                                Daub. Summer
                 HALE
    -··
    l!ll/2013     GIVEN A HAIR COMB.
                                                        -                                                                             Moppins, Marilyn
    -··--·
    1/28/2013     J2W/D9 FROM J2W/DS - PER MEDICAL MOVEUST FROM MAX HENDERSON                                                         Arriaga. Samantha
    -·--·--                                                                                           -
    2/6/2013      PER MAX HENDERSON llM IS MOVING FROM J2W/Wl#S TO J2W/Wl#12                                                          Martiroysan, Mane
    r-----.                                                                                               ·-                  -                           -
    217/2013      {IMS WIFE FATIMA HINDI 502-365-2648 CALL WAS RETURNED AT l/M REQUEST. MRS HINDI REPORTS                             Moppins, Marilyn
                 NOT HEARING FROM l/M IN THREE DAYS AND {IM USUALLY CALLS EVERYDAYl,IM WILL CALL HER LATER
                                                                                                                                                      ·---
    2ii/2oi3-·r~e'RoR.EAsLEY J/MIScLEAR FORGPHAs -D1sc1pu~iARY"n"MEiosEFivE. Mov1N<3i'R0M 12wtw1#12-ro Martiroysan. Mane
                 H5/D9#2 (NO D/S HOUSING AVAILABLE AT THIS TIME)
                             .                                                                                                    I




Created by: JAl!en                                                                                                                    10/22/13
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                                                    1201
    Inmate Notes Continued                                                                                              Mahmoud Hindi #577966


(      2/15/2013                  AIR turned into property for allowables.                                                                             Ayers. Stacey

       2/19/2013                  Inmate given property bag with allowables.                                                                           Ayers, Stacey
      2/21/2013                   H5/EN1#1 -1/M IS CLEARED FROM M/H PER MEDICAL MOVEUST FROM NURSE PRICE -1/M JS                                       Arriaga. Samantha
                              CURRENTLY SERlllNG DISP TIME
      3/1/2013                    Two grievances turned in.                                                                                            Ayers. Stacey
      3/3/2013                    PER MOVE UST, SLOAN. INMATE TO BE MOVED FROM H5Nl/01 TO J2W/W2/04                                                    Bailey. Venus
      3/8/2013                    I/MS WIFE FUTIMA'S CALL WAS RETURNED 3-7-13 365-2648_ f/M WAS GIVEN A MESSAGE TO CALL HIS                            Moppins, Marilyn
                              WIFE COLLECT.
      -·
      3/1312013                   Received write up on 312/2013 for cat. 3-A disruptive behavior. 3-G refusing to follow Instructions, 4-K             Dooley_ Officer
                              assaulting staff. Write up was dismissed for due process.

      3/14/2013                   AIS hazard added due to Inmate case being High Profile. email sent to Sup, Puckett for review                        Shipley, Shavon

      3/14/2013               Mahmoud Hindi cln577966 loc J2 W2 celll he Is requesting to goto gym&#xOD: Thanks&#xOD: &#xOD:                           Freeman. Debra
      3/15/2013                   ..'Once cleared from medical, please place ADMIN SEG and alert David Puckett"'..: Once the inmate has                Puckett, David
                             been cleared from medical. the inmate wlll have to be reviewed by SMU staff on Wednesdays. Date will be
                             forth coming upon clearence from medciat
      3/22/2013                   PER NURSE DAUGHERTY l/M IS CLEAR FOR GP. MOVING FROM J2W/W2#l TO J4/D7#6. E-MAIL SENT TO                             Martiroysan. Mane
                             D.PUCKITT. SEE PREVIOUS ENTRY.
                                                                                                                                                                   ----
      3/25/2013                   72 hr SMU review on this date: Went and spoke w the above inmate in concerns of his housing location.                Puckett. David
                                                                                                                                               -   ,
                             Inmate was unsure as to why he was in his current hosuing location. I informed him that because of his
(                            clearence from medical to return to general population was the reason fOr my visit w him. I explained the
                             reason as to why he had been placed in his current hosuing location and Inmate was underslading of this
                             fact_ he has signed of his SMU review sheet requesting a move to Protective Cislody. The Inmate's final
                             11.ousing will be determined at the next SMU meeting scheduled for 3-27-13.

      3/27/2013                   SMU meeting on this date: Inmate will remain as ADMIN SEG.; SMU meeting held on this date in                         Puckett. David
                             attendance were the following persons: Classificalion:Ayers. Puckett. Shipley and Allen. Medial Staff: D
                             Fowler. Mental health staff:M Krank. SORT commander. Lt Collins. Security staff: Disciplinary officer J Hale
                             and Deputy Directors: Bingham and Clark. II was determined that the aboVe inmate would continue to remain
                             ADMIN SEG due to being assaultive towrds staff and that he would be unbale lo function in a dorm setting.
                             The inmate·s request for protective custody Is denied.
      --·--·
      4/16/2013                   Mr_ Hindi was given his Quran that was placed on his property because it had a zipper attached.Writer was            Whitlow. Sam
                             given permission by Inmate son Musa to remove zipper.                                                                                      __,_
      ----·---- >----·                                                                                                                                 Davis, Lt
      4/24/2013                   Per Lt. Davis. Inmate Hindi. Mahmoud is allowed to have J1is oversized Koran. This book Is written in Arabic.
                             Any questions. contact me.
      5/14/2013                   Inmate Hindi has two Quarans in his possession.    ti for any reason one or bot11 are confiscated. please            Davis. Lt
                             ensure !hat they are taken to property.&#XOD: &#XOD: Lt. Davis
     f---~~   -<>·..~-·--- ;--.                                         -                                               --.--.---·-------                        -----
      6/3/2013                    Wife Fatima called. She said she had not heard from inmate in a few clays. I called 502-365-2648 and told            English. Keith
                             tier   t~at   tlie inmate was still in the same location and was doing ok




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                                                        1202
Inmate Notes Continued                                                                                                                     Mahmoud Hindi #577966


          1.2013       I!M Hindi used the KIOSK from 0000 hrs to 0045 hrs                                                                    McNese. Sgt
       -7/25/2013      rnmate Mahn1oud Hindi recieved a Timex sports watch. model 1440. Public Defender. Angela Elleman was                  Davis. Lt
                     advised.: Lt D;,vis #210

       7131/2013     I have e~mailed kitchen supervisor Edward \'Vasson in regards to the above inmate's AIR dated 7/22/13                   Puckett, David
                                                                                                                                                                -
                     requesting a special diet tray w no meat

       8/8/2013      Reference email sent by Supervisor Puckett:                                                                             onglish. Keith
                     Inmate Mahmoud Y Hindi Cin# 577966 requested to have vegetarian meals. As of today. Inmate Is currently
                     receiving meals with meat on the trays. Please add inmate to the vegetarian list as soon as possible.

       8/16/2013     Returned answers from yestreday.:s SMU committee rei.iiew and inmate has expressed an intrest in being                  Puckett, David
                     removed form AD MIN SEG to Protec.tive custody. I informed the inmate that I would bring his request up at
                     the next SMU meeting on B-14-13.

       812112013     J2W W1"6 LEVEL 2 PERM HENDERSON AND SGT. REDMON; ALERT ADDED AND SARN CHANGED                                           Daub, Summer

       8/23/2013     Pm SCANNED MoNTAL HOALTH MOVEUST OTO 8-23-13- A body/body SWAP- MAHMOUD HINDI #Sn966                                    Hayden. Maria
                     J2W-WALKl"6 TO J2W-WALK 1#4 WITH
                     KoNNETH ADtaNS #428020-> J2W-WALK 1#4 TO J2W-WALK1"6..2ND FLR CONTROL OFC. ADVISED VIA
                     PHONo.MARIA

       8123/2013     BODY FOR BODY SWAP PoR SHollA REDELLA OF MENTAL HOALTH... MARIA                                                         Hayden. Marla

       8/30/2013     AIR turned Into poperty for allowables.                                                                                 Ayers. Stacey
       8130/2013     PER SCANNED MENTAL HOALTH MOVELIST DTD 8-31-13 FROM MAXWELL HoNDERSON> MOVoUST FROM Hayclen. Maria
                     J2W-WALK 1#4 TO J2W-WALK 1#10. MARIA
           1013      AIR FOR DORM BAG - - RHSD                                                                                               Stansbury, Ryan
(...      1013       Inmate given allO\vables froin property.                                                                                Ayers, Stacey
                    Inmate was reviewed at SMU meeting on B-21-13 about his request to be removed from ADMlN SEG to                          Puckett David
       9/4/2013      Portective Custody. His request was deined and the inmate will continue to reamin as ADMlN SEG,
       9/6/2013      REQUEST FORWARDED TO LT DAVIS RE:MISSING HOLY MATERIAL                                                                  Moppins. Marilyn
       9/12/2013     REQUEST FOR REPAIRS TO J2 DAY ROOM FORWARDED TO MAINTANCE BY SGT MUNFORD. REQUEST TO                                    Moppins, Marilyn
                     COMMISSARY RE ITEMS THEY NEED TO HAVE IN STOCK; FORWARDED TO COMMISSARY
  f----
       9/12/2013     LT DAVIS PRESENTED INMATE WITH INVOICE WHERo I/MS ACCOUNT WAS CREDITED FOR THE AMOUNT
                                                                                                           ·- Moppins, Marilyn              -----·-
                     OF I/MS BOOK..
       9/16/2013     REQUoST NAIL CUPPoRS. GYM OFFICERS NOTIFIED VIA E-MAIL.                                                                 Moppins. Marilyn
  f---·
       9/19/2013     l/M BECAMo VERY UPSET WHEN I WOULD NOT TAKE A RoQUEST FOR HOW MANY TIMES THE KITCHEN                                    Mopplns. Marilyn
                     CAN SERVE BEANS AND WHAT THEY NEED TO SoRVE.. l/M STARTED YELLING AND ACCUSED ME OF
                     HAVING A BAD ATTITUDE. l/M WAS YELLING SO LOUD; I WALKED AWAY AND CONTINUoD MY ROUNDS
  >-----
       9/19t201S     Per Nutse ShermBn, Inmate going from J2WW1C#l0 to Gp however, there Is no aaministratlon segregation                   Moore, Donna
                     cells.
  ~·

       9/20/2013    H5/EN1#3 FROM J2WNJ1#10 - SEE PROVIOUS NOTES - M/H ALERT RoMOVED                                                            Arriaga, Samantha
  1....---_-.~~----.-~-~ ~..--.,--.-·~-         '   -   .   --~-·--   --   ~--
                                                                                 ~-   ---~,_.......   _________ __
                                                                                                               ,   .----~--




                                                                                                                                ·-~.~--    .......
                                                                                                                                              ---·-~·-=-~




       Inmate Discipline                                                          Date                  Category             Disposition                             D/S Officer

 l/M Hindi had 3 disciplinary reports while                                       12/7/2012 3-A, 4-C                         15 days probated                        Dooley, Officer
 in custody for offenses including,
 disruptive behavior, engaging in sexual
 activities with another · person, using                                          1/4/2013              3-A, 3-F, 3-G, 4-K   60 days to serve plus 15 days           Hale, Officer
                                                                                                                             probated lrom 12/7/12
! ive language, threatening staff with
)i .. ;sical harm, assaulting staff, and
 refusing to follow instructions.                                                 3/2/2013              3-A, 3-G, 4-K        Dimissed -Due Process                   Dooley, Officer


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                                                                                                                                                                    GB003690
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                                                   1203
 Inmate Grievances                                                                                                                  Mahmoud Hindi #577966
 GrLevances from IMS (9/7/12- 6/23/13)
(         '13000021 01-09-2013 0319                    SEC                                                                        1               J3              .N
 i      20130DQ1Q5 OJ.1!4•2013 0210                   PROP                                                                    .'1                 H5               E
 '
 I 2013000221          o3,1J..2013 0203                 SEC                                                                 .1              . J2w                  w
 I
 L- -
        2013UD!l458 05,17-2013 0216.                  .Cl.AS                                                                      1              J4                s
 Grievances from IMS (9/7/12- 6/23/13)
 Grievance#          or1evanc r Gri8vance GrieVanee c~te~ry Gnevanie Against                Oisr>OSIU•n                                       Last CompleledStep
 I00000444          08113Q013 SeiVite I CLASslFICATION                            NOT GillEi/ABLE           ' RETURNED TO INMATE
   00000449       •08i1:Ji2013 ' service i R!Oclii;f..'r10N !             ·· · 'r APPEAL RE'ruRN-DENIED     1
                                                                                                               APPEAL RETURNED
   00000637                             !
                  / OBl1!;J2013 . ~e.rvice     PROGRAMS     I                  i INf§R~ALi.v:~TAFF          !, REiiiRNEDioiNMATE

   000006§3       ! 0811912013 i Service     ! MEDICAL     '                   ! NOT GRIEVAELE              !RtjuRNED fo INMAJ!'
   00000636       ;0012012013 , service \si;cuilriY                            j t-1.0T(l~IE\f~LE           r   RETURNED TO INMATE
   00000624       I 0911312013 ' Service     ! SECURITv ·                      r NOT GRIEVAELE              \ llEfiillNEo fo if\!Mii.re
   00000669                 1
                  , 09Ji1i201:i s!f\'it. ·· : REcilE:AnoN                  . i iNF'oliMAt.i.v-sTAFF
                                                                              j ··-- - .... ... .   .
                                                                                                            !REiURNEri TO iNMATE
                                                                                                            j --·· --·-· ----·"       -   • ···-· ·-- -- •..
 '00000684        iii!lii7r.!oi3 r service i sri\Fi'                           i ~ET1JRN§Jl-Rl:SOLVED       ' RETURNED            TO INMATE
                                                                                                                    .."--···---·· -
 '000006BB     ·I   o9n9r.!oi31sel\'ice · :srAFF                               . RETURNED-RESOLVED
                                                                                                                ~-""-

                                                                                                              RETURNED
                                                                                                               --• ·-·----A-0 TO INMATE  •""- _,_
!00000690         !~9i24J2"oi3 'service - iciJiSsiFICATION                        RETURNED-RESOLVED           RETURNED            TO INMATE
                                                                                                                          . ·--- . . - .... ·-
i 00000710                             !
                  !0912412013 : Service MEDtCAL                             . l ~QJ(l~~~_LE                   RETURNED TO
                                                                                                              .                   ---·
                                                                                                                                       INMATE
i ooooii749     . iii9iiil.2o13 i Service .. i STAFF                           i RETURNED-RESOLVED
                                                                                                                 -----~-~~-


                                                                                                              RETURNED TO INMATE


 While in custody l/M Hindi filed a total of 16 grievances. Several of the grievances were related specifically to his housing in mental health,
not receiving recreation time, his religion, medical and medication, staff discrimination both by security and classification, commissary,
 destroyed property and that he should not be in jail. All grievances listed were responded too and returned to l/M Hindi and none of them
(         ·ed in appeal.


 Inmate Visitation

From l/M Hindi's date of arrest on 9/7/12
                                                                                                                                  .··p~;~~~1~;~ql~\f1AA.···
until 6/23/13 he had 28 visitors including                      'o5-16:i1J131l;fg     ilJSA       1112                            . Rf,l~.~Rljiq .
                                                                                                                                                'Jl$•t~.20iH~9
                                                                                              .
                                                                0~1i~.i3~i#'
                                                                                                                                      ~· ~                          .·.· ·•·•· .· j~f;t,iii~·~~·
                                                                                      \ii~        ,i(Ji .
Hasan Hindi                                                     !04--13-2013'1637;.   ·~·······   it117.                            ·~~ .. · 11,1:f3®1f16:it'
Musa Hindi
                                                                'oi1i~\~1~ Ylli/\                 i(fr                            . Rl.iEMiH
                                                                                                                                        ..  .•.cdniri
                                                                                                                                             .,,.,.,,.,.. ,.                  riii1~h lt50         ·
                                                                '03•11:~ti~ iill!'i                \116                               RDSURNs BORl'ls                         ~1i-~W1&42 ·
Yousef Hindi                                                    02'10-.2013 1636. VISA
                                                                             i&Jii
                                                                                                  ·1/126.                             ctJelltl~·~
                                                                                                                                      ~ PEtipLEY o2~i:l 1&18
                                                                                                                                                                           · ik,iO:f/ifa 163ii
Fatima Hindi                                                    02-04-2013        1/18"            V126
                                                                Ol-19'2~13 1o;J7 VISA.             V1i9                               ~Y. ~LEY 01.19'2il1i 1SJ7
Hamza Hindi                                                     12-27-21112 165.3 VISA             V133                               Cl'ENllLEY. "6nEV t2•2i.2012 1653.
Phillip Crowe                                                   ·12-~-20121221        VISA         1119                               JfiENDRlcKs, ~12~121;!21
Tareq Hindi                                                     12:13-21112 1633      VISA        V~9                                 ~ PEtlDlEY        12-13-2012 1633
Hasan Almohroug
                                                                12-02-21112 215,t     VisA        V127                                ROli!JRNS. elJilNS                      12-02-2012 2154
                                                                11-29-2012 1633       VISA        V127                                CPENDteY. PENl)l.EY                     11-2S-20121m
                                                                11-25-2012 1~7        VISA        V10                                 CPENDleY. PENDLEY                       11-25-2012 1647
                                                                11'18,2012 1936       VISA        V10                                 CPENDLEY. PENDi.EV                      11;18,2012193';
**XJail data on visitation from 6/23/13 to                      11-15-21112 1640      VISA        V10                                 RDBURNs.BURNS                           11-.15-2012 1640
                                                                11-04-2012 1911       VISA        V120                                CPENOlEY, PENl)l.EY                     1~-o.t-20121911
current is not properly pulling                                 10-28-2_012 1643      VISA        V120                                CPENDLEY, PEHDlEY                       10-28-2012 1643
                                                                10-18-2012 1636       VISA        V143                                cPENDlEY. PENDLEY                      10-.1a:.2o'12 1636
information. Unable to report this data.
                                                                10-04--2012 1633      VISA        11129                               CPENOLEY, PENDLEY                      10-04-2012 1633
                                                                XXX-XX-XXXX 1646      VISA        V138                                CPENOLeY. PENl)l.EY                    09-21-2012 1646
                                                                OS-17-20121651        VISA        V138                                RD8URNS.BURNS                          09-17-2012 1651
                                                                09-15-2012 2033       VISA        V138                                CPENDLEY. PENDLEY                      09-15-2012 21133
                                                                09-15-2012 1953       VISA        V138                                CPENDLEY. PENDLEY                      09-.15-2012 1953
                                                                09-12-2012 1753       VISA        V138                                RDBURNS. BURNS                         DS-12-2012 1153
                                                                OS-10-2012 1641       VISA        V131                                CPENDLEY. PENDLEY                      09-10-2012 1641
                                                                RQ..AA.?fl1? 1nn      VL<:A       v11n                                t~n1           Fv        P~Nnr i=v     fiQ..f)R.?ll1? tnfl


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                                                 1204

                        LOUISVILLE METROPOLITAN DEPARTMENT OF CORRECTIONS
                                                                              Booking Report
      Inmate#                    Inmate Name                          Sex                     Race
      00577966                   HINDI, MAHMOUD Y                     MALE                    White/Eurp/ N.Afr/Mid Eas
      Booking Number             Date/Time                         ·Hair Color                Eye Color
      2012029784                 09/07/2012 02:36                     Black                   Green

      Drivers License #                                               Ethnicity:                            Height    Weight
      IN                                                                                                    6'00"      195

           Address: INVALID CONVERSION ADDRESS RD                  Phone:                        FBI#:
                    JO
                                                                                                 SID#: A0761434


            Resident:                                              Scars, Marks, Tattoos
                                                               Type                  Location               Description
              County:

           Birth State: JO

       Citizenship: United States of America


                                                                        Additional Information
                 Classification: MX/AB                                   Occupation:

               Cell Assignment H5-N1/003                                      Employer:

              Sentence Status:                                  Emergency Contact:


(                                                                              Arrest Information
               Committed By:                                                          Arresting Officar: BAKER

            Arrest DatefTime:09/06/2012 07:09                                             Booking Officer: Brown, Johnathan

            Arresting Agency:LOUISVILLE METRO POLICE                                            Location: 4601 SPRINGDALE RD LOUISVILLE

                  Arrest Note: SUBJ SHOT lWO VIC AT ABV LOC CAUSING THE DEATH OF ONE VIC
                               AND CRITICALLY INFJURING THE OTHER. SEVEN ADDITIONAL
                               PEOPLE WERE WITHIN FEET OF SUBJ AS HE FIRED lWO SHOTS



                                                                                     Charges
       Reference#                Statute            Category            Charge DtTm           DispositionDtTm        Document         Court   Bond Type
       Case Nbr                  Description                            Court DtTm            Disposition            Bond/Sentence            Bond Amount
       02801207                  507.020            NON-CRIMINAL                              09/14/2012 05:09       Not Applicable
       12F010120                 MURDER                                                       COURT ORDER
       02801208                  508.060    NON-CRIMINAL                                      09/14/2012 05:09       Not Applicable
       12F010120                 WANTON ENDANGERMENT 1ST                                      COURT ORDER
                                 DEGREE
       02801209                  508.060    NON-CRIMINAL                                      09/14/2012 05:09       Not Applicable
       12F010120                 WANTON ENDANGERMENT 1ST                                      COURT ORDER
                                 DEGREE
       02801210                  189.390      NON-CRIMINAL                                    09/09/2012 01:09 Not Applicable
       ·ooT09993 LAUREL          SPEEDING 7MPH OVER (LIMTED                                   RIP CREDIT
                                 ACCESS)                                                      TIME SERVED
       02801211                  507.020            NON-CRIMINAL                                                     Not Applicable   CR13
       12CR2772                  MURDER                                12/13/2013
:l.    02801212                  507.020            NON-CRIMINAL                                                     Not Applicable   CR13
       12CR2772                  MURDER                                12/13/2013
       02801213                  508.060            NON-CRIMINAL                                                     Not Applicable   CR13


      25207 Eggers                                                 10/19/201318:01
                                                                                                                                       GB003692
                                                                                                                                              Page:   1
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                                             1205
      12CR2772                   WANTON ENDANGERMENT 1ST                         12/13/2013
                                 DEGREE
      02801214                   508.060    NON-CRIMINAL                                                                     Not Applicable      CR13
      12CR2772                   WANTON ENDANGERMENT 1ST                         12/13/2013

r·    02801215
      12CR2772
                                 DEGREE
                                 508.060    NON-CRIMINAL
                                 WANTON ENDANGERMENT 1ST                         12113/2013
                                                                                                                             Not Applicable      CR13

                                 DEGREE
      02801216                   508.080      NON-CRIMINAL                                                                  Not Applicable 203             CASH
      13F000021                  TERRORISTIC THREATENING,                        12/06/2013                                 Bond: $10000.00                $ 10,000.00
                                 3RD DEGREE
      02801217                   508.01       NON-CRIMINAL                                               09114/2012 05:09   Not Applicable
      12F010120                  ASSAULT 1ST DEGREE                                                      COURT ORDER
      02801218                   508.060    NON-CRIMINAL                                                 09/14/2012 05:09 Not Applicable
      12F010120                  WANTON ENDANGERMENT 1ST                                                 COURT ORDER
                                 DEGREE
      02801219                   508.060    NON-CRIMINAL                                                 09/14/2012 05:09 Not Applicable
      12F010120                  WANTON ENDANGERMENT 1ST                                                 COURT ORDER
                                 DEGREE
      02801220                   508.060    NON-CRIMINAL                                                 09/14/2012 05:09 Not Applicable
      12F010120                  WANTON ENDANGERMENT 1ST                                                 COURT ORDER
                                 DEGREE
      02801221                   508.060   NON-CRIMINAL                                                 09/14/2012 05:09 Not Applicable
      12F010120                  WANTONENDANGERMENT1ST                                                  COURT ORDER
                                 DEGREE
      02801222                   508.060   NON-CRIMINAL                                                 09/14/2012 05:09    Not Applicable
      12F010120                  WANTONENDANGERMENT1ST                                                  COURT ORDER
                                 DEGREE
      02801223                   02900       NON-CRIMINAL                                               09/07/2012 06:09    Not Applicable
      •ooT09993 LAUREL           SERVING WARRANT FOR OTHER                                              WARRANT
                                 POLICE AGENCY                                                          SERVED
      02801224                   508.060    NON-CRIMINAL                                                                    Not Applicable       CR13
      12CR2772                   WANTON ENDANGERMENT 1ST                        12113/2013
(                                DEGREE
      02801225                   508.060    NON-CRIMINAL                                                                    Not Applicable       CR13
      12CR2772                   WANTON ENDANGERMENT 1ST                        12/13/2013
                                 DEGREE
      02801226                   508.060    NON-CRIMINAL                                                                    Not Applicable       CR13
      12CR2772                   WANTON ENDANGERMENT 1ST                        12/13/2013
                                 DEGREE
      02801227                   508.060    NON-CRIMINAL                                                                    Not Applicable       CR13
      12CR2772                   WANTON ENDANGERMENT 1ST                        12/13/2013
                                 DEGREE
      02801228                   13123        FELONY                                                    01/14/2013 12:01    Not Applicable
      13F000021                  ASSAULT 3RD DEGREE (OFFICER                                            DISMISSED
                                 TRANSPORTING INMATES)

                                                                                                                                      Active Bond Total: $10000.00

                                                                                                                                           Bonds Total: $10000.00


                                                                                      Arrest Information
          Committed By:                                                                         Arresting Officer: NICHOLSON

       Arrest Date/Time:09/07/2012 04:09                                                         Booking Officer: Brown, Johnathan

       Arresting Agency:LOUISVILLE METRO CORRECTIONS                                                     Location: 400   s 6TH ST   LOUISVILLE
                        DEPT

                            ..
             Arrest Note: **""*"*******************************AJC*************"*****"******"*****************

                            **""****************************HOLD LAUR EL
                            CO***************""""****"'**"*****
                            SUBJ HELD ON LAUREL CO WARRANT FOR COURT

                                                                                                         es
      Reference#                 Statute             Category                   Charge DtTm             DispositionDtTm     Document          Court       Bond Type



                                                                                                                                                  GB003693
     25207 Eggers                                                         10/19/201318:01                                                                Page:       2
             Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 214 of 625 PageID #:
                                                  1206
            Name HINDI, MAHMOUD Y                                             Booking# 2012029784           Facility 1
          Inmate# 00577966           Sex MALE          DOB...               Book DVTm 09/07/2012 02:36        WingH5E
    - •     Race White/Eurp/ N.Afr/Mid Eas             Age 56            Release DVTm                        DormH5E-N1
(                                                                          Classification MX/AB                Cell H5-N1
          Status                             In Jail

             Note Entry

               Inmate Note TypelNMATE MOVEMENT

                     Inmate Note H5/EN1#3 FROM J2W/W1#10 - SEE PREVIOUS NOTES - M/H ALERT REMOVED




               Created By UserArriaga, Samantha                  Created DlfTm09/20/201316:14

             Notes
              Inmate Note Type

                From Date/Time                            To Date/Time

                                                                     Inmate Notes
           Date/Time         Inmate Notes                                                   Note Type        Created User
           09/20/2013        H5/EN1#3 FROM J2W/W1#10 - SEE PREVIOUS NOTES -                 INMATE           Arriaga, Samantha
           16:14             M/H ALERT REMOVED                                              MOVEMENT

           09/19/2013        Per Nurse Sherman, Inmate going from J2WW1C#10 to Gp           INMATE         Moore, Donna
(          19:36             however, there is no administration segregation cells.         SERVICES NOTES

           09/19/2013        l/M BECAME VERY UPSET WHEN I WOULD NOT TAKE A                  INMATE         Moppins, Marilyn
           14:11             REQUEST FOR HOW MANY TIMES THE KITCHEN CAN                     SERVICES NOTES
                             SERVE BEANS AND WHAT THEY NEED TO SERVE. l/M
                             STARTED YELLING AND ACCUSED ME OF HAVING A
                             BAD ATIITUDE. 1/M WAS YELLING SO LOUD; I WALKED
                             AWAY AND CONTINUED MY ROUNDS.




          09/16/2013         REQUEST NAIL CLIPPERS. GYM OFFICERS NOTIFIED                   INMATE         Moppins, Marilyn
          11:00              VIA E-MAIL.                                                    SERVICES NOTES

          09/12/2013         LT DAVIS PRESENTED INMATE WITH INVOICE WHERE                  INMATE         Moppins, Marilyn
          16:01              I/MS ACCOUNT WAS CREDITED FOR THE AMOUNT OF                   SERVICES NOTES
                             I/MS BOOK.


          09/12/2013         REQUEST FOR REPAIRS TO J2 DAY ROOM                            INMATE         Moppins, Marilyn
          13:19              FORWARDED TO MAINTANCE BY SGT MUNFORD.                        SERVICES NOTES
                             REQUEST TO COMMISSARY RE: ITEMS THEY NEED TO
                             HAVE IN STOCK; FORWARDED TO COMMISSARY



          09/06/2013         REQUEST FORWARDED TO LT DAVIS RE:MISSING                      INMATE         Moppins, Marilyn
          09:58              HOLY MATERIAL.                                                SERVICES NOTES

          09/04/2013         Inmate was reviewed at SMU meeting on 8-21-13 about his       SMU REVIEW        Puckett, David
          07:01              request to be removed from ADMIN SEG to Portective            NOTES
                             Custody. His request was deined and the inmate will
                             continue to reamin as ADMIN SEG.

          25207 Eggers                                          10119/2013 18:04                                         GB003694
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                                             1207


      09/03/2013     Inmate given allowables from property.                        INMATE         Ayers, Stacey
(~    08:15                                                                        SERVICES NOTES

      09/0112013 03:0 AIR FOR DORM BAG - - RELSD                                   PROP NOTES        Stansbury, Ryan
     08/31/2013     PER SCANNED MENTAL HEALTH MOVELIST DTD 8-31-                   INMATE            Hayden, Maria
     14:29          13 FROM MAXWELL HENDERSON> MOVELIST FROM                       MOVEMENT
                    J2W-WALK 1#4 TO J2W-WALK 1#10.. MARIA


     08/30/2013     AIR turned into poperty for allowables.                        INMATE         Ayers, Stacey
     10:01                                                                         SERVICES NOTES

     08/23/2013     BODY FOR BODY SWAP PER SHEILA REDELLA OF                       INMATE            Hayden, Maria
     14:04          MENTAL HEALTH .... MARIA                                       MOVEMENT

     08/23/2013     PER SCANNED MENTAL HEALTH MOVELIST DTD 8-23-                   INMATE            Hayden, Maria
     14:01          13- A body/body SWAP- MAHMOUD HINDI #577966 J2W-               MOVEMENT
                    WALK1#6 TO J2W-WALK 1#4 WITH
                    KENNETH ADKINS #428020->J2W-WALK 1#4 TO J2W-
                    WALK1#6 .. 2ND FLR CONTROL OFC. ADVISED VIA
                    PHONE.MARIA




     08/21/2013     l/M FILLED SEVERAL GRIEVANCE FORMS WITH                        Caseworker        Moppins, Marilyn
     12:54          RAMBLING ISSUES AND NEVER STATED WHAT THE                      Contact
                    GRIEVANCE WAS ABOUT.DIR OF MH KIBIBI WOOD-
                    MONTGOMERY DISCUSSED THE FORMS WITH MH DR
                    SMITH AND THE MH TEAM. THE FORMS WILL BE
(                   ADDED TO I/MS FILE. l/M WAS MOVED TO J2W1 TO
                    ADJUST I/MS MEDICATION.




     08/16/2013     J2W W1#6 LEVEL 2 PERM. HENDERSON AND SGT.                      INMATE            Daub, Summer
     19:55          REDMON; ALERT ADDED AND SARN CHANGED                           MOVEMENT

     08/08/2013     Returned answers from yestreday;s SMU committee review         SMU REVIEW        Puckett, David
     13:48          and inmate has expressed an intrest in being removed form      NOTES
                    ADMIN SEG to Protective custody. I informed the inmate
                    that I would bring his request up at the next SMU meeting on
                    8-14-13.




     07/31/2013     From: English, Keith D.                                        GENERAL INMATE English, Keith
     12:36          Sent: Wednesday, July 31, 201312:36 PM                         NOTES
                    To: Wasson, Edward
                    Cc: Puckett, David; Ernst, Kyle
                    Subject: inmate issues

                    Reference email sent by Supervisor Puckett:
                    Inmate Mahmoud Y Hindi Cin# 577966 requested to have
                    vegetarian meals. As of today, inmate is currently receiving
                    meals with meat on the trays. Please add inmate to the
                    vegetarian list as soon as possible:

                    Thanks
                    PCI English


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                                                                                                                    Page:   2
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                                             1208




     07/25/2013       I have e-mailed kitchen supervisor Edward Wasson in           GENERAL INMATE Puckett, David
     08:45            regards to the above inmate's AfR dated 7/22113 requesting    NOTES
                      a special diet tray w no meat.


     06/05/2013       Inmate Mahmoud Hindi recieved a Timex sports watch,           Old Notes
     10:53            model 1440. Public Defender, Angela Elleman was
                      advised.&#xOD; &#xOD; Lt. Davis #21 O


     06/03/2013 06:2 l/M Hindi used the KIOSK from 0000 hrs to 0045 hrs.            Old Notes
     05/14/2013       Wife Fatima called. She said she had not heard from inmate    Old Notes
     15:24            in a few days. I called 502-365-2648 and told her that the
                      inmate was still in the same location and was doing ok


     04/24/2013       Inmate Hindi has two Quarans in his possession. If for any    Old Notes
     11 :31           reason one or both are confiscated, please ensure that they
                      are taken to property.&#xOD; &#xOD; Lt. Davis


     04/24/2013      Per Lt. Davis, Inmate Hindi, Mahmoud is allowed to have his    Old Notes
(    11:23           oversi.zed Koran. This book is written in Arabic. Any
\\
                     questions, contact me.


     04/1612013      Mr. Hindi was given his Quran that was placed on his           Old Notes
     16:02           property because it had a zipper attached. Writer was given
                     permission by Inmate son Musa to remove zipper.


     03/27/2013      SMU meeting on this date: Inmate will remain as ADMIN          Old Notes
     13:24           SEG.&#xOD; &#xOD; SMU meeting held on this date in
                     attendance were the following persons: Classification:Ayers,
                     Puckett, Shipley and Allen, Medial Staff: D Fowler, Mental
                     health staff:M Krank, SORT commander: Lt. Collins,
                     Security staff: Disciplinary officer J Hale and Deputy
                     Directors: Bingham and Clark.&#xOD; &#xOD; It was
                     determined that the above inmate would continue to remain
                     ADMIN SEG due to being assaultive towrds staff and that he
                     would be unbale to function in a dorm setting. The inmate's
                     request for protective custody is denied.




     25207 Eggers                                       10/1912013 18:04                                    GB003696
                                                                                                                   Page:   3
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                                                  1209
           03/25/2013       72 hr SMU review on this date: Went and spoke w the          Old Notes
           15:18            above inmate in concerns of his housing location. Inmate
                            was unsure as to why he was in his current hosuing location.
                            I informed him that because of his clearance from medical to
                            return to general population was the reason for my visit w
                            him. I explained the reason as to why he had been placed
                            in his current hosuing location and inmate was understading
                            of this fact. he has signed of his SMU review sheet
                            requesting a move to Protective Cistody. The inmate's final
                            housing will be determined at the next SMU meeting
                            scheduled for 3-27-13.




          03/22/2013        PER NURSE DAUGHERTY l/M IS CLEAR FOR GP.                       Old Notes
          16:07             MOVING FROM J2W/W2#1 TO J4/D7#6. E-MAIL SENT TO
                            D.PUCKETI. SEE PREVIOUS ENTRY.


          03/15/2013       ...Once cleared from medical, please place ADMIN SEG            Old Notes
          13:45            and alert David Puckett....&#xOD; Once the inmate has
                           been cleared from medical, the inmate will have to be
                           reviewed by SMU staff on Wednesdays. Date will be forth
                           coming upon clearance from medcial.




          03/14/2013       From: Freeman, Debra J &#xOD; Sent: Thursday, March 14,         Old Notes
          12:17            2013 12:17 PM&#xOD; To: Spanton, Joshua&#xOD; Cc:
                           Freeman, Debra J; Moppins, Marilyn&#xOD; Subject: Gym
                           request&#xOD; &#xOD; Mahmoud Hindi cin577966 loc J2
                           W2 cell1 he is requesting to goto gym.&#xOD;
 (                         Thanks&#xOD;&#xOD;




          03/14/2013       A/S hazard added due to inmate case being High Profile.         Old Notes
          10:54            email sent to Sup. Puckett for review

          03/13/2013       Received write up on 3/2/2013 for cat. 3-A disruptive           Old Notes
          13:19            behavior, 3-G refusing to follow instructions, 4-K assaulting
                           staff. Write up was dismissed for due process.


          03/08/2013       I/MS WIFE FUTIMA'S CALL WAS RETURNED 3-7-13 365-                Old Notes
          15:01            2648. l/M WAS GIVEN A MESSAGE TO CALL HIS WIFE
                           COLLECT.


      . 03/03/2013         PER MOVE LIST, SLOAN, INMATE TO BE MOVED FROM                   Old Notes
        02:37              H5N1/01 TO J2W/W2/04

          03/01/2013 10:1 Two grievances turned in.                                        Old Notes
          02/21/2013      H5/EN1#1 -1/M IS CLEARED FROM M/H PER MEDICAL                    Old Notes
          18:06           MOVELIST FROM NURSE PRICE - l/M IS CURRENTLY
                          SERVING DISP TIME


          02/19/2013 09:0 Inmate given property bag with allowables.                       Old Notes
·(. ·--
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          02/15/2013 09:4 AIR turned into property for allowables.                         Old Notes




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                                             1210
      02/07/2013    PER DR EASLEY l/M IS CLEAR FOR GP. HAS                           Old Notes
      16:08         DISCIPLINARY TIME TO SERVE. MOVING FROM
                    J2W/W1#12 TO H5/D9#2 (NO D/S HOUSING AVAILABLE
                    AT THIS TIME)
     02/07/2013     I/MS WIFE FATIMA HINDI 502-365-2648 CALL WAS                     Old Notes
     13:38          RETURNED AT l/M REQUEST. MRS HINDI REPORTS
                    NOT HEARING FROM l/M IN THREE DAYS AND l/M
                    USUALLY CALLS EVERYDAY.l/M WILL CALL HER LATER



     02/06/2013     PER MAX HENDERSON l/M IS MOVING FROM J2W/W1#5                    Old Notes
     17:58          TO J2W/W1#12

     01/28/2013     J2W/D9 FROM J2W/D8 - PER MEDICAL MOVELIST FROM                   Old Notes
     17:01          MAX HENDERSON

     01/11/2013 10:4 GIVEN A HAIR COMB.                                              Old Notes
     01/07/2013     INMATE CAN'T BE MOVED TO D/S UNTIL CLEARED BY                    Old Notes
     ·o9:14         MENTAL HEALTH- EMAIL SENT TO ERNST AND HALE

     01/04/2013     Recd write up on 111/2013 for&#xOD; &#xOD; CAT.3-A               Old Notes
     12:31          disruptive behavior&#xOD; CAT.3-F using abusive and
                    vulgar language toward staff&#xOD; CAT.3-G refusing to
                    follow the directions of staff&#xOD; CAT.3-1 threatening staff
                    with physical harm&#xOD; CAT.4-K assaulting any staff
                    member&#xOD; &#xOD; Inmate recd 60 d.d.s which includes
                    the 15 days he had on the shelf.&#xOD; his time will go until
                    3/5/2013 and needs to be moved to the disciplinary
                    segregation unit today 1/4/2013&#xOD;




/
\"

     01/03/2013     PER HEALTH SERVICES MOVELIST SIGNED BY                           Old Notes
     16:41          SHANNON SHERMAN l/M HAS BEEN PLACED ON
                    MOVELIST FROM J2W/OBS1 TO J2W/D9.


     12/18/2012 08:3 NO CHANGE IN CLASS, HOLD GOT RELEASE                            Old Notes
     12/11/2012     Disciplinary appeal form forwarded to Deputy Director            Old Notes
     08:00          Bingham.

     12/10/2012 09:5 TURNED IN INMATE DISCIPLINARY APPEAL FORM                       Old Notes
     12/07/2012     Received write up on 12/6/2012 for cat. 3-A disruptive           Old Notes
     13:27          behavior, 4-C engaging in sexual activities with another
                    person. received 15 days disp.seg. probated.


     12/06/2012     PER NURSE GRUBBS l/M IS MOVED FROM J3/D8 TO                      Old Notes
     19:36          J3/D7#8




                                                                                                 GB003698
     25207 Eggers                                       10/19/2013 18:04                                Page:   5
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                                            1211
        Name HINDI, MAHMOUD Y                                               Booking# 2012029784       Facility 1
      Inmate# 00577966           Sex MALE          DOB                  Book DI/Tm 09/07/2012 02:36     Wing H5E
        Race White/Eurp/ N.Afr/Mid Eas              Age 56            Release DI/Tm                    Dorm H5E-N1
(    Status                              In Jail                       Classification MX/AB             Cell H5-N1


                                                                Movement Logs
    Location              Activity                 Start D!Tm         End D!Tm            Note         Scheduled By   Moved By
    H5-N1                                          10/16/201311:36
    Court                 CRT                      10/16/2013 08:44   10/16/201311:36                                 Davis, Riechea
    H5-N1                                          10/16/2013 08:00 10/16/2013 08:44
    J2-W1                                          08/31/2013 17:56 09/20/2013 21:32                  Hayden, Maria   Lee, Nathan M
    J2-W1                                          08/31/2013 17:00 08/31/2013 17:56
    Court                 CRT                      08126/2013 07:44 08/26/2013 12:59                                  McKinney,
                                                                                                                      Curtis

    J2-W1                                          08/23/2013 07:36 08/26/2013 07:44                                  Wiggins, Ryan
    J2-W1                                          08/16/2013 22:14 08/23/2013 07:36                  Daub, Summer    Lee, Nathan M
                                                   08/16/2013 22:00 08/16/2013 22:14
    Court                 CRT                      07/15/2013 09:00 07/15/2013 11:57                                  Elmore,
                                                                                                                      Timothy




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            Eggers, Arthur

    ---.From:                           Bolton, Mark
(        Sent:                          Wednesday, October 23, 2013 2:47 PM
        To:                             cpmilligan@bluegrass.org
            Cc:                         Durham, Steve P; Hesen, Ellen M
            Subject:                    Louisville Metro Department of Corrections Request for lndependant Review


            Ms. Milligan -

            I would like to request an external and independent consultation and review of the Louisville Metro Department of
            Corrections protocols surrounding an inmate suicide that occurred in our facility on Saturday, Octobe(19, 2013. As the
            Director of the statewide Jail Triage Program, having your and Ray Sabbatine's consultation around the circumstances of
            this incident would be helpful.

            Please contact me at your convenience so we can further discuss this matter in more detail.

            Thank you.

            Mark E. Bolton
            Director, LMDC
            1so2'111m1
            mark.bolton@louisvilleky.gov




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           Eggers, Arthur
        ·-,.F.rom:                    Durham, Steve P
(           1ent:                     Tuesday, November 12, 201311:14AM
           {o:                        Bolton, Mark; Clark, Dwayne A.; Eggers, Arthur
          Subject:                    FW: License status




          From: Lun, Jill (KBML) [mailto:Jill.Lun@ky.govl
          Sent: Tuesday, November 12, 2013 10:36 AM
          To: Durham, Steve P
          Subject: FW: License status

          Dr. Hindi's license was inactive in September 2012.

          Jill Lun, Legal Assistant
          KY Board of Medical Licensure
          310 Whittington Parkway, Suite 1B
          Louisville, KY 40222

          so2;429:n1a·~:Fax

          From: Vest, Lloyd (KBML)
          Sent:  Monday, November 11, 2013 2:47 PM
           11: Lun, Jill (KBML)
    (
          ,ubject: FW: License status

          Can you respond to him? Thanks.


          From: Durham, Steve P [mailto:Steve.Durham@louisvilleky.govJ
         Sent: Friday, November 08, 2013 1:01 PM
         To: Vest, Lloyd (KBML)
         Subject: License status

         Lloyd: I am filling in some information for Louisville Metro Department of
         Corrections about an Inmate Mohammad Hindi who recently died in custody.

         Can you tell me what his licensure status W(]S in Sept. 2012?


         Steve




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    Eggers, Arthur

    From:                    Martin, Ronna
    lent:                    Tuesday, November 12, 2013 10:24 AM
    ro:                      Bolton, Mark; Clark, Dwayne A.; Troutman, Eric; Hamilton, Doug; Durham, Steve P; Ashby,
                             William; Eggers, Arthur; Zellars, Lee; Allen, Jamie
    Cc:                      Hesen, Ellen M
    Subject:                 Minutes - Hindi After Action Review
    Attachments:             Minutes -After Action Review 11-6-13.pdf




    Ronna Martin
    Executive Assistant



    -
    Louisville Metro Department of Corrections

    ronna.rnartin@louisvilleky.gov




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(                                                 Meeting Minutes
\                                      After Action Review- Mahmoud Hindi
                                                 November 6, 2013

              Director Mark Bolton
              Chief of Staff Dwayne Clark
              Deputy Director Eric Troutman
              Chief of Public Services Doug Hamilton
              County Attorney Steve Durham
              Major Mike Ashby
              Lieutenant Chuck Eggers
              Lee Zellars
              Jamie Allen

             Meeting commenced at 9:00am
             Director Bolton explained the pwpose of this After Action Review; to enhance the process of
             wrapping up and closing the case oflnmate Mahmoud Hindi. This review will ensure all
             infonnation surrounding Inmate Hindi's suicide death will be included in one final report where
             all other departmental reports are brought together. He mentioned that another action moving
             forward will be working with Bluegrass Mental Health. This company is contracted to do After
             Action Review on all jail suicides in Kentucky, except here at Louisville Metro Department of
             Corrections. Director Bolton said he will be asking Bluegrass Mental Health to come to our
             facility and conduct a review of our process.

    (        Classification and Movement
             Jamie Allen described all oflmnate Hindi's movements while he was in custody, the charges on
             which he was brought in, and all additional charges that were added while he was in custody as
             well. She described his classifications and explained upgrades in behavior levels. Jamie said
             Imnate Hindi had 26 different movements from 917112 until 2/7/13 and then was housed by the
             Mental Health Unit, during which he had 15 different moves. Jamie mentioned that
             Classification does not know why Mental Health moves an inmate, but the move itself is
             documented. She listed and explained the write-up's Inmate Hindi received as well as any
             disciplinary action. She stated on 217/13 Imnate Hindi started to serve disciplinary segregation
             and had 5 additional mental health moves and then returned to the mental health housing. Jamie
             said lmnate Hindi could not remain in the donn and coexist with others, so on 9/20/13 he was
             moved to administrative segregation, where he remained up until his death.

             Mental Health Review
             Lee Zellars described Inmate Hindi's mental health record and explained that when Hindi arrived
             to the facility, he had infonned them that he had been self-treating his depression with samples
             of anti-depressants from his own office. Lee stated that Inmate Hindi wanted to be addressed as
             "Dr. Hindi," and initially was not a problem, had a prayer cloth and kept to his prayers regularly.
             Lee described when Hindi was seen by Mental Health and when he started to have issues with
             the donn, which was December 2012. Lee gave details of Hindi's medications, changes in
             medications, and the events of Inmate Hindi threatening suicide. Lee described that on 9/3/13,
             the doctor took lmnate Hindi off all levels of observation, stating Hindi was denying that he was
             suicidal. Lee said there wasn't anything else significant until Hindi was found on 10/19/13. Lee
             said Inmate Hindi stopped his own medications 5 days prior to his death. Steve Durham




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         mentioned that the refusal fonns would note that he was not taking the medication, and Director
         Bolton asked that the file be updated to document that. Steve mentioned checking on collecting
         Inmate Hindi's phone calls, to get the conversations he had with his wife. Lieutenant Eggers
         said they are all in Arabic, and would be included in the LMPD PIU investigation. Lee noted
         that Inmate Hindi's responses to being asked if he felt suicidal were always that it was "against
         my religion." Lieutenant Eggers noted that they did get an interpreter for the phone call that
         Inmate Hindi had with his wife the morning before his death, in which he told her he did not
         want his family visiting him the next day.

         Timeline/Death Reoort/Staff Debrie:t7Autopsy
         Lieutenant Eggers explained the timeline of his involvement with Inmate Hindi's case, and said
         PIU interviewed the staff members and nurses who had involvement with Hindi. Lieutenant
         Eggers gathered information on Hindi, gave the body cam video to Pill, and also gave them the
         North 1 Walk video and the observation sheets of that wing for each shift, along with the phone
         call from that morning, and all pictures that were taken of the cell after the incident. Lieutenant
         Eggers described the timeline for PIU. He mentioned that the staff debrief helped wrap up the
         timeline of the individuals involved in attempting to revive Inmate Hindi.
        He said at the autopsy, he was given a pink sheet that showed that Inmate Hindi died of
        asphyxiation, and the toxicology was sent to the lab, but it could be 2-3 months before the results
        come in for those. Director Bolton asked if anything was out of line with staff observations,
        were checks done in accordance with policy and industry standards, and Lieutenant Eggers said
        it all appeared to be. Lieutenant Eggers said the one issue that needed to be addressed was that
        the observation sheet needed to be pulled once the incident occurred, and a new sheet started,
        with a note on the new sheet saying there had been a critical incident. Major Ashby stated this
(       issue would be addressed today at the Captains and Lieutenants Meeting. Lieutenant Eggers
        asked if when a body cam is present during an incident, should there be more focus on getting
        the person with the body cam closer, for better recording of the events. Director Bolton and
        Steve Durham agreed that it would be an improvement to have .someone "manage the incident,"
        to keep walkways clear and help direct individuals where they are needed.·

        Qpen Discussion
        Director Bolton mentioned that overall in reviewing this incident, policy was followed, State Jail
        regulations were adhered to, KAR was followed, that there were no critical gaps, but the
        department is committed to addressing where improvements could be made. He mentioned
        looking into some best practices and programs - wanting to create a program for people in
        administrative segregation, so that there is some type of protocol for social interaction with other
        inmates. He mentioned there are a couple of models out there, one being on the state DOC level.
        Lee mentioned that Dr. Smith would be introducing a model used at state prison, but it would
        need to be tweaked a bit for our facility.

        Steve Durham referenced equipment issues; the ventilation mask not seali~g Inmate Hindi
        properly because of his beard, and an AED not being on the floor. Director Bolton said an AED
        has since been assigned to this area. Director Bolton has also requested Health Services
        Administrator Lee Zellars look into whether or not there is a mask on the market that is
        specifically for use with individuals who may have full beards.

       In Closing
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i\"    Chief of Staff Clark mentioned he felt the staff performed at their peak in this case.




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       Steve Durham said the notes on Classification and Mental Health were very valuable.
         '                             ,
       Major Ashby said it was very positive for him to see how much Corrections staff cared about
       Inmate Hindi's well-being, even considering Hindi's history of being confrontational with staff.

      Lee Zellars mentioned that he felt the charge nurse did a great job of trying to lead and direct
      people while attempting to revive Inmate Hindi.

      Jamie Allen was very appreciative to be a part of the After Action Review since Classification
      works so much with documenting movement, and that it was good to be able to pull all the
      infonnation out and put the pieces together.

      Doug Hamilton mentioned that it could be beneficial to ask Metro Safe for another radio channel
      that is specifically for critical incidents, so that jamming the radio would not be an issue while
      first responders are trying to gather all necessary personnel and resources. Director Bolton
      agreed and said that he would follow up on that.

      Deputy Director Troutman said he appreciated all senior staff coming down and being on scene
      when the incident occurred, to take care ofissues and wrap it all up. Director Bolton stated this
      would be the protocol in the future as well. Director Bolton added that it was also beneficial to
      have Chaplain Whitlow and Major Ashby at the hospital with Inmate Hindi's family, and also
      gave them a packet of infonnation to help them access grief and counseling resources. This
      packet also included information on how they could retrieve Inmate Hindi's property, and it was
(     substantial in that it doesn't leave an inmate's family to "fend for themselves."

      Meeting adjourned at 10;06am.




                                                                                                    Date


      Cc;    Ellen Hesen, Mayor's Office
             Steve Durham, County Attorney




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                                    Louisville Metro Department of Corrections
                                           After Action Review Agenda
                                                 November 6, 2013


    Facilitator: 1111 ector M,Hk Bolton
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    Time Keeper:                                        Lead                          Start    Stop
                                                                                                           n (mins)
    Recorder: Ronna Martin
    Opening Remarks                                     Director Mark Bolton            9:00        9:02          2


    Classification and Movement                         Jamie Allen                     9:02        9:09          7


    Mental Health Review                                Lee Zellars                    9:09         9:19        10
                                .


    Timeline                                            Lieutenant Chuck Eggers        9:19         9:26         7
    Death Report                                        Lieutenant Chuck Eggers        9:26         9:36        10


    Staff Debrief                                      Major Mike Ashby                9:36         9:43         7
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       opsy                                            Lieutenant Chuck Eggers         9:43         9:50         7
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    Open Discussion                                                                    9:50    10:00           10
    Adjourn                                                                           10:00




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                                  :;::.:;-tfYlA h¢!1~ ..! JP.o" 1f:_...                             bk-                          ~[~I fl._ ~- . _~"-.. :~ _.k:e .                                                                                          ...... . _
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                                    .----- -/fr'--· ~ ___;:r:Vd?±... /iJI__ ~ - --~ - ~ - _p.J~ •.                                                                                                                        - - -- --
________ .--- ·-···. - __ fic:ru.§_tJ. :____J::.t..£_. .fu:?. ___ k1_SJ- .. d.~.t __ .C~Q.l\ij-, ... ---·- -··········- ...... .
                                    . ., ./l.4. ~!'2!.12t<o.C; _ J;{',i.                            ..or..                __ Jf:_.         dkc.,,.. ;~ _ "'"'(:)~ .                                                       l'.iMJ ......::r. .           .,__,:;_\ 1 _. 0..-·

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                                           .. f1(ftl..r. a '                  f.(2 .     d/ia-/ '~ . t;t I( r f , "'t                                      Ir '-1                ,,.,.,, f:.          fJ c-;,, J;               r/o h                  til,r          ff1,.I.,..


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     .           . __ .~. M-.sa:                                                              I.}~_./\<. .bj· ..elea.I. _                                                              J::+ ·~                  ~wt: .. b                                .. Jli<n"kb .... a,.,.,1 _..                     _

                      ............... - .............. l:'J\ ... ~.. -cl!m.L •- ...:;:t:....~u..s; b ..•. &~.\.,\ ..... W~>:>..1=.. ~-S:o --~\-
                          lo.~C .......                _______.£;.K,.~ .. . L'in..                                                            ~-5~+-h<:'.:9-- <:Ub+c - t)"""- --- - ---- - -- ... - .---

            ...~'h~ :. .. ,::r;:                                                       - .l;':n<H.U ... --'~~Y~ .. .n...+                                                        ··- ...:I:....... ;:)"kL ol~.~:b-W.<tn.+ ...d::o ........ .
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          _______________ ..b~.                                                                      ~-                          __ };__ t2.,k.?.•• almw: -JI®-                                                                    -~--((hq.n. t:o__ fiJ(G.h .

                           ----- ---- ---~--'.~!;';___ .£~-~- -{3-~-" - - ... --- ------- ----·--··---- ------ --
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                 _                  f-i.rcfune?1.d:: ... 1:.. --S'-"'Jf__ .s\(b 1 :':.~0i... _~- . 1                                                                                                                           '
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          .... ________                                     . f'.JY:i:"<:                    -·~----~- ~~-- -~"4. h~-~h- Ce..~f-C>li.c:kJ\:1:!~
          __ ../i.euui _; __ £t:1.DY.(jt. ..a..k+:__ ~:~ ..._1l;'"' ,";n•:f:: ..3o-i"cJ .sk. .hc~ .... ... .
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                           H<1J,,,mo-u.d'                                      Pu.e.~                            k                    ~ ·~·°"'·                                 Q.,<       .~ll.
                _ E.f:JZ"': /-ft>w a.re !}~ i cicµ/ ::- .    ·~
                  v<-1.:r h0o=i: M~tt.f KM.ti ef kc.!c _/s fli> -;: z: J:el;i '"                                                                                                                                                                                              .<Je +- Jo
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    11          fayz.-:z ~ /tJo+- cu                                                               1n4c¢                             os                  :I. 1'1-;>s J<'h.< ..                                         ho-r-v                    h_a;..µ.                ~ ~?
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                      _... /:::la hfl1~.-:, .. .. I. 1f'1 ___ J07'n5 . ~~t ~-- . --·· -- ......- - ··--- -- - - - -·-- -· - - ··
   __ __ _ _ __ . _,;_ ___ k_q?Jza. z -0) r!:Y. _ oS°tT<.<!'d _ 1l-• ce¢_, file -~ :?,r;L< t7C.-~"j
                                                    ·.c::-MghtJ!!f!.:Yd._; ____                                             & _ m-edet=-~~---dfi>!t.b..... t:o~ _k,_,.,, _<f:sx:n5                                                                                                                                      ----·
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   ----------- . --·-·(!'_J?.'!'...' .. D1Lr .k~_f? __ f_qt_g _ _ f{_LL.Qf _Nl:tr< f                                                                                                                                                                                                               !zj.Q:<1 _____              ...
-- -- ······-···- ........ ······--- - .. -··· --- -- LLS1:vdf.§ .. .h.te .. -................. ··--·-                                                                                                                         -··-----·- ··- -.. --···-··--·--···. ··----··· .
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__________ ,.,, _f:!:_g_/1111mYoL :. ___                                                                                   ctk____ fr)!                         L ..         J'ffi.ft,£_ .. _.,_Jf-_ .M.~1-.M..L-.-<2<rri~W
 . -- --· - -- -                                    ----- -·-· ···---                                            ·-       ~..... £,Jc;tg_~                                                  ,_ ·--~-- :i:: ... hoJ                                        ·--~ _,s;,1¥···· ~t;'ZJ·:f ..
                                                    cc:.£~ ?q _ -~- xt~                                                             -""'+ . 311.12:-J _rt{,1 +:                                                   H::          _s,,,_+ ·-~--~. 2r,rJ.J.~,, Lfj , _ _
                                                    ....... __ .. __ ... r:JJ. "">±                                                         :S.""-± _S~<:+.<d _<k../c:.~j .~i . _
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   (                                            . . f1_ah~                                                   ;        bPc,W so:..ei .. Jljq1- ~!v 1_,_ 2 q?"-J tt. .~ . .c"-4....
                                                                                                                      .Jl....
                                                                                                              c;j.w - L( C/,;-£c.e,j:_s;. . .! f ~ ~ . . (j . ~,C,r . at.t,,l :i::.. fv:µ,;;,.l'f
                                                                                                             ~                      lw.              ~-~
                                                                    fayzq ~-                                     J-k.ri,                   Lt..<>f                   c~~t .. (7_,z,, -~-                                                                  laf/c                     rfr? _J.t_ a+k"-':)
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                        . .ccc   f    '3!j 'ZS ; __       l)q.d      1••   -L i:. .~0-1'"1. -.. :J:. -~-"'="~- -~ _f!'.>h'l.A.d±.. U:~I-. _ ..
                    ..... _ . . .. _ ....          . W Lu;, .. .d?.              J       b<t . ..LYR\rc    t .. <k>......<b                ! JL. h.? -· - --· . .. ...... .. . ..
                    ·-·- .../.1 ~ . .hm.o'*d·, ...... ::t:IJ ___ !:f._<,,<f                            _,£°e<1c!'··-fqjrt;,:'J···J,,-C)~~----·-···-··-··-
                    ···· .-=.... /'. '::')   2<"   t ..•....   uk:... ..4H.__ .ca~"- .t:~~r                             __ ~ tK~'!lJ- •. ·-- :.;:_ k'.l!~_ &a_L_
                    ..... .... 1.·i _1,. __ JJ2f.Jc'fi!J.--Ctmlffl.r~--- b                                                            ':)1m. ... ,L~ 1 .i;.Lt:·'.~-1"J,,,~1-~
                            - - -            ... u:f+e.c. ~'14:iy.-~-- - -· ·---- ..... ·····- - ------··--·- ---

                   -~-    H:   h~o:.cd.,)~:;r:~'~- ~-~?:J-·_fL1iL~:~~ '~·-·· . . ~:·. ~-~· · - ·-· ·-~· .-~ .. ,.
                    ..... h.'.:\
                            T4 .. L __   2 .....   eJ.g_J __   j_. _ L .. f0J.-q_ff·         ~ct . --                                                 C1.      --·

    - ___ . -~ f.,iq_h111~_.,, __ f;;j..i:rY.'cs;..___ M__f.J:e< __ rJta.1J.. __fflJ..._,.                                                                  -··-··· ___ .-- .

          . ~- f'q;zjzq-:, if.,~,, )(_~ ___ _d<!--d •.. ite.~t . IV..~-"L.                                                                           Cl_.   },o h ... h.~ .

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                        - hi-:j 2o. c                 h'::;>      ~ad ' .
                        -    ka.h.t<'k~.-:. hie.                       :t.      «o<>-<.feft~ ~e"'/                                 .It's      <eq/{tg {jm=/• ~'("<?.
                                                    ~             cr,f ~                 tiksJ.        Sc,·e,,,.f.,';sf-_,              ~ di-'f<';)c«s~ -f'lev.e..l.
                             ~ ~()?«'. ~nt:s                                   t:>-! •            £u.'i-     '.):
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                                 N"-li~: µ "-                       h ... n..            &"     :J"'-'-      h.o_,..,....           ~- f'
               / -               F';'.;)z.,,           ~- -~                   Can.           heµ..r     ~                     ~II.
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               I             M " h ""- e-µ...J ~ ~-"""'                                                ~-!\!I@;~-- !) 1:rU 'r"-                 a I w "7J s
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                  -·----·---------           ------- -------- - ----.S.«-~C:~.>J:~. ------------                                                         -- - - -- ------ -- ------- __ ,, _____ _

__ ____________ ______ fa;fjza                                         L        _&~ h:___ -"-~~ -_                                    .:t:-*- -                    ~ ~±: - - ---~-- -~~ S--
 - - ---- ----- ------- --- ·------------- --------- -~ J,g.3 -- -- fl~ ----~- --"~--'- ---
                                                                                         ------ --- ------ --- - -- --- --- ---- --- --
--------                 ____________ }t_c,rJ1~: _____ G:cm( __ &foM___ V~-- _______ ____ ·----------- ___ __ __ _ -·- - __________ _
-----·-- -- ----~ _-- £'1!)2g;~--- fr~---~ ---~i .• -----~-'CC--___ (lp~~- __ ~i ~}-:~-~.
________________ -=-f:::igh~ '-- __Ir{__ _CM:<-r:~.---- ______ __ _____ _ - __ . --- --
                                            -- = _   6"'1:;)4".: _.~ _ ~ U~-e. __ !·0                                                       ,_ t;:,-d ._ ~"' f /_,_ .o.Y-c __d,,,,,,,+;n._j _
____ _ ______ ___________________c;1'.!d ___                                                    dl,ce'.~__ ft:<:>.                      __ci,~51~!:'-'~J .a~t:_L+- . __________ _

                      ___ ___ _ /viahm~\ ____GoJ_JviJl___ ~'.l\- ~f2Jr8_,~i:\.J . ___ _ __ ·-
                             -- ___ -F~ zq: M:J &od. ___:!&_+ !Jtr<1 #:-e~ • G-ad dc:1_e,., os;,-1- fu--a--e+
                       _ _ _ _ _ _ _ -~>'.lj~---- Seocs± _."}qfe . Ce,ce 4 1)wci::e,lf - _ -
  (                                    ' _ Ma)11~; __ ():µ_Jf- ___f?-"""                                                 ~ll"~2:J --~ ~,                                        'fl~ ~-- l:e!t                                  .£:' -

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                                                     ~<-'/'-:_I: ~,,,~.                                       La..->+- __,bl1/\.A :L- <l--1'.11c-eJ - ~ ~....._._                                            1   :r:. _ ~
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                                     1- -                              - -   ~ r /:'11~ - • +!~
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                                     !                                  Cl;.J.cl           :L     .J-o \d           cl{,~                   J:_        3'-'-• t - \...S>oJ'~             1-c ·f:,,:Sck ' )
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                                     'I'
                                     l1l
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(         ....                ___ ~-              /Y{,<lohtJJ-.¢¥.d! __ Jt,.f~                          _g      [eli,.J. ,       _df..-J 1>:.              j\eA/:, _ k                        !'.\,_   &_JlCY>'-~-
                                       - --- -- -- - - - -- ----- ~ ---· Q                              Cl   d .. ·-- -·--···-- ----- ----- --- -- -- --· -- ·--- . --· - ---··--·· - - ---- -
                          ______             f'.~ ze-.                , _____:s::-"' ~+- _ _ . l<-e..e" _                 rr-u 1~-- -~                           .u.s •              N~tc t=_f.'~-                       J;;,,.____ _

 ----------               ....       ______ {-qJ)C ____ r}-p___~~,--:C--Wgn_.j____ b_                                                                   J-i£.&V:..-~C.J.1'1.l.'4.~i..
-- ----- .... --· - -·-- --- ... .!f..~~-           ~t. ···M w'.rg_ .cL~ '!:'.:)-··kt~ ,., __:I=:.. d.Q_n.'.f .. '/l'""-~---
                                         - ~~Jerw. •~-- J{~ __ d<=>. _&e,;"'-8--'--~~ .. bi,.r __ ¥_+-_~_!:~--~
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    -,,,From:                       Mattiche, Youssef
(       3ent:                       Thursday, October 24, 2013 6:59 PM
        To:                         Baker, Mindy


         Allah! There is no god but He,-the Living, the Self-subsisting, Eternal. No slumber can seize Him nor sleep.
        His are all things in the heavens and on earth. Who is there can intercede in His presence except as He
        permitteth? He knoweth what (appeareth to His creatures as) before or after or behind them. Nor shall they
        compass aught of His knowledge except as He willeth. His Throne doth extend over the heavens and the earth,
        and He feeleth no fatigue in guarding and preserving them for He is the Most High, the Supreme (in glory).
        [The Glorious Quran 2:255]




        Youssef Mattiche
        Louisville Metro Police Department
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      Allah! There is no god but He,-the Living, the Self-
      subsisting, Eternal. No slumber can seize Him nor sleep.
      His are all things in the heavens and on earth. Who is
      there can intercede in His presence except as He
      permitteth? He knoweth what (appeareth to His creatures
      as) before or after or behind them. Nor shall they compass
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      doth extend over the heavens and the earth, and He
      feeleth no fatigue in guarding and preserving them for He
      is the Most High, the Supreme (in glory). [The Glorious
      Quran 2:255]



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                                        Death Regort




                                      Inmate Mahmoud Hindi
                                                           '

                                                CIN # 57796~

                                        Booking #20120~9784




             Prepared by: Lt. lryt Troutman
                           Ofc. Kristopher Johnson
                          Crisis Intervention Team
I.     .                   10/24/2013
 \_/
     ~. .




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        To: Deputy Director Dwayne Clark
             Chief of Staff


        Fr: .Lt. lryt Troutman
            Crisis Intervention Team


        Re: Inmate Mahmoud Y Hindi CIN #577966
             Summary Report

        Dt: October 24, 2013




        On October 24, 2013 a death report was completed on Inmate /Mahmoud Y. Hindi. Inmate Hindi was
        pronounced dead on October 19, 2013 while at University of Lquisville Hospital. The following is a
                                                                          I
        summary of the death report that was completed.

        Inmate Hindi was arrested by Louisville Metro Police on Septeri'iber 6, 2012 at 1929hrs on the charges of
        Murder, Assault 1" degree and 7 counts of Wanton    Endanger~ent 151 degree. Charges from Laurel
        County of Serving warrant for other agency for speeding 7 ove~ were added September 14, 2012.
                                                                       '
       January 1, 2013 he received additional added charges from Mi;tro Corrections for Assault 3'' and
       Terroristic Threatening due to an incident that occurred while ~e was in custody.
((r                                                                   '

 \     Inmate Hindi was booked into the Louisville Metro Department of Corrections on September 7, 2012 at
                                                                      I
       0236hrs. At 0320hrs his medical intake was completed. The bopking process was completed at 0440hrs
       and he was secured in Jl passive booking. At 0555hrs inmate   ~indi was moved from Passive Booking to
       J2W Walk 1cell13. He was seen at 1315 by mental health for ~n evaluation. The psychiatrist saw inmate
       Hindi and prescribed him medication.

       On September 8, 2012 at 0924hrs he appeared in Arraignment/court and was to return back to court on
       September 14, 2012 at 0900hrs. Later that evening at 17.30hrs )nmate Hindi received a visit form Musa
       Hindi and Fatima Hindi. A deposit was also made to his account in the amount of $200.00.

       On September 10, 2012 at 1641hrs inmate Hindi received a visit from Musa Hindi and Fatima Hindi.

       On September 12, 2012 at 1753hrs inmate Hindi received a visit from Hindi Hamza.

       On September 13, 2012 inmate Hindi was remanded into custtjdy without bail on case# 12CR2772.

       On September 14, 2012 at 1106hrs inmate Hindi was in District Court room 203 on Case #12-F-010120
       where he was released on Murder 1", Assault 1" and 7 counts bf wanton Endangerment.

       September 15, 2012 at 1953hrs inmate Hindi received a visit frpm Musa Hindi. At 2033hrs he received
       another visit from Musa Hindi and Hasan Hindi.




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(          September 17, 2012 he was seen by the psychiatrist on first shi;tt. There were no changes to his
                                                                             I
           medicine made at this time. At 1530hrs Circuit Court filed charges for 2 counts of Murder and 7 counts
           of Wanton Endangerment (Case# 12CR2772). A new court       dat~ of October 22, 2012 at 0930 was set. At
           16Slhrs inmate Hindi received a visit from Tarwq Hindi and Musa Hindi. At 2058hrs he was moved from
           J2W Walk 1 cell 13 to J3 North dorm 8 cell 4.

           September 18, 2012 inmate Hindi was seen by mental health ahd it was noted that he was adjusting well
          to the mental health dorm.

          September 19, 2012 his 14 day history and physical and menta! health evaluation was completed.

          September 21, 2012 inmate Hindi received a visit from Hasan Hindi and Hamza Hindi.

          September 24, 2012 inmate Hindi purchased commissary in the amount of $33.30.

          September 26, 2012 at 1230hrs inmate Hindi was seen by mental health and it was reported that he was
          doing well. At 1555hrs a strip search was conducted due to haying a contact visit. This was documented
          in incident report #43205.

          Octoberl, 2012 inmate Hindi received commissary in the amount of $46.86.

          October 4, 2012 at 1300hrs inmate Hindi was seen by mental ~ealth and no issues were reported. At
          1633hrs inmate Hindi received a visit from Hasan Hindi.

          October 8, 2012 inmate Hindi received commissary in the amo\mt of $38.18.

          October 9, 2012 the court date on case #12CR2772 was chang~d to November 11, 2012 at lOOOhrs.
          Inmate Hindi was seen by mental health at 1100hrs and no iss~es were noted.

          October 17, 2012 inmate Hindi.was seen by mental health witH no issues reported. He was also seen by
          the psychiatrist with no change in medication made.

          October 18, 2012 at 1636hrs inmate Hindi received a visit from Hasan Hindi.
                                                                         '
                                                                         '
          October 21, 2012 a deposit was made to inmate Hindi's account.

          On October 22, 2012 inmate Hindi refused to take his medicati,bn. He also purchased commissary in the
          amount of $42.00.

          On October 25, 2012 inmate Hindi was seen by mental health ~t 1100hrs.

          October 28, 2012 at 1643hrs inmate Hindi received a visit froni Hasan Hindi.

          October 31, 2012 inmate Hindi purchased commissary in the amount of $22.40.
                                                                        '
          November 2, 2012 at 1000hrs the court date for case #12CR27i72 changed to January 14, 2013 at 0845.

          November 4, 2012 at 1000hrs inmate Hindi received a visit from Hasan Almohroug.


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   November 5, 2012 inmate Hindi purchased commissary in the amount of $49.47.

  November 12, 2012 a deposit of $200 was made to inmate Hin~i's account. He also purchased
  commissary in the amount of $53.36.

  November 15, 2012 at 1640hrs inmate Hindi received a visit frqm Hasan Almohroug. At 2200hrs a health
  service request was filed regarding allergies.

  November 17, 2012 at 1330hrs a compliant to medical was ma~e of a rash caused by his underwear.
  When checked by the nurse no rash was noted. Inmate Hindi b~came upset and the assessment was
  ended.

  November 18, 2012 at 1936hrs inmate Hindi received a visit frtjm Fatima Hindi and Yousef Hindi.

  November 19, 2012 commissary was purchased in the amount 1of $51.17.

  November 25, 2012 at 1647hrs inmate Hindi received a visit frqm Tareq Hindi.

  November 26, 2016 inmate Hindi purchased commissary in      th~ amount of $44.52.
  November 29, 2012 at 1633hrs inmate Hindi received a visit fr9m Hasan Hindi.
                                                                I'
  December 2, 2012 at 2154hrs inmate Hindi received a visit frorp Phillip Crowe.

 December 3, 2012 at 0924hrs the court date for case #12CR27Z2 was changed to December 3, 2012 at
 1100hrs. Another return to court date was set for January 14, ~013 at 0845hrs.
                                                                    ;


 December 5, 2012 commissary was purchased in the amount       or $34.42.
                                                                    !
                                                                    j
 December 6, 2012 at 1014hrs an incident report (#44661) was pompleted for unauthorized contact with
 the public. Inmate Hindi was moved from J3 North dorm 8 cell !I at 1138hrs and then moved again at
 2051hrs to J3 North dorm 8 cell 6. Also a commissary adjustmelnt was placed on inmate Hindi's account
 in the amount of $34.42.

 December 7, 2012 inmate Hindi received disciplinary for disru~ive behavior and engaging in sexual
 activities with another person. He received 15 days probated fcpr the offenses.

 December 10, 2012 inmate Hindi was seen by the psychiatrist cpn first shift. There was also a deposit
 made to his account in the amount of $200.

 December 11, 2012 inmate Hindi purchased commissary in the) amount of $59.64.
                                                                i
 December 13, 2012 at 1633hrs inmate Hindi received a visit frqm Hasan Hindi.

 December 17, 2012 inmate Hindi purchased commissary in the: amount of$57.40.




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(          December 18, 2012 inmate Hindi was seen by mental health ati1215hrs. He expressed concerns about
           others in the dorm. On this day he also had a commissary adju!itment in the amount of $1.20 added to
           his account.

           December 23, 2012 at 122lhrs inmate Hindi received a visit frdm Musa Hindi.

           December 24, 2012 inmate Hindi purchased commissary in thelamount of $47.16.

           December 27, 2012 at 1653hrs inmate Hindi received a visit frdm Yousef Hindi and Hamza Hindi.

                                                                       ' a compliance rate of 93% was
           December 31, 2012 inmate Hindi was seen by the psychiatrist ~nd
           reported. Also on this day inmate Hindi purchased commissary[ in the amount of $48.54.

          January 1, 2013 at 0730hrs charges of Assault 3rd and Terroristi'.c Threatening 3rd were added as a result
          of an incident (#45106). At 1029hrs inmate Hindi moved from       ~3 North dorm 8 cell 6 to J2W Obs 1 bed 3.
          At 1330hrs the doctor and nurse spoke to inmate Hindi about ~he altercation that occurred and inmate
          Hindi stated that he would kill the officer. Inmate Hindi was als~ seen by the psychiatrist who prescribed
          new medication in which inmate Hindi refused to take.

          Ja.nuary 2, 2013 at 0951hrs a court date on case #13-F-000021 fNas set for January 3, 2013 at 0900.
          Inmate Hindi was seen again by the psychiatrist. It was reported that inmate Hindi was having homicidal
          ideations towards a particular officer. Due to this his medicati+n was changed.
(
          January 3, 2013 at 0917hrs inmate Hindi went to court and a new court date on case #13-F-00021 was
                                                                              I
          set for January 14, 2013 at 0900hrs. At 1015hrs inmate Hindi Vl(as seen by mental health and was placed
                                                                              I
          on the movelist to a mental health dorm. Inmate Hindi was alsi;> seen by the psychiatrist, and at this time
          there were no homicidal or suicidal ideations. At 1744hrs inma,~e Hindi was moved from J2W Obs 1 bed
          3 to J2W dorm 9 bed 12. At 1745hrs he was moved again to J2W dorm 9 bed 11.

          January 4, 2013 1827hrs inmate Hindi was moved from J2W ddrm 9 bed 12 to J2W dorm 9 bed 1.
          Disciplinary was issued as a result of incident #45106,   resultin~ in 60 days to serve plus 15 days probated
          for disruptive behavior, using abusive vulgar language towards, staff, refusing to follow orders and
                                                                            I
          assaulting staff.

          January 9, 2013 inmate filed a grievance against security staff.'

          January 10, 2013 inmate Hindi was seen by mental health at 1330hrs. On this day a deposit was made
          to his account in the amount of $200.

          January 14, 2013 at 0845hrs inmate Hindi went to court and a new date of March 4, 2013 0900hrs was
          set for case #12CR2772 and a date of July 15, 2013 0900hrs.w~s set for case #12-F-000021.

          January 16, 2013 inmate Hindi was seen by the psychiatrist on ifirst shift. Changes were made to his
          medication.

          January 18, 2013 inmate Hindi purchased commissary in the amount of $28.90.


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         January 19, 2013 at 1637hrs inmate Hindi received a visit from !Hasan Hindi.
                                                     .
        January 22, 2013 at 1618hrs inmate Hindi was moved from J2'1dorm9 bed 1 to J2W walk 1 cell 3.
                                                                              I
        January 23, 2013 at 08S9hrs inmate Hindi was moved from J21 walk 1 cell 3 to J2W dorm 8 bed 2.

        January 24, 2013 inmate Hindi was seen by the psychiatrist on rirst shift. Inmate Hindi requested to
        m·ove to another dorm.                                                /

        January 2S, 2013 inmate Hindi purchased commissary in the arhount f $13.36.
                                                                              i
        January 28, 2013 at 1702hrs inmate Hindi was moved from J2t. dorm 8 bed 2 toJ2W dorm 9 bed 6.

        January 31, 2013 at 1104hrs inmate Hindi was moved from J2"1' dorm 9 bed 6 to J2W walk 1 cell S. At
        1108hrs he was moved again to J2W walk 1 cell 9.                      I
        February 1, 2013 inmate Hindi was seen by the psychiatrist an changes were made to his medication.
        At 1304hrs inmate Hindi was moved from J2W walk 1 cell 9 to 2W walk 1 cell S.

        February 4, 2013 at 1638hrs inmate Hindi received a visit from Hamaza Hindi and Hasan Hindi.

        February S, 2013 at 1600hrs inmate Hindi was seen by mental . ealth and no complaints were noted.
                                                                          I
        February 6, 2013 an incident report (#4S941) w.as com. pleted or inmate Hindi for suicide prevention.
(Ir     Inmate Hindi was moved from J2W walk 1 cell S to J2W walk    1~ell12.
  \                                                                       I
        February 7, 2013 inmate Hindi was seen by both mental health/ and the psychiatrist. At 2139hrs inmate
        Hindi was moved from J2W walk 1 cell 12 to HS west dorm 9 c,11 2. Commissary was purchased in the
        amount of $22.40.                    .                            :
                                                                          i
        February 9, 2013 at 1230hrs inmate Hindi was placed on suicidf precautions after voicing thoughts of
       self-harm, feeling confused and paranoid. Later at 1303hrs in"jate Hindi was moved from HS West dorm
       9 cell 2 to HS east North 1 cell 1.                                I
       February 10, 2013 at 141Shrs inmate Hindi was seen by mental health and denies suicidal ideations. He
       also spoke with the psychiatrist about medication. At 1636hrs nmate Hindi received a visit from Yousef
       Hindi and Fatima Hindi.                                            i
                            .                                         I
       F~bruary 11, 2013 inmate Hindi was seen by mental health at f200hrs. He also purchased commissary in
       the amount of $22.40.                                          /            .

       February 12, 2013 inmate Hindi was seen by mental health an1 the psychiatrist. He was changed from a
       level 1 observation to a level 2 observation. A deposit of $200 ras made to his account on this day.

       February 14, 2013 inmate Hindi was seen by mental health.   H~ complains of forgetfulness and is to
       remain on level 2 observation. The next several days he receivr a daily visit from mental health.

       February 18, 2013 inmate Hindi made a commissary purchase In the amount of $3.lS.
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       February 19, 2013 inmate Hindi was seen by mental health anJ reports sadness over being in a single
      cell and wants to go to a dorm.                                         I                                                  (-'
      February 20, 2013 inmate Hindi was seen by mental health. Hef also received a commissary adjustment
      of $3.15 added to his account.                                          I
                                                                              I

      February 21, 2013 inmate Hindi was seen by mental health and his medication was discussed. He was
      later seen by the psychiatrist where sadness was reported andlmedications were changed. He was
      cleared for general population.                                     I
      February 22, 2013 inmate Hindi refused to take his evening    m~dication. He also refused to take his
      morning medication on February 25, 2013.
                                                                          'i
                                                                          I
      February 27, 2013 inmate Hindi was seen by the psychiatrist, af that time he was very confrontational
      and said he would hurt staff and others.                            I                                         ·
      February 28, 2013 inmate Hindi was seen by mental health anq requested that his medication be
      changed.                                                            I
      March 2, 2013 at 1948hrs an incident report (#46394) was    co~pleted for inmate Hindi being disruptive,


      March 3, 2013 at 0135hrs inmate Hindi was seen by medical.     i
      refusing to follow orders, and assaulting staff. Disciplinary for t~is was dismissed due to due process.
                                                                          i
                                                                                  complained that he was kicked in the
      side. An x-ray was ordered and at 0401hrs inmate Hindi was m ved from HS East North 1 cell 1 to J2W
      walk 2 cell 4. At 0818hrs an incident report (#46419) was com leted due to inmate Hindi being                          (
      transported to University of Louisville Hospital.                   i
      ~arch 4, 2013 at 0900 inmate Hindi was assigned a new court ~ate of April 26, 2013 at 0845 for case
      #12CR2772. Inmate Hindi also filed a grievance against prope~y.                       .

      March 6, 2013 at 0235hrs inmate Hindi was moved from J2W falk 2 cell 4 to J2W walk 2 cell 1 after
      returning from the hospital. Later on first shift he was seen by [nedical and the psychiatrist. He was
      argumentative and refused to sign the consent forms for med if ation.

      March 7, 2013 inmate Hindi was seen by the psychiatrist and    h~s medications were changed.
                                                                      I
                                                                      I
      March 8, 2013 inmate Hindi purchased commissary in the am9unt of $31.79.
                                                                      I
      March 10, 2013 a deposit was made to inmate Hindi's account Iin the amount of $200.
                                                                      i
     March 11, 2013 inmate Hindi was seen by medical and changef were made to his medications. At
     1642hrs inmate Hindi received a visit from Yousef Hindi and Fa~ima Hindi.
                                                                      !

     March 13, 2013 a grievance was filed against security.

     March 15, 2013 inmate Hindi was seen by the psychiatrist. He    ~lso          ordered commissary in the amount of
     $10.97 on this day.

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   March 16, 2013 at 1650hrs inmate Hindi received a visit from iasan Hindi.

   March 20, 2013 inmate Hindi was seen by mental health. He al~o ordered commissary in the amunt of
   $11.20 on this day.                                                      i
                                                                            I
   March 22, 2013 inmate Hindi was seen by medical and medicafions were changed. He was released
  from the medical unit. At 2114hrs inmate Hindi was moved frot" J2W walk 2 cell 1 to J4 South dorm 7
  cell 6. He ordered commissary in the amount of $27.49 on this~ay.
                                                                        i
  March 28, 2013 inmate Hindi was seen by mental health. He r~ceived a commissary adjustment in the
  amount of $2.40 added to his account.                                 I
                                                                        I
  April 2, 2013 inmate Hindi returned from the clinic. No new orrers were given. He also purchased
  commissary in the amount of $14.80.

  April 4, 2013 inmate Hindi was   seen by mental health.               I
                                                                        j
  April 9, 2013 inmate Hindi purchased commissary in the amoutt of $37.24.

  April 11, 2013 inmate Hindi was seen by mental health with not concerns noted.

  April 13, 2013 at 1637hrs inmate Hindi received a visit from Ha~an Hindi.
                                                                    i'
  April 14, 2013 at 1730hrs inmate Hindi moved from J4 South dfrm 7 cell 6 to J4 South dorm 7 cell 7.

  April 17, 2013 at 1320hrs inmate Hindi was seen by mental he Ith.

  April 23, 2013 a deposit was made to inmate Hindrs account i . the amount of $26.95. He also
                                                                    I
  purchased commissary in the amount of$36.70.
                                                                    '
  April 26, 2013 at 0845hrs inmate Hindi went to court and a net court date was set for June 3, 2013
  lOOOhrs for case #12CR2772.                                       I
 April 30, 2013 inmate Hindi ordered commissary in the amount of $43.26.
                                                                    I
                                                                    I
  May 2, 2013 inmate Hindi was seen by mental health.
                                                                I
 May 6, 2013 a Health Service Request was filed requesting   me~ication change.
                                                                i
 May 8, 2013 inmate Hindi was seen by mental health and requFsted mediation change.

 May 9, 2013 inmate Hindi filed a Health Service Request regarJing a wart on his hand and back pain.

 May 10, 2013 inmate Hindi was seen by mental health. He alsol purchased commissary in the amount of
 S40.14 on this day.                                            I'
                                                                I
 May 11, 2013 at 0739hrs inmate Hindi received a visit from Mijsa Hindi.
                                                                I
 May 13, 2013 inmate Hindi was seen by medical for his lower !lack pain.
                                                                '
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           May 15, 2013 at 1649hrs inmate Hindi received a visit from Hajnza Hindi.
                                                                             i
           May 16, 2013 inmate Hindi was seen by mental health.              /
                                                                             I
           May 17, 2013 inmate was seen by mental health. He also filed~ grievance on classification.

          May 22, 2013 inmate Hindi purchased commissary in the amoJnt of $59.14.
                                                                             i
          May 28, 2013 inmate Hindi was seen by the site medical directpr. He complained of lower back pain. His
          medication was changed.                                        '                                  ·
                                                                         i
          May 29, 2013 inmate Hindi purchased commissary in the    amo~nt of $46.86.
                                                                   ' of $20.00.
          May 30, 2013 inmate Hindi purchased commissary in the amm)nt
                                                                         '




                                                                         I
          June 3, 2013 at 1000hrs inmate Hindi went to court and a newlcourt date was set for August 26, 2013 at
          0845hrs for case #12CR2772.                                    I
                                                                         I
          June 4, 2013 inmate Hindi purchased commissary in the   amou~t of $55.89.
                                                                         i
                                                                         I
          June 6, 2013 inmate Hindi purchased commissary in the amou~t of $19.95.
                                                                         I
          June 12, 2013 at 1640hrs inmate Hindi received a visit from Ha~an Hindi. He also purchased commissary
          in the amount of $44.88 on this day.                           I
                                                                         I
          June 19, 2013 at 1644hrs inmate Hindi received a visit from Hafan Hindi.
                                                                         I
          June 23, 2013 maccount balance was transferred from IMS to ~ail. Inmate Hindi's balance is $170.61.
                                                                         i
          June 26, 2013 inmate Hindi was seen by mental health and askfd to be moved to the mental health unit.

          July 12, 2013 inmate Hindi was seen by mental health with no   ~ssues noted.
                                                                         I
          July 13, 2013 inmate Hindi purchased commissary in the amourt of $58. 72. His balance is $111.89.

          July 15, 2013 at 0929hrs inmate Hindi went to court and a new! court date was set for December 6, 2013
          at 0900hrs for court case #13-F-000021.                        I
                                                                         i
          July 17, 2013 inmate Hindi was seen by mental health on 2 occ~sions. He also had 3 commissary
          purchases in the amounts of $7.25, $23.42 and $5.60 leaving him a balance of $75.62.

          July 23, 2013 inmate Hindi purchased commissary in the amou~t
                                                                      '
                                                                        of $38.06 leaving a balance of$37.56.

          July 26, 2013 inmate Hindi was seen by mental health.
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                                                                         I
         July 28, 2013 inmate Hindi received a deposit to his account in ~he amount of $200 leaving him a
          balance of $237.56.
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                                                                                          I
                    July 30, 2013 inmate Hindi purchased commissary in the    amou~t of $50.35 leaving him a balance of
                    $187.21.                                                              I
                    August 1, 2013 inmate Hindi was seen by mental health.                I
                                                                                          i
                    August 8, 2013 inmate Hindi was seen by mental health and reruested to speak to the psychiatrist.

                    August 12, 2013 a Health Service Request was filed regarding 9ack pain and a wart.
                                                                                      I
                    August 13, 2013 inmate Hindi filed 2 grievances. One was agai~st classification and one was against
                    recreation.
                                                                                      I
                   August 14, 2013 at 1650hrs an incident report (#49652) was ctjmpleted due to inmate Hindi being
                   disruptive. He was seen by medical due to complaints of pain tb neck, knees and ribs. At 1810hrs
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                   another incident report (#49714) was completed due to a stri~ search being conducted on inmate Hindi
                   after a contact visit with his family.

                   August   is, 2013 inmate Hindi was assessed
                                                                                      I
                                                                 by a nurse due to 4omplaints of pain to ribs. He demanded
                   to go to the ER. An EKG was completed and his vitals were norjnal. At 1140hrs he was seen by medical
                   for his Health Service Request. He refused pain protocol. He alfo filed a grievance against programs on
                   this date.                                                     /
                                                                                  i
(
                   August 16, 2013 inmate Hindi was uncooperative at the chronrt care clinic. At 1530hrs an incident report
 '   ((            (#49714) was completed due to inmate Hindi being placed on uicide observation. He was seen by
      \
                   mental health due to a phone call from his wife, who reported that Hindi was hailing suicidal ideation. At
                   2214hrs inmate Hindi was moved from J4 South dorm 7 cell 7 ~o J2W walk 1 cell 6 on observations.

                   August 17, 2013 a wellness check was conducted on inmate Hfdi.

                   August 18, 2013 a wellness check was completed on inmate Hil1di. Inmate Hindi purchased commissary
                   in the amount of $55.44 leaving him a balance of $131.77.      I
                   August 19, 2013 inmate Hindi filed a grievance against medical:
                                                                                  I
                   August 20, 2013 inmate Hindi was seen by mental health. He also filed a grievance against security staff.

                   August 21, 2013 inmate Hindi purchased commissary in the aiount of $22.40 leaving him a balance of
                   $109.37. At 1105hrs an incident report (#19822) was complet~d from inmate Hindi being disruptive.
                   Wellness checks were completed on all shifts.                  i
                                                                                  I
                   August 22, 2013 inmate Hindi had wellness checks conducted ~n all shifts. It was noted during the
                   second shift check that he was agitated.                      I
                                                                                 I
                   August 23, 2013 inmate Hindi was seen by medical for complaints of finger pain. At 0736hrs inmate
                   Hindi was moved from J2W walk 1 cell 6 to J2W walk 1 cell 4. Wellness checks were conducted.

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(          August 26, 2013 inmate Hindi went to court and a new court d~te was set for October 16, 2013 at
           0845hrs for case #12CR2772. Wellness checks were completed! on all shifts.
                                                                                   i

          August 27, 2013 wellness checks were conducted on inmate Hihdi. He had a credit in the amount of
                                                                        '
          $22.40 placed on his account leaving him a balance of $131.77i
                                                                                   '
                                                                                   !

          August 28, 2013 inmate Hindi had wellness checks conducted. Me was also seen by the psychiatrist and
          taken off observations. He purchased commissary in the amoupt of $22.40 leaving him a balance of
          $109.37.           .                                                 !

          August 29, 2013 inmate Hindi was seen by medical and pain prltocol was ordered. Inmate Hindi
                                 .                                             '
          purchased commissary in the amount of $59.23 leaving a bala~ce of $50.14.
                                                                               [

          August 31, 2013 at 2132hrs inmate Hindi was moved from J21 walk 1 cell 4 to J2W walk 2 cell 10.

          September 3, 2013 mental health received a phone call from itjmate Hindi's spouse. She stated that he
                                                                               I
          is not going to harm himself and that he wants off observation~. Mental health followed up.

          September 4, 2013 inmate Hindi was seen by mental health. A/deposit was made to inmate Hindi's
          account in the amount of $200 leaving him a balance of $250.14.
                                                                    !
          September 6, 2013 inmate Hindi purchased commissary in thefamount of $11.20 leaving him a balance
          of $238.94. ·                                                    I
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          September 9, 2013 inmate Hindi purchased commissary in thelamount of $58. 75 leaving a balance of
          $180.19.                                                         !
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          September 11, 2013 inmate Hindi filed a health Service Reque$t complaining of neck pain and
          constipation. He also purchased commissary in the amount off 5.60 leaving a balance of $174.59.

          September 12, 2013 inmate Hindi filed a Health Service Reque$t for edema in lower extremities. He also
          purchased commissary in the amount of $59.23 leaving a balatce of $11.36.

          September 13, 2013 inmate Hindi was seen by medical to add~ess Health Service Requests. He also filed
                                                                      '
          a grievance against security staff.                        I'

          September 17, 2013 inmate Hindi filed 2 grievances. One was gainst recreation and one was against
          medical.
                                                                       I
                                                                      i
          September 19, 2013 inmate Hindi was seen by the psychiatristf he complained of decreased sleep so
          medication was changed. He also purchased commissary in th+ amount of $40.02 leaving a balance of
          $75.34. Inmate Hindi also filed a grievance against staff.   ·

          September 20, 2013 inmate Hindi was moved J2W walk 2 cell    }o to HS North 1 cell 3.
                                                                       i
                                                                    ' amount of $27.65 leaving a balance of
          September 23, 2013 inmate Hindi purchased commissary in th~
          $47.69.


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            September 24, 2013 inmate Hindi was seen by mental health at requested to be moved to a mental
           health dorm. He filed 2 grievances, one against classification     a~~ one against medical.
                                                                                      !
           September 25, 2013 inmate Hindi filed a Health Service Reques~ for neck pain and side effects to
           medicine. At 1646hrs inmate Hindi received a visit from Hasan ~indi.
                                                                                      !

           September 26; 2013 inmate Hindi was taken to gym.
                                                                                      I
                                                                                      '·
           September 27, 2013 inmate Hindi filed a grievance against sta,.

           September 28, 2013 inmate Hindi refused to see medical to ad1ress Health Service Request.
                                                                                  I
           September 29, 2013 a deposit was made to inmate Hindi's acctjunt in the amount of $200 leaving a
           balance of $247.69.                                                    j
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           October 2, 2013 inmate Hindi was seen by the medical doctor ! d medicine was prescribed. He also
           purchased commissary in the amount of $51.72 leaving a balanl e of $195.97.

           October 4, 2013 inmate Hindi was taken to the gym.                     I

          October 11, 2013 inmate Hindi was taken to the gym.                     I
                                           .            .                         !
          October 16, 2013 at 0845hrs inmate Hindi was taken to court ar.d a new date was set for December 13,
(   .     2013 at 0845hrs for case #12CR2772.                                                   ·
\   ((
          October 19, 2013 at 1559hrs an incident report (#51051) was sJarted for inmate Hindi to be taken to
                                                                          ~MS were on the scene. At 1630hrs
          University of Louisville Hospital. At 1605hrs Louisville Fire and
          inmate Hindi departed for University of Louisville Hospital via E~S. At 1645hrs inmate Hindi was
          pronounced dead.                                                        I
          October 22, 2013 a critical incident debriefing was conducted br Major Ashby.             mattendance were most
          officers, sergeants and lieutenant that were involved, medical, rental health, senior staff, and crisis
          intervention team members.                                              1


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          Additional Information
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          There were no records found of any professional visits even tho ugh he did receive them. He had
          attorney visits and an in-house evaluation.
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          He also received regular visits. From June 23, 2013 forward a   re~ort was not able to be generated
          showing all visits.                                                 !



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                                        Mahmoud Hindi Critical lncidenl! Debriefing
                                                     10-22-2013

          Director Mark Bolton               Donna Smith, MD                        Kristie Daugherty
          Chief "of Staff Dwayne Clark       Samuel Whitlow, Jr.                    Steve Durham
          Deputy Director Eric Troutman      Tony Harris                            Lieutenant lryt Troutman
          Major Ashby                        Officer Ryan Taylor                    Officer H. Simmons
          Officer M. Forbes                  Officer Richardson Stimphilj           Lieutenant Nicholas Angelini
          Lieutenant S. Gilbert              Officer Mario Cooper                   Kevin Smith, MD
          Sergeant P. Summers                Nicole Bertram, LPN
          Sergeant D. Gibson                 Latashia Griffith, LPN
          Angel Malone, RN                   Sharon Hammond, LPN
          Captain M. Hogan                   Officer DeSean Ramsey
          Kibibi Wood-Montgomery             Sergeant C. Hornback
          Sharolyn Richardson                Officer R. Skaggs
          Lee Zellars                        Officer G. Sanders

         Debriefing commenced at 1600
         Director Mark Bolton opened the debriefing by mentioning that the last successful suicide at Louisville
         Metro Department of Corrections was in 2010. He gave accola~es to the first responders and those
(        involved in this incident for their quick action and persistence i(l attempting to revive Inmate Mahmoud
         Hindi. Director Bolton encouraged everyone that should there ibe anyone struggling with this incident,
         to be sure to speak up and let someone know; that there are rejsources available to help individuals cope
         with the trauma and stress associated with critical incidents.

         Major Mike Ashby informed everyone how the debriefing form~t was going to be organized; that those
         involved in the incident would give their timeline first, then th~ next person who came onto the scene
         giving their timeline next, coinciding with the chronological tim~line in which the event unfolded. He
         mentioned that this event can also certainly be used as a learni!ng experience and urged others to speak
         up and share if they were to see a need for improvement in any process as the incident details are given.
         Major Ashby also handed out literature from the CIT team that 1he encouraged those directly involved in
         this incident to read.

         Below is each responder's description of the incident in   chron~logical order:

         Officer R. Skaggs reported that he was on JS during 2"' shift, a~d at 1555 he observed Inmate Mahmoud
         Hindi hanging from his bunk with a sheet tied around his neck ~s a noose. He said he ran out and asked
         for assistance and then went back to Inmate Hindi and tried toipick him up in order to remove the noose
         from Hindi's neck, but he could not get the sheet off. Officer R~msey came to help and Officer Skaggs
         instructed Ramsey to get the Knife For Life, so Officer Ramsey rlan to go get it. Officer Skaggs had
         managed to get Hindi to the floor and remove the sheet from around Hindi's neck by the time Officer
         Ramsey returned with the knife. Nurse Malone came onto theiscene next and this is when Officer
         Skaggs exited the cell.

         Officer DeSean Ramsey said he was working 2"' shift in Control, when he saw Officer Skaggs run out of
         Inmate Hindi's cell. Officer Ramsey saw Hindi with the sheet around his neck, and Officer Skaggs told       (_,./




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       Officer Ramsey to get the Knife for life, so he ran to get it. By the time Officer Ramsey returned, Officer
      Skaggs had moved Inmate Hindi to the floor and removed the s~eet from his neck. He said Officer
f
\
      Skaggs was tapping on Inmate Hindi and calling his name, and doing sterna rubs. Officer Ramsey said
      Nurse Malone entered the cell and started performing CPR; do~ng chest compressions and the ambu-
      bag. Officer Ramsey said he helped with the bag, more people ~ame and swapped out helping with the
      bag, as well as Officer Forbes. Officer Ramsey said EMS arrived) and he was still helping by applying
      oxygen to Inmate Hindi. He said he helped with oxygen until Inmate Hindi was placed into the back of
      the ambulance, and that was when EMS relieved Officer Rams~y.

      Officer G. Sanders said he was working on HS and came over from the South side because he heard
      Officer Skaggs yell for Officer Ramsey. Officer Sanders went in~o the cell and helped Officer Skaggs by
      picking Inmate Hindi off the floor and Officer Skaggs pulled the isheet off of Hindi. Officer Sanders went
      and got the Ambu-bag, placed the mask on Inmate Hindi's face/and did bag compressions for a little
      while. He said after about 4-5 minutes, Officer Ramsey took o~er, as Officer Sanders was in a very
      awkward position and was experiencing cramping. This is whe~ Officer Sanders exited the cell.

     Nurse Angel Malone is the weekend supervisor for 1" and 2"' s~ift. She was doing Accu-checks on
     inmates when she heard an Officer yell for her. She put the Ac¢u-check away and asked for all nurses
     STAT. Nurse Malone saw Inmate Hindi on the floor and she saW Officer Ramsey attempting to revive
     Hindi. She performed sternal rubs and checked for a pulse. She said she felt no pulse and began chest
     compressions. She said for someone to call 911 and was told i~ had already been called. Officer Skaggs
     aske.d her if she needed someone to relieve her, she said yes. ~he was relieved of chest compressions
     but remained in the cell, checking Inmate Hindi's pulse. She al~o applied oxygen to Inmate Hindi. Nurse
     Malone said EMS arrived, and she stayed with Hindi as he was transferred into the ambulance.
                                                                         ;

      Sergeant Chris Hornback was the Sergeant on duty, and said at/1559 officer Ramsey was in Control. He
      said when he and Officer Ramsey went into Inmate Hindi's cell,! Hindi was on the floor and officers were
      already checking him and attempting to revive him. Sergeant fiornback went and got Nurse Malone and
      told officers on the radio to get more assistance, and also radiqed for EMS. Officer Hornback assisted ·
      with the Ambu-bag, and said someone relieved him after a while, he thinks Officer Sanders, but was
      uncertain who it was. Officer Hornback called EMS again, told Control to tell EMS to step it up and
      Officer Hornback also called out Code 3. He said he stepped o~t of the cell and took notes once Officer
      Ramsey relieved him. Officer Hornback said other officers and [nurses arrived, each assisting with
     relieving others on performing CPR on Inmate Hin.di. He said o,'fficer Taylor had the camera at that point
     and was recording the incident. Officer Hornback said EMS arr!ved, and that he also posted an officer at
     the entrance of the cell, taking notes. Officer Hornback said El\(1S took over the CPR, and that he could
     not see everything going on inside the cell at that point becaus~ there were so many people in it. He
     said Inmate Hindi was placed onto a stretcher and taken to thei ambulance, meanwhile CPR continued
     the entire time. He said the cell and the scene were secured a~ that point so that nothing would be
     disturbed prior to an investigation. Officer Hornback said that he was informed by radio that Inmate
     Hindi would be located in room 9 at the hospital. He said at 1~45 the hospital called, Lieutenant Gilbert
     answered, and the hospital informed him that lnmat.e Hindi hab passed away. Officer Hornback said
     they kept the scene clear, kept the cell secure, interviewed oth~rs involved and filed incident reports.
                                                                     ;
     Officer Ryan Taylor works 2"' shift on HS, and was coming out i>f dorm 9, when he saw Officer Ramsey
     getting the Knife for Life and calling Sergeant Hornback. Office~ Taylor went and got the bodycam and
     said he observed Officers Sanders, Skaggs and Ramsey attemp~ing to revive Inmate Hindi. Officer Taylor
     said he stood back out of the way because the officers had startled CPR, so he filmed the incident. He
     said he also followed when officers and EMS took Inmate Hindi down to the ambulance.




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              Sergeant P. Summers was working overtime on H6, said he was: with Grieser when he heard Sergeant
    (         Horn back's radio transmission. Sergeant Summers said he got l!Jn the radio and asked for assistance. He
              heard Sergeant Hornback say CPR had been started. When Sergeant Summers arrived, he saw that work
              aides were out, so he told the officer in the hallway to lock the floor down. He saw CPR being
              performed by an officer and Sergeant Hornback assisting on the bag ventilation. Sergeant Summers said
              he told Officer Cooper to take detailed notes on the incident ta~ing place. He also told Officer Bullard
              (sp7) to take notes of all activity on the elevator. Sergeant Sum)Tiers then asked the individuals
              performing CPR on Inmate Hindi if anyone needed to be reliev~d, and he then took over the mask for
              Officer Sanders and CPR continued. Sergeant Summers said he:remained in the cell until EMS arrived,
              and then he backed out and got 2 officers assigned to escort lninate Hindi in the ambulance. He also
              assigned an officer to get shackles. Sergeant Summers said he $tayed Inmate Hindi was placed on the
              stretcher, he instructed officers to shut the cell and secure it, a~d then he went down to the ambulance
              with the officers as Inmate Hindi was taken down. Sergeant Su!nmers instructed Taylor to take pictures
              and give them to Sergeant Hornback. Sergeant Summers said ~e went to HS Control after Inmate Hindi
              departed in the ambulance.

             Sergeant D. Gibson said he was working 2°• shift when he hear~ the call on the radio for assistance with
             Inmate Hindi, and that he had Officer Forbes and Lieutenant Gi)bert go to assist. Sergeant Gibson heard
             another call go out on the radio and so he got on the elevator and went to get the ER bag and the
             oxygen and went to Inmate Hindi's cell. Sergeant Gibson said ~e observed Officer Skaggs already giving
             chest compressions, and Sergeant Gibson asked him if he need~d to be relieved, so he stepped in for
             Officer Skaggs and·gave compressions for a while. Sergeant Gillison said he and Officer Forbes took
                                                                               '                                .
             turns giving compressions for a while, and switched out 3-4 times. He said Louisville Fire Department
                                                                               I
             arrived, and EMS was also contacted. He also said the EMTs stf pped into the rotation of performing·
I            chest compressions on Inmate Hindi. Sergeant Gibson said EMj; also gave 3 shots to Inmate Hindi, and
             hooked him up to a bag of fluids. He said nurses tried to get a pulse and vitals. He said the back board
             was brought in, and he helped put Inmate Hindi onto the board. Sergeant Gibson said Officer Forbes
             held the bag of fluids and that they took Hindi out of the cell arid placed him on the stretcher. He said a
             paramedic placed an airway line into the throat of Inmate Hind11and then placed the ventilation bag
             onto the airway line, also placing oxygen on Hindi. Sergeant Gi~son said he accompanied the group
             down to the ambulance, then boarded the ambulance and rod¢ to the hospital with Inmate Hindi, also
             continuing to give chest compressions, still rotating with others. He said when they arrived at the
             hospital, the ER staff took over the CPR. Once the ER staff call~d the Time Of Death, Sergeant Gibson
             contacted Lieutenant Gilbert to inform him. Sergeant Gibson s~ood by for interview and a nurse gave
             him Inmate Hindi's property. Sergeant Gibson said PIU and LMiPD Officer Goins, as well as the Deputy
             Coroner arrived and interviewed officers, and that Major Ashbt arrived as well. Sergeant Gibson said
             CSU arrived and then Officer Goins cleared him and other officers to leave.
                                                                              I



             Nurse Latashia Griffith said she heard the call on the radio of a(l inmate in distress. She said she went to
             the Med room to get medical equipment and then went to theielevator. Nurse Hammond went to get
             the emergency bag and the 02 tank, and they went to HS. Nu~se Griffith said that when they arrived at
             Inmate Hindi's cell, Nurse Bertram, Nurse Malone and an officer were in the cell performing chest
             compressions and breathing on Hindi. Nurse Griffith got the oiygen mask and handed it to one of the
             other nurses.

             Nurse Nicole Bertram works doubles on the weekend (1 51 and    i""
                                                                             shifts). Nurse Bertram said she was
             doing accu-checks when she heard the radio call about lnmateiHindi. She said when she arrived, she
             saw the other individuals performing compressions. She said someone said that they needed the AED
             but it wasn't on the floor. Nurse Bertram went to get the emergency bag just in case. She said she             l
             handed the oxygen mask and the 02 monitor to Nurse Malone;. Nurse Malone reported that the pulse                   j




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  rate was 10, at which point Nurse Bertram said she turned up ttle oxygen. She said she stayed on scene
  until EMS arrived.

   Nurse Sharon Hammond works the 3-11 shift; she heard on theiradio that additional help was needed.
  Nurse Hammond said she went and got the emergency bag andlthe 02 and got on the elevator. When
  she arrived, she saw Nurse Malone doing CPR, and Nurses Berti<;im and Griffith were there as well.
  Nurse Hammond stated she remained on scene until EMS arriv!jd. She said she then went and pulled
  the chart out of Medical Records and started making copies, but EMS had left at that point, so she faxed
  the information over to U of L Hospital.

  Officer M. Forbes works the 2"' shift; Officer Forbes said he wa~ assigned to J4 that afternoon when he
                                                                   I
  heard the radio call for Medical. He said he retrieved Nurses H~mmond and Griffith to go with him to
  Inmate Hindi's cell. Officer Forbes stated when he arrived, CPR lhad been started. He said he switched
  out CPR with Officer Ramsey, and then swapped with Sergeant (jibson and did compressions for a while.
  Officer Forbes stated Fire and EMS arrived, and they started an [IV line in Inmate Hindi's shin. He said
  once Inmate Hindi was put onto the backboard, he was moved to the stretcher, and Officer Forbes
  carried the IV bag while Hindi was moved. He said once Inmate! Hindi was in the ambulance, he gave the
  IV bag to EMS personnel, and when they left with Hindi, he we~t back to HS.

 Officer H. Simmons works the 2"' shift; Officer Simmons said h~ heard the radio call go out, and that he
 removed inmates off of the Walk and started clearing the way fbr EMS to get to the cell. Officer
 Simmons stated he never entered the cell himself.

                                                             ' call. Officer Cooper said he and Officer
 Officer Mario Cooper said he was on H6 when he heard the radio
 Simmons went down to the cell and saw that CPR was being pettormed. Officer Cooper said he went to
 put inmates up and perform a lockdown. He said he guarded t~e door and took notes of the incident.

 Officer Richardson Stimphil works the 2"' shift; Officer Stimphil ~aid he escorted Inmate Hindi to the
 hospital and took over(?) until they arrived to the hospital.     '· ·

  Lieutenant S. Gilbert works the 2"q shift; Lieutenant Gilbert said!he heard the radio request from
  Sergeant Hornback. Lieutenant Gilbert stated that he saw Serg~ant Gibson and told him and Officer
  Forbes to come with him to HS. He said he heard the 2"' radio ~all go out, and got on the elevator.
  Lieutenant Gilbert stated Nurses Griffith and Hammond got on the elevator as well, stopped to get
  medical equipment and got back on the elevator. Lieutenant G!lbert said he got off the elevator and
  saw work aides walking and so he told Officer Simmons to secure and lock the place down. He told
  _ _(?)to keeptimeline notes. Lieutenant Gilbert said he saw CPR being performed by Officer
  Sanders. He said he knew EMS was on the way, and he went IQ Control and informed Major Ashby what
  was going on. Lieutenant Gilbert went back and saw Officers C~oper and Simmons and told them to
 guard the door. He notified Main Control to restrict movements on the Hall of Justice. He stated he saw
  Officer Taylor with the camera and so he repositioned Officer T~ylor for a better view with the camera.
  Lieutenant Gilbert called Sergeant Hornback and was told what/had happened. Lieutenant Gilbert said
 the Louisville Fire Department arrived and joined in the CPR rot~tion, and then the EMS arrived and
 joined in the rotation. Lieutenant Gilbert said while he was doihg chest compressions, he saw the
 ventilation tube down Inmate Hindi's throat, and he heard Nurse Malone say to keep doing
 compressions. Lieutenant Gilbert said he went down to the ambulance with Inmate Hindi, and that he
 was informed of Inmate Hindi's bond, so he got another officer!to accompany them. Lieutenant Gilbert
 said the ambulance left, and he notified Major Ashby. He got a1call from Sgt. Gibson that Inmate Hindi's
 time of death was called at 164S, and then he called Major Ashby again to notify him. Lieutenant
 Gilbert also called Chief of Staff Dwayne Clark and Lieutenant chuck Eggers. Lieutenant Gilbert stated
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              that he held a debrief in HS Control, then got a call from Mr. Clark to meet in Director Bolton's office
(             until PIU arrived.

              Chaplain Samuel Whitlow stated he received a call from Mr. Cla1rk between 1630 and 1645 and was
              asked to call Inmate Hindi's family and have them go to U of L Hospital. Chaplain Whitlow called Inmate
              Hindi's wife, she was not home, so he left a message for her to tall him. She called Chaplain Whitlow
             back, and he told her to meet him at the hospital. She called hEW son and they both arrived to the
             hospital. Chaplain Whitlow went to see them in the waiting ro()m and took them to the quiet room.
             The Hospital Chaplain came and the doctor came in as well, an~ they explained to the family that Inmate
             Hindi had passed away. Chaplain Whitlow stated they gave the[ family some time to themselves. He
             said Major Ashby arrived and gave a packet to the family. The ~on asked Major Ashby how Inmate Hindi
             had passed, and Major Ashby informed them that he had hung tJimself. Chaplain Whitlow said they
             were in disbelief, stating that having known the consequences, Hindi would not have done such a thing.
             Chaplain Whitlow said he had spoken to the family today (10-22-13) and that they were burying Hindi
             today, and that they were coming to get Hindi's property on Wednesday {10-23-13). Steve Durham
             added that the family's words were "He did not, would not do that."

             Mental Health Director Kibibi Wood-Montgomery mentioned tt\at they are offering help to anyone who
             needs it, in coping with the incidents.

             Lee Zellars asked individuals to support each other and that it i~ very natural to have issues after a
             trauma. He said it was time to pull together and be sure not toiridicule anyone if they were having a
             difficult time coping with the events.

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             Lieutenant Angelini stated they will be sending an active CIT listi in the next week or two for any other
             needs.                                                                                                           (

             Dr. Smith said all the inmates will hear about the incident and ttiat this is when officers need to be
             vigilant in watching for "copycat" issues, etc. She said to feel frte to refer any inmate to her if anyone
             felt it was necessary.                                             ,

             Major Ashby gave accolades to everyone involved for a job wellidone. He then ran segments of the
             video of the incident.

             Meeting adjourned at 1709.




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                                                                                                                            I   Correctional Medical SeNices
                       CMS
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                       f;-1edic-~I   Sr:T11ces
                                                                              Suicide Prevention! Program Policy &
                                                                           Critical Incident ~tress Information Sheets
                                                                                                                                                     ~rocedure



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                 You have expertenced a traumatic event or a cntical incident (any event t~t causes usually strong emotional
                 reactions that have th.e potential to interfere with the ability to function no ally). Even though the event may be
                 over, you may now be experiencing or may experience later, some strong , motional or physical reactions. It is very
                 common, in fact quite normal, for people to expenence emotional aftersho¢ks when they have passed through a
                 hornble event.                                   ·                              I
                                                                                                                        I
                 Sometimes the emotional aftershocks (or stress reactions) appear immediktely after the traumatic event. Sometimes
                 they may appear a few hours or a few days later. And, in some cases, weliks or months may pass before the stress
                 reactions appear.                                                      I
                                                                                                                        i
                                     .                                                                                  !
                The signs and symptoms of a stress reaction may last a few days, a few.~eks, a few months, or longer, depending
                on the severity of the traumatic event. The understanding and the supporti of loved ones usually cause the stress
                reactions to pass more quickly. Oocaslomilty, the traumatic event is so pa!nful that-professional assistance may be
                necessary. This does not imply craziness or weakness. It simply indicate$ that the particular event was just too
                powerful for the person to manage by him/herself.                         '

                Here are some common signs and signals of a stress reaction:

               Physical'                           Cognitive                             Emotional                                     Behavioral
               Chills                              Confusion                             Fear                                          Withdrawal
       I       Thirst                              Nightmares                            Guilt                                        Antisocial Acts
(f.,           Fatigue                            Uncertainty                            Grief                      I
                                                                                                                    I
                                                                                                                                      Inability to Rest
               Nausea                             Hyper vigilance                        Panic                                        Intensified Pacing
               Fainting                           Suspiciousness                         Denial                 I
                                                                                                                I
                                                                                                                                      Erratic Movements
               Twitches                           Intrusive Images                       Anxiety                I                     Change in Social Activity
               Vomiting                           Blaming Someone                        Agitation              :
                                                                                                                I
                                                                                                                                      Change in Speech
                                                                                                                                      Patterns
               Dizziness                          Poor Problem Solving                   Irritability           I
                                                                                                                I                     Loss or Jn crease in
                                                                                                                I

                                                                                                                                     Appetite
              Weakness                            Poor Abstract Thinking                · Depression        ;                        Hyper alert to
                                                                                                            I                        Environment
              Chest Pain                          Poor. Attention/Decisions              Intense Anger      I                        Increased Alcohol
                                                                                                                                     Consumption
              Headaches                           Poor Concentration/Memory             Apprehension /                               Change in Usual
                                                                                                            i                        Communications
             Elevated Blood                       Disorientation of time, place,        Emotional Sho4                                  Etc.
             Pressure                             or person                             Emotional Outb~rsts
             Rapid Heart Rate                     Difficulty Identifying Objects        Feeling Overwhflmed
             Muscle Tremors                      or People
             Shock Symptoms                      Heightened or Lowered                  Loss of Emotion~! Control
             Grinding ofTeeth                    Alertness                                                 i
             Visual Difficulties                 Increased or Decreased                 Inappropriate E~otional
             Profuse Sweating                    Awareness of Surroundings              Response        !
             Difficulty Breathing                    Etc.

                Etc.                                                                                        I
                                                  •Any of these symptoms may indicat              d for medical evaluation.
                                                                  When in doubt, con.         · i'.~sician. i

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            BH7832- Critical Incident Stress Info Sheet (English)- Created 07/2007-L.                                                                       1of2
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                            Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 298 of 625 PageID #:
                                                                 1290

                                                                                                                                                                    -~




If after speaking with one of our                       Additional Program Features:
clinicians you decide that you would
benefit from seeing a counselor                         Magellan Self-Screening System
face-to-face, you will receive a referral               If you would like information on mental health or
to a provider in your area. We'll                       substance abuse issues but aren't ready to speak
encourage you to make an appointment                    with a counselor, you can use the Magellan
right away to get the support you need.                 Self-Screening System. Available over the phone or
  '.                                                    on MagellanHealth.com, you can take a confidential
                                                        screening on alcohol abuse or depression.




 r-J~vk J.vi,5;;_ \1\\

                                                                                                                                                     Living
                                                                                                                                                       Healthy
                                                                                                                                                   Working, __
  Louisville Metro Government
                                                                                                                                                                Well""
  Employee Assistance Program
         Call 1-800-588-8143
       Magellan Self-Screening: 1-866-891-1511
           For TTY Users: 1-800-456-4006                                                                                  Louisville Metro Government
                                                 5117
                                                                                                                          Employee Assistance Program
                                                                                                                             Call 1-800-588-8143
                                                                                                                           Magellan Self-Screening: 1-866-891-1511
                                                                                                                              . For TIY Users: 1-800-456-4006
  Louis·1i11e Metro Government
  Employee Assistance Program                                                                                                                                            6117


         Call 1-800-588-8143
       Magel\a. Self-Screening: 1-866-891-1511
           f,,,...,.,-Y Users: 1-800-456-4006
                                                          ©ZOOS Magellan Health Seivices, Inc.
                                                                                                 ~

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                                                                                                                         MagellanHealth.com/member
                                                                                                                                         GB003778
            ("-                                  5t17                                                                                                           )
      Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 299 of 625 PageID #:
                                           1291

                                                                        Photo




                                                                 Chronological Report




                                                                   Medical Reports




                                                                   Incident Reports




                                                                   Records Folder

(((

                                                                    Classification




                                                                    Shift Reports




                                                                    POL Entries




                                                                      Property




                                                                   Other Reports



                                                                                        UOOOS5
                                                                             GB003779
         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 300 of 625 PageID #:
                                              1292




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                                         10/19/2013 23:43                             Page: 1
     25352 Troutman
                                                                              GB003780
            Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 301 of 625 PageID #:
                                                 1293



                 Inmate Number: 00577966                Inmate Name: HINDI,   MAHM~UD Y
(                            DOB:                              FBI#:                      SID#: A0761434    SSN:


                                                               Race:                                         Sex:
            DL state and Number: IN

                          Address: INVALID CONVERSION ADDRESS RD
                                    JO


                                                           Eye Color: Green               Height 6'00"     Weight 195
                      Hair Color: Black




                 Inmate's Images:




    ;(
    \




                                                             10119/2013 21:05                                           Page: 1
         25352 Troutman
                                                                                                             GB003781
                  Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 302 of 625 PageID #:
                                                       1294


           Jail ORI: KY056023C

(           ·ERSONAL INFORMATION
            HINDI, MAHMOUD Y

           Alias:                                                                                                       Height: 6'00"

          Race:           w                                     Sex:         M                                        Weight:      195

          Address:        INVALID CONVERSION address RD JO

          Hair:           BLK                                  Eyes:         GRN                                        Comp:

          Glasses:        NONE                                                                                               DL#: 2400 94796

          Phone No:                                   Inmate Nbr:       00577966                                             DOB:• •                           ge: Arrest-56 Now-56)

          FBI:                                        SID:              A0761434

          Citizenship: United States of America ·                                                 US Marshall                                                                     Religion:
                                                                                                  Number:
          Education                                                                                       Body Build:                                                             Ethnicity:
          Level:

          POB:                                                                                     Birth Stale:              JO                                              Birth City: ARMOND

          Marital Status:                                          Mllitry Veteran:

          DISTINGUISHING CHARACTERISTICS
         Type                       Location                                                                      Description

'(        -,tal Number of Rows:                   0

          ARREST INFORMATION
           Booking #:                             Anresting Agency:                                         Anresting Officer:                   /             Case#:
           2012029784                             LOUISVILLE METRO POLICE                                    BAKER                               I             12F010120

           Booking Officer:                       Inmate Account Balance:                                   Booking          Dale/Time:~                       Release Dale/Time:                 Housed:
          Admini.strator, ADMIN                   $ 195.97                                                  09/07/2012 02:36                                                                      H5-N1/003

           Anresl Nole:     SUBJ SHOT TWO VIC AT ABV LOC CAUSING THE DEATH OF ONE VIC AN CRITICALLY INFJURING THE OTHER SEVEN ADDITIONAL
                            PEOPLE WERE WITHIN FEET OF SUBJ AS HE FIRED TWO SHOTS

         CHARGES
          Sentence Status:
                                                                                                                                            I
                                                                                                                                            I
         Charge ·                      vvarrant #            Indict#        Bond Amt                           Bond Type                                     Court Date Sentence                  oentence         Release
                                                                                                                                            '
                                                                                                                                            ·,
                                                                                                                                                                        Date                                       Date
                                                                                                                                            I
                                       i...ilSP              .....1sp HBSn                                     ~.Dure                                         uuge      v0CK0t                    -..omments
                                                                                                                                            I                Name
     !MURDER                                                            I                                         .                                          12/13/2013                                        I
                                      N                                                                        _..IRCuM        YVUM.             DIV •v                            2u.-.£<7<
     IMURDER                                                           I                                                                                     12/13/2013                                        I
                                      N                                                                        vlRCUIT GOUR                      UI\/   13                        2vt<2n2
         WANTON                                                                                                                                              12/13/2013
         ENDANGERMENT1ST                                                                                                                I
         DEGREE                                                                                                                        I
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         ·<t•NTON
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     (       ~NGERMENT        1ST                                                                                                      '·

    .)c~•REE
                                      N                                                                        ,,RCUIT COUH DIV 13                                                12CR2772
     WANTON                                                                                                                                                  12/13/2013
     ENDANGERMENT 1ST                                                                                                                  i
     DEGREE                                                                                                                            !
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                  Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 303 of 625 PageID #:
                                                       1295
                                        N                          BAD CHECK/ E~LOGY                                    13F000021
                                                                   203          i
       JWANTON                                                                                            12113/2013

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     '·_:,·'NDANGERMENT 1ST
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        WANTON                                                                                       j    12/13/2013
        ENDANGERMENT 1ST
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        WANTON                                                                                            12113/2013
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        ENDANGERMENT1ST                                                                          '
        DEGREE                                                                                   I
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                                    N                              clRCUIT COURT1u1v ·~                                 12cc112772
        WANTON                                                                                            12/13/2013
        ENDANGERMENT 1ST                                                                         II
        DEGREE
                                    N                              ~IRCUIT   COURT DIV13                                wcR2772
       IMURDER                                        I                                                                                       I
                                    y         COURT u11DER                                                             12F0101£U
       WANTON
       ENDANGERMENT 1ST                                                                      iI
       DEGREE
                                    y
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                                              c.0UR1 rlRDffi                                                           12rU10120
       WANTON                                                                                I
       ENDANGERMENT1ST
       DEGREE                                                                                !
                                y             ~OURT       111DER                             i                          2F0rni.0
       SPEEDING 7MPH OVER       LAUREL
       (LIMTED ACCESS)          co                                                       i!
                                WARRANT                                                  i
                                y       RIP CREDIT TIME                                                                '00TUij993
                                        SERVED                                           :                             LAUREL
             SAULT 1ST DEGREE                         I                                  I                                                   I
                                             COURT u11uER                                I                                  ·""o
      WANTON
      ENDANGERMENT1ST                                                                    !
      DEGREE                                                                             '
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      ENDANGERMENT 1ST
      DEGREE
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      WANTON
      ENDANGERMENT 1ST
      DEGREE                                                                         I'
                                y            COURT ORDER                                                           12F010120
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     ENDANGERMENT1ST                                                                I
     DEGREE
                                             ccuUR1       ADER                      i                                  t<F01ui.O
     WANTON
     ENDANGERMENT1ST                                                                ij
     DEGREE
                                y            r;OURT 111DER                       I                                     2F0101zO
     SERVING WARRANT FOR LAUREL
     OTHER POLICE AGENCY        co                                               !
                         WARRANT
                         y       IWA11HANT SERVED                                I                                 '00T09993
                                                                                 I                                 LAUREL
    IASSAULT, 3RD DEGREE
                                                                                 I
      '"0.HOOL EMPLOYEE OR
    (      'JOL VOLUNTEER)                                                      I
    '\....                                   DISMlss1oD                         !                                      3FUUUU£1

     Total Number of Rows:'             22


     BOOKING NOTES
                                                                                                                                       GB003783
                Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 304 of 625 PageID #:
                                                     1296

           HOLDS
                                                                                                  i
          <~old For                             Hold Contact            Hold Contact     Hold sta1us Docket   Hold Amount        Comments
      ·<                                                                Phone                     I' Number                                 ..
          Total Number of Rows:           0

          Total Bond:     $ 10,000.00

          SUPPLEMENTAL INFORMATION
          Classification: MX/AB                           Search Type:

          EMPLOYER INFORMATION
          Employer Name           !Occupation              !Phone Number               !Address
                                                                                                                            I
          Total Number of Rows:          0

          IDENTIFICATION NUMBERS
      Identification Type                        ldentlncation Number
      Drlve~s    License Number                 2400294796
          Total Number of Rows:          1




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           .




                                                                                                                                GB003784
         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 305 of 625 PageID #:
                                              1297



            To: Deputy Director Dwayne Clark
                 Chief of Staff


            Fr: Lt. lryt Troutman
                Crisis Intervention Team


            Re: Inmate Mahmoud Y Hindi CIN #577966
                Chronological report


            DT: October 24, 2013
                                                                                    I
                                                                                    I


           On October 24, 2013 a chronological report was completed for/the death of Inmate Mahmoud Hindi CIN
                                                                                    '
           #577966. Inmate Hindi was booked into custody of Louisville lljletro Department of Corrections on
           September 7, 2012. Inmate Hindi was pronounced dead at Uni~ersity of Louisville on October 19, 2013
           at 1645 hrs. The following is a chronological report of events f~r Inmate Hindi while he was in custody
                                                                                    !
           on the current arrest.
                                                                                   i
           September 7. 2012        .                                           I'
           0236hrs- booked into the facility on charges of Murder, Assaul~ 1" Degree, and 7 counts of Wanton
                                                                                '
           Endangerment 1" Degree
(          0320hrs- medical intake was completed
    ((     0440hrs- housed in Jl Passive Booking cell 2
                                                                                I
                                                                                !
    \                                                                          I
           0446hrs- Added Charges from Laurel Co of Serving Warrant for!Other Agency for Speeding 7 mph Over
                                                                               I
           0555hrs- moved to and housed on J2W Wl in Cell 13                   I
                                                                            !
           1315hrs- was seen by mental health for evaluation                i
           ????hrs- was seen by the Psychiatrist on first shift, prescribed rhedication
                                                                            I



           September 8. 2012
           0924hrs- had arraignment court on case #12-F-010120 and      war committed to come back to court on 9-
           14-12 at 0900hrs                                                1
                                                                           I
           1730hrs- received a visit from Musa Hindi and Fatima Hindi
           Deposit made to account in the amount of $200.


          September 10. 2012
                                                                           I!
          1641hrs- received a visit from Musa Hindi and Fatima Hindi


          September 12. 2012
          1753hrs- received a visit from Hamza Hindi


          September 13. 2012
          Was remanded into custody without bail Case# 12CR2772



                                                                                                                 1


                                                                                                         GB003785
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 306 of 625 PageID #:
                                         1298




(         September 14. 2012
                                                                        i
          1106hrs- had court in 203 District Court on Case #12-F-010120 Vithere he was released on Murder,
          Assault 1'1, and 7 counts of Wanton Endangerment


          September 15. 2012
          1953hrs- received a visit from Musa Hindi
          2033hrs- received a visit from Musa Hindi and Hasan Hindi


          September 17. 2012
          ????hrs- was seen by the Psychiatrist on first shift, no medicatidn change
                                                                            '
          1530hrs- Circuit court charges filed for 2 counts of Murder and   V counts of Wanton Endangerment Case
          #12CR2772 with a new court date set for 10-22-12 at 0930hrs       i
          1651hrs- received a visit from Tareq Hindi and Musa Hindi ·
          2058hrs- moved to and housed on J3 N in Dorm 8 Cell 4


          September 18. 2012
          0830hrs- was seen by mental health and noted that he was adj~sting well to the mental health dorm.
                                                                            '
          September 19. 2012                                                i
          1200hrs- 14 day history and physical and mental health evaluatron was completed.
                                                                        '
          September 21. 2012
          1646hrs- received a visit from Hasan Hindi and Hamza Hindi


          September 24. 2012
          Commissary purchased in the amount of $33.30


         September 26. 2012
          1230hrs- was seen by mental health, reported that he was doirlg well
          1555hrs -El 43205 strip search was conducted due having a co~tact visit


         October 1. 2012
         Commissary purchased in the amount of $46.86


         October 4. 2012
         1300hrs-was seen by mental health, no issues reported
         1633hrs- received a visit from Hasan Hindi


         October 8. 2012
         Commissary purchased in the amount of $38.18


         October 9, 2012

                                                                                                               2

                                                                                                  GB003786
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                                          1299



       Court date on Case# 12CR2772 changed to 11-02-2012 at lOOO~rs
       llOOhrs- was seen by mental health, no issues reported             i

       October 15. 2012
       Commissary purchased in the amount of $28.85


       October 17, 2012
       0930hrs- was seen by mental health, no issues reported
       ????hrs- was seen by the psychiatrist, no change in medicine


       October 18. 2012
       1636hrs- received a visit from Hasan Hindi


       October 21. 2012
       Deposit was made to account in the amount of $150


       October 22. 2012
      . ???hrs- refused to take his medication
       Commissary purchased in the amount of $42.00


(~     October 25. 2012
       llOOhrs- ·was seen by mental health


      October 28. 2012
      1643hrs- received a visit from Hasan Hindi


      October 31. 2012
      Commissary purchased in the amount of $22.40


      November 2. 2012
                                                                      I
      lOOOhrs- Court date on Case# 12CR2772 court date changed t<i> 1-14-13 0845hrs


      November 4. 2012
      191lhrs- received a visit from Hasan Almohroug


      November 5. 2012
      Commissary purchased in the amount of $49.47


      November 12. 2012
      Commissary purchased in the amount of $53.36
      _Deposit to the account of $200 was made



                                                                                           3


                                                                                      GB003787
             Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 308 of 625 PageID #:
                                                  1300




         (         November 15. 2012
                   1640hrs- received a visit from Hasan Almohroug
                   2200hrs- Health Service Request for allergies was filed

                                                                                     I
                   November 17 r 2012                                                I
                                                                                     I
                   1330hrs-compliant to medical of a rash caused by his underwe~r. no rash noted by the nurse. He
                   became upset and assessment was ended.


                   November 18. 2012
                   1936hrs- received a visit from Fatima Hindi and Yousef Hindi


                   November19.2013
                   Commissary purchased in the amount of$51.17


                   November 25. 2012
                   1647hrs- received a visit from Tareq Hindi


                   November 26. 2012
                   Commissary was purchased in the amount of $44.52

     (             November 29. 2012
                   1633hrs- received a visit from Hasan Hindi


                  December 2. 2012
                   2154hrs- received a visit from Phillip Crowe


                  December 3. 2012
                  0924hrs- received a court date of December 3, 2012 at 1100hr~ Inmate Hindi went to court with a new
                  date set for 1-14-13 at 0845hrs for case #12CR2772


                  December 5. 2012
                  Commissary was purchased in the amount of $34.42

                                                                                   ) .
                  December 6. 2012
                  1014hrs- El 44661 completed for unauthorized contact with th4 public.
                  1138hrs- moved to and housed on J3 S in Dorm 7 Cell 8
                  2051hrs- moved to and housed on J3 N in Dorm 8 Cell 6
                  Commissary adjustment of $34.42 was place back on account


                  December 7. 2012
l.                Disciplinary issued, 15 days probated for disruptive behavior arjd engaging in sexual activities with
                  another person

                                                                                                                          4

                                                                                                              GB003788
     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 309 of 625 PageID #:
                                          1301




        December 10. 2012
        ????hrs- was seen by the psychiatrist
        Deposit to the account was made in the amount of $200


        December 11. 2102
       Commissary was purchased in the amount of $59.64


       December 13. 2012
       1633hrs- received a visit from Hasan Hindi


       December 17. 2012
       Commissary was purchase in the amount of $57.40


       December 18. 2012
                                                                   '
       1215hrs- was seen by mental health, he expressed concerns abput others in the dorm
       Commissary adjustment of $1.20 was added to the account               I

       December 23. 2012
       1221hrs- received a visit from Musa Hindi
((
       December 24. 2012
       Commissary was purchased in the amount of$47.16


       December 27. 2012
       1653hrs-received a visit from Yousef Hindi and Hamza Hindi


       December 31. 2012
      ????hrs- was seen by the psychiatrist; compliance rate of 93% ~as reported
      Commissary was purchased in the amount of $48.54                   !
                                                                        '
      January 1. 2013                                                   .
      0730hrs- Added Charges of Assault 3'• Degree (Officer Transpofting Inmates) and Terroristic Threatening
                                                   .                    I
      3'• Degree
      1029hrs- moved to and housed on J2W OBS 1 bed 3                i
                                                                     I
      1330hrs- doctor and nurse spoke to him about the altercation earlier that day. Hindi stated that he
                                                                    I
      would kill the officer                                        I
      ????hrs- was seen by the psychiatrist, refused to start a new ledication


      January 2. 2013                                               i
      0951hrs- Court on Case # 13-F-000021 new date set for 1-3- 1~ at 0900hrs
                                                                    i
                                                                    '
                                                                                                            5

                                                                                                     GB003789
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                                         1302




(         ????hrs- was seen by psychiatrist, reported homicidal ideation tbwards a particular officer, medication
          was changed.


          January 3, 2013                                                         :
          0917hrs- Court on Case# 13+000021 new date set for 1-14·1310900hrs
          1015hrs- was seen by mental health, was placed on move list td a mental health unit
          ????hrs-was seen by psychiatrist, denies homicidal or suicidal i~eation
                                                                              1
          1744hrs- moved to and housed on J2W in Dorm 9 bed 12
          1745hrs- moved to and housed on J2W in Dorm 9 bed 11


          January 4. 2013
          1827hrs- moved to and housed on J2W in Dorm 9 bed 1
          Disciplinary issued of 60 days to serve plus 15 days probated fot disruptive behavior, using abusive
          vulgar language towards staff, refusing to follow orders and assbulting staff
                                                                              1
          Commissary was purchased in the amount of $29.47


          January 9. 2013
          Grievance filed against security


          January 10. 2013
          1330hrs- was seen by mental health
          Deposit was made in the amount of $200


         January 14. 2013
         0845hrs- Court on Case# 12CR2772 new date set for 3-4-13 at 0900
         0955hrs- Court on Case# 12+000021 new date set for 7-ls-d at 0900
                                                                          I


         January 16. 2013                                                ,'
         ????hrs- was seen by the psychiatrist on first shift, changes wete made to his medication
                                                                         l
                                                                         !
         January 18. 2013
         Commissary was purchased in the amount of $28.90

         January 19. 2013
         1637hrs- received a visit from Hasan Hindi


         January 22. 2013
         1618hrs- moved to and housed on J2W Wl in Cell 3


         January 23. 2013
         0859hrs- moved to and housed on J2W In Dorm 8 bed 2




                                                                                                                 6

                                                                                                     GB003790
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                                     1303



   January 24. 2013                                                         :
   ????hrs- was seen by the psychiatrist on first shift, he requested to move to another dorm


  January 25. 2013
  Commissary was purchased in the amount of $13.36


  January 28. 2013
  1702hrs- moved to and housed on J2W in Dorm 9 bed 6


  January 31. 2013
  1104hrs- moved to and housed on J2W Wl cell S
  1108hrs- moved to and housed on J2W Wl cell 9


  February 1. 2013
  ????hrs- was seen by psychiatrist on first shift, changes were made to medication
  1304hrs- moved to and housed on J2W Wl cell S                         !

  February 4. 2013
  1638hrs- received a visit from Hamza Hindi and Hasan Hindi


  February s. 2013
  1600hrs- was seen by mental health with no complaints


 February 6. 2012
 El 4S941 completed for suicide prevention.
 1801hrs- moved to and housed on J2W Wl cell 12


 February 7. 2013
 1420hrs- was seen by mental health, no complaints noted
 ????hrs- was seen by the psychiatrist on first shift
 2139hrs- moved to and housed on HS W in Dorm 9 cell 2
 Commissary was purchased in the amount of $22.40
                                                                    I


 February 9, 2013                                                   I
                                                                    i
 1230hrs- placed on suicide precautions after voicing thoughts ~f self-harm, feeling confused and
 ~raoo~                                             ·           I               .
 1303hrs- moved to and housed on HS E Nl cell 1                 !
                                                                i
 February 10. 2013                                              II
 141Shrs- seen by mental health and denies suicidal ideations, qiscussed medication with the psychiatrist
 also
 1636hrs- received a visit from Yousef Hindi and Fatima Hindi   !




                                                                                                       7

                                                                                                GB003791
        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 312 of 625 PageID #:
                                             1304




    (
              February 11. 2013
              1200hrs- was seen by mental health
              Commissary adjustment of $22.40 was added to the account

              February 12. 2013
              1200hrs was seen by mental health
              ????hrs- was seen by the psychiatrist on first shift and changed to level 2 observation
              Deposit to the account was made in the amount of $200

              February 13, 2013
              1350hrs- mental health attempted to speak to him but he was ~t a visit during this time

              February 14. 2013
              121Shrs- was seen by mental health, complains offorgetfulnes~, he remains on level 2 observation

              February 15. 2013                                             I
              114Shrs- was seen by mental health, continues to deny suicldallideation
                                                                               I

(
              February 16. 2013
'             1130hrs- was seen by mental health, only complaint is that cell jis cold
                                                                               !
                                                                                                                        (
              February 17. 2013
              1200hrs- was seen by mental health, request was made to coml! off levels

              February 18. 2013
              1100hrs- was seen my mental health, denied suicide ideations :
              Commissary purchase in the amount of $3.15

             February 19. 2013                                           .i
             1550hrs- was seen by mental health, reports sadness over bein~ in single cell and wants to go to a dorm

             February 20. 2013
             1410hrs- was seen by mental health, denies suicide ideation
             Commissary adjustment of $3.15 was added to the account

             February 21. 2013
             1205hrs- seen by mental health, discussed medication
             ????hrs- was seen by the psychiatrist on first shift, sadness wa~ reported, medications were changed
                                                                              !
             and he was cleared for general population

             February 22. 2013

                                                                                                                    8

                                                                                                        GB003792
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     f: --       1900hrs- refused to take his medication

     '
                 February 25. 2013
                 0800hrs- refused his medication


                 February 27. 2013                                                           1
                      .                                                         I
                 ????hrs- was seen by the psychiatrist; he was confrontational a?d said he would hurt patients and staff

                                                                                             '
                                                                                             i
                 February 28. 2013                                                           i
                 1120hrs- was seen by mental health and requested that medici~e be changed


                 March 2. 2013
                 1948hrs- El 46394 completed for being combative                         j
                                                     '                                  '
                 Disciplinary dismissed for due process for disruptive behavior, refusing to follow orders and assaulting
                                                                                  '
                 staff                                                            ,


                March 3. 2013                                                 /
                0135hrs- seen by medical complained that he was kicked in the/side. X ray was ordered and he was
                moved to the medical unit on observation.                           I
                0401hrs- moved to and housed on J2W W2 cell 4                       i
                                                                                    I
                0818hrs- El 46419 completed for inmate transported to the ho~pital
                                                                                    I
                                                                                    'I
                March 4. 2013                                                       I
                0900hrs- Court on Case# 12CR2772 new date set for 4-26-13 at 0845hrs
                Grievance filed against property                                i
                                                                                '
                March 6. 2013
                ????hrs- returned from the hospital on third shift
                0235hrs- moved to and housed on J2W W2 cell 1
                ????hrs- was seen by medical on first shift
                                                                                i
                ????hrs- was seen by the psychiatrist on first shift, was argumentative and refused to sign consent forms
                                                                                !
                for medication


                March 7. 2013
                ????hrs- was seen by the psychiatrist on first shift, medication~ were changed


                March 8. 2013
                Commissary was purchased in the amount of $31.79


                March 10. 2013
1.       1      Deposit was made it the amount of $200
         -"'
                                                                                                                            9


                                                                                                                 GB003793
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              March 11. 2013
              ????hrs- seen by medical on first shift, medication changes   wer~ made                                  ('
              1642hrs- received a visit from Yousef Hindi and Fatima Hindi     '




              March 13. 2013
              Grievance filed against security


              March 15. 2013                                                   ,
              ????hrs- seen by the psychiatrist on first shift, no change in medication
              Commissary was ordered in the amount of $10.97


             March 16. 2013
              1650hrs- received a visit from Hasan Hindi


             March 20. 2013
             lllOhrs- seen by mental health
             Commissary was ordered in the amount of $11.20


             March 22. 2013
             ????-was seen by medical on first shift, medications were chan~ed and he was released from medical
    (
             2114hrs- moved to and housed on J4 Sin Dorm 7 cell 6
             Commissary was ordered in the amount of $27 .49                                                       (

             March 28. 2013
             1115hrs- was seen by mental health
             Commissary adjustment of $2.40 was added to the account


             April 2. 2013
             0940hrs-returned from clinic visit, no new orders given
             Commissary was erdered in the amount of $14.80


             Aoril 4. 2013
             1130hrs- was seen by mental hea Ith


             April 9. 2013
             Commissary was ordered in the amount of $37 .24


             April 11. 2013
             1240hrs- was seen by mental health, no concerns noted

I
'            April 13. 2013
             1637hrs- received a visit from Hasan Hindi

                                                                                                              10


                                                                                                  GB003794
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            April 14. 2013
            1730hrs- moved to and housed on 14 S in Dorm 7 cell 7


            April 17. 2013
            1320hrs-was seen by mental health


            April 23. 2013
            A deposit was made the account in the amount of $26.95
            Commissary was purchased in the amount of $36.70


            April 26. 2013
            0845hrs- Court on case #12CR2772 new date set for 6-3-13 at 1poohrs
            1425hrs - moved with no location and time logged

            April 30. 2013
            Commissary purchased in the amount of $43.26


            May2.2013
           1432hrs- seen by mental heaith

           May6.2013
           1100hrs- Health service request requesting medication change riled

           Mays. 2013
                                                                          i
                                                                          ,
           1259hrs- seen by mental health, requested medicine change


           May9.2013
                                                                          I
           1300hrs- health service request for wart on right hand and bac~ pain filed


           Mayl0.2013
           1245hrs- seen my mental health
           Commissary ordered in the amount of $40.14

           May 11.2013
           0739hrs- received a visit from Musa Hindi


           May 13.2013
           1100hrs- seen by medical for lower back pain


          May 15.2013
.I        1649hrs- received a visit from Hamza Hindi
\     I
     '\

                                                                                           11


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         (         May16.2013
                   1300hrs- seen by mental health                                                                       (~

                   May 17, 2013
                   1110hrs- seen by mental health
                   Grievance filed against classification


                   May22. 2013
                   Commissary purchased in the amount of $59.14


                   May28.2013
                   1320hrs- seen by site medical director, complained of lower ba¢k pain, medication was changed


                   May 29. 2013
                   Commissary was purchased in the amount of $46.86


                  May30.2013
                  Commissary purchased on the amount of $20.00


                  June 3. 2013
     (
                  lOOOhrs- Court on Case# 12CR2772 new date set for 8-26-13 at 0845hrs
                  ????hrs- seen by mental health on first shift, no concerns noted


                  June 4. 2013
                  Commissary purchased in the amount of $55.89


                  June 6. 2013
                  Commissary purchased in the amount of $19.95


                  June 12. 2013
                  1640hrs- received a visit from Hasan Hindi
                  Commissary purchase in the amount of $44.88


                  June 19. 2013
                  1644hrs- received a visit from Hasan Hindi


                  June 23. 2013
                  Money balance transferred from IMS to X-Jail. Balance is $170.'51


                  June 26. 2013
I,
                  1220hrs- seen by mental health and asked to be moved to the fnental health unit
                                                                                '




                                                                                                                   12


                                                                                                         GB003796
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   July 12. 2013
   1115hrs- was seen by mental health


  July 13. 2013
  Purchased commissary in the amount of $58.72. Balance is $11±.89
                                                      .                      i

  July 15. 2013
  0929hrs- Court on Case# 13-F-000021 new date set for 12-06-1/3 0900


  July 17. 2013
  ????hrs- was seen by mental health on first shift
  1300hrs- was seen by mental health                           !
  Purchased commissary in the amount of $7.25. Balance is 104.~4
  Purchased commissary in the amount of $23.42. Balance is $81j22
  Purchased commissary in the amount of $5.60. Balance is $75.~2
                                                               I
  July 23. 2013                                                          I
                                                                         I
  Purchased commissary in the amount of $38.06. Balance is $37156
                                                                        I
                                                                         '
 July 26. 2013
  1200hrs- was seen by mental health

                                                                        I
 July 28. 2013                                                       :
                                                                     I
 Deposit made to account in the amount of $200. Balance is $237.56
                                                                    I

                                                                    i
 July 30. 2013                                                      i
                                                                    I
 Purchased commissary in the amount of $50.35. Balance Is $18~.21
                                                                    I

                                                                    !
 August 1. 2013
 1335hrs- was seen by mental health


 August 8. 2013
 1120hrs- was seen by mental health
                                                                iI
                                                             I
 1330hrs- was seen by mental health and requested to speak tolthe psychiatrist
                                                                i
                                                                I
                                                                i
 August 12. 2013                                                i
 ????hrs- Health Service Requested related to back pain and wafrt was filed


 August 13. 2013
 Grievance filed against classification
 Grievance filed against recreation



                                                                                     13


                                                                                 GB003797
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     (
               August 14. 2013
               1650hrs- El 49652 completed for being disruptive.
                                                                                           I
               ????hrs- assessed by nurse, complains of pain to neck, knees an,d ribs
               1810hrs- El 49659 completed for strip search after contact visit with family.


               August 15. 2013
               0030hrs- assessed by nurse, complains of pain to ribs,
                                       •
                                                                        demand~d to go to the ER, vitals were normal and
                                                                                       i
               EKG was done
                                                                                       i
               1140hrs- was seen by a nurse about Health Service Request, refµsed pain protocol
               1300hrs-was seen by mental health                                       i
               Grievance filed against programs


               August 16. 2013
               ????hrs- was uncooperative with chronic clinic visit
               1530hrs- was seen by mental health due to phone call from wi~, she reported that he was having
                                                                                   '
               suicidal ideation, placed on suicide precaution                     '


               2214hrs- moved to and housed on J2W Wl cell 6
               1530hrs- El 49714 completed for suicide prevention


              August 17, 2013
 (
              0140hrs- wellness check was conducted, no complaints
                                                                                                                           (
              August 18, 2013
                                                                                   :
              0410hrs- wellness check was conducted, it was noted that he IMas agitated
              Purchased commissary in the amount of $55.44. Balance is      $13~.77
                                                                               I


              August 19. 2013
              OOOOhrs- wellness check conducted, no complaints
              0800hrs- wellness check completed and he reported that he w~nted meds later due to fasting
                                                                           '
              1000hrs-was seen by mental health and denied suicidal ideatior, requested change in medication
              Grievance filed against medical                                  1




              August 20. 2013
              0030hrs- wellness check conducted                                ,
              1100hrs-was seen by mental health, requested to stay on the r1iental health unit
              2000hrs- was seen by mental health
              Grievance filed against security staff


              August 21. 2013
              0612hrs- wellness check completed
\.            1105hrs- El 49822 completed for being disruptive
              1105hrs- was assessed by medical

                                                                                                                    14


                                                                                                        GB003798
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                ????hrs- wellness check was conducted on first shift
                1300hrs- seen by mental health
                1645hrs-wellness check was conducted
               Purchased commissary in the amount of $22.40. Balance is    $10~.37
                                                                                      i
                                                                                      I


               August 22. 2013                                                    !i
               0035hrs- wellness check conducted, would like to talk to the psychiatrist
               1200hrs- wellness check conducted, requested to be taken off dbservation
               1300hrs- was seen by mental health, requested to be moved to/a dorm
                                                                                  I
               ????hrs- wellness check conducted on second shift, noted bein' agitated .

               August 23, 2013
               0430hrs- seen by nurse for complaints of pain to finger
               0736hrs- moved to and housed on J2W Wl cell 4
               lOOOhrs- was seen by mental health
               2000hrs-Wellness check was conducted; he was upset about w*er being turned off
                                                                                 I'
               August 24. 2013
               0010hrs- wellness check conducted, no concerns reported
               0810hrs- seen by mental health
(·            0915hrs- wellness check was conducted
'(r
    \          ????- Health Service Request for back pain filed


              August 25. 2013
              0425hrs- wellness check conducted
              0815hrs- seen by mental health, requested to come of observation
                                                                             I

             · August 26, 2013
                                                                             I
              0200hrs- wellness check completed                              I
              0845hrs- Court on Case # 12CR2772 new date set for 10-16-13 ~t 0845hrs
              1600hrs- seen by mental health, reports increase in depression/ related to court
              2000hrs- wellness check conducted
              ????hrs- wellness check was conducted on second shift


              Augyst 27. 2013
              OOOOhrs- wellness check completed
              1200hrs- seen by mental health
              Credit from commissary in the amount of $22.40. Balance is Slj31.77


              August 28. 2013
              0150hrs- wellness check conducted
(       I
    '\....    0800hrs- wellness check conducted


                                                                                                     15



                                                                                                 GB003799
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    (         ????hrs- seen by psychiatrist, taken off observation
              Purchased commissary in the amount of $22.40. Balance is $109.37
                                                                                         !

              Al!gust 29. 2013
              1640hrs- was seen by the nurse, pain protocol was ordered
              Purchased commissary in the amount of $59.23. Balance is $50.~4


              August 31. 2013
              2132hrs- moved to and housed on J2W Wl cell 10


             September3.2012
             ????hrs- call received, on first shift, from spouse stating that heiis not going to harm himself and that he
             wants off observation, mental health followed up                        I

             September 4. 2013
             1350hrs- was seen by mental health, no concerns noted
                                                                                     i
             Deposit made to account in the amount of $200.00. Balance is ~250.14


             September 6, 2013
             Purchased commissary in the amount of $11.20. Balance is $238.94
(                                                                                !

'
             September 9. 2013                                                                                               (
                                                                                 '
             Purchased commissary in the amount of $58.75. Balance is $18\l.19


             September 11. 2013
             1330hrs- was seen by mental health
             1500hrs- Health Service Request complaining of neck pain and ~onstipation was filed
                                                                         '
             Purchased commissary in the amount of $5.60. Balance is $174f59


             Seotember 12. 2013                                              ,
             1500hrs- Health Service Request for edema in lower extremitie~ filed
             Purchased commissary in the amount of $59.23. Balance is $1lls.36
                                                                             I



             September 13. 2013                                              i
             1805hrs- nurse visited to address Health Service Requests, pai~ pack and constipation protocol ordered
             Grievance filed against security staff


             September 17, 2013
             Grievance filed against recreation
             Grievance filed against staff


             September 18. 2013
                                                                                                                            l/
                                                                                                                      16


                                                                                                         GB003800
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 f~"      1400hrs- was seen by mental health


         September 19. 2013
         ????hrs-was seen by the psychiatrist on first shift, complains of~ecreased sleep, medication was
                                                                                     r
         changed
                                                                                     I
         Purchased commissary in the amount of $40.02. Balance is $75./34
                                                                                     I



         September 19. 2013
         Grievance filed against staff


         September 20. 2013
         2132hrs- moved to and housed on HS Nl cell 3


         September 23. 2013
         Purchased commissary in the amount of $27.65. Balance is $47 j69
                                                                                !

         September 24. 2013
         1215hrs-was seen by mental health                                      ii
         1330hrs- was seen by mental health, requested to move to me~tal health dorm 8
         Grievance filed against classification                                 '
         Grievance filed against medical


        September 25. 2013
        1300hrs- health service request for neck pain and side effects t~ medicine was filed
        1646hrs- received a visit from Hasan Hindi
                                                                                !


        September 26. 2013
        1200hrs- was taken to gym


        September 27, 2013
        Grievance filed against staff


        September 28. 2013
        ????hrs- refused to see medical to address health service requJst on first shift
                                                                            i

        September 29. 2013
        Deposit made to account in the amount of$200.00. Balance is ?247.69


        October 2. 2013
        1112hrs was seen by the medical doctor and medicine was pre!;cribed
                                                                        I
'\ I    1205hrs-was seen by mental health
 '~     Purchased commissary in the amount of$51.72. Balance is $195.97

                                                                                                            17


                                                                                                     GB003801
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          October 4, 2013                                                                                         ('
          1200hrs- was taken to gym


          October 9. 2013
          1240hrs- was seen by mental health


          October 11. 2013
          1200hrs- was taken to gym


          October 16. 2013                                                         i

          0845hrs- Court on Case # 12CR2772 new date set 12-13-13 at 0~45hrs


         October 19. 2013
          1559hrs- El 51051 started for hospital run
          1600hrs- medical was on scene, CPR in progress and continued µntil EMS took over
          1605hrs- Louisville Fire/EMS on the scene                            !

         1630hrs- Departed for University of Louisville Hospital via EMS       I
         1645hrs- Declared deceas.ed by University of Louisville Hospital(Dr. Johnson

(

         ADDITIONAL INFORMATION

         There were no records found of any professional visits even thdugh he did receive them. He had
                                                                           !
         attorney visits and an in-house evaluation.                       '



         He also received regular visits. From June 23, 2013 forward a r~port was not able to be generated
                                                                           I
         showing a II visits.




                                                                                                             18


                                                                                                 GB003802
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                                       CHRONOLOGICAL RE'1JRT
                                                                          I
  Name: Mahmoud, Hindi                                                s                        CIN#577966




                              . . . . , .,. _,, . . . .r· . . """'.,.
     DATE       TIME
                                                                          '
    9/7/12      2:36a        Patient booked· into Louisville Metro Deparitment of Corrections.
              . 3:20a        Patient completed medical intake. Blood P(essure-140/80, Pulse- 96, Respiration-17,
                             ,~         ~                                          ~,-
                            samples from his office. Patient denied ev r being hospitalized for any psychological
                            reason, never had a suicide attempt, and nied current suicide ideation. He also
                            reported a lower back surgery 3 months p ior to arrest. Patient referred to mental
                            health due to the nature of his charges and his report of depression.
                  1:15p     Patient seen by mental health. Mental health evaluation, treatment plan, and discharge
                            completed. Patient reports a history of de~ression with last treatment in 2007. Stated
                            that he was treating him with samples of tozac from his work. Patient referred to
                            doctor for continued evaluation.
                1" shift Patient seen by Psychiatrist. Patient was al~rt and orientated x' 3, mood and affect
                            were normal however inappropriate for si1uation, denies suicide ideation or
                            hallucinations. Patient was given the diagnpsis of Depression and started on Prozac
                           40mg daily. Patient signed the Psychotropic Medication Consent Form. Return to see .
                           me in 1 rrionth.                             I
   9/17/12     1st shift Patient seen by Psychiatrist. Patient was aliert and orientated x's 3, mood was euthymic,
                           affect was normal, insight and judgment f~ir, denies having hallucinations or suicide
                           ideation. Patient diagnosis was depressionl no change in medication.
   9/18/12       8:30a     Patient seen by mental health professional. Patient adjusted well to mental health
                           dorm. Medication compliance reported, n~ issues reported. Patient encouraged
                           continuing compliance.                      i
   9/19/12      12:00p     Patient 14 day History and Physical and mij>ntal health evaluation completed. Blood
                           Pressure-122/90, Pulse- 64, Respiration- ~6, Temperature- 98.4. Patient reported a
                           history of 2 back surgeries in 1994 and 20t2. Patient reported a history of depression
                           and referral made. Patient denied any maJior problems and education was provided for
                           medication and dental.                      !
   9/26/12     12:30p      Patient seen by mental health. Patient doi ng well in mental health dorm. Presented as
                          stable. Patient encouraged continuing co• pliance.
   10/4/12      l:OOp     Patient seen by mental health. Presented s stable. No issues reported.
   10/9/12     ll:OOa     Patient seen by mental health. Patient doi l'lg well, stable.
  10/17/12      9:30a     Patient seen by mental health. Presented ~s stable. No issues reported.
  10/17/12    1" shift Patient seen by psychiatrist. Patient was a ert and orientated x's 3, mood was euthymic,
                          affect was normal, insight and judgment f~ir, denies having hallucinations or suicide
                          ideation. Patient diagnosis was depressior with psychotic, no change in medication.
  10/22/12    1" shift Patient refused medication- Prozac and ib uprofen,
  10/2'5/12   ll:OOa      Patient seen by mental health. Patient doi rig well, stable. Continue medication
                          management.
  11/15/12    lO:OOp      Health Service Request- cutaneous allergi s
  11/17/12     1:30p     Patient compliant was that he was having ,a rash caused by his underwear. Nurse noted
                         no rash. Patient reported that he wanted ~anes from Wal-Mart. Patient became upset

                 1
                         and ended assessment.                       I
  12/10/12    1' shift   Patient seen by Psychiatrist. Patient seen ~octor reported side effects to medication of
                         forgetfulness. Patients mental status was lilert and orientated x's 3, mood was
                         euthymic, affect was normal, insight and jfidgment fair, denies having hallucinations or
                         suicide ideation. Patient diagnosis was debresslon, no change in medication.
                                                                  '


                                                                                                      GB003803
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                                                                                    I
    (          12/31/12    l" shift    Patient seen by Psychiatrist. Patient seen qoctor reported side effects to medication of
                                       rage and irritability. Patients mental statusiwas alert and orientated x's 3, mood was

                                      ~·c\Je ideatfJ~~=t~:n~r~:tfos!t!rtt(:tl::~~ ~~r~h~~n~=~::~~~:.~~~un~inations or
                                        Compliance rate of 93 %.                      ;
               12/18/12    12:15p       Patient seen by mental health. Patient expressed concerns about others in the dorm.
                                                                                                                                  .
                                        Patient may be getting to comfortable in dprm. He refers to others in derogatory terms.
                                        Mental health professional encouraged mJdication compliance and will continue to
                                        monitor behavior changes.                     '
                1/1/13     1:30p        Doctor and nurse pulled patient and spok~ with him about altercation that happened
                                       on the floor. Patient reported that he halroblems with the officers and stated that he
                                       would kill the officer. Medical called com and staff to notify them of statements.
                          l" shift      Patient seen by Psychiatrist. Patient prese~ted with pressured speak and focused
                                       anger. His mental status was alert and orielitated x's 3, he was agitated and fidgety
                                       with rapid pressured speech, his mood wa$ angry, with poor judgment and insight.
                                       Patient diagnosis was mood disorder with homicidal ideation. Patient refused Trilafon.
                1/2/13    l" shift     Patient seen by the Psychiatrist. His he re~orted homicidal ideation toward a particular
                                       officer. The Psychiatrist made a change in ;his medications at this time.
                1/3/13    l" shift     Patient seen by Psychiatrist. He continues!to verbalize anger toward staff. He denies
                                       any homicidal or suicidal ideation at this tilne.
                1/3/13    10:15a       Patient seen by MHP. He continues total~ about incident with particular officer. His
                                       mental status was stable at the time. MH~ provided reflective listening and had patient
                                       transferred into a dorm on the MH Unit.
               1/10/13     1:30p       Patient seen by MHP. He was stable at th time and remained in a MH dorm.
               1/16/13    l" shift     Patient seen by the Psychiatrist. Patients able at the time. He complains of side
(                                      effects of his medications. Changes were 1ade in his medications. AIMS testing were
                                       also completed.                                                                                (
               1/24/13    l" shift     Patient seen by Psychiatrist. Patient stabl~ at the time. He reports an improvement in
                                       his mood. He also request to move to ano•her MH dorm.
                2/1/13    l" shift     Patient seen by the Psychiatrist. Patients able at the time. He complains of side
                                       effects of medications and cell being cold. Changes were made In his medications.
                2/5/13     4:00p       Patient seen by MHP. He was stable and I oused in a MH dorm at the time. He voiced
                                      no complaints.
                2/7/13     2:20p      Patient seen by MHP. He was stable at th time. He voiced no complaints.
                2/7/13    l'' shift   Patient seen by Psychiatrist. He was stabh, at the time. He continued to talk about
                                      issue with officer. It was discussed with hitn that he would be moved to GP.
                2/9/13    12:30p      Patient placed on Suicide Precautions aftet voicing thoughts of self-harm. He also
                                      complains of feeling confused and paranoid.
               2/10/13     2:15p      Patient seen by MHP. He now denies suici!lal ideation and voices concerns of being on
                                      Suicide Precautions. MHP discussed copir l skills and reasons he was placed on levels
                                      with patient. He also discussed patient's r nedications with the Psychiatrist.
               2/11/13    12:00p      Patient seen by MHP. He is stable at the t me.
               2/12/13    ll:OOa      Patient seen by MHP. He is stable atthe time.
               2/12/13    l" shift    Patient seen by Psychiatrist. He is stable a,1t the time. He voices concern with being
                                      moved to GP. He was changed to Level II• . this time.
               2/13/13     1:50p      MHP attempted visit with patient howeve he was at a visit during the time.
               2/14/13    12:15p      Patient seen by MHP. He is stable at the t me and denies any suicidal ideation. He
                                      complains of "forgetfulness". Coping techriques and safety issues were discussed.
                                      Patient remains on Level II at this time. i
               2/15/13    11:45a      Patient seen by MHP. He is stable at the t!me. He continues to deny suicidal ideation.
                                      Coping techniques and medication compli~nce were discussed.
               2/16/13    11:30a      Patient seen by MHP. He is stable at the t me. His only complaint is that cell is cold.
                                                                                '

                                                                                                             GB003804
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          2/17/13      12:00p       Patient seen by MHP. He is stable at the tirhe. Requested to be taken off levels.
          2/18/13      ll:OOa       Patient seen by mental health. He is stableiat the time. Denied suicide ideation.
          2/19/13   .. 3:50p        Patient seen by mental health. He is stableiat the time. Reports some sadness over
                                    being housed in the cell. He wa~ted to go 1o GP. Mental health professional discussed
                                    coping.                                         i
          2/20/13        2:10p      Patient seen by mental health. He is stable/at the time. Questions how much longer he
                                    will have to stay in observation. Denies suicide ideation.
          2/21/13       12:05p      Patient seen by mental health. Patient con~erned about a change in sleep pattern.
                                    Denied suicidal ideation. Mental health pr~fessional and patient discussed medication.
          2/21/13       i" shift    Patient seen by psychiatrist. Patient repor1jed some sadness and requested pervious
                                   medications. Medication adjustments wert made and patient levels discontinued and
                                   cleared to general population.
         2/22/13         7:00p     Patient refused medication (Trilafon).         '
         2/25/13         8:00a     Patient refused medication (Cogentin & Tr lafon).
         2/27/13           l"      Patient seen by Psychiatrist. Patient was c1 nfrontational and expresses that he would
                                   hurt patients on that mental health unit a~d staff. Psychiatrist assessment is and
                                   adverse side effect to Prozac and paranoial
         2/28/13        11:20a     Patient seen by Mental Health. Patient requested that his medication be changed and
                                   the Prozac restarted.·He stated that he wa~ted to be on the mental health unit. Mental
                                   Health professional and discussed patient ~oncerns with doctor. Doctor aware of
                                   medication changes.                           )
          3/3/13        1:35a-     Patient seen by medical. Patient complaimi•d of pain "I was kicked in my side." Nurse
                        8:20a      noted injury and called medical doctor. A *at x-ray was ordered and he is moved to
                                   medical unit on medical observation until patient x-ray could be read. Per report he had
                                  right numpneumothorax, he was then sent to ER. ·
Cv\       3/6/13                  Patient return from the hospital.
          3/6/13       l" shift Patient seen by medical provider. Orders were givenfor continued treatment and pain.
          3/6/13      1'1 shift Patient seen by Psychiatrist- Patient refus~d to come to see doctor. Doctor went to see
                              .
                                  him cell side. Patient was argumentative \!flth doctor and spoke about being at the
                                  hospital. Patient refused to sign consent f~rms for medication.
         3/7/13       i" shift    Patient seen by Psychiatrist. Patient notedito be paranoid about correction staff.
                                  Patient medications were changed at this ime.
         3/11/13      l" shift    Patient seen by medical provider. Patient ioted to need a follow up about with trauma
                                  clinic in 2 weeks. Medication changes mac e.
         3/15/13     1st shift    Patient seen by Psychiatrist. Patient note~ to be In good spirits. Patient medication
                                  stayed the same.
         3/20/13     ll:lOa       Patient seen by mental health. Patient sta le, medication compliance discussed, spoke
                                 about his release from medical.
         3/22/13     l" shift     Patient seen by medical provider. Patient rials were stable. Medication increased and
                                 cleared to GP.
         3/28/13    11:15a       Patient seen by mental health on segrega1iion rounds.
         4/2/13     9:40         Patient returned from trauma clinic. Blooq Pressure-118/73, Pulse- 77. No new orders
                                 given.                                        I
        4/4/13      11:30a       Patient seen bv mental health on segrega1iion rounds.
        4/11/13     12:40p       Patient seen by mental health. Patient re~orts medication compliance. Patient had no
                                 concerns.                                     '
                                                                               '
        4/11/13     12:45p       Patient seen by mental health on segrega1ilon rounds.
        4/17/13     1:20p        Patient seen by mental health on segrega1iion rounds.
         5/2/13     2:32p        Patient seen by mental health. Patient re~orts medication compliance and had not
                                 concerns.                                    i
         5/6/13     ll:OOa       Health Service Request- Patient requesting medication change back to Prozac.




                                                                                                               GB003805
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(           5/8/13    12:59p       Patient seen by mental health- Patient reqpested for his medication to be changed back
                                   to Prozac 40mg. Mental Health Profession~I spoke with patient about medication
                                   compliance.
            5/9/13    l:OOp        Health Service Request- Wart on right han and back pain
           5/10/13    12:45p       Patient seen by mental health on segregat on rounds.
           5/13/13    ll:OOa      Vital signs normal. Patient concern is lowe back pain.
           5/16/13    l:OOp        Patient seen by mental health on segregat on rounds.
           5/17/13    11:10a      Patient seen by mental health on segregat on rounds.
           5/28/13    1:20p       Patient seen by Site Medical Director. His \litals were stable. He complained of lower
                                  back pain. Medications changed at this tin e.
           6/3/13    1" shift     Patient seen by MHP. He stable at the tim " He voiced no complaints.
           6/26/13   12:20p       Patient seen by MHP. He stable at this tine. He voiced wanting to be housed on the
                                  MH Unit.                                       i
           7/12/13   11:15a       Patient seen by mental health on segregat on rounds.
           7/17/13   1" shift     Patient seen by MHP. He stable at the time. He voiced no complaints.
           7/17/13   l:OOp        Patient seen by mental health on segregat on rounds.
           7/26/13   12:00p       Patient seen by mental health on segregat on rounds.
            8/1/13   1:350        Patient seen by mental health on segregat on rounds.
            8/8/13   11:20a       Patient seen by mental health on segregat on rounds.
           8/8/13    1:30p        Patient seen by MHP. He requested to se• the Psychiatrist. He was stable at this time.
           8/12/13   1" shift     Patient turned in HSR related to back pain and wart.
           8/14/13   2"' shift    Nursing called to assess patient. He comp,ains of pain to his neck, knees, and ribs. His
                                  was assessed and in no distress.             '
                                                                               '

           8/lS/13   12:30a       Nursing called to assess. He complains of ~ain to his ribs. He was demanding to go to
                                 the E.R. His vital signs were in normal limi~. An EKG was completed that showed no
                                  abnormalities.
           8/15/13   11:40a       Patient seen by Nursing regarding HSR. H refused the pain protocol.                        (
           8/15/13   l:OOo        Patient seen by mental health on segregat on rounds.
           8/16/13   1" shift    Patient was uncooperative with Chronic Clinic visit.
           8/16/13   5:00p       Wellness check completed by Nursing. Pat ent stable with no complaints.
           8/16/13   3:30p       Patient seen by MHP related to call from spouse. She reports that he is having suicidal
                                 ideation. Patient was placed on Suicide Prkcautions.
           8/17/13   1:40a       Wellness check completed by Nursing. Pa· ient stable with no complaints.
           8/18/13   4:10a       Wellness check completed by Nursing. Pat ent noted to be agitated.
           8/19/13   12:00a      Wellness check completed by Nursing. Pa lent stable with no complaints.
           8/19/13   8:00a       Wellness check completed by Nursing. Parient reports that he is fasting and wanted
                                 meds later.
           8/19/13   lO:OOa      Patient was seen by MHP. He was stable 1t the time and denied suicidal ideation. He
                                 requested change in medications.            :
           8/19/13   1:50p       Patient seen by MHP. He was agitated and uncooperative.
           8/19/13   1" shift    Patient seen by Psychiatrist. His mood wa~ labile, pressured speech, thought process
                                 racing, flight of ideas, thought content pa~anoid, and he denies suicidal ideation.
                                 Medications changed at this time.           !
           8/20/13   12:30a      Wellness check completed by Nursing. Pafient stable at the time and voices no
                                 concerns.                                ,
           8/20/13   ll:OOa      Patient seen by MHP. Patient stable at the time. He request to remain on the MH Unit.
           8/20/13   8:00p       Wellness check completed by Nursing. Pafient stable at the time and voices no
                                 concerns.                                  1

           8/21/13   6:12a       Wellness check completed by Nursing. Pa,ient stable at the time and voices no
                                 concerns.
           8/21/13   11:05a      Nursing visit. Patient assessed and stable!




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         8/21/13     1'" shift     Wellness check completed by Nursing. Pa ient stable at the time and voices no
                                   concerns. He request to be taken off Obse/vation.
         8/21/13     l:OOp         MHP visit. Patient stable and voices no complaints.
         8/21/13     4:45p         Wellness check completed by Nursing. Pa~ient stable at the time and voices no
                                   concerns.                                   i
         8/22/13     12:35a        Wellness check completed by Nursing. Patient stable at this time. He reports that he
                                   does not want to harm self and would like ~o see the Psychiatrist.
         8/22/13     12:00p        Wellness check completed by Nursing. Pa~ient stable at the time and request to see
                                   Psychiatrist to be taken off Observation. l
         8/22/13     l:OOp        Patient seen by MHP. Patient was stable. ~e requested to be moved from single cell to

                      00
                                  dorm on MH Unit.                            i
         8/22/13    2 shift       Wellness check completed by Nursing. Hejwas noted to be agitated. He denies suicidal
                                  Ideation. ·                                 i         ·
        8/23/13     12:00a        Wellness check completed by Nursing. He/stable and requesting to see the Psychiatrist
                                  to be tak.en of Observation.               I
        8/23/13     4:30a         Patient seen by Nursing with complaints of pain to finger.
        8/23/13     lO:OOa        Patient seen by MHP. He is stable and den!es suicidal ideation. He demanded to remain
                                  on the MH Unit.                            i
        8/23/13     8:00p         Wellness check completed by Nursing. Heiwas stable but upset regarding his water
                                  being shut off.                            I
        8/24/13     12:1oa        Wellness check completed by Nursing. Pa ient stable at the time and voices no
                                  concerns.
        8/24/13     8:10a        Patient seen by MHP. Patient stable at th time and has no complaints.
        8/24/13     9:15a        Wellness check completed by Nursing. Pa ient stable at the time and voices no
                                 concerns.
((      8/24/13    2"0 shift     Patient turned in HSR with complaints of ack pain.
        8/25/13    4:25a         Wellness check completed by Nursing. Pa ient stable at the time and voices no
                                 concerns.
        8/25/13    8:15a         Patient seen by MHP. He is stable at the t me and requesting to come off Observation.
        8/26/13    2:00a         Wellness check completed by Nursing. Pa ient stable at the time and voices no
                                 concerns.
        8/26/13    4:00p         Patient seen by MHP. Patient reports incr~ase depression related to court. He denies
                                 suicidal ideation. MHP discussed copings ields.
        8/26/13    8:00p         Wellness check completed by Nursing. Pa ient stable at the time and voices no
                                 concerns.
                                 Wellness check completed by Nursing. Pa~ient stable at the time and voices no
                      0
        8/26/13    2" shift
                                 concerns.                              i
        8/27/13    12:00a        Wellness check completed by Nursing. Pafient stable at the time and voices no
                                 concerns.
        8/27/13    12:00p
                                                                           '
                                 MHP visit. Patient stable and denies suici~al Ideation. Patient asking about housing
                                 once released from the MH Unit.           i
       8/28/13     l:SOa         Wellness check completed by Nursing. Pa~ient stable at the time and voices no
                                 concerns.                                 I
       8/28/13     8:00a         Wellness check completed by Nursing. Pa1tient stable at the time and voices no
                                 concerns.                                  I
       8/28/13     1'" shift     Patient seen by Psychiatrist. His thought ontent was appropriate, no suicidal ideation;
                                 mood was labile, affect appropriate, spee h pressure. He was taken off Observation.
       8/29/13     4:40p         Nursing visit. Patient stable. Pain protocc I was ordered.
       9/3/13      1" shift      Call from patient's spouse stating that he Is not harm self and stating that he wants to
                                 be taken off Observation. MHP followed · p with patient who was stable at the time.
        9/4/13     l:SOp         MHP visit. Patient stable and voices no cc ncerns.




                                                                                                               GB003807
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 (           9/11/13    1:30p         MHP visit. Patient stable and voices no concerns.
             9/11/13    3:00p         Patient turns in HSR complaining of neck ijain. He was requesting to see an MD for pain        ('
                                      meds. He also requested meds for constidation.
             9/12/13    3:00p         Patient turns in HSR complaining of edem~ in lower extremities. He Is requesting to see
                                      M~                                       !
             9/13/13    6:05p        Nursing visit to address HSR's. His vitals ~ere stable. He was ordered a pain pack and
                                     started on constipation protocol.            i
             9/18/13    2:00p        Patient seen by mental health. Patient stable and voiced no current concerns.
             9/19/13    1" shift     Patient seen by Psychiatrist. He was stablf at this time. He denies suicidal ideation. He
                                     complains of decrease sleep changes wer~ made in his medications.
             9/24/13    12:15p       Patient seen by mental health on segrega~ion rounds.
             9/24/13    1:30p        Patient seen by mental health. Patient wa~ stable and is quoted tell Mental health that
                                     "happy to see you". Patient requested to ~e moved to mental health dorm 8. Mental
                                     health explained that he was not a candid te for that housing location.
           9/25/13      1:00        Health Service Request- neck pain and sid effects to medication
           9/28/13      1" shift    Patient refused to see medical to address ealth Service Request.
           10/2/13      11:12a      Patient seen by medical doctor in relation jto edema is legs and stiffness In neck. Doctor
                                    noted no edema and gave ibuprofen for p~in.
           10/2/13      12:05p      Patient seen by mental health on segreaa~ion rounds.
           10/9/13      12:40p      Patient seen by mental health on segreaa~ion rounds.
           10/14/13     8:00a       Patient was offered meds during med pas$.
           10/14/13     8:00p       Patient was offered meds during med pas .
           10/15/13     8:00a       Patient was offered meds during med pas .
           10/15/13     8:00p       Patient was offered meds during med pas .
(          10/16/13     8:00p       Patient was offered meds during med pas .
           10/16/13     l:lOp       Patient seen by mental health on segrega ion rounds.
                                                                                                                                 (
           10/16/13     8:00p       Patient was offered meds during med pas .
           10/17/13     8:00a       Patient was offered meds during med pas .
           10/17/13     8:00p       Patient was offered meds during med pas .
           10/18/13     8:00a       Patient was offered meds during med pas .
           10/18/13     1" shift    Patient seen by medical on medical segre ation rounds
           10/18/13     8:00p       Patient was offered meds during med pas$.
           10/19/13     8:00a       Patient was offered meds during med pas$.
           10/19/13     4:00p       Patient found hanging in cell by correctio~ staff. Medical was on floor and CPR begin
                                    and continued until EMS took over.          i
           10/19/13     4:45p       Dr. Johnson pronounced that .patient was kieceased.



          Respectfully Submitted,

          Kibibi Wood-Montgomery
          Director of Mental Health




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                                                                                                           GB003808
     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 329 of 625 PageID #:

      Name HINDI, MAHMOUD y
                                          1321
                                                                             Bookin~ #
                                                                                          I   2012029784                  Facility 1
    Inmate # 00577966             Sex MALE          DOB-                    Book D ' m        09/07/2012 02:36              Wing H5E
       Race White/Eurp/ N.Afr/Mid.Eas                Age 56             ReleaseD          m                                Dorm H5E-N1

   Status                                 In Jail                          Classlfica on MX/AB                              Cell H5-N1


                                                                                          ncident History .
 Incident Date    Incident Type         Booking#          Reporting Officer      F rm Name                     Facility           Approved DI/Tm    App"
 10119/2013       DEATH OF              2012029784        Hornback,              El REPORT                   1
 15:55            INMATE                                  Christopher

 08/21/2013       DISRUPTIVE         2012029784           Hale, Derek            Ell REPORT                  1
 11:05

 08/16/2013       Sucide Prevention 2012029784            Redmon, Michael        El REPORT                   1
 15:30

08/14/2013        STRIP SEACH -      2012029784           Gibson, Darren         El REPORT
18:10             INMATE
                                                                                      f

03/03/2013       HOSPITAL,           2012029784                                  El/REPORT                 1                      03/10/201311:03
09:03            INMATE
                 TRANSPORTED

                                                                                      I
03/02/2013       COMBATIVE           2012029784                                 El REPORT                  1                     03/04/2013 09:03
07:03

02/09/2013       Sucide Prevention 2012029784                                   El/REPORT                  1                     02/11/2013 01:02
12:02

 1101/2013       ADDITIONAL          2012029784                                 El REPORT                  1                     01/07/201311:01
01:01            CHARGES

01/0112013       DISRUPTIVE          2012029784                                 El REPORT                  1                     01/07/201311:01
01:01

12106/2012       DISRUPTIVE         2012029784                                  El REPORT                  1                     12/06/2012 03:12
10:12                                                                             I

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12/06/2012       UNAUTHORIZED 2012029784                                        El/REPORT                  1                     12/0612012 03:12
10:12            CONTACT
                 W/PUBLJC


09/26/2012       Strip Search -     2012029784
                                                                                 I
                                                                                Ell REPORT               1                      09/26/2012 11:09
03:09            Inmate
                                                                                 i
                 DISRUPTIVE·        2012029784           Gibson, Darren         El/REPORT                1




25352 Troutman                                          10/1912013 21:12                                                        GB003809
                                                                                                                                     Page:     1
         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 330 of 625 PageID #:
                                              1322




     (
            Incident Report #   43205                      Incident Type                                              Incident DateTime   09/26/2012 03:1'


             Location Type                                                            Location        J3 MULTIPURPOSE ROOM




                                                     Inmates Involved
                                Inmate#          Name
                                00577966         HINDI, MAHMOUD Y




                                                                                                  i
                                Video Recorded? Type?                                    Medij:al Responders Name

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                                                             Type of Restraints
                                 Name                           Restraint                     ~ote
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                                                                Type of Force                     i
                                 Name                           Force                         ~ote

                                                                                                  i
                  Narrative       At approx. 1555 a strip search was conducted on J3 in the Mu\lipurpose Room                      Officer involved
                                bathroom on inmate Hindi, Mahmoud# 577966. Strip search w~s conducted per pollcy
                                following a contact visit. Search was conducted by Officer Wa~lr and Officer Lydon.     Name
                                No contraband was located. Inmate returned to his housing lo tion of J3 Dorm 8 with
                                no incident. Strip Search Form completed and placed with shift aperwork. Shift
                                Commander notified. EOR&#xOD; &#xOD; Sgt. M Zapata # 302 #xOD;

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                                                 Employee Signature                           aate
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            25352 Troutman                                                 1011912013 21:15
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 Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 331 of 625 PageID #:
                                      1323
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                                                                  Incident Re,ort

 Incident Report #    44661                       Incident Type

                                                                                            II
                                                                                                             Incident DateTime   12/06/201210:12


  Location Type                                                              Location            J3 DORM 8
                                                                                        I

                                           .Inmates Involved
                                                                                        I
                     Inmate#            Name
                     00577966           HINDI, MAHMOUD Y



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                      Video Recorded? Type?                                     Mediqal Responders Name




                                                    Type of Restraints
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                       Name                            Restraint                    Npte




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                      Name
                                                       Type of Force
                                                      Force
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                                                                                    Npte




      Narrative       On 12-06-2012 at 1014 hours the canteen employee, Equlsha eys, was passing
                                                                                                                         Officer involved
                     commissary to J3 DB, the mental health dorm. When Inmate Hin i Mahmoud CIN#
                     577966 got his commissary, I - OFC M. Weekes -wHnessed In ate Hindi hug and               Name
                     kiss the canteen worker on the forehead. I immediately pulled th Inmate out of the
                     dorm and placed him in the J3 West Hold. Mental Health was      led and Sgt. Jones
                     was notified. Inmate Hindi was moved to J3 dorm 7 cell 8 and      ived disciplinary.
                     &#xOD: &#xOD; OFC M. Weekes&#xOD: LMDC #748&#xOD; -E R-&#xOD;




                                      Employee Signature




25352 Troutman                                                1011912013 21:16                                           GB003811
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        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 332 of 625 PageID #:
                                             1324
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                                                                            Incident Report
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    (
           Incident Report #    45106                       Incident Type                                                     Incident DateTime   01/01/2013 01:{·'"",

            Location Type                                                               Location               NEW JAIL COMPLEX, J3 DORM 8.




                                                      Inmates Involved
                               Inmate#            Name
                               00577966           HINDI, MAHMOUD Y




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                                Video Recorded? Type?                                       Mediclal Responders Name




                                                               Type of Restraints
                                 Name                             Restraint




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                                                                  Type of Force
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                                 Name                             Force                         Npte

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                 Narrative        On today's date at approximately 0730hrs while morning sick c!ll was being                               Officer involved
                                conducted by Ofc. Hornback, inmate Hindi, Mahmoud cin#5779 6 had come up for his
                                morning medication passing Ofc. Hornback and could be heard aying "you fucking                   Name
                                bastard officer''. Ofc. Hornback continued to let Inmate Hindi re~'ive his medication.
                                Alter this action, Ole. Hornback requested that Inmate Hindi ste out of the dorm to
                                find out what his problem was. Inmate Hindi refused to step an and talk with Ofc.
                                Hornback. qtc. Hornback then instructed inmate Hindi to walk    tlwest     hold. Inmate
                                Hindi refused to do so and appeared ready to throw water on Of . Hornback. Ofc.
                                Hornback pulled his OC out and instructed inmate to walk to we t hold. Again, Inmate
                                Hindi refused calling Ole. Hornback "a fucking bastard officer". fc. Hornback used
                                soft empty hand technique and while escorting him to west hold ."nmate Hindi threw
                               that cup of water at Ofc. Hornback hitting him in the uniform, ar~ and facial area. I
                                had witnessed this entire Incident and Ofc. Hornback informed R;ie that Inmate Hindi
                                has prior issues with Ofc. Hornback. I went to speak with merltal health in regards to
                               inmate Hindi and I was informed that he be moved to J2W obs. f/vhile I and Ofc.
                               McKinney escorted Inmate Hindi off the floor I overheard him telt Ofc. Hornback that
                               "he(inmate Hindi) will kill hlm(Ofc. Hornback) If it took a thousan~ years. &#xOD;
                               Information was gathered that during a interview with Dr. Easley'i inmate Hindi made 4
I                              references about Ofc. Hornback's life. I then spoke with Nurse $arbie Wood and
'                              asked her to document that in inm;;:ite Hindi's file. Ofc. Homback~1 has informed this Sgt
                               that he will file added charges on this inmate. Additional charge Of TI3 and Asslt 3
                               were placed on Inmate Hindi. Citation number M582936. Disci Unary will be issued
                               as well. Lt. Meriwether advised.&#xOD; &#xOD; -End of Reportj·&#xOD; &#xOD; Sgt.
                               Allen #303 &#xOD;

           25352 Troutman                                                   10/19/2013 21 :17                                        GB003812         Page: 1
       Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 333 of 625 PageID #:
                                            1325




                            Employee Signature                      D~te




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      25352 Troutman                             1011912013 21:17           GB003813
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        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 334 of 625 PageID #:
                                             1326
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                                                                          Incident ReJort
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           Incident Report#    45941                      Incident Type                                                 Incident DateTime   02/09/201312:0
                                                                                                                                                          r-,
            Location Type                                                             Location           HALL OF JUSTICE FIFTH FLOOR DORM 9




                                                    Inmates Involved
                              Inmate#           Name
                              00577966          HINDI, MAHMOUD Y




                              Video Recorded? Type?                                      Medi,al Responders Name




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                                                             Type of Restraints
                               Name                            Restraint


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                                                                Type of Force
                               Name                            Force


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                                                                                                 I
                 Narrative     Mental health was called to assess l/M Hindi, Mahmoud, 5779&6. After speaking                         Officer involved
                              with l/M Hindi, it was determined he should be placed on Level !]suicide observation.
                                                                                                 !                         Name




                                               Employee Signature                            Date




           25352 Troutman                                                 10/19/2013 21:18                                     GB003814
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     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 335 of 625 PageID #:
                                          1327
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                                                                        Incident Report
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     Incident Report #     46394                        Incident Type                            !                        Incident DateTime   03/02/2013 07:03
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       Location Type                                                                 Location I          NORTH 1 CELL 1




                                                  Inmates Involved
                          Inmate#            Name
                          00577966           HINDI, MAHMOUD Y

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                          Video Recorded? Type?                                         Medifal Responders Name


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                                                                                                II
                                                           Type of Restraints
                            Name                             Restraint                      ~ote


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                           !Ri~i~~iiBii~i'2~
                                                              Type of Force
                           Name                              Force



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           Narrative        On the above date at approximately 1948, I Ofc Burba, while aisigned to Passive                           Officer involved
                           Booking was on break and speaking with Sgt Goff in H5 control.I While speaking to
                           Sgt Goff I saw the work aid motioning for me and beating on the; lass to the control             Name
                          room in an attempt to get my attention. This work aid yelled, n1 t ink the officers need
                          help" on the east walk. / Immediately exited the control room a headed for the east
                          walk.&#xOD; &#xOD; When I entered the east walk I noticed thal the sick call nurse
                          was In the hallway alone. I also noticed that Immediately to my ell, the door to Cell #1
                          was open. No officers were around. I looked into cell #1 and s~w Ofc. Da.niels and
                          Ole. Warden engaged in a confrontation with l/M Hindi, Mahmo d (#577966). Ofc.
                          Daniels had control of l/M Hindi's upper body and Ole. Warden as attempting to take
                          l/M Hindi to the ground. It appeared that l/M Hindi was trying to rab the legs of Ole
                          Daniels in an attempt to take him down. l/M Hindi continued to peak, but exactly
                          what he was saying was unknown to me. I gave l/M Hindi ver I commands to stop
                         resisting and to get on the ground. This inmate refused to follow verbal commands. I
                         again gave verbal commands for l/M Hindf to Qet on the ground, he refused and began
                         to kick his legs around as if he was attempted to kick officers. ue to the position of
                         l/M Hindi's head, I was unable to deliver OC. I delivered a sho knee to the body of
                         l/M Hindi and he was able to be taken down.&#xOD; &#xOD; On eon the ground l/M
                         Hindi continued to resist and yell at officers, but after a few mo · ents of struggling this
                         inmate was able to be handcuffed behind his back by officers. fc. Daniels controlled
                         the upper body of l/M Hinda and Ofc Warden controlled the leg~ of l/M Hindi to prevent
                         him from kicking at officers any longer.&#xOD; &#xOD; Once thi~ inmate was secured I
                         was able to establish dialogue with him and was able to calm hi'I' down. I asked him If
                         we sat him on his bunk if he would follow instruction and let the 11urse look at him, he

     25352 Troutman                                                   10/19/2013 21:18
                                                                                            I                                          GB003815
                                                                                                                                             Page:     1
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 336 of 625 PageID #:
                                         1328
                                                                                              i
                         agreed. Myself and other officers then helped l/M Hindi to his 1Jt, and then onto his
                         bunk. Medical entered the cell and was able to check l/M Hindi tpr injurtes. They also
                        spoke with him about his medication which appeared to be the r$son for his
                         disruption/combativeness. Once medical checked l/M Hindi and Sgt. Goff spoke with
                        him, Ole. Daniels and Ole. Warden placed l/M Hindi on his stomach on his bunk and
                        the handcuffs were removed without further incident. AU officers lexited the cell without
                        further lncident.&#xOD; &#xOD; While officers were outside the tjlll 1/M Hindi continued
                        to make threatening gestures to Ole Daniels and Ole Warden. H~ also continued to
                        complain about his medication to the nurse.&#xOD; &#xOD; This ~nds my involvement
                        in this incldent.&#xOD; &#xOD; -Burba771&#x0D;




                                          Employee Signature                           D!\te
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       25352 Troutman                                            10/19/2013 21:18                                   GB003816   Page: 2
 Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 337 of 625 PageID #:
                                      1329
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                                                               Incident Re~ort
                                                                                            I
Incident Report #    46419                     Incident Type                                I                Incident Datelime   03/03/2013 09:03
                                                                                            !

  Location Type                                                          Location               J2, W2, C4




                                         Inmates Involved
                    Inmate#          Name
                    00577966         HINDI, MAHMOUD Y


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                    Video Recorded? Type?                                   Meditjal Responders Name

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                                                 Type of Restraints
                     Name                          Restraint                   N~te



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                     tlf~iti~MMMl~~:!,~:·                                           i
                                                    Type of Force                   I
                     Name                          Force                       Nrte




      Narrative       On 313/13 at approximately 0818hrs I was informed by Nurse j,oan that l/M Hindi                    Officer involved
                    Mahmoud, CIN #577966 needed to be transport to HHU by Col:ctlons for a possible
                    pneumothorax. Lt Grieser was notified and due to l/M Hindi's ch rges he was                Name
                    transported to HHU with Ole Garret and Ole Laws escorting.II/ OR




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                                    Employee Signature                        D~te

25352 Troutman                                             10119/2013 21:19                                               GB003817
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     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 338 of 625 PageID #:
                                          1330

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                                                                      Incident Re~ort

        Incident Report# 00049652                     Incident Type                                                 Incident DateTime


          Location Type                                                           Location             J4 HALLWAY

        Reporting Officer Gibson, Darren


                                                Inmates Involved
                          Inmate#           Name
                          00577966          HINDI, MAHMOUDY



                                                                                             i
                          Video Recorded? Type?                                      MediJal Responders Name          GRIFFITH
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                                                         Type of Restraints                  i
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                            Name                           Restraint                             ote
                            HINDI, MAHMOUD Y               Handcuffs
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                           ~:~'Rl,M'~~g';g'.c
                                                            Type of Force
                           Name                            Force
                           HINDI, MAHMOUD Y                Physical                              MATE WAS LEG
                                                                                                  EPTAND
                                                                                                 KEN DOWN TO
                                                                                                 EGROUND




             Narrative    On 08/14/2013 at around 1650 Sgt Gibson was called to J4 Ce tral Hold. When he
                           arrived, Officers had Inmate Hindi, Mahmoud (#577966) in han uffs on the ground
                           restraining him. Officer Ernest advised me that Inmate Hindi ha been removed from .
                           his cell due to him having a visit in the multi purpose room with ·s family. 9nce
                           inmate Hindi was removed from his cell, Officer Ernest advised im to shut his cell
                           door since he was going to the visit: Inmate Hindi became ver Hy disruptive with
                          Officer Ernest saying "you're stupid" and "I'm not shutting my dopr". Officer Ernest
                          began escorting him out of the dorm down to the visiting booths land due to Inmate
                          Hindi continuing to be verbally disruptive, Officer Ernest placed ~im into handcuffs.
                          Officer Ernest decided to place the inmate into Central Hold unti) Sgt Gibson could
                          arrive to determine if Inmate Hindis visit should be cancelled du+- to the verbal
                          disruption that he was causing. Officer Ernest gave inmate Hinl verbal directions to
                          sit down to which he was refusing to do. Officer Ernest advised hat after the second
                          attempt to sit him down, Inmate Hindi began jerking his arms ar und and he felt that
\.                        Inmate Hindi was attempting to turn around on him so he perfon/ned a leg sweep and
                          took the inmate down to the ground. Once on the ground, Offict;f Shirley assisted with
                          controlling the inmate's body while he was on the ground. OnceiSgt Gibson arrived,
                          Inmate Hindi began informing him that the black Officers help oqt the black inmates on
                          hour outs and that the white Officers help out the black inmates pn hour outs and that
                                                                                            !

        25352 Troutman                                                10/19/2013 22:32                                     GB003818     Page: 1
            Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 339 of 625 PageID #:
                                                 1331
                               since he was a foreigner, none of the Officers would do anythin for him. He advised
                               Sgt Gibson that yesterday he had an issue with Officer Ernest n t giving him several
                              hours out of his cell and he tried to talk to him about It but Office Ernest would not
    (~--.                     speak to him about It so that Is why he called him stupid. Inmate Hindi advised that this
1-                            man beat me up and put his knee on his neck. When Sgt Glbso arrived, Officer
                              Ernest had his knee across his shoulders controlling the upper         y. Sgt Gibson
\                             explained to inmate Hindi that Inmates were only allowed one h ur out of their cell and
                             if the floor Officers decided to give any extra time out that II was bonus. Inmate Hindi
                              then relayed that he had received 2 hours out of his cell last nigHt. Sgt Gibson asked
                             Inmate Hindi why he was attempting to turn around on Officer E~nest when he was
                             attempting to sit him down and he advised this man was    beatingtme      and that's why I
                             resisted. Inmate Hindi was assessed by medical Nurse Griffith.          complained of pain
                             to his ribs, neck, wrist, knees and chest. Photos were taken of I e inmate and will be
                             forwarded to Senior Slaff, PSU and 2nd shift command Slaff. Lt ·1bert was notified of
                             the incident. Inmate Hindi was moved back to J4 Dorm 7 Cell 7 'nd Sgt Gibson
                             continued lo explain lo inmate Hindi that hour outs were only an /hour. After getting
                             verbal compliance lo remain calm and stay seated, Sgt Gibson ~moved the handcuffs
                             and all Officers exited the cell. EOR
                             Sgt D. Gibson #364


                                   Si


                                               Employee Signature




            25352 Troutman                                            10/19/2013 22:32                                         Page: 2
                                                                                                                          GB003819
        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 340 of 625 PageID #:
                                             1332
                                                                                       Incident Report

    ,lt'"'d,~nt Report# j00049652(a)                             incident Type 10_1s_R_U_P_r_1v_E
                                                                               ....             _ _ _ _ _......._ __,lncldent DateTime


      Location Type

    Reporting Officer LIE_r_ne_s_1_,c_o_rt_e_z_ _ _ _ _ _ _ _ _ __,
                                                                                                              ocation            J4 HAL
                                                                                                                                                 WAY
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                                                        Inmates Involved
                      Inmate#                      Name




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                      Video Recorded? Type?                                                                       Medical Respohders Name
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                        [J Use of Restroinls Required
                                                                       Type of Restraints
                        Name                                               Restraint                                    Note




(                       ID    Use of Force Required
                                                                           Type of Force
                        Name                                              Force                                         Note




          Narrative   nn A/1Al?01? I ()Hirer(" l=m1:1oet tui::r.e n1111inn 11ieitC nn IA rlnrm 7 lnmc:ot11:>
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                                                Employee Signature                                                     Date




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                                      Incident 1333
                                               Report

t'.'!~ent Report# j00049652(b)                 Incident Type !DISRUPTIVE                                      Incident DateTime

(                                                                '---------:::1::::~~~--------
 R:::~:=~r        jGRIFFITH, LATASHIA                                         ocation    LHALfWAY                                   _   l
                                         Inmates Involved
                  Inmate#            Name




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                  Video Recorded? Type?
                                                     ~-----~'                  Medical Resptders Name

                                                                                                   I
                   IC! Use of Restraints Required
                                                  Type of Restraints                            I
                    Name                             Restraint                      Note        I
                                                                                                I
                   IEJ Use of Force Required                                                    I
                                                     Type of Force.
                   Name                             Force                          Note




      Narrative   This nurse was called to 4th floor holding to asses IM Hindi. IM Hindi comp ained of
                  pain to his neck, ribs and bllat knees. All vital signs are within normal limits No acute
                  distress noted.

                  Latashia V. Griffith LPN


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                  ~--------------------+----
                                  Employee Signature                              Date




                                                                                                                                  GB003821
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                                         1334

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                                                                     Incident Re~ort

        Incident Report#   00049659                  Incident Type                                  I           Incident DateTime   08/14/201318:r'

         Location Type     MALE GP                                               Location

        Reporting Officer Gibson, Darren


                                                Inmates Involved
                           Inmate#          Name
                           00577966         HINDI, MAHMOUD         Y



                           Video Recorded? Type?                                    Medii81 Responders Name

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                                                        Type of Restraints
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                            Name                           Restraint



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                                                           Type of Force
                                                                                            iI
                            Name                           Force                        Note




             Narrative     Inmate Hindi, Mahmoud (#577966) was strip searched by Offlc~'r Skaggs and training
                           Officer G. Sanders and J. Ritter. The strip search was conducte In the Search room
                           an J4 immediately following an approved contact attorney visit. o contraband was
                           found. Lt Gilbert was notified. EOR                            I

                           Sgt D. Gibson #364                                               I
                                                                                            I


                                                                                        I
                                                                                        I




                                           Employee Signature




       25352 Troutman                                                10/19/2013 21:19                                  GB003822        Page: 1
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                                        Incident 1335
                                                 Report


r-,
 1•;''!'1ent Report# j00049659(a)                rncident Type     jSTRIP SEACH - INMATE             I        Incident DateTime   jOB/14/2013 18:10


     ""cation Type   ~-~ocationL
 Reporting Officer jSkaggs, Danny
                                                                                           r---+-1------,
                   ~~~~~~~~~                                                                         I
                                            Inmates Involved
                     Inmate#            Name


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                     Video Recorded? Type?                                      Medical    Respo~ders    Name

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                      IC!   Use of Restraints Required                                              !

                       Name
                                                    Type of Restraints
                                                       Restraint                    Note
                                                                                                    II
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(~                    ID    Use of Force Required                                                I
                                                       Type of Force                             i
                      Name                            Force                         Note




        Narrative
                                                                                                I
                     I Officer Skaggs conducted a st~p search of l/M Hindi after an contact attor ey visit
                     and training Officer G. Sanders and J. Ritter were there as well. The stlip s arch was
                     conducted in the Search room on J4 immediately following an approved    cor'  act
                     attorney visit. No contraband was tound. Sgt was notified. EOR



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                                     Employee Signature                            Date




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   Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 344 of 625 PageID #:
                                        1336
                                                            Incident Report

rd~ent Report# 100049659(b)                 Incident Type
                                                              '--~~~~~~~~-+~~~-'
                                                                                                     ncident DateTime   108/14/2013 18:10
                                                                                                                                             I
  Location Type                                                        ocation                                                              ('
Reporting Officer !SANDERS, GEORGE
                                                                                   [
                                       Inmates Involved
                  Inmate#          Name




                  Video Recorded? Type?                                  Medical RespoLers Name

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                   [] Use o!Restrainls Required

                                                Type of Restraints
                   Name                           Restraint                   Note




                   ID   Use of Foroe Required

                                                  Type of Force
                   Name                          Force                       Note




     Narrative    I assisted Ole. Skaggs in the st~p search of inmate Hindi Mahmoud. Mysel and Ole
                                                                                         rras
                  Ritter we conducted the strip search in the J4 strip search room and there   no
                  contraband found.                                                      I

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                                 Employee Signature                         Date




                                                                                                                        GB003824
                 Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 345 of 625 PageID #:
                                                      1337
                                                                       Incident Report

  lp-,tjent Report# ID0049659(c)                       incident Type
                                                                        I                                   Incident DateTime 108/14/2013 18:10
r~
      ~ocetion   Type                                                           ~ocation

  Reporting Officer 'RITTER, JOSHUA
                                                                            I
                                                  Inmates Involved
                        Inmate#                 Name




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                        Video Recorded? Type?                                     Medical     Respo~ders Name
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                         ICJ   Use of Restnoints Required
                                                         Type of Restraints
                          Name                              Restraint                  Note




Cir                      ID    Use of Force Required
 \
                                                            Type of Force
                         Name                              Force                      Note




         Narrative      Officer G, Sanders, Officer D Skaggs, and myself strip searched inmate·
                        Hindi,Mahmoud (#577966) due to a contact visit with his attorneys. These rch was
                        performed in the search room located on J4 and no contraband was found. I Upon
                        completion, Lt. Gilbert was notified. EOR                               /

                        - Officer Ritter, J -                                                     II

                        -- #802




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                            ------------------------·~-----t----·--




                                          Employee Signature                         Date




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    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 346 of 625 PageID #:
                                         1338
                                                                                                     i
                                                                                                 i
                                                                    Incident Report                  I




       Incident Report# 00049714                    Incident Type                                                   Incident DateTime   08/16/2013 15:3('

                                                                                                 i
         Location Type                                                           Location    I           J4-D7-C8

                                                                                                 i
        Reporting Officer Redmon, Michael
                                                                                                 i
                                                                                                 I


                                              Inmates Involved                               I
                         Inmate#           Name

                         00577966          HINDI, MAHMOUD Y




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                         Video Recorded? Type?            NIA                       Medi¢al Responders Name           MIH KIBIBI
                                                                                             i


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                                                       Type of Restraints
                          Name                            Restraint



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                                                          Type of Force
                          Name                            Force                              ote




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             Narrative   ON 08/16/13 around 1530 MIH Professional Kibibi spoke with II~ Mahmoud Hindi
                         (CIN#577966) who was housed on J4-7-C8, placed him on a le~Itwo observations
                         for having thought of not wanting to live, and he was moved to J -W1-C6. The
                         personal belongs of llM Hindi was taking to the J1 property roo by Ole Skaggs. llM
                         Hindi was approved by Health Service Administrator Zellars to k ep his wrist watch,
                         Koran, and his pJC!yer rug. Lt Gilbert was advised,             i

                                                                                         I
                         Sgt Redmon




                                          Employee Signature                            Dfite
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       25352 Troutman                                               10/19/2013 21 :21                                      GB003826        Page1 1
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                                          Incident Report
                                                    1339


<p~~nt Report# ...'o_o_o_49_7_1_4-(a_}_ _ _ _,n_c_ld-en_t_T-yp_e_,_s_uc-id_e_P.....,revention                     Incident DateTlme 108/16/2013 15:30


                                                                                                 J4-07-Cr
                                                                                                C+-------'
   ........t.:ation Type                                                            ocation

 Reporting Officer jWOOD-MONTGOMERY, KABIBI


                                                 Inmates Involved                                       I
                           Inmate#           Name


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                           Video Recorded? Type?
                                                                                                        I
                                                                                      Medical Responders Name



                            ID UseofReslrainls Required
                                                          Type of Restraints
                            Name                             Restraint                    Note




                            lCl   Use of Force Required
                                                             Type of Force
                            Name                   .
                                                          . Force                         Note




        Narrative          Mental Health received phone from patients family with concerns about his mental
                           state. Mental Health attempted to speak with patient. He refused. Due to hi1 refusal
                           mental health decided to admit patient to unit for continued observation. Kit bl L.
                           Wood-Montgomery, MSSW




                                           Employee Signature                           Date




                                                                                                                                       GB003827
       Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 348 of 625 PageID #:
                                            1340
                                                                Incident Report

 (ident Report# j00049714(b)                    Incident Type
                                                                  '----------+----'
                                                                                                             ncident DateTime   jOB/16/2013 15:30
                                                                                                                                                    I
     Location Type                                                           ocation                                                                ('
    Reporting Officer jSANDERS, GEORGE


                                           Inmates Involved
                     Inmate #          Name




                     Video Recorded? Type?                                      Medical    Respo~ders Name
                                                                                                 I            ~-----~
                                                                                                 I
                                                                                                 I
                      ID    Use of Restraints Required

                                                    Type of Restraints
                                                                                                 !
                      Name                            Restraint                     Note




(
                      fCl   Use of Force Required
                                                       Type of Force
                      Name                            Force                         Note




        Narrative    I helped escorted l/M Hindi to J2 west hold.Then took his property to the prqperty
                     room.                                                                        I




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                                     Employee Signature                            Date
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                                        Incident Report
                                                  1341


,,in;icjent Report# j00049714(c)                  Incident Type                                            ncident DateTlme   jOB/16/201315:30

 (-'                                                                '---------+------'
      _,cation Type                                                             ocation


 Reporting Officer .._js_k_ag_g_s_,_o_an_n_Y_ _ _ _ _ _ _ _ _          __,I .                                                          J
                                            Inmates Involved
                      Inmate #          Name




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                      Video Recorded? Type?                                      Medical Respohders Name
                                                                                                  i        '-------'
                                                                                                  !
                       r:J   Use of Reslrainls Required                                           '·


                                                     Type o~ Restraints
                       Name                             Restraint                     Note




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  \
                       [J    Use of Faroe Required                                                Ii
                                                        Type of Force
                                                                                                  I
                       Name                            Force                         Note



                                                                                                  I
         Narrative    I helped escorted l/M Hindi to J2 west hold.Then took his property to the pr perty
                      room.




                                      Employee Signature                            Date




                                                                                                                                 GB003829
Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 350 of 625 PageID #:
                                     1342
                                                                                                   I
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                                                                        Incident Re~ort
                                                                                                   i
   Incident Report#   00049822                          Incident Type
                                                                                               I                      Incident DateTime   08/21/201311:r
                                                                                               I
     Location Type    SINGLE C                                                      Location   !       J2W WALK 1 CELL# 6


    Reporting Officer Hale, Derek



                                               Inmates Involved
                      Inmate#           Name

                      00577966          HINDI, MAHMOUD Y



                                                                                               I
                                                                                               I
                      Video Recorded? Type?                                            Medi~I Responders Name               CHEATHAM
                                                                                               I
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                                                          Type of Restraints
                        Name                                 Restraint
                                                                                               I
                                                                                           Note




                       r®J~~a::~J~'.~Et
                                                             Type of Force
                       Name                                  Force

                       HINDI, MAHMOUD Y                      SOFT EMPTY HAND




         Narrative     On 08121/13 at 1105hrs, l(Sgt. Hale) was informed by Ole. Wig ins that during a
                       routine cell search of llM Hindi, Mahmoud(cin#577966) in J2W alk 1 Cell# 6, he
                       became disruptive over the items that were being removed fro] his cell. 1/M Hindi had
                       hygiene items and a jail ink pen that he wasn't allowed to have ue to being on level 2
                      suicide observation. l/M Hindi attempted to push Ole. Wiggins ut of the way and grab
                      the Items before Ole. Wiggins could remove them. Ole. Wiggin then grabbed llM
                      Hindi by his jumpsuit and placed him on his bunk and Instructed Ihim not to get up from
                      the bunk until the search of the cell was complete. At that time ¢>tc. Wiggins was able
                      to secure the items that wasn't allowed in the I/M's cell and dep~rt the cell without
                      further Incident. Nurse Cheatham of medical was notified and a~sessed l/M Hindi for
                      injuries. Photos were taken of l/M Hindi and sent to PSU and S~ift Command. Lt.
                      Norris was notified of the incident. EOR                          '

                      Sgt. D. Hale


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                                           i   :t
                                                                                           ;
                                                                                      08121'2013

   25352 Troutman                                                       1011s12013 21:21   I                                  GB003830       Page: 1
     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 351 of 625 PageID #:
                                          1343
                                                             Incident Report

                                              rnciderit Type!~D-IS_R_U_P_T_IV_E_ _ _ _-+---~'ncident DateTime
/etncident Report# j00049822(a)                                                                                       108/21/2013 11 :05
                                                                                                                                            I
                                                                          ~ocation
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                                                                                                                            J
   Location Type jSINGLE C                                                               J2W       i'\LK 1 CELL # 6
                                                                                                   '
  Reporting Officar _jW_ig_g_in_s_,R_ya_n_ _ _ _ _ _ _ _ _ _~




                   Inmate#           Name
                                         Inmates Involved                                  T       i




                   Video Recorded? Type?                                      Medical Resptjnders Name



                    [] Use <>fRestraints Required

                                                  Type of Restraints
                    Name                            Restraint                     Note




                    [] Use of Force Required

                                                     Type of Force
                    Name                            Force                         Note




       Narrative       On the above date at approximately 1105 hours I, Officar R WiQQins, w s workinQ
                   the west side of the second floor of the Main Jail Complex. I observed that nmate
                   Hindi, Mahmoud had several items in his cell that he was not allowed beca se he was
                   on suicide observation level two. I had his cell door opened and spoke to h m letting
                   him know why I needed the items. Inmate Hindi refused to hand me the ite s I was
                   reouestlm so I Instructed him to sit on his bunk while I removed the items. nmate
                   Hindi refused to comply with my instructions sayinQ that I was belnQ rude t him. I
                   aQain Instructed him to sit on his bunk. He stated that he was QolnQ to Qet~ Item and
                   attempted to push me ·aside to oet a Koran sittlnQ on his table. I then took old of
                   inmate Hindi's uniform shirt and pulled him down onto his bunk. I placed k pt hold of
                   his shirt with my left hand and placed my right forearm against his chest to revent him
                   from attempting to aet up. I instructed inmate Hindi to remain on his bunk. e stated
                   that he would comply. I removed contraband items from his cell and exited "thout
                   further incident.                                                           1



                       At this time, I contacted SerQeant Hale to inform him of what had happehed. Nurse
                   Cheatam spake to inmate Hindi and checked him. Semeant Hale took phol<Jr:iraphs of
                   inm_~te 1-::!indl. W.e BQ§lr:! dep~[ted the cell without.further incid~nt.




                                   Employee Signature                            Date




                                                                                                                      GB003831
          Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 352 of 625 PageID #:
                                               1344
                                                               Incident Report

f~ent Report# j00049822(b)                     fncident Type    ~/0_1s_R_U_P_T_1v_E_ _ _ _--+--~'ncldent DateTime /08/21/2013 11 :05

    -0cation Type /SINGLE C

Reporting Officer /Cheatham, Roma
                                                                           ~ocal/on      L.W WtLK 1 CELL# 6                J
                                         Inmates Involved                                         I
                  Inmate #           Name



                                                                                                  I

                  Video Recorded? Type?                                       ""'"' . . 4... _    I

                   ID u..e ofRestraints Required
                                                  Type of Restraints
                   Name                             Restraint                      Note




                   El   Use of Force Required

                                                     Type of Force
                   Name                             Force                         Note




      Narrative   On 8121/2013 at 1105am, this nurse assessed IM Hindi, Mahmoud 577966 in his
                  single cell. IM had a small area of redness to his mid chest. Denies any inj~rles or pain
                  at this time. EOR Nikki Cheatham LPN                                        I
                                                                                              I



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                  ~.-·----·-----·-------1-
                                  Employee Signature                             Date
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Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 353 of 625 PageID #:
                                     1345          I



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                        Louisville Metro Department of Corrections Incident Report
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    Incident Report#     00051051                    Incident Type      DEATH OF INM1TE                              lncidentDateTime   10/19/201315:~
                                                                                                 !
     Location Type      SINGLE C                                                 Location        J    HOJ 5TH FLOOR, EAST WALK, NORTH ONE,
                                                                                                 ! CELL#3.
   Reporting Officer Hornback, Christopher


                                               Inmates Involved
                        Inmate#            Name

                        00577966           HINDI, MAHMOUD Y




                        Video Recorded? Type?              BODY CAMERA               Medi~al Responders Name . NURSE MALONE,
                                                                                             I                          ANGEL




                          Name
                                                        Type of Restraints
                                                           Restraint                     Note
                                                                                             I
                          HINDI, MAHMOUD Y                 Other                                     CURITYSET
                                                                                         F R
                                                                                                     ANSPORTATION




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                                                           Type of Force
                                                                                             I
                         Name                             Force                          jote




          Narrative
                                                                                             I
                         At 1559, 10-19-2013. I Sgt. C. Hornback #333, observed OfflcerjD. Ramsey run into
                         the control room. He grabbed the knife for life, reported that inm~te Hindi, Mahmoud
                         cin#00577966 who is housed on HOJ 5-East North One, cell#3 Was trying to hurt his
                         self and was hanging from the cell bars. I and Ole. D. Ramsey iqnmediately responded
                         to inmate Hindi's cell. I contacted Lt. Gnbert by radio to report t Incident and for him
                         to respond. Upon arrival at 1600 I observed Inmate Hindi lying        his back with his
                         head towards the cell door, with Ofc. G. Sanders and Ofc. R.          ggs checking inmate
                         Hindi far signs of life and attempting to revive him. The knife for ife was not used
                         because he had already been removed from the sheet that he u ed to make a
                        homemade noose. It was still attached to the bars. Nurse A. Ma one was on the floor
                         at the time. I advised control to have medical to respond, but di not transmit due to
                         other radio traffic. I then ran back to the control room and had N~se Malone respond
                        to the scene and advised Ofc. Bullard in control to call for additibnal medical personnel
                        to respond. I then returned to the scene with Nurse Malone. Nu/-se Malone checked
                        inmate Hindi for signs of life and we began CPR. At 1600, l advi$ed main control by
                        radio to start EMS and for additional medical staff to respond.1·rse Malone was on
                        chest compressions and I assisted with the Ambu-Bag. Inmate indi was showing no
                        slgns of recovery, 1 again advised control by radio to advise EM to step it up and
                        respond code three. Additional medical and sworn staff respon ed along with shift
                        commander Lt. Gnbert.                                               I
                        Officer G. Sanders. Of<:. R. Skaggs, Ole. D. Ramsey, Of<:. M. F~rbes. Sgt. D. Gibson.

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   ?fi.':\52 Troutman                                                1011912013 23:17                                                        Page: 1
Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 354 of 625 PageID #:
                                     1346
                                                                                      I
                   Sgt. P. Summers, Nurse A. Malone and I Sgt. C. Hornback all aksisted in applying
                   CPR to inmate Hindi. At 1605, The Louisville Fire Department Unit arrived and began
                   to access inmate Hindi. At 1608, The Louisville Fire/EMS Unlt~ved and continued
                   care for inmate Hindi and used the AED. CPR continued during the entire Incident. At
                   1624, Inmate Hindi was escorted by stretcher to the old HOJ sa ly port entrance on
                   liberty Street. He was secured in a security set and escorted I .the University Hospital ·
                   by Sgt. D. Gibson, Ole. A James and Ole. R. Stimphil. EMS departed at 1630. I was
                  advised by radio from the transporting officers that Inmate Hindi arrived at room nine
                   University Hospital at 1639. At 1645, I was advised by Lt. GI/be~ that Inmate Hindi was
                  declared deceased by the University ER doctor.                     I
                  During the incident. Officer T. Warden escorted the Louisville Fle/EMS Units into the
                  facility. Ole. M. Cooper, Ole. M. Bullard and I Sgt. C. Hornback ept a record of
                  response times and traffic in and out of the incident area. Ofc. . Taylor was
                  responsible for the Body Camera and recorded the incident. T l Body Camera and all
                  observation sheets were pulled from the incident area and turn Into Lt. Gilbert.
                  Pictures were taken of the incident area around the cell, as well as inside the cell. The
                 cell was secure, to preserve the scene for further investigatlon.J'
                 At 1829, the Lou.isvllle (PIU) P.ublic lnteglity Detectives and the LMDC) Louisville
                 Metro Department of Corrections (PSU) Professional Standard Unit Sgt. Joyner
                 arriVed on the scene. At 1914 the Forensic Detective arrived. T conduct an
                 Investigation of the incident. All pictures and Information was for!ward to Lt. Eggers
                 Office and Senior Staff. Lt. Gilbert was advised.                I
                 Sgt. C. Homback#333.                                             I
                                                                                  I




                                                                                  I
                                   Employee Signature                           Oate




25352 Troutman                                            10/19/2013 23:17                                      GB003834
Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 355 of 625 PageID #:
                                     1347
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                            Louisville Metro Department of borrections Incident Report
     Incident Report #       00051051 (a)              Incident Type                               i                  Incident DateTime   1011912013 1s:s('

      Location Type         SINGLE C                                              Location             HOJ 5TH FLOOR, EAST WALK, NORTH ONE,
                                                                                                       CELL#3.
    Reporting Officer TAYLOR, RYAN


                                                 Inmates Involved
                            Inmate#          Name




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                            Video Recorded? Type?                                    Medi¢al Responders Name
                                                                                               I
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                             D    Use of Restraints Required
                                                          Type of Restraints
                             Name                           Restraint



                                                                                           t
                             ID   Use of Force Required

                                                             Type of Force
                             Name                           Force




           Narrative        On 10-19-13 at approximately 15591, Ofc. R Taylor, respond~,to H5E-N1-C3 for a
                            medical back up call. I had been assigned the H5 body cam (H VieVu Body Camera
                            017091). Upon arrival additional officers were already on seen , I began to record
                            once I arrived at H5E-N1-C3. I continued to record until EMS d<!parted at 1632. This
                            ends my involvement with this incident.                            I
                            Ole. R Taylor                                                  ·
                            #663




                                            Employee Signature                            D\ale
                                                                                           i




   '>i::.'l.c:? Trn11tman                                              10/19/2013 23:18                                       GB003835
                                                                                                                                              Page: 1
         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 356 of 625 PageID #:
                                              1348

                              Louisville Metro Department of Lrrectlons Incident Report
                                                                                                  I
          Incident Report#     00051051(c)                 Incident Type
                                                                                                  I                     Incident DateTlme   10/19/2013 15:55


           Location Type      SINGLE C                                                 Location   II   HOJ 5TH FLOOR, EAST WALK, NORTH ONE,
                                                                                                       CELL#3.
          Reporting Officer Ramsey, DeSean



                                                    Inmates Involved                              I
                             Inmate#            Name
                                                                                                  I


                             Video Recorded? Type?                                        Medifal Responders Name




                              /Cl   Use of Restraints Required

                                                             Type of Restraints
                               Name                            Restraint


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                              D     Use of Force Required
                                                                Type of Force
                              Name                             Force




              Narrative      At approx. 1555hrs on the 19th of October while working HS, I c. Ramsey was
                             leaving the 5th floor control room when I was Informed by Ofc. kaggs that there was
                             an inmate on H5 East attempting suicide by hanging. I then ran ack to the scene
                             where Mr. Hindi was indeed hanging himself with his sheet arou d his neck, tied to the
                             bars. I immediately grabbed ahold of Mr. Hindi and lifted him up o relieve the pressure
                             and loosen the sheet from his neck so II could be pulled off. It  sat that time tt would
                             not Ires, So while Ole. Skaggs and Ole. Sanders where still holtjing him up and
                            attempting to free the sheet I ran to the control room to retrieve .,e "Knife of Life" so
                            the sheet could be cut down. When I returned Ofc. Skaggs was!uccessful in freeing
                            the sheet so the knife was not needed. We then laid him down o the floor. I then
                            began calling his name while tapping his shoulders and adminis ered a few sternum
                            rubs to see if he would respond. CPR was started, I took over a ministering oxygen
                           with the oxygen mask by squeezing the blue ball attached when one of the Officers got
                           tired. I was then relleved by another Officer and EMS arrived an took over. I
                           remained on scene eventually swapping back in to administer ofygen while Mr. Hindi
                           was being transported from his cell to the Old Sally Port where t~e EMS van was
                           stationed. Once inside the back of the EMS van I was relieved o)ice more and exited
                           the van.

                           This ends my Involvement in this particular situation ...

                           Ole. Ramsey #855




         25352 Troutman                                                 10/19/2013 23:18
                                                                                                                                     GB003836
                                                                                                                                           Page:     1
Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 357 of 625 PageID #:
                                     1349




                        Employee Signature




    25352 Troutman                           10/19/2013 23:18        GB003837    Page: 2
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                                     1350
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                    Louisville Metro Department of borrections Incident Report
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  Incident Report # 00051051 (e)                 Incident Type                                                  Incident DateTime   10/19/201315:55

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  Location Type    SINGLE C                                                  Location   I       HOJ 5TH FLOOR, EAST WALK, NORTH ONE,
                                                                                                CELL#3.
 Reporting Officer Warden, Terry                                                        [
                                                                                        I
                                                                                        '
                                          Inmates Involved                              j
                   Inmate#             Name
                   00577966            HINDI, MAHMOUD Y




                                                                                        I
                   Video Recorded? Type?                                        Medi~! Responders Name
                                                                                        I
                    /IJ     Use ofRestrainls Required
                                                    Type of Restraints                  I
                                                                                    t
                     Name                             Restraint




                    Jf"'J   Use of force Required
                                                      Type of Force
                    Name                             Force




      Narrative     On 10-19-2013 at approx. 1600hrs I Ole. T. Warden was assign d to J3 South when I
                    heard Sgt. Hornback Calling for addltlonal medical staff to re       d to H5 East for an
                   Inmate trying to hurt himself. I then Went to the 3rd floor triage     m and informed
                   Medical Nurse Bertram that she was needed on HS East Asap. then along with nurse
                   Bertram got onto the elevator and made our way to HS. I along ith Nurse Bertram
                   ar~ved on H5 at approx. 1601 hrs. I then made my way to H5 E t when I was
                   informed to stand by and wait for LEMS and LFD. Once I was in ormed that LFD had
                   arrived in the old sally pprt I got onto elevator 1 and went to the itchen. Once at that
                   kitchen, LFD was escorted to the elevator 1 and I then escorted LFD to H5 at approx.
                   160Shrs. I then escorted them to HS East. At approx. 1608 I           LEMS getting off the
                   Elevator on H5 and I directed them to H5 East. At that time I w instructed to stand by
                   and wait for further instruction. At 1622 LEMS and LFD depart HS wnh Inmate Hindi,
                   Mahmoud (577966). At approx. 1628 I then Instructed Ole. San ers to secured HS
                   East N1 and informed him to wait for further Instruction by com and staff at which
                  time HS East N1 Cell 3 was already secured. I then went to the ~5 control room and
                  retrieved the digital camera and took pictures of N1 walk by stalding at the entrance of
                  the walk. I then returned back to the control room to wait for furt er instruction. I was
                  then Instructed by Sgt Summers to take pictures of llm Hindi eel (HSE N11/3) but to
                  not touch anything. I then took the pictures of the walk and of th cell. Once I
                  completed this I turn the camera into Sgt. Hornback. I was then nformed that I could
                  return back to my assigned post at which time I did so. This En4; my involvement of
                  the situation. End of Report.                                       1·




25352 Troutman                                                10119/2013 23:19                                              GB003838
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 359 of 625 PageID #:
                                         1351


                   T.Warden 831




                                  Employee Signature                      D~le
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                                                                                 GB003839
                                                       10/19/2013 23:19                     Page: 2
Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 360 of 625 PageID #:
                                     1352

                    Louisville Metro Department of Corrections Incident Report
  Incident Report# 00051051(g)                    Incident Type                                  I                   Incident DateTime   10/19/201315:55


   Location Type    SINGLE C                                                  Location
                                                                                                 II   HOJ STH FLOOR, EAST WALK, NORTH ONE,
                                                                                                      CELL#3.
 Reporting Officer SKAGGS, RA'MON                                                                I
                                           Inmates Involved                                      Ii
                    Inmate#            Name
                                                                                             I
                                                                                             I
                                                                                             I
                    Video Recorded? Type?                                        Med ifal Responders Name

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                     !CJ   Use of Reslraints Required                                         '
                                                                                             i
                                                    Type of Restraints                       '
                     Name                              Restraint                      ~ote

                                                                                         I
                    [J Use of foree Required


                     Name
                                                       Type of Force
                                                      Force
                                                                                     I~ote

      Narrative     At approximately 15551 was informed by my one on one       workai
                                                                                      I  1
                                                                                          Myers, Alan      #(dn
                    533364) that cell 3 was hanging himself. I ran over to the cell a d looked in.side and
                    saw Inmate Hindi with a sheet around his neck. At that point I h llered for Ofc.
                    Ramsey and I opened Mr. Hindi's cell. Ofc. Ramsey, Sanders, nd J went into the cell
                    and tried to take the sheet of his neck. At first we couldn't get th sheet off of him so
                   Ole. Ramsey extted the cell to get the "Knife of Life". At the pol t I pulled the sheet as
                   hard as I could and got it loose enough to pull the sheet off of h~r head. Ofc. Sanders
                   and I laid him on the ground and Immediately I started to say th Inmates name. Ofc.
                   Ramsey started to give him sternum rubs and i was checking t see If fle had a pulse.
                   I did not get a pulse from him so I put a blanket underneath his , ead. At the point,
                   nurse Malone arrived on the scene. She checked his pulse and jsald we needed to do
                   cpr. I stood back behind her until she told me it was time to switfh to give him
                   compressions. I took over for approximately four to five minute~ until Sergeant Gibson
                   took over. I exited the cell ahd stood back until further instructiohs.

                   E.O.R                                                             I
                   R. Skaggs #628




                                    Employee Signature                             ~ate
25352 Troutman                                                1011912013 23:19       I                                           GB003840
                                                                                                                                       Page:     1
Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed '05/21/19 Page 361 of 625 PageID #:
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                                     1353
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                      Louisville Metro Department off corrections Incident Report
                                                                                               I
  Incident Report#     00051051 (h)              Incident Type                             !                      Incident DateTime   10/19/201315:55


   Location Type     SINGLE C                                              Location /              HOJ 5TH FLOOR, EAST WALK, NORTH ONE,
                                                                                    I              CELL#3.
 Reporting Officer COOPER, MARIO
                                                                                           I
                                                                                           I
                                           Inmates Involved                                i
                                                                                           I
                     Inmate#           Name
                                                                                           I



                     Video Recorded? Type?            H
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                                                                                Medlcal Responders Name




                      D   Use of Restraints Required
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                                                   Type of Restraints
                      Name                           Restraint                             ote




                      ID Use of Foree Required
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                                                                                  r
                                                     Type of Force
                      Name                           Force



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      Narrative      On 10119113 at 14051 was called down to HSE to help with a m~lcal Incident. when I
                   arrived at the scene I saw Inmate Hindi Mahmoud (00577966) <In the ground while
                   nurse Malone does CPR. After I saw what was going on I immddlately put all the work
                   aids up on the floor back to there dorms. After securing all the~rk aids I head back to
                   the scene to keep track of everyone that came up to H5E. EM arrived on the scene at
                   approximately 1615, to perform CPR on the Inmate. EMS leav the scene at 1628.
                   After the scene was cleared I notified SGT Hornback that I was returning to my post.
                   This ends my involvement with this incident.                   I
                   Officer Cooper (#879)




                                    ""''- ,.,.~ +                                 I
25352 Troutman                                               10/19/2013 23:20
                                                                                                                             GB003841
                                                                                                                                   Page:      1
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                                         1354         I
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                            Louisville Metro Department of ,!Corrections Incident Report ·
(
        Incident Report #    00051051 (Q                 Incident Type                                                Incident DateTime   10/19/201315r--·\


         Location Type      SINGLE     C                                           Location    I       HOJ 5TH FLOOR, EAST WALK, NORTH ONE,
                                                                                                       CELL#3.
        Reporting Officer Gibson, Darren
                                                                                               I

                                                  Inmates Involved                             I
                            Inmate #          Name



                                                                                               i
                                                                                               I
                                                                                               i
                            Video Recorded? Type?                                      Medi~al         Responders Name


                                                                                               I
                             [:] Use of Restraints Requiced

                                                           Type of Restraints                  I
                              Name                            Restraint
                                                                                           lote


(

                             [J   Use of Force Required

                                                              Type of Force
                             Name                             Force




             Narrative       On 10/19/2013 at around 1601 hours, heard a call for ass\stan on HS East and
                             responded. I along with Lt Gilbert and Ole Forbes got onto the levator from J4 and
                             the elevator went down to J2. 2 Nurses got on and I along with ne of them went to
                             grab the emergency bag and a bottle of oxygen from the med r m on J2. Once we
                             arrived on H5, I observed nurses and Officers performing CPR n inmate Hindi,
                             Mahmoud (#577966). Officer Skagss was giving chest compre ions and I asked if he
                            was ok. Due to him conducting chest compressions for a while, 1then took over giving
                             them. At 1605 hours, Louisville Metro Fire department arrived a d began assisting
                            with CPR. 1608 hours LEMS arrived and began treating lnmat Hindi while CPR was
                            still being delivered. I along with other Officers and LFD EMT/P remedies were
                            rotating out doing chest compressions. Once treatment in the ~I was completed, a
                            back board was brought in and Inmate Hindi was rolled onto it. e was secured to the
                            stretcher and was moved down the elevator to the old sally port to the ambulance. l
                            along with Officer James and Stimphil went in the ambulance to University of
                            Louisville Hospital emergency room. During the trip, all 3 Offlce~s rotated doing chest
                            compressions while LEMS was rendering other aid. Once at thd hospital, I got out of
                            the side door of the ambulance and assisted with removing the ftretcher. Once on the
                            ground, I began giving chest compressions again until we  went,to   room 9 (major
                            trauma room) when University staff took· over treatment. We ha arrived at room 9 at .
                            1640 hours. At 1645 hours, the emergency room doctor pronou ced Inmate Hindi
                            deceased. I contacted the shift commander Lt Gilbert and advis d him of the situation.
                            He advised me and Officer James and Stimphil to remain at Un varsity of Louisville
                            emergency room with the body untll Louisville Metro Police PILI unit cleared us to
                            leave. At 1753 hours, Deputy Coroner Larry Carroll arrived and regan his initial
                                                                                           I
       25352 Troutman                                                 10/19/2013 23:20     j                                 GB003842         Page: 1
Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 363 of 625 PageID #:
                                     1355
                 assessment which completed at 1801 hours. At 1830 hours, Pl Sgt Gowens arrived
                 and began his interviews. At 1.919 hours, LMPD CSU arrived. I Interviews were
                 completed at 1934 hours and we were cleared to return to the j ii. Upon our return to
                 the jail, I brought Inmate Hindi's jumpsuit and watch that the ho pital had removed
                 from him to H5 and turned it over to PIU and CSU. This comple~ed my involvement in
                 this incident. EOR                                               !
                 Sgt D. Gibson #364




                                 Employee Signature                           qate




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25352 Troutman                                          10/19/2013 23:20                                 GB003843
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                                         1356          I'
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                          Louisville Metro Department of !Corrections Incident Report
         Incident Report# 000510510)                  Incident Type
                                                                                                I                  Incident DateTlme   10/19/201315:(~

          Location Type   SINGLE C                                              Location        I   HOJ 5TH FLOOR, EAST WALK, NORTH ONE,
                                                                                                    CELL #3.
        Reporting Officer Forbes, Matthew                                                       !
                                                                                                I
                                                Inmates Involved
                          Inmate#           Name
                                                                                                I
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                          Video Recorded? Type?                                     Medifal Responders Name

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                           [J Use of Restraints Required
                                                                                            I
                                                        Type of Restraints                  I
                           Name                            Restraint                    ~ote


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                           [J Use ofFo'ce Required
                                                           Type of Force
                           Name                            Force



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             Narrative    On 10-19-13 at approximately 1600 I responded to H5N1#3 for n attempted suicide.
                          Once I anived at the celi I observed 1/M Hindi lying on the grou d and officers
                          performing CPR on l/M Hindi. At that time I relieved ofc. Sande who was giving
                          rescue breathes with the breathing apparatus.' A short time afte that I relieved Sgt.
                          Gibson In given chest compressions. After EMS arrived and sta ed an IV in \JM
                          Hindi's leg I then was relieved by Sgt. Gibson and I held the IV ag. At approximately
                          1622 l/M Hindi was transported down to the old sally port wher I continued to hold the
                          IV bag until l/M Hindi was secured into the ambulance where I ..Vas relieved of my
                          duties. EOR................                                   I
                          Ole. M. Forbes #840                                              I




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                                          Employee Signature                           tjate
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        25352 Troutman                                             10/19/2013 23:21                                       GB003844         Page: 1
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                    Louisville Metro Department of Corrections Incident Report
                                                                                                  I
  Incident Report# 00051051(k)                    Incident Type                                                        Incident DateTime   10/19/201315:55
                                                                                              II
   Location Type    SINGLE C                                                   Location       I         HOJ 5TH FLOOR, EAST WALK, NORTH ONE,
                                                                                                        CELL#3.
 Reporting Officer SANDERS, GEORGE
                                                                                              I
                                           Inmates Involved                                   I
                                                                                              I
                    Inmate#            Name




                    Video Recorded? Type?                                          Medical Responders Name


                                                                                              I
                    D Use of Restraints Required                                              I
                                                     Type of Restraints
                     Name                              Restraint                                  ate




                    [J Use of Force Required
                                                        Type of Force
                    Name                               Force




      Narrative
                                                                                         I
                   On the 19th of October at approx 1555hrs. I Ofc. G. Sanders w s coming from south
                   one down the hallway to north one, when I heard Ofc. Skaggs oiler tor Ofc. Ramsey
                   and I watched OfC. Skaggs open North one cell 3 door when h motioned to me to
                   come as well. When I went in I picked up l\M Hindi to relieve pr ssure off his neck
                   from his apparent suicide a1'empt. Ofc. Skaggs then attempted to pull the sheet over
                   Mr. Hindi's head. After Ole. Skaggs pulled the sheet over Mr. indls head, I laid Mr.
                   Hindi on the floor and we started for signs of life and his vitals.        he nurse stated CPR
                   needed to be started and while she began chest compressions I administered oxygen
                   to Mr. Hindi through the oxygen mask and blue air bag. When           llgot
                                                                                   tired I got relieved
                   by another officers that came to the scene.

                   This ends my involvement in this situation...                         i
                   Ofc. G. Sanders #744                                                  I
                                                                                         II
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                                    Employee Signature                               ~ate
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25352 TroubTlan                                                 10/19/2013 23:21                                                   GB003845
                                                                                                                                         Page:     1
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                         Louisville Metro Department of                                         f   orrections Incident Report

        Incident Report# 00051051(1)                 Incident Type·                                                Incident DateTime   10/19/201315:\~
                                                                                                I
         Location Type   SINGLE C                                               Location        j   HOJ 5TH FLOOR, EAST WALK, NORTH ONE,
                                                                                                    CELL#3.
        Reporting Officer Brockbank, Edward


                                               Inmates Involved
                         Inmate#           Name




                                                                                            I
                         Video Recorded? Type?                                     Medi~al Responders Name

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                          r:J Use of Restraints Required
                                                        Type of Restraints                  I
                           Name                           Restraint
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                          ltJ   Use of Force Re~uired                                       !
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                                                           Type of Force                    !




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                          Name                            Force




             Narrative    On 10/19/13 at approximately 1600 hours I ( Sgt. Brockbank) h ard via radio for
                          additional medical needed on HOJ 5 east walk. I saw nurse Ha mond and nurse
                         Griffith on J2. I advised them medical was needed over on HOJ 5 east walk. Advised
                          them that based on the radio traffic it was extremely sertous. Th nurses grabbed the
                          equipment they would need and Joined me on the awaiting elev tor. We arrived on
                          scene to find officers and nursing staff giving CPR to inmate Hi di, Mahmoud cin#
                         577966. EMS had already been notified at that time and I stood by to lend assistance
                         as needed. Louisville fire department arrived at approximately 1 05 and began
                         assisting with CPR, at approximately 1608 LEMS arrives and          ins treatment of
                         inmate Hindi. At Approximately 1632 hours LEMS departs for , of L Hospital. M. that
                         time I was cleared from scene and resumed my regular dutles.1/ EOR///
                         Sgt. Brockbank #331                                               [

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                                                                                   10/1t/2013
                                         Employee Signature                           C1ate




       25352 Troutman                                             10/19/2013 23:21                                        GB003846        Page: 1
      Case 3:16-cv-00742-DJH-CHL Document 143-1 Filedi 05/21/19 Page 367 of 625 PageID #:
                                           1359
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                         Louisville Metro Department of /Corrections Incident Report
       Incident Report# 00051051(m)                    Incident Type                             I                    Incident DateTlme   10/19/2013 15:55


        Location Type    SINGLEC                                                  Location
                                                                                                 I
                                                                                                 I     HOJ STH FLOOR, EAST WALK, NORTH ONE,
                                                                                                       CELL#3.
       Reporting Officer Summers, Philip
                                                                                                 I
                                                Inmates Involved                                 I
                         Inmate#            Name
                         00577966           HINDI, MAHMOUD Y




                                                                                             I
                         Video Recorded? Type?              YES/BODY CAM             Med ifal Responders Name

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                          ['] Use of Restraints Required
                                                                                             I
                                                         Type of Restraints
                          Name                             Restraint                             ote



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                          [J Use of Foroe Required
                                                            Type of Force
                          Name                             Force




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           Narrative      On 10/19113 at approx. 1600, I (Sgt. Summers) was standing 11fronl of the Main Jail
                          Complex when I heard over the radio, Sgt. Hornback requestin additional medical
                          personnel report HS. I started to make my way to the Hall of Ju Ice, when I heard Sgt.
                          Hornback transmit that CPR was being administered, so I   quicki     responded to H5. I
                          arrived on HS East, North 1 Walk and observed officers and me lcal administering
                          CPR to J/M Hindi, Mahmoud (S77966). I also observed work aid s on the walk and
                          instructed wing officers to Jock down the floor. I also instructed le. Cooper lo post up
                          outside H5 east Door and to document anyone that entered the )area and times of their
                         entry and departure. I then returned to HS North 1 Cell #3, whe$ I observed Ole. R.
                         Skaggs giving chest c<?mpressions, Medical Nurse. Malone tak~I vita I signs., Ofc.
                         Sanders holding an air mask over J/M Hindi's face and Sgt. Ho back squeezing the
                         air bag for oxygen. I then entered the cell, relieved Ole. Sande , and began holding
                         the face mask over J/M Hindi's face. CPR was continued until L uisville Fire and
                         Rescue arrived at apprcix. 1605, which then began assessing II Hindi. Louisville


                        relieved by EMS personnel and exited the cell.                  i
                         Emergency Services arrived at approx. 1608 and also began a sassing and treating
                         1/M Hindi, while LMDC personnel continued administering CPR.JI was eventually

                        I coordinated with Sgt. Eason (Booking Floor Sgt.) and assigne Ole. Stimphil and
                        Ofc. James as the officers who would escort l/M Hindi to Univer ity of Louisville
                        Hospital when transport was ready. I also instructed Ofc. Ward ,n to obtain a security
                        set from HS Control Room and I handed the security set off to ~c. James for the
                        transport to the hospital. I then returned to HS after J/M Hindi de arted the Hall of
                        Justice via EMS and requested Ofc. Warden to take photos of 1 M Hindi's cell without
                                                                                            1
                        entering or touching anything and then deliver the camera to 891. Hornback. I then
                                                                                         i
      2S3S2 Troutman                                               1011912013 23:22      I                                         GB003847
                                                                                                                                         Page:     1
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 368 of 625 PageID #:
                                         1360
                                                                                      I
                        requested wing officers on H5 East to remove all observation sh0ets (Suicide and
                        Medical) and return them to HS Control Room. I made copies of he observation
                                                                                      1
                        sheets and delivered them to Lt. Giibert In the Lieutenants office
(                       EOR                                                           i
                        Sgt. P. Summers #346                                          !




                                        Employee Signature                          obte
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       25352 Troutman                                           10/19/2013 23:22                           GB003848   Page: 2
           Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 369 of 625 PageID #:
                                                1361

                                Louisville Metro Department of Corrections Incident Report
             Incident Report#    00051051(n)                   Incident Type                                                  Incident DateTime   10/19/201315:55

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              Location Type     SINGLE C                                                     Location/         HOJ STH FLOOR, EAST WALK, NORTH ONE,
                                                                                                               CELL#3.
            Reporting Officer Stimphil, Richardson
                                                                                                         Ii
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                                                        Inmates Involved
                                Inmate #            Name




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                                Video Recorded? Type?                                         ·.+,,~
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                                IC!   Use of Restraints Required
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                                                                 Type of Restraints
                                 Name                               Restraint                            ote



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                                [ ] Use of Force Required

                                                                    Type of Force
                                Name                               Force




                 Narrative     On October nineteenth of the year two thousand and thirteen        a~d at approximately
                              1634 HRS I, Officer Stimphll, R. #847, was one of two escorti~g officers along with
                              Sgt. Gibson for Inmate Hindi, Mahmoud CIN# 577966 to the h~pital via EMS. I was
                              waiting at the old sally port (HOJ Sally Port) when EMS and LF Rescue placed
                              Inmate Hindi into the EMS truck while admiilistering CPR. Whe I gained access
                              inside the EMS truck Sgt. Gibson was performing chest comp ssion on Inmate Hindi
                              and then Officer James took Over and then I took; over until we rrived at Uofl
                              Emergency where Sgt. Gibson took over again while EMS tech,was giving breaths the
                              whole entire time and as we entered the Uofl where medical st ff in Room 9 took over
                              at 1640 HRS. Inmate Hindi, Mahmoud CIN# 577966 was prono need deceased by
                              medical Uofl Hospital at 1645 HRS.


                              1752 HRS ......... Deputy Coroner Carroll, Larry on scene.
                                                                                                    I
                              1807 HRS ......... Deputy Coroner Carroll, Larry off scene.
                              1824 HRS ......... Major Ashby M ..........................on scene.
                                                                                                    I
                              1828 HRS ......... P.l.U ..............................................on scene. I
                              1858 HRS ......... Gave taped statement to P.l.U

'(' (
                              1918 HRS ......... Crlme Scene Unit ...................... on scene. Ifa
                              1934 HRS ........ .Departed the scene with Major Ashby en route New Jail
   -"~--                                          C~mplex.                .                                    i
                              1940 HRS .........Amved at New Jail Complex.                                     i
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                              This concludes my report.


                                                                                                                                          GB003849
           25352 Troutman                                                   10/19/2013 23:22                                                    Page:     1
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                                         1362

                         Officer R. STIMPHIL # 847
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                                        Employee Signature                      Jate




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        25352 Troutman                                       10/19/2013 23:22          GB003850   Page: 2
      Case 3:16-cv-00742-DJH-CHL Document 143-1 FiledI05/21/19 Page 371 of 625 PageID #:
                                           1363                                                I




                          Louisville Metro Department off Corrections Incident Report
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        Incident Report# 00051051(p)                  Incident Type                                               Incident DateTime   10/19/201315:55


         Location Type    SINGLEC                                               Location/
                                                                                               I   HOJ 5TH FLOOR, EAST WALK, NORTH ONE,
                                                                                                   CELL#3.
       Reporting Officer GRIFFITH, LATASHIA




                         Inmate#            Name
                                                Inmates Involved
                                                                                               I
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                         Video Recorded? Type?                                     Med cal Responders Name



                          ICJ   Use of Restraints Required
                                                        Type of Restraints
                           Name                           Restraint



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                          [J Use of Foroe R&4uired
                                                           Type of Force
                          Name                            Force




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            Narrative    At approx. 1605 this nurse was made aware that an inmate on       Hs E needed medical
                         attention. This nu. rse, nurse Hammond and several officers lmf~edlately responded to
                         HS with 02 and ER bag. Upon arrival this nurse noted already here were several
                         officers and two nurses performing CPR.- This nurse retrieved 2 mask from ER bag
                         and hooked It up to 02 and handed to nurse performing CPR.

                         Latashia V. Griffith LPN

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                                         Employee Signature




      25352 Troutman                                              10/19/2013 23:23
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        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 372 of 625 PageID #:
                                             1364
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                                Louisville Metro Department of ICorrections Incident Report
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             Incident Report#    00051051(p)                  Incident Type                                                 Incident DateTime   10/19/2013 1 r
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              Location Type     SINGLE C                                              Location[
                                                                                                     I       HOJ 5TH FLOOR, EAST WALK, NORTH ONE,
                                                                                                      !      CELL#3.
                                                                                                     '
            Reporting Officer GRIFFITH, LATASHIA                                                     !

                                                        Inmates Involved
                                Inmate#           Name




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                                Video Recorded? Type?                                    Medical Responders Name
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                                 [] Use of Restrainls Required

                                                                Type of Restraints
                                 Name                             Restraint


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                                 D   Use of Force Requirerl
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                                                                   Type of Force                 I
                                 Name                             Force
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                 Narrative      At approx. 1605 this   nuise was made aware that an Inmate on Hs E needed medical
                                attention. This nurse, nurse Hammond and several officers lmriiediately responded to
                                HS with 02 and ER bag. Upon arrival this nurse.noted already 1here were several
                                officers and two nurses performing CPR. This nurse retrieved cp2 mask from ER bag
                                and hooked it up to 02 and handed to nurse performing CPR.       I
                                Latashia V. Griffith LPN                                     I




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                                                Employee Signature                           Q>ate
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            25352 Troutman                                                10/19/2013 23:24                                        GB003852         Page: 1
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                                     1365
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                   Louisville Metro Department of/ Corrections Incident Report
                                                                                        !
 Incident Report# 00051051(q)                    Incident Type                                                  Incident DateTime   10119/2013 15:55


  Location Type    SINGLE C                                                  Location/
                                                                                        I       HOJ 5TH FLOOR, EAST WALK, NORTH ONE,
                                                                                                CELL#3.
 Reporting Officer GLENN, ANNA


                                          Inmates Involved
                  Inmate#             Name




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                  Video Recorded? Type?                                         Medical Responders Name

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                   El   Use of Restrai.nls Required
                                                   Type of Restraints
                                                                                        I
                    Name                              Restraint
                                                                                        1~
                   !CJ Use of Force Required
                                                      Type of Force
                   Name                              Force




     Narrative     I responded to radio call that I heard off of 9fficers radio reques ing addillonal medical
                  help needed on HS . I grabbed the emergency bag and with an fficers assistance
                  took canister of o2. When i arrived inmate Hindi was In cell on or cpr was being
                  performed by Nurse Malone and officers. I returned to medical o copy information
                  from chart to send to hospital after ems arrived and took over re. Pertinant
                  information from chart was copied and faxed to u of I. End of re rt . Sharon
                  HammondLPn




                                   Employee Signature
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25352 Troutman                                                10/19/2013 23:24
                                                                                                                            GB003853
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    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 374 of 625 PageID #:           '
                                         1366         i
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                          Louisville Metro Department ofl Corrections Incident Report            I
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         Incident Report# 00051051(r)                 Incident Type                                                 Incident DateTime   10/19/20131{~\
                                                                                             i
          Location Type   SINGLE C                                               Location    I       HOJ 5TH FLOOR, EAST WALK, NORTH ONE,
                                                                                                     CELL#3.
        Reporting Officer MALONE, ANGEL


                                                Inmates Involved
                          Inmate #          Name




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                          Video Recorded? Type?                                      Medlcal Responders Name
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                           LI   Use of Reslraints Required                                   I
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                                                         Type of Restraints                  I
                           Name                            Restraint
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                           0    Use of Force Required
                                                            Type of Force
                           Name                            Force




             Narrative    On 10/19/213 at approximately 1405 this nurse was called to a sist with code 300 on
                           l/M Hindl(577966). Upon arrival I saw l/M lying on the floor of h cell and staff
                          performing CPR. l/M was unconscious, eyes clothes, skin pale in color. This nurse
                          was asked to get emergency bag from triage room, and 02 sat monitor to obtain pulse
                          and oxygen In the body. This nurse handed 02 sat monitor to upervisor Malone to
                          apply to finger tip of l/M and titrated oxygen when told to. Sha   after EMS arrived
                          and took over medical care. This nurse stayed with l/M until E S left the facility with
                          the l/M. EOR

                          Nurse Bertram LPN




                                          Employee Signature                            qate
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        25352 Troutman                                              10/19/2013 23:25     !
                                                                                                                           GB003854         Page: 1
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                                     1367      I
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                     Louisville Metro Department                                  ot/ Corrections Incident Report
  lncidenl Report# 00051051(s)                    Incident Type                         I                       lncidenl   DateTi~e   10/19/201315:55


   Location Type    SINGLE C                                                 Location/          HOJ 5TH FLOOR, EAST WALK, NORTH ONE,
                                                                                                CELL#3.
 Reporting Officer James, Antonio
                                                                                        I
                                           Inmates Involved
                    Inmate #           Name
                                                                                        I
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                    Video Recorded? Type?                                       Med1cal Responders Name
                                                                                       !

                     D Use of Restraints Requirea
                                                    Type of Restraints                 I
                     Name                             Restraint
                                                                                    tote




                     [] Use of F<>rce Required
                                                       Type of Force                i
                     Name                             Force
                                                                                    tote


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      Narrative     <;Jn 10/19/2013.1 Officers A. James #765 entered an EMS traJport vehicle with inmate
                    Hindi, Mahmoud (577966) inside, Inmate Hindi was being tran:i:rted to the Uof L
                    Hospital. Whilst inside the EMS vehicle EMS staff along with ~ulsvJlle fire department
                    staff, Sgt Gibson, I and Officer Stimphil were inside of the vehl le. The fire department
                    staffs along with EMS and Sgt Gibson were trying to access I/ Hindi. Shortly after
                    Louisville fire department left. For i/m Hindi was about to be t~nsported to the·
                    University of Louisville hospital. Sgt Gibson was giving chest c mpresslons whne an
                    EMS staff member placed air in Um Hindi's lungs using an eme gency resuscitation
                    bag. At that-time the vehicle began moving. As Sgt Gibson beg~n to become fatigued
                    another EMS staff member took over for him. The EMS staff m~mber asked me to put
                   on some gloves to help him continue with chest compressions or he was beginning to
                   become fatigued as well. Shortly after I began with chest comp sslons on i/m Hindi,
                   at that lime we had arrived at the University of Louisville hosplt I, In which Officer
                   Stimphil took over for me with chest compressions so that I my exit the vehicle.
                   Once i/m Hindi was out of the EMS vehicle, he was quickly es rted to the trauma unit
                   room 9. In which University hospital staff took over with perter ing CPR this was at
                   1640 hrs. Al 1645 hrs i/m Hindi was notified as deceased by Ujiversity medical
                   personnel. At 1701 hrs medical released i/m Hindi's property to the department of
                   corrections. At 1752 hrs Coroner Larry Carroll came to view i/m Hindi's body and
                   begin his assessment. At 1807 hrs Coroner Carroll departed. ~t 1828 hrs PIU Sgt
                   Goiens arrived on the scene and began his interviews. At 1917 hrs I gave my taped
                   statement, at 1934 hrs I along with Sgt Gibson, and Officer Sti" phll departed from the
                   University hospital. At 1940 hrs I along with Sgt Gibson, and qt;cer Stimphll arrived
                   at the new jail complex.                                          I

25352 Troutman                                                10/19/2013 23:25     I                                                     Page: 1
                                                                                                                              GB003855
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 376 of 625 PageID #:
                                         1368
                         E.O.R.
                         Ofc. A. James #765




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                                        Employee Signature                      bate




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        25352 Troutman                                       10/1912013 23:25                     Page: 2
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                                     1369
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                    Louisville Metro Department o~ Corrections Incident Report

  Incident Report# 00051051(1)                  Incident Type                                                Incident DateTime   10/19/2013 15:55


   Location Type   SINGLE C
                                                                                       I   HOJ STH FLOOR, EAST WALK, NORTH ONE,
                                                                           Locationi
                                                                                           CELL#3.
 Reporting Officer Ramsey, DeSean
                                                                                       '
                                                                                      I
                                          Inmates Involved
                                                                                      '
                   Inmate#            Name




                   Video Recorded? Type?                                      Med cal Responders Name




                    IEJ   Use of Restraints Required

                                                  Type of Restraints
                    Name                             Restraint


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                                                                                   I
                    EJ    Use ofForce Required                                     II
                                                     Type of Force
                    Name                            Force                         1ote


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      Narrative    While sitting in HS control room on the above date at approx 1519   OfC. Ramsey came
                   running into the control room stating that Inmate Hindi was han Ing, while grabbing
                   the knife of life. Once I heard that i immediately contacted then rse station and began
                   to log all movement and phone calls on the-floor. This conclude my Involvement in
                   this incident.                                                 I
                   Ole. M. Bullard #533                                           I
                                                                                  I!




                                   Employee Signature




25352 Troutman                                              10/1912013 23:26                                                        Page: 1
                                                                                                                        GB003857
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                                              1370

                              Louisville Metro Department of Corrections Incident Report
   (
             Incident Report# 00051051(u)                  Incident Type                                                 Incident DateTime   10/19/20131![~

              Location Type   SINGLE C                                                Location\          HOJ 5TH FLOOR, EAST WALK, NORTH ONE,
                                                                                                         CELL #3.
             Reporting Officer BULLARD, MONET


                                                     Inmates Involved
                              Inmate#           Name




                                                                                               I
                              Video Recorded? Type?                                       Med\cal Responders Name

                                                                                               I

                               l'J   Use of Restraints Required

                                                             Type of Restraints                I
                                                                                               I
                               Name                             Restraint                     late

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                               ['] Use of Force Required
                                                                Type of Force
                               Name                             Force                              ate




                 Narrative    While sitting in HS control room on the above date at approx 15$9 Ofc. Ramsey came
                              running Into the oontrol room stating that Inmate Hindi was hanging, while grabbing
                              the knife of life. Once I heard that I Immediately contacted the n~rse station and began
                              to log all movenient and phone calls on the floor. This conclud~ my involvement in
                              this incident.                                                   I
                              Ole. M. BUiiard #533                                             !




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                                              Employee Signature                            D~te                                                      I
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            25352 Troutman                                              10/19/2013 23:26
                                                                                                                                GB003858        Page: 1
      Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 379 of 625 PageID #:


                                                                                    ~Corrections
                                           1371

                           Louisville Metr<>-Depertment                                                   Incident Report
                                                                                      I
        Incident Report#    00051051(0)             Incident Type                                     Incident DateTime


         Location Type                                                       Locatiol

       Reporting Officer SIMMONS, HENRY



                                              Inmates Involved
                           Inmate#         Name                                       I

                                                                                     I
                           Video Recorded? Type?                                Medical Responders Name




                           ['./ Use of Restraints Required

                                                        Type of Restraints
                           Name                          Restraint                      ote




(("
                           CJ   Use of Force Required

                                                          Type of Force
                           Name                          Force                        ote




            Narrative    ON 10-19-20131, OFC SIMMONS, RESPONDED TO AN EME GENCY CALL FOR
                         HS EAST WALK. WHEN I ARRIVED I WAS SAW OFFICER A D MEDICALS.TAFF
                         PERFORMING CPR ON THE SUBJECT. I WAS TASKED WIT REMOVING THE
                         WORK-AID OFF THE WALK AND KEEPING THE AREA CL R FOR OTHER
                         MEDICAL STAFF AND EMS TO GET THROUGH. ONCE THE UBJECT WAS
                         TAKEN AWAY BY EMS I RETURN BACK TO MY POST.      j




                                         Employee Signature                         D te




      25352 Troutman                                             10/19/2013 23:27                                         Page: 1
                                                                                                                  GB003859
           Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 380 of 625 PageID #:
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    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 390 of 625 PageID #:
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     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 392 of 625 PageID #:
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         . NO. I.JC!<. ol 7 lol..                                      i JEFFERSON CIRCUIT COURT
                                                      GRAND JUR JUDGE FOR SEPTEMBER 2012 ·
                                                                GE SUSAN SCHULTZ GIBSON
          COMMONWEALTH OF KENTUCKY                                 I                    PLAINTIFF
                                                                   I
                              .ORDER REMANPING THE DEFEND4NT WITHOUT BAIL

                                                                                     DEFENDANT

                                                     *****
                                                                   I
                  The Motion of the Commonwealth is GRANTED and j:be Defendant is remanded into custody
                                                                   J
          without bail.




         Dated:           q/tJ/IP.

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Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 394 of 625 PageID #:
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 COMMONWEALIB OF KENTUCKY                                                    PLAlNTIFF

 vs.             ORDER REMANDING THE          DEFENDF        WITHOUT:AIL

                                                        I
 MAHMOUD YOUSEF HINDI
                                         *   *...
        The Motion of the Commonwealth is GRANTED and
                                                        I
                                                                          DEFENDANT


                                                        ~eDefendant is remanded into custody
 without bail.                                          I




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    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 395 of 625 PageID #:
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                                                  GRAND JURY                  PRES~NTATIONS
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(        Hindi, Mahmoud Yousef                                              ".'!C~I~C~ou~rt~case--N~u"'m!"ber.'"'.·1·2'"'c'"'R2-ii07;,.,7,.2---~1~029""'.""S6...,.."
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            7      l<RS 508.060         132010     WAN:rON ENDANGERMENT IN THE FIRlfr DEGREE                                      1              TB
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           2       KRS 516.060      250620        CRIMINAL POSSESSION OF A FORGED I STRUMENT IN THE                                             TB
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      Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 396 of 625 PageID #:
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      Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 397 of 625 PageID #:
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                                                                                                 Case History [                ..            Generated: 0911312uu
                                                        COMMONWEALTH VS. HINDI, MAiHMOUD YOUSEF
                                                                                                Case# 12-CR-00277~
 (            Co~ty JEFFERSON
              c ourt cIRCUIT Court                                                                                                                                          r·~
     Opening Judge HON. FREDERIC COWAN
     Current Judge
      Closing Judge                                                                                                                                                  Page#
       09/13/2012 Ball Set                        $ 0.00
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                                  DEF JS REMANDED INTO CUSTODY WJTHO UT BAIL
         09/13/2012 Case Filed                                                                                           I
                    CIRCUIT CRIMINAL
         09/13/2012 Charge Filed                                                                 0091500 Murder Citation NA     Citation Date: 09/13/2012
                    CHARGE I ORIGINAL
         09/13/2012 Charge Filed                                                                 0091500 Murder Citation! NA    Citation Date: 09/J 312012
                    CHARGE 2 ORIGINAL
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                            CHARGE 3 ORIGINAL                                                                            !
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                            CHARGE 4 ORIGINAL                                                                            I
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                           CHARGE 5 ORIGINAL                                                                             I
      09/13/2012           Charge Filed                                                         0132010 WANTON ENDf\NGERMENT-lST DEGREE Citation: NA
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                          CHARGE 9 ORIGINAL                                                                                            .


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                          ARRAIGNMENT
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                          HON. FREDERIC COWAN                                                                            i'




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:IRCUIT Court                              12-CR-002772                                                                                                          Page.I c
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      Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 398 of 625 PageID #:
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       Rev. 1--05                                                                                                      lll"'"t         ' ..   ~.




      Commonwealth · of Kentucky                                                                                      Srt .District/
      Court of Justice                                                                                                 -:>       ----------
      www.courts.ky.gov                                                                                               County Jefferson
      KRS 421.600-.690



      COMMONWEALTH OF KENTUCKY

      vs
      HINDI, MAHMOUD Y
                                                                                                                                                   _DEFENDANT
                                                                                                 I
                                                                                                 I
     To the Warden/Jailer of Jefferson                                         County        l
     On the motion of the          ---~--------------------~---_-_-_-_-C~o~m~m~_o-n~w~e~a~lt+~;----------~--------~~~~~~~~~~-.-it-ap_p_e_a_rin_g_th_a,t
      HINDI, MAHMOUD Y
                                                                   (Prisoner's Name

                      Sex    Race                                                                    Inmate Number                                 State
                       M       W                                                                             577966

     is essential to the proper prosecution of this action and that                              e/she is presently an inmate; you are hereby

(~   ORDERED to have him/her before this Court on or before the illowing:

                      Date                           Time                                               Courtroom
                    12/06/2013                   09:00AM                                 (~RIMINAL COURTROOM 203)

     there to remain, subject to further orders of this Court.
                                                                                             I



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                    07115/2013 at 9:29:22 AM                                       Isl Jectronically signed by HON. SHEILA COLLINS
                              Date                                                        I                  Judge's Signature

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                                                               COMMITMENT 0
                                                              JUDGMENT AN                                             Jefferson
                                                                      REL
              COMMONWEALTH OF KENTUCKY                                                                                   PLAINTIFF

              v.
              HINDI, MAHMOUD Y
                                                                                                                        DEFENDANT
              Alias: _ _ _ _ _ _ _ __.
              Jail ID: 577966

               Sex                                                      Operator Lie nse Number State             Bond Amount Type
                                                                                                                       10,000.00          A
                                                                                          I                                        .. Kentucky:
            You are hereby commanded to receive the above-named                   end~nt        who has been found guilty of the following:

                                                                                                                             '



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           CHARGE 1 ASSLT3RD DWOP. MOTION JAIL FOR IT CHARGE




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           Next Court Date: 07/15/2013           09:00AM
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                                                               (CRIMINAL COURTRLOM 203)··. .
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                                                                                                                                                  (
                                           JUDGMENT ANO ORDER RELEASING            Ml~EMEANANTS FROM JAIL
              It is the Judgment of this Court that the Defendant be sentenced to s~rve            See sentence details above        . On
            Motion of the Defendant and the Court being sufficiently advised, IT ISi HEREBY ORDERED, pursuant to KRS 439.179,
            that the Defendant is granted the privilege of leaving the jail during the ours of:             am/pm to              am/pm
            _ _ _ _ _ _ _ _ _ through                                                   , for one or more of the followlng purposes:

            01.         Working at his/her employment.                                        2. Seeking employment.

            03.         Attendance at an educational institution.               q             4. Medical treatment.

            Os.         Other}
                                Bail Conds: {                                         i
                                                                                      I
                                                                                      '
              Every prisoner gainfully employed and released herein is hereby Ordered to pay a reasonable amount not to exceed
           forty dollars ($40.00) per day KRS 439.179 (4) for the cost of his/her bqard. If he/she defaults, the privilege hereby
           granted may be forfeited by the Court.                                   i     ·
                                                                                      i
              The Court further directs that the Jailer/Department of Corrections of i.                                            perform the
           functions under KRS 439.179 (3) and (5).
                                                                                      1
                                                                                      I
            01/14/2013 at 9:55:01 AM                                            Isl el ctronically signed by HON. SHEILA COLLINS
            Date                                                                Sign ture of Judge




                                Clerkr-"
                                     .   ,,
            Distribution: Transportitig Officer
                           Jail/Corre!itions
                           court File' ·


                                                                                                                       GB003879
            Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 400 of 625 PageID #:
                                                 1392


            Name HINDI, MAHMOUD Y                                                                                        Facility 1
         Inmate# 00577966           Sex MALE            DOB-                                        /2012 02:36           Wing H5E
(~ •        Race White/Eurp/ N.Afr/Mld Eas               Age 56                                                           Dorm H5E-N1
(~ ·.. Status                                In Jail                                                                       Cell H5-N1



            Grievance NumbelQ0000684                   Step Dt!Tm10119/2013 23:56                    Grievance StatusRESPONSE
           Step OfficerTroutman, lryt

         Grievance Dt1Tm09/17/2013 00:00         Grievance Sent ToWalker, Armon                                   Grievance Regardin1t3ervice

        Grievance Against          Grievance CategoryConnected Griev                       ces                Other Inmates Involved
     Grievance Against             Grievance Category             Grievance #
                                                                Inmate                                            Inmate Name
     ===================:s~T~Ar.F~F:--~~~~~==============i====· Number
                                                                                                   ================================
          Grievance Note




                                                                   Grievance Hist ry
     Grievance Step         Step Dtffm                         Step Officer         Dis   sition     Status           Step Note
     Initial Grievance      09/2712013 10:06:,   ·> .     ti   YOCUM, Lisa          INITAL           lncomp eted i/m alleges Officer Miller
                                                                                                                 discriminates against him due
                                                                                                                 to his religion.

c
Ir
\      ievance Response                                                                              lncompleted
     r<ETURNED TO                                                                                    lncompleted
     INMATE

     GRIEVANCE APPEAL                                                                                lncompleted
     APPEAL RESPONSE                                                                                 lncompleted
     APPEAL RETURNED                                                                                 In completed
     INFORMAL-STAFF                                                                                 lncompleted
     NOT GRIEVABLE                                                                                  Incompleted




                                                                                                                                GB003880
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 401 of 625 PageID #:
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                                                                                             I

          Name HINDI, MAHMOUD Y                                               Booking~           2012029784                 Facility
        Inmate # 00577966          Sex MALE                                                      09/07/2012 02:36             Wing HSE
          Race Whlte/Eurp/ N.Afr/Mid Eas               Age 56                                                                 Dorm H5E-N 1



    -------------------i-------------"r,
       Status

           Grievance Numbel!)()000688
                                           In Jail                         c1asslficatio



                                                     Step Dtffm10/02/2013 08:46
                                                                                                 MXIAB



                                                                                                         Grievance Status
                                                                                                                              Cell H5-N1




          Step Officer YOCUM, Lisa

        Grievance Dt!Tm09/1912013 00:00        Grievance Sent ToAllen, Jamie                                        Grievance RegardingSetvice

       Grievance Against          Grievance CategoryConnected Grieva ces                                          Other Inmates Involved
    Grievance Against    Grievance Category Grievance#         Inmate                                               Inmate Name
    n:::::i:::-r.::ir.::::-~----·~~~-----------=============~==Number
    Moppins, Marilyn     STAFF




         Grievance Note




                                                                Grievance Histo
    Grievance Step          Step Dt!Tm                      Step Officer          Disp        it ion     Status         Step Note
    Initial Grievance       09/27/2013 10:14                YOCUM, Lisa           INITI l                Completed     ilm alleges that Ms. Moppins
                                                                                                                       has an attitude and does not
                                                                                                                       properly do her rounds and
(                                                                                                                      help inmates when needed.

                                                                                         I
                                                                                         I                                                            (
    Grievance Response      09/30/2013 12:39                Ernst, Kyle           RESjONSE Completed
    RETURNED TO             10/0212013 08:46                YOCUM, Lisa           RET RNED- Completed
    INMATE                                                                        RES<j>LVED
                                                                                         I
                                                                                         I
    GRIEVANCE APPEAL                                                                                     lncompleted
    APPEAL RESPONSE                                                                      I'              lncompleted
    APPEAL RETURNED                                                                      I               lncompleted
    INFORMAL-STAFF                                                                                       lncompleted
    NOT GRIEVABLE                                                                        I
                                                                                         I
                                                                                                         lncompleted




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                                                                                                                             GB003881
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                                           1394




     Grievance Number        00000688

           Inmate Nu·mber    00577966                  'Inmate Name

      Grievance Regarding    Service


                                       Grievance Against                                rievance Category
                        Grievance Against                                  Grievance Category
                        Moppins Marilyn                                    STAFF




                        llm alleges that Ms. Moppins has an attitude and does not pro   rly do her rounds and help inmates
                        wheri needed.
    Summary




    Grievance Sent To   Allen, Jamie



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                                         1395




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          Grievance Number     00000688

              Inmate Number    00577966                           Inmate Name              INDI, MAHMOUD Y

                                                                  Resolution Resp          se

                               ilm a/!eges that Ms. Moppins has an attitude and does   rot properly do her rounds and help inmates
             Summary
                               when needed.                                            !


                               Mr. Hindi,
                                 I will speak to Mrs. Mopp1ns regardtng her un profess~nahsm and also regarding grievances
           Response
                               can speak with?                                       j
                               turned into staff. Was anyone else present that i could peak with regarding her rude behavior that i




        Respondant            Ernst, Kyle                                       Revi wed Dtffm             09/30/2013 12:39


(
                                                                                     i
          Grievance Unfounded or Resolved?       RESOLVED                            I                                                    (

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         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 404 of 625 PageID #:
                                              1396

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                                                                                ,.
      Grievance Number        00000688

(~i
r
                                                                        Inmate Name
                                                                                              HINDI, MAHMOUD Y
          Inmate Number
                               00577966                                      Grievance Se To         Allen, Jamie
      Respondant              Ernst, Kyle                                        Reviewed Dt!Tm
                                                                                                             09/30/2013 12:39

                           Vm alleges that Ms. Moppins has an attllude and does not propry do her rounds and help inmates
       Summary             when needed.




                           Mr.Hindi,
                                                                                           I
                             I will speak to Mrs. Moppins regarding her un professionalism nd also regarding grievances
      Response             turned into staff. Was anyone else present that I could speak w th regarding her rude behavior that i
                           can speak wllh?




                                              Officer Signature                               te

                                                                                          I

                                              Inmate Signature

                          Given to Inmate DI/Tm      10/02/2013 00:00            +        I




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    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 405 of 625 PageID #:
                                         1397

                                                                                                                        I
                                                                                                                        I

            Name HINDI, MAHMOUD Y                                                                   Booking          f      2012029784              Facility
         Inmate# 00577966                    Sex MALE              DO~                             Book Dt/Tt 09107/2012 02:36                        Wing H5E
(           Race White/Eurp/ N.Afr/Mid Eas                          Age 56                   Release Dt/Tm                                            Dorm H5E-N1

                                                                                               c.1.as•s•ifi•ca·ti~oh
     . .s.t.a.t.u.s. . . . . . . . . . . . . . . . . . .1n•J•a•il. . . . . . . . . . . . . . . .                     . .M•Xl•A•B. . . . . . . . . . . . . .c.e.11. H.s-.N.1
                                                                                                                                                                   .       ........ ..i~;_
            Grievance Numbel{)0000690                            Step DVfm1011412013 09:21                                       Grievance Status
            Step OfficerYOCUM, Lisa
                                                                                                                     I
         Grievance Dt1Tm09124/2013 00:00                     Grievance Sent ToAUen, Jamie                                                   Grievance Regardin!)Service

       Grievance Against                    Grievance CategoryConnected Grieva ces                                                         Other Inmates Involved
    Grievance Against       Grievance Category    Grievance #            Inmate                                                             Inmate Name
    ==================:c~LA"!l!s~S~IF~IC~A~T~IO~N:r-~-==============!====Number
                                                                                                                              ===============================
          Grievance Note


                                                                                                                    i
                                                                                                                    I
                                                                                Grievance Histo
    Grievance Step                 Step DVfm                               Step Officer                 Disp sition               S1atus        Step Note
    Initial Grievance              09/27/201310:18                         YOCUM, Lisa                  INITI L                  Completed      i/m alleges he turned in 7
                                                                                                                                                grievances between 8/13-

(                                                                                                               I                               8/20 that never reached the
                                                                                                                                                grievance counselor. He
                                                                                                                                                stated he turned them into
                                                                                                                I                               floor counselors.
                                                                                                                                                                                      (

                                                                                                                I
    Grievance Response
    RETURNED TO
                                  09/30/201312:33
                                  10/1412013 09:21
                                                                           Ernst, Kyle
                                                                           YOCUM, Lisa
                                                                                                       R~ONSE
                                                                                                       R
                                                                                                                              Completed
                                                                                                                        RNED- Completed
    INMATE                                                                                             RES~LVED

    GRIEVANCE APPEAL                                                                                                             lncompleted
    APPEAL RESPONSE                                                                                             II               lncompleted
    APPEAL RETURNED                                                                                             I
                                                                                                                                 lncompleted
    INFORMAL-STAFF                                                                                              !                lncompleted
    NOT GRIEVABLE                                                                                               II               lncompleted




                                                                                                                                                                                    (


                                                                                                                                                     GB003885
                                                                                                                                                                               Do
           Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 406 of 625 PageID #:
                                                1398




         Grievance Number        00000690

               Inmate Number     00577966                  Inmate Name

          Grievance Regarding    Service


                                           Grievance Against
                            Grievance Against                                  Grievan
                                                                                         Jrievance
                                                                                          Category
                                                                                                      C~tegory
                                                                                 LASSIF CATION




                            i/m alleges he turned in 7 grievances between 8/13-8/20 !hat n ver reached the grievance
                            counselor. He stated he turned them into floor counselors.
        Summary




        Grievance Sent To   Allen, Jamie



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                                                                                                                       GB003886
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                                         1399




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           Grievance Number     00000690

                                                                                            I
               inmate Number    00577966                            Inmate Name             rlNDI, MAHMOUD Y

                                                                    Resolution Resp$nse
                                                                                        i
                                Vm alleges he turned In 7 grievances between 8113-8/~0 that never reached the grievance
                                counselor. He stated he turned them into floor counse!°rs.
              Summary



                                                                                        i
                                I am trying to locate your pink slips, if you have them Mease let Mrs Upton the grievance counselor
            Response
                                know so i can check into them.                          ·r-
                                1, Lisa Upton~Yocum, received and made copies of pi jk grievance forms. I have processed these
                                through the grievance system and returned to inmateJ
                                                                                        I
                                                                                        I

                                At Mr. Ernst request I have found that inmate Hindi s~tes he turned in those grievances to Ms.
                                Freeman and Mr. English.

                                So as a follow up 1will speak to the counslers listed       arding the aabove
(
         Respondant
                               Ernst Kyle                                          Rev\"Wed DVTm                09/3012013 12:33
                                    ,                                                   I                                             (


          Grievance Unfounded or Resolved?       RESOLVED




                                                                                                                       GB003887
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                                             1400



     Grievance Number        00000690

                                                                                •
                                                                        Inmate Name
                                                                                               HINDI, MAHMOUD Y
         Inmate Number
                              00577966                                       Grievance S t To           Allen, Jamie
     Respondent              Ernst, Kyle                                         Review
                                                                                                              09/30/2013 12:33

                          Vm alleges he turned in 7 grievances between 8113-8120 that n er reached the grievance
     Summary              counselor. He staled he turned them into floor counselors.




                                                                                          t
                          I am trying to locate your pink stlps, Wyou have them please le~ Mrs Upton the grievance counselor

     Response
                          know so I can check Into them.                                  I
                          I, Lisa Upton-Yocum, received and made copies of pink grlevatjce forms. I have processed these
                          through the grievance system and returned to inmate.

                          At Mr. Ernst request I have found that Inmate Hindi states he t med in those gnevances to Ms.
                          Freeman and Mr. English.

                          So as a follow up i will speak to the counslers listed regarding I . aabove
                                                                                          '
                                                                                          I



(1
\                                             Officer Signature                               ate




                                             Inmate Signature

                         Given to Inmate DVTm       10/15/2013 00:00




                                                                                                                                 GB003888
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 409 of 625 PageID #:
                                         1401




                        .....
          Name HINDI, MAHMOUD Y
        Inmate II 00577966          Sex MALE
                                                                                 Booking
                                                                               Book Dt/T
                                                                                             l   2012029784
                                                                                                 09/0712012 02:36
                                                                                                                            Facility 1
                                                                                                                              Wing H5E

     ______________________________...,._____________________
          Race White/Eurp/ N.Afr/Mid Eas
       Status                              1n Jail
                                                       Age 56
                                                                              Classificati       MX/AB
                                                                                                                             Dorm H5E-N1
                                                                                                                              Cell H5-N1
                                                                                                                                                         ,
                                                                                                                                                         ~
                                                                                                                                                             ~




          Grievance NumbelQ0000710                   Step Dtffm10103/2013 12:09
                                                                                             I           Grievance Status
          Step OfficerYOCUM, Lisa
                                                                                             i
                                                                                             i
                                                                                             I
        Grievance Dtffm09124/2013 00:00         Grievance Sent To YOCUM, Lisa                                       Grievance Regardln~ervlce
                                                                                             i
       Grievance Against           Grievance CategoryConnected Grievar· ces                                       Other Inmates Involved
    Grievance Against              Grievance Category           Grievance #                         Inmate          Inmate Name
                                   MEDICAL                                                          Number
                                                                                                   ======================
         Grlevence Note




                                                                 Grievance Histo
    Grievance Step           Step Dtffm                     Step Officer                                 Status        Step Note
    Initial Grievance        10/0312013 12:07               YOCUM, Lisa             NO                   Completed     llm filed a grievance about
                                                                                    GRI VABLE                          the times that he receives his
                                                                                                                       meidcaltons.
(                                                                                                                      Pr Mr. Zellars,
                                                                                                                       Medical staff have a window
                                                                                                                       to administer medication. All (
                                                                                                                       procedures/protocols are
                                                                                                                       being followed. Individual
                                                                                                                       treatment is not grlevable.




    Grievance Response       10/03/2013 12:08               YOCUM, Lisa                                  Completed


    RETURNED TO              1010312013 12:09               YOCUM, Lisa
                                                                                   '01
                                                                                    GRI VABLE

                                                                                   NO                    Completed
    INMATE                                                                         GRI VABLE
                                                                                         I
    GRIEVANCE APPEAL                                                                     I               lncompleted
                                                                                         I
    APPEAL RESPONSE                                                                      I               lncompleted
    APPEAL RETURNED                                                                      I               lncompleted
    INFORMAL-STAFF                                                                       '               lncompleted
    NOT GRIEVABLE                                                                                        lncompleted



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(




                                                                                                                            GB003889
                                                                                                                                                 Do
       Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 410 of 625 PageID #:
                                            1402




      Grievance Number        00000710

            Inmate Number     00577966           Inmate Name   HINDI, MiHMOUD Y
       Grievance Regarding    Service
                                                                          I
                                     Grievance Against                        rievance Category
                         Grievance Against                      Grlevan       Category




     Summary




     Grievance Sent To   YOCUM, Lisa



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If
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                                                                                                  GB003890
     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 411 of 625 PageID #:
                                          1403


                                                                                Booking~
(-
           Name HINDI, MAHMOUD Y
         Inmate # 00577966          Sex MALE
           Race While/Eurpl N.Afr/Mid Eas

        Status
                                                       D·c9-·
                                                        Age 56
                                                                              Book
                                                                            Release   DtlT~
                                                                                              2012029784
                                                                                      DtlT~ 0910712012 02:36

                                                                             Ciasslftceti$ MX/AB
                                                                                                                     Facility 1
                                                                                                                       Wing H5E
                                                                                                                       Dorm H5E-N1
                                                                                                                       Cell H5-N1
     .........................................................................--1----------------------------------~( ',..
                                            In Jail


            Grievance Numbel{)0000749                 Step Dt/Tm10/19/2013 23:58                   Grievance StatusRESPONSE
           Step OfficerTroutman, lryt

         Grievance DVTm0912712013 00:00          Grievance Sent ToWalker, Armon                                Grievance RegardingService

        Grievance Against          Grievance CategoryConnected Grieva ces                                    Other Inmates Involved
     Grievance Against  Grievance Categoty Grievance#      Inmate                                              Inmate Name
     ===================:s~T~A~F~F~~~~~~:=================Number




          Grievance Note
                                                                                         I
                                                                                II
                                                                 Grievance Histo~
     Grievance Step          Step Dt/Tm                      Step Officer          Disprsilion      Status         Step Note
     Initial Grievance       10/0812013 09:58                YOCUM, Lisa           INITI L          lncompleted ilm alleges officer Veter and
                                                                                                                Sanders discriminated
                                                                                                                against him and were disresp
(
     Grievance Response                                                                             lncompleted
     RETURNED TO                                                                                    lncompleted
                                                                                                                                            (
     INMATE

     GRIEVANCE APPEAL                                                                              lncompleted
     APPEAL RESPONSE                                                                               lncompleted
     APPEAL RETURNED                                                                               lncompleted
     INFORMAL-STAFF                                                                                lncompleted
     NOT GRIEVABLE                                                                                 lncompleted




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                                                                                                                      GB003891
             r1uu1 .;;iv"u.• •~7                          1;;1uul\111y r1uu1                              VIU '11111L nltil\I
              Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Date:
                                                                       Page 41226-Sep-12
                                                                                 of 625 PageID #:
            Unit 2 (SGT-1221)
                                                       1404
                                         Unit 1 (SGT-1121)             Day:   Wednesday
                                                                 (SGT-1121A)
  f~ '';,EANT -'J_.J~u~n~•------             SERGEANT         Sgt. A. Fugate                           Captain Baker
  \: r --·_;,    D. Skaggs                   SERGEANT         Post Closed                           Lieutenant DeJamette
  of/···,     ·3 M. Curry                    Glill            K. Hinton                             Lieutenant
   '·
  Do.   t•7     K. EchsnE)r                -Grtll             H.   Ro~                              Lieutenant-
  PSYCH         M. Sacra I Duff              Livescan         R. Graham
  PSYCH         K. Alexander                 Llvescan         Closed Staff Shortas:e
  Rover         L. Weatherington            PSssive           S. Weather!~                              Staff Off Duty I R~ason
                Post closed                 Movement          Post Closed                         Sgt. M. Redmon             v
                                            Movement          J. Sipes                            Sgt. S. Broome             R
            Unit    3 (SGT-1321)            J5 Court holds    Post Closed                         Sgt. S. Gilbert            v
                                            Transportation    T. Woods                            Sgt. C. Roy               BRV
 SERGEANT       M.Zapata                    Rear Security     A. Morton                           Sgt. D. c;llbson           R
 Control        J. Stinson                  Magnatometer      T.Whlle                             Sgt. T. Huber              R
 North          R. Walker I Lydon           B.A. Lab          M. Ceja
 North          C. Noland                   B.A. t.ab         Post Closed
 South          J. Hom I Arnold             B.A. Lab          Post Closed                         Ofc. C. Eastp:n            s
 South          R. Hamilton                 Main Control      K.Denzlk                            Ofc. C. Sriilth            v
 Rover          Post Closed                 Main Control      A. Mme~                             Die. C. Marbery           ML
                                            Outer Control     J. Thomas                           Ofc. A. Paniels           v
                                            Front Desk        A. Rogers                           Ofc. R. Stimphil          SD
            Unit 4 (SGT-1421)                                                                     Ofc. E. Mcintosh         SD
 SERGEANT     -'D~.-'G"e"nt'"ry'-----­     Sanitation        R Craddock                           Ofc. C. Brown            TR
 Control       L. Padilla                  Laundry           S. Vincent                           Ofc. B. Wyfie             TR
 North        C. Lucas                     Kitchen           J. Alexander
 North         M. Forbes                   Kitchen           w. t.aird
 South        M. Lynch                     Kitchen           Post closed                          Overtime
 South        D. Higj:lon                                                                        Ofc. C. Hornback            SOT
              Post Closed                 Property Ofc.      S. Stachoulas                       Dfc. R Anthony              SOT
              Post Closed                 Property Ofc.      J. Dever                            Ofc. D. Bumphus              SOT
                                          Property Ole.      T. Masingo                          Ofc. T. Stanfield            SOT
            Unit   5 (SGT-1521)           Property Ofc,      Closed Staff ShortaQe               Ofc. J. ~ipes                SOT
                                          Property Ofc.      Post Closed                         Ofc:. S. Weatherly           SOT
SERGEANT      J. JOnes                                                                           Ofc. J. Stinson              VDT
Control       J. Warner                  First Responders:                N/A                    Ofc. J. Wanier               VDT
West M-4      C. Donahue                                                                         Die. V. Lloyd                VOT
West 5-8      C. Hornback                                                                        Ofc. T. Woods                VDT
East          R. Anthony                                                                         Ofc. Brison      Sgt. Jones   VDT
East          T. Stanfield                                                                              Next Shift Sick/Absent
Rover         Post Closed
                                              Hospital              See summary
         Unit 6 (SGT-1621)

SERGEANT      J.Jones
Control       C. Piotrowski
West M-4      D. Santiago                 Shift Activity:
West5-8       C. Ernest                   See Summary
East          V. Lloyd
East          D. Bumphus
Rover         Post Closed

         Unit      7 (SGT-1721)

SERGEANT                  N/A
Control                   N/A
Dorms                     N/A
     ,-;                  N/A
l_                        N/A
w!\;~                     N/A

    "·                                                               Prepared by: Lt. R.   DeJarnette # 222




                                                                                                                                 GB003892
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 413 of 625 PageID #:
                                      Daily
                                         1405Incidents
                                                                      09-26-12
r ,   I    Commanders on Duty: DeJarnette, Baker

           Booking Deferrals: NONE
      1

           Hospital runs: l/m Gerald Bryant - 7th floor ICU #1

                             l/m James Lang - ER RETURNED at approximately 1900 hours



        Incident# 5853 - Inmate Strip Search - J3, At approx. 1555 hours a strip search was conducted on J3 in the Multipurpose Room
        bathroom on inmate Hindi, Mahmoud# 577966. Strip search was conducted per policy following a contact visit. Search was
        conducted by Officer Walker and Officer Lydon. No contraband was located. Inmate returned to his housing location of J3 Dorm 8
      ) with no Incident. Strip Search Form completed and placed with shift paperwork. Shilt Commander notified.

          Incident # 5856 - Pre Existing Injury - Jl, At approx. 1736 hrs. fresh arrest inmate Eggers, David cln # 456114 arrived at LMDC with
          pre-existing injuries to his face. Nurse Fisher assessed him and cleared him for entry into the facility. When Inmate Eggers was
          questioned about his injuries he stated "The Police beat me up". Inmate Eggers was arrested by LMPD Ole. D. Henke# 7783. A
          photo was taken and sent to PSU and 2nd shift command.

        Incident# 5857 - Contraband - H6, at approximately 1610 hrs Sgt. Jones was notified by Ofc. Santiago that when he went to collect
        the razor from l/M Timothy Gibson cln #291341 the blades were missing. 1/M Gibson stated that he was in the restroom area
        shaving and was hitting the razor on the sink when the front of the razor came off and went down the sink drain. Ole. Santiago
        brought the broken razor into the control room. Sgt. Jones notified Lt. DeJarnette and a shakedown of dorm 5 was conducted at
        approximately 1630 hrs. During the shakedown there was an excessive amount of toilet paper found. There was excess llnen and
      ' trash found. There was 2 bottles of suspected jail hooch found in the property of l/M Clarence Celik cin #576626. l/M Celik was
(     ' written up and moved pending disciplinary. l/M Cellk stated that the hooch was not his and that another l/Mmust have put It In
        his property when the dorm found out we were coming in to shake them down. Photos were taken of all contraband. The missing
        razor blades were not found and are believed they went down the sink drain. The razor did not appear to have been tampered
        with. All contraband was disposed of in its correct location. Lt. DeJarnette was notified of the situation.

        Incident# 5858 - Contraband - Jl, at approx. 1758 hrs. fresh arrest inmate Butler, Angelica cin # 565816 was being searched on the
      ; grill by Ole. H. Roy. A small metal container was attached to her key ring which contained 15 oval orange pills. The pills were
        identified via drug Information online as Amphetamine 20 mg. a schedule 2 controlled substance. Added charges were filed on
        inmate Butler for prescription controlled substance In improper container and promoting contraband 1st. The pills were
        transported to The LMPD property room by Ofc. H. Roy. Inmate Butler was arrested by LMPD Ole. A. Rodman# 7026. Photos of
        the contraband were taken and sent to PSU and 2nd shift command.

      i Incident# 5859 - Area Search - J2, at 1745 hrs, Sgt. June was coming out of the J2 Sergeant's office, when sGT. June could see an
          inmate run out of J2 DlB and run back into the dorm. He walked over to J2 DlA/DlB, DlA was unsecured. Sgt. June secured the
          door and checked DlB to make sure It was secured, It was. He then reviewed the DVR to see what took place. l/m Vincent,
          Nantasha cln-438207 (DlB) take some items, came out of the dorm and then pass them to l/m Harris, Lanesha cln-424212 (DlA).
          Sgt. June had l/m Vincent escorted out the dorm to the attorney booth. He then entered DlA and escorted l/m Harris out of the
          dorm. l/m Harris had multiple food items. Both Inmates were searched by officers. Ole. Curry felt an unknown object on l/m
          Harris and l/m smelled strongly of marijuana. Sgt. June ordered a strip search that was conducted by Ole. Curry and Ole. Duff on
          the booking floor (strip search roc;>m). No contraband found. Strip search form was completed. Ofc. Curry stated that I/m's bra
          smelled strongly of marijuana. A shake down was conducted in J2 DlB. The contraband found was-a cup of peas, that someone
          had been drying out. l/m Bruce, Brittany cin-548685 had 1 match wrapped inside a piece of paper. l/m Townsell, Stephanie cln-
          577543 had multiple notes from other Inmates located In other dorms. l/m Harris stated that she was just getting some food
          items and didn't come in the jail with any drugs. l/m Vincent stated thatshe was just, giving an old friend some food. l/m Harris
          and l/m Vincent were moved to pre-hearing detention with write ups. l/m Bruce and l/m Townsell were given write ups, but
          allowed to stay In the dorm. Pictures were taken and sent to PSU. All contraband was disposed of. Lt. Dejarnette was notified.

          Incident# 5860 - Area Search - J4, At approximately 1940 hours a search was conducted in J4N2B due to the inmates refusing
          (earlier in the shift) to move from temporary beds (boats) to the open bunks. The inmates Informed the officers it was their job       (__,1
          "to get the boats and move people". All inmates were instructed to gather their property, mats and linen and exit the dorm.
          When Capt Baker asked Inmate Curtis Davis #556196 to get his armband, Inmate Davis stated, "I ain't got one." Capt Baker
          Instructed the subject to step out of the dorm due to the fact the subject's armband was laying on his boat. While Officer Forbes
          and Officer Higdon were walking the subject out, he raised his left arm and became verbally and physically resistant towards the
                                                                                                                      GB003893
           away
             Case and would not put his arms behind his back.
                      3:16-cv-00742-DJH-CHL                     The subject
                                                          Document          was placed
                                                                         143-1          against
                                                                                     Filed      the door and
                                                                                            05/21/19         handcuffs
                                                                                                          Page    414 were    applied.
                                                                                                                         of 625         Inmate#:
                                                                                                                                   PageID
        f Davis was then escorted to West Hold and will be written up. Assigned bottom bunks were verified through Medical. Once this
                                                                           1406
        i was completed, the inmates with bottom bunks armbands were moved back into the dorm and given a_ bottom bunk. The rest of
        i the dorm was returned two at a time to claim a buok. Once Inmate Roy Felton #476322 was Instructed to enter the dorm, he
(~ __ , : became verbally disruptive, telllng the officers to "suck my dick",. "fuck you motherfuckers" and "I ain't starting over on a top
f---· bunk so fuck you." The subject was handcuffed and taken to West Hold. He was also written up. During a search of the subject's
\        . property, an extra pair of shoes were confiscated, taken to LMDC Property and placed on the subject's account. Classification was
           notified and placed both subject's on the move list. Capt Baker, who was present for some of the incident, and Lt Dejarnette were
           notified.

       Incident# 5862 - Pre Existing Injury- Jl, At approx. 2259 hrs. Fresh arrest inmate Crenshaw, Charles cln # 265156 arrived at LMDC
       with pre-existing injuries to his face. Nurse Cheatham assessed inmate Crenshaw and cleared him for entry into the faclllty. When
       questioned about his injuries inmate Crenshaw stated "I fell when they lazed me". Inmate Crenshaw was arrested by
       Jeffersontown Police Ole. N. Presley# 8224• Photos were taken and sent to PSU and 2nd shift command.

       Information : Xmodule : CLEAR




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                                                                                                                            GB003894
        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 415 of 625 PageID #:
                 Floor Security            1st1407
                                               Floor Security
                                                                                                 ·Date:      December 6, 2012
                       Unit 2 (SGT-1221)                   Unit 1 (SGT-1121)                       Day:         Thursday
                                                                  (SGT-1121A)                    Shift:          1st
            SERGEANT      Summers           SERGEANT             McCubblns                      Captain Walker Vac
            Control       Brison            SERGEANT                                        Lieutenant Meriwether
            Med/Psych     McCullough        Grill                McNeese                    Lleutenant~G,,ri:::•::s•::.r_ _ _ _ __
            Med/Psych     Miller            Grill                Frisby                    Lieutenant Mitchell - SD
            Dorms         Shipley           Passive              Estes
            Dorms         Kelley            Livescan             Page                           Staff Off Duty I Reason
            Medlcal       Downs                                                           Mangrum - Sick
            Rover         Wiggins          Rear Security        Ayers                    DeJamette - FMLA
                                           Trans (751)          Nichols                  Woolen- Tm
                      Unit 3 (SGT-1321)    Trans (752)           Burba
                                           Clinics
            SERGEANT Jones                 Movement              Brown
            Control      Brockbank LD      B.A./Movement        Benner
            North        Weeks             J5 Overflow          Jessie
            North        Hornback          B.A. Lab
            South        Lloyd             Main Control         Dugan
            South        Sanders           Main Control         Reese
            Rover                          Outer Control        Fowler
                                           Magnometer           M Johnson                Sick Calls for Next Shift
                                           Front Desk           Grieser                  Lamkin S

                      Unit 4(SGT-1421)
           SERGEANT      Angelini          Sanitation
           Control       Conner            Laundry
           North         Sullivan          Kitchen
           North         Elmore            Kitchen
           South         Laws              Kitchen
           South         Cline                                                                            Overtime
    (      Rover         Young             Property Sgt
                                           Property Ofc.        Stone                       Overtime Used- FOT/SOTNOT
                                           Property Ofc.        Geracitano               None
                      Unit 5 (SGT-1521)    Property Ofc.        Wheatherly                                                           (
                                           Property Ofc.        Rauchwater
           SERGEANT Thomas
           Control       M. Moore
           West          Warner            Gym Ole 1330
           West          Garrett           Gym Ole 1530
           East          Kirk
           East          Ernspiker         District Court       Mason
           Rover                           District/Circuit 2   Henderson
                                           Circuit Court        Woods                              Hospltal Runs/Clinics
                                           Arr. Court           Harris                   Clark, Wilder - ER Ofc. Hagan
                      Unit 6 (SGT-1621)

           SERGEANT      Thomas
           Control       Kasslnger LO
           WestM-4       Wiiiiams                                            Incidents
           West5-8       Pinnick
           East          Dorsey
           East          D. Johnson
           Rover



                      Unit 7 (SGT-1721)

           SERGEANT Closed
           Control
(          Dorms
           Walk 1
           Walk2
           Walk3
           Rover




                                                                                                          GB003895
               Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 416 of 625 PageID #:
                                                    1408

                                                              Daily Incidents
                                                             December 6, 2012

        Hospital Runs: Clark, Wilers ER Room 6 - Ofc. Hagan (returned at about 1215 hrs

        X - Module inmates: No one in The X - Module


        Incident : At 0730 hours on 12/6/12 Nurse Slider advised that inmate Amanda Skaggs would need to be escorted to J207#6 and
       be placed on a level one observation. Nurse Slider advises that during her medical interview she stated she attempted suicide on
       12/05/12 by taking a full bottle of Oxycotin pain pills. Subject was then dressed out, escorted to J2 and placed on a level one
       observation as ordered. Lt. M. Grieser advised. Report# 7333

        At about 1005 hours Sgt. Summers was notified by Ofc. Roth( Property) that while speaking with l/M Johnson, Monique (481955)
        located in Oorm lA on J2 about her property being signed over to a third party, she informed him that she still had possession of her
        money. He then located Sgt. Summers and they had inmate Johnson exit the dorm and she explained to them that she was not
       completely coherent when she arrive to the facility and that she was not aware of having the money on her person until she awoke in
       the dorm. l/M Johnson was already dressed out in a departmental jumpsuit, but stated that her money was located in her bra area.
       Sgt. Summers had l/M Johnson step out into the hallway, along with him and Ofc. Roth in order that all actions were recorded on
       camera. l/M Johnson proceeded to pull out a roll of money from her bra area and Sgt. Summers instructed her to count it in front of
       him and Ofc. Roth. l/M Johnson counted the money which included (3)100.00 bills, (4) 20.00 bills, (1) 5.00 bill, and (4) 1.00 bills
       totaling $389.00. Sgt. Summers then asked Ofc. Roth to count the money also and he also came to the same total of $389.00. Sgt.
       Summers then escorted Ofc. Roth to Property on Jl and he placed the money on l/M Johnson 1s account. Sgt. Summers was given the
       receipt that was generated and returned to J2 Dorm lA to deliver the receipt to l/M Johnson. l/M Johnson was also searched by Ofc.
       Kelley for any other remaining currency or other contraband, which no other was found. Lt. Grieser notified and normal operations
('',1esumed. Report# 7336
'(('                  .
  ;\
   At about 1020 hourson J4 Dorm 7 #11, Sgt. Angelini was advised by Ofc. Cline that Inmate O'Bannon, Alfonzo (334246) attempted to
   exit his cell and get to Inmate Dunn, Quinton (565281). Ofc. Cline advised that while conducting sick call, Inmate O'Bannon's cell was
   opened to give him his medication. Upon his cell being opened, Inmate O'Bannon attempted to go past Ofc. Cline at which time Ofc.
 ' Cline told him to stop and held out his hand to gesture for him to stop. (Inmate O'Bannon is deaf.) Inmate O'Bannon continued his
 i     attempt to get to Inmate Dunn, at which time Ofc. Cline pushed Inmate O'Bannon back into his cell. Inmate O'Bannon then tripped
       and fell onto the floor.' Ofc. Cline then closed his cell door. Ofc. Cline and Ofc. Laws returned with the camera to take pictures of
       Inmate O'Bannon. Nurse Fowler arrived on the flcior to assess Inmate O'Bannon, no injuries found. Lt. Grieser was advised of the
       incident. Inmate O'Bannon stated that he was attemptihg to get to Inmate Dunn due to hiiTI teasing him while in the dayroom.
       Photo was forwarded to PSU. Report# 7337


     At about 1224 hours Ofc. R. Estes advised Sgt. Mccubbins to respond to Jl passive booking. Upon arrival he advised that inmate
     Richard Smith fell down and appeared to have a seizure. Medical was notified and Nurse D. Fowler responded. After subject was
     cleared by medical, Nurse Fowler advised that subject needed to be moved to J2WD12 for closer observation. At around 1250 hours
     while in the dress out room located by property subject had what appeared to be another seizure. Nurse Fowler was then called
     again and arrived shortly after. Once cleared by medical subject was dressed out, sat in a wheelchair and escorted to J2 as
     instructed. Lt. M. Grieser advised. Report# 7338

     At approximately 1014 hours Sgt. Jones was notified that l/M Hindi Mahmoud cin #577966 while receiving his canteen on J3 gave
     canteen work Equisha Keys a hug and a kiss on the forehead. Ofc. M. Weekes immediately removed l/M Mahmoud from dorm 8 and
     placed him in the west hold. Sgt. Jones asked Ms. Keys if she was alright and she stated that she was shocked. Sgt. Jones advised her
     to wash off with soap and water. l/M Mahmoud was moved to J3 dorm 7 #8. Mental health was notified. l/M Mahmoud is pending
     disciplinary. Lt. Grieser was notified. Later Sgt. Jones spoke with l/M Mahmoud about his write up. l/M Mahmoud stated that he did
     hug and kiss the canteen worker on the forehead. He stated that he didn't mean any harm that he was excited and felt that she had
     ,vent above and beyond by finding his missing commissary. Sgt. Jones explained to l/M Mahmoud that we do not allow that type of
         1Vior. l/M Mahmoud apologized several times and stated that he didn't mean any harm. Report# 7339




                                                                                                                                  GB003896
         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 417 of 625 PageID #:
                   Floor Security           1st1409
                                                Floor Security
                                                                                                          Date:       January 01,2013
                        Unit 2 (SGT-1221)                            Unit 1 (SGT-1121)                     Day:           Tuesday
                                                                            (SGT-1121A)                 Shift:           1st
     (       SERGEANT Mumford                        SERGEANT            Mccubbins                     Captain
             Control  Kasslnger - LD                 SERGEANT                                       Lieutenant Meriwether
             Med!Psych     Miller                    Grill               A'J!.rs                    Lieutenant Grieser - V                  (~
             Med/Psych     Downs                     Grlll               Roehm                      Lieutenant Mitchell - V
             Dorms         Shipley                   Passive             Smllh
             Dorms         Scott                     Livescan            Estes                         Staff Off Dul~ I Reason
             Medical                                                                              Berry- Sick
             Rover        "B;;;ri:::;so"n'-------    Rear Security       Page                     Ha~an- FMLA
                                                     Trans (751)         Nichols                  Boog -Sick
                       Unit 3 (SGT-1321)             Trans(752)                                   Bunnell- Sick
                                                     Clinics                                      Floyd-Sick
             SERGEANT     ~A::ll•:::n;__ _ _ _ __    Movement            Goff                     Puente - FMLA
             Control      Neal                       B.A./Movement       Benner
             North        Hornback                   J5 Overflow
             North        Stinson                    B.A. Lab
             South        Batts                     Main Control         Reese
             South        McKinney                  Main Control         Pridgen
             Rover                                  Outer Control        Fowler
                                                    Magno meter          Woods                    Sick Calls for Next Shift
                                                    Front Desk           Led rick

                    Unit 4(SGT-1421)
             SERGEANT White                         Sanitation
             Control      Peace-VOT                 Laundry
             North        Kelley                    Kitchen
             North        Hamilton                  Kitchen
             South        Hammrich                  Kitchen
             South        Sullivan                                                                                Overtime
 (           Rover                                  Property Sgt.
                                                    Property'otc.        Geracitano                 Overtime Used- FOT/SOTNOT
                                                    Property Ofc.        Wheatherl~               Peace , Ennis , Edens - VOT
                       Unit 5 (SGT-1521)            'Property Ofc.       Rauchwater
                                                                                                                                        (
                                                     Property Ofc.
            SERGEANT Dejarnette
            Control       Vetter
            West          MMoore                    Gym Ofc 1330
            West          Sheppard                  Gym Ofc 1530
            East          Garrett
            East          B Moore                   District Court       Closed
            Rover                                   District/Circuit 2   Closed
                                                    ClrcuJt Court        Closed                           Hospital RunsJCllnlcs
                                                    Arr. Court           Mangrum I Mo~an          Thomas ~nt ICU#10 Edens VOT
                       Unit 6 (SGT-1621)

            SERGEANT Thomas
            Control  Ennls-VOT
            WestM-4  Williams                                                         Incidents
            West5..S Dorsey
            East          Frech                     EI#0005
            East          Wiggins                   EI#0008
            Rover



                       Unit 7 (SGT-1721)

            SERGEANT Closed
            Control
\,          Dorms
            Walk 1
            Walk2
            Walk3
            Rover




                                                                                                                  GB003897
              Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 418 of 625 PageID #:
                                                   1410

                                                                 Daily Incidents
                                                                January 01, 2013

       Hospital Runs: Thomas Bryant SWest ICU Bed #10


       X - Module inmates:          xModule checked,

       Incidents : 0740 hrs St. Allen overheard a loud noises coming from the area of J3D8. When he went to see what was going on
       he was advised that inmate Pelini, Anthony was banging his head due to him not recieving his morning medication, His medication
       was not on the morning cart and he was informed by the nurse that she would have to bring it back, Inmate Pelini continued to bang
       his head against the cell window causing redness and swelling to his head. Inmate Pelini was instructed to quit and he complied.
       Nurse Barbie Wood arrived on the floor to assess inmate for his injury. Pictures taken and forwarded to cammand staff and A I. El#
       0005




         0730hrs while morning sick call was being conducted ON J 3 by Ole. Hornback, inmate Hindi, Mahmoud had come up for his
       morning medication passing Ofc. Hornback and could be heard saying 11you fucking bastard officer 11 • Ofc. Hornback continued to let
      inmate Hindi receive his medication. After this action, Ole. Hornback requested that inmate Hindi step out of the dorm t~ find out
      what his problem was. Inmate Hindi refused to step and and talk with Ole. Hornback. Ole. Hornback then instructed inmate Hindi to
      walk to west hold, Inmate Hindi refused to do so and appeared ready to throw water on Ole. Hornback. Ofc, Hornback pulled his OC
    ..-··- \!ut and instructed inmate to walk to west hold. Again, Inmate Hindi refused calling Ofc. Hornback "a fucking bastard officer". Ofc.
(
     ,,· 'ornback used soft empty hand technique and while escorting him to west hold inmate Hindi threw that cup of water at Ole.
    ((      .1back hitting him in the uniform, arm and facial area, Sgt, Allen witnessed this entire incident and Ofc. Hornback informed him
    : 111at inmate Hindi has prior issues with Ofc. Hornback.    Sgt. Allen Went to speak with ·mental health in regards to inmate Hindi and he
      was informed to move Hindi to J2W obs, While Allen and Ole, McKinney escorted inmate Hindi off the floor Alien overheard him tell
      Ole, Hornback that "he(inmate Hindi) will kill him(Ofc. Hornback) if it took a thousand,years,
         Information was gathered that during a interview with Dr. Easley inmate Hindi made 4 references about Ole. Hornback's life.
      Allenthen spoke with Nurse Barbie Wood and asked her to document that in inmate Hindi's file. Ole. Hornback filed added charges on
      this inmate. Additional charges ofTT3 and Asslt 3 were placed on inmate Hindi. Citation number M582936. Disciplinary will be
      issued as well. El# 0008




       Commanders on Duty
      Lt, Meriwethwer




                                                                                                                                      GB003898
            Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 419 of 625 PageID #:
              Floor Security               Booking1411
                                                   Floor                3rd Shift NJC
                                                                                                         Date: _ __;2-:.S::•::!P:...·1;;;3:..___
                Yl!J.!.1...(SGT-1221)                 .!!l!!!.!...(SGT-1121)                             Day: _ _ _.::S::at=u;;.:rd::a,.y_ __
                                                                   (SGT-1121A)
     •• 'l,EANT Mumford                  SERGEANT             Summers                                  Captain _ _ _ _ _ _ _ __
     ~   01     Brison                   SERGEANT                                                 Lieutenant :..A"n"ge::ll;;.:n;...I- - - - - -
    Dorms 1·3   Neal                     Grill                Goff                                Lieutenant _ _ _ _ _ _ _ __
    Dorms 4-7   Wiggins                  Grill                Burba                               Lieutenant _ _ _ _ _ _ _ __
    PSYCH       McKinney                Livescan              McNeese                             Lieutenant _ _ _ _ _ _ _ __
    PSYCH       Berry                   Livescan
    Rover       Downs                   Passive               Brown                                    Staff Off Duty I Reason
                                        Movement             .:M:::O:::f9<:":::"'-------        Frisby - V
                                        Movement                                                Page-V
                Unit 3 (SGT-1321)       J5 Court holds                                          Scott - S
                                        Transportation       ~W:..a::fo;:;rdc;:...._ _ _ _ __   Brockbank - WC
    SERGEANT White                      Rear Security        -'-Ro=eh"m"--------                Ernspiker - WI
    Control  Weekes                                                                             Elmore-V
    North    Hom back                   B.A. Lab             Woods                              Pinnick Sx2
    North          Lloyd                B.A. Lab                                                Puente- FML
    South          Davis                Magnotometer         "C"ll"'n"-e_ _ _ _ _ __
    South          Kirk                 Main Control         "J"e"ss"le'-------
    Rover                               Main Control         "R.::•:::•,,••::._______
                                        Outer Control        "P-'n:::'d,;9•:::"'-------
                                        Front Desk           "L=•;:;dn::;'c::;k_ _ _ _ _ __
                Unit 4 (SGT-1421)
    SERGEANT Allen                      Sanitation
    Controt  Hamilton                   Laundry              "L=u,,ttre=..I- - - - - - -
    North    Bunnell                    Kitchen               Bi'angers
    North    Young                      Kitchen               Bloyd
    South    Sullivan                   Kitchen                                                 Overtime
    South          Laws                                                                         None
                                        Property Ole.        Spinks
                                        Property Ofc.        Rauchwater
                                        Property Ofc.
                Unit 5 (SGT-1521)       Property Ofc.                                                                                              (
                                        Property Ofc.
    SERGEANT DeJarnette
    Control  Batts                      District Court
    West M-4 Sheppard                   District I Circuit
    West 5·8 Ho mm rich                 Circuit Court
    East     Floyd                      Arraignment                   Henderson
    East     B. Moore                                                                                  Next Shift Sick/Absent
    Rover                                                                                       Broome- S
                                             Hospital
                Unit 6 (SGT-1621)

    SERGEANT DeJarnette
    Control        Sanders
    West M·4       Frech                Shift Activity:
    West 5·8       McCullough           See shift summary for Incidents
    East           Johnson
    East           Muncy
    Rover

                Unit 7 (SGT-1721)

    SERGEANT                    NIA
Control                         NIA
    Dorms                       N/A
!                               NIA
\,         .2                   N/A
Walk3                           NIA
                                                                                                                                                   l/

                                                                                                                           GB003899
             Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 420 of 625 PageID #:
                                            Daily Incidents
                                                  1412
     )
                                                                      2/9/2013
((:~J Commanders on Duty:
         Lt. Angelini

         At 1030 hours on Jl, Sergeant Summers was in arraignment court when Inmate Dominique Dudley became disruptive with the Judge. /
         Officer Waford and Sgt. Summers escorted him to Rear Security Cell 1. While talking with Sgt. Summers, Inmate Dudley began crying.
         Mental Health Worker Mark Krank spoke with him and determined to place him on Level 1 suicide observation. He was placed in J2W ,I
         Walk 1 Cell 14 for his observation. Lieutenant Angelini was notified. Incident# 0869.
                                                                                                                                                         I
         At 080S hours on H6, Sergeant DeJarnette was notified that Inmate Franklin Burnphus became disruptive with Officer McCullough
         during Mandatory Linen Exchange. While officers were collecting linen in Dorm 3, Officer McCullough instructed him to place his
         blanket, that was wrapped on his head, either back on his bunk or place it In a bin if it was extra. Inmate Bumphus exited the dorm
         carrying his blanket. Officer McCullough then attempted to grab the blabnket from him, at which time he pulled away and raised his
                                                                                                                                                    I
         arms and took an agressive stance. Officer McCullough then grabbed him and placed him against the wall/glass in order to control
         him while placing him in handcuffs. Officer Cline and Officer Frech arrived to assist, and they took him to the floor in order to place
         him in handcuffs. Inmate Bumphus struggled briefly, but the complied with the officers instructions. He was escorted to the H6
         bullpen without further incident. Medical Nurse Brewer assessed him and noted no injuries, nor did he claim to have any, Photos
         were taken and forwarded to Shift Command and PSU. Lieuitenant Angelini was notified. lncideent # 0866.
                                                                                                                                                   ,,I

         At 1230 hours on HS, Sergeant DeJarnette was notified by Mental Health Worker Mark Krank that Inmate Mahmoud Hindi needed to
         be placed on Level 1 suicide observation. He was placed in HS North 1 Cell 1 for his observation. Lieutenant Angelini was notified.       1,.




         Incident# 0870.

     At about 0720 hours on Jl, Sergeant Summers was notified that Inmate Melissa Greer's Body Scan# 00006330 showed an unknown
     void around her vagina area. Sergeant Summers authorized a strip search and it was completed by Officers Spinks, Roehm and
     Rauchwater. Inmate Greer became verbally noncompliant, stating that she had surgury on her wrist recently. Nurse Daughtery
                                                                                                                                                   I
(1
     assessed and cleared her to continue. Staff completed the strip search but were not completely sure about the lack of contraband.
     Inmate Greer was body scanned again (# 00006331), which again showed an unknown void. She was dry celled in Booking Floor Hold
                                                                                                                                                   I
                                                                                                                                        j
((   Cell S. After she became compliant with the booking process, she was removed from the holding cell and booking process completed.
                                                                                                                                        I
\    No contraband was found in the holding cell. A strip search report was completed and placed in the shift report. Photos were taken
     and fowarded to Shift Command and PSU. Lieutenant Angelini was notified. Incident# 0867.



     Hospital- NONE

     X-Module- NONE @ 1442 hrs.




                                                                                                                              GB003900
     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 421 of 625 PageID #:
                                          1413
                    Floor Security                           1st Floor Security
                                                                                                                     Date:        March 2, 2013
                    .!:!n!!l..(SGT-1221)                  Unit 1 (SGT-1121)                                          Day:            Saturday
(~                                                               (SGT-1121A)                                         Shilt:         2nd
            SERGEANT Uaguno                       SERGEANT     Fugate                                              Captain Hogan-R
            Control  C. Downs- Fot                SERGEANT                                                      Lieutenant DeJamette-R
            Dorms 1-3      N. Barnes             Grill                J. Roehm- Fot                             Lieutenant Angelini-Sod w Ezell
           Dorms 4-7       C. Duff               Grill                S. Sargent                                Lleutenant•Eze=l'-1- - - - - - -
           PSYCH           K Lamkin              Clinlcs              Post Closed
           PSYCH           K. Alexander          Lives can            Closed Staff shortage                        Staff Off Duty I Reason
           Medical         A. Tinker             Uvescan              J. Knoop                                Sgt Redmon- UB
           Rover                                 Passive              J. Burba- Fot                           Conner- Cancelled SOT
                                                 Trans (751)          A. Morton                               Joyner- Cancelled SOT
                    Unit 3 (SGT-1321)            Trans(752)           D. Hennann                              ore. Wimsatt- MIL
                                                 Rear Security        R. Graham
           SERGEANT        Horn- Fat             Movement             Post Closed
           Control         R. Stimphil           Movement             Post Closed
           North           L Ware                J5 Overflow          Post Closed
           North           M. Lynch              B.A. Lab             M. Peace
           South           G.   Shl~ey           Maln Control         J, Thomas
           South                                 Main Control         A.mlller                                              Sick Calls
           Rover                                 Outer Control        C. Piotrowski                          Sgt. Brown- cancelled Sot for 3rd shift
                                                 Magnometer           NIA
                                                 Front Desk           H. Cirklc

                    Unit~SGT-1421)                                                                                           OVERTIME
           SERGEANT ~Hu-""be'"'----              Sanitation           R. Craddock                            Brfsonl Fot
           Control  C. Ennis                     Laundry              W.Laird                                R. Sullivan/ Fot
           North    J. Harmon                    Kitchen              H.Cames                                C. Downs/ Fot
           NOrth    M. Forbes                    Kitchen              M. Luttrell                            A. Green/ Fot
           South    C. Stengel                   Kitchen              Post Closed                            J. Hom/ Fot
           South    D. Ramsey                                                                                J. Roehm/ Fot
           Rover                                 Property Sgt.        Post Closed                            J. Burba/ Vot
                                                 Property Ofc.        N. Brauner-Sod                         Y. Neal/Vot
                                                 Property Ofc.        M.Roy
                   Unit 5 (SGT-1521)             Property Ofc.        A. Hutchins
                                                                                                                                                       (
                                                 Property ore.        J. Bradford
           SERGEANT Goff                                                                                                 Hospital Runs
           Control  A. Green- Fat                                                                            Jamie Webb- Rm. 338
           West M-4 D. Santiago                  Gym Ofc 1330         Post Closed                            Dialysis- Joseph Johnson
           West5-8  A. Daniels                   Gym Ofc 1530         Post Closed
           East     A. Helm
           East     T. Warden                    District Court       NIA
           Rover                                 District/Circuit 2   NIA
                                                 Circuit Court        NIA
                                                 Arr. Court           NIA
                  Unit 6 (SGT-1621)                                   NIA

           SERGEANT L. Brison- Fot
           Control        R. Sookal
          West M-4       cOf=c·..:L;;;•::.•---                                      Incidents
          West5-8         R. Sullivan- Fat
          East            Y. Neal-Vet            El# 1345     1740bn;. FireSmok<:DetectedlA!ann (J2W2cell3)
          East                                   El# 1344     1815hrs. Self Abusive Behaviqr/ Suicide Prevention (HS SJ cell 6)
          Rover                                  El# 1347     1900brs. StripSearohlnmate (JI)
                                                 El# 1350     1945hrs. Suicide Attempt/ Contraband/ Strip Search ( J2W WI celt 4)
                                                 El # 1349    ! 930bn;. Combative (HS NI cell I)
                  Unit 7 (SGT-1721)              El #1351     2106hrs. Strip Search Inmate ( Jl)
                                                 El #1355     2245bn;. Contraband ( J212a)
          Sergeant        Closed
          Control         Closed
          Dorms           Closed
          Walk 1          Closed
          Walk2           Closed
          Walk3           Closed
          Rover          ..:C::lo::•;;;•d~---




                                                                                                                                GB003901
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                                           Daily      Filed 05/21/19 Page 422 of 625 PageID #:
                                                  Incidents
                                                1414
                                                                   3/2/2013
 (~.'      Commanderlslon Dutv:
 , (~      Lt. T. Ezell    - -       -


           El #1345 Fire or Smoke Detection I J2. W2 cell 3)
           At 1740hrs. main control advised that the fire alarm was activated. Upon Sgt. Llaguno's arrival to the cell l/m George
           Henderson (578459) was taking a shower and throwing water at the smoke detector. l/m Henderson is classified as pysch
           but was placed into the medical cell due to lack of mental health space. Lt Ezell was notified. Safety officer Bennett was
           notified however, main control was able to reset the alarm system without Ofc. Bennett responding directly. Photos of the
           single cell was forwarded to PSU. Lt. Ezell responded to the scene and resumed normal operations afterthe alarm was
           reset.

          El #1344 Self Abusive Behavior/ Suicide Prevention I H5. S1 cell 6)
          At 1815hrs. l/m Michael Gaddis (569099) informed Ole. Warden that h~ had cut himself on the bars connected to the
          window in his single cell. Sgt. Goff was immediately notified. l/m Gaddis was handcuffed an immediately moved to the
          holding cell at H5 dorm 9. The subject advised Sgt. Goff that he was cutting his arm because he was stressed out due to
          all the noise on the south walk. Nurses Grubbs and Howard arrived and advised that l/m Gaddis was not suicidal therefore
          he was placed into cell 5 inside of H5 dorm 9. Before a picture of his original injury was made l/m Gaddis cut himself agair
          and made a drawing on the wall of his cell with his blood. Mental health was notified and Nurse Price arrived to clean up
          l/m Gaddis' cuts. The nurse noted that the subject had a scratch on the right side of his face and two cuts on his left arm.
          However, Nurse Grubbs called and stated that l/m Gaddis would be moved to J2W on a level one suicide observation. All
          photos were forwarded to PSU. Lt. Ezell was notified of the incident.

          El #1347 Strip Search Inmate I J11
          At 1900hrs. Ole. Graham was searching fresh arrest inmate Joe Toohey (501299) on the grill when a syringe was located
          in the subjects back pocket. The syringe was returned to the arresting LMPD officer who placed added charges on the
          subject. As the frisk search continued Ofc. Graham felt an object in the subjects crotch area. A body scan was conducted
          that revealed an abnormality. Therefore, Sgt. Fugate authorized a strip search of l/m Toohey.
((('      However, no other contraband was recovered. A strip search form was submitted with J1 paperwork. The arresting LMPD
  '       officer was Tapp. No l.D. was given with the report. Lt. Ezell was noti(ied of the incident.

          El# 1350 Suicide Attempt/ Contraband/ Strip Search Inmate I J2w. w1 cell 41
          Al 1945hrs. Sgt. Llaguno was notified by Ofc. Alexander that l/m Charles Clark (539114) had given him a broken razor. As
          Sgt. Llaguno spoke to l/m Clark he advised that a 2nd shift workaide I/in Detrick Davis (575718) gave him the razor that he
          received from l/m Michael Gaddis (569099). At the time l/m Gaddis wi;is'housed in the cell next to l/m Clark. l/m Gaddis
          advised Sgt. Llaguno that he had the broken razor for a couple of months and that he hid it in his shower shoes. l/m
          Gaddis was strip search with no other contraband found on his body. Lim Clark was uncooperative but recieved a pat
          search and a cell search. No other razors were found on the subjects.,
          A review of DVR camera C47J2W1 revealed that the one on one workaides had passed something between both Clark an1
          Gaddis' cell. The other one on one workaides involved were l/m Edwi~ Reichmuth (544147) and James Downing (253098:
          All workaides involved received disciplinary write ups and were removed from the work aide dorm. l/m Gaddis was moved
          to walk 1 cell 4. Lt. Ezell was notified and. responded to the scene of the incident.

         At 2058hrs. it was discovered that l/m Gaddis once again had fresh cuts on his face and arm. Sgt. Llaguno and medical
         was at the scene. The subject advised Sgt Llaguno that he didn't have anything but the cuts indicated that a razor was slil
         unaccounted for. l/m Gaddis was escorted to the body scanner but the scan did not reveal that l/m Gaddis had a razor in
         his possession. 1/m Gaddis was moved to Walk 1 cell 2 where he revealed to Sgt. Llaguno that a razor was hidden in a
         crack at cell #4. The razor segment was found in a wall crack and disposed of outside the security perimeter. Photos of
         the razors were all forwarded to PSU before disposal. Lt. Ezell was notified of the extended incident.

           El # 1349 Combative IH5 North 1 cell 1I
        : At 1930hrs. as sick call was being conducted on the east wing l/m Mahmoud Hindi (577966) became disruptive by telling
        ! Nurse Price that Dr. Easly could take his medication and "shove it up his ass!" Ofc. Warden instructed l/m Hindi to step
          back into his single cell but he refused to comply. Therefore, Ofc. Daniels assisted placing l/m Hindi back into his single
          cell. As the officers assisted l/m Hindi he grabbed at the officers in an ·attempt to resist. Officer Daniels controlled l/m
          Hindi's upper body as Ofc. Warden controlled the lower part of the subjects body in an effort to place him on the ground.
          Ofc. Warden advised that he gave two empty hand strikes to the body in an attempt to control l/m Hindi's actions. Ofc.
          Warden then tried to control the subjects legs and was kicked in the faced. Ofc. Burba arrived at backup and delivered twc
        . knee strikes to l/m Hindi as he refused to follow verbal commands to go to the ground. Once l/m Hindi was controlled to
          the ground he was placed into wrist restraints behind his back and sat up on his bunk inside his single cell. Sgt. Goff and
          Lt. Ezell at the scene as l/m Hindi explained that he was upset with Dr. Easly. Nurse Price entered the cell to assess l/m
          Hindi for injuries. No injuries were noted by Nurse Price.
          After the incident Ofc. Warden reported that he was kicked in the face and had an injured elbow. Nurse Price assessed all
                                                                                                                   GB003902
    Casebackup
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                officers with no major injuries reported. However, Ofc. Warden completed an OSHA form for his injuries. Photos o
        llm Hindi and Ofc. Warden were forwarded to PSU. 1415

           El# 1351 Strip Search· Inmate I J1l
           At 2106hrs. fresh arrest inmate Carolyn Marshall (462346) had an abnormal body scan therefore Sgt. Fugate authorized a
(          strip search of the subject. The strip search was conducted by Officers· Hutchins_ and. Duff but no contraband was found
           during the search. A strip search form was completed and submitted with J1 paperwork.                                    ('
           Lt. Ezell was notified of the incident.

       , El # 1355 Contraband I J2/2al
       · At 2245hrs. Ole. Duff was speaking to Detox inmate Tiffany Browning (347775) wo advised that she kept pills so that she
         could sleep at night. As she was being frisk searched OFc. Duff felt an unidentified object in her bra area. Sgt. Llaguno
         was notified and authorized a strip search of llm Browning. As she was walking into the strip search area a piece of
         newspaper with a pill fell out of her shirt. l/m Browning advised that the pill was her sleeping medication. A small baggie o
         crushed yellow powder was also found in her bra. Sgt. Llaguno verified from medical that l/m Browning is prescribed
         Valium which is yellow in color. Due to the powder substance being cr~shed there was no way to verity its content.
       ! Therefore, l/m Browning was given a write up. The Valium was given to the medical unit for disposal. However, photos of

       , the medication was forwarded to PSU. Lt. Ezell was notified of the incident.




                                                             Hospital runs


(      i   Hospitals- Jamie Webb- Rm. 338
                      Joseph Johnson- Dialysis
                                                                                                                                     l

           X·Module- N/A




                                                                                                            GB003903
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               Floor Security            1st Floor Security
                                                1416
                                                                                                                      Date:         March 2, 2013
                     Unit 2 (SGT-1221)                          Unit 1 (SGT-1121)                                      Day:           Saturday
                                                                       (SGT-1121A)                                   Shift:            1st
          SERGEANT Mumford                       SERGEANT            Broome (BAl                                    Captain Walker-R
<r:;'     Control
          Med/Psych
                         Neal
                         Pinnick
                                                 SERGEANT                                                        Lieutenant Grieser
                                                 Grill               Henderson                                   Lieutenant
          Med/Psych      McKinney                Grill               Frisby                                     Lieutenant Mftchell-R
          Dorms          Kelley                 Passive              Weeks
          Dorms          Welch                  Llvescan             Burba/Shl(!ley                                 Staff Off Duty I Reason
          Medical                                                                                             Sanders - FMLA
          Rover                                 Rear Security        Flo)','.d                                Summers - Sick
                                                Trans(751)          Ayers                                     Berry-FM LA
                     Unit 3 (SGT-1321)          Trans (752)                                                   Brock bank-WI
                                                Clinics                                                       Puente-FMLA
         SERGEANT Allen                         Movement            Morgan
         Control  Freoh                         B.A./Movement                                                 Ernspiker - WI
         North    Davis-Dominy FTO              JS Overflow
         North    Batts                         8.A. Lab
         South    Green                         Main Control        Fowler
         South           Cllne                  Main Control        Prid~en
         Rover                                  Outer Control      Jessie
                                                Magnometer                                                    Sick Calls for Next Shift
                                                Front Desk         Grieser

                     Unit 4(SGT-1421)
         SERGEANT ~A:::ll•:::n'-------         Sanitation
         Control  Kirk-Bradley FTO             Laundry
         North    Hagan                        Kitchen
         North    Bunnell                      Kitchen
         South    Elmore                       Kitchen
         South    B. Moore                                                                                                     Overtime
         Rover                                 Property Sgt.
                                               Property Ole.                                                    Overtime Used· FOT/SOTNOT
                                               PropertyOfc.                                                  "N.::o::;n:::•-----------
                    Unit 5 (SGT-1521)          Property Ofc.      !R:eOzY_ _ _ _ _ __
                                               Property Ofc.      ~R:::a:::uc::;h:,:w:::•:::te::.r_ _ _ __

        SERGEANT"W~h~lt~e'-------
        Control  Roehm
        West     Hom                           Gym Ofc 1330
        West     Johnson                       Gym Ole 1530
        East     Hommrlch
        East    Garrett                        District Court
        Rover                                  Dlstrict/Circuit2 - - - - - - - - -
                                               Circuit Court                                                          Hospital Runs/Clinics
                                               Arr. Court                                                    J. Webb -UofL338-Conner/BullardFTO
                    Unit 6 (SGT-1621)                                                                        Mahmond Hindi - 710 Garri;ttt & Laws


        SERGEANT       White                                                                                 Gary Mirick - ER Elmore
        Control        Walker
        West M-4       Vetter                                                          Incidents
        West 5-8       Muncy                   lnciden # 1366
        East           Scott                   Inciden # 1367
        East           Laws                    Incident #1368
        Rover



                    Unit 7 (SGT-1721)

        SERGEANT"C"'lo"'s~e:;:d   _ _ _ _ __
        Control
        Dorms
        Walk1
        Walk;!
        Walk3
        Rover




                                                                                                                                      GB003904
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                                      1417


                                                        Daily Incidents
(,
                                                        March 3, 2013

 Hospital Runs: Inmate Jamie Webb -Room#338- Officer Scott, Inmate Mahmond Hindi -Room 710- Ofc. Garrett and Ole. Laws
 (2man), Inmate Gary Mirick - ER Ofc. Elmore


 X - Module inmates:         X - module is cleared. Checked at 1442 hours


 Incidents:     At approximately 0818 hours on J2, Sgt. Mumford was informed by Nurse Sloan that lnmae Hlndi Mahmoud, CIN
 #577966 needed to be transport to UofL hospital by Corrections for a possible pneurriothorax. Lt Grieser was notified and due to
 Inmate Hindi's charges he was transported to UofL with Ofc Garret and Ofc Laws escorting. Incident# 1366

 At approximately 0905 hours Sgt. Allen was advised that inmate Mirick, Gary cin#330260 needed to be sent to University of Louisville
 hospital to seek treatment for a rash that covered his body. Inmate Mirick was transported via Corrections and Ole. Elmore was
 escorting officer. Incident# 1367

 At approximately 0701 hours on Jl, Inmate Hylton, Jade #523239 was brought to LMOC from UofL ER by LMPD for processing after
 his arrest with Pre Existing Injuries to his face and head. The Inmate was treated at Uofl ER for his injuries and his release papers
 were given to Nurse Tatum, who also cleared him to continue in the booking process. Inmate states that his injuries were caused by
 the arresting officer. He was arrested by Ofc Grossman with LMPD. Lt Grieser was notified. Pictures were taken and sent to PSU, SR
 Command Staff, and 1st Shift Command Staff. Incident# 1368                                     ·



 Commanders :
 Lt. Grieser




                                                                                                                    GB003905
               FloorCase 3:16-cv-00742-DJH-CHL
                     Security                     Document
                                           1st Floor Security 143-1 Filed 05/21/19 Page 426 of 625 PageID #:
                                                                                    1418            Date:        August 14, 2013
                                                                                                            --=--~~--
               Unit 2 (SGT-1221)                           .!!11!!..1.JSGT-1121 )                   0 ay:     \.Vednesday
                                                                      (SGT-1121A)                  Shilt: ---:2~n""'d-~--
    ,~~fANT Brockbank                        SERGEANT            Huber                            Captain _ _ _ _ _ _ _ __

     r·I
    [1           1-3
                         Wimsatt
                         Ware
                                             SERGEANT
                                            Grill               Morton
                                                                                              Lfautenant""S"."'G"llb"e"'rt'------
     \                                                                                        Lleutenant..;.A..;.. '-Fu"g"a"'te'------
    0011116 4-7          Hutchins           Grill               Knoop                         Lieutenant _ _ _ _ _ _ _ __
    PSYCH                Higdon/Silva       Clinics
    PSYCH                Stengel            Body Scan                                             Staff Off Duty I Reason
    Medical              Tinker             Livescan            Hinton                      O'Bannon- Vac
    Rover                                   Passive             Shipley- VOT                Sgt Redmon- UB
                                            Trans (751)         Sargent                     Lynch- s
               Unit 3 (SGT-1321)            Trans (752)         Mcintosh                    Noland-$
                                            Rear Security       Graham                      Easton-Biv
    SERGEANT Zapata                         Movement                                        Denzik-S
    Control  Weatherington                  Movement
 North                   Santiago           J50verflow          L. Harris- VOT
 North                  Sames               B.A. Uib            Ceja
 South                  Hannon              Main Control        Thomas
 South                  S.Johnson/Rltter    Main Control        C.,Smlth                                 SICK CALL
 Rover                                      Outer Control -     Hamilton                   Garrett- FMLA x1
                                            Magno meter         White
                                            Front Desk          Rogers


               .!!!!!UJSGT-1421)
 SERGEANT ~G:;:i;:;bs:;o"'n_ _ __          Sanitation           Craddock
 Control                Phillips/Smith     Laundry             Laird
 North                  Duff               Kitchen             Luttrell
 North                  D.Skaggs/Sanders   Kitchen                                                          OVERTIME
 South                  Shirley            Kitchen                                         L. Harris-VOT

 c··,
 South                  Ernest
                                           Property Ofc.
                                           Property Ofc.
                                                               Miller
                                                               Sgt. Gantry
                                                                                           Shipley- VOT
                                                                                           G. Hamilton- VOT
                                                                                           Sipes-VOT
    ((                                     Property Ofc.       Dever
           Unit 5 (SGT-1521)               Property Ofc.       Tobin
                                           Property Ofc.       Stachoulas
SERGEANT ~J;::u:..;n•""-----               Property Ofc.
Control   Sipes-VOT
West M-4               . Lamkin            Gym Ofc 1330        Cuna gin
West 5-8                 Bullard           Gym ore 1530        Prebeck
East                     Forbes                                                                        Hospital Runs
East                     Ramsey                                                            Vm Cary Smith U of L 3rd fl #.323
Rover



          Unit 6 (SGT-1621)

SERGEANT June
Control  Hamilton- VOT
WestM-4  Echsner                                                             Incidents
West5-8                Stimphil            See shift summary.
East                   Lucas
East                   Marbray
Rover



          Unit 7 (SGT-1721)

Serqeant
(        \,;                 Closed
D<; (
W~1i.,_
Walk2
Walk3
Rover




                                                                                                                                   GB003906
         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 427 of 625 PageID #:
                                              1419
                                                                         Dailv Incidents
                                                                           08-14-13
                  Commanders on duty
     (            Lt. S. Gilbert
                  Lt. A. Fugate
                                                                                                                                                           (~


                 Hospitals
                  l/m Cary Smith U of L 3rd fl #323 (Ole. Weatherington)(returned this shift)

                 Bodv Camera assignments
               Sgt. Huber-Jl- Ok Hinton
               Sgt. Brockbank- J2/J2W- Ole. Ware
               Sgt. Zapata- J3- Ole. S. Johnson
             ' Sgt. Gibson- J4- Ole. Duff
               Sgt. June- HS- Ole. Ramsey
               Sgt. June- H6- Ole. Echsner

                 Perimeter checks
                 Sgt. Brockbank- 1930 (no issues to report)
                 Sgt. Gibson- 2215 (no issues to report)
                 Sgt. Zapata- 2130 (no issues to report)
                 Sgt. Huber- 2100 (no Issues to report)
                 Sgt. June- unable to conduct one due to the high activity on HS nad H6



             1   Incident #49651- Medical- J2
             On 8/14/13 at approximately 1508 hours Sgt. Brockbank was arriving on J2 and was advised by officers that during count, in J2 lA,
             inmate Willaims, Tara (cin#560170) was having a seizure and medical was already on scene. All inmates were removed from the
    (    1
         ' dorm and escorted to central hold. Nurse Brewer and Nurse Schinler were treating inmate Willi.ams. Inmate Williams was laying in
             the bathroom area with blankets under her head. After this episode, Inmate Wiiiiams was cleared by medical to remain in the dorm.
          , This inmate was assisted by officers to the bunk area and placed in her bunk. Inmate Williams will be moved to J2 dorm 2A per
           . medical. Sgt. Brockbank was advised that medical will continue to follow up on l/m Williams condition. Lt. Gilbert was notified.

                 Incident #49652- Disruptive- J4
                 On 08/14/2013 at around 1650 Sgt Gibson was called to J4 Central Hold. When Sgt. Gibson arrived, Officers had Inmate Hindi,
                 Mahmoud (#577966) in handcuffs on the ground restraining this inmate. Officer Ernest advised that Inmate Hindi had been removed
                 from his cell due to l/m Hindi having a visit in the multi purpose room with family members. Once inmate Hindi was removed from
                 the cell, Officer Ernest advised l/m Hindi to shut the cell door since this inmate was going to the visit. Inmate Hindi became verbally
                 disruptive with Officer Ernest saying "you're stupid" and "I'm not shutting my door". Officer Ernest began escorting l/m Hindi out of
                 the dorm down to the visiting booths and due to Inmate Hindi continuing to be yerbally disruptive, Officer Ernest placed this inmate
                 into handcuffs. Officer Ernest decided to place the inmate into Central Hold until Sgt Gibson could arrive to determine if Inmate
             1
                 Hindis visit should be cancelled due to the verbal disruption that this inmate wa·s causing. Officer Ernest gave inmate Hindi verbal
                 directions to sit down to which l/m Hindi was refusing to do. Officer Ernest advised that after the second attempt to sit this inmate
                 down, Inmate Hindi began jerking his arms around and Ole. Ernest felt that Inmate Hindi was attempting to turn around on this
                 officer so Ole. Ernest performed a leg sweep and took the inmate down to the ground. Once on the ground, Officer Shirley assisted
                 with controlling the inmate's body while this inmate was on the ground. Once Sgt Gibson arrived, Inmate Hindi began informing Sgt.
                 Gibson that the black Officers help out the black inmates on hour outs and that the white Officers help out the black inmates on hour
                 outs and that since this inmate was a foreigner, none of the Officers would do anything for this inmate. l/m Hindi advised Sgt Gibson
                 that yesterday l/m Hindi had an issue with Officer Ernest not giving this inmate several hours out of his cell and l/m Hindi tried to talk
                 to Ofc. Ernest about it but Officer Ernest would not speak to l/m Hindi about it, so that is why l/m Hindi called Ole. Ernest stupid.
                 Inmate Hindi advised that Ole. Ernest beat this inmate up and put his knee on his neck. When Sgt Gibson arrived, Officer Ernest
                 knee's were across l/m Hindi's shoulders controlling the upper body. Sgt Gibson explained to inmate Hindi that Inmates were only
                 allowed one hour out of their cell and if the floor Officers decided to give any extra time out that it was a bonus. Inmate Hindi then
                 relayed that this inmate had received 2 hours out of his cell last night. Sgt Gibson asked Inmate Hindi why this inmate was attempting
I                to turn around on Officer Ernest when this officer was attempting to sit l/m Hindi down and this inmate stated" this officer was
'·               beating me and that's why I resisted". Inmate Hindi was assessed by medical Nurse Griffith. l/m Hindi complained of pain to his ribs,
                 neck, wrist, knees and chest. Photos were taken of the inmate and will be forwarded to Senior Staff, PSU and 2"' shift command staff. \ __ ./
                 Lt Gilbert was notified of the incident. Inmate Hindi was moved back to J4 Dorm 7 Cell 7 and Sgt Gibson continued to explain to
                 inmate Hindi that hour outs were only an hour. After getting verbal complianceto remain calm and stay seated, Sgt Gibson removed
                 the handcuffs and all Officers exited the cell.

                                                                                                                                 GB003907
                  -----------· ----- ---·r- ---·-·· p-
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                  At approx. 170Shrs. A strip search was conducted on J3, per policy, following a contact visit between J/m Clyde Williams Jr. and his
                                                                                   1420
                  attorney. Inmate 'Williams, Clyde Jr. was placed in an attorney booth by Officer!Barnes where the speaker was not functioning and
                  the paper pass slot was open so that they could hear each other and due to the1other attorney booth already being utilized. Strip
                  Search was condu.cted by Officer Barnes and Officer Santiago in the Multi Purpqse Room. No contraband was located. Attorney
      (("~     '1 booth was placed out of order and an email was sent to Maintenance. Strip search form was completed and placed with the shift
                  paperwork. Shift Commander was notified. Sgt. Zapata is the reporting sergeant.

                 Incident #49654-Sucide prevention- Jl
                 On 8/14/13 at approximately 16SO hours Sgt. Brockbank was advised by Ole. St¢ngel that inmate Hendricks, Kurtis ( cin# S49160)
                 who was housed in J2W OBS 2 had tied a sheet around his own neck and asked the other inmates in the dorm to pull on the sheet.
                 Inmate Hendricks was secured in wrist restraints and removed from the dorm ahd placed into a single cell. When Sgt. Brockbank
                 spoke with inmate Hendricks as t,o why this Inmate had a sheet around his own ~eek, l/m Hendricks advised he wanted a scarf. When
                 Sgt. Brockbank inquired why l/m Hendricks asked other inmates to pull on it l/rr\ Hendricks just stared at Sgt. Brocknak and was
                 silent. Mental health nurse Price spoke with inmate Hendricks and it was deterrjlined based on this inm·ate's actions that inmate
                 Hendricks be placed on level one observation. Inmate Hendricks was escorted to J2W walk 1 cell 6 placed in a suicide paper gown
                 with a watcher. Inmate Hendrick's property was collected and taken to the property room by Ole. Higdon. Lt. Gilbert was notified and
                 pictures were taken and forwarded on to senior command staff, second shift cQmmand staff and PSU.

                 Incident #49657- Combative- HS
                 On the date of 8"14-2013 at 1820 hrs, Sgt. June was notified by Ofc. Bullard that! l/m Pearon, Antonie cin-431674
                                                                                                                              '
                                                                                                                                        (HSE N1#6) was
                 exposing himself to Ofc. Bullard (showing her his penis). Sgt. June explained to <;lfc. Bullard to eliminate this problem move Pearson
                 to HSE N2#1. This was being done, due to H5E N1#6 is located next to the offic~r's station. Ole. Bullard came and told Sgt. June a few
                 minutes later that l/m Pearson was refusing to move to a different cell. Sgt. Jun~ went over the cell and explained to l/m Pearson
                that l/m Pearson was moving to another cell because of this inmate's actions. l/m Pearson stated that he wasn't moving anywhere.
                Sgt. June then advisedl/m Pearson to stand up and "place your hands behind your back." l/m Pearson replied "I'm not moving" and
                refused to comply with Sgt. June's instructions. Sgt. June grabbed l/m Pearson's' left wrist and started to place it behind this inmate's
                back. l/m Pearson stated to Sgt. June "get your hands off me" and started to pull away. Sgt. June placed l/m Pearson against the wall,
                J/m Pearson then started to pull away from Sgt. June and wouldn't comply with•Sgt. June's instructions to stop resisting. Sgt. June
                applied multiple hard hand strikes to the I/m's upper body and face area to gai~ compliance. l/m Pearson still refused to comply with
                instructions. Sgt. June then placed l/m Pearson on the floor for the safety of both the inmate and Sgt. June. Ofc. Bullard placed l/m
    ( . .. I    Pearson's right hand into a hand restraint, but l/m Pearson still refused to comply with Sgt. June's instructions to stop resisting. Sgt.
     '((        June then exposed l/m Pearson to a short burst of QC to this inmate's facial are~. Ofc. Ramsey arrived and J/m Pearson's hand were
                placed behind this inmate's back. l/m Pearson was then helped to his feet and escorted to the bull pen. l/mPearson was seen by
                medical (Nurse Berterum). I/m's face area/eyes were cleaned by Nurse Berteruin. l/m had no visual injuries. Pictures were taken and
                sent to PSU. OC form was filled out and turned in with my shift report. l/m was fnoved to HSE N2#1 without any further incident.
                Write up completed on J/m. Body camera (HS) was used during the incident. Lt.. Gilbert was notified.

                Incident #49658- Area search (SORT)- H6
                On 08/17/2013 at around 18SO hours, Lt Gilbert activated the SORT team to conduct a show of force in HG Dorm 1 due to action.s of
                the dorm over the past couple of days (threathening officers, assaulting inmates, throwing items out of the food slot and attempting
                intimidate officers). I activated the following Officers;Ofc Ware EQV, Ofc. Steng~I Stingbal, Ofc S.Johnson, Ofc.D.Skaggs, Ole Ernest,
                Ofc Forbes, Ofc Marbrey Stengel, Ofc Prebeck Less Lethal shotgun, Ofc Mcintosh, Dfc Sargent, Ofc Dever, Sgt Gibson PepperBall, Sgt
                Huber PepperBall. Major Ashby had authorized the use of the less lethal shotg~n and stingball grenades if needed. Entry was made
                into the dorm and verbal commands were given for every inmate to get on the @:round face down and place their hands on top of
                their head. Once this was completed, every inmate was placed into flex cuffs a~d moved out one by one out to the hallway where
                they were placed In a sitting position facing the wall. The dorm was searched. Inmate Truss, William (#S65292) was complaining of
                chest pains so this inmate was moved away from eveyone else, the flex cuffs w~re removed and Nurse Griffith assessed this inmate.
                All other inmates were brought back to the dorm 1 at a time, the flex cuffs were removed and they were placed face down on their
                bunks. Once every inmate was back in the dorm, the team exited and debriefed on JS Gym. Lt Gilbert was present for the activation.

               Incident #49659-Strlp search-J4
               Inmate Hindi, Mahmoud (#577966) was strip searched by Officer Skaggs and training Officer G. Sanders and J. Ritter. The strip search
               was conducted in the Search room on J4 immediately following an approved contact attorney visit. No contraband was found. Lt
               Gilbert was notified. Strip search form was completed and turned in with the shift's paperwork. Sgt. Gibson is the reporting
               sergeant.


l              •ncident #49660- Indecent Exposure- Hl
\(              JN WEDNESDAY AUGUST 14 WHILE CHRIS LONNON WAS CONDUCTING HIS NIGHTLY VISITATION CHECK. CHRIS LONNON OBSERVED
  "            VISITOR LISA BOLIN WITH HER SHIRT LIFTED UP FLASHING INMATE GEORGE GREER IN THE KITCHEN VISITING AREA. CHRIS LONNON
           !   WENT TO HIP AND TOLD DFC. DOANE SHE WAS NEEDED JN THE VISITATION AREA IN THE KITCHEN DUE TOA VISITOR EXPOSING
               HERSELF. WHEN VISITOR LISA BOLIN WAS ASKED IF THIS VISITOR WAS FLASHING, MS. BOLIN SAID "YES, l/M GREER TOLD ME THAT IT
               WAS OK BECAUSE WE WOULD NOT GET CAUGHl". WHEN TALKING TO VISITOR BOLIN, THIS VISITOR KEPT REPEATING THAT SHE DID
               NOT MEAN ANYTHING SHE JUST DID NOT THINK SHE WOULD GET CAUGHT". MS. BOLIN VISITATION PRIVILEGES HAS BEEN
                                                                                                                                       GB003908
         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 429 of 625 PageID #:
         Floor Security                          1421
                                   1st Floor Security
                                                                                      Oate: _-'A'-'u"g"u~st:..;1;.:6",2"0"1~3_ _
            Unit 2 (SGT-1221)                      Unit 1 (SGT-1121)                   Day·                Friday
                                                          (SGT-1121A)                Shlfl;---2~n""d?'---
    ('-~EANT Brockbank               SERGEANT             Huber                     Captaln _ _ _ _ _ _ _ __
            jJ    Duff               SERGEANT                                    Lieutenant S. Gilbert
                                                                                               --~-----
    Dorms 1-3
    Dorms 4-7
                  Arnold
                  Mc Holan
                                     Grill
                                     Grill
                                                       Easton
                                                       James
                                                                                 Lieutenant
                                                                                               ---------
                                                                                 LI eu tenant _ _ _ _ _ _ _ __
    PSYCH         Lee                Clinics
    PSYCH         Higdon/Sliva       Body Scan                                      Staff Off Duty I Reason
    Med lea I     Reed               Live scan         Ennis Jr.               Noland- S
    Rover                            Passive           Graham                  Warden-Vee
                                     Trans (751)       Hinton                  Ennis 111-Vac
            Unit 3 (SGT-1321)        Trans (752)       Sargent                 Piotrowski- Vac
                                     Rear Security     Rogers                  Sgt. Gibson- SD
    SERGEANT Redmon                  Movement                                  Sgt Goff-WI
    Control       Bullard            Movement
    North         Harmon             J5 Overflow       Poll
    North         Ba mes             B.A. Lab          Ceja
    South         Sookal             Main Control      C. Smith
    South         Santiago           Main Control      Hamilton                                SICK CALL
    Rover                            Outer Control     L. Harris
                                     Magnometer        White
                                     Front Desk        Cirklc

    Unit 4(SGT-1421)
SERGEANT "R°"e"d"m"o"n_ _ __         Sanitation        Craddock
Control           Woods-VOT          Laundry           Laird
North             D.Skaggs/Sanders   Kitchen           Luttrell
North             Simmons            Kitchen           Carnes                                  OVERTIME
South             Forbes             Kitchen                                   L. Harris-VOT
~Q_~th            Echsner                                                      Stinson-VDT
(                                    Property Ofc.     Miller                  Woods-VDT
                                     Property Ofc.    Bradford                 Warner-SOT

          Unit 5 (SGT-1521)
                                     Property Ofc.    Dever                                                                        (
                                     Property Ofc.    Clark
                                     Property Ofc.
SERGEANT Llaguno                     Property Ofc.
Control          Stinson-VOT
WeslM-4          Lamkin              Gym Ofc 1330     Cunagln
West5-8          Taylor              Gym Ofc 1530     Prebeck
East             Lynch                                                                     Hospital Runs
East             R.Skaggs
Rover



          Unit 6 (SGT-1621)

SERGEANT Zapata
Control          Warner-SOT
WestM-4          Ferguson                                          Incidents
West5-8          Stlmphil            See shift summary.
East             Wimsatt
East             Lucas/Smith
Rover




         Unlt7 (SGT-1721)

$pr11eant
(       ,''I             Closed
tiurffls
Walk 1
Walk2
Walk3
Rover


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                   Case 3:16-cv-00742-DJH-CHL Document 1nc1aents
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           Ii                                           1422
                                                    08-16-13
          . i Comm~nders on dutv
     ( . '>: Lt. S. Gilbert
      r·- .
      '
                Hospitals

                Body Camera assignments
            Sgt.   Huber-Jl- Ofc. James
            Sgt.   Brockbank· J2/J2W- Ofc. Lee
            Sgt.   Redmon- J3- Ofc. Barnes
            Sgt.   Redmon- J4- Ofc. Simmons
            Sgt.   Llaguno- HS· Ofc. Lynch
            Sgt.   Zapata- HG- Ofc. Lucas

            Perimeter checks
            Sgt. Brockbank-1900 (no issues to report)
            Sgt. Llaguno-1G22 (no issues to report)
            Sgt. Zapata· 1750 (no issues to report)
            Sgt. Huber-1G50 (no issues to report)
            Sgt. Redmon- 2030 (no issues to report)



            Incident #49715- Strip search- H6
            At approx. 1539hrs. Sgt. M Zapata authorized a strip search of inmate Baker, Eugene# 480431. Strip Search was conducted per policy
            following a pre approved visit with Dr. Wagner. Officer Ferguson and Officer Stimphil conducted the strip search. No contraband was
            located. Inmate was then transported back to his housing location of HG Dorm 7 with no incident. Strip Search form was completed
            and placed with the shift paperwork. Shift Commander notified.
 (
     ((     ncident #49714- Sucide prevention- J4
      '     ON 08/16/13 around 1530 M\H Professional Kibibi spoke with l\M Mahmoud Hindi (CIN#577966), who was housed on J4-7-C8, and
            placed this inmate on a level two observations for having thought of not wanting to live, and l/m Hindi was moved to J2W-W1-C6.
            The personal belongs of l\M Hindi was taking to the Jl property room by Ofc Skaggs. l\M Hindi was approved by Health Service
            Administrator Zellars to keep his wrist watch, Koran, and his prayer rug. Lt Gilbert was advised.

            Incident #49716- Strip search- J4
           ON 08/16/2013 around 1625 l\M George Wade (CIN#455046), who is housed on J4-4B, had completed an approved contact visit with
           Jennifer Porter, and Amy Hannah of the Public Defender's office. A strip search Was completed by Officers Echsner, and Simmons,
           and no contraband was recovered. A strip search report was completed, and placed into the shift paper work. Lt Gilbert was advised.
           Sgt. Redmon is the reporting Sergeant.

           Incident #49720- Booking deferral- J1
           On 8/16/13 approximately 1734hrs, Sgt T. Huber was advised that Shively PD had a fresh arrest inmate that was going to be
           medically deferred to the hospital by Nurse Glenn. The prisoner was identified as Greene, George (343685). The prisoner was
           deferred at this time because this prisoner was given a BA test that registered .348 prior to entering the facility. Mr. Greene was
           arrested by (SPD) Officer Eisen back #7104 and charged with Al and bench warrants. A copy of the booking deferral paperwork will be
           attached to shift paperwork. Lt Gilbert notified.

           At approximately 2015hrs, Sgt T. Huber was advised that inmate Greene, George (343685) had returned to the facility from
           University Hospital. The inmate was deferred earlier in the shift. The booking floor medical staff was advised and was given the
           hospital paperwork. Shift command was notified.

           Incident #49723-Assaulting another inmate- JZ                                                                 .
         On 8/16/13 at approximately 2115 hours Sgt. Brockbank was alerted to a fight that occurred on J:i Dorm lB. When Sgt. Brockbank
(.       arrived at 18 Ofc. Arnold was escorting inmate Moss, Pamela cin# 534879 out of 1B. Inmate Moss had visible scratches on her neck
  (•      nd hands. At first inmate Moss was reluctant to inform Sgt. Brockbank who this inmate was in an altercation with but while Nurse
   ~'.. .Jrif ft h was assessing her. l/m Moss advised that inmate Lainhart, Tristan. cin# 523994 had ran up on her and started the assault and
       1 that Moss had just defended herself. Officers had entered 1B and had all inmates assigned there stand against the wall for a check of
       1 hands to determine who the other assailant was. About half way through inmate Lainhart raised her hand and admitted to the

       , assault. Both inmates where made keeps froms and inmate Lainhart was issued disciplinary and moved to dorm SB due to no single
         cells space being available. After speaking with the dorm and getting the story of what happened it was determined that inmate

                                                                                                                                GB003910
     Moss 3:16-cv-00742-DJH-CHL
    Case    could remain in lB as she was the v1ct1m. Lt. l:iHDert was
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                                                                   143-1      ana p1cl:ures
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     staff, second shift command staff and PSU.                     1423

      Incident #49722-Strlp search- J4
(     On 08/16/2013 around 1630 l\M Thomas Johnson (CIN#349969), who is housed on J4-6B, had completed a contact visit with the DRC
      program. A strip search was completed by Officers Echsner, and Simmons, and no contraband was recovered. A strip search report                  r\
      was completed, and placed into the shift paper work. Lt Gilbert was advised. Sgt Redmon is the reporting Sergeant.                              I ·

      Incident #49724- Booking deferral-Ji '
      On 8/16/13approximately1830hrs, Sgt T. Huber was advised that LMPD had a fresh arrest inmate that was going to be medically
      deferred to the hospital by Nurse Glenn. The prisoner was identified as Lewis, James (2436S5). The prisoner was deferred at this
      time because he was given a BA test that registered .363 prior to entering the facility. Mr. Lewis was arrested by (LMPD) Officer M.
      Williams and charged with bench warrants. A copy of the booking deferral paperwork will be attached to shift paperwork. Lt Gilbert
      notified.

      At approximately 2145hrs, Sgt T. Huber was advised that inmate Lewis, James (243655) had returned to the facility from University
      Hospital. The inmate was deferred earlier in the shift. The booking floor medical staff was advised and was given the hospital
      paperwork. Shift command was notified.



      Incident #49725- Assaulting another Inmate- 12
     On 8/16/13 at approximately 1930 hours Sgt. Brockbank was informed by Ole. Mcholan that inmate Rucker, Seirra cin# 529085 had
     become disruptive on l/m Ruckers hour out and thrown urine and feces on inmate Snows, Sheila cin# 475827 cell door. lnmat.e
     Rucker told Ole. Mcholan that this inmate struck inmate Rhyne, Marie cin# 409084 in the back of the neck (who was a one on one
     work aide). Work aides were already cleaning the cell area and day room. Sgt. Brockbank contacted main control to view the DVR for
     that time period Sgt. Brockbank was given and nothing was captured on video. Inmate Rhyne said yes she was hit by inmate Rucker.
     Inmate Rhyne was examined by Nurse Griffith and pictures were taken. Lt. Gilbert was notified, pictures were taken and forwarded
     to senior command staff, second shift command staff and PSU.




                                                                                                                            GB003911
                     Floor
                       CaseSecurity                Booking Floor
                             3:16-cv-00742-DJH-CHL Document  143-1 Filed 05/21/19 1st
                                                                                  PageShift
                                                                                        432 NJC
                                                                                              of 625 PageID #:
                                                                                   1424           Date: ---=2"-1-""A"'ug        ..·"13"---
                     Unit 2 (SGT-1221)                Y!!!!.L(SGT-1121)                           Day: _ ___,W:.;•;.;;d;:;n.::;••::.:d:.;a._y_ __
                                                               (SGT-1121A)
      -t~ "EANT Semones I Hale                 SERGEANT     Mccubbins                          Captain _ _ _ _ _ _ __
       (   '    ===~="'"----
       r~·      Brison                         SERGEANT     Puente                          Lleutenant"A""n"'g"'el""in'-1- - - - - -
     D~,     .3 C.onner J Heath                Grill        Sacra                           Lleutenant~N~o'-m'-·,~-----­
    Dorms 4-7           Kelley                 Grill               Brown                    Lieutenant
                                                                                            LIeutenant
                                                                                                         --------
    PSYCH
    PSYCH
                        Wiggins
                        Kirk I Lloyd
                                               Transportation
                                               Live scan
                                                                   Smith
                                                                   Amo Id
                                                                                                         --------
    Rover               Woods                 Passive              Floyd                        Staff Off Duty I Reason
                        Whidby                Movement             Scott                  Downs-BRV
                                              Movement             Ayers                  Mfller-FML
                    Unit 3 (SGT-1321)         J5 Court holds       Morgan                 Bunnell-V
                                              Transportation       Grieser                Dors~y-V

    SERGEANT _,W"h"llo:•-------               Rear Security        Walker                 Vetter-V
    Control             Stimphil              Clinics              Ledrick                Hommrich-S
    North               Davis/ !ankle         B.A.Lab              Benner                 Emspiker-V
    North               StinSon               B.A. Lab                                    Jones- NOP
    South               Cline                 Magnotometer        Johnson                 Weekes- FML
    South               Hom back              Main Control        Jessie                  Shipl13y - BRV
    Rover                                     Maln Control        Reese                   Alexander - V
                                              Outer Control       Dugan                   Fowler-V
                                              Front Desk          Woolen                  Weatherly-S
                    Unit4 (SGT-1421)
    SERGEANT -'"Al"'l"'en"'--~----            Sanitation
    Control            Sullivan               Laundry             Privette
    North              Hagan                  Kitchen
    North              Wvtie                  Kitchen
    South              Frech                  Kitchen                                     Overtime
    South              B. Moore                                                           Amold-VOT


    \()
    R•


           \
                '                            Property Ofc.
                                             Property Ole,
                                             Property Ofc.
                                                                  Geracitano
                                                                  Spinks
                                                                  Pase
                                                                                          Scott· VOT
                                                                                          Stimphii-VOT
                                                                                          Lloyd· VOT
                    Unit 5 (SGT-1521)        Property Ofc.                                Anthony- VOT
                                             Property Ofc.                                Bumphus - VOT
SERGEANT _,D'-'eJ=•m=ette=-----
Control                -'W~•~m~•~'-------     District Court      Mason
West M-4               Johnson               District I Circuit   l;ienderson
                       ~=~-----              Circuit Court
West 5-8               Sanders                                    Mana rum
East                   McCullough I Meyers   Arraignment          Hanis
East                   ·Garrett I Hammons                                                     Next Shift Sick/Absent
Rover
                                                  Hospital                      None
                    Unit 6 (SGT-1621)

SERGEANT Thomas
Control                Lloyd
West M-4               Kutchenbrod           Shift Activity:
West 5-8               Ernspiker             See shift summary for Incidents
East                   Young
East                   Anthony
Rover

                    Unit 7 (SGT-1721)

SERGEANT
:ontroI
                      --------
                         Bumphus
)orms
I              ~1
\.._                              M. Moore
     rr
IV~r.'"-·                         Williams




                                                                                                                                 GB003912
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                                             Daily  Incidents
                                                 1425


    (        Commanders on Duty:
             Lt. Angelini
             Lt. Norris

             Incidents:
             At around 1105 hours on J2W, Sergeant Hale was informed by Officer Wiggins that during an in-cell of
             Inmate Mahmoud Hindi's cell (Walk 1 Cell 6), he became disruptive over items that were being
             removed from his cell. Inmate Hindi had hygiene items and an ink pen in his cell that were not allowed
             due to him being on Level 2 Suicide Observation. inmate Hind.i attempted to push Officer Wiggins out
             of the way and grab the items before Officer Wiggins could remove them. Officer Wiggins then
             grabbed Inmate Hindi by his jumpsuit, pushed him onto his bunk and instructed him to remain on his
             bunk until the cell search was completed. Inmate Hindi complied with the instructions without further
             incident. Nurse Cheatham as.sessed him for injuries. Photos were taken and forwarded to PSU and
             Shift Command. Lieutenant Norris was notified. Incident# 49.822.

             At around 1210 hours on J2W, Sergeant Hale was notified by Nurse Slider that Inmate Marcus Greene
             needed to be transported to University of Louisville Hospital via EMS due to having chest pains and an
             irregular EKG. Inmate Greene was transported to University of Louisville Hospital at 1230 hours via
             EMS with Officer Ledrick and Officer McCullough escorting. ($1,000,000.00 Bond). Lieutenant Norris
             was notified. Incident# 49823.

(       . At around 1300 hours on Jl, Sergeant Mccubbins was notified by Sharonda Simmons in Records that
        I
        : Inmate Dawnelia Johnson was a juvenile. Ms. Simmons advised that Inmate Johnson's aunt called
        : stating that she only sixteen years old, but she could not provide a birth certificate. She did state that
        : she had a juvenile record. A check with JCVC then confirmed her date of birth of 8/28/96, making her
        : 17 years old. Inmate Johnson was then seperated from other inmates. Inmate Johnson then advised
        i that another inmate in the dorm was also a juvenile. Inmate Ashley Stokes had been arrested with
          Inmate Johnson and was lS years old. Inmate Stokes was seperated from other inmates as well. JCYC
          confirmed her date of birth as S/5/98. Ms. Simmons was advised of the additional juvenile in custody.
          Lieutenant Angelini was notified. Paperwork was filled out and both inmates were transported to
        ~ JCVC. Incident # 49824.


        ' Perimeter checks:
        i Angelini - 1222 hours

        , Allen - 1300 hours
        : Thomas - 1325 hours
        '



        · Hospital:
        . Marcus Greene (2 Man Due to Bond Amount) - Sent to University of Louisville E.R. @ 1230 hours.

    , Body Cameras:
l   ' J4- Hagan
 '- , H3 - Moore
    ' H6 - Ernspiker




                                                                                                 GB003913
              r1oorCase  3:16-cv-00742-DJH-CHL
                   ;:iecurn~                      Document
                                           1st Floor Security 143-1 Filed 05/21/19 Page 434 of 625 PageID #:
                                                                                     1426            Date:         October 19, 2013
              .!l!:!!!.£.(SGT-1221 )                       Unit 1 (SGT-1121)                            Day:          Saturday
                                                                  (SGT-1121A)                      Shift:            2nd
 '(~'fAHT Brookbank                          SERGEANT            Eason                            Captain
 ~1,::--_·I Lee                              SERGEANT                                          Lieutenant S. Gilbert
 D\             ·3    Tinker                 Grill              Polly                          Lieutenant
 001 ...... 4-7       Ware                  Grill               Ennis Jr.                      Lieutenant
 PSYCH                Reed_                 Clinics
 PSYCH                Allen                 Body Scan                                             Staff Off Duty I Reason
 Medical              Ferguson              Lives can           Mason-SOT                    Amold·V                Barnes-SOD
Rover                                       Passive             Harris-SOT                   Stengel-V
                                            Trans (751)         James                        Wimsatt-V
              Unit 3 (SGT-1321)             Trans (752)         Sargent                      Pendleton- V
                                            Rear Security       Vanover                      Knooe-V
SERGEANT June-SOD                           Movement                                         Morton-V
Control               Phimes                Movement                                         Cirkic-V
North                 Ramey                 JS Overflow                                      Bradford-V
North                 Silva                 B.A. Lab            D.Skaggs                    Tflomas-S
South                 Sookal                Main Control        Hamilton                    Sgt. Semones- SOD
South                 Warden                Main control        Jesse- FOT                                     SICK CALL
Rover                                       Outer Control       C. Warden
                                            Magnometer
                                            Front Desk          M. Roy/McCrary.SOT


           Unit 4(SGT-1421)
SERGEANT "G~i~bs~o~"----                   Sanitation           Craddock
Control               Cline- SOD           Laundry
North                _C~y_.S_m_llh_ _ __   Kitchen            Carnes
North                ~F-'o"rb"'e"s_ _ __   Kitchen            Luttrell                                         OVERTIME
South                 O'Bannon             Kitchen            Alexander                     Jesse-FOT
South                Duff                                                                   Mason-SOT

(,•·";.   ~
                     Shirley               Property Ofc.      Miller                        Harris-SOT
                                           Property Ofc.      Graham                        Mccrary- SOT
  '((                                      Property Ofc.      R. Clark                      Sgt. Summers- VOT
       ' unit 5 (SGT-1521)                 Property Ofc.
                                           Property Ofc.
SERGEANT Hom back                          Property Ofc.
Control              Bullard
NestM-4              Ramsey                Gym Ofc 1330
Nest5-8              Taylor                Gym Ofc 1530
::ast                R.Skaggs                                                                            Hospital Runs
::ast                Sanders                                                                l/m James Christie Uofl 75#736
~over




          Unit 6 (SGT-1621)

IERGEANT . Summers- VOT
:ontrol              Stimphil
VestM-4              Ennis Ill                                               Incidents
Vest 5-8             McHolan               See shift summary.
:est                 Simmons
·ast                 A. Smith
:over                Cooper



        Unit 7 (SGT-1721)




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                                                Daily Incidents
                                                   1427
                                                                                  10-19-13
                        Commanders on dutv
      (                 Lt. S. Gilbert

                        Hospitals
                        l/m James Christie U of L 7S #736- Ole. Ritter

                        Bodv Camera assignments
                        Sgt. Eason-Jl- Ole. Ennis Jr.
                        Sgt. Brockbank-J2/J2W- Ole. Ware and Ole. Reed
                        Sgt. June- J3- Ole. Sookal
                        Sgt. Gibson- J4- Ole. Duff.
                        Sgt. Hornback- HS- Ole. Taylor
                        Sgt. Summers- HG- Ole. Simmons

                       Perimeter checks
                       Sgt. Eason- 2000(no issues to report)
                       Sgt. Gibson- 2113(no issues to report)
                       Sgt. Summers-1955(no issues to report)
                                                                                                                                                              I
                       Sgt. June- l 74S(no issues to report)
                       Sgt. Hornback- unable to conduct one due to incident and traffic on HS
                                                                                                                                                              I
                       Sgt. Brockbank-1815(no issues to report)




                   Incident #51051- Hospital, inmate transported- HS
                                                                                                                                                              I
                                                                                                                                                              I
                                                                                                                                                              I

                   At 1559, 10-19-2013. I Sgt. C. Hornback #333, observed Officer D. Ramsey run into the control room. Ole. Ramsey grabbed the knife
                   for life, reported that inmate Hindi, Mahmoud cin#00577966, who is housed on HOJ 5-East North One ceil#3, was trying to hurt his           I
              \ self and was hanging from the cell bars. Sgt. Hornback and Ole. D. Ramsey immediately responded to inmate Hindi's cell. Sgt.
 (                 Hornback contacted Lt. Gilbert by radio to report the incident and to respond. Upon arrival at 1600 Sgt. Hornback observed inmate
                   I
                   Hindi lying on his back with his head towards the cell door, with Ole. G. Sanders and Ole. R. Skaggs checking inmate Hindi for signs of    I(
                   I
                   life and attempting to revive him. The knife for life was not used because l/m Hindi had already been removed from the sheet that he
                I used to make a homemade noose. It was still attached to the bars. Nurse A. Malone was on the floor at the time. Sgt. Hornback               I
                   advised control to have medical to respond. Sgt. Hornback then ran back to the control room and had Nurse Malone respond to the
                I scene    and advised Ole. Bullard in control to call for additional medical personnel to respond. Sgt. Hornback then returned to the
                  scene with Nurse Malone. Nurse Malone checked inmate Hindi for signs of life and we began CPR. At 1600, Sgt. Hornback advised
                                                                                                                                                              I
                  main control by radio to start EMS and for additional medical staff to respond. Nurse Malone was on chest compressions and Sgt.
                I Hornback assisted with the Ambu-Bag. Inmate Hindi was showing no signs of recovery, Sgt. Hornback again advised control by radio
                  to advise EMS to step it up and respond code three. Additional medical and sworn staff responded along with shift commander Lt.
                  Gilbert. Officer G. Sanders, Ole. R. Skaggs, Ole. D. Ramsey, Ole. M. Forbes, Sgt. D. Gibson, Sgt. P. Summers, Nurse A. Malone and Sgt.
                  C. Hornback ail assisted in applying CPR to inmate Hindi. At 1605, The Louisville Fire Department Unit arrived arid began to access
                                                                                                                                                              I
                  inmate Hindi. At 1608, The Louisville Fire/EMS Unit arrived and continued care for inmate Hindi and used the AED. CPR continued
                  during the entire incident. At 1624, Inmate Hindi was escorted by stretcher to the old HOJ sally port entrance on Liberty Street. l/m
                  Hindi was secured in a security set and escorted to the University Hospital by Sgt. D. Gibson, Ole. A. James and Ole. R. Stimphil. EMS
                  departed at 1630. Sgt. Hornback was advised by radio from the transporting officers that Inmate Hindi arrived at room nine in
                  University Hospital at 1639. At 1645; Sgt. Hornback was advised by Lt. Giibert that Inmate Hindi was declared deceased by the
                  University ER doctor. During the incident. Officer T. Warden escorted the Louisville Fire/EMS Units into the facility. Ole. M. Cooper,
                  Ole. M. Bullard and Sgt. C. Hornback kept a record of response times and traffic in and out of the incident area. Ole. R. Taylor was
                  responsible for the Body Camera and recorded the incident. The Body Camera and all observation sheets were pulled from the
               I  incident area and turned into Lt. Gilbert. Pictures were taken of the incident area around the cell, as well as inside the cell. The cell
               i  was secure, to preserve the scene for further investigation. At 1829, the Louisville (PIU) Public Integrity Detectives and the (LMDC)
               I Louisville Metro Department of Corrections (PSU) Professional Standards Unit Sgt. Joyner arrived on the scene. At 1914 the Forensic

                  Detective arrived. To conduct an investigation of the incident. All pictures and information was forward to Lt. Eggers Office and
              I   Senior Staff. Lt. Gilbert was advised.

i,_       i   I Incident #51055- Hospital, inmate transported- J2
              ' On 10/19/13 at approximately 1900 hours Sgt. Brockbank was advised by nurse Hammond that inmate Williams, Regina cin# S33396
                       would need to go out to U of L Hospital per Dr. Smith due to l/m Williams pregnancy. Transportation would be by LMDC car with Ole.
              I Cy. Smith escorting. Once paperwork was complete Sgt. Brockbank advised Lt. Gilbert and escorted inmate Williams to the first floor
                   for transportation. Inmate Williams departed for U of L Hospital at approximately 1935 hours. Information forwarded to senior
              II
                   command staff, second shift command staff and PSU


                                                                                                                                  GB003915
            OnCase
                 the date 10-19-2013 at 2115 hrs, Sgt. June was
                       3:16-cv-00742-DJH-CHL                    called to J3143-1
                                                            Document        07#12. Sgt.  June arrived
                                                                                       Filed          and could
                                                                                               05/21/19          see l/m
                                                                                                              Page       Nolan,
                                                                                                                       436   of Dylan  cln-428043 #:
                                                                                                                                625 PageID
            sitting on his bunk with hand restraints applied (behind his back). Ole.
                                                                             1428    Sookal explained that Ofc. Sookal  was conducting  a security
            check in the dorm, when this inmate noticed that l/m had something wrapped around his neck and face area. Ole. Sookal instructed
            l/m to remove the items, l/m refused and went into one of the corners of the cell (where he could not be seen). Ofc. Sookal had the
(~ '1 cell door opened and Instructed l/m to have a seat on his bunk, l/m refused. l/m was instructed to have turned around and place his
(;;"° .. hands behind his back, l/m refused. Ole. Sookal applied a soft empty hand control technique to I/m's arm, l/m pulled away from Ole.
 \       1 Sookal. l/m was placed on the floor by Ole. Sookal, fpr his safety and officers. l/m was placed into hand restraints. l/m was helped to
         ' his feet and seated on the bunk. The item that was covering l/m's face arid neck area that appeared to be a ripped sheet turned out
           to be a large amount of toilet paper. l/m was seen by mental health (Nurse Malone). l/m stated that he wasn't trying to hurt himself,
           was just trying to be a ninja. l/m had received a small cut above his right eyebrow, a small scratch on his face area, redness on his
           neck area, and a small scratch on his right elbow. Hand restraints were taken off of l/m and all officers exited the cell without any
        / further incident. Ole. Sookal had received 2 small cuts on his right hand. Ofc. Sookal stated that he had noticed a small amount of
        ! blood on his right hand after the Incident had happened and wasn't sure If it was his own blood or if he had been exposed to I/m's
        I blood. Ole. Sookal was seen by medical (Nurse Bertram). Pictures were taken and sent to PSU and Senior staff. Ole. Sookal was
      I    transported to U of Lhospital for further treatment. Exposure report form was filled out and turned into HR and Ofc. Bennett (LMDC
        I safety officer). l/m was asked if he would consent to a blood test, l/m refused. WC form will be filled out, when Ofc. Sookal returns
        I from U of LHospital. J3 body camera was used during the incident. Lt. Gilbert was notified and in turn contacted Ole. Bennett. At
           approximately 2310 a court order was brought to LMDC signed by Judge Willcox to have J/m Noland's blood drawn. SORT was
      I   activated and assisted.Nurse Cole with the court order blood draw. During this procedure l/m Noland became agitaied, at which
      I    point, SORT placed l/m Noland In the restraint chair, without incident, to complete the blood drawal. Once the procedure was
      '   completed l/m Noland was removed from the restraint chair and placed back in to his cell without incident. This incident was
      I   recorded on the Body Camera.

      I




                                                                                                                               GB003916
                      Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 437 of 625 PageID #:
                                                           1429

     ( ~..-''
         (,.--~'          Facility 1- MAIN JAIL COMPLEX                    FloorJ3

                           Wing




                Log Entry

                   Log Date/Time                                     Activity

                       Employee                                      Action

                      Entered By                               Entered Dt!Tm

                Comments
                                                                                                      Inmates Involved
                                                                                      lnmateName                         lnmateNumber ·


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                Log
                             From Date/Time 08/14/2013 15:00:00            To Date/Time 08114/2013 23:00:00

                                                                           Shift Log
              Date/Time            Activity           Action                    Employee
              08/14/13 17:18       SERGEANT                                     Redmon, Michael
                                   SECURITY CHECK

              08/14/13 15:20       COUNT             SECURED                    Barnes, Nicholas
                                   CONDUCTED

              08/14113 15:27       OFFICER SECURITY ALL APPEARED                Barnes, Nicholas
                                   CHECK            SECURE

              08/14/13 15:00       ROLL CALL                                    Harmon, Jeremy
              08/14113 15:15       COUNT                                        Harmon, Jeremy
                                   CONDUCTED

              08/14/13 15:40       FACILITY COUNT    SECURED                    Harmon, Jeremy
              08/14/13 15:45       FOOD CARTS                                   Harmon, Jeremy
                                   ARRIVE

l             08/14/13 15:01       ROLL CALL                                    Zapata, Melinda
' 1,_1
              '8/14/13 15:10       EQUIPMENT CHECK                              Zapata, Melinda



    l
                                   COMPLETE

              08/14/13 15:12       STAFF ON DUTY                                Zapata, Melinda

          31611 JOHNSON                                          10/20/2013 01:33                                                Page: 1

                                                                                                                         GB003917
     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 438 of 625 PageID #:
                                          1430
      08/14/13 15:24    COUNT                               Zapata, Melinda
                        CONDUCTED

 (   ; 08/14/13 15:40   FACILITY COUNT                      Zapata, Melinda
       08/14/13 15:46   NURSE ARRIVES                       Harmon, Jeremy                            '
                                                                                                      ~
       08/14/13 16:04   SERGEANT                            Zapata, Melinda
                        SECURITY CHECK

      08/14/13 16:53    TRASH AND TRAYS                     Harmon. Jeremy
      08/14/13 17:13    OFFICER SECURITY ALL APPEARED       Harmon. Jeremy
                        CHECK            SECURE

      08/14/13 15:01    ROLL CALL                           Barnes, Nicholas
      08/14/13 16:00    NURSE ARRIVES                       Barnes, Nicholas
      08/14/13 16:25    OFFICER SECURITY ALL APPEARED       Barnes. Nicholas
                        CHECK            SECURE

      08/14/1315:29     INCELLS BEGIN                       Barnes.   Nicholas
      08/14/13 15:49    INCELLS COMPLET                     Barnes,   Nicholas
      08/14/13 16:29    NURSE DEPARTS    COMPLETED          Barnes,   Nicholas
      08/14/1317:19     OFFICER SECURITY ALL APPEARED       Barnes,   Nicholas
                        CHECK            SECURE

      08/14/13 17:05    Walk and Talk    ALL APPEARED       Barnes, Nicholas
                                         SECURE

      08/14/13 16:45    FOOD CARTS       ALL APPEARED       Barnes, Nicholas
                        ARRIVE           SECURE

(     08/14/13 17:08    TRASH AND TRAYS COMPLETED           Barnes, Nicholas
      08/14/13 17 :20   FOOD CARTS                          Barnes. Nicholas
                        DEPART

      08/14/13 17:29    OFFICER SECURITY ALL APPEARED       Barnes, Nicholas
                        CHECK            SECURE

      08/14/13 17:44    PROGRAMS                            RITIER, JOSHUA
      08/14/13 17:48    OFFICER SECURITY ALL APPEARED       Barnes, Nicholas
                        CHECK            SECURE

      08/14/1318:12     Walk and Talk    ALL APPEARED       Barnes, Nicholas
                                         SECURE

      08/14/13 18:19    OFFICER SECURITY ALL APPEARED       Harmon. Jeremy
                        CHECK            SECURE

      08/14/13 18:13    OFFICER SECURITY ALL APPEARED       Santiago, Daniel
                        CHECK            SECURE

      08/14/13 18:22    OFFICER SECURITY ALL APPEARED       Santiago, Daniel
                        CHECK            SECURE

      08/14/13 18:41    OFFICER SECURITY ALL APPEARED       Barnes, Nicholas
                        CHECK            SECURE

      08/14/13 18:46    Walk and Talk    ALL APPEARED       Barnes. Nicholas
                                         SECURE
\;
      08/14/13 18:56    OFFICER SECURITY ALL APPEARED       Harmon, Jeremy
                        CHECK            SECURE
                                                                                                (_(
     31611 JOHNSON                              1012012013 01:33                            Page: 2
                                                                                 GB003918
              Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 439 of 625 PageID #:
                                                   1431
         06/14/13 19:13    SICK CALL BEGINS                      Barnes, Nicholas
         06/14113 19:17    Walk and Talk      ALL APPEARED       Barnes, Nicholas
                                              SECURE
(_.
/ - , )6/1411319:31        OFFICER SECURITY ALL APPEARED         Harmon, Jeremy
                           CHECK            SECURE
\

         06/14113 19:30    OFFICER SECURITY ALL APPEARED         Santiago, Daniel
                           CHECK            SECURE

         06/14/13.20:04    OFFICER SECURITY ALL APPEARED         Santiago, Daniel
                           CHECK            SECURE

         06/14/13 20:05    SICK CALL ENDS                        Santiago, Daniel
         08/14/13 20:00    SICK CALL BEGINS                      Harmon, Jeremy
         08/14/13 20:19    IT PERSONNEL                          Roy, Christopher D
                           ARRIVE

         08/14/13 20:23    OFFICER SECURITY ALL APPEARED         Barnes, Nicholas
                           CHECK            SECURE

         06/14/13 20:41    OFFICER SECURITY ALL APPEARED         Barnes, Nicholas
                           CHECK            SECURE

         08/14/13 20:15    SICK CALL ENDS     COMPLETED          Harmon, Jeremy
         08/14/13 20:40    OFFICER SECURITY                      Johnson, Summer
                           CHECK

         08/14/13 21:02    OFFICER SECURITY ALL APPEARED         Santiago, Daniel
                           CHECK            SECURE
(
''(;     18/14/13 21:05    Walk and Talk                         Santiago, Daniel
    \    J8/14/13 21:17    OFFICER SECURITY                      Johnson, Summer
                           CHECK

         08/14/13 21:30    OFFICER SECURITY ALL APPEARED         Santiago, Daniel
                           CHECK            SECURE

         08/14/13 21:35    OFFICER SECURITY ALL APPEARED         Johnson, Summer
                           CHECK            SECURE

         08/14/13 21 :58   OFFICER SECURITY ALL APPEARED         Barnes, Nicholas
                           CHECK            SECURE

         08/14/13 21:58    Walk and Talk      ALL APPEARED       Barnes, Nicholas
                                              SECURE

         08/14/13 21:59    COUNT                                 Barnes, Nicholas
                           CONDUCTED

         08/14/13 22:00    COUNT                                 Johnson, Summer
                           CONDUCTED

         08/14/13 22:00    SERGEANT                              Zapata, Melinda
                           SECURITY CHECK

         08114/13 22:10    OFFICER SECURITY ALL APPEARED         Santiago, Daniel
                           CHECK            SECURE



\~'
           ;/14/13 22:24   OFFICER SECURITY ALL APPEARED         Johnson, Summer
                           CHECK            SECURE



                                                     10/20/2013 01:33                       Page: 3
        31611 JOHNSON

                                                                                      GB003919
     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 440 of 625 PageID #:
                                          1432
      08/14/13 20:42   SERGEANT                                Zapata, Melinda
                       SECURITY CHECK

(c    08/14/13 22:30   COUNT                                   Zapata, Melinda
                       CONDUCTED

      08/14/13 22:40   EQUIPMENT CHECK                         Zapata, Melinda
                                                                                                            ,,--,
                                                                                                            I
                       COMPLETE

      08/14/13 22:48   END OF SHIFT                            Zapata, Melinda
      08/14/13 22:33   COUNT              SECURED              Barnes, Nicholas
                       CONDUCTED

      08/14/13 23:00   END OF SHIFT       ALL APPEARED         Barnes, Nicholas
                                          SECURE

      08/14/13 23:00   ROLL CALL          COMPLETED            Johnston, Christopher
      08/14/13 23:00   ROLL CALL          COMPLETED            Briscoe, David
      OB/14/1317:46    OFFICER SECURITY   ALL APPEARED         Santiago, Daniel
                       CHECK              SECURE




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    31611 JOHNSON                                10/20/2013 01 :33                                Page: 4
                                                                                       GB003920
             Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 441 of 625 PageID #:
                                                  1433


                    Facility 1- MAIN JAIL COMPLEX                   FloorJ3

                     Wing




          Log Entry
           Log Date/Time                                      Activity

                 Employee                                     Action

                Entered By                              Entered Dt/Tm

          Comments
                                                                                               Inmates Involved
                                                                               lnmateName                          lnmateNumber


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          Log
                       From Date/Time 08/16/2013 15:00:00           To Date/Time 0811612013 23:00:00

                                                                    Shift Log
         Date/Time           Activity          Action                    Employee
         08/16113 21 :05     SERGEANT                                    Huber, Timothy
                             SECURITY CHECK

         08/16/13 15:00      ROLL CALL         ALL APPEARED              Sookal, Ryan
                                               SECURE

         08/16113 15:22      COUNT             ALL APPEARED              Sookal, Ryan
                             CONDUCTED         SECURE

         08/16113 15:23      Entry             ALL APPEARED              Sookal, Ryan
                                               SECURE

         08/16113 15:24      INCELLS BEGIN     ALL APPEARED              Sookal, Ryan
                                               SECURE

         08/16113 15:00      ROLL CALL                                   Harmon, Jeremy
         08/16/13 15:20      COUNT                                       Harmon, Jeremy
                             CONDUCTED

          J/16/13 15:25      OFFICER SECURITY ALL APPEARED               Barnes, Nicholas
                             CHECK            SECURE



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                                                                                                                  GB003921
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 442 of 625 PageID #:
                                         1434
        08/16/1315:31    FACILITY COUNT                      Harmon, Jeremy
        08/16/13 15:31   FACILITY COUNT   SECURED            Sookal, Ryan
        08/16/13 15:44   RAZORS ISSUED                       Barnes, Nicholas
(   !   08/16/1315:47    OFFICER SECURITY ALL APPEARED       Santiago, Daniel
                         CHECK            SECURE
                                                                                                 ('
        08/16/1315:50    RAZORS ISSUED   ALL APPEARED        Santiago, Daniel
                                         SECURE

        08/16/13 15:55   NURSE ARRIVES   ALL APPEARED        Sookal, Ryan
                                         SECURE

        08/16/13 16:06   OFFICER SECURITY ALL APPEARED       Sookal, Ryan
                         CHECK            SECURE

        08/16/13 16:07   OFFICER SECURITY ALL APPEARED       Barnes, Nicholas
                         CHECK            SECURE

        08/16/13 16:16   FOOD CARTS                          Harmon, Jeremy
                         ARRIVE

        08/16/13 16:24   NURSE DEPARTS   ALL APPEARED        Sookal, Ryan
                                         SECURE

        08/16/13 16:25   Walk and Talk   ALL APPEARED        Sookal, Ryan
                                         SECURE

        08/16/13 16:07   INCELLS         NO DEFICIENCIES     Sookal, Ryan
                         COMPLETE        NOTED

(   I   08110113 15:35   Walk and Talk   ALL APPEARED
                                         SECURE
                                                             Sookal, Ryan


        08/16/13 16:30   OFFICER SECURITY ALL APPEARED       Santiago, Daniel
                         CHECK            SECURE

        08/16/13 16:32   RAZORS                              Santiago, Daniel
                         COLLECTED

        08/16/1316:32    OFFICER SECURITY ALL APPEARED       Harmon, Jeremy
                         CHECK            SECURE

        08/16/13 16:09   NURSE ARRIVES                       Harmon, Jeremy
        08/16/13 16:45   FOOD CARTS                          Sookal, Ryan
                         ARRIVE

        08/16/13 17:00   OFFICER SECURITY ALL APPEARED       Santiago, Daniel
                         CHECK            SECURE

        08/16/13 17:12   FOOD CARTS                          Santiago, Daniel
                         DEPART

        08/16/13 17:29   OFFICER SECURITY ALL APPEARED       Sookal, Ryan
                         CHECK            SECURE

        08/16/13 17:37   OFFICER SECURITY ALL APPEARED       Harmon, Jeremy
                         CHECK            SECURE

\__) 08/16/1317:52       OFFICER SECURITY ALL APPEARED       Sookal, Ryan


                                                                                                y
                         CHECK            SECURE




    31611 JOHNSON                                10/2012013 01:33                          Page: 2

                                                                                GB003922
               Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 443 of 625 PageID #:
                                                    1435 Jeremy
                                                    Harmon,
          08/16/13 17:53    RAZORS
                            COLLECTED
          08/16/1318:06     Walk and Talk                         Santiago, Daniel

('-'\ 08116/13 18:10        OFFICER SECURITY ALL APPEARED         Santiago, Daniel
                            CHECK            SECURE
/:--'     08/16/13 18:28    NURSE ARRIVES                         Harmon, Jeremy
          08116/1318:32     OFFICER SECURITY ALL APPEARED         Sookal, Ryan
                            CHECK            SECURE


          08116113 18:42    OFFICER SECURITY ALL APPEARED         Barnes, Nicholas
                            CHECK            SECURE

          08/16/13 18:56    OFFICER SECURITY ALL APPEARED         Sookal, Ryan
                            CHECK            SECURE

          08/16113 18:56    CHURCH SERVICE     ALL APPEARED       Sookal. Ryan
                                               SECURE


          08/16/13 18:55    CHURCH SERVICE                        Sookal, Ryan
          08/16113 18:57    OFFICER SECURITY                      Santiago, Daniel
                            CHECK

          08/16113 18:59    NURSE DEPARTS                         Harmon, Jeremy
          08/16/13 15:00    ROLL CALL                             Redmon, Michael
          08/16/13 15:30    STAFF ON DUTY                         Redmon, Michael
          08/16/1315:31     COUNT                                 Redmon, Micliael
                            CONDUCTED


(_,     \ 08/16/13 15:26
                            EQUIPMENT CHECK
                            COMPLETE
                                                                  Redmon. Michael


  y       J8/16/13 15:27    COUNT                                 Redmon. Michael
                            CONDUCTED

          08/16/1319:41     OFFICER SECURITY ALL APPEARED         Harmon, Jeremy
                            CHECK            SECURE

          08/16/13 17:15    SERGEANT                              Redmon, Michael
                            SECURITY CHECK

          08/16/13 17:19    SERGEANT                              Redmon, Michael .
                            SECURITY CHECK

          08/16113 19:45    SICK CALL BEGINS                      Harmon, Jeremy

          08/16/1319:18     OFFICER SECURITY ALL APPEARED         Santiago, Daniel
                            CHECK            SECURE

          08/16/1319:42     OFFICER SECURITY ALL APPEARED         Santiago, Daniel
                            CHECK            SECURE

          08/16/13 19:57    CHURCH SERVICE                        Santiago, Daniel

          08/16/13 20:01    OFFICER SECURITY ALL APPEARED         Santiago, Daniel
                            CHECK            SECURE

          08/16113 20:13    OFFICER SECURITY ALL APPEARED         Harmon, Jeremy
                            CHECK            SECURE
'l.
  I..
             116113 20:22   OFFICER SECURITY ALL APPEARED         Santiago, Daniel
  \J
                                             SECURE

        l'
                            CHECK



                                                      10/20/2013 01:33                      Page: 3
        31611 JOHNSON

                                                                                      GB003923
        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 444 of 625 PageID #:
                                             1436
          .08/16/13 20:25   OFFICER SECURITY ALL APPEARED          Harmon, Jeremy
                            CHECK            SECURE
          08/16/13 20:50    OFFICER SECURITY ALL APPEARED         Santiago, Daniel
    (                       CHECK            SECURE

          08/16/13 20:36    OFFICER SECURITY                      Harmon, Jeremy                          (--,
                            CHECK

          08/16/13 21:13    OFFICER SECURITY ALL APPEARED         Barnes, Nicholas
                            CHECK            SECURE

          08/16/13 21:04    Walk and Talk      ALL APPEARED       Barnes, Nicholas
                                               SECURE

          08/16/13 21:14    SICK CALL BEGINS                      Santiago, Daniel
          08/16/13 21:16    OFFICER SECURITY ALL APPEARED         Santiago, Daniel
                            CHECK            SECURE

          08/16/13 21:22    OFFICER SECURITY ALL APPEARED         Harmon, Jeremy
                            CHECK            SECURE

          08/16/13 21 :43   OFFICER SECURITY ALL APPEARED         Santiago, Daniel
                            CHECK            SECURE

          08/16/13 21:55    OFFICER SECURITY ALL APPEARED         Harmon, Jeremy
                            CHECK            SECURE

          08/16/13 22:03    COUNT                                 Santiago, Daniel
                            CONDUCTED


(         08/16/13 22:11    OFFICER SECURITY ALL APPEARED         Santiago, Daniel
                            CHECK            SECURE
                                                                                                      I
          08/16/13 20:30    PERIMETER CHECK                       Redmon, Michael                     ~
          08/16/13 21:45    SERGEANT                              Redmon, Michael
                            SECURITY CHECK

          08/16/13 21:48    SERGEANT                              Redmon, Michael
                            SECURITY CHECK

          08/16/13 22:13    COUNT              SECURED            Harmon, Jeremy
                            CONDUCTED

          08/16/13 22:32    OFFICER SECURITY ALL APPEARED        Santiago, Daniel
                            CHECK            SECURE

          08/16/13 22:30    COUNT                                Redmon, Michael
                            CONDUCTED

          08/16/13 22:45    EQUIPMENT CHECK                      Redmon, Michael
                            COMPLETE

         08/16/13 23:00     END OF SHIFT                         Redmon, Michael
         08/16/13 23:00     COUNT              COMPLETED         AIKIN, JONATHON
                            CONDUCTED

         08/16/13 23:00     ROLL CALL                            Gibson, Timothy
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        31611 JOHNSON                                1012012013 01:33                           Page: 4

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                   Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 445 of 625 PageID #:
                                                        1437


                      Facility 1- MAIN JAIL COMPLEX                    FloorJ2

                        WingJ2W                                        Dorm




             Log Entry

              Log Date/Time                                      Activity

                    Employee                                     Action

                   Entered By                              Entered DVTm

             Comments
                                                                                                  Inmates Involved
                                                                                  lnmateN!!me                        lnmateNumber


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             Log
                          From Date/Time 08/2112013 15:00:00           To Date/Time 08/21/2013 23:00:00

                                                                       Shift Log
            Date/Time           Activity          Action                    Employee
            08/21/13 15:00      END OF SHIFT                                Wiggins, Rya~
            OB/21/1315:00       ROLL CALL         COMPLETED                 STENGEL, Corey
            OB/21/13 15:23      COUNT             COMPLETED                 STENGEL, Ccirey
                                CONDUCTED

            08/21/13 16:32      IT PERSONNEL                                Roy, Christopher D
                                ARRIVE

            08/21/1315:52       OFFICER SECURITY ALL APPEARED               Weatherington, Lisa
                                CHECK            SECURE

            08/21/13 16:41      FOOD CARTS                                  STENGEL, Corey
                                ARRIVE

            08/21/13 17:06      OFFICER SECURITY ALL APPEARED               Weatherington, Lisa
                                CHECK            SECURE

        .' 08/21/13 17:33       TRASH AND TRAYS COMPLETED                   STENGEL, Cqrey
"c          -~,21/13 18:01      OFFICER SECURITY ALL APPEARED               STENGEL, Corey



    t
                                CHECK            SECURE



        31611 JOHNSON                                        10/20/2013 01:35                                                Page: 1


                                                                                                                     GB003925
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 446 of 625 PageID #:
                                         1438
      08/21/1318:28    OFFICER SECURITY ALL APPEARED         STENGEL, Carey
                       CHECK            SECURE
      08/21113 18:56   OFFICER SECURITY ALL APPEARED        Weatherington, Lisa
(                      CHECK            SECURE

      08/21/1319:23    OFFICER SECURITY ALL APPEARED
                       CHECK            SECURE
                                                            STENGEL, Corey
                                                                                                       ('
      08/21/1319:40    LIEUTENANT                           Gilbert, Steven
                       SECURITY CHECK

      08/21/13 20:02   SICK CALL BEGINS                     Weatherington, Lisa
      08/21/13 20:30   SICK CALL ENDS                       Weatherington, Lisa
      08/21/13 20:56   OFFICER SECURITY ALL APPEARED        STENGEL, Corey
                       CHECK            SECURE

      08/21113 21:28   OFFICER SECURITY ALL APPEARED        STENGE!L, Corey
                       CHECK            SECURE

      08/21/13 21:53   OFFICER SECURITY ALL APPEARED        Weatherington, Lisa
                       CHECK            SECURE

      08/21/13 23:00   ROLL CALL                            RAMEY, RANDELL
                                                            TODD




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    31611 JOHNSON                              1012012013 01:35                              Page: 2

                                                                                  GB003926
                Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 447 of 625 PageID #:
                                                     1439


                    Facility 1- MAIN JAIL COMPLEX                    FloorH5

                     Wing




          Log Entry

           Log Date/Time10/20/2013 01:36                      Activity

                 Employee                                      Action

                Entered By                               Entered DVTm

          Comments
                                                                                                 Inmates Involved
                                                                               lnmateN~me                           lnmateNumber




          Log
                        From Date/Time 10/19/2013 15:00:00          To Date/Time 10/19/2013 23:00:00

                                                                    Shift Log
         Date/Time           Activity           Action                   Employee
         10/19/1315:27       ROLL CALL                                   Gilbert, Steven
         10/19113 15:27      COUNT              NO DEFICIENCIES          SANDERS, GEORGE
                             CONDUCTED          NOTED

         10/1911315:00       ROLL CALL          COMPLETED                Ramsey, DeSean
         10/19/13 15:29      FACILITY COUNT     NO DEFICIENCIES          Skaggs, Danny
                                                NOTED

         10/19/13 15:18      COUNT              COMPLETED                TAYLOR, RYAN
                             CONDUCTED

         10/19/13 15:28      FACILITY COUNT   COMPLETED                  Ramsey, DeS!>an
         10/19/13 15:30      OFFICER SECURITY ALL APPEARED               Ramsey, DeSean
                             CHECK            SECURE

         10/19/13 15:01      ROLL CALL         COMPLETED                 Hornback, Christopher
         10119/1315:22       COUNT             SECURED                   Hornback, Christopher
l_                           CONDUCTED

 t,~      ,/19/13 15:23      EQUIPMENT CHECK SECURED                     Hornback, Ch(istopher
     I                       COMPLETE


     31611 JOHNSON                                         10/20/2013 01:36                                                 Page: 1

                                                                                                                    GB003927
     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 448 of 625 PageID #:
                                          1440
       10/19/13 15:54   OFFICER SECURITY ALL APPEARED         SKAGGS, RA'MON
                        CHECK            SECURE

       10/19/13 15:58   OFFICER SECURITY ALL APPEARED         SANDERS, GEORGE
(                       CHECK            SECURE
                                                                                                 (
       10/19/13 15:50   OFFICER SECURITY ALL APPEARED         Ramsey, DeSean
                        CHECK            SECURE

       10/19/13 17:16   Entry              ALL APPEARED       Ramsey, DeSean
                                           SECURE

      10/19/13 17:10    FOOD CARTS                            SANDERS, GEORGE
                        ARRIVE

      10/19/1317:40     Entry            COMPLETED            SKAGGS, RA'MON
      10/19/1318:00     TRASH AND TRAYS COMPLETED             SANDERS, GEORGE
      10/19/13 17:40    OFFICER SECURITY                      TAYLOR, RYAN
                        CHECK

      10/19/1318:00     TRASH AND TRAYS                       TAYLOR, RYAN
      10/19/1318:23     Walk and Talk                         Ramsey, DeSean
      10/19/1318:00     OFFICER SECURITY ALL APPEARED         SKAGGS, RA'MON
                        CHECK            SECURE

      10/1911318:00     SICK CALL BEGINS                      SKAGGS, RA'MON
      10/19/13 18:30    SICK CALL ENDS     COMPLETED          SKAGGS, RA'MON
      10/19/1318:33     SICK CALL BEGINS                      Ramsey, DeSean
      10/19/1318:14     RAZORS ISSUED      ALL APPEARED       TAYLOR, RYAN
•'                                         SECURE
\
      10/19/1319:00     OFFICER SECURITY ALL APPEARED         SANDERS, GEORGE
                        CHECK            SECURE

      10/19/1319:30     OFFICER SECURITY ALL APPEARED         SKAGGS, RA'MON
                        CHECK            SECURE

      10/19/13 19:00    OFFICER SECURITY                      Ramsey, DeSean
                        CHECK

      10/19/1319:30     OFFICER SECURITY                      TAYLOR, RYAN
                        CHECK

      10/19/1319:45     Walk and Talk                         Ramsey, DeSean
      10/19/13 20:14    OFFICER SECURITY ALL APPEARED         SANDERS, GEORGE
                        CHECK            SECURE

       10/19/13 20:03   RAZORS             COMPLETED          TAYLOR, RYAN
                        COLLECTED

      10/19/13 20:20    OFFICER SECURITY ALL APPEARED         TAYLOR, RYAN
                        CHECK            SECURE

      10/19/13 20:40    OFFICER SECURITY ALL APPEARED         SANDERS, GEORGE
                        CHECK            SECURE

      10/19/1321:00     OFFICER SECURITY ALL APPEARED         SKAGGS, RA'MON
(                       CHECK            SECURE
'
       10/19/13 20:50   OFFICER SECURITY
                        CHECK
                                                              Ramsey, De Sean
                                                                                                y
     31611 JOHNSON                                10/20/2013 01:36                         Page: 2

                                                                                GB003928
                Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 449 of 625 PageID #:
             10/19/1321:00Walk and Talk              1441
                                                     Ramsey, DeSean
             10/19113 21:27     Walk and Talk                          Ramsey, DeSean
(-" 10/19113 21:38              NURSE ARRIVES     ALL APPEARED         TAYLOR, RYAN
                                                  SECURE
th.[_..__

    (        10/19/13 21 :44    NURSE DEPARTS     ALL APPEARED        TAYLOR, RYAN
                                                  SECURE

             10/19/13 21:49    OFFICER SECURITY ALL APPEARED          TAYLOR, RYAN
                               CHECK            SECURE

             10/19/13 21:30    OFFICER SECURITY ALL APPEARED          COOPER, MARIO
                               CHECK            SECURE

             10/19/13 22:00    OFFICER SECURITY ALL APPEARED          COOPER, MP<RIO
                               CHECK            SECURE

            10/19/13 22:20     COUNT             COMPLETED            SKAGGS, RA'MON
                               CONDUCTED

            10/19/1321:59      COUNT             ALL APPEARED         TAYLOR, RYAN
                               CONDUCTED         SECURE

            10/19/13 22:22     OFFICER SECURITY ALL APPEARED          TAYLOR, RYAN
                               CHECK            SECURE

            10/19/13 22:45     END OF SHIFT                           SANDERS, GEORGE
            10/19/1315:55      INCIDENT REPORT   PROBLEMS NOTED      Hornback, Christopher
            10/19/13 18:00     SERGEANT          SECURED             Hornback, Christopher
                               SECURITY CHECK
(
'(r         10/19/13 22:54     COUNT             SECURED             Hornback, Christopher
    \                          CONDUCTED

            10/19/13 22:55     EQUIPMENT CHECK SECURED               Hornback, Christopher
                               COMPLETE

            10/19/13 23:00     END OF SHIFT      COMPLETED           Hornback, Christopher
            10/19/13 22:45     OFFICER SECURITY ALL APPEARED         TAYLOR, RYAN
                               CHECK            SECURE

            10/19/13 23:00     END OF SHIFT      ALL APPEARED        TAYLOR, RYAN
                                                 SECURE

            10/19/13 23:00     ROLL CALL                             OBRYANT, PARKER
            10119/13 23:00     ROLL CALL         COMPLETED           LEE, JOSHUA




        31611 JOHNSON                                   10/2012013 01:36                           Page: 3

                                                                                             GB003929
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                  Case 3:16-cv-00742-DJH-CHL        Document 143-1 Filed""""""l'I'
                                                                                 05/21/19     Page 450 of 625 PageID #:
                                                                                        ... "' I l"""l•W

                                                                     1442
                                                          Account Activity

    r·--------------------------
    t~ 1                Account Group: INMATE       Account Type: GEN                 Account#:1936719
    . ..ne(L,F,M,S): HINDI, MAHMOUD, Y
    Start Dt/Tm: 01-01-1990 1200         Ending Dt/Tm: 10-22-2013 0530

    Transaction # Transaction Type                                  Transaction Date      Amount            Running Balance
              3459700    CADJ                                       06-20-20131118            $19.95                 $19.95
              3227507    BKFEE                                      09-07-2012 1136          ($35.00)              ($15.05)
              3228324    TP1DEP                                     09-08-2012 1801          $200.00               $184.95
          3241261        COMM                                       09-24-2012 1000          ($33.30)              $151.65
              3246836    COMM                                       10-01-2012 1010          ($46.86)              $104.79
          3252878        COMM                                       10-08-20121009           ($38.18)               $66.61
          3258712        COMM                                       10-15-2012 1209          ($28.85)               $37.76
          3263902        TP1DEP                                     10-21-20121658           $150.00               $187.76
          3264412        COMM                                       10-22-2012 1014          ($42.00)              $145.76
          3272386        COMM                                       10-31-2012 1404          ($22.40)              $123.36
          3275907        COMM                                       11-05-2012 0949          ($49.47)               $73.89
          3281983       COMM                                        11-12-2012 0849          ($53.36)               $20.53
          3282268        TP1DEP                                     11-12-20121321           $200.00               $220.53
         3287188        COMM                                        11-19-20121018          ($51.17)              $169.36
         3292168        COMM                                       11-26-2012 0948          ($44.52)              $124.84
\     "1301286          COMM                                       12-05-20121248           ($34.42)                $90.42
    (    02446          CADJ                                       12-06-2012 1618            $34.42              $124.84
         .:>304684      TP1DEP                                     12-10-2012 0924         . $200.00              $324.84
         3305495        COMM                                       12-11-2012 0755          ($59.64)              $265.20
         3310659        COMM                                       12-17-20121~59           ($57.40)              $207.80
         3312074        CADJ                                       12-18-2012 1624             $1.20              $209.00
        3316172         COMM                                       12-24-2012 1144          ($47.16)              $161.84
        3320346         COMM                                       12-31-2012 0854          ($48.54)              $113.30
        3323695         COMM                                       01-04-20131309           ($29.47)               $83.83
        3328354         TP1DEP                                     01-10-20131339           $200.00               $283.83
        3334307         COMM                                       01-18-2013 1133          ($28.90)              $254.93
        3339611         COMM                                       01-25-2013 1103          ($13.36)              $241.57
        3350521         COMM                                       02-07-20131245           ($22.40)              $219.17
        3353804         CADJ                                       02-11-20131545            $22.40               $241.57
        3355024         TP1DEP                                     02-12-20131743           $200.00               $441.57
       3359339          COMM                                       02,18-2013 1020           ($3.15)              $438.42
       3361951          CADJ                                       02-20-2013 1550            $3.15               $441.57
       3375038          COMM                                       03-08-2013 1214          ($31.79)              $409.78
       3376172          TP1DEP                                     03-10-2013 1131          $200.00               $609.78
       3381092          COMM                                       03-15-2013 1250         ($10.97)               $598.81
       ;3385311         COMM                                       03-20-2013 1437         ($11.20)               $587.61
\
\./
         q87096         COMM                                       03-22-2013 1312         ($27.49)               $560.12
    \......    1984     CADJ                                       03-28-2013 1549            $2.40              $562.52


Facility: 1                                          Page 1 of 2                                 Printed:          10-22-2013 0531
515F MAIN                                                                                               Printed By: RCLASS, ZZCLASS


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       Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 451 of 625 PageID #:
                          LOUISVILLE METRO    DEPT. Ut- liUKKCv 11vN.:>
                                            1443
                                                    Account Activity

 (     }: 1         Account Group: INMATE      Account Type: GEN                Account#:1936719
     Name(L,F,M,S): HINDI, MAHMOUD, Y                                                                                                 ('
     Start Dt/Tm: 01-01-1990 1200   Ending Dt/Tm: 10-22-2013 0530

    Transaction # Transaction Type                            Transaction Date        Amount          Running Balance
       3395807       COMM                                     04-02-2013 1449            ($14.80)             $547.72
       3402187       COMM                                     04-09-20131446             ($37.24)             $510.48
       3413641       DEP                                      04-23-2013 1249             $26.95              $537.43
       3413757       COMM                                     04-23-2013 1456            ($36.70)             $500.73
       3419023       COMM                                     04-30-2013 1325            ($43.26)             $457.47
       3427285       COMM                                     05-10-2013 1243            ($40.14)             $417.33
       3436430       COMM                                     05-22-2013 0855            ($59.14)             $358.19
       3442014       COMM                                     05-29"2013 1454            ($46.86)             $311.33
       3443195       COMM                                     05-30-20131516             ($20.00)             $291.33
       3446512       COMM                                     06-04-2013 1524            ($55.89)             $235.44
       3448796      COMM                                      06-06-2013 1644            ($19.95)             $215.49
       3453151      COMM                                      06-12-20131304             ($44.88)             $170.61

                                                                                 Transaction Total:           $170.61

                                                                           Total Amount by Transaction Type
                                                                         DEP / INMATE DEPOSIT                  $26.95
(                                    CADJ I COMMISSARY ADJUSTMENT - NEW TRANSACTION                            $83.52
                                                                          COMM I COMMISSARY               ($1,254.86)             (
                                                                  BKFEE / INITIAL BOOKING FEE                ($35.00)
                 TP1DEP I CREDIT I CASH DEPOSIT TOUCH PAY TO INMATE ACCOUNT GERERAL                         $1,350.00

                                                                                 Transaction Total:          $170.61




Facility: 1                                     Page 2 of 2                                   Printed:        10-22-2013 0531
515F MAIN                                                                                           Printed By: RCLASS, ZZCLASS

                                                                                                         GB003931
       Case 3:16-cv-00742-DJH-CHL
       Name HINDI, MAHMOUD Y      Document 143-1 Booking
                                                  Filed #05/21/19
                                                          2012029784 Page 452 of 625 PageID #:
                                                                            Facility
                                            1444
      Inmate# 00577966           Sex MALE            DC 0           ~         Book DUTm 09/07/2012 02:36            Wing H5E
        Race White/Eurp/ N.Afr/Mid Eas                Age 56                Release DUTm                            Dorm H5E-N1

<C:.. Status                             In Jail                             Classification MX/AB                   Cell    H5-N1
(
                                                                  Property Items
    Location       Bin          Picture Qty         Item Nbr       Description                              Item Type
    J-BIN          0566                            1 00002133                                               CONVERSI
                                                                                                            ON
    J-BIN          0566                            1 00048597     WHITE AND BLUE REEBOK                     SHOES
                                                                  TENNIS SHOES


                                                   Inmate Account Balance                  195.97

                    Beginning Balances                                                                Begining Money Owed
    Account Name                  Balance                                                    Account Name                    Balance




                                                                                                                           GB003932
      Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 453 of 625 PageID #:
       08/28/13    Comm              Received1445
                                              from Canteen Interface, $22.40 $0.00 $109.37                                            $0.00
          13:20                                 Trans 10:822486                                                Administrator, ADMIN
          08/27/13    Comm                      Received from Cant •    I I.JI •             $0.00    $22.40         $131.77          $0.00
          15:50                                 Trans 10:821630               -
     (.                                                                                                        Administrator, ADMIN
          08/21/13    Comm                      Received from Canteen Interface,            $22.40     $0.00         $109.37          $0.00
          14:20                                 Trans 10:820964
                                                                                                               Administrator, ADMIN
                                                                                                                                           ('
          08/13/.13   Comm                      Received from Canteen Interface,            $55.44     $0.00        $131.77           $0.00
          13:20                                 Trans 10:819105
                                                                                                               Administrator, ADMIN
          07/30/13    Comm                      Received from Canteen Interface,            $50.35     $0.00        $187.21           $0.00
          14:40                                 Trans 10:816199
                                                                                                               Administrator, ADMIN
          07/28/13    DepChk   7613693          Received from HINDI,                         $0.00   $200.00        $237.56           $0.00
          11:18                                 MAHMOUDY
                               13-18257                                                                        Roy, Holly
          07/23/13    Comm                      Received from Canteen Interface,            $38.06     $0.00         $37.56           $0.00
          15:30                                 Trans 10:814830
                                                                                                               Administrator, ADMIN
          07/17/13    Comm                     . Received from Canteen Interface,            $5.60     $0.00         $75.62           $0.00
          22:46                                  Trans 10:813746
                                                                                                               Administrator, ADMIN
          07/17/13    Comm                     Received from Canteen Interface,             $23.42     $0.00         $81.22           $0.00
          15:03                                Trans 10:813562
                                                                                                               Administrator, ADMIN
          07/17/13    Comm                     Received from Canteen Interface,             $7.25      $0.00        $104.64           $0.00
          13:47                                Trans 10:813172
                                                                                                               Administrator, ADMIN
      ' 07/13/13      Comm                     Received from Canteen Interface,         $58.72         $0.00        $111.89           $0.00
I'    i 12:26                                  Trans 10:812560
                                                                                                               Administrator, ADMIN
       06/23/13 11 :0 DepCsh                   Converted Account Balance                             $170.61       $170.61          $0.(
                                                                                                               Administrator, ADMIN


                       Ending Balances                                                               Ending Money Owed
       Account Name             Balance                                             Account Name                       Balance
       Spending                      $195.97                                        COMMISSARY                                   $ 0.00
       Total                         $195.97                                        Total                                        $ 0.00




      26086 Miller                                 10/19/2013 20:30                                                            Page: 2

                                                                                                               GB003933
              Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 454 of 625 PageID #:
                                                      1446
                                     Inmate Personal 'Property Receipt
  ("-----------------------------
   (:::-:- :IN: 577966        Book#: 2012029784            Book Dtrrm: 09-07-2012 0236
         Name(L,F,M,S): HINDI, MAHMOUD, Y
         DO~Age:                    56   Race: W       Sex: M SSN: XXX-XX-XXXX


                                                 Storage
                                                             Storage Locations
                                                                   Number          Rls/d
                                                                                                                •••••
                                                 BAG                   000264



      Property Type           Description                                                                            Status
      NO MONEY                NO PROPERTY                                                                            s



                                                                      Intake

      Notice: All properties listed are to be claimed within 30 days of release from custody.




((r '
      x ----(l_n_m_a_t_e_S_ig_n_a_t-ur~e-/D_a_t-e/T-im_e_)- - - -        x-------~----------
                                                                                     (Signature/Date/Time)

  \


                                                                     Release

      Notice: All properties listed are to be claimed within 30 days of release from custody.



      x __________________                                               x _____________________
                  (Inmate Signature/Date/Time)                                       (Signature/Date/Time)




Facility: 1                                            Page 1 of 1                                       Printed: 0-19-2013 2033
(102BBKMT ...                                                                                         Printed By: RCLARK, CLARK


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        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 455 of 625 PageID #:
                          LOUISVILLE METRO1447DEPT. Ut '-'!UK.Kev 11v1"'"'
                                                                                             I
                                                Inmate Personal Property Rrceipt

    (r-:'------------------------~i----------------
            CIN: 577966          Book#: 2012029784         Book Dt!Tm: 09-07-2012 0236
                                                                                I
            Name(L,F,M,S): HINDI, MAHMOUD, Y                                    ,
                                                                                         I
            D O B . . - Age: 56            Race: W     Sex: M SSN: 066-66-203~

                             .                               Storage Locations           I
                                                 Storage           Number                        Rls/d
                                                 BAG                   000264            !
                                                                                         I
                                                                                             Y
                                                 BIN                   000566


        Property Type            .Description                                                                                     Status
        NO MONEY                 NO PROPERTY                                                                                      s
        SHIRT                                                                                                                     s



                                                                       Intake
                                                                                     I


        Notice: All properties listed are to be claimed within 30 days of release tfom custody.
                                                                                     '

{
                                                                          x __________________
                    (Inmate Signature/Date/Time)                                                   (Signature/Date/Time)




                                                                      Release   --c-----------------
                                                                                 I
                                                                                 I
       Notice: All properties listed are to be claimed within 30 days of release ttom custody.



        x                                                                 x __-+----------------
                   11nmate Signature/Date/Time)                                                    (Signature/Date/Time)




    Facility: 1                                         Page 1 of 1                                                    Printed: 0-19-2013 2033
ho:iB BKMT                                                                                                          Printed By: RCLARK, CLARK

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                                    -'°'""'"" ..-1_._._ 1w1._
                      Case 3:16-cv-00742-DJH-CHL              I''""' ..,._.---
                                                          Document        143-1I• VI   '1"''-"-L;.V
                                                                                   Filed   05/21/19 I IVI
                                                                                                      Page.. ~ 456 of 625 PageID #:
                                                                            1448
                                                  Inmate Personal Property R~ceipt
                                                                                         i
 r-·-.-------------------------0----------~----
'       I
    !,--, :IN:         577966       Book#: 2012029784           Book Dtlim: 09-07-201/2 0236
    \
              Name{L,F,M,S): HINDI, MAHMOUD, Y                                            !

        ~=DO:B:·~--====~·~A~g=e:~5=6__::R:ac=e~:~W.:__S:e:x~::M~SS:N::~0=66=-=66=-2:0J3f:___~-~~~~ir11l!llllll'~
                                                                  Storage Locations       i
                                                      Storage           Number            / Rls/d
                                                      BIN                  000566


            Property Type            Description                                                                              Status
            NO MONEY                 NO PROPERTY                                                                              s
            SHIRi:-                                                                                                           s
            RXGLASSES                                                                                                         s



                                                                          Intake
                                                                                          I
            Notice: All properties listed are to be claimed within 30 days of release f~om custody.




                          {Inmate Signature/Date/Time)                                        (Signature/Date/Time)




                                                                       Release - - + - - - - - - - - - - - - - - - - - -
                                                                                       I'
            Notice: All properties listed are to be claimed wtthin 30 days of release f~om custody.
                                                                                      I




                          {Inmate Signature/Date/Time)                                        (Signature/Date/Time)




Facility: 1                                                 Page 1 of 1                                           Printed: 0-19-2013 2033
~IJ2f3       BKMT                                                                                              Printed By: RCLARK, CLARK


                                                                                                                       GB003936
        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 457 of 625 PageID #:
                          LOUISVILLE METRO1449DEPT. OF qORRECTIONS
                                              Inmate Personal Property ~eceipt
 !' .• ~ '
(            ·~~~~~~~~~~~~~~~~~~~~~~---;~~~~~~~~~~~~~~~


             CIN: 577966      Book#: 2012029784           Book DtfTm: 09-07-2012 0236
                                                                                         I
             Name(L,F,M,S): HINDI, MAHMOUD, Y
                                                                                         I

             DO~·Age:              56     Race: W     Sex: M SSN: 066-66-20:ij2                                          a
                                                            Storage Locations            I
                                                Storage           Number                     Rls/d
                                                BIN                   000566


       Property Type          Description                                                                                     Status
       NO MONEY               NO PROPERTY                                                                                     s
       RX GLASSES                                                                                                             s
       SHIRT                                                                                                                  s
       1 BOOK                 FRM. MAILRM.                                                                                    s



                                                                      Intake
                                                                                     i
( . Notice: All properties listed are to be claimed within 30 days of release f[om custody.

                                                                                                                                             (

                     (Inmate Signature/Date!Time)                                              (Signature/Date!Time)




                                                                     Release
                                                                                 i
                                                                                 I
      Notice: All properties listed are tci be claimed within 30 days of release from custody.




                    (Inmate Signature/Date!Time)                                               (Signature/Date!Time)




Facility: 1                                            Page 1 of 1                                                 Printed: 0-19-2013 2033
                                    I .
i102B        BKMT                   !
                                                                                                                Printed By: RCLARK, CLARK
                                                                                                                  GB003937
                            LOUISVILLE METRO
              Case 3:16-cv-00742-DJH-CHL  DocumentDEPT.
                                                   143-1 OF   QORRECTIONS
                                                          Filed  05/21/19 Page 458 of 625 PageID #:
                                                     1450      I

                                     Inmate Personal Property ~~ceipt
  ~·
                                                                                        I




 (':::: CIN: 577966          Book #: 2012029784         · Book DI/Tm: 09-07-2012 0236
                                                                                        '




          Nam~(~it°,.M,S):.~~INDI, MAHMOUD, Y                                           !

          DOB:--.Age: 56                Race: W       Sex: M SSN: 066-66-203f


                                                Storage
                                                            Storage Locations
                                                                      Number
                                                                                        i
                                                                                        / Rls/d
                                                                                                                     •          11111


                                                BIN                   000566


      Property Type           Description                                                                                   Status
      1 BOOK                  FRM. MAILRM.                                                                                  R
      NO MONEY               NO PROPERTY                                                                                    s
      RX GLASSES                                                                                                            s
      SHIRT                                                                                                                 s
       ~~~~~~~~~~~~~~~~~~Notes-~-+-~~~~~~~~~~~~~~-


      hardback released to chaplain whitlow, inmate removed hard cover.

                                                                     Intake

( •. lfotice: All p;operties listed are to be claimed within 30 days of release from custody.
·~                                                                                  !
 \.

      x                                                                 x~~-1-~~~~~~~~~~~-
                  11nmate Signature/Date/Time)                               (Signature/Date/Time)




                                                                    Release
                                                                                I
                                                                                I
      Notice: All properties listed are to be claimed within 30 days of release from custody.
                                                                                :


      x                                                                 x~~+-~~~~~~~~~~~~~-
                  11nmate Signature/Date/Time)                                              (Signature/Date/Time)




Facility: 1                                           Page 1 of 1                                               Printed: 0-19-2013 2034
11028 BKMT                                                                                                   Printed By: RCLARK, CLARK

                                                                                                                     GB003938
     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 459 of 625 PageID #:
                       LOUISVILLE METRO1451DEPT. OF QORRECTIONS
                                                                                 !

                                             Inmate Personal Property ~eceipt


        CIN: 577966         Book#: 2012029784            Book DtfTm: 09-07-2012 0236
        Name{L,F,M,S): HINDI, MAHMOUD, Y
        DOB.

                                                           Storage Locations
                                               Storage           Number          1   Rls/d
                                               BIN                   000566



     Property Type          Description                                                                               Status
     NO MONEY               NO PROPERTY                                                                               s
     RX GLASSES                                                                                                       s
     SHIRT                                                                                                            s
     1 CD                   PUB DEF MEURER                                                                            s
      ------------------Notes---+----------------
    hardback released to chaplain whitlow, inmate removed hard cover.

                                                                    Intake

( INotice:     All properties listed are to be claimed within 30 days of release ftom custody.



     x _________________                                               x---:---------------
                 (Inmate Signature/Date/Time)                               (Signature/Date/Time)




                                                                    Release _ __,_ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    Notice: All properties listed are to be claimed within 30 days of release flom custody.


    x _________________
                 {Inmate Signature/Date/Time)                                          (Signature/Date/Time)




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 Facility: 1                                          Page 1 of 1                                          Printed: 0-19-2013 2034
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               Case 3:16-cv-00742-DJH-CHL       I l'(U UCI"'
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                                                         1452          i
                                        Inmate Personal Property ~eceipt

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         -Cl_N_:_5_77_9_6_6_ _B_o_o_k_#_:_2_0_1_20_2_9-78-4--B-o_o_k_D_tfT_m_:_0_9_-0_7_-2_0 12_0_2_3_6~-----------


         Name{L,F,M,S): HINDI, MAHMOUD, Y
         Dc:llllmllllf Age: 56           Race: W      Sex: M SSN: 066-66-203f

                                                            Storage Locations
                                                Storage           Number           I Rls/d
                                                BIN                   000566
                                                SHELF                 551108


      Property Type          Description                                                                                 Status
      1 CD                   PUB DEF MEURER                                                                              s
      NO MONEY               NO PROPERTY                                                                                 s
      RX GLASSES                                                                                                         s
      SHIRT                                                                                                              s
      SHELF 5511             in a bag that came down, due to level 1 obs                                                 s
       -------------------Notes---+---~------------

      2 underwear, 1 teeshirt, prayer rug, 1 hair brush, 1 magizine; 1 pair of socks, 1 pair of shower shoes, 1 pair of glasses, 1
( .· "hermal underwear., misc papers- all items listd here are in the property b~g on shelf 5511
'((                                                                  Intake    _ _,_'- - - - - - - - - - - - - - - -

      Notice: All properties listed are to be claimed within 30 days of release from custody.




                   (Inmate Signature/Date/Time)                                        (Signature/Date/Time)




                                                                    Release

      Notice: All properties listed are to be claimed within 30 days of release fjom custody.


      x __________________
                   (Inmate Signature/Date/Time)                                        (Signature/Date/Time)




 Facility: 1                                          Page 1 of 1                                            Printed: 0-19-2013 2034
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      Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 461 of 625 PageID #:
                       LOUISVILLE METRO1453 DEPT. OF ~ORRECTIONS
                                                                                     '

                                             Inmate Personal Property ~eceipt
(
                                                                                     '
       CIN: 577966          Book#: 2012029784            Book Dt/Tm: 09-07-20j 2 0236
       Name(L,F,M,S): HINDI, MAHMOUD, Y
       DO                  ~e: 56 Race: W Sex: M SSN: 066-66-203~
                                                           Storage bocations
                                               Storage           Number             : Rls/d
                                               BIN                   000566
                                               SHELF                 551108         :y



     Property Type          Description                                                                                 Status
     1 CD                   PUB DEF MEURER                                                                              s
     NO MONEY               NO PROPERTY                                                                                 s
     RX GLASSES                                                                                                         s
     SHELF 5511             in a bag that came down, due to level 1 obs                                                 R
     SHIRT                                                                                                              s
      -------------------Notes---+----------------
                                                                                 !

      2 underwear, 1 teeshirt, prayer rug, 1 hair brush, 1 magizine, 1 pair of socks, 1 pair of shower shoes, 1 pair of glasses, 1
(    "11ermal underwear., misc papers- all items listd here are in the property bi;ig on shelf 5511
     'rt.ELS STORAGE BAG PER AIR
                                                                     Intake

     Notice: All properties listed are to be claimed within 30 days of release f(om custody.


     x ________________
                 (Inmate Signature/Date/Time)                                            (Signature/Date/Time)




                                                                    Release   --+------------------
                                                                                '
     Notice: All properties listed are to be claimed within 30 days of release f~om custody.


     X________________
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                 (Inmate Signature/Date/Time)                                            (Signature/Date/Time)



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Facility: 1                                           Page 1 of 1                                            Printed: 0-19-2013 2034
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                                   LOUISVILLE METRO
                    Case 3:16-cv-00742-DJH-CHL   DocumentDEPT.
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                                                                         05/21/19 Page 462 of 625 PageID #:
                                                            1454       I
                                            Inmate Personal Property ~eceipt
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      (-~·CIN: 577966
                                                                                           i
                                  Book #: 2012029784           Book Dt/Tm: 09-07-20~ 2 0236
               Name(L,F,M,S): HINDI, MAHMOUD, Y                                            ;
              D O B - - Age: 56              Race: W       Sex: M SSN:        066-1!6-20~2
                                                                                           I


                                                                 Storage Locations
                                                     Storage           Number                  Rls/d
                                                     BIN                   000566


             Property Type        Description                                                                                    Status
             1 CD                 PUB DEF MEURER                                                                                 s
           NO MONEY               NO PROPERTY                                                                                    s
           RX GLASSES                                                                                                            s
           SHIRT                                                                                                                 s
           QURAN BIBLE                                                                                                           s
                                                                          Notes
           2 underwear, 1 teeshirt, prayer rug, 1 hair brush, 1 magizine, 1 pair of sodks, 1 pair of shower shoes, 1 pair of glasses, 1
           thermal underwear., misc papers- all items listd here are in the property bkig on shelf 5511
     · ··· ~ELS STORAGE BAG PER NR                                                     [
 ((r                                                                      Intake
                                                                                       I
       \                                                                               i
           Notice: All properties listed are to be claimed within 30 days of release from custody.




                        (Inmate Signature/Date/Time)                                             (Signature/Date/Time)




                                                                         Release
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           Notice: All properties listed are to be claimed within 30 days of release tram custody.




                        (Inmate Signature/Date/Time)                                            (Signature/Date/Time)




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     Facility: 1                                           Page 1 of 1                                               Printed: 0-19-2013 2034
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     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 463 of 625 PageID #:
                       LOUISVILLE METRO1455DEPT. OF ¢0RRECTIONS
                                                                                        !


                                             Inmate Personal Property ~eceipt


        CIN: 577966         Book#: 2012029784            Book DtfTm: 09-07-2912 0236                                                      (~
        Name(L,F,M,S): HINDI, MAHMOUD, Y

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      o_o_B_=-....r                 __s_e_x_:_M__ss_N_:_o6_6_-6_6_-_20_1,__2_ _ _ _ _ _ _ _ __ _
                                                           Storage Locations i
                                               Storage           Number      : Rls/d                                           : -r

                                               BIN                   000566


     Property Type           Description                                                                                   Status
     1 CD                    PUB DEF MEURER                                                                                s
     NO MONEY                NO PROPERTY                                                                                   s
     QURAN BIBLE                                                                                                           R
     RX GLASSES                                                                                                            s
     SHIRT                                                                                                                 s
      ------------------Notes---r----------------
      2 underwear, 1 teeshirt, prayer rug, 1 hair brush, 1 magizine, 1 pair of so~ks, 1 pair of shower shoes, 1 pair of glasses, 1
     thermal underwear., misc papers- all items listd here are in the property tlag on shelf 5511
 .   .RELS STORAGE BAG PER AIR                                                    :
(.   l:;iURAN RELS TO WHITLOW
                                                                     Intake
                                                                                    '
     Notice: All properties listed are to be claimed within 30 days of release ~rom custody.




                 (Inmate Signature/Date/Time)                                               (Signature/Date/Time)




                                                                    Release   --+----------------
     Notice: All properties listed are to be claimed within 30 days of release ~rom custody.
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                 (Inmate Signature/Date/Time)                                               (Signature/Date/Time)




 Facility: 1                                          Page 1 of 1                                               Printed: 0-19-2013 2034
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                                                                                                    464 of 625 PageID #:
                                                                  1456            !
                                           Inmate Personal Property ~eceipt
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                                                                              i
          CIN: 577966         Book#: 2012029784                               '
                                                          Book Dt/Tm: 09-07-2d12 0236
                                                                                    '
          Name(L,F,M,S): HINDI, MAHMOUD, Y
                                                                                    I
          D O B : - Age: 56             Race: W       Sex: M SSN: 066-66-20$2

                                                           Storage Locations
                                                Storage          Number                 Rls/d
                                                BIN                000566


      Property Type           Description                                                                                Status
      1 CD                    PUB DEF MEURER                                                                            s
      NO MONEY                NO PROPERTY                                                                               s
      RX GLASSES                                                                                                        s
      SHIRT                                                                                                             s
      QURAN                   x1                                                                                        s
        -------------------Notes----+-----------------
      2 underwear, 1 teeshirt, prayer rug, 1 hair brush, 1 magizine, 1 pair of seeks, 1 pair of shower shoes, 1 pair of glasses, 1
      thermal underwear., misc papers- all items listd here are in the property ~ag on shelf 5511
      RELS STORAGE BAG PER AIR                                                   .
      ?URAN RELS TO WHITLOW
                                                                  Intake
                                                                                i
      Notice: All properties listed are to be claimed within 30 days of release from custody.


      x __________________
                                                                      x---+----------------
                    (Inmate Signature/Dateffime)                                         (Signature/Dateffime)




   - - - - - - - - - - - - - - - - - - - · Release ----1----------------~

     Notice: All properties listed are to be claimed within 30 days of release tom custody.


     x __________________                                            X__-+-------------------
                    (Inmate Signature/Dateffime)                                         (Signature/Dateffime)




Facility: 1                                           Page 1of1                                              Printed: 0-19-2013 2035
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Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 465 of 625 PageID #:
              LOUISVILLE METROPOUTAN 1457
                                     DEPARTMENfr OF CORRECTIONS
                    400 S. Sixth Street
                    Phone: 5025742167                  Fax:

                                                   Inmate Account Transa~tions                                                                                     (
                                                                                                                                                                       .,
~~:tr~J~~t'!~ll2!t~ ' :P,#~!!"l!;i+9~~-~~~X ?ti'.'.!; t ,>5;,foiiji!i~:sJ::1:~;~/11,'1~iii%i1\~,:   \'M:t, ;!J'i '''?t±f'Xr~;.;r;Y~rf'.[;:ii:~*;~1ti¥i&f~i ~i'-<
Inmate#:        00577966            Inmate Name:         HINDI, MAHMOUD Y                   I     Sex:     MALE          Race: -
                                                                                            I                                       N.Afr/Mid Eas
Booking # :       2012029784                                                                I                            DOB:       0• •

                                                                                                               Hold Funds : $0.00

                                                                                                AIR Balance Trans DtTm                      Emp ID
                                                                                  $q0.61                 $0.00 06/23/2013 11:00             ADM
                                                                                            :
                                                                                            I

                                                                                                         $0,00 07/13/2013 12:26             ADM




                                                                                                         $0.00 07/17 /2013 13:47            ADM




                                                                                   $8f.22                $0.00 07/17/201315:03             ADM




                                                                                  $7f.62                 $0.00 07/17/2013 22:46            ADM


                                                                                        i
                                                                                        :
                                                                                  $3f.56               $0.00 07/23/201315:30               ADM

                                                                                        I
                                                                                        i
                                                                                 $23V.56               $0.00 07/28/201311:18               25541
                                                                                        I




                                                                                $18V.21                $0.00 07/30/2013 14:40             ADM
                                                                                    i

                                                                                $131.77               $0.00 08/13/2013 13:20              ADM


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                                                                                $10~.37               $0.00 08/21/2013 14:20              ADM
                                                                                    !




                                                                                                      $0.00 08/27/2013 15:50              ADM




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                                                                                                                           GB003945
              Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 466 of 625 PageID #:
         Inmate#:     00577966    Inmate Name:          1458 Y
                                               HINDI, MAHMOUD        Sex: MALE Race: White/Eurp/
                                                                                                                            N.Afr/Mid Eas
(-:)     Booking # :   2012029784                                                                                    DOB:~
  {~·    Account balance:       $195.97         Payable balance:       $0.00                                  Hold Funds : $0.00

         Trans Type    · Amount Check No      Receipt No     Description          B~ance         A/R Balance Trans DtTm              Emp ID
                            •'.$22.40                          Received from      $~09.37                 $0.00 08/28/2013 13:20 ADM
                                                                                            I
                                                               Canteen                      !

                                                              Interface, Trans
                                                              ID:822486
         Comm                $59.23                           Received from         ~50.14               $0.00 08/29/2013 13:00 ADM
                                                              Canteen
                                                              Interface, Trans              !'
                                                              ID:822838                     i
         DepChk            $200.00 7801346    13-36675        Received from                              $0.00 09/04/2013 07:23     24601
                                                              HINDI,
                                                              MAHMOUDY
         Comm               $11.20                           Received from        $2j38.94               $0.00 09/06/2013 14:26 ADM
                                                             Canteen                        I
                                                                                            i
                                                             Interface, Trans               i
                                                             ID:823485
        Comm                $58.75                           Received from
                                                                                        '                $0.00 09/09/2013 11:50 ADM
                                                             Canteen
                                                            Interface, Trans            !
          .                                                 ID;824086                   :
        Comm                 $5.60                           Received from       uv4.59                  $0.00 09/11/2013 15:00 ADM
                                                             Canteen                    '
(•
, (r                                                        Interface, Trans
                                                                                        !
                                                                                        ,
                                                                                        )
                                                            ID:825019                   !           .

  \
        Comm                $59.23                          Received from        $1~5.36                $0.00 09/12/2013 12:00 ADM
                                                            Canteen                    .,


                                                            Interface, Trans            i
                       .                                    ID:825432                  I
        Comm                $40.02                          Received from         $V5.34                $0.00 09/19/2013 11:50     ADM
                                                                                       i
                                                            Canteen
                                                           Interface, Trans            !
                                                           ID:826795                I'
        Comm                $27.65                          Received from                               $0.00 09/23/2013 11:30 ADM
                                                           Canteen
                                                           Interface, Trans
                                                           ID:827334
        DepChk             $200.00 7956267   13-49454      Received from         $2f7.69                $0.00 09/29/2013 15:33     23850
                                                           HINDI, .                 j
                                                           MAHMOUDY                 '
        Comm               $51.72                                                $1$5.97                $0.00 10/02/2013 14:50 ADM
                                                                                    !




        WthChk         $195.97 00252719      13-60098                              f0.00                $0.00 10/21/2013 11:11    25585
                                                                                   I

        WthChk         $195.97 00252719      13-60098      Void WthChk                                  $0.00 10/21/2013 11:15    25585
                                                           on 10/21/2013
                                                           11:11

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             Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 467 of 625 PageID #:
                                                  1459
                                           JEFFERSON COUNTY                            10/21/2013
                                               INMATE PURCHASE REPORT                         11:53:02AM
                                          FROM: 09/17/2012 TO: 10/21/2013
                                                   INST #: JEFFCO


        ID        Inv #        Name                   Inv Date               Price   Qty        Amount
        ==========================================================================================
        577966
                 753859       HINDI, MAHMOUD          09/24/2012   User: svogs
                 HAIR BRUSH - NO HANDLE    6007         HYGIENE             $1. 32     1        $1. 32
                 DEODORANT SUAVE           6074         HYGIENE             $3.34      1        $3.34
                 SHAMPOO DANDRUFF          6409         HYGIENE             $2.17      1        $2.17
                 TOOTHPASTE COLGATE        6726         HYGIENE             $2.22      1        $2.22
                 BOXER SHORTS LARGE        8003         CLOTHING            $3.39      2        $6.78
                 PLAYING CARDS             7110         STATIONARY          $2.49      1        $2. 49
                 COFFEE COLUMBIAN          1614         BEVERAGES           $4.06      1        $4.06
                 COOKIES DUPLEX            2815         SNACKS              $1. 04     3        $3 .12
                 KIT KAT                   4219         CANDY              $1.20       2        $2.40
                 SNICKERS                  4249         CANDY              $1.20       2        $2.40
                 RAMEN SOUPS BLOCK - BEEF 1010          PREPARED FOODS     $0.60       2        $1. 20
                 RAMEN SOUPS BLOCK - SHRIM 1015         PREPARED FOODS     $0.60       3        $1. 80
                                                                                             ---------
                                              Invoic·e Totals:          Tax: $0.00             $33.30
                 755503       HINDI, MAHMOUD         10/01/2012   User: svogs
                 BOXER SHORTS 2X LARGE     8005        CLOTHING            $3.60      1        $3. 60
((r ·.           THERMAL BOTTOMS 2X LARGE 8744         CLOTHING            $6.36      1        $6.36
                 THERMAL TOP, 2XL          8754        CLOTHING            $6.36      1        $6.36
  \
                 MUG STADIUM               9901        BEVERAGES           $1. 89     1        $1. 89
                 COFFEE REGULAR            1605        BEVERAGES           $4.62      1        $4. 62
                 SUGAR PACKET 10 CT        5730        BEVERAGES           $0. 40     2        $0. 80
                 MAXWELL HOUSE SINGLES     1615        BEVERAGES           $0.40      5        $2.00
                 COOKIES DUPLEX            2815        SNACKS             $1. 04      4        $4.16
                 LEMON DROPS               4021        CANDY              $1. 27      1        $1.27
                 SNICKERS                  4249        CANDY              $1. 20      4        $4.80
                 BEEF & CHEESE STICK       5011        PREPARED FOODS     $0.95       2        $1. 90
                 RELISH PACK               5411        SNACKS             $0.10       3        $0.30
                 SALT 10CT                 5721        SNACKS             $0.50       1        $0.50
                 RAMEN SOUPS BLOCK - BEEF 1010         PREPARED FOODS     $0.60       6        $3. 60
                 RAMEN SOUPS BLOCK - SHRIM 1015        PREPARED FOODS     $0.60       6        $3. 60
                 SPANISH RICE              1280        PREPARED FOODS     $1.10       1        $1.10
                                                                                            ---------
                                              Invoice Totals:           Tax: $0.00            $46.86
                 756870         HINDI, MAHMOUD       10/08/2012    User: svogs
                 BOXER SHORTS X LARGE        8004      CLOTHING             $3.39     1        $3.39
                 COFFEE REGULAR              1605      BEVERAGES            $4.62     1        $4.62
                 SUGJ',R PACKET 10 CT        5730      BEVERAGES            $0.40     2        $0.80
                 NI!' CHEE                   2003      SNACKS               $0.60     3        $1.80
                 POP TARTS 2 PACK - BLUEBE 2401        SNACKS               $1. 05    1        $1.05

~                POP TARTS 2 PACK - CHERRY 2403        SNACKS               $1. 05    1        $1.05
J                                                                           $1. 05    1        $1.05
                 POP TARTS 2 PACK - STRAWB 2404        SNACKS
    \            COOKIES DUPLEX              2815      SNACKS               $1. 04    5        $5.20
                 LEMON DROPS                 4021      CANDY                $1. 27    2        $2.54

                                                                                           Page 1 of 15


                                                                                       GB003947
         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 468 of 625 PageID #:
                                              1460
         ID      Inv #       Name                    Inv Date                  Price    Qty        Amount
         ======================================================~===================================
                                                                              $1. 20      4        $4.80
    (-         . SNICKERS                  4249        CANDY
                                                                              $1. 89      1
                 MACKEREL                  5155        PREPARED   FboDs                            $1. 89
                 TUNA                      5164        PREPARED   FboDs
                                                                    '
                                                                              $2. 29      1        $2.29      ("\
                 SALT lDCT                 5721        SNACKS      I'
                                                                              $0.50       1        $0.50
                 RAMEN SOUPS BLOCK - BEEF 1010         PREPARED   FboDs       $0.60       6        $3.60
                 RAMEN SOUPS BLOCK - SHRIM 1015        PREPARED   Fboos       $0.60       6        $3.60
                                                                                                ---------
                                             Invoice Totals:           Tax: $0.00                 $38.18
                                                                 '
                758539       HINDI, MAHMOUD         10/15/2012   ;user: svogs
                                                                 '


                SUGAR PACKET 10 CT         5730       BEVERAGES            $0. 40         2        $0.80
                READING GLASSES 300        8158'      STATIONARY:          $6.03          1        $6.03
                POP TARTS 2 PACK - BLUE BE 2401       SNACKS               $1. 05         2        $2.10
                COOKIES DUPLEX             2815       SNACKS               $1. 04         5        $5.20
                LEMON DROPS                4021       CANDY                $1. 27         2        $2.54
                SNICKERS                   4249       CANDY                $1. 20         3        $3.60
                MACKEREL                   5155       PREPARED FboDs       $1. 89         2        $3.78
                RAMEN SOUPS BLOCK - CHILI 1012        PREPARED FboDs       $0.60          4        $2.40
                RAMEN SOUPS BLOCK - SHRIM 1015        PREPARED FDODS       $0.60          4        $2.40
                                                                                                ---------
                                              Invoice Totals:           Tax: $0.00                $28.85
                760195        HINDI, MAHMOUD         10/22/2012    User: svogs
                TEA DRINK MIX               1313       BEVERAGES            $0.38         3        $1.14
                COFFEE REGULAR              1605       BEVERAGES            $4.62         1        $4. ·52
(               SUGAR PACKET 10 CT          5730       BEVERAGES ,          $0.40
                                                                            $0.60
                                                                                          2        $0.80
                                                                                                   $3.00
                CHEESE ON WHEAT CRACKERS 2013          SNACKS                             5
                POP TARTS 2 PACK - CHERRY 2403         SNACKS               $1. 05        2        $2.10
                POE: TARTS 2 PACK    STRAWS 2404       SNACKS               $1. 05        2        $2.10
                ANDY CAPP FRIES             2554       SNACKS               $1. DO        1        $1. OD
                BBQ GRIPPOS                 2632       SNACKS               $1. 20        2        $2. 40
                COOKIES DUPLEX              2815       SNACKS               $1. 04        5        $5.20
                CHOCOLATE CUPCAKES          3021       SNACKS               $1.10         2        $2.20
                HONEY BUN-FROSTED           3030       SNACKS               $1.10         2        $2.20
                LEMON DROPS                 4021       CANDY                $1. 27        2        $2.54
                SNICKERS                    4249       CANDY                $1. 20        2        $2.40
                HOT SHOTS MEAT              5027       PREPARED ¢ooDs       $0.95         2        $1. 90
                RAMEN SOUPS BLOCK - BEEF 1010          PREPARED ~OODS       $0.60         6        $3.60
                RAMEN SOUPS BLOCK - CHICK 1011         PREPARED F!OODS      $0.60         4        $2.40
                RAMEN SOUPS BLOCK - SHRIM 1015         PREPARED EfooDs      $0.60         4        $2.40
                                                                                               ---------
                                            Invoice Totals:               Tax: $0.00              $42.00
               762276        HINDI, MAHMOUD        10/31/2012     : User: svogs
               GRAB BAGS                  9852                                $5.60       4       $22.40
                                                                                               ---------
                                           Invoice Totals:            Tax: $0.00                 $22.40
               763057       HINDI, MAHMOUD        11/05/2012     User: svogs
               PLAYING CARDS             7110       STATIONARl['          $2. 49          1       $2.49
(              TEA DRINK MIX             1313       BEVERAGES I           $0.38           3       $1.14
    -·         COFFEE COLUMBIAN          1614       BEVERAGES ;           $4.06           1       $4.06
               SUGAR PACKET 10 CT        5730       BEVERAGES,            $0.40           2       $0. 80 (
               CHEESE ON WHEAT CRACKERS 2013        SNACKS                $0.60          10       $6.00 . ../

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                    Case 3:16-cv-00742-DJH-CHL Document
                                   HINDI, MAHMOUD Y     143-1 Filed 05/21/19 DOOKIOgrt:Page 469 \.OIN!lf
                                                                                                    of 625 PageID #:
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                                                          Current Housi~g Location/ Status:
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         Visitor:                             Event::    Visit Date and Time:   Visit Booth:   Inmate Housing at time of visit:

    ({~USA HINDI, FATIMA HINDI                VISA       09/08/2012 17:30            vh10                1   w    J2VI W1
            JSA HINDI, FATIMA HINDI           VISA       09/10/2012 16:41        V131                    1   w    J2VI W1
          HINDI HAMZA                         VISA       09/12/2012 17:53        V138                    1   w    J2VI W1
         MUSA HINDI                           VISA       09/15/201219:53         v,13a                   1   w    J2VI W1
         MUSA HINDI, HASAN HINDI              VISA       09/15/2012 20:33        \li138                  1   w    J2VI W1
         TAREQ HINDI MUSA HINDI               VISA       09/17/2012 16:51        Vh38                    1   w    J2VI W1
     · HASAN HINDI, HINDI HAMZA               VISA       09/21/2012 16:46                                1   N    J3        8
                                                                                 l38
         HASAN HINDI                          VISA.      10/04/2012 16:33          29                    1   N    J3     8
         HASAN HINDI                         VISA        10/18/2012 16:36        ~143                 1      N   J3      8
         HASAN HINDI                         VISA        10/28/2012 16:43        \/1120               1      N   J3      8
         HASAN ALMOHROUG                     VISA        11/04/2012 19:11        q120                 1      N   J3      8
         HASAN HINDI                         VISA       11/15/2012 16:40        V110                  1      N   J3      8
         FATIMA HINDI, YOUSEF HINDI          VISA       11/18/2012 19;36        Vl10                  1      N   J3      8
         TAREQHINDI                          VISA       11/25/2012 16:47        "110                  1      N   J3      8
         HASAN HINDI                         VISA       11/29/2012 16:33        "1127                 1      N   J3      8
         PHILLIP CROWE                       VISA       12/02/2012 21 :54       \11127                1      N   J3      8
         HASAN HINDI                         VISA       12/13/2012 16:33        "119                  1      N   J3      8
         MUSA HINDI                          VISA       12/23/2012 12:21        V119                  1      N   J3     8
(        '~OUSEF HINDI, HAMZA HINDI          VISA       12/27/2012 16:53        \11133                1      N   J3     8
    \/     'SAN HINDI                        VISA       01/19/2013 16:37        V1119                1       w   J2VI 09
    \ ... ,MZA HINDI, HASAN HINDI            VISA·      02/04/2013 16:38        \1126                1       w   J2VI W1
         YOUSEF HINDI, FATIMA HINDI          VISA       02/10/2013 16:36        IA126                1       E   H5     N1
         YOUSEF HINDI, FATIMA HINDI          VISA       03/11/2013 16:42        "116                 1       w   J2VI W2
         HASAN HINDI                         VISA       03/16/201316:50         \.117                1       w   J2VI W2
         HASAN HINDI                         VISA       04/13/2013 16:37        J117                 1       s   J4     7
         MUSA HINDI                          VISA       05/1112013 07:39         12                  1       s   J4     7
         HINDI HAMZA                         VISA       05/15/201316:49         \.112                1       s   J4     7
         HASAN HINDI                         VISA       06/12/201316:40         y15                  1       s   J4     7
         HASAN HINDI                         VISA       06/19/2013 16:44        ~15                  1       s   J4     7

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      Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 470 of 625 PageID #:
                 LOUISVILLE METROPOLITAN DEPARTMENT
                                           1462        qF CORRECTIONS
                 400 S. Sixth Street
                 Louisville-40202,KY
                 Phone: (502) 574-2167x

                                          Visitor Information R~port                                ('
    Date From : 6/23/2013     Date To : 10/21/2013             ,
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                                                I AN IJl:l'AK I Ml:NT  Of05/21/19
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                                                                          C:ORREC:TIONS
                   400 S. Sixth Street                      1463
                   Louisville-40202,KY
                   Phone: (502) 574-2167x
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                                                Visit Search Repoijt

       Building Name :
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   Visitor Name              Inmate#                                                            "'~n~tc>r b~ _
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  HINDI HASAN                00577966                                                                              -   ,''




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            Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 472 of 625
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                Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 473 of 625 PageID
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         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 474 of 625 PageID #:
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     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 475 of 625 PageID #:
         Inv #       Name
                                          1467
ID                                              Inv Date                     Price   Qty        Amount
=====================================================9====================================
        SNACK CRACKERS               2028         SNACKS                    $3.32         1     $3. 32
                                                                        0



        PEANUTS                      2110         SNACKS                    $0.85         1     $0. 85
        POP TARTS 2 PACK -    BLUEBE 2401         SNACKS                    $1. 05        2     $2 .10
        POP TARTS 2 PACK -    CHERRY 2403         SNACKS                    $1. 05        2     $2.10
        BBQ GRIPPOS                  2632         SNACKS                    $1.20         1     $1. 20
        COOKIES DUPLEX               2815         SNACKS                    $1. 04        5     $5.20
        HONEY BUN-FROSTED            3030         SNACKS                    $1.10         4     $4.40
        LEMON DROPS                  4021         CANDY                     $1.27         3     $3. 81
        SNICKERS                     4249         CANDY                     $1. 20        5     $6. 00
        RAMEN SOUPS BLOCK -    BEEF 1010          PREPARED fOODS            $0. 60        5     $3.00
        RAMEN SOUPS BLOCK -    CHICK 1011         PREPARED tooDS            $0.60         5     $3.00
                                                            i

                                        Invoice Totals:              Tax: $0.00                $49.47
        764683       HINDI,   MAHMOUD          11/12/2012       User: svogs
       SUGAR PACKET 10 CT            5730         BEVERAGES[            $0.40         2        $0.80
        TEA DRINK MIX                 1313        BEVERAGESf            $0.38          3       $1.14
       COFFEE REGULAR                1605        BEVERAGES!             $4.62         2        $9.24
       SNACK CRACKERS                2028        SNACKS                 $3.32         2        $6. 64
       PEANUTS                       2110        SNACKS                 $0.85         2        $1. 70
       POP TARTS 2 PACK -     BLUEBE 2401        SNACKS                 $1. 05        2        $2 .10
       POP TARTS 2 PACK -     CHERRY 2403        SNACKS                 $1. 05        2        $2.10
       POP TARTS 2 PACK -     STRAWB 24 04       SNACKS                 $1. 05        2        $2.10
       BBQ GR.IPPOS                  2 632       SNACKS                 $1.20         1        $1. 20
       COQKIJ<S DUPLEX               2815        SNACKS                 $1. 04        5        $5.20
       STRAWBERRY CREME              2843        SNACKS                 $1. 04        1        $1. 04
       HONEY BUN-FROSTED             3030        SNACKS                 $1.10         4        $4.40
       LEMON DROPS                   4021        CANDY                  $1.27         3        $3.81
       SNICKERS                      4249        CANDY                  $1.20         5        $6. 00
       TUNA.                         5164        PREPARED ~OODS         $2.29         1        $2.29
       RAMEN SOUPS BLOCK -     BEEF 1010         PREPARED rooDS         $0.60         6        $3.()0

                                     -Invoice Totals:           Tax: $0.00                    $53.36
        766209        HINDI, MAHMOUD         11/19/2012    User: svogs
        BOJ!ER SHORTS LARGE        8003         CLOTHING            $3.39             1        $3.39
        BOXER SHORTS X LARGE       8004        CLOTHING             $3.39             1        $3.39
        CHERRY DRINK MIX           1300        BEVERAGES            $0.38             3        $1.14
        su~AR. VACKET 10 CT        5730        BEVERAGES!           $0.40            2         $0.80
        SNAQK CRACKERS             2028        SNACKS               $3.32            2         $6. 64
        PEANUTS                    2110        SNACKS               $0.85            2         $1. 70
        POP TARTS 2 PACK - BLUEBE 2401         SNACKS               $1. 05           2         $2.10
        POP TARTS 2 PACK - CHERRY 24 03        SNACKS               $1. 05           2         $2.10
        POP TARTS 2 PACK - STRAWB 2404         SNACKS               $1. 05           2         $2.10
       BBQ GR1PPOS                 2632        SNACKS               $1.20            1         $1.20
       COOKIES DUPLEX              2815        SNACKS               $1. 04           5         $5.20
       HONEY BUN-FROSTED           3030        SNACKS               $1.10            4         $4.40
       LEMON DROPS                 4021        CANDY                $1.27            3         $3.81
       SNICKERS                    4249        CANDY                $1.20            5         $6.00
       ll,AMEN SOUPS BLOCK - BEEF 1010         PREPARED rooDS       $0.60            6         $3.60
       RAMEN SOUPS BLOCK - CHICK 1011          PREPARED icOODS      $0.60            6         $3. 60

                                     Invoice Totals:               Tax: $0.00                 $51.17
                                                                                          Page 3 of 15

                                                                                      GB003955
         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 476 of 625 PageID #:
                                              1468
         ID      Inv #       Name                  Inv Date                Price     Qty        Amount
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    (~          767263       HINDI, MAHMOUD        11/26/2012    User: svogs
                PLAYING CARDS             7110       STATIONARY           $2.49        1        $2.49
                SUGAR PACKET 10 CT        5730       BEVERAGES•           $0. 40       2        $0.80 ( - '
                CHERRY DRINK MIX          1300       BEVERAGES:           $0.38        3        $1.14
                SNACK CRACKERS            2028       SNACKS               $3.32        2        $6. 64
                PEANUTS                   2110       SNACKS               $0.85        2        $1. 70
                POP TARTS 2 PACK - BLUEBE 2401       SNACKS               $1.05        2        $2.10
                POP TARTS 2 PACK - CHERRY 2403       SNACKS               $1. 05       2        $2.10
                POP TARTS 2 PACK - STRAWB 24 04      SNACKS               $1.05        2        $2.10
                BBQ GRIPPOS               2632       SNACKS               $1. 20       1        $1. 20
                COOKIES DUPLEX            2815       SNACKS               $1. 04       6        $6. 24
                LEMON DROPS               4021       CANDY                $1. 27       3        $3.81
                SNICKERS                  4249       CANDY                $1.20        5        $6.00
                SALT lOCT                 5721       SNACKS               $0.50        2        $1. 00
                RAMEN SOUPS BLOCK - BEEF 1010        PREPARED fOODS       $0.60        6        $3.60
                RAMEN SOUPS BLOCK - CHICK 1011       PREPARED E'OODS      $0.60        6        $3.60

                                            Invoice Totals:          Tax: $0.00                $44.52
                769429       HINDI, MAHMOUD        12/05/2012   User: svogs
                CHERRY DRINK MIX          1300       BEVERAGES:          $0.38         3       $1.14
                SUGAR PACKET 10 CT        5730       BEVERAGES'          $0. 40        1       $0.40
                SALT lOCT                 5721       SNACKS              $0.50         2       $1. 00
                RAMEN SOUPS BLOCK - BEEF 1010        PREPARED fOODS      $0.60         6       $3.60
                RAMEN SOUPS BLOCK - CHICK1011        PREPARED fOODS      $0.60         6       $3.60
(                                                                        $0.85         2       $1. 70
                PEANUTS                   2110       SNACKS
                POP TARTS 2 PACK - BLUEBE 2401       SNACKS              $1. 05        3       $ 3. 15 (
                POP TARTS 2 PACK - CHERRY 2403       SNACKS              $1. 05        2       $2.10
                POP TARTS 2 PACK - STRAWB 2404       SNACKS              $1. 05        2       $2.10
                BBQ GRIPPOS               2632       SNACKS              $1.20         1       $1. 20
                LEMON DROPS               4021       CANDY               $1.27         3       $3.81
                SNICKERS                  424 9      CANDY               $1. 20        5       $6. 00
                COFFEE REGULAR            1605       BEVERAGES;          $4.62         1       $4. 62

                                            Invoice Totals:           Tax: $0.00              $34.42
                769691       HINDI, MAHMOUD        12/06/2012    User: SVOGS
                RAMEN SOUPS BLOCK - BEEF 1010        PREPARED E'OODS      $0.60       -6      ($3. 60)
                RAMEN SOUPS BLOCK - CHICKlOll        PREPARED FOODS       $0.60       -6      ( $3. 60)
                CHERRY DRINK MIX          1300       BEVERAGES;           $0.38       -3      ($1.14)
                COFFEE REGULAR            1605       BEVERAGES            $4.62       -1      ($4. 62)
                PEANUTS                   2110       SNACKS               $0.85       -2      ($1. 70)
                POP TARTS 2 PACK - BLUEBE 2401       SNACKS               $1. 05      -3      ($3. 15)
                POP TARTS 2 PACK - CHERRY 2403       SNACKS               $1. 05      -2      ($2.10)
                POP TARTS 2 PACK - STRAWB 2404       SNACKS               $1. 05      -2      ($2.10)
                BBQ GRIPPOS               2632       SNACKS               $1. 20     -1       ($1.20)
                LEMON DROPS               4021       CANDY                $1. 27      -3      ($3. 81)
                SNICKERS                  4249       CANDY                $1. 20     -5       ($6.00)
                SALT lOCT                 5721       SNACKS               $0. 50     -2       ($1. 00)
                SUGAR PACKET 10 CT        5730       BEVERAGES.           $0. 40     -1       ($0.40)
                                                                                            _________/
                                           Invoice Totals:           Tax: $0.00              ($34. 42)\__j

                                                                                           Page 4 of 15

                                                                                   GB003956
                         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 477 of 625 PageID #:
                   ID       Inv #        Name              Inv1469
                                                                Date              Price     Qty       Amount
                   ======================================================!==::::;=================================
     (-I                   770242        HINDI,    MAHMOUD         12/10/2012 I User: svogs
     .       ,;:-           DEODORANT MEN' S              6077        HYGIENE            $1.69          1        $1. 69
             \              SHAMPOO BALSAM                6404        HYGIENE            $2.32          1        $2.32
                            SOCKS                         8666        CLOTHING           $1.32          1        $1. 32
                            T-SHIRT 2X LARGE              8724        CLOTHING           $4.24          1       $4.24
                           CREAMER PACKET                5450         BEVERAGES          $0.12          6       $0. 72
                           CHERRY DRINK MIX              1300         BEVERAGES         $0.38          3        $1.14
                           COFFEE REGULAR                1605        BEVERAGES          $4. 62         1        $4.62
                           SUGAR PACKET 10 CT            5730        BEVERAGES          $0. 40         2        $0.80
                           SNACK CRACKERS                2028        SNACKS             $3.32          2        $6. 64
                           PEANUTS                       2110        SNACKS             $0.85          2        $1. 70
                           POP TARTS 2 PACK -     BLUEBE 2401        SNACKS             $1. 05         3        $3.15
                           POP TARTS 2 PACK -     CHERRY 2403        SNACKS             $1. 05         2        $2 .10
                           POP TARTS 2 PACK -     STRAWB 2404        SNACKS             $1. 05         3        $3.15
                           BBQ GRIPPOS                   2632        SNACKS             $1. 20         1        $1. 20
                           COOKIES DUPLEX                2815        SNACKS             $1. 04         6        $6. 24
                           LEMON DROPS                   4021        CANDY              $1. 27         3        $3.81
                           SNICKERS                      4249        CANDY              $1. 20         6        $7.20
                           SALT 10CT                     5721        SNACKS             $0.50          2        $1. 00
                           RAMEN SOUPS BLOCK -     BEEF 1010         PREPARED fOODS     $0.60          6        $3.60
                           RAMEN SOUPS BLOCK -     CHICK 1011        PREPARED fOODS     $0. 60         5        $3.00
                                                                                                            ---------
                                                           Invoice Totals:           Tax: $0.00               $59. 64
 •..                       771814        HINDI,    MAHMOUD        12/17/2012    User: svogs
(((                         ORANGE DRINK MIX              1327       BEVERAGES           $0.38      3           $1.14
                            COFFEE REGULAR                1605       BEVERAGES           $4.62      1           $4. 62
                            COFFEE COLUMBIAN              1614       BEVERAGES           $4.06      1           $4.06
                            CREAMER PACKET               5450        BEVERAGES           $0.12      9          $1. OB
                           SUGAR RACKET 10 CT            5730        BEVERAGES           $0.40      2          $0.80
                           ORANGE SODA                   5883       BEVERAGES!           $1. 47    1           $1. 47
                           SALT lOCT                     5721       SNACKS              $0.50      2           $1. 00
                           SNACK CRACKERS                2028       SNACKS              $3.32      2           $6. 64
                           PEANUTS                       2110       SNACKS              $0.85      2           $1. 70
                           POP TARTS 2 PACK -     BLUEBE 2401       SNACKS              $1. 05     3           $3.15
                           POP TARTS 2 PACK -     CHERRY 2403       SNACKS              $1. 05     3           $3.15
                           POP TARTS 2 PACK -     STRAWB 2404       SNACKS              $1.05      3           $3.15
                           BBQ GRIPPOS                   2632       SNACKS              $1.20      1           $1. 20
                           ¢qpKIES DUPLEX                2815       SNACKS              $1. 04     4           $4.16
                           ATOMIC FIREBALLS              4001       CANDY               $1. 27     1           $1. 27
                           LEMON DROPS                   4021       CANDY               $1. 27     3           $3. 81
                           SNICKERS                      4249       CANDY               $1. 20     5           $6. 00
                           RAMEN SOUPS BLOCK -     BEEF 1010        PREPARED fOODS      $0. 60     7           $4.20
                           RAMEN SOUPS BLOCK -     CHICK 1011       PREPARED f OODS     $0.60      8           $4.80
                                                                                                            ---------
                                                         .Invoice Totals:           Tax: $0.00                $57.40
                           772513       HINDI, MAHMOUD           12/18/2012    User: SVOGS
                           B!lQ GRIPPOS              2632          SNACKS               $1. 20    -1          ($1.20)
,(
 . .,    (
                                                                                                            ---------
             "-.. __ .                                    Invoice Totals:           Tax: $0.00                ($1.20)
                          773583        HINDI, MAHMOUD           12/24/2012    User: svogs

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                                                                                                   GB003957
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                                           1470
      ID      Inv #      Name                    Inv Date                Price    Qty         Amount
      ==========================================================================================
(·.          T-SHIRT X LARGE             8723      CLOTHING             $3.07        1        $3. 07
             CREAMER PACKET              5450      BEVERAGES;           $0.12       10        $1. 20
             PUNCH DRINK MIX             1304      BEVERAGES;           $0.38        3        $1.14 ( \
             COFFEE REGULAR              1605      BEVERAGES.           $4.62        1        $4. 62
             SUGAR PACKET 10 CT          5730      BEVERAGES            $0.40        2        $0.80
             PEANUTS                     2110      SNACKS               $0.85        6        $5.10
             POP TARTS 2 PACK - BLUEBE   2401      SNACKS               $1. 05       4        $4.20
             POP TARTS 2 PACK - CHERRY   2403      SNACKS               $1. 05       3        $3.15
             POP TARTS 2 PACK - STRAWB   24 04     SNACKS               $1.05        4        $4.20
             BBQ GRIPPOS                 2632      SNACKS               $1. 20      1         $1. 20
             COOKIES DUPLEX              2815      SNACKS               $1. 04      5         $5.20
             ATOMIC FIREBALLS            4001      CANDY                $1. 27      1         $1. 27
             JOLLY RANCHER               4 017     CANDY                $1. 27      1         $1.27
             LEMON DROPS                 4021      CANDY                $1.27       2         $2.54
             MILKY WAY                   4229      CANDY                $1.20       2         $2.40
             RAMEN SOUPS BLOCK - BEEF    1010      PREPARED FOODS       $0.60       8         $4.80
             SALT lOCT                   5721      SNACKS               $0.50       2         $1. 00

                                         Invoice Totals:           Tax: $0.00                $47.16
             774592       HINDI, MAHMOUD        12/31/2012    User: svogs
             SUGAR PACKET 10 CT        5730       BEVERAGES I          $0. 40       2        $0.80
             GRAPE SODA                5849       BEVERAGES:           $1. 47       1        $1. 47
                                                            I
             CHERRY DRINK MIX          1300       BEVERAGES I          $0.38        3        $1.14
             COFFEE REGULAR            1605       BEVERAGES.           $4.62        1        $4.62
             PEANUTS                   2110       SNACKS               $0.85        7        $5.95
             POP TARTS 2 PACK - BLUEBE 24 01      SNACKS               $1.05        4        $4.20
             POP TARTS 2 PACK - CHERRY 2403       SNACKS               $1. 05       4        $4.20
             POP TARTS 2 PACK - STRAWB 24 04      SNACKS               $1. 05       4        $4.20
             COOKIES DUPLEX            2815       SNACKS               $1.04        6        $6.24
             ATOMIC FIREBALLS          4001       CANDY                $1. 27       1        $1. 27
             LEMON DROPS               4021       CANDY                $1.27        2        $2.54
             SARDINES IN HOT SAUCE     5161       PREPARED fOODS       $1. 91       1        $1. 91
             SALT lOCT                 5721       SNACKS               $0.50        2        $1. 00
             RAMEN SOUPS BLOCK - BEEF 1010        PREPARED fOODS       $0.60        5        $3.00
             RAMEN SOUPS BLOCK - CHICK1011        PREPARED FOODS       $0.60        5        $3.00
             RAMEN SOUPS BLOCK - SHRIM 1015                '
                                                  PREPARED FOODS       $0.60        5        $3.00


                                        Invoice Totals:           Tax: $0.00                $48.54
            775462       HINDI, MAHMOUD        01/04/2013    User: svogs
                                                           1
            COFFEE REGULAR            1605       BEVERAGES            $4. 62        1        $4.62
            SNACK CRACKERS            2028       SNACKS               $3.32         1        $3.32
            POP TARTS 2 PACK - BLUEBE2401        SNACKS               $1.05         5        $5.25
            COOKIES DUPLEX            2815       SNACKS               $1. 04        5        $5.20
            ATOMIC FIREBALLS          4001       CANDY                $1. 27        1        $1. 27
            LEMON DROPS               4021       CANDY                $1. 27        2        $2.54
            STARLIGHT MINTS           4043       CANDY                $1.27         1        $1.27
            RAMEN SOUPS BLOCK - BEEF 1010        PREPARED FOODS       $0.60         5        $3.00
            RAMEN SOUPS BLOCK - CHICK1011        PREPARED FOODS       $0.60         5        $3.00


                                        Invoice Totals:             Tax: $0.00
                                                                                          --;;;~~;\__./
            778297       HINDI, MAHMOUD        01/18/2013    User: svogs
                                                                                         Page 6 of 15

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           Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 479 of 625 PageID #:
      ID       Inv #       Name                 1471
                                              Inv Date              Price     Qty      Amount
      =====================================================~===================================
r;·           COFFEE REGULAR            1605        BEVERAGES!             $4.62         1       $4. 62
r-··.·        SUGAR PACKET 10 CT
              SNACK CRACKERS
                                        5730
                                        2028
                                                    BEVERAGES!
                                                    SNACKS
                                                                           $0.40
                                                                           $3.32
                                                                                         2
                                                                                         1
                                                                                                 $0. 80
                                                                                                 $3. 32
              PEANUTS                   2110        SNACKS                 $0.85         2       $1. 70
              POP TARTS 2 PACK - BLUEBE 2401        SNACKS                 $1.05         4       $4.20
              POP TARTS 2 PACK - CHERRY 2403        SNACKS                 $1. 05        4       $4.20
              POP TARTS 2 PACK - STRAWB 2404        SNACKS                 $1. 05        1       $1. 05
              COOKIES DUPLEX            2815        SNACKS                 $1. 04        5       $5.20
              ATOMIC FIREBALLS          4001        CANDY                  $1. 27        1       $1. 27
              LEMON DROPS               4021        CANDY                  $1.27         2       $2. 54


                                         Invoice Totals:              Tax: $0.00                $28 ..90
             779719       HINDI, MAHMOUD        01/25/2013       User: svogs
             CHERRY DRINK MIX          1300       BEVERAGES                $0.38        5        $1. 90
             COFFEE COLUMBIAN          1614       BEVERAGES                $4.06        1        $4.06
             CHEESE ON WHEAT CRACKERS 2013        SNACKS                   $0.60        2        $1. 20
             PEANUTS                   2110       SNACKS                   $0.85        2        $1.70
             POP TARTS 2 PACK - BLUEBE 2401       SNACKS                   $1.05        2        $2 .10
             MILKY WAY                 4229       CANDY                    $1. 20       2        $2.40


                                         Invoice Totals:              Tax: $0.00                $13.36
             782515       HINDI, MAHMOUD        02/07/2013       User: svogs
             GRAB BAGS                   9852                              $5.60     4          $22. 40


                                         Invoice Totals:              Tax: $0.00                $22. 40
             783388       HINDI, MAHMOUD        02/11/2013       User: SVOGS
             GRAB BAGS                   9852                             $5.60     -4         ($22.40)


                                          Invoice Totals:             Tax: $0.00               ($22. 40)
             78485l.     HINDI, MAHMOUD          02/18/2013      User: svogs
             POP TARTS 2 PACK - CHERRY 2 4 03       SNACKS                $1.05      3           $3 .15


                                          Invoice Totals:             Tax: $0.00                 $3 .15
             785392      HINDI, MAHMOUD          02/20/2013      User: SVOGS
             POP TARTS 2 PACK - CHERRY2403          SNACKS                $1.05     -3          ($3 .15)


                                         Invoice Totals:              Tax: $0.00                ($3.15)
             788817       HINDI, MAHMOUD        03/08/2013       User: svogs
             PEPSI 200Z                5860       BEVERAGES               $1. 47     1          $1. 47
             COFFEE COLUMBIAN          1614       BEVERAGES               $4.06      1          $4.06
             CHEESE ON WHEAT CRACKERS 2013        SNACKS                  $0.60      8          $4.80
             PEANUTS                   2110       SNACKS                  $0.85     5           $4.25
             POP TARTS 2 PACK - BLUEBE 2401       SNACKS                  $1. 05    5           $5.25
             POP TARTS 2 PACK - STRAWB 2404       SNACKS                 $1. 05     4           $4.20
             COOKIES DUPLEX            2815       SNACKS                 $1. 04     4           $4.16
             SNICKERS                  4249       CANDY                  $1.20      3           $3. 60


                                          Invoice Totals:            Tax: $0.00                $31. 79
             790386      HINDI, MAHMOUD          03/15/2013   User: svogs
             DEODORANT MEN'S          6077         HYGIENE                $1. 69    1           $1. 69
                                                                                            Page 7 of 15

                                                                                    GB003959
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                                          1472
     ID      Inv #      Name                     Inv Date                 Price     Qty        Amount
     ==========================================================================================
            TOOTHPASTE COLGATE       6726          HYGIENE               $2.22        1        $2.22
 (          TOOTHBRUSH SECURITY      6743          HYGIENE               $0.32        1        $0. 32
            SUGAR PACKET 10 CT       5730          BEVERAGES             $0.40        2        $0.80 (~
            GRAPE SODA               5849          BEVERAGES'            $1. 47       1        $1. 47
            PEPSI 200Z               5860          BEVERAGES             $1. 47       1        $1. 47
            CHEESE ON WHEAT CRACKERS 2013          SNACKS                $0.60        5        $3.00
                                                                                            ---------
                                         Invoice Totals:             Tax: $0.00               $10.97
            791428       HINDI, MAHMOUD          03/20/2013     User: svogs
            GRAB BAGS                 9852                               $5. 60       2       $11. 20
                                                                                            ---------
                                        Invoice Totals:          Tax: $0.00                   $11.20
            791842       HINDI, MAHMOUD        03/22/2013   User: svogs
            COFFEE COLUMBIAN          1614       BEVERAGES'          $4.06            1        $4.06
            SUGAR PACKET 10 CT        5730       BEVERAGES;          $0.40            2        $0.80
            CHEESE ON WHEAT CRACKERS 2013        SNACKS              $0. 60          10        $6. 00
            PEANUTS                   2110       SNACKS              $0.85            3        $2.55
            POP TARTS 2 PACK - BLUEBE 2401       SNACKS              $1.05            4        $4.20
            POP TARTS 2 PACK - STRAWB 2404       SNACKS              $1. 05           4        $4.20
            COOKIES DUPLEX            2815       SNACKS              $1. 04           2        $2. 08
            SNICKERS                  4249       CANDY               $1.20            3        $3. 60
                                                                                            ---------
                                       Invoice Totals:               Tax: $0.00               $27.49
            793100      HINDI, MAHMOUD        03/28/2013        User: SVOGS
\.                                                                       $0.60       -4      ($2. 40).
            CHEESE ON WHEAT CRACKERS 2013       SNACKS
                                                                                           _________i
                                        Invoice Totals:           Tax: $0.00                  ($2. 40)
            793826       HINDI, MAHMOUD        04/02/2013  ! User: svogs
            COFFEE COLUMBIAN          1614       BEVERAGES'           $4.06           1       $4.06
            GRAPE SODA                5849       BEVERAGES!           $1. 47          1       $1. 4 7
            PEPSI 200Z                5860       BEVERAGES(           $1. 47          1       $1. 47
            CHEESE ON WHEAT CRACKERS 2013        SNACKS               $0.60           6       $3.60
            POP TARTS 2 PACK - BLUEBE 2401       SNACKS               $1. 05          4       $4.20
                                                                                           ---------
                                        Invoice Totals:          Tax: $0.00                  $14.80
            7 9564 7     HINDI, MAHMOUD        04/09/2013   User: svogs
            COFFEE COLUMBIAN          1614       BEVERAGES'          $4.06           1        $4.06
            GRAPE SODA                5849       BEVERAGES:          $1. 47          1        $1. 47
            PEPSI'200Z                5860       BEVERAGES!          $1. 47          1        $1. 4 7
            CHEESE ON WHEAT CRACKERS 2013'       SNACKS              $0.60          10        $6.00
            PEANUTS                   2110       SNACKS              $0.85           5        $4.25
            POP TARTS 2 PACK - BLUEBE 2401       SNACKS              $1. 05          5        $5.25
            POP TARTS 2 PACK - CHERRY 2403       SNACKS              $1. 05          3        $3.15
            COOKIES DUPLEX            2815       SNACKS              $1. 04          3        $3 .12
            STARLIGHT MINTS           4043       CANDY               $1. 27          1        $1. 27
            SNICKERS                  4249       CANDY               $1. 20          4        $4.80
            RAMEN SOUPS BLOCK - CHICK 1011       PREPARED FOODS      $0.60           4        $2.40
~'
                                                                                           ---------
                                         Invoice Totals:            Tax: $0.00               $37.24~'
           798559       HINDI, MAHMOUD          04/23/2013      User: svogs

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                                                1473
      ID      Inv #        Name                   Inv Date                Price   Qty         Amount
      ==========================================================================================
              SHAMPOO BALSAM            64 04       HYGIENE              $2.32         1     $2.32
              PEPSI 200Z                5860        BEVERAGES            $1. 47        2     $2. 94
              COFFEE COLUMBIAN          1614        BEVERAGES            $4.06         1     $4.06
              SNACK CRACKERS            2028        SNACKS               $3.32         1     $3. 32
              POP TARTS 2 PACK - BLUEBE 2401        SNACKS               $1. 05        5     $5.25
              POP TARTS 2 PACK - CHERRY 2403        SNACKS               $1. 05        3     $3 .15
              HONEY BUN-FROSTED         3030        SNACKS               $1.10         5     $5.50
              STARLIGHT MINTS           4043        CANDY                $1. 27        1     $1.27
                                                              i
                                                    PREPARED lfOODS      $2.29         1     $2.29
              TUNA                      5164
              RAMEN SOUPS BLOCK - BEEF 1010         PREPARED lfOODS      $0.60         5     $3.00
              RAMEN SOUPS BLOCK - CHICK 1011        PREPARED tooDs       $0.60         6     $3. 60
                                                              i'
                                          Invoice Totals:           Tax: $0.00              $36.70
             800105       HINDI, MAHMOUD         04/30/2013    User: svogs
             COFFEE COLUMBIAN           1614       BEVERAGES I          $4.06          1     $4. 06
             MOUNTAIN DEW               5853       BEVERAGESl           $1. 47         1     $1. 47
                                                             I
             PEPSI 200Z                 5860       BEVERAGESi           $1. 47     1         $1. 4 7
             RAMEN SOUPS BLOCK - BEEF 1010         PREPARED ~OODS       $0,60      5         $3.00
             RAME;N SOUPS BLOCK - CHICK 1011       PREPARED fOODS       $0.60      5         $3.00
             CHEESE ON WHEAT CRACKERS 2013         SNACKS               $0.60      6         $3. 60
             SNACK CRACKERS             2028       SNACKS               $3.32      1         $3. 32
             PQP TARTS 2 PACK - BLUEBE 2401        SNACKS               $1.05      4         $4.20
             COOKIES DUPLEX             2815       SNACKS               $1. 04     2         $2. 08
             HONEY BUN-FROSTED          3030       SNACKS               $1.10      9         $9.90
((,          STARLIGHT MINTS            4043       CANDY                $1. 27     1         $1.27
 (           SNI,CKERS                  4249       CANDY                $1.20      3         $3.60
             TUNA                       5164       PREPARED fOODS       $2.29      1         $2.29

                                          Invoice Totals:           Tax: $0.00             $43.26
             801569        HINDI, MAHMOUD        05/07/2013    User: svogs
                                                             i
             TE;A W/ LEMON              5813       BEVERAGES i          $1. 4 7    1        $1. 47
             PEPSI 200Z                 5860       BEVERAGES:           $1. 47     1        $1. 47
             RAMEN SOUPS BLOCK - BEEF 1010         PREPARED ~OODS       $0.60      6        $3. 60
             RAMEN SOUPS BLOCK - CHICK 1011        PREPARED tooDS       $0.60      4        $2. 40
             C!lEESE ON WHEAT CRACKERS 2013        SNACKS    1          $0.60     10        $6. 00
             PEANUTS                    2110       SNACKS               $0.85      4        $3. 40
             POP TARTS 2 PACK - BLUEBE 2401        SNACKS               $1.05      5        $5.25
             COOKIES DUPLEX             2815       SNACKS               $1. 04     2        $2.08
             HONEY BUN-FROSTED          3030       SNACKS               $1.10     12       $13.20
             STARLIGHT MINTS            4043       CANDY                $1.27      1        $1.27

                                         Invoice Totals:          Tax: $0.00               $40.14
             804140       HINDI, MAHMOUD        05/22/2013   User: svogs
             COFFEE COLUMBIAN          1614       BEVERAGES;          $4.06        1        . $4. 06
             SQGAR PACKET 10 CT        5730       BEVERAGES'          $0.40        2          $0. 80
             GRAPE SODA                5849       BEVERAGES           $1. 47       1          $1. 47
             PEpSI 200Z                5860       BEVERAGES           $1.4 7       1          $1. 47
             CHEESE ON WHEAT CRACKERS 2013        SNACKS              $0.60       10          $6. 00
             PEANUTS                   2110       SNACKS              $0.85        4   '      $3. 40
             POP TARTS 2 PACK - BLUEBE 2401       SNACKS              $1. 05       3          $3.15
             POP TARTS 2 PACK - STRAWB 24 04      SNACKS              $1. 05       4          $4.20
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                                         1474
    ID      Inv #      Name                   Inv Date                    Price    Qty         Amount
    ==========================================================================================
           COOKIES DUPLEX            2815       SNACKS                   $1. 04       3        $3.12
{~ ·.
           TEXAS CINNAMON ROLL       3018       SNACKS                   $1.10        3        $3.30
           HONEY BUN-FROSTED         3030       SNACKS                   $1.10       13       $14. 30
           OATMEAL CREAM PIE         3040       SNACKS                   $0.90        2        $1. 80
           STARLIGHT MINTS           4043       CANDY                    $1. 27       1        $1. 27
           SNICKERS                  4249                                $1. 20       3        $3.60
           RAMEN SOUPS BLOCK - BEEF 1010        PREPARED tOODS           $0.60        6        $3.60
           RAMEN SOUPS BLOCK - CHILI 1012       PREPARED FOODS           $0.60        6        $3. 60


                                       Invoice Totals:               Tax: $0.00               $59.14
           805545       HINDI, MAHMOUD        05/29/2013       User: svogs·
           HOT COCOA                 1706       BEVERAGESi               $0.50       4        $2.00
           PEPSI 200Z                5860       BEVERAGES!               $1. 47      1        $1. 47
           CHEESE ON WHEAT CRACKERS 2013        SNACKS                   $0.60       6        $3.60
           POP TARTS 2 PACK - BLUEBE2401        SNACKS                   $1. 05      4        $4.20
           POP TARTS 2 PACK - STRAWB 2404       SNACKS                   $1. 05      4        $4.20
           COOKIES DUPLEX            2815       SNACKS                   $1. 04      3        $3.12
           HONEY BUN-FROSTED         3030       SNACKS                   $1.10      12       $13.20
           LEMON DROPS               4021       CANDY                    $1. 27      1        $1. 27
           SNICKERS                  4249       CANDY                    $1.20       4        $4.80
                                                         i
           RAMEN SOUPS BLOCK - BEEF 1010        PREPARED FOODS           $0.60       7        $4.20
           RAMEN SOUPS BLOCK - CHILI 1012       PREPARED FOODS           $0.60       8        $4.80

                                       Invoice Totals:              Tax: $0.00               $46.86
(
           806016       HINDI, MAHMOUD        05/30/2013       User: svogs
           CHEETOS JALAPENO CHEDDAR 2521        SNACKS                   $0.95      21       $19.95


                                      Invoice Totals:               Tax: $0.00               $19.95
           806486       HINDI, MAHMOUD        06/04/2013   User: svogs
           ANTIFUNGAL CREAM          6263       HYGIENE             $2. 96           1        $2. 96
           PEPSI 200Z                5860       BEVERAGES:          $1. 47           1        $1. 47
           COFFEE REGULAR            1605       BEVERAGES:          $4.62            1        $4.62
           HOT COCOA                 1706       BEVERAGES:          $0.50            4        $2.00
           CHEESE ON WHEAT CRACKERS 2013        SNACKS              $0.60           10        $6. 00
           PEANUTS                   2110       SNACKS              $0.85            2        $1. 70
           POP TARTS 2 PACK - BLUEBE 2401       SNACKS              $1. 05           5        $5.25
           POP TARTS 2 PACK - STRAWB2404        SNACKS              $1.05            4        $4.20
           HONEY BUN-FROSTED         3030       SNACKS              $1.10           12       $13.20
           SNICKERS                  4249       CANDY               $1. 20           2        $2.40
           MACKEREL                  5155       PREPARED fOODS      $1. 89           1        $1. 89
           RAMEN SOUPS BLOCK - BEEF 1010        PREPARED FOODS      $0.60            8        $4.80
           RAMEN SOUPS BLOCK - CHILI 1012       PREPARED FOODS      $0.60            9        $5.40


                                      Invoice Totals:               Tax: $0.00               $55.89
          807950      · HINDI, MAHMOUD       06/12/2013    1   User: svogs
          PETROLEUM JELLY            6574       HYGIENE                 $1. 4 7      1        $1. 47
          ORANGE SODA                5883       BEVERAGES!              $1. 4 7      1        $1. 47
          COFFEE REGULAR             1605       BEVERAGES•              $4.62        1        $4.62
          HOT COCOA                  1706       BEVERAGES•              $0.50        3        $1.50~
          CHEESE ON WHEAT CRACKERS 2013         SNAG: KS                $0.60        6        $3.60

                                                                                         Page 10 of 15

                                                                                  GB003962
           Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 483 of 625 PageID #:
                                                1475                                   Amount
      ID       Inv #      Name                    Inv Date                          Price   Qty
                                                                      i
      =====================================================~====================================
                                                                  I
              POP TARTS 2 PACK - BLUEBE 2401        SNACKS                         $1. 05        4     $4.20
              POP TARTS 2 PACK - STRAWB 2404        SNACKS                         $1. 05        2     $2.10
              COOKIES DUPLEX            2815        SNACKS                         $1. 04        3     $3 .12
              HONEY BUN-FROSTED         3030        SNACKS                         $1.10     12       $13.20
              RAMEN SOUPS BLOCK - BEEF 1010         PREPARED FoODS                 $0.60         8     $4.8D
              RAMEN SOUPS BLOCK - CHILI 1012        PREPARED fooDs                 $0.60         8     $4.80
                                                                  I
                                                                  I
                                          Invoice Totals:           Tax: $0.00                        $44.88
             812560        HINDI, MAHMOUD        07/13/2013    User: svogs
              PETROLEUM JELLY           6574       HYGIENE              $1. 47                   1    $1. 47
             T-SHIRT X LARGE            8723       CLOTHING             $3.07                    1    $3.07
             COFFEE REGULAR             1605       BEVERAGES            $4.62                    1    $4. 62
             HOT COCOA                  1706       BEVERAGES            $0.50                    3    $1. 50
             PEPSI 200Z                 5860       BEVERAGES            $1. 47                   1    $1. 47
             ORANGE SODA                5883       BEVERAGES            $1. 4 7                  1    $1. 47
             CHEESE ON WHEAT CRACKERS 2013         SNACKS               $0.60                14       $8.4D
             POP TARTS 2 PACK - BLUEBE 2401        SNACKS               $1. 05                3       $3.15
             POP TARTS 2 PACK - STRAWB 2404        SNACKS               $1.05                 5       $5.25
             COOKIES DUPLEX             2815       SNACKS               $1. 04                3       $3 .12
             HONEY BUN-FROSTED          3030       SNACKS               $1.10               12       $13.2D
             RAMEN SOUPS BLOCK - BEEF 1010         PREPARED fOODS       $0.60               lD        $6. DO
             RAMEN SOUPS BLOCK - CHILI 1012        PREPARED fOODS
                                                             '          $0.60               lD        $6.0D

                                         Invoice Totals:                      Tax: $0.00             $58. 72
(            813172      HINDI, MAHMOUD          07/16/2013               User: svogs
'(r
  \          PHILLY CHEESES TEAK      5325                                         $7.25     1        $7. 25

                                         Invoice Totals:                       Tax: $0.00             $7.25
             813562       HINDI, MAHMOUD        07/16/2013                User: svogs
             SUGAR PACKET 10 CT        5730       BEVERAGES                        $0.4D     2        $0. 8D
             COFFEE REGULAR            16D5       BEVERAGES                        $4.62     1        $4. 62
             HONEY BUN-FROSTED         3D3D       SNACKS                           $1. lD   12       $13.2D
             SNICKERS                  4249       CANDY                            $1.2D     4        $4.80

                                         Invoice Totals:                      Tax: $D.DD             $23. 42
             813746      HINDI, MAHMOUD         D7/17/2013            User: svogs
             GRAB BAGS                9852                                     $5. 6D        1        $5. 60

                                         Invoice Totals:                      Tax: $D.DD              $5. 60
             81483D       HINDI, MAHMOUD        07/23/2Dl3    User: svogs
             COFFEE REGULAR            16D5       BEVERAGES!           $4.62                 1        $4. 62
             COOKIES DUPLEX            2815       SNACKS               $1. 04                5        $5.2D
             HONEY BUN-FROSTED         3D30       SNACKS               $1.10                12       $13.20
             OATMEAL INSTANT - BS&C    5352       SNACKS               $D.51                 4        $2. D4
             SALT lDCT                 5721       SNACKS               $D.5D                 2        $1. DO
                                                           i
             RAMEN SOUPS BLOCK - BEEF lDlO        PREPARED j"OODS      $D.6D                10        $6.0D
             RAMEN SOUPS BLOCK - CHILI 1Dl2       PREPARED !"ODDS     $D.6D                 10        $6.DD
                                                              I



                                        Invoice Totals:                       Tax: $D.DD             $38.D6
            816199       HINDI, MAHMOUD        D7/30/2Dl3         User: svogs
                                                                                              Page 11 of 15

                                                                                             GB003963
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                                         1476
    ID      Inv #       Name                  Inv Date              Price     Qty       Amount
    ======================================================b===================================
           TOOTHPASTE COLGATE        6726       HYGIENE                $2.22        1        $2.22
           COFFEE REGULAR            1605       BEVERAGES              $4. 62       1        $4.62
           PEANUTS                   2110       SNACKS                 $0.85        4        $3.40     r"·
           COOKIES DUPLEX            2815       SNACKS                 $1. 04       4        $4. 16
           HONEY BUN-FROSTED         3030       SNACKS                 $1.10       24       $26. 40
           SNICKERS                  4249       CANDY                  $1. 20       5        $6.00
           OATMEAL INSTANT - BS&C    5352       SNACKS                 $0.51        5        $2.55
           SALT lOCT                 5721       SNACKS                 $0.50        2        $1. 00

                                      Invoice Totals:          Tax: $0. 00                  $50.35
           819105       HINDI, MAHMOUD       08/13/2013   User: svogs
           TOOTHBRUSH COVER          9546      HYGIENE             $0.27           1        $0. 27
           LAUNDRY DETERGENT         9673      HYGIENE             $0.90           1        $0. 90
           WASHCLOTH                 9683      CLOTHING            $0.80           1        $0.80
           COMB                      6000      HYGIENE             $0.11           2        $0.22
           SHAMPOO SUAVE             6425      HYGIENE             $3 .17          1        $3.17
           STAMPED ENVELOPE          7070      STATIONARY          $0.55           2        $1.10
           T-SHIRT X LARGE           8723      CLOTHING i          $3.07           1        $3. 07
           TUMBLER CLEAR             9900      BEVERAGES!          $0.75           1        $0.75
           SUGAR PACKET 10 CT        5730      BEVERAGES           $0. 40          2        $0.80
           PEPSI 200Z                5860      BEVERAGES           $1. 47          1        $1. 4 7
           PUNCH DRINK MIX           1304      BEVERAGES           $0.38           4        $1. 52
           COFFEE REGULAR            1605      BEVERAGES           $4.62           1        $4.62
           PEANUT BUTTER/CHEESE CRAC 2021      SNACKS              $0.60           3        $1. 80
(          POP TARTS 2 PACK - STRAWB 2404      SNACKS              $1. 05          3        $3.15
           COOKIES DUPLEX            2815      SNACKS              $1. 04          3        $3.12
           COOKIES PEANUT BUTTER-GRA2829       SNACKS              $0.93           1        $0.93
           ASSORTED MINI             3023      SNACKS              $1.10           3        $3.30
           HONEY BUN-FROSTED         3030      SNACKS              $1.10          13       $14.30
           STARLIGHT MINTS           4043      CANDY               $1. 27          1        $1. 27
           PEANUT BUTTER SQUEEZER    5527      SNACKS              $0.94           2        $1. 88
           SALT lOCT                 5721      SNACKS              $0.50           2        $1. 00
           RAMEN SOUPS BLOCK - CHILI 1012      PREPARED fOODS      $0.60          10        $6.00

                                      Invoice Totals:              Tax: $0.00              $55.44
           820964      HINDI, MAHMOUD        08/21/2013       User: svogs
           GRAB BAGS                9852                               $5.60       4       $22.40

                                      Invoice Totals:              Tax: $0.00              $22.40
           821630      HINDI, MAHMOUD        08/22/2013   i   User: SVOGS
           GRAB BAGS                9852                               $5.60      -4      ($22.40)

                                      Invoice Totals:             Tax: $0.00              ($22.40)
           822486      HINDI, MAHMOUD        08/28/2013       User: svogs
           GRAB BAGS                9852                              $5.60        4       $22.40

                                      Invoice Totals:             Tax: $0. 00              $22.40
          822838      HINDI, MAHMOUD         08/29/2013    User: svogs
          COFFEE REGULAR            1605       BEVERAGES:           $4. 62         1        $4. 62    \~J
          COFFEE COLUMBIAN        . 1614       BEVERAGES 1          $4.06          1        $4.06

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                                                                                GB003964
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                                                       1477
             ID      Inv #       Name                   Inv Date     i            Price   Qty       Amount
                                                               '
         ======================================================p===================~===============
                     CHEESE ON WHEAT CRACKERS 2013        SNACKS                 $0.60      7      $4.20
                     PEANUT BUTTER/CHEESE CRAC 2021       SNACKS                 $0.60      7      $4.20
                     POP TARTS 2 PACK - BLUEBE 2401       SNACKS                 $1. 05     3      $3.15
                     POP TARTS 2 PACK - BS&C   2402       SNACKS                 $1. 05     3      $3.15
                     POP TARTS 2 PACK - STRAWB 24 04      SNACKS                 $1. 05     3      $3 .15
                     COOKIES DUPLEX            2815       SNACKS                 $1. 04     5      $5.20
                     HONEY BUN-FROSTED         3030       SNACKS                 $1.10     13     $14. 30
                     SNICKERS                  4249       CANDY                  $1. 20     5      $6. 00
                     RAMEN SOUPS BLOCK - BEEF 1010        PREPARED itooDs        $0.60      4      $2.40
                     RAMEN SOUPS BLOCK - CHILI 1012       PREPARED itooDs        $0.60      4      $2. 40
                     RAMEN SOUPS BLOCK - PICAN 1014       PREPARED FoODS         $0. 60     4      $2.40
                                                                                                ---------
                                                Invoice Totals:              Tax: $0.00           $59.23
                    823485       HINDI, MAHMOUD        09/03/2013        User: svogs
                    GRAB BAGS                  9852                              $5.60      2     $11.20
                                                                                                ---------
                                                Invoice Totals:           Tax: .$0.00             $11. 20
                    824086       HINDI, MAHMOUD        09/09/2013    User: svogs
                     COFFEE REGULAR           1605       BEVERAGES            $4.62         1      $4. 62
                    SUGAR PACKET 10 CT        5730       BEVERAGES            $0.40         2      $0. 80
                    CHEESE ON WHEAT CRACKERS 2013        SNACKS               $0.60         7      $4.20
                    PEANUT BUTTER/CHEESE CRAC 2021       SNACKS               $0.60        7       $4.20
                    PEANUTi3                  2110       SNACKS               $0.85        3       $2.55
                    POP TARTS 2 PACK - BS&C   2402       SNACKS               $1. 05       4       $4.20
                    POP TARTS 2 PACK - STRAWB 2404       SNACKS               $1. 05       4       $4.20
                    COOKIES DUPLEX            2815       SNACKS               $1. 04       5       $5.20
                    COOKIES PEANUT BUTTER-GRA 2829       SNACKS               $0.93        2       $1. 86
                    HONEY.BUN-FROSTED         3030       SNACKS               $1.10       10      $11. 00
                    STARLIGHT MINTS           4043       CANDY                $1. 27       1       $1. 27
                    BUTTERFINGER              4208       CANDY                $1. 20       3       $3.60
                    SNICKERS                  4249       CANDY                $1. 20       3       $3. 60
                    ERASERS                   4257       STATIONARY           $0.25        1       $0.25
                                                                   I
                    RAMEN SOUPS BLOCK - BEEF 1010        PREPARED FOODS       $0.60        4       $2.40
                    RAMEN SOUPS BLOCK - CHILI 1012       PREPARED fOODS       $0.60        4       $2.40
                    RAMEN SOUPS BLOCK - PICAN 1014       PREPARED fOODS       $0.60        4       $2.40
                                                                   i
                                                                                                ---------
                                                Invoice Totals:              Tax: $0.00           $58.75
                    825019       HINDI, MAHMOUD        09/11/2013    User: svogs
                    GRAB BAGS                 9852                            $5.60        1       $5. 60
                                                                                                ---------
                                                Invoice Totals:              Tax: $0.00            $5. 60
                    825432       HINDI, MAHMOUD        09/12/2013    User: svogs
                    SUGAR PACKET 10 CT         5730      BEVERAGES              $0. 40     2      $0.80
                    RAMEN SOUPS BLOCK - CHILI 1012       PREPARED FOODS         $0.60      4      $2.40
                    R}\MEN SOUPS BLOCK - PICAN 1014      PREPARED fOODS         $0.60      4      $2.40
                    CHEEZ-ITS                  2010      SNACKS                 $0.80      2      $1. 60
                    CHEESE ON WHEAT CRACKERS 2013        SNACKS                 $0.60      5      $3.00
\'   . -\.          PEANUT BUTTER/CHEESE CRAC 2021       SNACKS                 $0.60      7      $4.20
                    PEANUTS                    2110      SNACKS                 $0.85      5      $4.25
                    POP TARTS 2 PACK - BS&C    2402      SNACKS                 $1.05      6      $6.30

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                 ID      Inv #       Name                   Inv Date                      Price     Qty       Amount
                                                                            i
                 =====================================================~====================================
           ,.-          CHEETOS JALAPENO CHEDDAR 2521          SNACKS       !            $0.95        2       $1. 90
           (                                                                             $0.90        2       $1. 80
                        POPCORN                   2577         SNACKS
                        COOKIES DUPLEX            2815         SNACKS                    $1.04        4       $4.16     ('
                        COOKIES PEANUT BUTTER-GRA 2 8 2 9      SNACKS                    $0.93        3       $2.79
                        STARLIGHT MINTS           4043         CANDY                     $1. 27       2       $2.54
                        BUTTERFINGER              4208         CANDY                     $1. 20       5       $ 6. 00
                        SNIC.KERS                 4249         CANDY                     $1. 20       2       $2.40
                        MACKEREL                  5155         PREPARED FOODS            $1. 89       2       $3.78
                        TUNA                      5164         PREPARED FOODS            $2.29        2       $4.58
                        OATMEAL INSTANT - BS&C    5352         SNACKS                    $0.51        4       $2. 04
                        HOT SAUCE                 5703         SNACKS                    $1. 29       1       $1. 29
                        SALT lOCT                 5721         SNACKS                    $0.50        2       $1. OD
                                                                                                          ---------
                                                     Invoice Totals:            Tax: $0.00                   $59.23
                        826795       HINDI, MAHMOUD         09/19/2013     User: svogs
                        COFFEE REGULAR             1605       BEVERAGES'            $4.62             1       $4. 62
                        COFFEE COLUMBIAN           1614       BEVERAGES             $4.06             1       $4.06
                        SUGAR PACKET 10 CT         5730       BEVERAGES             $0.40             2       $0.80
                        CHEESE ON WHEAT CRACKERS 2013         SNACKS                $0.60             5       $3.00
                        PEANUT BUTTER/ CHEESE CRAC 2 0 21     SNACKS                $0.60             7       $4.20
                        CHEETOS JALAPENO CHEDDAR 2521         SNACKS                $0. 95            5       $4.75
                        HONEY BUN-FROSTED          3030       SNACKS                $1.10             5       $5.50
                        SNICKERS                   4249       CANDY                 $1. 20            4       $4.80
                        HOT SAUCE                  5703       SNACKS                $1. 29            1       $1. 29
     '\.                                                                            $0.50             2       $1. 00
                        SALT lOCT                  5721       SNACKS
                        RAMEN SOUPS BLOCK - CHILI 1012        PREPARED \;'ooDs      $0.60             5       $3.00 (
                        RAMEN SOUPS BLOCK - PICAN 1014        PREPARED FOODS        $0.60             5       $3.00
                                                                        I
                                                                                                          ---------
                                                    Invoice Totals:            Tax: $0.00                    $40.02
                        827334       HINDI, MAHMOUD        09/23/2013   I User: svogs

                        RAMEN SOUPS BLOCK - CHILI 1012       PREPARED   ~OODS      $0.60              5       $3.00
                        RAMEN SOUPS BLOCK - PICAN 1014       PREPARED   ~OODS      $0.60              5       $3.00
                        PEANUT BUTTER/CHEESE CRAC 2021       SNACKS                $0.60              9       $5.40
                        CHEETOS JALAPENO CHEDDAR 2521        SNACKS                $0.95              5       $4.75
                        HONEY BUN-FROSTED         3030       SNACKS                $1.10              5       $5.50
                        SNICKERS                  4249       CANPY                 $1. 20             5       $6. DO
                                                                                                          ---------
                                                    Invoice Totals:                 Tax: $0.00               $27.65
                        829257       HINDI, MAHMOUD        10/02/2013           User: svogs
                        PEANUT BUTTER/CHEESE CRAC 2021       SNACKS                     $0.60        7       $4.20
                        CHEESE ON WHEAT CRACKERS 2013        SNACKS                     $0.60        7       $4.20
                        PEANUTS                   2110       SNACKS                     $0.85        6       $5.10
                        GRANOLA BAR               2309       SNACKS                     $0.90        2       $1. 80
                        TRAIL MIX                 2326       SNACKS                     $0.80        3       $2.40
                        FRITOS HONEY TWIST        2535       SNACKS                     $0.95        3       $2.85
                        DORITOS NACHO             2539       SNACKS                     $0.95        3       $2.85
                        COOKIES CHOCOLATE CHIP-GR 2804       SNACKS                     $0.93        2       $1. 86
\'                      COOKIES PEANUT BUTTER-GRA 2829       SNACKS                     $0.93        2       $1. 8 6
                        COOKIES DUPLEX            2815       SNACKS                     $1. 04       3       $3.12L/
                        CHEDDAR CHEESE SQUEEZER 5201         SNACKS                     $0.90        1       $0.90
                        SALT lOCT                 5721       SNACKS                     $0.50        2       $1. DO
                                                                                                       Page 14 of 15
                                                                                                  GB003966
                                  Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 487 of 625 PageID #:
                                                                       1479
                             ID       Inv #      Name                  Inv Date      j
                                                                                              Price   Qty        Amount
                         ======================================================t-====================================
                                     STARBURST                4042                   !       $1.20       3       $3.60
                                                                         CANDY
    (I:_~                '
                                     3 MUSKETEERS             4201       CANDY               $1.20      2        $2.40
            I                        M&M PLAIN                4224       CANDY               $1.20      1        $1. 20
                                     M&M PEANUT               4222       CANDY               $1. 20     1        $1. 20
                                     REESE'S PIECES           4246       CANDY               $1. 20     1        $1. 20
                                     SUGAR PACKET 10 CT       5730       BEVERAGES   I       $0.40      2        $0.80
                                     GRAPE SODA               5849       BEVERAGESi          $1. 47     1        $1. 47
                                     MINUTE MAID FR. PNCH.    5814       BEVERAGES\          $1.4 7     2        $2. 94
                                     LAUNDRY DETERGENT        9673       HYGIENE             $0. 90     1        $0.90
                                                                                   J
                                     WRITING TABLET           7374       STATIONARY          $1. 77     1        $1. 77
                                     POCKET FOLDER            7607       STATIONARY          $1. 05     2        $2.10
                                                                                                              ---------
                                                               Invoice Totals:           Tax: $0.00             $51. 72
                                                                                                              =========
                                                               Inmate Totals:            Tax: $0.00          $1,745.93

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                                                               Grand Totals:             Tax: $0.00          $1,745.93




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                                          1480
                                                      Louisville Metro Department of Corrections                                         ('   c fl ~                .
                                                           Inmate Disciplinary Report (IDR)                                              y 0
                                                                       Rule Violation            Part!                     1                     rq-~c1,l-~t\
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(
     Date:    J 1--0 (:,-/Z             I 0 I 'J.t
                                          Time:                              Facility:           JJ "\S (___          HoJ.ingArea: ] \    3 fltK~
     lmnate Name:           H1oJ : M0-k1 t\ () I I cl                        CIN     5 JJjbb Locationoflncid~t: \i 3                     Pa.tM. ~
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     Violations~bCategory. Letter and Title:                                                                          _.-' :
                                                   Title 01_'.6.[j1 f'./- JLO- /.., kv ~cl
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     CAT       . _              Letter    "'-                                                                            __j_
     CAT
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                 .              Letter _ _._,,__ _ Title
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     CAT                        Letter _ _ _ _ _ Tide _ _ _ _ _ _ _ _ _ _ _ _ _ ___,_ _ _ _ _ _ _ _ __
     CAT                        Letter                         Title----------------+----------

     Witnesses (staff & inmates) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _+ - - - - - - - - -




     Immediate Actions:
     Removed from Housing Location               rXf Yes [         ]    No


     Use of Force during incident        [        Yes      cX No                              O<( No
                                                                             (IfYes attach reports)      Physical evidence fonected   [ ·] Yes
     [   ] Attached     [    ] Photocopy              List of evidence: --------------ti----------


     Evidence in the custody of _ _ _ _ _ _ _ _ _ _ _ _ _ __                                            Location _ _ _+ - - - - - - - - -
(    \ddedCharges:       -----------------~~-----~--+----------
         /k. v, J.,__,.._ k.e<_;.
     Printed StaffNarne
                                              ?-.--,/,{,... IZ--o?,-iz                   r7Z
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                                                                                                                           iI             Date
                                                                                                                                                                               (

                                                                               Investigation                               I
                                                                                                                           I
     Incident Report Number (if applicable)             :ff J 33 9                          Date   11. - I.- I Z.. Time __,/-!'lou/_,'f~("-,"-'-------
                                                                                                                           1




                                                                                                                                           /2-6-/ 2..
    Investigating Supervisor Printed Name               Ple4!>C.   \l v.f                                                       #1J       Date




                                                                                                                                          Date


                                                                                                                           i
    I have received a i;:opy of this report of disciplinary cbarge(s) filed against me. I understand I have 1rigbt to waive the twenty-four
    (24) hour waiting period between receipt of this notification and the Disciplinary Hearing. I unders d I have the right to call
    witnesses, present documentary evidence and have a staff member assist me during my Disciplinary earing. I further understand I
    may appeal the decision oftbe Disciplinary Officer to the LMDC Deputy Director of Programs within ~ve (5) days of the Disciplinary
    Hearing decision.                                                                                        ,I



    I choose to waive the twenty-four (24) hour notice [ ] Yes [ ] No
    Witnesses r e q u e s t e d - - - - - - - - - - - - - - - - - - - - - - - - - + - - - - - - - - -

·, - -'.i request the assistance of LMDC     Staff at my Disciplinary Hearing                            [   ] No   Staffn~e - - - - - - - - -                             I
    l request a formal hearing [         ] Yes    [     ] No
                                                                                                                                                                           \_j
     ~.IAJ
    Pnn e
        at:e ame
                 '-f <a{ 11JJ.;                          Q":l>                     Iruifate Signature
                                                                                                                           I
    03-4.02-1 4/08
    Original-Disciplinary Officer                Yellow Copy-Inmate

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                                   Louisville Metro Department of Corrections //JI rrt /Page
                                                                                         5S-489 of 625 PageID #:
                                                                      1481
                                        Inmate Disciplinary Report (IDR)
                                                     Discinlinarv Hearing l('indings and Decision Part Il
                                                                                                                                           ;,;;/7 /; z_
                                                                                                                                i            //1>-:;-
   ....-. Inmate undersiands procedure [~~ [ ] No                                  ~rt-her clarification provided           _i
(/.~-:..:_-.,mate requested staff assistance ( J Yes          rZNo                 Staff present during hearing f-J)is { No
\            matep~sented a defense [,......rYes ( J No                            Inmate call Witnesses [ ] Yes ffrNo Witnesses ca1Jed·. _ _
          ~nmate granted 48 hour continuance [ ] Yes f.....-:YNo                                                                I
          If yes, explain: - - - - - - - - - - - - - -



       Inmate found incapable to Pfesent4,~ense I               ] Yes ~-                   Mental Health Staff: ----e~--------­
       DiscipJinary Status:   1'5]: O:fi.fVLse                                             Additional Information: - - - ! - - - - - - - - - - -


      ReviewofDocumentation/SupportingEvidence:                      tJ.,.)rlfe.    f      -+ 1f\ve~1l41e..flcV.....

      Findings:
                                                                                                                            I
      CAT            ,3        Letter   _.,A__ Title ~~~IS.=f~~"";f~,=~-~b=t~k="-=v~'~·"~V"_ _ Resull
      CAT           1q         Letter      "C:: Title  ~g \~~ 't'\ ,ey<'<a f                   Resulf
      CAT         ~er                     -            Titte;;?f: j,{~                                           Result             F:T--::z;J-7--.-.-'F"----
      CAT _ _ _ _ Letter                              Title                                                      Resutf
      CAT         Letter                              Title                                                      Resul,
                                                                                                                            '

      Gnil(y Plea                                                                                       ,
      [ ]       y signature, I plead guilty to the violations cha       _    me in this Inmate DiscipJin"-ry Report. I understand that
      by pleadin     · , I forfeit the right to ap(H!     · ecision to the Deputy Director.              j           .




      Witnessing StaffSignature                                      Date


            findings ofthe DiscipJinary Hearing resulted in the following:

          I Guilty          I ] Not Guilty       I    I Amended

      Total of       /   S       days in Discij,Iinary Segregation, with Credit      T~e                                robated.
  ~:t of Sentence Credits Earned                         .                 Other: -_!--2--.;r'"¥'---Cl~~~Ji'£1.2&:?.!!~"'cf--~---
  l~-v1ove to                    ( ] Genera] Population         ( ]

      Review [)ate:                                       Release Date: _ _,__~~~~---




                                                                               Date

                                                                                                                       ;
    By my signature, I acknowiedge that I have received a copy of this Inmate Disciplinary Report ~n its- entirety. I further
    acknowledge that I have the right to appeal this decision, on less I plead quilty, to the Deputy Director of Programs within five
    (S) days. I acknowledge that the Deputy Director has fifteen (IS) days to respond to my appealJ, should I choose to do so.
                                                                                                         .             I
    vf
   I I
                                I wish td'appea) this decision to the Deputy Director.
                                I do .not wish to appeal this decision to the Deputy Direct~r.          j/
                                                                                                                       !


  ~     4=          Jc· J.. -;,,Ji> ,
       ......,:ite Signature
                                                         r7ckp 1'L
                                                         {);e
                                                                                        ,,,_,e_~_frJL-""'-'-_.__.1'T2---'7_-_,_/.2
                                                                                        Witnessing Staff Signature
                                                                                                                    1=
                                                                                                                       11


                                                                                                                               __
                                                                                                                                            Date
                                                                                                                       I
                                                                                                                       '

   03-4.02-3 4108
   Originsl-Di~ciplinary   Officer               Green Copy-Jnmate




                                                                                                                                                                GB003969
        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 490 of 625 PageID #:

                  ·/                         1482
                                                 Louisville Metro Department of Corrections
                                                      Inmate Disciplinary Report (IDR)

(
                                                              Rule Violation
                                                                                                                                              D~
                                                                      Facility:       ,VIC..           Ho~ing Arna: J:2. £6                           /
                                                                     C!N:    £ 2 7 ftft{ Location oflncidenl: :Y:::I /J /?
                                                                                                                    I




    Narr tion:




                                                                                                                               ....     £   .J ,J




    Immediate Actions:
    Removed from Housing Location            [v0.s       [ ] No              If yes, e x p l a i n : - - - - - - - + - - - - - - - - - - -


    Use of Force during incident         [~es        [ ] No          (If Yes attach reports)   Physical evidence 4>uected [    ] Yes [              ) No

    [    ] Attached
         l..J~~   11ejil-
                         !;, l   Photocopy       List of evidence:    .s~ll ew J..,/1:•Hu./- ~ell"'°                                          hi,,<

    Evidence in the custody of-------------~--                                                 Location -----f----------

    i ,dded Cha•ges: .,d~»=~~··~f~t~')~~,.=~£/~TT~~--'>~·~------_,_-~_                                       _,________
       c. !/o,,_,L.,./<                                                     e~l.Z                                                      1-::i.-1-:J                    (
    Printed Staff Name                                                    Signature                                                   Date

                                                                       Investigation




    Lieutenant/Captain Review & Comments:          --------------------+-----------

    -l+.          /t(e,.1<.J,,.J--i.r-
    Lieutenant/Captain Printed Name
                                                                            L~,?~I
                                                                          Signature
                                                                                                                                  ;pl/2
                                                                                                                                  Date


    I have received a copy of this report of disciplinary charge(s) filed against me. 1 understand I have    th1right to waive the twenty-four
    (24) hour waiting period between receipt of this notification and the Disciplinary Hearing. I widerst         d l have the right to call
    witnesses, present documentary evidence and have a staff member assist me during my Disciplinary              earing. I further understarid I
    may appeal the decision of the Disciplinary Officer to the LMDC Deputy Director of Programs within            ve (5) days of the Disciplinary
    Hearing decision.                                                                                           \
                                                                                                                I
                                                                                                                1
    I choose to waive the twenty-four (24) hour notice k/j Yes [ ] No
    Witnesses requested----·------~('!.----------------;----------
                                                                                                                I
    , request the assistance of LMDC Staff at my D1sc1phnary Hearmg               [   ] Yes      ] No   Staff naµie - - - - - - - - -
    I request a formal heanng [ ] Yes         t)(J
                                                No

     fi6kM<f!J
    Pritlled Inmate Name
                               y.     f-1£.vcb; ~                        Inmate Signature
    03-4.02-1 4108
    Origina 1- Disciplinary Officer          Yellow Copy-Inmate

                                                                                                                                                           GB003970
                Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 491 of 625 PageID #:
                                                     1483           kl vvc
                                                   Louisville Metro Department of Corrections                     ,i
                                                                                                                                      I /s-s
                                                       Inmate Disciplinary Report (IDR)                                            !-f-13
                                            Disciplinary Rearing Findings and Decision Part II                    I                     1100
/-     Inmate unde;stands procedure .[      -~       [   J No /
~/----, ' Inmate requested staff assistance [ ...-1 Yes [ o/No
                                                                              [   ~er cJarific~tion      provided i
                                                                              Staff present during hearing [ t.,.Y/yes .%'   ]   No
(      Inmate presented a defense [ ~es            r ]
                                                  No - /                      Inmate called witnesses [   ] Yes   t A No     Witnesses c.aJled: - -
       Inmate granted 48 hour continuance l ] Yes [ tVNo
       If yes, explain: - - - - - - - - - - - - -




       Review_ of Documentation/Supporting        E~idence:      t& l f   Lh:.-    \J\'   4-   \Y\ ve   '21\~l+ ,Q ,..,J t *'TI~

       Findings:

                  ,3                   A                                                                          i    013//s
              =f
       CAT                    Letter            Title
       CAT        ' '.3     . Letter   F-       Title                                                        Resf:t
                                                                                                             Res lt
       CAT                    Letter   (;       Title                                                        Res It

                                       ~
       CAT                    Letter            Title                                                        Res It
       CAT                    Letter            Title                                                        Re~lt

       Guilty Plea                                                                                    1
       l j By my signature, I plead gui~ty to the violations charged against me in this Inmate DJscipUpary Report. I understand that
       by pleading guilty, I forfeit the right to appeal this decision to the Deputy Director.        J

                                                                                                                  '
                                                                                                                  !
      Inmate Signature                                           Date


      Witnessing Staff Signature                                 Date


          e ~gs of the Disciplinary Hearing resulted in the following:

      I WGuilty            I I Not Guilty   f I Amended                                                           i
      Total of   ~days       in Disciplinary Segregation, with Credit Time Served (CTS) of and probated.__Q_d~s              .0
      Withdrawal of Sentence Credits Earned                   .r Other: ----------+'- - - - - - - - - -
      Remai~ [ ] General Population £0'15isciplinary Segregation
      Review Date:                                   Release Date:         3-Y,. f ~                              .

      co;jf!W ??re'il:11'1lf.!!e¥ iknt tft yj;5 /N'f                                                                   '¢'
                                                                             J-'f-13
                                                                            bate




      By my signature, I acknowledge that I have received a copy of this Inmate Disciplinary Report nits entiftty. I further
      acknowledge that lhave the right to appea1 t.his decision, unJess I plead quilty, 4> the Deputy .P rector of Programs within five
      (S) days. I acknowledge that the Deputy Director has fifteen (JS) days to respond to my appeal should I choose to do so.

                                        eal dds decision to the Deputy Director.
                                        to appeal this decision to the Deputy Director.


                                                                 -13
                                                                                                                                 Date




     03-4.02°3 4/08
     Original-DisciplioaryOfficer           Gret=n Copy-fnmQte




                                                                                                                                                      GB003971
         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 492 of 625 PageID #:
                                              1484
                                                        Louisville Metro Department of Corrections
                                                             Inmate Disciplinary Report (!DR)
                                                                          Rule Vlplatlnn
(
          Date: -.o3~-1._-.._t"l.,_,__ _ Time:          l°i )o                Facility:             L ..., \   :s c__                   Houring Area:        3 ') w    '''2       -!
          lnmateName:            t\i>.101     rnAHmo110                       CIN:       51]9<-.t.                Locationoflnciderlt_~HL--5~----
          Violations by Category, Letter and Title:                                                                                            i
          CAT       N                Letter                      Title ~D-,:"-1$...,,1<,.,1,,_J'?f=-,_,IJ..,l:-~_.,B.,E..,.Hfl-"AuU~lu.o,_,f<,.__---+_ _ _ _ _ _~--
          CAT       m                Letter                      Title      RE6\>1Nr, TD F'qu 01.J                                    rnt=-
                                                                                                                                oB_oggs. cf STBFf
          CAT        ?JT             Letter                      Title _LB~::..,,<.~f'i_._\~lTl-u~..l~~'--"'°'TA.L.Lcuf_,f____-ii----------
          CAT _ _ _ _ _ Letter        Title                               ----------------1-----------
          CAT           Letter ______ T i t l e - - - - - - - - - - - - - - - - + - - - - - - - - - - - -

         Witnesses(staff&inmates) O~C.                      1,.,JABDE,J 1




         Immediate Actions:
         Removed from Housing Location              I')(]   Yes [ ] No                  If yes, explain:       --------!-----------

         Use of Force during incident         fX.l Yes        [ ] No         (lfYes attach reports)               Physical evidence ~ollected [              ] Yes   l(<J.   No
                                                                                                                                               1
         [ 1Attached         [   l   Photocopy          List of evidence: _ _ _ _ _ _ _ _ _ _ _ _ _ __,!~----------


         Evidence in the custody of-------------~--                                                             Location----+----------
        1
(       · \dded Charges:                    K...lo UJ ..J
             5<if. A. Ft2c.J\TC-                                                                                                                               ;5-S-L3
         Printed Staff Name                                                                                                                                   Date

                                                                                  Investigation




         Investigating Supervisor Pr~nted Name                                      Signature

         Lieutenant/Captaln Review & Comments:              -------------------+------------



         Lieutenant/Captain Printed Name



        I have received a copy of this report of disciplinary charge(s) filed against me. I understand I have                            th!e
                                                                                                                right to waive the twenty-four
        (24) hour waiting period between receipt of this notification and the Disciplinary Hearing. I unclerst.Pd I have the right to call
        witnesses, present documentary evidence and have a staff member assist me during my Disciplinary l!earing. I further understand I
        may appeal the decision of tlle Disciplinary Officer to the LMDC Deputy Director of Programs within !five (S) days of the Disciplinary
        Hearing decision.                                                                                                                  i
                                                           [ 1 No
        I choose to waive the twenty-four (24) hour notice [ ] Yes
         Witnesses r e q u e s t e d - - - - - - - - - - - - - - - - - - - - - - - - - - - + - - - - - - - - - - -

"····   , request the assistance of LMDC Staff at my Disciplinary Hearing                     [ ] Yee                ] No       Staff n~me - - - - - - - - -
        I request a formal hearing [ ] Yes [ ] No

        ~ M«!...m a ud Y· 61 .JJ.j:
         Printea Inmate Name                                         /    r'l.Q    7·"P"\"""""""'""4'!--'
                                                                                    I~ate      Signaturev
                                                                                                         1114..,,....,,.-<i~11o'"''-'1-",,,..,"'l""'.o"---
                                                                                                                                    1      I

        03-4.02-1 4/08                                                                                                                     '
        Original-Disciplinary Officer              Y~Uow    Copy-lnmate

                                                                                                                                                                                   GB003972
                         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 493 of 625 PageID #:
                                                                             1485
                                          Louisville Metro Department of Corrections
                                                                                     iAJ { VV\ { 5"5"
                                               Inmate Disciplinary Report (IDR)
                                                                                      3-13-/3
                                                                                                                              btlil

/"':;_lnrnateundersiiuidsprocedure v-f'Yes l ] No
                                                               Disciplinary Hearin& Findings and Decision

                                                                                               [ ,.J--further clarification provided;l;
                                                                                                                                                  I         /tJ'-/ 3
\/-~' ·:nate requested staff assistance [ ] Yes [......,,..No                                  Staff present during hearing [--r-"11 s [   No
 ~        mate presented a defense [_.r-Yes [ ] No                                             Inmate called witnesses      Yes     , No Witnesses called: _ _
  .    "11llate granted 48 hour continuance [ J Yes f~o                                                         n,
       lfyes, explain: - - - - - - - - - - - - -



            Inmate found incapable to present defense [ ] Yes [ -fNo
                                                                                                                                                  i
                                                                                                         Mental Health Staff: _ _,.,_,.1.~~~~~-~~--
            Discipliniey Status:             =c-~..-1-·~~~~-~-----Additional lnfonnation: ~'7-'-~-~(I.ckLL/_,_:3;:_-_,_J{~,>-'3"---'-F---4-1 3"--"'lr'--
            $ J ~~ &,t>l>D~, 1""/4' 3-A, 'f-C I> Vn-y~ p;ob                                                                                       .
            Review of"nocumentationJSupportingEvidence:                             ~w"'--''-''"-f~~--'"'f""'-~-+,_,_1"~V"'"'5=f'~5,,.J-,,_,,~"""'--f+-/'-'~"'".J'--N=,-"S~-----

           Findings:                                                                                                                           !
           CAT    f           ~
                            Letter                   ~-          Tiile   A1~f,._                    h.: k,w:e.,                     Resull
           CAT _ _.,....,..,_Letter              -~L,..·-~,_-    TitleU:£;;L 1 l.. I:J/,;,,~ 2'.!"Je'}                              Resulj         ='~!>
           ~                  Lf !::::~                          ~:: _...a'-'s"'.s,,"'""'""~Vuf"'~"'j"'---s~r.~.._,_,_ff-~---- ::::~ "t>_.=._·_.,,_,,.,,_-_ _____
                                                                                                                                              1
                                                      K
           CAT                        Letter                     Title                                                              Resul.


           Guilty Plea                                                                                      1
           [ J By my signature, I plead guilty to the violations charged against me in this Inmate Disciplin+ry Report. I understand that
           by pleading guilty, I forfeit the right to appeal this dee· · o the Deputy Director.             i
                              ------                                                                                                          "

                                                                                    Date
                                                                                                                                              I
                                                                                                                                              f
                                                                                                                                              !

           Witnessing Staff Signature                                               Date

c(>   \           findings of the Disciplinary Hearing resulted in the following:

                J Guilty                ] Not Guilty       I    J Amended

          Total of    { ) days in Disciplinary Segregation, with Credit Ti
          Withdrawal of Sentence Credits Earned                    Other: -'--""'-""""'"-""'--'--'~'-'=l--l\o<<U::Lt:.J..S'-';>----
          Remain/Move to [ ] General Population         f ·] Discip1inary Segregation                  I
           Review Date: - - - - - - - - - Release Date: __'3c_-2l23"--_,_1~'3<----                                                         /

                                                                                                                                d ,,JJ ~-Z-13
                                                                                                                                          I


                                                                                               > 13-/3
                                                                                             Date

          Director/designee review:


          Director/designee                                                                  Date

                                                                                                                                          I
                                                                                                                                          1
          By my signature, I acknowledge that I have received a copy of this Inmate Disciplinary Report t 'its entirety. I further
          acknowledge that I have the right to appeaJ this decision, unless I ple8d quilty_, to the Deputy Di tor of Programs within five
          (S) days. I acknowledge that the Deputy Director has fifteen (15) days to respond to my appeal, should I Choose to do so.

          [ )                          I wis.l;i tqappeal this decision to the Deputy Director.
          L/f                          I do not wish to appeal this decision to the Deputy n•rector.



..{
          -~~:wJ)
                ~te   Signature
                                                                  3 f/3
                                                                    date
                                                                                ho) J
                                                                                '                                                                        Date
 '!\_

          03-4.02·3 41011
          Original-Discii)lillBI)' Officer                 Gree11 Copy·bimatc




                                                                                                                                                                                   GB003973
               Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 494 of 625 PageID #:
                                                    1486

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                                                                                                                                                   ! :
                                                                                                                                                 ., '.I




                                                                                                                   Jeffersqn

              COMMONWEALTH OF KENTUCKY                                                                               PLAINTIFF

              v.
              HINDI, MAHMOUD Y
                                                                                                                            ...
                                                                                                                     DEFENDANT

              Alias:--------~~
              Jail ID: 577966

                Sex                                          Weight                                            Bond Amount          Type
                   M                                           195                                                  10,000.00
                                                               Jefferson                                             . ._ ........·' Kentucky:
             You are hereby commanded to receive the above-named Defend nt who has been found guilty of the following:

                                                                                       I
                                                                                       1-.
                                                                                       y
G   \       Next Court Date:
                                         I /
                                01/14/2013       09:00 AM
                                                                                     ~~·
                                                               (CRIMINAL COURTR OM 203)
                                        JUDGMENT AND ORDER RELEASING MISDEMEANANTS FROM JAIL
              It is the Judgment of this Court that the Defendant be sentenced to s~rve              See sentence details above       . On
            Motion of the Defendant and the Court being sufficiently advised, IT IS jHEREBY ORDERED, pursuant to KRS 439.179,
            that the Defendant is granted the privilege of leaving the jail during the ~ours of:         . am/pm to                am/pm
                                          through                                      I , for one or more of the following purposes:
             D         1. Working at his/her employment.                        Di         2. Seeking employment.

             0         3. Attendance at an educational i
                                Bail Conds: {                    '
                                                                                DI     '
                                                                                           4. Medical treatment.

             D         5. Other } Conditions Bail Cr. di! Ineligible {d        ger};   I
               Every prisoner gainfully employed and r eased herein · ereby ordl!lred to pay a reasonable amount not to exceed
            forty dollars ($40.00) per day KRS 439.179 (4       cost of his/her board. If he/she defaults, the privilege hereby
            granted may be forfeited by the Court.                                I
               The Court further directs that the Jailer/Department of Corrections of.)                                           perform the
            functions under KRS 439.179 (3) and (5).                                   i
                                                                                       I
             01/03/2013 at 9:17:53 AM                                           /s/.f'.le tronica11y SiQned by .HON. DAVl.D L. HOLTON II
             Date                                                                Signa ure of Judge                            Div _ _ __



(

t,.!,, ,i                        Clerk
        \.._ 'Distribution: Transporting Officer
                            Jail/Corrections                                                                           ,D.C.
                            Court File


                                                                                                                           GB003974
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 495 of 625 PageID #:
                                         1487

             AOC-390              Doc. Code: OAP
               ,,, '                                                                             Case No.     13-F-000021
(    .   '
             Rev. 1-05
             Commonwealth of Kentucky                                                            Court .Dist~i.cl..
             Court of Justice
             www.oourts.ky,gov                                                                   County Jefferson
             KRS 421.600-.690



             COMMONWEALTH OF KENTUCKY

             vs
                           •4.'
                                     ____~-----------------------"+-------------------- DEFENDANT
             _H_IN_D_l,_M_A_H_M_o_u_D_v

                             .       Jefferson                                 County
             To the Warden/Jailer of=·=      .. ~·=·~·~=
                                      ....=···=                      ..·~·="=···=··~··~----<-----~
                                                       ..=··=···=··-··=

             On the motion of the _ _ _ _ _ _ _ _ _ _ _c_o_m_m_o_n_w_ea_lt_ht._ _ _ _ _
                                                                                      . __
                                                                                         .
                                                                                         ·_._._ , it appearing that

             HINDI, MAHMOUD Y
                                                              (Prisoner's Name)

                          Sex     Race                                                 Inmate Number                  State
                           M        W                                                        577966

         is essential to the proper prosecution of this action and that        h~/she      is presently an inmate; you are hereby
(
         ORDERED to have him/her before this Court on or before the           fo~lowing:
                                                                                  ''
                                                                                  '
                           Date                     Time                          I         Courtroom
                         01/03/2013             09:00AM                           i (CT 008) ARRAIGNMENT
                                                                                  '
         there to remain, subject to further orders of this Court.



                                                                                  I
                         01/02/2013 at 9:51:17 AM                          Isl el~ctronically signed byHON. DAVID L HOLTON II
                                  Date                                            I            Judge's Signature




                                                                                                                 GB003975
        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 496 of 625 PageID #:
                                             1488

            ·'                                                  Colldil:iolts of Release and l dicial Decision
f\c;,~lln""".ty-.-:':".~EF=.F=.i:=.RS=o=-N------------""".ju_d_g_,_:KAR--EM-,-A-N-NE_l_l_E_ _ _ _ _ _ _ __
     Defendant's Name : HINDI, MAHMOUD y
     Next Court Pate : Ol/02/2013 09:00 AM
    Court
      ' '
           Type:
             .   . DISTRICT
                    .. .    COURT.
                             ·.        -


    Jail.ID# : 577966

    Bail Ci:e<{lt
             !Jail credit AlnQunt: $0.00
            Bail Credit:       NO                                                                                       Reason neli!)ible: Judicial DiScretion

    Release Decision

            BOnd Amount $1o;odtbio ~ b.sH on 0110112013 06:30 PM

            .Judicial Discretion

            DENiED ROR/USB & DENIED BAIL CREDIT: DANGER 10 .OlllERS.

    case{s)
            S09king Date.: (Jl/01/ 13 05:Q3 PM
            1J.r:.:oooo:U JfFFEltSON                                                                                                i
            . · ---·---.- ---· - - "' -.......·- - .....--.·-----·--- --·................· · --··.·------·. ---------+--- - ·...... - - - - - ---· . .- -.-.--- --.-.----.----.. --- - -.- . .-·....-.·:
                                                                                                                                    I                      Citation.#                      Class Level                Counts i
                         0131240             ASSAULT 3RD DEGREf •PRISONER TRANPORTA110~ OFACER                                                             ~M'S-829365                     -D- --F-·                        1        !
                         0008220             TERRORISTICTHREATENlNG, 3RD DEGREE                                                                            3M5829365                        A    M                          1        .
            -•-• •••••••••••••»••• • • •• • •• • • •' • •••••• ••••••••••• • •••• •••••--••••••• •••••••••••'--••M••••••o••O•O•••• •• ••••H 0 o ••••••••• •••••••••••••• ••o.-oo•• • ••••O••••• • • o oo • """'"• •••••• ••••• ••••• •




                                                                                                                                                                        Judge's Signature




                                                                                                                                                                                             GB003976
              Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 497 of 625 PageID #:
                                                   1489                                                                                                                                                    5-7) &/GG
                                                                                                                                                                                                               KSP 206 (REV 211/06)
                                                                                                                                                                                ORI:     KY /' . { o-1 3 C
                                                                                                                                                                                            0>




                                                                                                                                                                                           VICTIM'S RELATIONSHIP TO OFFENDER

                                                                                                                                                                                           ETHNIC ORIGIN
                     DATE OF BIRTH                                 SEX                                                                     RACE
                                                                                           .      ./                                          AM. INDIAN
                                                                                                                                                                                                                    •
                                                    j;;l'MALE D FEMALE                         [J'WHITE         D BLACK                     D OR ALASKAN ] ASl.AN                         D HISPANIC              ,CYNON HISPANIC

                                                  MENT I OCCUPATION                                                     CITY                                      STAT


          w
          ..J
                    VEH. MAKE                      VEH. TYPE                          VEH. YEAR                         COLOR                TOP/BOTTOM                                   ALCOHOUDRUG INVOLVEMENT (SPECIFY)
                                                                                                                                                                                          pM'/O D YES D LINK
        !:,2
        J:               REG.STATE                         REG. YEAR                  REGISTRATIO~. NO.                                                          IVEHf LE IDENTIFIERS                                           MPH         IN MPH ZONE VOL. KEY
        w
        >                                                                                                                                                                                                                  '      .'·
                 . VIOLATION DATE                  VIOLATION TIME                     EXACT LOCATION OF VIOLATION I ARREST                                                                                               B.A. R~SULTS
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       i=
       -,
                     1J1J1'1                               0-;")a                                                                                                                   !)S
      ~
                    DATE OF ARREST                  TIME OF ARREST                             MILES                DIRECTION                  I. .                       I       CITY                                   COUNTY OF VIOLATION                                  SECTOR

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      Cl             I                                 iJ J "Ja                                  ..l. Iv            (                                                                                                           Jt
                    VIOLATION
                      CODE
                                         ASCF          STATUTE/ORD.                      CHARGES                #        PLEA              FINti-°               FINAL i        DISPN.             FINE           COSTS               FEE                   JAIL I            PROB.
      ~                                                                                                                                     ING      VIOLATION cbDE CODE                                                                                PRISON                 TIME
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      (.)                                                                                                       3                                                         I
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     ~                COURT DATE                   COURT TIME                                         COURT LOCATION                                                              COURT CASE NO.                   DISPN. DATE TRIAL                                          CLERKS

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                OFFICER'S SIGNATURE                                                                                                        BADGE/ 1.0. NU1v1DER
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Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 498 of 625 PageID #:
                                     1490




                                                                     GB003978
       Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 499 of 625 PageID #:
     AUC-E-dS5 WarCode: BW                  1491            Cas,11'Number: 00'Tod9993
     Rev. 1"08                                                                                 County:          LAUREL.
     commonwealth of.Kentucky                                                                  Court:           DISTRICT COURT
     Court otJustice
                                                                                               Warrant Numbe~   E06310001117302
( fer 2,05; RCr 2.06                                                                           Generated:       917/2012 4:30:31AM



                                                                 Warrant of Arrest
                                                                    Bench Warrant                                                  Page 1   ot 1

    Plaintiff. COMMONWEALTH VS. MAHMOUDY HINDI Defendant
    TO ALL PEACE OFFICERS IN THE COMMONWEALTH OF KENTUCKY: You] are commanded to arrest the
    person named below and bring him/her forthwith before the LAUREL COUNTY - DISTRICT COURT If Court is not in session,
    you shall deliver him/her to the Jailer of LAUREL County.                     '       I
    MAHMOUDY HINDI                                                                        .'
    1019 SOUTH 6TH ST
    TERRE HAUTE, IN 47802




    To answer the following
     ROP $113.45 OR SERVE 11 DAYS




       1A   00035                           SPEED 7 MPH OVER (LIMITED ACCESS) ( V) ( X)           N/A                 07/27/2000   GUlLTY


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                                                                     EXECUTION

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Electronically signed by Judge J.Chappell (LAUREL COUNTY - DISTRICT COURT) on 1~/13/2011 at 11 :27:49PM.

ate printed:    Friday, September 7, 2012
                                                                                                                    GB003979
                           Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 500 of 625 PageID #:
                                                                1492
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                        POST-ARREST COMPLAINT
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  (.)               COMMERCIAL VEHICLE                              0 No                      0 Yes                                      COL CLASS                        bA                 0 B              De


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                  OTHER AGENCY: 0 SPECIFY                                                 '                                                    •                          i                              0 PHOTOS                                               (ti


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    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 501 of 625 PageID #:
                                         1493

         AOlii- 385.1
                                                                                                   Citation No. 2G4783632-1
         Rev. 11-10
I        Page 1 of 1                                                                               Case No. 12-F-010120
                                                                                                   Court: District
         Commonwealth of Kentucky
         Court of Justice
         www.courts.ky.gov


         COMMONWEALTH OF KENTUCKY

         v.
         HINDI, MAHMOUD Y


         Alias: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _.,.,..-

         Jail ID: 577966


                                                                                                                 A   nt   Type




        To the Jailer/Department of Corrections of           Jefferson          .   I                                 , Kentucky:
                                       .                 -                          I              ~                  .
        You are hereby commanded to release from custody the ab~ve-named Defendant who is charged with:
         1     UOR:0091500 Murder ( F) (A) Disp:09/14/2012 INDICTMENT BY GRAND JUr /INFORMATION

         2     UOR:0131500 Assault, 1s1Degree ( F) ( B) Disp:09/14/2012 INDICTMENT BYjGRAND JURY /INFORMATION

(        3     UOR:0132010 WANTON ENDANGERMENT-1ST DEGREE ( F) ( D) 'FTA Eligible• Dlsp:09/14/2012 INDICTMENT BY GRAND JURY I
       INl=ORMATION                                                                 I
                                                                                                                                    (
         4     UOR:0132010 WANTON ENDANGERMENT-1ST DEGREE ( F) ( D) 'FTA Eligible• Dlsp:09/14/2012 INDICTMENT BY GRAND JURY I
       tNF"nRMAT1nN                                                                 I
       Additional charges exist, please see case.                                   j

       Next Court Date: .       6. uJ ~ I &:;:t-                                    '                Courtroom


        Further Orders:
                                 ~.LJf_,/~
                                  '/. W       ~I~
                                 '£5 vJ       f__ I $d-
                                 C)~ GJ E_, I~

        09/14/2012 at 11 :06:46 AM
        Date




       Distribution: Jail/Corrections
                                                                                                         uP,
                                                                                                   - - - - - - - - ' D.C.




                                                                                                                GB003981
  Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 502 of 625 PageID #:
                                       1494
   AOC-425.1                  Doc. Code: OCOM
   Rev, 11-10
   Page 1 of1

   Commonwealth of Kentucky
   Court of Justice www.courts.ky.gov
   KRS439.179                                                                                                                                                    Jefferson

  COMMONWEALTH OF KENTUCKY                                                                                                                                            PLAINTIFF

  v.
  HINDI, MAHMOUD Y
                                                                                                                                                                     DEFENDANT
                                                                ~j.; \'.i1~. \~\';, .·...'.\>..   (
  Alias:   -----'-----''''I!'''>"'·.,..,__·.;,,"'...:'';,;;;,.,.,_. ...:·.....____
  Jail ID: 577966

    Sex
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                      \                        1';
  To the Jailer/ : . art . nt of Corrections of_ Jefferson                                                                                                                               _, Kentucky:
                          .   \):\~··'';'!~'                    .               -          " -        . ··' """'." . ,_ "'   -.        ·'"   ,_    '    •. ,      .. ,.,,_,,. '" ..,,,
 You are hereby commanded to· receive the above-named Defend~nt who has been found guilty of the following:




                                                                                                                             I
Next Court Date: 09/14/2012                                09:00 AM                 (CRIMINAL                  COURTR~OM 203)
   .                                                 JUDGMENT AND ORDER RELEASING Ml~DEMEANANTS FROM JAIL
  II is the Judgment of this Court that the Defendant be sentenced to s~rve                                                                       See sentence details above                     . On
Motion of the Defendant and the Court being sufficiently advised, IT IStHEREBY ORDERED, pursuant to KRS 439.179,
that the Defendant is granted the privilege of leaving the jail during the ours of:             am/pm to              am/pm


 D
_ _ _ _ _ _ _ _ _ _ through



 D
           1. Working at his/her employment.

           3. Attendance at an educational institution.                  4. Medical treatment.
                                                                                                  .                  Di
                                                                            , for one or more of the following purposes'.



                                                                                                                     0
                                                                                                                                       2. Seeking employment.


                    Ball Conds:NO CONTACT WI COMPLAINING WITNESSNICTIMI1NO USE/POSSESS FIREARM OR OTHER WEAPON;
 D         5. Other ) Conditions Bail Credit Ineligible {DANGER);      i                       ·

   Every prisoner gainfully employed and released herein is hereby ord~red to pay a reasonable amount not to exceed
forty dollars ($40.00) per day KRS 439.179 (4) for the cost of his/her bo~rd. If he/she defaults, the privilege hereby
granted may be forfeited by the Court.                                    !                                                       I
   The Court further directs that the Jailer/Department of Corrections of.                                                        I                                                      perform the
functions under KRS 439.179 (3) and (5).                                   i
                                                                                                                                  i

 09/08/2012 at 9:24:20 AM                                                                                            Isl elect onically signed by HON. ANGELA MCCORMICK BISIG

 Date                                                                                                                 Signat~re of Judge                                            Div _ _ __
                                                                                                                                  'I
                                                                                                                                                       entered
                              Cle.rk

  istribution: Transporting Officer
               Jail/Corrections
                                                                                                                                                                         ,D.C.
               Court File




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          Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 503 of 625 PageID #:
                                               1495


                                                                          i
                                                Conditions of Release and )udicial Decision                                          1
                                                                                                                                         ,,_,
(·        ~~~~~~'"'."""~~~~~~~~~~~~-,---i~~~~~~~-,-~~~~~~~:

          County : JEFFERSON                                                   Jud e : MCLAUGHUN, SANDRA L
          Defendant's Name : HINDI, MAHMOUD y                                  Inte reter Language : NONE
          Next court Date : 09/08/2012 09:00 AM                                ASL ~eeded : NO
          Court Type : DISTRICT COURT                                          Cou~om:008
          Jail ID# : 577966                                                         I



          Bail Credit

                 Bail Credit Amount: $0.00
                              .·,;:                                                     I

                 Bail Credit: NO                                               Reaso~ Ineligible: Judicial Discretion

          Release Decision

                 Bond Amount $1,000,000,00 • CASH

                Judicial Discretion
                ROR/USB AND BAIL CREDIT DENIED DUE TO DANGER TO THE COMMU
          Case(s}
                Booking Date: 09/07/12 02:36 AM
                12-F·Ol0120 JEFFERSON                                                       I
                                                         --· ---· ------ _________ !t_______________________________________ .

(                                                                                                       Citation#       Class ~   coun'
                           0091500       MURDER                                                         2G4783632         A   F     l
                           0131500       ASSAULT, lST DEGREE                                            2G4783632         8   F      1
                           0132010       WANTON ENDANGERMENT·lST DEGREE                                 2G4783632         D   F     7
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    (
     '                                Date                               ,I


         Created On 09/07/12 9:39 am by laura_Seay
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                             Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 504 of 625 PageID #:
                                                                  1496




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                                                                                                                                                                                                            KENTUCKY RESIDENT STATUS:
                                                                                                                                                                                                            F.r.:t·FULL~TIME~                    P. 0 PAAT~TIME·                        N 0 NON RESIDENT
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                                                                                                                                                                                                            °MARITAL STATUS

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                       PO$TcARREST COMPLAlNT                                                                                                                                                                      .


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               _       NAME OF WITNESS                                                                                    ·                                             ADDRESS
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    ·I Case    3:16-cv-00742-DJH-CHL
                        VEHICLE
                                                                                      Document 143-1 Filed 05/21/19 Page 505 of 625 PageID #:
                                                                                          COMMONWEALTH
                                                                                                1497     OF f}ENTUG';(y-    JUVENILE OFFENDER - - - -                       D
    0 HWiR~9Y~                        CQMMERCIAL VEHICLE  UNIBOKM CI1 ~A TION                                                                                                         KSP206 (REV. 1/1188)                          z
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                                                                                                                                                                                   P. 0 PART-TIME;          N 0 NON RESIDENT

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                    l.D. TYPEfSTATE 1.0. NUMBER
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       0             DATE OF BIRTH.                        SEX                                                            RA
                   ~                           9·MALE D.FEMALE

                    PLACE OF EMPLO'fMENT/OCCUPATION

                    VEH: MAKE:              VEH.TYPE                               VEH.-.YEAR
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                     VIOLATION                            .'                                                                  FIND-                                                                                    JAILI               PROB.
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                      . CODE         ASCF         STATUTEfoRD.                        CHARGE(S)                   PLEA         ING VIOLATIO CODE         CODE .·     F!NE         COSTS .            FEE             .PRISON                TIME
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     Ii!            · COURT DATE · COURl: TIME                                                  i!xfliFit LOCATIO_N                                      COURT CASE NO.           . DISPN.: DATE                TRIAL
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                   POST·ARREST COMPLAINT
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                                                                                D COURT                                                                                                          I              DBDJ
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                   NAME OF WITNESS                                              ADDRBSS
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               ~N~A~M~E~O~F"-!!W~IT~N~ES~S~======:;===================;=~A~D~D~R~SS~S~:;:;;;;;;;::::::;:::;;;;;;;;;;;;;:;=::::::::;;;;;;:;;;;;;;;;::::::::;;;:;;;;;;;;;;;;;;;;;;;;;;::::;~--.J
                   CASE NO.                                                                                                   2             I                              31                                      4      C)
               1-:::~=l::-:C::::'-:-::::::),-:'::-:-=·==0:-::~,-'"i='.,...~~---'----'-r.::-,,.=:-!i=="""---;:!-====:::::--r===,,-t ~ ,!.
                 CARRIED FOR lJCR BY CONTRIBUTOR: D                                   D IN-CAR. VIDEO     D FINGERPRINTS . I         ,i;                                                             EVIDENCE HELD        ·,"""-.·.
                     OTHER AGENCY: D SPECIFY                                                                                                I                              D PHOTOS                                       ,._



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                       Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 506 of 625 PageID #:
              [4'~1 ci'5MMefi.otAL VEHICLE                  1498 OF j ENTUGKY. .
                                                  COMMONWEALTH                      JUVENILE OFFENDER - - -                                                                                                                   D
       0                    HAZAar(p}J§                    cor,.iM~.RctAL VEHICLE                                        UNifiOBM CI1·:A TION                                                                                               KSP 206 (RJJV. l/J/88)
     /"t                               A~NCY                                  jjj,l11SVILLE METRO POLICE                                                                                                 'ORI:         K··y
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    i\   F-· •                     'NAME       (~·F~M)      .                SKIP A SPACE BElWEEN NAMES
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                      o·               ALIAS                                                                                              '       ·"
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                      ~~ kC-:ITY"':,J,~•;,:·.,·r.i;,,,,,,,,,~;,~\~J,.:.·-----'-~-·-··~__-..,,~~'.·T·;;,Af':~7'=~--'·Z·ll'.:••l--kM~A"'R"'IT,,_AL.,,·,,,sr""A='T"'U"'S~=-=,....-..,.,,.._,_..,,..,,.__
                      ~            A.     ·_RESS (RFD/STREET/APT. NO.,                                      ETC._.>.                                                                                                   KENTUCKY RESIDENT STATUS:' '
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                                            __ ;EJsTATEJ 1.o:·NOMBER                                                                      ~                                                                            VICTIM'S Ri:LATIONst-ilP -ro-oFFE.NDER
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              .0                       DA 1 c OF BIRTH              I                           . SEX                                    ..                      RACE                              .       .      i ETHl)llC ORIGIN
.    -~,              •     ·. -                                              i;J.-MALE 0 FEMALE                           li}WHITE D BLACK D                         ~~· ~~              I
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                                   PLACE OF EMPLOYMENT/OCCUPATION
                                                                                                                                                       CITY:.                             I            STATE: '    _H:~:~~L'         1-~~ri~::; !:·...:'l!,ii?~o:':""~ 'i~'.~OLOR
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                                       VIOLATION

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              iii'
                                         co_DE         ASCF                      STATUTE/ORO.                          CHARGE($)
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                                   COURT DATE · COURT TIME                                                                 .
                                                                                                                                   COURT LOCATION                                                         COURf:(>)i.'$~'r'Jo.'' {('61$[l!'iiJ:i'AT( .. TRIAL                        CLEFIK'S
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                            POST·ARREST COMPLAINT                                                                                                                                                                                                              .



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                           NAME OF WITNESS                                   - - - - - - - - - - - - - - - ADDRdss
                                                                                                                                                                           CITY I ~~TE                                 .j',;;.
                          ~N~A~M~E~O~F~W~l~T~NE~S~SL.======;;===================T=~A~D~D~R~~,ss::!...;;::::;::::;::::;:::::y;;;;:;::::;::::;::::;::::;::::;::::;::::;:::::;:f-..I
<...,I ,                   CASE NO.                                                                                                                               2                   ,                                   3          .                                ·4    Q:l
         \\               ,Ro-1:i-07!j&,(·
           "" ·l'"c"'A"'R'-R-IE"'D"'F'-O-R.,.U"'c'-R'"'B...Y-;C"'o"'N"'T"'R...
                             OTHER AGENCY: D SPECIFY
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                           OFFICERS SIGNATURE / /                                                                                                                      BADGE/l.p, NUMBER                                       ASSIGNMENT
                           x, ·,[ •..:. .-_i;·_,_,.·.                               /     ,I;                                                                                      • \4I       \
                                                                .            i
                                                                                                                                                                                                                                                    GB003986
      Case 3:16-cv-00742-DJH-CHL  Document
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                                                           ,.,vn.ru:;;"   507...of 625 PageID #:
                                                                        11v1-.
                                            1499                                     I

                                       History of Inmate i
                                                                                     !

    CIN: 577966 CIN Name: HINDI, MAHMOUD
 ('
1     .le:           Fir:        Wng:            Dnn:          Bed:


      Names
      Last Name                                                                      f   Middle                    Suffix   Type
      HINDI                                                           ~,....,., l'Mi'fl~-~~-.IW PS!I ut I I IS ®;:iflr--
      HINDI                                                                              y                                  BOOK

      Additional Numbers
               Type Description
                 CIN:577966
                  SID:
                  FBI:
                AFIS:
                NCIC:
         TempAFIS:                                                               I
DOB:-                           Race: W      Sex: M Hgt: 6'00" Weight: 1951                    Hair: BLK   Eye: GRN
Skin:                       Glasses:                 POB: ,                                  Citizen: US   SS~


                                                                         Bldg: '                  Apt:
                                                                                 i

             Day Phone: (502)             Ext                            Night ~hone: (502)                 Ext:
                                                                                 I
                                                                                 !
                                                                                                                                      (
    Employment Address                                                           ;
      UNKNOWN/NONE                                                       Bldg:   I                Apt
                                                                                 i
      LOUISVILLE, KY
      Day Phone: (502)                    Ext:                          Night ~hone; (502)                  Ext:
      Occupation:




Facility: 1                                              Page 1 of5                                            Printed: 09-07-2012 0303
1928 NBKG                                                                                                    Printed By: JSIMMS, SIMMS
                                                                                                             GB003987
                                a-""V4V 1f' • ._._._ IWlloi. I''"" ..,.._,- I• ""' W""l'-1'1.;,"" I 1'"'111g
                 Case 3:16-cv-00742-DJH-CHL          Document 143-1 Filedi 05/21/19 Page 508 of 625 PageID #:
                                                            History 1500
                                                                       of Inmate i ·
                                                                                 I
           CIN: 577966 CIN Name: HINDI , MAHMOUD
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                 ___                W_n~g_;--~D_rm_:_ _ _B _ e d _ = - - - 1 - - - - - - - - - - - - -
                          F_lr_:_ _ _
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                                                                               I
          Arr#           Event#    Arresting Agency                     Arrest Otrrm         Max Class Type
           1                       LOUISVILLE METRO POLICE     09-06-2t12 1929    F A  FRA
                                                                 Hold    ency:
                                                             Arresting . rcer: BAKER
              Notes: SUBJ SHOT TWO VIC AT ABV LOC CAUSING THE DEATHj OF ONE VIC AND CRITICALLY
                       INFJURING THE OTHER. SEVEN ADDITIONAL PEOPLE VfERE WITHIN FEET OF SUBJ AS HE
                       FIRED TWO SHOTS                                 I
                                                                       I
          Vehicle· information:

              Make:                               Type:                                        Year:
          Color Top:                                      Color Bottom:·
          Reg. State:                        Reg. Year:                              Reg. Number:
           ldentifers:


               MPH:                        In MPH Zone:                              Violation Key:
              Notes:*



 ((. :    ~cation   of Arrest:
     .i
      \      1tlon Dt/Tm: 09-06-2012 1929
              Exact LOA: 4601 SPRINGDALE RD


             B.A. Result: 0.000   Officer Comments:
                                                                             I
                                                                             I
                 Officer:                                                    IOfficer ID:
                   Miles:.         Direction:               City: LOUISVILL~
                County: JEFFERSON                                      Sectot: *
                                                                             I                   Bond                Releaseable
     Chg # Code Section            Court    CourtDt/Tm      Case#            I ROC      Flag    Amount Type          Status
                                                                                        N
       1) 09150                    008      09-08-2012 0900
                                                                             I
            MURDER

            Citation #: G478363                     Warrant#:                          CL:     F       CC: A
           Case#:
           Notes:
           2) 13150                008      09-08-2012 0900                             N

           ASSAULT 1ST DEGREE

(I         'ltation #: G478363                      Warrant#:                          CL:     F       CC: B
     ·\..__..,ase #:
           Notes:

Facility: 1                                               Page 3 of 5                                            Printed: 09-07·2012 0303
192BNBKG                                                                                                       Printed By: JSIMMS, SIMMS

                                                                                                                     GB003988
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 509 of 625 PageID #:
                                           DEPT. OF FORRE(.; 1IUN~
                       LOUISVlh.LE METRO1501
                                     History of Inmate I
    CIN: 577966 CIN Name: HINDI , MAHMOUD
( ''iac:         Fir:        Wng:        Drm:           Bed:

                                                                                     Bond            Releaseable
                                                                                                                           ('
    Chg # Code Section        Court   Court Dtrrm     Case#           ROC Flag      Amount Type      Status
       8) 13201               008     09-08-2012 0900                     N

       WANTON ENDANGERMENT 1ST DEGREE

       Citation #: G478363                      Warrant#:                     CL:   F   CC: D
      Case#:
      Notes:
      9) 13201               008      09-08-2012 0900                         N

      WANTON ENDANGERMENT 1ST DEGREE

      Citation #: G4 78363                      Warrant#:                     CL:   F   CC: D
      Case#:
      Notes:

                                                                Gran~ Total               $0.00 No Bond


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Facility: 1                                       Page 5 of 5                                   Printed: 09-07-2012 0303
1926 NBKG                                                                                    Printed By: JSIMMS, SIMMS
                                                                                            GB003989
                   Case 3:16-cv-00742-DJH-CHL
                                  LV\:Jl;:)VILLt: Document   143-1I. Filed
                                                  IVlt: I KU Ul:fJ         05/21/19 Page 510 of 625 PageID #:
                                                                     Of] CORRECTIONS
                                                              1502
                                                               History of lnmat~ .
         _ CIN: 577966 CIN Name: HINDI, MAHMOUD
                                                                                      I
(f;.           Jc: 1         Fir: J2W   Wng: W       Orm: W1         Bed: 013         I
     I


          Arr#              Event#      Arresting Agency .                   ArresJ Dt/Tm Max Class Type
           2                            METRO CORRECTIONS DEPT              09-07-2p12 0446         V ADDC
                                                                             Hold ~gency: OTHER COUNTY
                                                                         Arresting ~fficer: NICHOLSON
                 Notes: ..._ . __ ***""***-************A/C***-•""********7'::::::t=··•••**-**•-
                        ********************************HOLD LAUREL CO*****   .      ********-*****
                        SUBJ HELD ON LAUREL CO WARRANT FOR COURT                   ! .
          Vehicle Information:
                  Make:                                Type:                                      Year:
             Color Top:                                        Color Bottom:
             Reg. State:                          Reg. Year:                              Reg. Number:
              ldentifers:


                  MPH:                          In MPH Zone:                              Violation Key:
                 Notes:•



( ( · ->cation of Arrest:
 ·(             ation Dt!Tm: 09-07-2012 0446
                 Exact LOA: 400 S 6TH ST


                B.A. Result: o.ooo   Officer Comments:
                    Officer:                                                      i Officer ID:
                      Miles: .        Direction:                 City: LOUISVILLE!
                   County: JEFFERSON                                        Sectoh·
                                                                                  i                    Bond           Releaseable .
         Chg # Code Section             Court    Court Dt!Tm        Case#       I ROC Flag         Amount Type        Status
           1) 02900                                                 *OOT09993 LA~     I                               WTSD Y
                                                                                  I



              SERVING WARRANT FOR OTHER POLICE AGENCY
                                                                                  !
                                                                                  I

              Citation#: L989129                         Warrant#: LAUREL CQ WAI CL:               N       CC:
              Case#: *OOT09993 LAUREL CO
              Notes:
              2) 00035                  008      09-08-2012 0900 *OOT09993      LA~          N
                                                                                  i
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              SPEEDING ?MPH OVER (LJMTED ACCESS)

~(       1 ·•.ation #: L989129                           Warrant#: LAUREL       cqI   WAI CL:     v        CC:
     . \._;1se #: *OOT09993 LAUREL CO
              Notes:

Facility: 1                                                    Page6 of?                                          Printed: 09-07-2012 0612
1101 ACHG                                                                                                   Printed By: RMERRIIT, MERRITT
                                                                                                                      GB003990
        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 511 of 625 PageID #:
                            LOUISVILLE METRO    DEPT. O~ CORRECTIONS
                                             1503
                                                                    '

                                               History of lnmau!
     - CIN: 577966 CIN Name: HINDI ' MAHMOUD
(      'Fae: 1     Fir: J2W Wng: W        Orm: W1     Bed: 013
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                                                                 Gra~d Total    $0.00 No Bond




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    Facility: 1                                 Page 7 of7                           Printed; 09-07-2012 0612
    110I ACHG                                                                  Printed By: RMERRITT, MERRITT
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                   Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 512 of 625 PageID #:
                                  - - - · - ............ 1w11;;:1 n.v UCJ" L ui-1 CORRECTIONS
                                                                         1504
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                                                                                  History oflnlJi~tEtj .
         CIN: 577966 CIN Name: HINDI. MAHMOUD
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~2'~c:             1              Fir:. J2W · Wng:. W                 Orm: 081            . Bed: tio3 . . I
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        Art#                Event#                Arresting Agency ·
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                                                                                                      Arres~ Dt/Tm      Max Clai;s Type
        ·3                                        METRO CORRECtJ()NS Dl2Pt                      . 01-01-2P13 ()730 • F [J . Abi,:J¢
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                              .       .       .                               .                 Arrestmg Pfficer: HORNBECK                                              .
              Note$:         ~~~ 1 ·*_            ~"*.*-"***~ADP·i=o . cflARGE,$**"_*';.~·.-..A_•_··*"'l·:~·~·~~~·-;..***~-               . . ,. ,· . : -:-._ ·. . ·. -___··_
                   .       ··· WHILE JN CUSTODY AT THE LOUISVll.LE: METRO DEflT. OF CORRECTIONS, HOU$ED.ONTHE              ·.
                               TtJIRb FLOOR IN DORM #f!: INMATE HINDI, MAHM()UD . \&.$. ~J;(}E:IVllilG HIS DAiLYMED)~TIQN:
                               FROM THE: FLOOR NLIRSE,ASHE STEPPED OUT INTOi··.HEVESTJBU~E ... HE.BEcAMEVl:;RBAlLY
                            J:_us_ ._Ru....PtlVE.tow_.
                            BEING          ESCORTED!ARDS             c·. ·.•ERS·'· HE·T·H.
                                                            OFF_ ._'_FLOOR
                                                       OFF' JHE                            R·. EA
                                                                                   AND THREW   .._· . TE.NED.         J<IL. LI o_F_FI
                                                                                                         WA ·T.....·.·FROM      HIS..cE_-_
                                                                                                                                      CUP  R.·. HO.RN_.
                                                                                                                                                ON MY8.Ec_KA§. HEARM
                                                                                                                                                        UNIFORM,  WA_.              s
                            AND FACE AS HE WAS BEiNG ESCORTED TO A HOLDIN CE:LL. WHEN TALKING TO MENfAt .

                       . ·.·.~~~.• H.Q~~~~$i-fi:0g~~~lil1R/5~~~g;~T~~i1 :0E~·i~N:ru~:~,~ ~~~~fc1~W'!~g~iAL
               .            MENTAL ABILITY TO CARRY OUT HIS THREATS TOWAR S ME.                                                      .                                      .   .
                       .                                                                    .                                                 J             .


        Vehicle lnfonniitian: .                                                                                    I
              · Make:                                                  fype:                                                             Year:
        Color Top:                                                             Color Bottom:                       I
        Re9. State:                                             Reg.. Year:                                        /         Reg. Number:
         ldentifers-:                                                                                              Ii


(v             MPH:                                       · · 1n. MPH Zone:                                                  Violation Key:
    \         Notes:/



    Location of Arrest: ·
    Violation DtfTm: 01-01-2013 0730
         Exact LOA: NJC - 3RD FLOOR D8


           B.A; Result: O.OQO                         Officer Comments:
                                                                                                                  I
               Officer:                                                                             i Officer ID:                                 r
                ·Miles: .                              Direction:                   City: LOUISVJLL~ ·     .
                                                                                                      .   .    I
                   C.ounty: JEFFERSON                                                                 Sector: 056

                                                                                                               !           Bond       R11lease~e
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    Chg # Code Section                            Court       Court Dt/Tm     Case#                            i ROC Flag Amount Type Status ·
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      1) 13124                                    008         01-02"2013 0900                                                   N
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          AS$AULT 3RD D.EGREE. (OFFICER TRANSPOR.TJNG INMATES)                                                I
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         ,citation #: M582936                                             Warrant#:                                            CL:       F        CC:D
        . case#:
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101BKMT.                                                                                                      I
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                                                                                                                                                                GB003992
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 513 of 625 PageID #:
                       LOUISVILLE METRO  1505
                                           DEPT. OF CORRECTIONS
                                                     His:tOry of Inmate
     CIN: 577966 CIN Nallie: HINDI , MAHMOUD
{     'ac; 1      Fir: J2W    . Wng:   w      Dnn: 081         Bed: 003

                                                                                               Bond        · Releaseabll!
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    Chg # Code Section .        Court      Court·DtiTlll                      ROC Fiag · .Amount Type        Status
           '  '
      2) 00822                  008        01'-()2-2013 0900                     .N


        TERRORISTIC THREATENING, 3RD DEGREE

        Citation #: M582936                         Warran.t #:                     CL:   M.    CC:A
        Case#:
        Notes:

                                                                      Gta~d Total                  $0.00 No Bond
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Facmty: 1                                            · Page 110111                                      Printed: 01-01,20131634
110! BKMT                                                                                        Printed By: SPENDLEY, PENDLEY
                                                                                                      GB003993
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 514 of 625 PageID #:
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i/~000105255
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                                                                                Criminal

                                        HINDI,   MA!IM~UD   y
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                      KYA0?61434                                M   w   600     195      GRN   Bl




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•                                                                             GB003994
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                                                     09/06/2012




      )L#

                                                                                                      x
     DFOSTER                                577966




      09150  MURDER                                               507.020
      1   G476363              09/06/2012
      13150       ASSAULT, lST DEGREE
      1       G478363          09/06/2012


      13201  WANTON ENDANGERMENT-lST DEGREE                       508.060
          G478363        09/06/2012
              '1l  WANTON ENDANGERMENT-lST DEGREE                 508.060
              '°G478363,       09/06/2012

      13201  WANTON ENDANGERMENT-lST DEGREE                       508.060
      1   G47B363        09/06/2012                                                                       (
      13201       WANTON ENDANGERMENT-lST DEGREE
      l       G47B363          09/06/2012

      13201       WANTON ENDANGERMENT-lST DEGREE                  508.060
     1        G478363          09/06/2012
     13201  WANTON ENDANGERMENT-lST DEGREE                        SOB.060
     1   G478363        09/06/2012


     13201       WANTON ENDANGERMENT-lST DEGREE                   508.(_)60
     1        G-478363         09/06/2012




     BAKER                                  2491                  JEFFERSON




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                                                                                           GB003995
                 Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 516 of 625 PageID #:
                                                      1508
                                                                                                  I
                                                                                                  I
                            LOUISVILLE METROPOLITAN DEP1RTMENT OF CORRECTIONS
                                                                               Release R port
                   Inmate#               .Inmate Name                        Sex                  ~ace
                   00577966               HINDI, MAHMOUD Y                   MALE                 rhlte/Eurp/ N.Afr/Mld Eas

                   Booking Number         Datelflme                          Hair Color                Eye Color




                                                      - ..
                  '2012029784            09/0712012 02:36                    Black                     Green

                   Committed By                         SSN                    DOB                    H41ight      Weight
                   LOUISVIU;E METRO                                                                   6'00"        195
                   CORRECTIONS DEiPT

                    Add~s:    INVALID C()NVERslON ADDRESS RD           Drivers License#               FBI #:
                              JO
                                                                       IN                             !)ID #: AQ7614.34

                     Phone:
                                                                       Scars, Marks, Ta.ttOo.s. .I
                   Resident                                           Type                LOcaUo~               Dai;crlption
                    County:
                     Bag#:()-

                                                                                Release lntrmation
                        Release Date:.ff:;im::;·"::'------------~                           Reas~n for Release:
                                                                                                .bnglh of Stay:
(rr
     \.
                                CommenlS: DECEASED PER LT.FUGATE 10/20



                                                                                          st lnfotination
                   Arrest Datelilme: 0910612012 07:09                                            ~rresting Agency: LOU.ISVILLE METRO POLICE
                  Location: 4601 SPRINGOALE RD LOVISVILLE                                        /Arresting Officer: BAKER

                                                                              Additional Information
                  Sentence Statlis:                                Cell Assignment: H5-N1/003    I                    Classification: MX/AB

                  Emergency Contact                                                              IBooking Officer: Admlnls!llltor, .A.DMIN
                                                                                          Charg s
                Reference#            Statute           Categoiy            ChargeDtTm         ~spositlonDtTm        Document      Court      Bond Type
                caseNbr               Description                           CourtDtTm          DsposlUon             Bond/Sentence            Bond Amount


                                                                                               1-•~oo
                02801207               507.02.0    NON-CRIMINAL                                                 Not ApJillcable
                12F010120              MURDER                                                  C URTORDER No Bond has been set
                02801208               508.060     NON-CRIMINAL                                0 11412012 05:09 Not Applicable
                12F010120              WANTONENDANGERMENT1ST                                   C URTORDER No Bond has been set
                                      DEGREE
               02801209               508.060      NON-CRIMINAL                                09/1412012 05:09 Not Applicable
I
               12F010120              WANTONENDANGERMENT1ST                                    CFURTORDER No Bond has been set
t;                                    DEGREE
""\'           02801210               189.390      NON-CRIMINAL                                0~0912012 01:09. Not Applicable
     '..____   ·ooT09993 LAUREL       SPEEDING 7MPH OVER (LIMTED                               RPCREDIT         No Bond has been set
                                      ACCESS)                                                  Tl ESERVED
               02801211               507.020     NON-CRIMINAL                                   I              Not Applicable CR13
               12CR2772               MURDER                                1211312013                          No Bond hes been set

               25775 Lonnon                                            10/2012013 21:37
                                                                                                                                         GB003996
     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 517 of 625 PageID #:
                                          1509


(         02801212            507.020       NON.CRIMINAL                                        Not.Applicable CR13
          12CR2772            MURDER                       12/13/2013                           No Bond has been set
          02801213            508.060      NON-CRIMINAL                                         Not Applicable CR13                 ('
          12CR2772            WANTONENDANGERMENT1ST        12/13/2013                           No Borid has been set
                              DEGREE
            02801214         508.060       NON-CRIMINAL                                         Not Applicable CR13
            12CR2772         WANTON ENDANGERMENT 1ST       12/1312013                           No Bond has been set
                             DEGREE
           02801215          508.060       NON-CRIMINAL                                         Not Applicable CR13
           12CR2772          WANTON ENDANGERMENT 1ST      12/1312013                            No Bond has been set




                                                          .....
                             DEGREE
           02801216          508.080       NON-CRIMINAL                                        Not Applicable 203          CASH
           13F000021         TERRORISTIC THREATENING,     12/06/2013        i                  Bond: $10,000.00            $ 10,000.00
                             3RDDEGREE                                      ! ill     I Ill
          02801217           508.01        NON-CRIMINAL                     p911412012 os:o9   Not Applicable
           12F010120        ASSAULT 1ST DEGREE                              ~OURTORDER         No Bond has been set
          02801218          508.060       NON-CRIMINAL                       9114/2012 05:09   Not Applicable
           12F010120        WANTON ENDANGERMENT 1ST                         COURT ORDER        No Bond ha.s been set
                            DEGREE                                          I


          02801219          508.060       NON-CRIMINAL                      ~9/1412012 05:09   Not Applicable
          12F010120         WANTONENDANGERMENT1ST                           fOURTORDER         No Boruf has been set

          02801220
          12F010120
                            DEGREE
                            508.060       NON-CRIMINAL
                            WANTONENDANGERMENT1ST
                                                                           fI
                                                                                9/1412012 05:09 Not Applicable
                                                                                OURTORDER No Bond has been set
                            DEGREE                                          I
          02801221          508.060       NON-CRIMINAL                     1)9114/2012 05:09 Not Applicable
          12F010120         WANTON ENDANGERMENT 1ST                        ~OURTORDER No Bond has been set
                           DEGREE
         02801222          508.050        NON'CRIMINAL                     1)9114/2012 05:09 Not Applicable
         12F010120         WANTON ENDANGERMENT 1ST                         ¢0URTORDER No Bond has been set
(                          DEGREE                                           I

         02801223          02900          NON-CRIMINAL                     t/07/2012 06:09 Not Applicable
         •ooT09993 LAUREL SERVING WARRANT FOR OTHER                          ARRANT        No Bond has been set
                           POLICE AGENCY                                   ~ERVED
         02801224          50S.060       NON-CRIMINAL                       I
                                                                                               Not Applicable CR13
         12CR2772          WANTON ENDANGERMENT 1ST       12/13/2013                            No Bon~ tlas been set
                           DEGREE
                                                                            I'
        02801225           508'060       NON-CRIMINAL                       I                  Not Applicable CR13
         12CR2772         WANTON ENDANGERMENT 1ST        12/1312013         I                  No Bond has been set
                          DEGREE
        02801226          508.060        NON-CRIMINAL                                          Not Applicable CR13
        12CR2772          WANTON ENDANGERMENT 1ST        12/13/2013                            No Bond has been set
                          DEGREE
        02801227          508.080        NON-CRIMINAL                                          Not Applicable CR13
                                                                            I
        12CR2772          WANTON ENDANGERMENT 1ST        12113/2013         I                  No Bond has been set
                          DEGREE                                            I
        02801228          13123          FELONY                            0~/14/2013 12:01 Not Applicable
        13F000021         ASSAULT 3RD DEGREE (OFFICER                      QISMISSED        No Bood hes been set
                          TRANSPORTING INMATES)                             I
                                                                            I

                                                                            l
                                                                        Holds
         ORI           Agency Name                       Bond Amount                Status      Bond Denied   WerrantNbr
                       Statute                           Description
                                                                            i


        By signing below I acknowledge the receipt of my property.


c.                                    Inmate Signature                                Date
                                                                                                                                   I
                                                                                     Date
                                                                                                                                   "-._./'
                                     OfflOOr Signature




                                                                                                            GB003997
          Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 518 of 625 PageID #:
     Inmate Grievan~es                         1510                Mahmoud Hihdi #57'7966




     Grievances from IMS {9/7/12-6/23/13)


                            SelVlce
     00000637               SeMce                                                                 RETURNED TO INMATE
     00000653     0811912013Service   MEDICAL                           N()T GRJE\IABLE           RE!lJRNED TO INMATE
     00000636    0812012013 Service   SECURITY                          NOT.GR!EVABLE             RETURNED TO INMATE
     00000624    09n312013  service   SECURl!Y                           tlOT GR!EVASLE           RETURNED TO INMATE
     00000669    0911712013 SeMce     RECREATION                        INFOMlALLY..STAFF         RE!lJRNED TO INMATE
     00000684    0911712013 Service   STAFF                             REliiilNIDREsilLveo       REliiriNEll rC> iNMATE
     00000688    0911912013 Service   STAFF           Moppins Malilyn   RE1\iRN~SOl.VED           REliiriNE!l
                                                                                                    .....
                                                                                                        ,.
                                                                                                              ro iNMATE
                                                                                                                '   '"
     00000690    09/2412013 Service   CLASSIACATION                     RElURNEO-RESOl.vED        RE!lJRNED TO INMATE
     00000710    0912412013 Service   MEDICAL                           NOTGRrEVABLE              REJiiRNED ro!NA!Are
     00000749   ·0912712013 Service   STAFF                             i!e1lJRiiet:l-r\esoLveo   RE!lJRNEO TO INMATE


 While in custody l/M Hindi filed a total of 16 grievances. Several of the grievances were related specifically. to his housing in mental health,
 not receiving recreation time, his religion, medical and medication, staff discrimination both by security and classification, commissary,
/"~troyed property and that he should not be in jail. All grievances listed were resl)onded too and returned to 1/M Hindi and none of them
\ ~ · 'ted in appeal.                                                                                                                       .

     tnmat~¥1$itatiQh

From l/M Hindi's date of arrest on 9/7/12
until 6/23/13 he had 28 visitors including

Hasan Hindi
Musa Hindi
Yousef Hindi
Fatima Hindi
Hamza Hindi
Phillip Crowe
Tareq Hindi
Hasan Almohroug


'*XJail data on visitation from 6/23/13 to
;urrent is not properly pulling
nformation. Unable to report this data.

I.
• 1, I
      \._ ..



Created by: JAllen                                                                                                               10/22/13

                                                                                                                           GB003998
       Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 519 of 625 PageID #:
                                            1511
     Inmate Notes Continued                                                                                                                                                                        Mahmoud Hindi #377966


                                                                                                                                                                                                                                            : A/ers Stace) ( '
                                                              ",.....                 '.
             2i1S/.W13                      Inmate given. prl!perty bag witr allz.va!>les                                                                                                                                                   ·Ayers Stace-;.·
             ZiZ1/Wl3                       H5/El!l#l • (iM IS CLEARED FROM MlH PER MEDICAL i,:oveusr FROM ! !URSE PRICE -1<'1;1 IS                                                                                                ·: Ar;JaQ;S:. S.amartna
                                      'CURREN~LYSERVIHG                             OISP TIME
            ·3.il!ZOB                      !v,··c gr1t=-.·ant€-s 1J-rr-ed ir                                                                                                                                                                Aye·rs. State;;
            '3/3illl13                      P·ER. f\~OVE llST, S1CAH. RU~1_A'fE TO Bif r.1oveo                                       ~Rat~~       HSHllOl TC J2V~'/1/.•2/04                                                                 .!-alley. Venus
                              .    '                 '   ."   .-,            .             '    .            ..,,_,                                                                        ",, -

            3.i8.'21ll3                    VMS y.1FE fUTtf/.,,<s CA.LL WAS RE1'URHED 3-7-13 3E;S-26~a 1.-1'! WAS GIVEN A MESSAGE 70 CALL HIS                                                                                            ·: M:ppi~s. Marilyr
                                      !\\1fE COLLECT                                                                                                                                                                                    '
                                      '
            3/1312013              ! Recehrert \•,·rite ujl en 3/2.:-2:013 fer cat 3..A di5ruptiv! Oehavia..r. 3-5 refasir.-3 tc ten°''~ if's.trui:ticns 4-~
                                      :assaultie..3 staff Write .ip \\as dismiue<i for llue protess.
            : 3/14/2013 T' A/S                    hai:ard adde:! :ioe le inm;;le CHE !:>eie.g Hig~ Pmfile. email seni ta Sup. Pu,;.eti ''" rede•·                                                                                       '
                                                                                                                                                                                                                                            Shipti;,,_ Snavcm
                                   'I Mat11r1.>t>:l Hi•di dn577966 toc J2 W2 celll
                                  t ' .. ~                                                     '" .                                                   ' ......- - --·-· - -- ·-
                                                                                                                            tie is re:iuestirg tc gztc gfm &ll'XOD: Tflal\i:s&*Y.l!O: &••OD.                                            · freemrar Debra
                                   i ......... - ... .,,.. ____ ............... -.................... -· ............. ,-........... .... . .                                                                     . -- ··-
            3/15/2013             ! , .. Once cleare:i from me<!lcal please place ~OMIN SEG and. alert D·wid Pucket!' .. ': Once tl>e inmate l!as : P~f.ett Davi<!
                                  : bee~ cleared from meaical. tile inmate will ha·.-e to be re.-iewell t>; SMU staff en We:!nes:fays. Date o.m be
                                  ;forth c.omln;i UIX'f' dearera tri>m ir.encial
                                                                                                                                                                                                                                        '
        : :i/22/2013              ! PER i~URSE OAUGHER1'\' [IM IS CLE,<.R fOR GI'. MO\ll!IG FROM J2W/W2111 TC )4107*5 E-MA!t >Er IT lC                                                                                              ';f•~artif::OJSar, f-Aane
        '                         i O.PUC!CETT. SEE PREVIOUS EMIR~
                                                                                                                                                                                                                                        '

                                  ~ . '-·~~, .. ,.. "'" ,,...... , .• ' . '""' .... ....                       ...•
                                                                                                                 '


     ''"2s!2oi3                   ! 12 tif SMU revie,, on this date: Went 110~ '{X>l;e v. tll.e aoo>e inmate in cnncems of l!iis t>ousing l<Y..aticr.
c· ':                             (Ir.mate was ur.sure as to w1>1 ~,e was Ir his c~rrer.t l\o$uir.g location I infz.,meo him tt:at b«ause nf ~is
                                  i' tlear!:nce frcm medical to raurr:. to 9:.er.i~.ral p:::.pulattor, ~~as: tht r-eas::>n· f:::.r n1; vis.tt ~; ttirn. I ex.plaine.:t tr-e .
                                  '. reas-:tn as tc Whi he- had. ~r. pJateQ in f'1Js cuneo.t t'1.!lsoing. l:acatiori. arii:l: Inmate ..~..:as ur~:te-rsta11·tri.; cf thi'
                                                                                                                                                                                                                                                              (
                                  '
                                  :fact. he llas signed of Ills SMU revi1"" stii;et teqaesting a mo.-e 10 l'rctective Cist::iti; The inmate·s fi~al
                                  'h~using           will°" ueterm111en at tile 11e.t SMU meeti"!l sche:laleu for 3-27-13.
                          ,, J... . "'"'                                              ..... , -·-                                                                             ' ..                                                  '                    "".

            3:H!WB i SMU m~ting on this date: !nm.alee will remain as AOMJN SEG.: SMU 11\!!e:tir.g t.elo on this :iate ir.                                                                                                         : ~~~l:ett Cavi:1
                                  I
                                  iatte-rnian~e """'the follo~•ing pe;rsor.•. Ctauitication:l-yers. Pucl;ett Shipley an~ Allen Me:ltal Staff C
                                  iFcwler. Mental l'lealth staff.M Klan~. SOR'r c~-mmamier: Lt          Collins. Security staff: Olscipll"ar:i officer J H61e
                                                                                                                                                              1
                                  !       ar.~ Deputy Oirectars· flin911am anti Clatl:. It was determine~ t~at !ne above iRn1ate ;.cul:! contir.ue ta remair
                                  '
                                  ,AOMIN SEG dtue tc bein; anaal!i•e t:IM:!s staff an:!                                                    t~at   Ile wDuld be U11bale tt                   ~Jn:tii:n   ir a :t~•m setting
                                  !The inmate·s re:pestfor prnteclive c~-stodi is lienien
                                  I
        I                 .       f                      -'         ' ··· • ... ·                     ' ' '~-'                        r.          •                      ' " ,,                                                •   i.
            4 '16/.2013           l·       ~1r Hintli ,vas il·iven ~is Qatar that ~ias p'are:t :)fl his pre·;>:~; be'.auie it hatt a zlp·p~r atta!'.t':e:J ··:,•rtt-2J 11.. as !\'it'itt~~·. San1
                                  igiven ~rmis1ioli by l,,,w,ate SOP r'"1~sa t!i re:fl'l:lve zippe-r.
                                  rPef'Lt·:·c·a~iS . inU;atf:.Hi~;i. r.1a~~;·~:i- is all~11~eo· t; ha-.. .ehis ·01oersite!i Keran Ttiis boc;.: Is t'.fitter ir Arabic
                                  '.An,: q..i.es.tiDr.s. can?a tt mt::
                                           !run.ate Hin.-:ri t~a$ tV',':J Q..i-arar_s: ir f't.is pcs:se-S"sio!'! If fer an,-                          re:as.~r:     cr..e ::;r b:tr are ccrf1scate-:t ple-as:e
                                  ; e-nsure· tt'-at t~e: . .· au: tialer tc prcp.ert\'                               &.~)\_OD:   &:.#XOO_ lt C,av-is
                                  I           -                     •                                       •

            6-"3;'2D13            j       v,,ife FatinTa callej Ste                  ~ai~ stre r.a-:1 r~t ~eard fron~ inmate in a. fe-..·. tlais                                     I calft:d   5:t2·3ES~2648 ar:i t!::·lti

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    Created by: JA[len                                                                                                                                                                                                                      10/22/13
                                                                                                                                                                                                                   GB003999
             Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 520 of 625 PageID #:
        Inmate Notes                              1512                Mahmoud Hindi #57./J.9G6                                                                                                                                -   '-··   ,.·..            -·' -              ·'             -.


(-?ate                                                  Inmate Notes                                                                                                                                                                                                         .Created By User
    •F,.. ··wu
I           - --                                                                                                                                                                                                                                                        - ·~ '
                                                    : P're~s(re:~r.:i~g· c-:mpfete. SS Jcr:ta~ia.n.t~r"'~··t,·t Pe: tre n1e-:Hcal f-!ursf'_ :.._ Aye:rs. LPN ir-:n~atc· i& tc -be hci,J:s;ed. Ir. (Tramrrtetl. Rarbara
     \                                              '            .
                                                    ;the rlJC "'°'·itt! a b.:tto.m t>urH;: if\ J2V.:' Vil "'*13 t1 n·m. jlP
                                                                                                                                                          -~       '
                                             f VMS WlFE Ft.mt.Ai Hlti0! 365-Z64S G(l WAS RETURNED.:. MESSA.GE \'.!,AS LER' RE SECURA MRS HlrJC! •Mop;iin£. Marilyr
                                           .;w.As (i!Vl;tl \llSIT o:.re.ANO TIME B\ MH ?ROFESSIOtl;\L BE\! H;\~WIS .. . ..
                                            i '.V.IM SS • OR!EtffA'!lOll ar.d ?REA cor.l?LCTE • NC PROPERTY RELEA.SEO - RECElVEC HAt.JDe.ooi: - RTN
                                            ;21ac11 !Fl4 -MURDER ASLT 1 \VE 1 :o - Sl.OCoJ0$} &amp "HCLO· LAUREL CC" Sl'O 5114.45.
                                            !01/ERR!OE HIGH TC LO.Ji MEO
                       .,                   !

            '9/11/2012 l                                r~fr .   Hir'!..:if ·vt·as :Jiver.· a prayer ru;!_ Glasses and a Qurar.-. !he prat,er                                                 r~·g.    11,·as ttrop off by hi£ scr.
                                                                                                                                                                                                                                                                        .j   •          •   •        -

            . 9.11212012                                REQUEST HAIRCUT ANO SHAllE.GVM CFflCERS CONTACTED VIA E•MAfl.                                                                                                                                                   ; ~1oppins. Marilyn
                                                                                                                                                                                                                                                                        j •          . .             •· .......... .
         /ii~s/wu. , 2r~ ~~ueiir roiii1i1_ilcu,r :.iio sHAve "ru?R re er 1:or~1of<~ow                                                                                                                                                                                   :Mcppir.s. Marilyn
         !9i17l2C,12                       i B.ICS#U fROM J2:W/#1#l3 - ?ER MEDICAL MOl/EUST FROM MAX HENOERSCt i
                                                I.                       ..                          . .. ,...• --
                                                                                                                                                                                                                                                               · i··-···'
                                                                                                                                                                                                                                                                  11.fiiaga           sarv.antra
                                                                                                                                                                                                                                                                          '· ·- ., ... ·-·· -·· .... -~

         f!l!1BiW13                             i ADDEO· CHA:RGE . NO CHANGE IN CLASS                                                                                                                                                                                   : Mel<icc.tte Sylda
         f... · ··                 · "f                                             · · ·· · · ._ ...... •·•                                                                                                                                                            I ··-" . "· · ·· ·· ·
         ~ l0i1l/2tll2                          ; Inrnate -..';as given tr,iS ~a.rr- oat cf hi~ pers-:naJ ptope:rt)". h:e: ren'!itvett tne hardbatk c~ve-r art~ th-e co~;er 1.•,ra£ !V'Jhitfe:q"' Sam
                                                I                                                                                                                                                                                                                       i
                       ;pl~~e.d. ba>''.· ii! ."is ~1_1'.?f~l' Sp:it:e ':'Iii!< !li: ~Cit 27lH!li4-~834 '()l!ceming ~is Q.ir;m                                                                                                                                           i
         '          .                                                                                                                                                                                                                                     ""        J••

         >12/6!2612 i ?ER NURSE GRUBl!S VM IS MOVED FROM J3!08 TO J3!07#8                                                                                                                                                                                               i Martircysan. Mane
                       1· ...... - ....... ···-··· ..... ...... ............... ·····-· ··•· . ..... ....... ... .. ..... . . .. .. ..... •.•. ····· . . .. . ..
         f.-·. "'""''
           12,.7/2012. 1 Re~efo-ed write up"" 12!tll2012 fi>r car N• disn1ptrive beha1,-ior. 4-C ·er.gaging io sexual activities ~•it~                                                                                                                      ·:-ro;;.e;.-Offi~er·                                        -
                       jar/,llf<er pers:in. received 15 tlays dispseg prnbate:!.
        !          '•       ...... ,_ - . , ....... ------·- ,,, .. •.         . -·- ...........-.< .. '••''"''   , •• ·'    ,,,.,., ,,.   ,, '-····'· ... , --·       • ··"--"   •                                                                                 i-- - ·- •. , .              <       •     -    '



    i lZ,'1l>i21l12 ' ru11neo IN !UMAitE CISCIPUNAR\' APPEAL fORM                                                                                                                                                                                                   iM!i~iectle SylVia
 _.. ·. . . ... . .... ! . ....... .. ... . . .. .....,...... - . ...... ....... ... .. .. . ...• . .. . . ... ......•                                                                                                                                             " ............ - . ' .. ... .
( ( .•211~1z.0:2                      .J .~i.stiP.lin:r;:. ~f!:a~_!or~ ~:·:~r~:t-t:_°.~~~ty Oitatcr_ ~;'.'~~~~'                                                                                                                                                    l~e;~Olficer_ .
    l                          i NOCHA!!GE !!..Cl.ASS. HOLD GOT RELEASE .
                        ~/Z.1;;12                                                                                                                                                                                                                                  ·Me..icotte S)'lvia
        ~.              ...... ,................................... ······ .............. -·· ....                                                                                          .. ... ····'··         ...      .. . •. .                ..        ·t· ..                            ·-.
        !l-'3!WB                           i !>ER HEALTH SERVICES MOVEUSi SlGHfO BY SHA! lNCN SHERMAN t'M HAS BEEN f'lACEC ON MOVEUST i ThllmM. Ella
                                     .lFROM J2WiO!l>l TC J2W/C!I.
                                           !.                                                                                                                                                                                                                      l
                                                                                                                                                                                                                                                                   .1


        i lJ4!10l 3 ; Rew ~;rite "? ~m VUWl:S tcr: CAn-A nisrupfa'E lleha~ic·r: CAH·F usin;i &oosi•e an~ vulgar Iarog.;ag;; · ·· ·· h-ia1e. Offlcet
                                       !tcwiml staff. CAt.3-G ref\iSifli! tc t:lle.< t~e :tirectte-ns of stat CAT H tlireatenir'=! ~tafl witn p1tysi~111 ~.arm:
                                       :CAT.4·K assaulti"S an~ staff mem!>e1&il'xOO: &-.OD: Inmate recd 6:> ll.:b wt:ich 1~.c1u:1u the 15 nays r.e r.ao;                                                                                                        1

                                       [llr the s~elf.&MD: his time                                                     '"ill go u~til 3t5;2()13 aml needs to· be m:>•el!· to !t,e l!iSCil!linari: seyre;iatiO!l
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     t l.!11:'2013                     ( GIVEt·' A. HAIR. CC·f"ta.                                                                                                                                                                                              Moppins Ma1ilyn
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         l/2ll!.2013                                    JZWiOS FROM J2W:i0S • l'ER MEDICAL MOVEL!ST FROM MAJ( HHlOERSCN                                                                                                                                        ; A.rriaga_ Samart~.a
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     : l/6_!2·013                      ' PER tJJAX HEt·~DERS'OrJ                                           [/fy{        ts    toi10\il"U·~G          rRCf,,,t Jl"l.iJ'lt'!#S re· J;Z'/t,i~.·\'.J1#12                                                           :Ma·rtifO)'So~. Mam;
     ·v1.:wn                          1 <;Ms w1i:e FATIMA Hi1io1 soz-3ss-zMs CALL ,,;JAS R.eruiirii:li "'" 1,-r.r REQUEST MRS HINDI REPmr£                                                                                                                     j t~Cf!"Pins f,,terUyn
                                       , NO! HEARll;lG FRCM t"M !fl THREE O·AYS AJlO (!M USUALLY CALLS EVER\'OA'd·M Wlll CALL HER LATER
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 Created by: JAllen                                                                                                                                                                                                                                                      10/22/13

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           Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 521 of 625 PageID #:
                                                1513
    Inmate Notes Continued                                                                                                                                                                                                                                      Mahmoud Hindi #5'77966
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                                    l'IJ! Hin:ti used tne tJOSt: from OOll tors t:: 0045 ti.rs;
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        s:a ·2013           : Reference email sent c., Supervi5-:.r Puckett                                                                                                                                                                                          ff!;list t.eitt':
                            ;Inmate t111atr.rr~u:i Y Hindi G~# 577966 requestett t~· ti:a<.1e vegetarian meal!i As of t~daf ir.mate is ::urrertlj'
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                           'COMMISSARY
                           ~ ·--·->"·"
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                           ;LT DAVIS PRESENTED JHM•TE WITH lliVOICE WHERE ltMS ACCOUf•IT WAS CREDITED FOR THE AMOUNT (l\IJ:ippiru.. t~iiarilyri
                           !OFl'MS BOCK
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                          jP-e-r ! lurse St:erman fr.mate g:1i~; ffcn-, JZ'1~VilCl#l~ t: Gp t.,:i.,vever. there- is r·'J ad.ministraticr segregaticr
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        lnrnate Dis~tpHne                                                                                                         Oate                                       Category                                               Disposition                                              D/S Officer

   l/M Hindi had 3 disciplinary reports while                                                                                     12/7/2012 3-A, 4-C                                                                                15 days probated                                         Dooley, Officer
   in custody for offenses including,
   disruptive behavior, engaging in sexual
    · <;tlvities with another person, using                                                                                       1/4/20B                                    3-A, 3-F, 3-G, 4·K                                     60 days to serve plus 15 days                            Hale, Officer
\ _. ;usive language, threatening staff with                                                                                                                                                                                        probated from 12/7/12
   physical harm, assaulting staff, and
   refusing to follow instructions.                                                                                               ?./2/2013                                  3-A, 3-G, 4·i<                                         Dimlssed -Due Process                                    Dooley,    Office~._/

Created by: JAllen                                                                                                                                                                                                                                                                                  10/22/13
                                                                                                                                                                                                                                                                                       GB004001
                     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 522 of 625 PageID #:
                                                          1514
     HousingMov~mentandCeil.Transfers                                                                                                                               Mahmoud Hindi #577$66
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         __ .'.s:igned ii'me Jn
    r>--<'2.JlZ 04:40:15
    \ ~- ,/2·J12 ;?5:55:.29
         9;17/2Vl2: 2V:SS:Z2
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                                                               Housing

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                                                                                                              Fassive soaking
                                                                                                             rlllental Health
                                                                                                             tvlental Health
                                                                                                                                                     Reason
                                                                                                                                                     Fresh arrest housing while- .awaiting the booking process



                                                                                                 y
       12<''612.012 11:38:47        lZlQ/2Dl2 20'"3S:37       J3           s "-'                 OJ8         tvtental Health                        Per Nurse Grubbs mo·v~ from r,,1H OPEN unit tc tvlH single cell
       l.:!:.'6/2012 .ro:S:i:OO:    1/l./.2~13 08:49:37       J3           N        '8           '008        t"lentiil Health                       Per MH mo~·f'd bttk into MH O?E:N unit

       l/1/2,tl13 10:23:5S          1!3JZ~13    11:44:2'4     J~lif       Vi         0£1 OJ3     •           Mental He:alth                         Per tJIH mo<'-ed to !.iH uni! oh~r~·a.tion c-ell
       1/3/2Jl3 17:44:.37           l/3/.201317:45:2.1        J.Z\~...       ''Di 'Dl2
                                                                           >,;;V                             tvTental H~lth                         Per Nurtt Sherman rerno...-e-d from· ob~ into Open tJIH uni?
      l/3/l..zl13 l7:4S:21          114/20131&:17;26          IZ<.-V       w• '011                           t"'1ental Heafth                       BeO change in t-.llH cj)en unit
      1!'-!Z-Dl3 18:27:.26         l/22/.W13 16:17:·40        12'.!l      w •o; •031
                                                                                    °"                       rvtenta!    H~lth                      Bed change In tvtH open unit
                                                                                             r
      J/2.2/201316:1&:0?           1/2:'3/ZJ1.31}8:5S·:-Ol    il'IJ       v~·       \.\'!        003         t.Jlen~al   Health                     Per 1JJH mi;n•ed into rJIH single ~II
      1!Z3/Z:-r>l3' 00:5S:14       ll28J.2.Dl317:92:00        .lZ\!'i     \ti      •OE •002                 TiAi=ntal Health                        Per tAH mo·l'e-d from. single cell to MH open unit

      l!Z812013      17:~.cm       1/3!/2.\113 1l:o4:.?3      JZW         \,l\J'   •(lg •036                 f<Aental Health                        Per MH mo11ed tc another rJJH cpen unit
      lill/.?Gl3: 11:04:23         l/31J'2C13 11:00:00       J2\V         w         Vf.1     'i>Ds           r...Jental Health                      Pf:'r tJ!H ma:~ from c~n r""H unit eo fVIH single cell
      1J31.l2-013 11;$~08          .2il/Z~13   13:tt4:le     JZI#         \,"./     \Ill     •O:J!l         Menta·I Health                         fv1u-.:ed to &nether MH sinyte ce-11
      4'111~13     13:-04:10       216/lt«.J li:D!:ZS        J.l ...\i'   \N        \11.'l   '005           fvfental Health                        r..1-oved to another MH single cell
                                                                                             y
      .t/6!2~13     l8:01:Z!t      ~17)2013    21:30-:00     .12\.1\'     'l/i      'i.\'l   012            fileintaJ Health .                     Moved to a11c-ther MH single Cf!JI
      2.17/Zill.3 21:39:03         2/S!101313:02:31          HS           w 'o;. '002                       Disciplinary Segregation               Per Dr. Easley cleared from ~JIH unit. Had OS: time to sel"l.'e
                                                                                             F
      Z!S!ZOl.3 13:03:35           3,,3;200,3 G.2;31:rie     HS           E         t•l      001            Disciplinary S~regation                f"101ted to .itncther DS cell
      3/3/2013 O<l:U1:3s           3/6/2003 D,?:35:11        J2W          w        \11l2     '00..          t11t~tal     Health                    Per Nun:t SJoan tno1.-ed ro MH unit s:ingle cell
      3!6/2913 02:35:17            3/2·~'Z013   la:02::4Z    ).].~~'      ~v       W2        •001           r;Aem:tal Health                       ?er t;.1H moved to anmhe1 MH single cefl
  ' 112.!llOl! 21~14~2'2           4!14,!lml 17'.30:SS       J4           s        •7        '006           Adrninistratlw ~reg~itin               Per Nurse Oa.ughtel}I dea1ed from. l\illH unit Placed on A'.i by Class
(    \
\_, '~4/201317:3*59                R/16/2.013 22;.GZ·        J4           s        •7        •oa1           Adminirtrati\fe Segrega:Uon            t<ll'cved to- another AS SiOgle cell
    (/         '01322:14           8!13/2013 7:·35           J'l\,~J      w        Wl        '006           Mental Health                          Per tllfH moved te tllfH unit singfe ~IJ
     \
      8; o:..:J/lJ13 ?:36          fl.J~l/Wl3   17:$         Xli1l'J      w        \!',.(1   •004           r~ental Health                                                       -ea tc. another MH unit single c.ell
                                                                                                                                                   Per- f'Jla.l!: HendetsPn mc·...
      8/Jl/201317:55               9/20/2313- Zl'.32         Jll.111      w        \t,'i     10             tlllent.af Health                      Fer fJii». HendE:rsort mtl-'l.'ed to.another rvlH unit single cell

      !t/Z0/2D13 21:32             l'l!il.2l!2Cll3 ll:l3     HS           E        N1        3              Administrative S-.:i.gregation         ?e1 eJurse- She1rnan cleared from      tJJH. Moveo tc AS by d~n


    l/M Hindi was housed in Metro Corrections for 410 days. During that time he was hous.ed 26 different times. He had documented Mental
    Health housing from the date of his arrest 9/7/12 until he was cleared by Dr. Easley on 2/7/13. At that time he was placed In Disciplinary
    segregation once released from mental health due to having 60 days to serve plus an additional 15 on the shelf. While serving disciplinary
    segregation time he was moved back to the mental health unit and cleared again. Upon being cleared he was placed in administrative
    segregation by classification staff due his behavior towards officers and other inmates. He was reviewed by the Special Management Unit
    Committee who reviews inmates in single cell housing. Special Management is a multi-diselplinary team review with staff from Senior
    Management, Classification, Medical, Mental Healtl], Security and Disciplinary. While in Administrate Segregation housing he was moved to
 the mental health unit in a single cell for observation. He was cleared by Mental Health on 9/20/13 and placed back into Administrative
 Segregation until the incident on 10/21/13.

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    Incident B~ports                                                                                                                                 DISRUPTIVE                                           2012029784
                                                                                                                            · 0912~12012 03:09       Strip Search- Inmate                                 2012029794
    1/M Hindi had 13 incidents while in custody including strip                                                               12J0612012 10:12       D!SRUPTIVE                                           2012029784
                                                                                                                              1210612012 10:12       UNAUTHORIZED CONTACT ·~.Yi?UBLIC                     2012029784
    search, disruptive, combative, hospital runs and suicide                                                                 01/0112013 01;01        ADDITIONAL CHARGE$                                   2012029784
    prevention.                                                                                                               01/0112013 01:01       DISRUP'llVE                                          2012029784
                                                                                                                             0210912013 12:02        Sucide Prevention                                    2012029784
                                                                                                                             03/0212013 07:03        C0~1BATIVE                                           2012029784
                                                                                                                             03/03.12013 09:03       HOSPITAL INf.iATE TRANSPORTED                        2012029784
(
    , I                                                                                                                      0811412013   18:10      STRIP SEACH - ll.JMATE                               2012029784
      \, __ ;                                                                                                                08/1612013   15:30      SUcide Prevention                                    2012020784
                                                                                                                             08i2112013   11 :05     DISRUPTIVE                                           2012029784
                                                                                                                            '1011912013   15'.55     HOSPllAL, 11.JtJtATE TRAi-JSPORtED                   2012029784


 Created           by: JAllen                                                                                                                                                                          10/22/13

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        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 523 of 625 PageID #:
                                             1515
                                             fJlll!!l LOUISVILLE METROPOLITAN DEPARTMENT OF CORRECTIONS
                                             W' Classification Inmate Report
         lllmat~'4llfu~i:QQ!iTI~.~                     · · 1"mii!t~~.·: HJ~PJ. MA~!> Y ·
         Name: HINDI, MAHMOUD Y                                                  Sex: MALE         Race:        Whlte/Eurp/ N.AfrJMid Eas    DOB:
         Address:                                                                                  SSN: -                                    FBI:
         Hair : Black                                  Eye:      Green                             Height : ........                         Wejght: 195

            Birth Country: JORDAN                                     Sta.te t      Armond
            Marital Status : tJlarried                                #ChRdren:          3
            Religion;        Blamic                                   #Sisters:
            ttondedness'                                              #Brothers:

         ~"'~ Main Jail CompIell.
         Facility~
         BOokingType:               Standard                      Juvenile:                   N
         Arrival DtTm :             OS/07/2012 02:36
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         LAURf:LCO         '0?900             'SER\llNG WA.RFANT 1=0R OTHU~ POUCf.                                    W•Hflln~ S(r>1ed

         \'..'AR.RANT                         AGEtJCY


    Mahmoud Hindi #577966 was booked into Metro Corrections on 9/7/2012 on charges of Murder, Assault 1, and seven counts of Wanton
    Endangerment l" degree. On the same date he received added charges from Laurel County for a bench warrant for speeding. On 9/14/2012
    the Assault 1" degree was upgraded to an additional Murder charge and all charges were indicted to Circuit Court (12CR2772). On 1/1/13 l/M
    Hindi received additional added charges from Metro Corrections for Assault 3'' and Terroristic Threating due to an Incident that occurred
    while in custody.

    On 9/7/2012 during the b.ooking process l/M Hindi was pre-screened by Classification Staff. He stated he did not fear for his safety, did not
    have any known enemies within the facility and did not have any housing needs in regards to medical or mental health. Medical Nurse A.
    Ayers did however provide classification with a mental health notice to house l/M Hindi In the mental health unit J2Wl.

    On 9/8/12 after arraignment court l/M Hindi was oriented by Classification Staff. He Indicated he was married to Fatima Hindi for 29 years,
    used her as his emergency contact and indicated he had 3 children. He further stated he completed high school and had a graduate degree.
    He did not have any military experience, indicated his religious preference was Islamic and could read and write In English. l/M Hindi was
    P"•en a PREA screening, the opportunity to sign out his property and he took an Inmate handbook.
I       .
'\,_,
        ' to inmate Hindi's charges he was classified as a MX-GP-MH. MX (Maximum) due to his Class A felony Murder charge, GP (GP-
    ~opulation)      level behaVior and MH (Mental Health) due to his assigned mental health housing upon arrest. During his incarceratl_,,,i!
    behavior level was upgraded to AB (Alert level behavior) due to his behavior with staff and documented disruptive/combative incidents.

    Created by: JAllen                                                                                                                                     10/22/13
                                                                                                                                                    GB004003
                    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 524 of 625 PageID #:
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                                                                                                                                                         ,.-----,.,.\'--\
      1-                         LOUISVILLE METROPOUTAN DI:'~ _.,JIENT OF CORRECTIONS                                                                            1·i I

                                      400 S. Sixth Street
                                      Phone: 5025742167              Fax:

                                                                            Inmate Report
Inmate Number: 0057.7966      lnmataNilfue :··l'llND~'~MMOi:ID'Y

Name: HINDI, MAHMOUD Y                                    Sex: MALE Race:      White/Eurp/ N.Afr/Mid Eas       DOB :           Age : 56     Phone :
Address:     INVALID CONVERSION address RD JO                        SSN:                                      FBI:                         State ID:   A0761434
Hair: Black                           Eye: Green                     Height:    600                            Weight: 195




 Birth Country :                                 State:     JORDAN                         Oty: ARMOND                         County:
 Marital Status :                                #Children:                                Mirrtary Veteran :     N          Military Service :
  ReHgion:                                       #Sisters:                                 Caution:        N                   Comments:
  Handedness :                                   #Brothers:                                Deceased:       N                   Date:
                                                                                           Disabled:       N




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                              Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 525 of 625 PageID #:
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Inmate Nu1L., . : 00577966          Inmate Name; HINDI, MAHMOUD Y
  \Inmate Transactions                                                                                                                   I
    Date       iType                !Description                              Credit Amt!                Debit Amt           Balance!
  106/23/2013 1. DepCsh
  I
                                    [Converted Account Balance         ,
                                                                       I
                                                                                 $170.61                                     $170.61 '
  \07/13/2013 iComm                 iReceived from Canteen Interface,  I            $0.00                   $58.72 1         $111.89\
  '                                 ·Trans ID:812560
  \07/17/2013 IComm                 !Received from Canteen Interface,              $0.00                     $7.25           $104.641
                                    i                                                                                                     i
                                    i Trans ID:813172
  [07/17/2013             ,Comm       Received from Canteen Interface,             $0.00i                   $23.421           $8L22l
                                      Trans ID:813562
   07/17/2013             i Comm    i Received from Canteen Interface,             $0.00!                    $5.60            $75.62\
                                    iTrans ID:813746
   07/23/2013             iComm       Received from Canteen Interface, I           $0.00                    $38.061           $37 .56 \
                                      Trans ID:814830                    I                                                            i                          ··
  107/28/2013 :DepChk                 Received from HINDI, MAHMOUD Y l           $200.00                     $0.00[I         $237.56\.. !R>o';        \ iu ,i ' I "" iY·r ' '""'
                                                                                                                                                      .
   07/30/2013 :comm                   Received from Canteen Interface,  [          $0.00                    $50.35!          $187.21\
        -------~T~r=an~s~l=D~:8~1=61=9~9_                                I                                           I                    I
   08/13/2013 !Comm                 !Received from Canteen Interface,    I          $0.00                   $55.441          $131.771
                                    !Trans ID:819105                    .                                                                 I
                          :Comm       Received
                                     Trans ID:820964
                          •Comm       Received
                                      Trans ID:821630
  I08/28/2013             !Comm       Received from Canteen Interface,  !I          $0.ool                  $22.40           $109.371
                                                                                            !
  !                                   Trans ID:822486                    I
                                                                         I
  I08/29/2013             Comm        Received from Canteen Interface,              $0.00[                  $59.23             $50.14[
                                                                        I                   I

   i09/04/2013 !DepChk
                                      Trans ID:822838
                                      Received from HINDt MAHMOUD Y               $200.001                    $0.00           $250.141
   '09/06/2013 :comm                  Received from Canteen Interface,              $0.001                   $11.20           $238.94;
                                      Trans ID:823485
   10910912013- comm               !Received tromCanteen Interface.-
                                    !Trans ID:824086
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                                                                                    so:oo                    $58.75 [
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                                                                                                                              $180.19\
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   109/11/2013 :Comm                 ·Received from Canteen Interface,   I          $0.00 -          -    -- $5.60\           $174.591
                                                                         I
   \09/12/2013 iComm
                                     ;Trans ID:825019
                                     : Received from Canteen Interface,
                                     :Trans ID:825432
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   109/19/2013 :comm                   Received from Canteen Interface,   I         $0.00 1                  $40.02            $7:> ..:><-t\
   I                                   Trans ID:826795
   !09/23/2013 icomm                   Received from Canteen Interface,             $0.00\                   $27.65\           $47.691
                                       Trans 10:827334                                       !                           I
   \09/29/2013 : DepChk                Received from HINDL MAHMOUD Y              $200.00I                    $0.00           $247.691
   \10/02/2013 i Comm                  Received from Canteen Interface,             $0.ooi                   $51.72           $195.97[
   I                      ,            Trans 10:829257
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                         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 526 of 625 PageID #:

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                     :0057796& · lnmateName:HINDJ.lliARMOUDY
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Booking Details
Facility:
Booking Type :          Standard                  Juvenile:               N                             Sex Offender :       N
Booking#:        2012029784         Booking DateJTime :                       09/07/2012 02:36                 SORNA:                             SOR Level:
                                                                                                                                   <
Arrival DtTm :   09/07/2012 02:36   Medical Alert :
                                                                                                    ~~
Commited By Agency:     LOUISVILLE METRO CORRECTIONS DEPT
Search By:                                              Search Type :                                                 Confinement :
Sentence Status :                                  Sentence Status Date :                                             Booking Officer :      Administrator, ADMIN
SSA Status:                                        SSA Date:
DOC Comp6ance:                                     DOC CompUance Date:

Pride Date:                                        Video Rights :          N                             Eligible For Parole : N
Cell:                     H5-Nl                Bed:                      003                        Cell Note:
Arrest Details
   Arrest Number :              1023802                 Arrest DtTm :                09/06/2012 07:09
   Arresting Agency :           LOUISVILLE METRO        Vehical Disp :
                                POUCE
            r
            ICell Transfer Details
            [CeilName                            iAssign Date Time                 IEnd _Date_Tim" _ _          _ _ _:1
            [J4S-7                               iOG/03/2013 02:06                 io8!16/20l3 22:14
            IJ2-Wl                               i08/16/2013 22:14                  08/23/2013 07:36
            ;J2-Wl                               i08/23/2013 07:36                  08/31/201317:56
            [J2-Wl                                I08/31/2013 17:56                I0912012013 21:32
                                                                                   .---------- -- -- - - !i
            iH5-Nl                                I09/20/2013 21:32                I                      '
             Activity Details
            \Activity                ILocation                   : Note                                                                IStart Date Time        IEnd Date Time
            iCRT                     i Court                                                                                           I07/15/2013 09:00        07/15/2013 11:57
            iCRT                     ! Court                                                                      (08/26/2013 07:44                             08/26/2013 12:59
            /CRT                     i Co~rt ___ - - - - ' -                                    --------~~---fl0/16/2013 08:44                                 \10/16/2013 11:36




 Printed By Troutman, lryt On 10/19/2013 21:08                                                                                                                                     3of25
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                        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 527 of 625 PageID #:
                                                             1519

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Inmate Nur,        : 00577966      Inmate Name: .HINDI, MAHMOUD V                                                                    '   1


     Booking Charge     Details
Reference Nbr:          02801207             Document Type :         Not Applicable                       CAD Case#:
Warrant #:                                   Citation#:              G478363                              OBTS #:
Docket#:                12F010120            Docket# 2:
Court Case # :          12F010120            Court:
Judge Name:
Statute:                 507.020             Description :
Category:                NON-CRIMINAL        Class:                  OTHER                                Modifier:
Offence DtTm:                                Charge DtTm :
Arrest DtTm :                                Arresting Agency :
Charge Status :                                                                                       Charge Status DtTm :
Charge Disposition:      COURT ORDER                              Disposition Dttm :   09/14/2012 05:09   Dispose By:




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Printel       ~utman,   Iryt On 10/19/2013 21:08                                                                                 )           4of25
                      Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 528 of 625 PageID #:
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Inmate~'                                                                             /~                                            \I·, )
                  : 00577966   Inmate Name: HINDJ,;:MM'flli!OUD Y                                                                    ,   .I~,-"



    B~     ,g Charge Details
Reference Nbr :      02801208              Document Type :        Not Applicable                         CAD Case#:
Warrant #:                                 Citation # :           G478363                                OBTS #:
Docket#:             12F010120             Docket# 2:
Court Case # :       12F010120             Court:
Judge Name:
s-te:                  508.060             Description :
Category:              NON-CRIMINAL        Class:                  OTHER                                 Modifier:
Offence DtTm :                             Charge DtTm :
Arrest DtTm :                              Arresting Agency :
Charge Status :                                                                                      Charge Status DtTm :
Charge Disposition : COURT ORDER                                Disposition Dttm :    09/14/2012 05:09   Dispose By:




 Printed By Troutman, Iryt On 10/19/2013 21:08                                                                                                    5 of25
                                                                                                                            GB004008
                    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 529 of 625 PageID #:
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Inmate Nu(~ ·: 00577966     Inmate Name: HINDI, MAHMOUD Y
     Booking Charge Details
Reference Nbr :     02801209            Document Type :          Not Applicable                       CAD Case#:
Warrant#:                               Citation#:               G478363                              OBTS #:
Docket#:            12F010120           Docket# 2:
Court Case # :      12F010120           Court:
Judge Name:
Statute:            508.060              Description :
Category:           NON-CRIMINAL         Class:                  OTHER                                Modifier:
Offence DtTm :                           Charge DtTm :
Arrest DtTm :                            Arresting Agency :
Charge Status :                                                                                   Charge Status DtTm :
Charge Disposition: COURT ORDER                               Disposition Dttm :   09/14/2012 05:09   Dispose By:




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Printe(    ,utman, Iryt On 10/19/2013 21:08                                                                                   )                   Gof 25
                      Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 530 of 625 PageID #:
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Inmate N.r"'-     : Oli577966    lilmate Name : MINDI/MAHMOUD'¥                                                                       \!: .l

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            11
Reference Nbr :
                       Details
                       02801210            Document Type :        Not Applicable                             CAD Case#:
Warrant #:             LAUREL CO           Citation#:              L989129                                   OBT5#:
                       WARRANT
Docket#:               *00T09993 LAUREL    Docket# 2 :
Court Case # :         *OOT09993 LAUREL    Court:
Judge Name:
Statute:                189.390            Description :
Category:               NON-CRIMINAL       Class:                  OTHER                                     Modifier:
Offence DtTm :                             Charge DtTm :
Arrest DtTm :                              Arresting Agency :
Charge Status :                                                                                          Charge Status DtTm :
Charge Disposition : RIP CREDIT TIME SERVED                     Disposition Dttm :        09/09/2012 01:09   Dispose By :




 Printed By Troutman, lryt On 10/19/2013 21:08                                                                                                 7of25
                                                                                                                                GB004010
                        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 531 of 625 PageID #:
                                                             1523
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Inmate Nur.      ":: 00577966     Inmate Name :'HINDI. MA~MOUDY                                                         c·~




     Booking Charge Details
Reference Nbr :         02801211           Document Type :         Not Applicable        CAD Case#:
Warrant #:                                 Citation#:              G478363               OBTS #:
Docket#:                12CR2772           Docket# 2:
Court Case # :          12CR2772           Court:                  CR13
Judge Name:
Statute:                507.020            Description :
Category:               NON-CRIMINAL       Class:                  OTHER                 Modifier:
Offence DtTm :                             Charge DtTm :
Arrest DtTm :                              Arresting Agency :
Charge Status :                                                                      Charge Status DtTm :
Charge Disposition :                                            Disposition Dttm :       Dispose By:




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Printe( iutman, Iryt On 10/19/2013 21:08
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                     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 532 of 625 PageID #:
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Inmate !If
      (~     -   : 00571966 1n111ate·Name: RlNl:iJ;
                                         .      .   'MAHMOUD
                                                      ...  ·.
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    B~    .1g Charge Details
Reference Nbr :      02801212                Document Type :        Not Applicable         CADCase#:
Warrant#:                                    Citation#:             G478363                OBTS #:
Docket#:             12CR2772                Docket# 2:
Court Case # :       12CR2772                Court:                  CR13
Judge Name:
Statute:             507.020                 Description :
Category:              NON-CRIMINAL          Class:                  OTHER                 Modifier:
Offence DtTm :                               Charge DtTm :
Arrest DtTm :                                Arresting Agency :
Charge Status :                                                                        Charge Status DtTm :
Charge Disposition :                                              Disposition Dttm :       Dispose By:




 Printed By lroutman, lryt On 10/19/2013 21!08                                                                                9 of 25
                                                                                                              GB004012
                   Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 533 of 625 PageID #:
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Inmate Nu1f : 00577966      Inmate Name: HINDI. MAHMOUD Y
     Booking Charge Details
Reference Nbr:       02801213           Document Type:          Not Applicable                    CAD Case#:
Warrant #:                              Citation#:              G478363                           OBTS#:
Docket#:             12CR2772           Docket# 2:
Court Case # :       12CR2772           Court:                  CR13
Judge Name:
Statute:             508.060            Description :
Category:            NON-CRIMINAL       Class:                  OTHER                             Modifier:
Offence DtTm :                          Charge DtTm :
Arrest DtTm :                           Arresting Agency :
Charge Status :                                                                               Charge Status DtTm :
Charge Disposition :                                         Disposition Dttrn :                  Dispose By:




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                                                                                   -                                 GB004013
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                        Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 534 of 625 PageID #:                              .---..,
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        Bl.   ,g Charge Details
Reference Nbr :           02801214            Document Type :         Not Applicable                     CAD Case#:
Warrant # :                                   Citation # :           G478363                             OBTS#:
Docket#:                  12CR2772            Docket# 2:
Court Case # :            12CR2772            Court:                  CR13
Judge Name:
Statute:                  508.060             Description :
Category:                 NON-CRIMINAL        Class:                  OTHER                              Mod'lfler:
Offence DtTm :                                Charge DtTm :
Arrest DtTm :                                 Arresting Agency :
Charge .Status :                                                                                     Charge Status DtTm :
Charge Disposition :                                               Disposition Dttm :                    Dispose By:




 Printed By Troutman, lrytOn 10/l.9/2013 21:08                                                                                                     11of25
                                                                                                                            GB004014
                     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 535 of 625 PageID #:
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Inmate Nu1. - t: 00577966     Inmate Name: MINDl,.MAMMOflD Y
     Booking Charge Details
Reference Nbr :      02801215             Document Type :         Not Applicable        CAD Case#:
Warrant#:                                 Citation#:              G478363               OBTS#:
Docket#:             12CR2772             Docket# 2:
Court Case # :       12CR2772             Court:                  CR13
Judge Name:
Statute:             508.060              Description :
Category:            NON-CRIMINAL         Class:                  OTHER                 Modifier:
Offence DtTm :                            Charge DtTm :
Arrest DtTm :                             Arresting Agency :
Charge Status :                                                                     Charge Status DtTm :
Charge Disposition :                                           Disposition Dttm :       Dispose By:




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Printel      1utman, Iryt On 10/19/2013 21:08                                                                   )          12of25
                       Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 536 of 625 PageID #:
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Inmate'::::--',~ :00577966        InmliteNi!lnl!:HINb.r;,M'A:lfMaUoY                                                                 I   .:



    Bf..   ,g Charge Details
Reference Nbr:         02801216              Document Type :        Not Applicable                     CAD Case#:
Warrant#:                                    Citation#:             M582936                            OBTS#:
Docket#:               13F000021             Docket# 2:
Court Case # :         13F000021             Court:                 203
Judge Name:
Statute:                508.080              Description :
category:               NON-CRIMINAL         Class:                  OTHER                             Modifier:
Offence DtTm :                               Charge DtTm :
Arrest DtTm :                                Arresting Agency :
Charge Status :                                                                                    Charge Status DtTm :
Charge Disposition :                                              Disposition Dttm :                   Dispose By:




 Printed By Troutman, Iryt On 10/19/2013 21:08                                                                                                13 of 25
                                                                                                                          GB004016
                      Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 537 of 625 PageID #:
                                                           1529


Inmate Nur.. ·- 1: 00577966    lMtate Name: HINDl.MAHilllOl:JD Y
     Booking Charge Details
Reference Nbr :     02801217              Document Type:          Not Applicable                       CAD Case#:
Warrant#:                                 Citation#:              G478363                              OBTS #:
Docket#:              12F010120           Docket# 2:
Court Case # :        12F010120           Court:
Judge Name:
Statutl!:             508.01              Description :
Category:             NON-CRIMINAL        Class:                  OTHER                                Modifier:
Offence DtTm :                            Charge DtTm :
Arrest DtTm :                             Arresting Agency :
Charge Status :                                                                                    Charge Status DtTm :
Charge Disposition:   COURT ORDER                              Disposition Dttm :   09/14/2012 05:09   Dispose By:




       I                                                                                                                  GB004017
Printeb._    >utman, Iryt On 10/19/2013 21:08                                                                                  )     14of 25
                             Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 538 of 625 PageID #:
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                      0057796~
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                                       Inmate Name:HllliDl;MAHMOODY                              /' ~.
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      Bo.  ,g Charge Details
Reference Nbr :      02801218                     Document Type :               Not Applicable                        CAD Case#:
Wa"ant #:                                         Citation#:                    G478363                               OBTS#:
Docket#:                     12F010120            Docket# 2:
Court Case # :               12F010120            Court:
Judge Name:
Statute:                     508.060              Description :
Category:                    NON-CRIMINAL         Class:                        OTHER                                 Modifier:
Offence DtTm :                                    Charge DtTm :
Arrest DtTm :                                     Arresting Agency :
Charge Status :                                                                                                   Charge Status DtTm :
Charge Disposition: COURT ORDER                                          Disposition Dttm :        09/14/2012 05:09   Dispose By:




 Printed By Troutman, lryt On 10/19/2013 21.1l8                                                                                                              15 of25
                                                                                                                                         GB004018
                      Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 539 of 625 PageID #:
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lnmateNur>      : 00577966    Inmate Name: HINDl; MAHMOUD Y
     Booking Charge Details
Reference Nbr :     02801219              Document Type :         Not Applicable                       CADC&se#:
Warrant #:                                Citation#:              G478363                              OBTS#:
Docket#:              12F010120           Docket# 2:
Court Case # :        12F010120           Court:
Judge Name:
Statute:              508.060             Description :
Category:             NON-CRIMINAL        Class:                  OTHER                                Modifier:
Offence DtTm :                            Charge DtTm :
Arrest DtTm :                             Arresting Agency :
Charge Status :                                                                                    Charge Status DtTm :
Charge Disposition:   COURT ORDER                              Disposition Dttm :   09/14/2012 05:09   Dispose By:




                                                                                                                          GB004019
PrinteC      1utman, Iryt On 10/19/2013 21:08                                                                                  )          16 of 25
                   Case 3:16-cv-00742-DJH-CHL Document 143-1 (Filed 05/21/19 Page 540 of 625 PageID #:
                                                        1532                                                                    -~)'(' ''
In.matefr-' , .':00577966 Jnm~Name:HJNDliMMMf>UDY          /~---'


     Be:,_ .•g Charge Details
Reference Nbr :       02801220             Document Type:          Not Applicable                       CAD Case#:
Warrant #:                                 Citation#:             G478363                               OBTS #:
Docket#:              l2F010l20            Docket# 2:
Court case # :        12F010l20            Court:
Judge Name:
Statute:              508.060              Description :
category:             NON-CRIMINAL         Class:                  OTHER                                Modifier:
Offence DtTm :                             Charge DtTm :
Arrest DtTm :                              Arresting Agency :
Charge Status :                                                                                    Charge Status DtTm :
Charge Disposition : COURT ORDER                                Disposition Dttm :   09/14/2012 05:09  Dispose By :




 Printed By Troutman, Iryt On ltl/19/201321:08                                                                                              17 ans
                                                                                                                          GB004020
                       Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 541 of 625 PageID #:
                                                            1533
                                                                                                                                   -,
Inmate Nu~.   .i:   00577966   Inmate Name: HINDI, MAHMOUD Y

    Booking Charge Details
Reference Nbr : ·  02801221             Document Type :         Not Applicable                       CAD Case#:
Warrant #:                              Citation#:              G478363                              OBTS#:
Docket#:               12F010120        Docket# 2:
Court Case # :         12F010120        Court:
Judge Name:
Statute:               508.060          Description :
Category:              NON-CRIMINAL     Class:                  OTHER                                Modifier:
Offence DtTm :                          Charge DtTm :
Arrest DtTm :                           Arresting Agency :
Charge Status :                                                                                  Charge Status DtTm :
Charge Disposition :   COURT ORDER                           Disposition Dttm :   09/14/2012 05:09   Dispose By:




                                                                                                                        GB004021
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                            Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 542 of 625 PageID #:
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Inmate,~_,_ :00577966              lnmiitl!Name:.HINbl;;MAHMOUDY                       ...
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    el    ,g Charge Details
Reference Nbr :     02801222                Document Type :        Not Applicable                       CAD Case#:
Warrant #:                                  Citation#:             G478363                              OBTS #:
Docket#:                     l2F010120      Docket#2:
Court Case # :               12F010120      Court:
Judge Name:
Statute:             508,060                _Description :
Category:            NON-CRIMINAL           Class:                 OTHER                                Modifier:
Offence DtTm :                              Charge DtTm :
AnestDtTm:                                  Arresting Agency :
Charge Status :                                                                                     Charge Status DtTm :
Charge Disposition : COURT ORDER                                 Disposition Dttm:   09/14/2012 05:09   Dispose By:




 Printed By Troutman, lryt On 10/19/2013.21:08                                                                                                            19of 25
                                                                                                                                         GB004022
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                       Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 543 of 625 PageID #:
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Inmate Nur(      : 00577966    Inmate Name : HINDI, 'MAHMOUD Y
    Booking Charge Details
Reference Nbr:         02801223             Document Type :         Not Applicable                       CAD Case#:
Warrant #:             LAUREL CO            Citation#:              L989129                              OBTS#:
                       WARRANT
Docket#:               *OOT09993 LAUREL     Docket# 2:
Court Case # :         *OOT09993 LAUREL     Court:
Judge Name:
Statute:               02900                Description :
Category:              NON-CRIMINAL         Class:                  NON-CRIMINAL                         Modifier:
Offence DtTm :                              Charge DtTm :
Arrest DtTm :                               Arresting Agency :
Charge Status :                                                                                      Charge Status DtTm :
Charge Disposition:    WARRANT SERVED                            Disposition Dttm :   09/07/2012 06:09   Dispose By :




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                       Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 544 of 625 PageID #:

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                                  .lllniate Name: HINDi;.MJIJiMOUDY
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    BoC,, ___ ,g Charge Details
Reference Nbr :         02801224                Document Type :       Not Applicable                       CADCase#:
Warrant #:                                      Citation#:            G478363                              OBTS #:
Docket#:                 12CR2772               Docket# 2:
Court Case # :       12CR2772                   Court:                CR13
Judge Name:
Statute:             508,060                    Description :
Category:            NONcCRIMINAL               Class:                 OTHER                               Modifier:
Offence DtTm :                                  Charge DtTm :
Arrest DtTm :                                   Arresting Agency:
Charge Status :                                                                                        Charge Status DtTm :
Charge Disposition :                                                Disposition Dttm :                     Dispose By:




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                     Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 545 of 625 PageID #:
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Inmate Nun'.     : 00577966   Inmate Name: HINDJ; MAHMOUD V
    Booking Charge DetaRs
Reference Nbr:       02801225          Document Type :         Not Applicable               CAD case#:
Warrant #:                             Citation#:              G478363                      OBTS#:
Docket#:             12CR2772          Docket# 2:
Court Case # :       12CR2772          Court:                  CR13
Judge Name:
Statute:             508.060           Description :
Category:            NON-CRIMINAL      Class:                  OTHER                        Modifier:
Offence DtTm :                         Charge DtTm :
Arrest DtTm :                          Arresting Agency :
Charge Status :                                                                         Charge Status DtTm :
Charge Disposition :                                        Disposition Dttm :              Dispose By:




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Inmate r..:.__    .. : 00577966
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                                       Inmate Name: HINl>l> MAlflliibUD Y                                           ~




    BoL .g Charge Details
Reference Nbr:    02801226                            Document Type :                              Not Applicable            CAD Case#:
Warrant #:                                            Citation#:                                   G478363                   OBTS #:
Docket#:          12CR2772                            Docket# 2:
Court Case # :    12CR2772                            Court:                                       CR13
Judge Name:
Statute:                     508.060                  Description :
Category:                    NON-CRIMINAL             Class:                                       OTHER                     Modifier:
Offence DtTm :                                        Charge DtTm :
Arrest DtTm :                                         Arresting Agency :
Charge Status :                                                                                                          Charge Status DtTm :
Charge Disposition :                                                                       Disposition Dtbn :                Dispose By:




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Inmate Nun\,        ·><   :   00577966     Inmate Name : RilllDl;'MAHMOUtJV
      Booking Charge Details
Reference Nbr:                   02801227            Document Type :         Not Applicable                      CAD Case#:
Warrant #:                                           Citation#:              G478363                             OBTS #:
Docket#:                         12CR2772            Docket# 2:
Court Case # :                   12CR2772            Court:                  CR13
Judge Name:
Statute:                         508.060             Description :
Categoiy:                        NON-CRIMINAL        Class:                  OTHER                               Modifier:
Offence DtTm :                                       Charge DtTm :
Arrest DtTm :                                        Arresting Agency :
Charge Status :                                                                                              Charge Status DtTm :
Charge Disposition :                                                      Disposition Dttm :                     Dispose By:




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Inmate   r:::_- .:00577966 . Inmate Name : i-llNDJ.''MAl'IMOUD Y                                                                    I'   ,

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Reference Nbr:          02801228          .Document Type :        Not Applicable                       CAD Case#:
Warrant #:                                 Citation#:             M582936                              OBTS #:
Docket#:                13F000021          Docket# 2:
Court Case # :          13F000021          Court:
Judge Name:
Statute:                13123              Description :
Category:               FELONY             Class:                 CLASS D FELONY                       Modifier:
Offence DtTm :                             Charge DtTm :
Arrest DtTm :                              Arresting Agency :
Charge Status :                                                                                   Charge Status DtTm :
Charge Disposition : DISMISSED                                  Disposition Dttm:   01/14/2013 12:01   Dispose By:




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    Case 3:16-cv-00742-DJH-CHL DocumentInmate
                                        143-1 Filed
                                              Moves 05/21/19 Page 549 of 625 PageID #:
                                         1541
       CIN#:             Booking#:                 Inmate Name:                            Race/Sex


       577966    2012029784           HINDI           MAHMOUD         y                      WM
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I
    Facility:   Floor:       Cell:    Bed:           Time IN:·            Time OUT:
            1   J1   p        1         002.   9/7/2012 04:40:15     9/7/2012 05:34:43

           1    J2VI W        W1        013    9/7/2012 05:55:29     9/17/2012 19:26:54

           1    J3   N        8         004    9/17/2012 20:58:22    12/6/2012 11 :32:07

           1    J3   s        7         008    12/6/201211:38:47     12/6/2012 20:35:37

           1    J3   N        8         006    12/6/2012 20:51 :08   1/1/2013 08:49:37

           1    J2VI W        OB1       003    1/1/201310:29:55      1/3/2013 17:44:24

           1    J2VI W        09        012    1/3/2013 17:44:37     1/3/2013 17:45:21

           1    J2VI W        09        011    1/3/2013 17:45:21     1/4/2013 18:27:26

           1    J2VI W                  001    1/4/2013 18:27:26     1/22/2013 16:17:40
                              09
           1    J2VI W                  003    1/22/2013 16:18:07    1/23/2013 08:59:03
                              W1
           1    J2VI W        08        002    1/23/2013 08:59:14    1/28/2013 17:02:00

           1    J2VI W        09  •     006    1/28/2013 17:02:00    1/31/2013 11 :04:23

           1    J2VI W        W1        005    1/31/2013 11 :04:23   1/31/201311:08:08

           1    J2VI W                  009    1/31/2013 11 :08:08   2/1/2013 13:04:10
                              W1
           1    J2VI W                  005    211/2013 13:04:10     2/6/2013 18:01 :29
                              W1
c          1    J2VI W        W1        012    2/6/2013 18:01 :29    217/2013 21 :30:00

           1    H5   w                  002    2/7/2013 21 :39:03    2/9/2013 13:02:37
                              09
           1    H5   E        N1        001    2/9/2013 13:03:35     3/3/2013 02:31 :08

           1    J2VI W                  004    3/3/2013 04:01 :38    3/6/2013 02:35:17
                              W2
           1    J2VI W                  001    3/6/2013 02:35:17     3/22/2013 21 :02:42
                              W2
           1    J4   s        7         006    3/2212013 21:14:22    4/14/2013 17:30:59

           1    J4   s        7         007    4/14/2013 17:30:59




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          Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 550 of 625 PageID #:
          Name HINDI, MAHMOUD Y                1542 Booking# 2012029784   Facility 1
        Inmate # 00577966          Sex MALE        DOB-                    Book Dt/Tm 0910712012 02:36      Wing H5E
(;_l,     Race White/Eurpl N.Afr/Mid Eas           Age 56            Release Dt/Tm                          Dorm H5E-N1

(       s~~s                                ~~                            ClassificaUon MX/AB               Cell H5-N1



             Booking #2012029784

     Start DatefTime End DatefTime         Cell               Bed            CellTransfer Reason Comments
     09/20/2013                            H5-N1              003
     21:32

     08/31/2013       09/2012013 21 :32 J2-W1                 010
     17:56

     08/23/2013       08/31/2013 17:56 J2-W1                  004
     07:36

    08/16/2013        08/23/2013 07:36 J2-W1                  006
    22:14

    06/26/2013        06/26/2013 14:25
    14:25




            .......
    06/03/2013        08/1612013 22:14     J4S~7              007
    02:06




    25352 Troutman                                     1011912013 23:47                                                   Page: 1

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    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 551 of 625 PageID #:
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             Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 552 of 625 PageID #:
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Sunday, Oct 20, 2013 12:27 AM

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          Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 553 of 625 PageID #:
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i Demographic Detail
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: Related Addresses
j Demographic Detail
IIncident Lookup
:.Elf/Co-Defendants/Gangs
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Sunday, Oct 20, 2013 12:36 AM
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unday, Oct 20, 2013 12:36 AM

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                    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 582 of 625 PageID #:
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        /                                                                                                                                                                                                            I: l
      i--
      '                                 LOUISVILLE METROPOLITAN DE.                                      .iMENT OF CORRECTIONS
                                        400 s. Sixth Street
                                        Phone: 5025742167   Fax:

                                                                                          Inmate Notes
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,Inmate Name                          :Inmate #       ' Note Type              Iinmate Notes ..                                                                            Created By User
·HINDI, MAHMOUD Y                     00577966        \Old Notes               I Pre-screening complete, 55 Jordanian/W/M&#xOD; Per the medic01Nurse, A.
                                                      1                        IAyers, LPN, inmate is to be housed in the NJC with a bottom bunk in J2W Wl-
                                                      1                          #13 from JlP
                                                      1                         I                                                                                                                                                                          ,
~-~--··                                                                   · - ·--1..--'---···--·-·-·--·------~·                                                                                                                                            .
                                                      !Old Notes               I   VMS WIFE FATIMA HINDI 365-2648 CALL WAS RETURNED. A MESSAGE WAS
                                                                                  LEFT RE: SECURA. MRS HINDI WAS GIVEN VISIT DATE AND TIME BY MH                                                                                                           ,
                                                      I                        !  PROFESSIONAL BEV HASKINS.                                                                                                                                                '
                                                      I                        I
                                                      !Old Notes               f W/M 55 - ORIENTATION &amp; PREA COMPLETE - NO PROPERTY RELEASED
                                                                               1-RECEJVED HANDBOOK - RTN: 203 ON 9/14 • MURDER, ASL T 1, WE 1 X 7 -
                                                      I                        I$1,000,000 &amp; **HOLD LAUREL CO** SPD $114.45 - OVERRIDE HIGH TO
                                                      I                        'LOW MED
                                                      I
                                                      I
                                                                               Ii
                              ···•                        Old Notes             i Mr. Hindi was given a prayer rug, Glasses and a Quran. The prayer rug was
                                                                                ii drop off by his son.
                                                                               I
'........... · ................ · ·-··-· ···--- · - · -10ld-N<ltss -- ··- _[_~]:.CJA!RGJ:f-ANQ~.G¥M-Gf™WN+AG+Hl-V!AE-MA!b ....                                                - -··-·- ............... .

-·                                   ·• --·               lo1d Notes         -hi        2nd REQUEST FOR HAIRCUT AND SHAVE PRIOR ·To cr°T"'o""M"'o=RR""o""w-:-:-.- - - r - - - - - · - - -
                                                          \                     I
                                                          !Old Notes               f    J3/D8#ll FROM J2W/Wl#13 - PER MEDICAL MOVEUST FROM MAX
                                                          I                            HENDERSON
                                                                                                                                        .


                                                              Old Notes            1
                                                                                        ADDED CHARGE, NO CHANGE IN CLASS

                                                              Old Notes            1    Inmate was given his Quam out of his personal property, he removed the
                                                                                   1hardback cover     and the cover was placed back in his property.&#xOD; Spoke
                                                                                   I   with his son 270-804-5884 concerning his Quran

                                                          !Old Notes                    PER NURSE GRUBBS VM IS MOVED FROM J3/D8 TO J3/D7#8
                                                          I
                                                          j Old Notes                    Received write up on 12/6/2012 for cat. 3-A disruptive behavior, 4-C
                                                          l                            ,engaging in sexual activities with another person. received 15 days dispseg.


 ----·--·-·                                               I                 _L_~'.~~·----------··----------·------·----~----------
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        Date From:~'.
                             r J7/201ioll:oo ···           i>iitefo:'1012012013 .23!58
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        inmate Na,;,-;---------                               Inmate#         l~~~~!se·=---_ri~~:~E~f~~N:ATE_D_I:::-NA-R~:~:E~-~----·-=--=-·                             ---
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        --------------+------+--------+---
                                                                               told Notes               [ Disciplinary appeal form forwarded to Deputy Director Bingham.
                                                                               !                        i
                                                                               iOld Notes               [ NO CHANGE IN CLASS, HOLD GOT RELEASE
                                                                      _________l                    ___J ___________________,
                                                                               \Old Notes               I PER HEALTH SERVICES MOVEUST SIGNED -        ··-  - -
                                                                               !                                BEEN PLACED ON MOVEUST FROM J2W/OBS1 TO J2W/D9.
                                                                               !                        I
                                                                               'Old Notes               [ Recd write up on 1/1/2013 for&#xOD; &#xOD; CAT.3-A disruptive
                                                                               I                        1 behavi9r&#xOD; CAT.3-F using abusive and vulgar language toward

                                                                               )                        lstaff&#xOD; CAT.3-G refusing to follow the directions of staff&#xOD; CAT.3-1
                                                                               '                        !threatening staff with physical harm&#xOD; CAT.4-K assaulting any staff
                                                                                                        [ member&#xOD; &#xOD; Inmate recd 60 d.d.s which includes the 15 days h • 1 _
                                                                               \                        \.had on the shelf.&#xOD; his time will go until 3/5/2013 and needs to be
                                                                                                        Imoved to the disciplinary segregation unit today l/4/2013&#xOD;
                                                                               I
        --------                                                                   ;Old Notes           1           INMATE-CAN'T BE MOVED TO D/S UNTIL n •ao•n RV <A<.in1 1-1•a1 T'-'-                       "
                                                                               II                       I,EMAIL SENT TO ERNST AND HALE
                                                                                                        I
                                                                                   [Old Notes               [ GIVEN A HAIR COMB.
                                                                                   •                        I


                                                                              lQld_N0\~,;--------1 J2W/D9 FROM J2W/D8 - PER MEDICAL MOVEUST FROM MAX HENDERSON                                       ---         -- --
                                         ·----
-----                                                        -,----
                                                                                   I!Old Notes              I PER MAX HENDERSON I/MIS MOVING FROM J2W/Wl#5 TO J2W/Wl#l2 -----1
                                                                                   iold Note~- --           I       I/MS WIFE FATIMA HINDI 502-365-2648 CALL WAS RETURNED AT l/M
                                                                                   !                        lREQUEST. MRS HINDI REPORTS NOT HEARING FROM l/M IN THREE DAYS
                                                                                   i                        iAND l/M USUALLY CALLS EVERYDAY.l/M WILL CALL HER LATER TOAY.

        - - --·--··-----------------+------ ---kld-Note-s----t-PER-DR EASLEY I/M IS CLEAR FOR GP. HAS
                                                                                                            )MOVING FROM J2W/Wl#l2 TO H5/D9#2 (NO D/S HOUSING AVAILABLE AT
                                                                                                            [THIS TIME)

                                                                                   rold Notes - -      1I           A/R turned into property for allowables.
        -----------                                                           _l__ __________L - - - - - - - - - - - - · - - - - - ·                            ---
                                                                                       [Old Notes               [ Inmate given property bag with allowables.
                                                                                   I                            1

                                                                        ----JOld Notes _____ fHSfENi#1~ l/MJSCLEARED FROM M/H PER MEDICAL MOVEUST FROM
                                                                                       \                        INURSE PRICE -1/M IS CURRENTLY SERVING DISP TIME
                                                                                       i                        i
                       ,,--                                                                                                                                                              GB004079
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·Inmate Name                               :Inmate#       :Note Type           Inmate Notes                                                                             Created By User
                                                          !Old Notes           I-------·
                                                                                 Two grievances turned in.
                                                                                                                                -------
                                                                                                                                                                                                                '
                                                          i.
                                                          \Old Notes           i PER MOVE LIST, SLOAN, INMATE TO BE MOVED FROM HSNl/01 TO
                                                                                                                                                                                                                i
                                                                               IJ2W/W2/04
                                                                               r
                                                          [Old Notes           I I/MS WIFE FUTJMA'S CALL WAS RETURNED 3-7-13 365-2648. l/M WAS
                                                          II                   IGIVEN A MESSAGE TO CALL HIS WIFE COLLECT.                                                                                       '
.
                                                          I                    I
                                                          \Old Notes           j Received write up on 3/2/2013 for cat. 3-A disruptive behavior, 3-G refusing
                                                                               1to follow instructions, 4-K assaulting staff. Write up was dismissed for due
                                                                               'process.
                                                          I
                                                          !old Notes                   A/S hazard added due to inmate case being High Profile. email sent to Sup.
                                                                               IPuckett for review
                                                               Old Notes          From: Freeman, Debra J &#xOD; Sent: Thursday, March 14, 2013 12:17
                                                           I                    1PM&#xOD;   To: Spenton, Joshua&#xOD; Cc Freeman, Debra J; Moppins,                                                                 '
                                                           I                    'Marilyn&#xOD; Subject: Gym request&#xOD; &#xOD; Mahmoud Hindi
                                                           I                                                                                                                                                        '
                                                           II                    cin577966 loc J2 W2 celll he is requesting to goto gym.&#xOD;
                                                                                 Thanks&#xOD; &#xOD;
    -.
                                                           '
                                                         ~es- -_JI ***Once.. cleared from medical, please place ADMIN SEG and' alert David                              I                                ~




                                                           I                       IPuckett****&#xOD; Once the inmate has been cleared from medical, the
                                                                    _              j inmate will have to be reviewed by SMU staff on Wednesdays. Date will be
                                                                                   \forth coming upon clearence from medcial.
                                                           1
                                                           jOld Notes              I PER NURSE DAUGHERTY I/Mrs CLEAR FOR GP. MOVING FROM JZW/WZ#l
                                                                                   TO J4/D7#6. E-MAIL SENT TO D.PUCKETT. SEE PREVIOUS ENTRY.
    --·                                                   1    !Old Notes   ·1:72
                                                                                   I
                                                                                         hr SMUre-;,iew on this date: Went and spoke w the above inmate in
                                                                               (concerns of his housing location. Inmate was unsure as to       why he was in his
                                                               iI                  Icurrent hosuing location. l informed him that because of his clearence from
                                                                                   !medical to return to general population was the reason for my visit w him. l
                                                               i                   j explained the reason as to why he had been placed in his current hosuing
                                                               I                   i location and inmate was understading of this fact. he has signed of his SMU
                                                                                   \review sheet requesting a move to Protective Cistody. The inmate's final
                                   -                           I
                                                                                   Ihousing will be determined at the next SMU meeting scheduled for 3-27-13.
    -
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Inmate Name
             \      -   - --··'   ---,   -    ._ - '··---_·
Date From: ~:-;-.17/2012 00:00 - '. Dlite Tir;'10/20/20l3;23;58
                                                     .Inmate#
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                                                                                                        Inmate Notes
                                                                                                                                                    ------------------.~



                                                                                                           SMU meeting on this date: Inmate will remain as ADMIN SEG.&#xOD;
                                                                                                                                                                                          I°'
                                                                                                                                                                                           Created By User

                                                                                       \                  &#xOD; SMU meeting held on this date in attendance were the following
                                                                                      I                   persons: Classification:Ayers, Puckett. Shipley and Allen, Medial Staff: D
                                                                                      I                   Fowler, Mental health staff:M Krank, SORT commander: Lt Collins, Security        I
                                                                                      \                 Istaff: Disciplinary officer J Hale and Deputy Directors: Bingham and              I
                                                                                                        ! Clark&#xOD; &#xOD; It was determined that the above inmate would
                                                                                                        I continue to remain ADMIN SEG due to being assaultive towrds staff and that       I
                                                                                                        I he would be unbale to function in a dorm setting. The inmate's request for       I
                                                                                                        1
                                                                                                          protective custody is denied.
                                                                                                        I
                                                                                      IOld Notes       -I Mr. Hindi was given his Quran that was placed on his property because it
                                                                                      I                 Ihad a zipper attached.Writer was given permission by Inmate son Musa to
                                                                                      !                 Iremove zipper.
                                                                                      iolciN~---,>-P~r Lt Davis, Inmate Hindi, Mahmoud is allowed to h~ve his oversized Koran.
                                                                                                        1
---- ---- ----
                                                                                      ]                      This book is written in Arabic. Any questions, contact me.




                                                                            ~
                                                                                                 tes    1.    Inmate Hindi has two Quarans in his possession. If for any reason one or
                                                                                                        Iboth are confiscated, please ensure that they are taken to property.&#xOD;
                                                                                                        i&#xOD; Lt Davis
                                                                            ~--~----t·---------·---------
                                                                                          Old Notes                                                              -
                                                                                                            Wife Fatima called. She said she had not heard from inmate in a few days_ I
                                                                                                         , called 502-365-2648 and told her that the inmate was still in the same
                                                                                                         )location and was doing ok
                                                                                                         I
                                                                                          !Old Notes     I l/M Hindi used the KIOSK from 0000 hrs to 0045 hrs.
                                                                                          I                 I
                                                                                          [Old Notes        i Inmate Mahmoud Hindi recieved a Timex sports watch, model 1440.     Public
                                                                                          I                 !Defender, Angela Elleman was advised.&#xOD; &#xOD; Lt Davis #210
------··----·--·------------·--+------_____J__ _________                                               _J_______________
                                                                                                       ----------------+--------
                                            IGENERAL INMATE 11 have e-mailed kitchen supervisor Edward Wasson in regards to the above Puckett, David
                                            INO_TES         \inmate's AIR dated 7 /22/13 requesting a soecial diet trav w no meat.




                                                                                                                                                                                               GB004081
         f       - .. ' . • ~- ,..,-_..;. .fi-1·1-.'rii.:;n+-2 7rl'77-                                                                                                                              )           4of6
                                Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 602 of 625 PageID #:
                                                                     1594
                                                                                                       ;:::::.~                                              .-··   ..
!Mte Fl'Cil(            , ... 112oii!OO:oo '~l)a\e~f~:::ll)12ot2oi1123r~s  ·
                                                              - - - ,--------.,.------------·--·----·----------·---
      ,ate N---
I --------        - -                          'I- -- - 1ate#
                                                        --- -           .,.- -
                                                                 Note Tvve       IInmate Not'          ••         -----~----                     --·----
                                                                                                                                                                         \.rea·1ted Bv   U:
                                                           GENERAL INMATE From: English, Keith D.                                                                        English, Keith
                                                           NOTES          Sent: Wednesday, July 31, 2013 12:36 PM
                                                         I
                                                                          To: Wasson, Edward
                                                         I                Cc: Puckett, David; Ernst, Kyle
                                                         i                Subject: inmate issues
                                                         '
                                                         II
                                                         I                         IReference email sent by Supervisor Puckett:                                                                       '
                                                                                      Inmate Mahmoud Y Hindi Cin# 577966 requested to have vegetarian meals.
                                                         I                            As of today, inmate is currently receiving meals with meat on the trays_ Please
                                                          i                          .add inmate to the vegetarian list as soon as possible.
                                                                                     I

                                                                                     IThanks
                                                         IISMU REVIEW
                                                                                     f PO    English
                                                                                     I Returned answers from yestreday;s SMU committee review and inmate has             Puckett, David
                                                          INOTES                     Iexpressed an intrest in being remQved form ADMIN SEG to Protective
                                                          I                          Icustody. I informed the inmat" that I would bring his rnquest up at the next
                                                          I                           SMU m"etino on 8-14-13.
                                                          /INMATE                     J2W Wl#G LEVEL 2 PER M. HENDERSON AND SGT. REDMON; ALERT ADDED                     Daub, Summ"r
                                                          I MOVEMENT                  AND SARN CHANGED
                                                          IINMATE                    IPER SCANNED MENTAL HEALTH MOVEL!ST DTD 8-23-13- A body/body                 ·      Hayd.,n, Maria
                                                          [MOVEMENT                   SWAP- MAHMOUD HINDI #577966 J2W-WALK1#6 TO J2W-WALK 1#4 WITH                       I                      .:~
                                                              '
                                                                                     [KENNETH ADKJNS #428020->J2W-WALK 1#4 TO J2W-WALK1#6 ..2ND FLR
                                                          i'INMATE                    CONTROL OFC. ADVISED VIA PHONE.. MARIA
                                                                                      BODY FOR BODY SWAP PER SHEILA REDELLA OF MENTAL HEALTH .... MARIA                      Hayd.,n, Maria
                                                                MOVEMENT
                                                              iINMATE SERVICES           \AIR turned into poperty for allowables.                                            Ayers, Stacey                '

                                                              1
                                                                NOTES
                                                               INMATE                    iPER SCANNED MENTAL HEALTH MOVEUST DTD 8-31-13 FROM MAXWELL                         Hayd.,n, Maria
                                            -·
                                                                MOVEMENT                 IHENDERSON> MOVEUST FROM J2W-WALK 1#4 TO J2W-WALK 1#10.. MARIA                                                   '
                                                                PROP NOTES               lAJR FOR DORM BAG - - RELSD                -                                        Stansbury, Ryan
                                                                  !INMATE SERVICES !inmate       giv"n-;;ll~wables
                                                                                                             from prop.,rty.                                 Ayers, Stacey
 '                                                                  NOTES          i
                                                                  ISMU REVIEW      !lnmat" was reviewed at SMU meeting on 8-21-13 about his request to be    Puckett, David
                                                                    NOTES          Iremoved from ADMIN SEG to Portective Custody. His rnquest was deined and
 '




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                                                                  I
                                                                               4
                                                                  \INMATE SERVICES
                                                                  I
                                                                  .
                                                                    NOTES
                                                                                   \the inmate will continue to reamin as ADMIN SEG.
                                                                  !INMATE SERVICES iREQUEST FORWARDED TO LT DAVIS RE:MISSING HOLY MATERIAL
                                                                  iNOTES
                                                                                          REQUEST FOR REPAIRS TO J2 DAY ROOM FORWARDED TO MAINTANCE BY
                                                                                          SGT MUNFORD. REQUEST TO COMMISSARY RE: ITEMS THEY NEED TO HAVE
                                                                                          IN STOCK; FORWARDED TO COMMISSARY
                                                                                                                                                             Moppins, Marilyn

                                                                                                                                                                             Moppins, Marilyn

                                                                                                                                                                                                              '


                                                                   INMATE SERVICES       ILT DAVIS PRESENIED INMATE WITH INVOICE WHERE I/MS ACCOUNT WAS                      Moppins, Marilyn
                                                                    NOTES                 CREDITED FOR THE AMOUNT OF I/MS BOOK.

     Pririt~d lly 2lt428 Wtight On 10/19/2013 2t\:ir ·
                                                                                                                                                                         GB004082
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                                                                                               .~.                                                                            ---....
Date From : \.~; J1/2<112   oo:Oo .   Date To!'.10/20/2013 23:58
                                                                                               '   ...._.·
                                                                                                                                                                                    '
Inmate Name                            Inmate#               Note Type
                                                                               [i~mat~-N~tes   ---------···---·----------                                [Created By User
                                                                   ..
                                .
                                                                               l
                                                             (INMATE SERVICES REQUEST NAILCUPPERS. GYM OFFICERS NOTIFIED VIA E-MAIL.                      Moppins, Marilyn
                                                             tNOTES           I'

                                                             .
                                                             )INMATE SERVICES lVM
                                                                              . BECAME VERY UPSET WHEN I WOULD NOT TAKE A REQUEST FOR HOW                 Moppins, Marilyn
                                                             !NOTES            I MANY TIMES THE KITCHEN CAN SERVE BEANS AND WHAT THEY NEED TO
                                                                               i SERVE. I/M STARTED YELUNG AND ACCUSED ME OF HAVING A BAD
                                                             I                 [ATTITUDE. VM WAS YELUNG SO LOUD; I WALKED AWAY AND CONTINUED
                                                             I
                                                             I
                                                                               I
                                                                               iMYROUNDS.
                                                             !INMATE SERVICES Per Nurse Sherman, Inmate going from J2WW1C#l0 to Gp however, there is
                                                             INOTES              no administration seareaation cells.
                                                                                                                                                           Moore, Donna

                                                             IINMATE           iHS/EN1#3 FROM J2W/Wl#l0 - SEE PREVJOUS NOTES - M/H ALERT                   Arriaga, Samantha
                                                             [MOVEMENT         iREMOVED
                                                                                                                                                  ·.   ·tc·A:.c,:r;Qtall~ri#fat~Si:C"   ·.•. c.1




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                                                                                                                                                            GB004083
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                                           ----.:...:.. ..                                                                                                                    l            --~
                                                                                                                                                                          J             6~
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                                                  1596

             Name HINDI, MAHMOUD y                                                 Booking# 2012029784             Facility 1
          Inmate # 00577966          Sex MALE           D. . . . . -             09/07/2012 02:36                    Wing H5E


 f)          Race Whlte/Eurp/ N.AfrlMid Eas
         Status                                lnJall
                                                         Age 56    Release Dt/Tm
                                                                                Classification MXIAB
                                                                                                                    Dorm H5E-N1
                                                                                                                     Cell H5-N1

                                                                                            Classification
        Classification                         Classilicatio Booking #           Classification Officer       Form Name
                                               n Date
        MX/AB                                  09/2012013 2012029784             Arriaga, Samantha            SARN Classification
                                               16:14

       MX/AB/MH                                0811612013 2012029784             Daub, Summer                 SARN Classification
                                               19:56

       MX/AB                                   07118/2013 2012029784             Shipley, Shavon              SARN Classification
                                               10:18

       MXJAB/AS                               06/24/2013 2012029784              Smith, Melissa               SARN Classification
                                              12:38

       NOT CLASSIFIED                         01/01/2013 2012029784 .           Administrator, ADMIN          Quick Classification
                                              00:00

       NOT CLASSIFIED                         01101/2013 2012029784             Administrator, ADMIN         Quick Classification
                                              00:00

       NOT CLASSIFIED                         01101/2013 2012029784             Administrator, ADMIN         Quick Classification
                                              00:00

       NOT CLASSIFIED                         01/0112013 2012029784             Administrator, ADMIN         Quick Classification

!((\   \IOT CLASSIFIED
                                              00:00

                                              01/01/2013 2012029784             Administrator, ADMIN         Quick Classification
                                              00:00

       NOT CLASSIFIED                         01/0112013 2012029784             Administrator, ADMIN         Quick Classification
                                              00:00

       NOT CLASSIFIED                         01/01/2013 2012029784             Administrator, ADMIN         Quick Classification
                                              00:00

       NOT CLASSIFIED                         01/0112013 2012029784             Administrator, ADMIN         Quick Classification
                                              00:00

       NOT CLASSIFIED                         01/01/2013 2012029784             Administrator, ADMIN         Quick Classification
                                              00:00

       NOT CLASSIFIED                         01/01/2013 2012029784             Administrator, ADMIN         Quick Classification
                                              00:00

       NOT CLASSIFIED                         01/0112013 2012029784             Administrator, ADMIN         Quick Classification
                                              00:00

       NOT CLASSIFIED                         01/0112013 2012029784             Administrator, ADMIN         Quick Classification
                                              00:00




       25352 Troutman                                        1011912013 23:45                                                        Page: 1
                                                                                                                         GB004084
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                Name HINDI, MAHMOUD Y                                             Booking# 2012029784               Facility 1
             Inmate # 00577966          Sex MALE           DO-              ~~09/0712012 02:36                        Wing H5E

     (          Race Whlte/Eurpl N.Afr/Mid Eas             Age 56            Release DtlTm                           Dorm H5E-N1



                                                                                                                                                       -
             Status                              In Jail                      Classification MX/AB                    Cell H5-N1
                                                                                                                                                0
                                                                                   Grievance Summary
          Grievance#         Grievance DtTm      Grievance Regarding     Grievance Category     Grievance Against      Disposition        Last Comp
          00000444           08/13/2013 00:00    Service                 CLASSIFICATION                                NOT GRIEVABLE RETURNE
                                                                                                                                     INMATE

          00000449           08/13/2013 00:00    Service                 RECREATION                                    APPEAL       APPEALR
                                                                                                                       RETURN-DENIE

          00000624           09113/2013 00:00    Service                 SECURITY                                      NOT GRIEVABLE RETURNE
                                                                                                                                     INMATE

          00000636           08/20/2013 00:00    Service                 SECURITY                                      NOT GRIEVABLE RETURNE
                                                                                                                                     INMATE

          00000637           08/1512013 00:00    Service                 PROGRAMS                                      INFORMALLY-       RETURNE
                                                                                                                       STAFF             INMATE

          00000653          08/1912013 00:00     Service                MEDICAL                                        NOT GRIEVABLE RETURNE
                                                                                                                                     INMATE

          00000669          0911712013 00:00     Service                RECREATION                                     INFORMALLY-       RETURNE
                                                                                                                       STAFF             INMATE

          00000684          09/17/2013 00:00     Service                STAFF                                          INITIAL           Initial Grie1
 (       ) 00000688         09/19/2013 00:00     Service                STAFF                   Moppins Marilyn       RETURNED-          RETURNE
 '                                                                                                                    RESOLVED           INMA-
                                                                                                                                               (
          00000690          09/24/2013 00:00     Service                CLASSIFICATION                                RETURNED-          REl ....... ~I
                                                                                                                      RESOLVED           INMATE

          00000710          09/24/2013 00:00     Service                MEDICAL                                       NOT GRIEVABLE RETURN
                                                                                                                                    INMATE

         00000749           09/2712013 00:00     Service                STAFF                                         INITIAL            Initial Gli




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                                                                                                                                            (


           25352 Troutman                                      1011912013 21:23                                                      Page: 1
                                                                                                                  GB004085
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                                                 1598



          Name HINDI, MAHMOUD Y                                                   Booking# 2012029784                  Facility 1
        Inmate # 00577966          Sex MALE                                     Book DtlTm 09/07/2012 02:36              Wing H5E
(~:_\     Race White/Eurpl N.Afr/Mid Eas               A{Je 56             Release DtlTm                                Dorm H5E-N1

( ' · Status                               1n Jail                             Classification MXIAB                      Cell H5-N1



          Grievance NumberQ0000444                   Step Dl!TrrP811412013 15:52                    Grievance Status
          Step OfficerYOCUM, Lisa

        Grievance Dl!Tm0811312013 00:00        Grievance Sent To YOCUM, Lisa                                    Grievance Regarding;lervice

        Grievance Against         Grievance CategoryConnected Grievances                                       Other Inmates Involved
   .Grievance Against             Grievance Category             Grievance #                      Inmate        Inmate Name
   ===================J!:i"r.r.~~"i'!l'~~~·=============li===Number
                                  CLASSIFICATION                                                  =============================
         Grievance Note




                                                                  Grievance History
   Grievance Step           Step DI/Tm                      Step Officer            Disposition       Status        Step Note
   Initial Grievance        08/141201315:38                 YOCUM, Lisa            NOT                Completed     i/m filed grievance in regards
                                                                                   GRIEVABLE                        to his housing location .in
                                                                                                                    Administrative Segregation.

                                                                                                                   Per LMDC policy,
                                                                                                                   classification is not grievable,
                                                                                                                   as it has its own appeal
                                                                                                                   process. Furthermore vulgur
                                                                                                                   language will not be accepted




   Grievance Response . 08/1412013 15:51                    YOCUM, Lisa            NOT              Completed
                                                                                   GRIEVABLE

  RETURNED TO               08/1412013 15:52                YOCUM, Lisa            NOT              Completed
  INMATE                                                                           GRIEVABLE

   GRIEVANCE APPEAL                                                                                 lncompleted
   ~PPEAL RESPONSE                                                                                  lncompleted
   •PPEAL RETURNED                                                                                  lncompleted
    ~FORMAL-STAFF                                                                                   lncompleted
    OT GRIEVABLE                                                                                    lncompleted




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                                          1599




                                                                                                         r~·
         Grievance Number       00000444

              Inmate Number      0057796$           Inmate Name   HINDI, MAHMOUD Y

          Grievance Regarding    Service


                                        Grievance Against                 Gnevance Category
                            Grievance Against                      Grievance Category
                                                                   CLASSIFICATION




         Summary




        Grtevance Sent To   YOCUM, Lisa


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                                                                                              GB004087
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                                                    1600



             Name HINDI, MAHMOUD Y                                                  Booking# 2012029784                    Facility
           Inmate # 00577966          Sex MALE           DO~                      Book Dtffm 0910712012 02:36                Wing HSE
             Race White/Eurpl N.Afr/Mid Eas               Age 56               Release DtfTm                                Dorm H5E-N1
<(-'·     Status                              In Jail                            Classification MXIAB                        Cell H5-N1


        ------------------------------------------------------------------------------
             Grievance Numberooo00449                   Step Dt!Trrll911612013 13:42                    Grievance Status
             Step OfficerYOCUM, Lisa

           Grievance Dt/TmOB/13/2013 00:00        Grievance Sent ToDobson, Christopher                            Grievance Regarding)ervice

          Grievance Against          Grievance CategoryConnected Grievances                                      Other Inmates Involved
        Grievance Against            Grievance Category            Grievance #                       Inmate       Inmate Name
    ===================gR~EC~R~EA!'ii'T~IO~N~~~-:=================Number
                                                                                                     ======================================




            Grievance Note



                                                                    Grievance History
    Grievance Step             Step DI/Tm                       Step Officer           Disposition      Status        Step Note
    Initial Grievance          08/15/2013 09:49                YOCUM, Lisa             INITIAL          Completed     Vm alleges he is not getting
                                                                                                                     recreation time as specified in
                                                                                                                     policy and that gym officers
                                                                                                                     show favoritism to certain
                                                                                                                     groups of inmates.




   Grievance Response          08/3012013 08:51                Dobson,                 RESPONSE         Completed     Kentucky Jail Standards
                                                               Christopher                                            require that inmates shall be
                                                                                                                      afforded the opportunity to
                                                                                                                      attend recreation, those same
                                                                                                                      standards also allow facilities
                                                                                                                      to control inmates that
                                                                                                                      threaten the safety and
                                                                                                                      security of the facility by
                                                                                                                      allowing us !he right ta restrict
                                                                                                                      their privilege to attend
                                                                                                                      recreation. LMDC will allow
                                                                                                                      all inmates the opportunity to
                                                                                                                      attend recreation based
                                                                                                                      solely on the inmates actions
                                                                                                                     and behavioral history. LMDC
                                                                                                                     conducts periodic reviews of
                                                                                                                     the inmates housed in single
                                                                                                                     cells, as long as there seems
                                                                                                                     to be no issues your
                                                                                                                     recreation privileges will be
                                                                                                                     restored and you will attend
                                                                                                                     as your housing area falls
                                                                                                                     into the schedule.




                                                                                                                                      GB004088
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    RETURNED TO       09/03/2013 07:46   YOCUM, Lisa   RETURNED- Completed
    INMATE                                             UNFOUNED

    GRIEVANCE APPEAL 09110/201311:02     YOCUM, Lisa   APPEAL     Completed
    APPEAL RESPONSE 09/16/2013 13:41     YOCUM, Lisa   APPEAL     Completed
                                                       RESPONSE

    APPEAL RETURNED 09/16/2013 13:42     YOCUM, Lisa   APPEAL     Completed
                                                       RETURN-
                                                       DENIED


    INFORMAL-STAFF                                                lncompleted
    NOT GRIEVABLE                                                 lncompleted




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                                                                                GB004089
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                                        1602




 Grievance Number        00000449

       Inmate Number      00577966                    Inmate Name         HINDI, MAHMOUD Y

  Grievance Regarding     Service


                                  Grievance Against                                   Grievance Category
                    Grievance Against                                       Grievance Category
                                                                            kECREATION




                    Kentucky Jail Standards require that inmates shall be afforded the opportunity to attend recreation,
                    those same standards also allow facilities to control inmates that threaten the safety and security of
Summary
                    the facillty by allowing us the right to restrict their privilege to attend recreation. LMDC will allow all
                    inmates the opportunity to attend recreation besed solely on the inmates actions and behavioral
                    history. LMDC conducts periodic reviews of the inmates housed in single cells, as long as there
                    seems to be no issues your recreation privileges will be restored and you wiff attend as your
                    housing area falls into the schedule.

Grievance Sent To   Dobson, Christopher




                                                                                                                                  GB004090
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                                         1603




(




           Grievance Number      00000449


                Inmate Number    00577966                             Inmate Name         HINDI, MAHMOUD Y

                                                                      Resolution Response

                                 Kenlucky Jail Slandards require lhat inmates shall be afforded lhe opportunily to attend recrealion,
                                 those same standards also allow facilities to control Inmates that threaten the safety and security of
               Grievance Note    the fac!Hly by allowing us the right to reslrict their privilage to attend recreation. LMDC will allow all
                                 lnmales the opportunity to attend recreation based solely on the inmates actions and behavioral
                                 history. LMDC conducts periodic reviews of the inmates housed in single cells, as long as there
                                 seems to be no Issues your recreation plivHeges will be restored and you wm attend as your
                                 housing area falls into the schedule.

                                 Kentu<::ky Jail Standards require that inmates shall be afforded the opportunity to attend recreation,
                                 those same standards also allow facilities to control inmales that threaten the safety and security of
            Grievance Review
                                 the faclHty by allowing us the right to restrict their privilege to attend recreation. LMDC will allow all
                                 inmates the opportunity to attend recreation based solely on the Inmates actions and behavioral
                                 history. LMDC conducts periodic reviews of the Inmates housed In singie cells, as long as there
                                 seems to be no issues your recreation privtleges wm be restored and you wili attend as your housing
                                 area falls into the schedule.

(        Review Officer
                                Dobson, Christopher                                  Reviewed DI/Tm              0910312013 07:46
                                                                                                                                              (


          Grievance Unfounded or Resolved?        UNFOUNDED




                                                                                                                          GB004091
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                                         1604



Grievance Number        00000449

                                                                                            I
                                                                                            I
                                                                                            I
                                                                                            I
                                                                    Inmate Name             IHINDI, MAHMOUD y
    Inmate Number
                         00577966
                                                                          Grievance seft To        Dobson, Christopher

Review Officer          Dobson, Christopher                                    Reviewe~! DI/Tm              09/03/2013 07:46

                     Kentucky Jail Standards require that inmates shall be afforded lhe oppor!unity to attend recreation,
 Grievance Note      those same standards also allow faciUlles to control inmates th~! threaten the safety and securlty of
                     the facility by allowing us the right to restrict .their plivilage to a~'nd rec.reation. LMDC wHI allow all
                     inmates the opportunity to attend recreation based solely on th Inmates actions and behavioral
                     histoiy. LMDC conducts peliodic reviews of the inmates house In single cells, as long as there
                     seems to be no Issues your recreation privileges will be restor and you will attend as your
                     housing area falls Into the schedule.                                  1

                     Kentucky Jail Standards require that inmates shan be afforded he opportunity to attend recreation,
                     those same standards also allow faclHtles to control inmates th threaten the safety and security of
Grievance Review     the facHlty by allowing us the right to restrict their privilege to e end recreation. LMDC will allow all
                     inmates the opportunity to attend recreation based solely on th inmates actions and bahavioral
                     hlstoiy: LMDC conducts periodic reviews of the inmates house in single cells, as long as there
                     seems to be no issues your retreation privileges will be restore and you will attend as your housing
                     area falls into the schedule,                                      I
                                                                                        I




                              ~~~~~~~~~-!~~~
                                                    Otficer Signature                             Date




                                                    Inmate Signature                              Date


      Given to Inmate DI/Tm    09/0312013 00:00




                                                                                                                                   GB004092
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                                         1605




     Grievance Number       00000449

(



                Inmate Number          00577966
                                                                                    Inmate   Nale               HINDI, MAHMOUD Y
                                                                                                   J
            Grievance Disposition
                                       APPEAL                              Grievance Sent To       !I   Dobson, Christopher


                                    Kentucky Jail Standards require that inmates shall be af,'rded the opportunity to attend recreation,
                                    those same standards also allow. faciltties to control inm tes that threaten the safety and seculity of
              Grievance Note        the facHlty by allowing us the right to restrict their prtvlla e to attend recreation. LMDC will allow all
                                    inmates the opportunity to attend recreation based sole on the inmates actions and behavioral
                                    history. LMDC conducts periodic reviews of the inmates roused in single cells, as long as there
                                    seems to be no issues your recreation privileges will be tiestored and you Wiii attend as your
                                    housing area falls Into the schedule.                          f
                                                                                               I
                                    Kentucky Jail Standards require that inmates •.hall be~rded the opportunity to attend recreation,
                                    those same standards also allow facllllles to control inm les that threaten the safety and security of
            Grievance Review        the facility by allowing us the right lo restrict their prtvi   to attend recreation. LMDC will allow all
                                    lnma!es the opportunity to attend recreation based solelli on the inmates actions and behavioral
                                    history. LMDC conducts periodic reviews of the Inmates housed in single cells, as long as there
                                    seems to be no issues your recreation privUeges wm be ~stored and you will attend-as your housing
                                    area falls into the schedule.                                 ,

          Review Officer            Dobson, Christopher                             Reviewed   bvrm                 09103/2013 07:46
                                                                                               Ii
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                                    l/m appeals stating he did not receive a response specifib to his grievance and does not feel it was
            Appeal Note             read.


                                                                                               I
             Appeal Type                                                                 Appe~Ii
                                                                                                        Dt!Tm
                                                                                                                   09/10/201311:02
                                                                                               '




                                                                                                                                GB004093
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                                     1606




 Grievance Number       00000449




      Inmate Number     00577966                       Inmate Name        HIN I, MAHMOUD Y

                                                                               i
       Appeal Type                                                         AprlDt/Tm         09/10/201311:02

                        llm appeals staling he did not receive a response spedlflc to his gnevance and does not feel it was

     Appeal Note
                        read.                                                 I


  Review Officer        Dobson, Christopher
                                                                     ~"~·     I
                                                                                               09/0312013 07:46



                        Your grievance was addressed by Lt. Dobson, thertore) appeal denied.

     Appeal Review                                                            I
                                                                              i
Appeal Review Officer   Clark, Dwayne                                    A j l Reviewed Dt!Tm        0911612013 00:00
                                                                              I

                                                                              I
                        Denied or Upheld ?




                                                                                                                       GB004094
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                                          1607




       Grievance Number         00000449
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                                                                                              i
                                                                            Inmate Name       I HINDI, MAHMOUD Y
                                                                                              i
              Inmate Number       00577966
                                                                              Grievance Sent!To       Dobson, Christopher
                                                                                              I
      Review Officer          Dobson, Christopher                             Reviewed DVTm              0910312013 07:46


                              llm apPeals stating he did not receive a response specific to hi~ grievance and does not feel it was
                              read.                                                           !
         Appeal Note



                              Your grievance was addressed by Lt. Dobson, therfore, appeal ¥enied.

          Appeal Review                                                                       I
                                                                                              '


      Appeal Review Officer   Clark, Dwayne
                                                                                              I
                                                                              Appeal Review<¥! DVTm       0911612013 00:00

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(
                                                              Inmate Signature                           Date
                                                                                                                                        (

                                                                                              i
                                             Appeal Given to Inmate DVTm         09117/2013   bo:oo
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                                                   1608


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                                                                                           I
             Name HINDI, MAHMOUD Y                                              Bookin~ #      2012029784              Facility 1


(-   1
           Inmate # 00577966           Sex MALE
             Race Whlte/Eurpl N.Afr/Mid Eas
                                                       Do'911t
                                                        Age 56
                                                                               Book Dvtm 09/0712012 02:36
                                                                            Release Dfm
                                                                                                                         Wing H5E
                                                                                                                        Dorm H5E-N1
(    · . .s.t_a_t_u_s___________________1_n.Ja_il_________________c_1a.s.si.flc.•~4o_n__MX1
                                                                                         __A_s______________c_e_11__
                                                                                                                   H_s-.N_1___________

                                                                                           '
             Grievance Numbel[)0000624                Step Dtffrrll9113/201311:08                   Grievance Status
            Step OfficerYOCUM, Lisa

          Grievance Dtffm09/13/2013 00:00          Grievance Sent To YOCUM, Lisa           I                    Grievance RegardingService

          Grievance Against           Grievance CategoeyConnected Griev1nces                                 Other Inmates Involved
      Grievance Against               .Grievance Category        Grievance #               ,      Inmate        Inmate Name
      =================~s~E!'llc!:Tu'l'!R!'l'IT~Y----                                      ,      Number
                                                                                       I=======
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           Grievance Note



                                                                  Grievance Hist ry
     Grievance Step            Step Dtffm                    Step Officer           Dis osilion     Status         Step Note
     lnltial Grievance         09/1312013 11:06              YOCUM, Lisa            NO              Completed      i/m filed grievance about
                                                                                    GRI VABLE                      incident in January.

                                                                                                                   Per policy you may not use
                                                                                                                   vulgar/abusive language. You
                                                                                                                   also only have 5 business
                                                                                                                   days to from incidient to file
                                                                                                                   grievance on specific
                                                                                                                   incident. Per Policy you may
                                                                                                                   not suggest form of
                                                                                                                   disciplinary action.




     Grievance Response        0911312013 11 :08            YOCUM, Lisa             Noli            Completed
                                                                                    GRl$VABLE
                                                                                       i
     ~ETURNEDTO                09/131201311:08              YOCUM, Lisa                             Completed
     NMATE

     iRIEVANCE APPEAL                                                                               lncompleted
      "PEAL RESPONSE                                                                                In completed
      'PEAL RETURNED                                                                                lncompleted
         ~ORMAL-STAFF                                                                               lncompleted
         ·T GRIEVABLE                                                                               lncompleted




                                                                                                                               GB004096
    Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 617 of 625 PageID #:
                                         1609




        Grievance Number        00000624                                   I
                                                                           I
             Inmate Number      00577966           Inmate Name   HINDI, M+MOUD Y
                                                                           '
         Grievance Regarding    Service

                                       Grievance Against                   ~rievance Category
                           Grievance Against                      GrievantCategory
                                                                  @ECURI




       Summary




       Grievance Sent To   YOCUM, Lisa



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         Case 3:16-cv-00742-DJH-CHL Document 143-1 Filed 05/21/19 Page 618 of 625 PageID #:
                                              1610



      Name HINDI, MAHMOUD Y                                                     Booking# 2012029784                 Facility
    Inmate # 00577966          Sex MALE            DO-                  41    Book DI/Tm 09/07/2012 02:36             Wing HSE
       Race Whlte/Eurp/ N.Afr/Mid Eas               Age 56               Release DI/Tm                                Dorm H5E-N1

   Status                               In Jail                              Classification MX/AB                     Cell H5·N1



       Grievance Numbel00000636                   Step DtfTrrP9/181201311:16                    Grievance Status
      Step OfflcerYOCUM, Lisa

    Grievance DtfTmOS/20/2013 00:00         Grievance Sent To YOCUM, Lisa                                     Grievance RegardingService

   Grievance Against          Grievance CategoryConnected Grievances                                         Other Inmates Involved
Grievance Against    Grievance Category Grievance # ·       Inmate                                            Inmate Name
===================·s~E~C~U~R~l~TY~~~~~·================:=:Number




     Grievance Note



                                                             Grievance History
Grievance Step          Step DtfTm                       Step Officer             Disp~silion       Status        Step Note
Initial Grievance       09118/2013 11 :15                YOCUM, Lisa              NOT               Completed    l/m filed a grievance stating
                                                                                  GRIEVABLE                      that he should not be in jail
                                                                                                                 and that he shot two people.

                                                                                                                 There is not grievance in this
                                                                                                                 statement.




Grievance Response . 09/181201311:16                     YOCUM, Lisa             NOT            Completed
                                                                                 GRIEVABLE

RETURNED TO             09/18/201311:16                  YOCUM, Lisa            . NOT           Completed
INMATE                                                                            GRIEVABLE

GRIEVANCE APPEAL                                                                                lncompleted
APPEAL RESPONSE                                                                                 lncompleted
APPEAL RETURNED                                                                                 lncompleted
INFORMAL-STAFF                                                                                  lncompleted
NOT GRIEVABLE                                                                                   lncompleted




                                                                                                                               GB004098
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                                         1611




        Grievance Number       00000636


             Inmate Number      00577966           Inmate Name   HINDI, MAHMOUD Y

         Grievance Regarding    Seivice


                                       Grievance Against                 Grievance Category
                           Grievance Against                      Grievance Categmy
                                                                   ECURITY




       Summary




       Grievance Sent To   YOCUM, Lisa



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                                                 1612



          Name HINDI, MAHMOUD Y                                                  f!ooking # 2012029784                 Facility 1
        Inmate # 00577966           Sex MALE           D~                      Book Dt!Tm 09/07/2012 02:36               Wing H5E
((·~\     Race White/Eurpl N.Afr/Mid Eas                Age 56              Release Dt!Tm                               Dorm H5E-N1

        .Status                             In Jail                          Classification MXIAB                        Cell H5-N1



          Grievance Numbell)(JQ00637                  Step Dt/TrrP9118/2013 11 :20                  Grievance Status
          Step OfficerYOCUM, Lisa

        Grievance DtffmOS/15/2013 00:00         Grievance Sent ToYOCUM, Lisa                                    Grievance Regarding)ervice

        Grievance Against          Grievance CategoryConnected Grievances                                     Other Inmates Involved
   Grievance Against    Grievance Category Grievance #        !nm.ale                                           Inmate Name
   ==================·P~R~O~G~R~A~M~Sr'"°~~~·================Number
                                                                                                   =============================
         Grievance Nole




                                                                  Grievance History
  Grievance Step            Step Dt!Tm                       Step Officer            Disposition     Status         Step Note
  Initial Grievance         09/181201311:17                  YOCUM, Lisa             INFORMALL Completed           l/m filed a grievance stating
                                                                                     Y-STAFF                       !hat LMDC is not a church but
                                                                                                                   a county jail and that Jesus
                                                                                                                   does not exist and that
                                                                                                                   Officers are actively running a
                                                                                                                   Christian missionary.

                                                                                                                   LMDC offers the opportunity
                                                                                                                   for all inmates to practice the
                                                                                                                   religion of !heir choice so long
                                                                                                                   as it does not the safety and
                                                                                                                   security of the facility.




 Grievance Response         09/1812013 11 :20                YOCUM, Lisa             INFORMALL      Completed
                                                                                     Y-STAFF

  ~ETURNED        TO        09118/2013 11 :20                YOCUM, Lisa             INFORMALL      Completed
  \JMATE                                                                             Y-STAFF

   RIEVANCE APPEAL                                                                                  lncompleted
   ~PEAL RESPONSE                                                                                   lncompleted
   'PEAL RETURNED                                                                                   lncompleted
    "ORMAL-STAFF                                                                                    lncompleted
      GRIEVABLE                                                                                     lncompleted




                                                                                                                                GB004100
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                                         1613




        Grievance Number        00000637

             Inmate Number      00577966           Inmate Name   HINDI, MAHMOUD Y

         Grievance Regarding    Service


                                       Grievance Against                 Grievance Category
                           Grievance Against                      Grievance Category
                                                                  PROGRAMS




       Summary




       Grievance Sent To   YOCUM, Lisa



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                                                  1614


           Name HINDI, MAHMOUD Y                                                  Booking# 2012029784                  Facility 1
        Inmate # 00577966          Sex MALE            D~                       Book Dt!Tm 09/07/2012 02:36              Wing H5E
(;;,       Race White/Eurp/ N.Afr/Mid Eas               Age 56              Release Dt/Tm                               Dorm H5E-N1
)

\      .:3tatus                             In Jail                            Classification MX/AB                      Cell H5-N1



           Grievance Numbe1Q0000653                   Step DVTrril9/20/2013 09:35                   Grievance Status
          Step OfficerYOCUM, Lisa

        Grievance Dt!TmOB/19/2013 oo:oo         Grievance Sent ToYOCUM, Lisa                                    Grievance Regarding)ervice

       Grievance Against          Grievance CategoryConnected Grievances                                       Other Inmates Involved
    Grievance Against             Grievance Category             Grievance #                      Inmate        Inmate Name
    ===================~M~E~D~IC~A~L~~~~~·==================Number




         Grievance Note




                                                                  Grievance History
    Grievance Step          StepDVTm                         Step Officer           Disposition       Status       Step Note
    Initial Grievance       09/20/2013 09:34                 YOCUM, Lisa            NOT               Completed    i/m filed grievance due to
                                                                                    GRIEVABLE                      being placed on suicide
                                                                                                                   watch.

                                                                                                                   Individual medical treatment
                                                                                                                   protocol is not grievable per L




    Grievance Response      09/20/2013 09:35                 YOCUM, Lisa            NOT             Completed
                                                                                    GRIEVABLE

    RETURNED TO             09/20/2013 09:35                 YOCUM, Lisa            NOT             Completed
    INMATE                                                                          GRIEVABLE

    GRIEVANCE APPEAL                                                                                Incompleted
    APPEAL RESPONSE                                                                                 lncompleted
    APPEAL RETURNED                                                                                 lncompleted
    INFORMAL-STAFF                                                                                  lncompleted
    NOT GRIEVABLE                                                                                   lncompleted




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                                                                                                                                GB004102
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          Grievance Number       00000653

                Inmate Number     00577966           Inmate Name   HINDI, MAHMOUD Y

           Grievance Regarding    Service


                                         Grievance Against                 Grievance Category
                             Grievance Against                      Grievance Category
                                                                     EDI CAL




         Summary




         Glievance Sent To   YOCUM, Lisa




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                                                    1616


             Name HINDI, MAHMOUD Y                                                  Booking# 2012029784                  Facility 1



p,        Inmate# 00577966

         S~=:~
                                       Sex MALE

                    White/Eurpl N.Afr/Mid Eas
                                                In Jail
                                                            DO. . . .
                                                            116e 56
                                                                                  Book Dt/Tm 09/0712012 02:36
                                                                                Release Dt/Tm
                                                                                 Classification MXIAB
                                                                                                                           Wing H5E
                                                                                                                          Donn H5E-N1
                                                                                                                           Cell H5-N1



             Grievance NumbelQ0000669                     Step Dt/Tnil9/2612013 09:24                 Grievance Status
             Step OfficerYOCUM, Lisa

          Grievance Dt/Tm09117/2013 00:00           Grievance Sent To YOCUM, Lisa                                 Grievance RegardingService

         Grievance Against            Grievance CategoryConnected Grievances                                     Other Inmates Involved
       Grievance Against          Grievance Category Grievance #   Inmate                                         Inmate Name
       ================1R:;,E~C~R!l!EA!'l·~T~1o':!:Nr---=========Number




           Grievance Note




                                                                      Grievance History
      Grievance Step           Step DI/Tm                        Step Officer           Disposition     Status        Step Note
      Initial Grievance        0912612013 09:23                  YOCUM, Lisa            INFORMALL       Completed    l/m filed grievance about not
                                                                                        Y-STAFF                      having hair cut or access to
                                                                                                                     clippers.

                                                                                                                     Per officer, Inmate will
((!                                                                                                                  receive access to both today
  \                                                                                                                  or tomorrow.




      Grievance Response      09/2612013 09:24                   YOCUM, Lisa            INFORMALL Completed
                                                                                        Y-STAFF

      RETURNED TO             09126/2013 09:24                   YOCUM, Lisa            INFORMALL     Completed
      INMATE                                                                            Y-STAFF

      GRIEVANCE APPEAL                                                                                lncompleted
      APPEAL RESPONSE                                                                                 lncompleted
      APPEAL RETURNED                                                                                 lncompleted
      INFORMAL-STAFF                                                                                  lncompleted
      'llOT GRIEVABLE                                                                                 In completed




                                                                                                                                  GB004104
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            Grievance Number       00000669

                 Inmate Number      00577966           Inmate Name   HINDI, MAHMOUD Y

             Grievance Regarding    Service


                                           Grievance Against                 Grievance Category
                               Grievance Against                      Grievance Calegory
                                                                      RECREATION




           Summary




           Glievance Sent To   YOCUM, Lisa



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